Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                 Exhibit A - Purchase Agreement Page 1 of 229


                                 Exhibit A

                             Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35 Desc
                 Exhibit A - Purchase Agreement Page 2 of 229
                                                              Execution Version




                       ASSET PURCHASE AGREEMENT

                              BY AND BETWEEN

                CROWN HEALTH CARE LAUNDRY SERVICES, LLC

                                 as Purchaser,

                                     And

                ALLIANCE LAUNDRY & TEXTILE SERVICES, LLC

                                   as Seller


                         Dated as of December 19, 2018




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                                                                    Desc
                 Exhibit A - Purchase Agreement Page 3 of 229


                                                   TABLE OF CONTENTS
                                                                                                                                           Page


                                                              ARTICLE 1

PURCHASE AND SALE                                                                                                                                1

1.1.     Purchase and Sale of Assets .................................................................................................1
1.2.     Assumption of Liabilities .....................................................................................................2
1.3.     Excluded Liabilities .............................................................................................................2
1.4.     Assigned Contracts and Excluded Agreements; Cure Costs ...............................................2

                                                              ARTICLE 2

CONSIDERATION                                                                                                                                    3

2.1.     Consideration .......................................................................................................................3
2.2.     Payment of Purchase Price...................................................................................................3
2.3.     Condition of Conveyance ....................................................................................................4
2.4.     Withholding .........................................................................................................................4

                                                              ARTICLE 3

CLOSING AND TERMINATION                                                                                                                          4

3.1.     Closing .................................................................................................................................4
3.2.     Closing Deliveries by Seller ................................................................................................5
3.3.     Closing Deliveries by Purchaser ..........................................................................................5
3.4.     Termination of Agreement ...................................................................................................6
3.5.     Procedure Upon Termination ...............................................................................................7
3.6.     Effect of Termination ...........................................................................................................7
3.7.     Distribution of Deposit on Termination. ..............................................................................8

ARTICLE 4 REPRESENTATIONS AND WARRANTIES OF SELLER                                                                                               8

4.1.     Corporate Organization ........................................................................................................8
4.2.     Authority Relative to This Agreement .................................................................................8
4.3.     Conflicts; Consents of Third Parties ....................................................................................9
4.4.     Litigation ..............................................................................................................................9
4.5.     Intellectual Property .............................................................................................................9
4.6.     Permits ...............................................................................................................................10
4.7.     Title to Assets; Condition of Assets...................................................................................10
4.8.     Real Property .....................................................................................................................10
4.9.     Compliance with Law ........................................................................................................11
4.10.    Employees; Employee Benefits .........................................................................................11
4.11.    Insurance Policies ..............................................................................................................13
4.12.    Tax Matters ........................................................................................................................13

                                                                       i
{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                                                                   Desc
                 Exhibit A - Purchase Agreement Page 4 of 229


4.13.    Customers and Suppliers....................................................................................................14
4.14.    Financial Statements ..........................................................................................................14
4.15.    Undisclosed Liabilities.......................................................................................................14
4.16.    Absence of Certain Developments.....................................................................................15
4.17.    Linen Inventory..................................................................................................................16
4.18.    Material Contracts ..............................................................................................................16
4.19.    Affiliated Transactions.......................................................................................................18
4.20.    Environmental, Health and Safety Matters ........................................................................18

                                                             ARTICLE 5

REPRESENTATIONS AND WARRANTIES OF PURCHASER                                                                                                   18

5.1.     Corporate Organization ......................................................................................................19
5.2.     Authority Relative to This Agreement ...............................................................................19
5.3.     Consents and Approvals; No Violation .............................................................................19
5.4.     Sufficiency of Funds ..........................................................................................................19

                                                             ARTICLE 6

EMPLOYEES                                                                                                                                     19

6.1.     Employees ..........................................................................................................................19
6.2.     No Assumption of Liabilities. ............................................................................................21

                                                             ARTICLE 7

BANKRUPTCY COURT MATTERS                                                                                                                      21

7.1.     Competing Bids .................................................................................................................21
7.2.     Sale Motion, Bidding Procedures and Sale Milestones. ....................................................21
7.3.     Bidding Procedures and Stalking Horse Protections Are Material Consideration to
         Purchaser. ...........................................................................................................................22
7.4.     Break-Up Fee; Expense Reimbursement. ..........................................................................22
7.5.     Bankruptcy Filings. ............................................................................................................23

                                                             ARTICLE 8

COVENANTS AND AGREEMENTS                                                                                                                      25

8.1.     Conduct of Business ..........................................................................................................25
8.2.     Pre-Closing Access to Information ....................................................................................26
8.3.     Further Agreements ...........................................................................................................26
8.4.     Consent and Approvals ......................................................................................................27
8.5.     Preservation of Records .....................................................................................................27
8.6.     Publicity .............................................................................................................................27
8.7.     Notification of Certain Matters ..........................................................................................27
8.8.     Casualty and Condemnation ..............................................................................................28

                                                                      ii
{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                                                                   Desc
                 Exhibit A - Purchase Agreement Page 5 of 229


8.9.     No Successor ......................................................................................................................28
8.10.    Purchase Price Allocation ..................................................................................................28
8.11.    Further Assurances.............................................................................................................28
8.12.    No Restriction on Purchaser ..............................................................................................29
8.13.    Restrictive Covenants ........................................................................................................29
8.14.    De-Installation of Linens ...................................................................................................30

                                                             ARTICLE 9

CONDITIONS TO CLOSING                                                                                                                         30

9.1.     Conditions Precedent to the Obligations of Purchaser and Seller .....................................30
9.2.     Conditions Precedent to the Obligations of Seller .............................................................31
9.3.     Conditions Precedent to the Obligations of Purchaser ......................................................31

                                                            ARTICLE 10

MISCELLANEOUS                                                                                                                                 32

10.1.    Payment of Expenses .........................................................................................................32
10.2.    Entire Agreement; Amendments and Waivers ..................................................................32
10.3.    Counterparts .......................................................................................................................33
10.4.    Governing Law ..................................................................................................................33
10.5.    Waiver of Jury Trial ...........................................................................................................33
10.6.    Notices ...............................................................................................................................33
10.7.    Binding Effect; Assignment ...............................................................................................34
10.8.    Severability ........................................................................................................................34
10.9.    Injunctive Relief.................................................................................................................34
10.10.   Third Party Beneficiaries ...................................................................................................35
10.11.   Certain Interpretations .......................................................................................................35


Exhibits

Exhibit A                      Bill of Sale
Exhibit B                      New Spartanburg Lease
Exhibit C                      Non-Compete Agreement
Exhibit D                      Bidding Procedures Order

Appendices

Appendix 1.1(a)                Purchased Assets
Appendix 1.1(b)                Excluded Assets
Appendix 1.2                   Assumed Liabilities
Appendix 1.4(a)                Purchased Contracts
Appendix 1.4(b)                Optional Contracts
Appendix 2.1                   Purchase Price Methodology

                                                                      iii
{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                 Exhibit A - Purchase Agreement Page 6 of 229


                              ASSET PURCHASE AGREEMENT

       THIS ASSET PURCHASE AGREEMENT (as amended, supplemented or otherwise
modified from time to time, this “Agreement”), dated as of December 19, 2018 (the “Execution
Date”), is entered into by and between Alliance Laundry & Textile Services, LLC, a Georgia
limited liability company d/b/a Clarus Linen Systems (“Seller”), and Crown Health Care
Laundry Services, LLC, a Delaware limited liability company (“Purchaser”). Annex I to this
Agreement contains definitions of certain capitalized terms used herein and also provides cross-
references to certain capitalized terms defined elsewhere in this Agreement.

                                            RECITALS

       A.      Seller is engaged in the business of providing linen rental and commercial laundry
services to the healthcare industry in the Southeastern United States, including in and around
Spartanburg, South Carolina and Atlanta and Albany, Georgia (the “Business”);

       B.      The Seller intends to file a voluntary petition for relief commencing a case under
chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended, the
“Bankruptcy Code”) with the United States Bankruptcy Court for the Western District of New
York (the “Bankruptcy Court”) pursuant to which it intends to sell substantially all of its assets
pursuant to sections 105(a), 363 and 365 of the Bankruptcy Code; and

        C.     Purchaser desires to purchase and assume from Seller, and Seller desires to sell,
transfer and assign to Purchaser, the Purchased Assets and the Assumed Liabilities in accordance
with this Agreement and in accordance with and subject to the Sale Order, pursuant to Sections
105(a), 363 and 365 of the Bankruptcy Code.

                                          AGREEMENT

        NOW, THEREFORE, in consideration of the foregoing and the mutual representations,
warranties, covenants and agreements set forth herein, and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, and intending to be
legally bound hereby, Purchaser and Seller hereby agree as follows:

                                            ARTICLE 1

                                    PURCHASE AND SALE

         1.1.   Purchase and Sale of Assets.

                (a)      Purchased Assets. Pursuant to Sections 105(a), 363 and 365 of the
Bankruptcy Code and on the terms and subject to the conditions set forth in this Agreement and
the Sale Order, at the Closing, Purchaser shall purchase, acquire and accept from Seller, and
Seller shall sell, transfer, assign, convey and deliver to Purchaser, all of Seller’s right, title and
interest in, to and under, free and clear of all Liabilities (other than Assumed Liabilities) and
Encumbrances (other than Permitted Encumbrances), all of Seller’s assets, properties, rights and
interests of any nature whatsoever used in or related to the Business, excluding those assets
identified as “Excluded Assets” in Section 1.1(b) (collectively, but in all cases expressly


{04605048.11}                                     1
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                              Desc
                 Exhibit A - Purchase Agreement Page 7 of 229


excluding those assets identified as “Excluded Assets” in Section 1.1(b), the “Purchased
Assets”). Without limiting the generality of the foregoing, the Purchased Assets include, but are
not limited to, the assets, properties, rights, and interests, set forth on Appendix 1.1(a).

                (b)    Excluded Assets. Notwithstanding anything to the contrary in this
Agreement or any of the Ancillary Agreements, in no event shall Seller be deemed to sell,
transfer, assign or convey, and Seller shall retain all of its right, title and interest to, in and under,
its assets, properties, rights and interests set forth on Appendix 1.1(b) (collectively, the
“Excluded Assets”);

                (c)     Atlanta PP&E. Notwithstanding the inclusion of the Atlanta PP&E as an
Excluded Asset on Appendix 1.1(b) as of the Execution Date, Seller shall have the option to
designate the Atlanta PP&E as a “Purchased Asset.” In order to exercise the option, Seller shall
deliver written notice to Purchaser no later than five (5) days prior to the Bid Deadline.

        1.2.   Assumption of Liabilities. On the terms and subject to the conditions set forth in
this Agreement and the Sale Order, effective as of the Closing, Purchaser shall assume and
discharge when due only those Liabilities arising exclusively out of the conduct and the
operations of the Business by Purchaser or its Affiliates after the Closing and such other
Liabilities as set forth on Appendix 1.2 hereto (collectively, but in all cases excluding the
Excluded Liabilities, the “Assumed Liabilities”).

        1.3.   Excluded Liabilities. Except for the Assumed Liabilities set forth in Section 1.2
(which shall, in no event, be Excluded Liabilities), Purchaser shall not assume, or become liable
for the payment or performance of, any Liabilities whether arising before or after the Petition
Date (collectively, the “Excluded Liabilities”), all of which shall remain Liabilities of Seller.

         1.4.   Assigned Contracts and Excluded Agreements; Cure Costs.

              (a)      Set forth on Appendix 1.4(a) hereto is a list of Contracts that shall be
assigned by Seller to Purchaser at the Closing (the “Purchased Contracts”).

                (b)     Purchaser may, in its sole discretion, designate, pursuant to this Section
1.4, any Contract listed on Appendix 1.4(b) (each listed Contract, an “Optional Contract”) as a
Contract that, in addition to the Purchased Contracts, is to be assigned by Seller to Purchaser at
the Closing. Upon Purchaser’s request, Seller shall provide available information to Purchaser
as to the Liabilities under the Optional Contracts in connection with Purchaser’s assessment of
whether to designate any such Contract as an Assigned Contract and accept an assignment of
such Contract pursuant to the terms of this Agreement.

                (c)     No later than eight (8) Business Days prior to the Hearing, Purchaser shall
provide Seller with a schedule listing (i) the Purchased Contracts, and (ii) the Optional Contracts,
if any, that are to be designated as Assigned Contracts (the “Assigned Contract Schedule”). No
later than three (3) Business Days prior to the Hearing, Purchaser may identify in writing to
Seller any additional Optional Contracts that Purchaser wants added to the Assigned Contract
Schedule. Any Optional Contract added to the Assigned Contract Schedule shall become an
Assigned Contract, and shall be deemed a Purchased Asset for purposes of this Agreement, and
all Cure Costs with respect to such Assigned Contract and all Liabilities arising under such


{04605048.11}                                       2
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                 Exhibit A - Purchase Agreement Page 8 of 229


Assigned Contract exclusively after the Closing shall be an Assumed Liability for all purposes of
this Agreement pursuant to the provisions of Sections 1.2 and 2.3 hereof. Notwithstanding the
foregoing, at any time prior to one (1) Business Day prior to the Closing Date, Purchaser may
identify in writing to Seller any Optional Contract as one that Purchaser no longer desires to have
assigned to it and such Optional Contract shall for purposes of this Agreement be deemed to be
an Excluded Agreement.

                (d)     Seller shall (i) provide to Purchaser draft copies of any motions,
applications or other documents to be filed with, and the proposed orders to be submitted to, the
Bankruptcy Court seeking authorization to assume and assign any Contracts, within a reasonable
period time under the circumstances, but in no event less than three (3) day, prior to the date
Seller intends to file any of the foregoing and (ii) consult in good faith with Purchaser regarding
the substance of the foregoing.

                (e)    At the Closing, Seller shall assume and assign to Purchaser the Assigned
Contracts for which Purchaser has agreed to fund Seller’s payment of applicable Cure Costs, in
each case pursuant to Section 365 of the Bankruptcy Code and the Sale Order, subject to
provision of adequate assurance as may be required under Section 365 of the Bankruptcy Code.
In connection with such assumption and assignment, Purchaser shall, on or before Closing, or if
such amount has not been determined prior to Closing, as soon as practicable after the Cure
Costs for an Assigned Contract have been determined by the Bankruptcy Court, pay the Cure
Costs of each Assigned Contract; provided, however, that Purchaser’s agreement to pay Cure
Costs shall be capped at $25,000 (the “Cure Cap”) and Purchaser retains the right to refuse to
accept any Contract (i) based on a post-Closing determination of Cure Costs, or (ii) if the
aggregate Cure Costs of all Assigned Contracts exceed the Cure Cap, even if such Contract was
identified on the Assigned Contract Schedule.

                                          ARTICLE 2

                                      CONSIDERATION

        2.1.   Consideration. The aggregate purchase price for the purchase of the Purchased
Assets and the assumption of the Assumed Liabilities shall be an amount determined as of the
Closing pursuant to the methodology set forth on Appendix 2.1 to this Agreement (the “Purchase
Price”), which amount includes cash equal to the Cure Cap. For purposes of illustration only,
and as reflected in the sample calculation included on Appendix 2.1, if the purchase price were
determined as of the Execution Date, it would be $4,000,000 (the “Estimated Purchase Price”).
The Parties acknowledge that the Estimated Purchase Price is merely an estimate and that the
actual Purchase Price due at Closing may be an amount greater or less than the Estimated
Purchase Price.

         2.2.   Payment of Purchase Price. The Purchase Price shall be payable as follows:

              (a)     Deposit. Upon the execution of this Agreement, Purchaser shall, within
three (3) Business Days following the date hereof, deposit with the Escrow Agent an amount
equal to $400,000 (the “Escrow Amount”) in immediately available funds, to be released by the
Escrow Agent only in accordance with the provisions of this Agreement and the Escrow


{04605048.11}                                   3
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                 Exhibit A - Purchase Agreement Page 9 of 229


Agreement. The Escrow Amount shall be applied against the Purchase Price at Closing and
released to Seller at Closing in accordance with the provisions of this Agreement and the Escrow
Agreement.

              (b)     Closing Date Payment. On the Closing Date, Purchaser shall deliver to
Seller, by wire transfer of immediately available funds, payment in an amount equal to the
Purchase Price minus the Escrow Amount (the “Closing Date Payment”).

               (c)      Cure Costs. Upon payment of the Closing Date Payment, or as soon as
practicable thereafter, Purchaser shall instruct Seller as to the portion of the Purchase Price, up to
the Cure Cap, that is to be used by Seller to pay the Cure Costs owed with respect to each
Assigned Contract, and Seller shall immediately comply with such instruction. Seller shall retain
the Cure Cap for payment of Cure Costs until Purchaser has designated all Assigned Contracts
and a determination has been made whether Cure Costs are owed. If total Cure Costs for all
Assigned Contracts exceed the Cure Cap, Purchaser will have no obligation to fund amounts
above the Cure Cap, though it may elect to do so in its sole discretion. If total Cure Costs are
less than the Cure Cap, the balance of the Cure Cap will be disbursed to Seller.

        2.3.     Condition of Conveyance. Without limiting the provisions of this Agreement
relating to the Ancillary Agreements or any other provisions of this Agreement relating to sale,
transfer, assignment, conveyance or delivery, the Purchased Assets and the Assumed Liabilities
shall be sold, transferred, assigned, conveyed and delivered by Seller to Purchaser by appropriate
instruments of transfer, bills of sale, endorsements, assignments and deeds, in recordable form as
appropriate, and otherwise all in form and substance reasonably satisfactory to Purchaser, and
free and clear of any and all Liabilities (other than Assumed Liabilities) and Encumbrances
(other than Permitted Encumbrances) of any and every kind, nature and description, all as
pursuant to the Sale Order.

       2.4.   Withholding. If Purchaser is required by applicable Law to withhold or deduct
any amount of Tax from the payment of the Purchase Price hereunder, then Purchaser shall be
permitted to withhold or deduct (and, to the extent required by applicable Law, remit to the
appropriate Governmental Bodies) the amount of any such Tax, and such withheld amount (to
the extent remitted to the appropriate Governmental Body) shall be treated for all purposes of
this Agreement as having been paid to Seller.

                                            ARTICLE 3

                               CLOSING AND TERMINATION

        3.1.   Closing. Subject to the satisfaction of the conditions set forth in Section 9.1,
Section 9.2 and Section 9.3, or the waiver thereof by the party entitled to waive the applicable
condition, the closing of the transactions contemplated by this Agreement (the “Closing”) shall
take place remotely by exchange via electronic mail of signatures and other documents and
information required to be delivered at Closing under this Agreement (or in such other manner or
at such place as the parties may mutually designate in writing) on the date that is no later than the
second (2nd) Business Day following the date on which all of the conditions set forth in Section
9.1, Section 9.2 and Section 9.3 are satisfied or waived by the party entitled to waive the


{04605048.11}                                     4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                           Desc
                Exhibit A - Purchase Agreement Page 10 of 229


applicable condition (other than conditions that by their nature are to be satisfied at the Closing).
The date on which the Closing is held is referred to in this Agreement as the “Closing Date”.

         3.2.   Closing Deliveries by Seller. At the Closing, Seller shall deliver:

                (a)     to the Escrow Agent, Joint Written Instructions, duly executed by Seller,
directing the Escrow Agent to deliver the Escrow Amount (together will all accrued interest
thereon, if any) to Seller;

              (b)     to Purchaser, a duly executed bill of sale and assignment and assumption
agreement, substantially in the form attached as Exhibit A hereto, with respect to (i) conveyances
by Seller of the Purchased Assets to Purchaser and (ii) the assignment by Seller and the
assumption by Purchaser of the Assumed Liabilities by Purchaser (the “Bill of Sale”);

               (c)     to Purchaser, the officer’s certificates required to be delivered pursuant to
Sections 9.3(a) and 9.3(c);

              (d)    to Purchaser, a certificate executed by Seller in accordance with Treasury
Regulation Section 1.1445-2(b)(2) to the effect that Seller is not a “foreign person” within the
meaning of the Code Section 1445 or successor statute;

              (e)    if the Sale Order does not authorize a sale free and clear of all
Encumbrances (other than Permitted Encumbrances), then to Purchaser, releases and termination
statements with respect to all Encumbrances (other than Permitted Encumbrances) on the
Purchased Assets;

               (f)    to Purchaser, all other previously undelivered Seller Ancillary Agreements
required by this Agreement to be delivered by Seller at or prior to the Closing in connection with
the transactions contemplated by this Agreement;

                (g)    [RESERVED];

               (h)    to Purchaser, non-compete agreements for each of Seller Parent and Seller
Principal, in the form attached hereto as Exhibit C (the “Non-Compete Agreement”), duly
executed by Seller Parent and Seller Principal, as applicable;

               (i)    to Purchaser, a bill of sale for the vehicles included in the Purchased
Assets, in form and substance reasonably satisfactory to Purchaser, duly executed by Seller; and

                  (j)    to Purchaser, certificates of title or origin (or like documents) with respect
to any vehicles or other equipment included in the Purchased Assets for which a certificate of
title origin is required in order to transfer title.

         3.3.   Closing Deliveries by Purchaser. At the Closing, Purchaser shall deliver:

                (a)     to the Escrow Agent, Joint Written Instructions, duly executed by
Purchaser, directing the Escrow Agent to deliver the Escrow Amount (together with all accrued
interest thereon, if any) to Seller;


{04605048.11}                                     5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 11 of 229


                (b)    to Seller, the Closing Date Payment, in accordance with Section 2.2(b);

                (c)    to Seller, the Bill of Sale, duly executed by Purchaser;

               (d)     to Seller, the officer’s certificates required to be delivered pursuant to
Section 9.2(a); and

               (e)    to Seller, any Cure Costs associated with Assigned Contracts designated
as of the Closing Date in accordance with Section 2.2(c) that exceed the Cure Cap, to be paid by
Seller to counterparties to such Assigned Contracts as part of Seller’s assumption of such
Assigned Contracts pursuant to Section 365(b) of the Bankruptcy Code;

                (f)    [RESERVED]; and

               (g)     to Seller, the Non-Compete Agreements for Seller Parent and Seller
Principal, duly executed by Purchaser.

        3.4.    Termination of Agreement. This Agreement may be terminated prior to Closing
as follows:

                (a)    by the mutual written consent of Seller and Purchaser at any time prior to
the Closing;

               (b)   by Purchaser, if the Closing shall not have been consummated on or prior
to the Outside Date;

                (c)    by Purchaser or Seller, if there shall be any Law that makes consummation
of the transactions contemplated hereby illegal or otherwise prohibited, or there shall be in effect
a final non-appealable order of a Governmental Body of competent jurisdiction restraining,
enjoining or otherwise prohibiting the consummation of the transactions contemplated hereby;

               (d)    by Purchaser, if the Bankruptcy Case is dismissed or converted to a case
under Chapter 7 of the Bankruptcy Code, or if a trustee or examiner with expanded powers to
operate or manage the financial affairs, the business or the reorganization of Seller is appointed
in the Bankruptcy Case without immediately ratifying all terms and conditions applicable to
Seller herein and proceeding in good faith to consummate a Closing by the Outside Date;

               (e)    by Purchaser, if following entry of the Sale Order, the Sale Order shall (A)
be the subject of a pending appeal which stays the Closing, (B) have been reversed or (C) have
been modified or amended in any manner materially adverse to Purchaser without the prior
written consent of Purchaser;

                (f)    by Purchaser, (i) if Seller shall have breached or failed to perform any of
its representations, warranties, covenants or other agreements contained in this Agreement, or if
any representation or warranty of Seller in this Agreement shall have become untrue, and (ii) any
such breach, failure to perform or occurrence or the aggregate of all such breaches, failures to
perform or occurrences referred to in clause (i) (A) would result in a failure of any condition set
forth in Section 9.3(a) and (B) is not curable or able to be performed, or, if curable or able to be


{04605048.11}                                    6
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 12 of 229


performed, is not cured or performed to the reasonable satisfaction of Purchaser prior to the
earlier of (x) the Outside Date and (y) twenty (20) days after written notice of such breach,
failure or occurrence is given to Seller by Purchaser;

                (g)     by Seller, (i) if Purchaser shall have breached or failed to perform any of
its representations, warranties, covenants or other agreements contained in this Agreement, or if
any representation or warranty of Purchaser in this Agreement shall have become untrue, and
(ii) any such breach, failure to perform or occurrence or the aggregate of all such breaches,
failures to perform or occurrences referred to in clause (i) (A) would result in a failure of a
condition set forth in Section 9.2(a) and (B) is not curable or able to be performed, or, if curable
or able to be performed, is not cured or performed to the reasonable satisfaction of Seller prior to
the earlier of (x) the Outside Date and (y) twenty (20) days after written notice of such breach,
failure or occurrence is given to Purchaser by Seller;

               (h)    by Purchaser, if any of the Purchased Assets are damaged or destroyed by
any event or casualty prior to the Closing in a manner that would, individually or in the
aggregate, reasonably be expected to have a Material Adverse Effect;

                (i)    by Seller or Purchaser, if (i) Seller enters into a definitive agreement with
respect to a Competing Bid, (ii) the Bankruptcy Court enters an order approving a Competing
Bid and (iii) the Person making the Competing Bid consummates the Competing Bid;

              (j)     by Purchaser, at any time on or after the date that is six (6) Business Days
following the Hearing, if the Purchaser is not accepted as the Successful Bidder or the Backup
Bidder (each as defined in the Bidding Procedures); or

                (k)     by Purchaser in the event that the requirements of Article 7 are not
fulfilled within the timeframes set forth therein.

        3.5.    Procedure Upon Termination. In the event of a termination of this Agreement by
Purchaser or Seller, or both of them, pursuant to Section 3.4, (a) written notice of such
termination shall be given promptly by the terminating party to the other party hereto, specifying
the provision hereof pursuant to which such termination is made, and (b) except as set forth in
Section 3.6, this Agreement shall thereupon terminate and become void and of no further force
or effect, and the consummation of the transactions contemplated by this Agreement shall be
abandoned without further action of the parties hereto; provided, however, notwithstanding
anything contained in this Agreement to the contrary, such termination shall not relieve either
party hereto from Liability for its breach of this Agreement prior to such termination. Any
termination of this Agreement by Purchaser or Seller, or both of them, pursuant to Section 3.4
shall be effective on the date that written notice of such termination is given by the terminating
party to the other party hereto.

       3.6.    Effect of Termination. If this Agreement is terminated pursuant to Section 3.4,
this Agreement shall become void and of no further force or effect (except for the provisions of
Section 3.7 (Distribution of Deposit on Termination), Section 7.4 (Break-Up Fee), Article 10
(Miscellaneous), and such portions of Annex I (Definitions) as are necessary to give effect to the
foregoing, all of which shall continue in full force and effect), and Seller shall be free



{04605048.11}                                    7
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 13 of 229


immediately to enjoy all rights of ownership of the Purchased Assets and to sell, transfer,
encumber or otherwise dispose of the Purchased Assets to any party without any restriction
under this Agreement.

        3.7.     Distribution of Deposit on Termination. (i) If this Agreement is terminated
pursuant to Section 3.4(g), (A) the Escrow Amount (together with all accrued interest thereon, if
any) shall be paid to Seller, and (B) Seller and Purchaser shall, within three (3) Business Days of
termination, deliver Joint Written Instructions to the Escrow Agent directing the Escrow Agent
to deliver the Escrow Amount (together with all accrued interest thereon, if any) to Seller; or (ii)
if this Agreement is terminated pursuant to Sections 3.4(a), 3.4(b), 3.4(c), 3.4(d), 3.4(e), 3.4(f),
3.4(h), 3.4(i), 3.4(j), 3.4(k), (x) the Escrow Amount (together with all accrued interest thereon, if
any) shall be paid to Purchaser, and (y) Seller and Purchaser shall, within three (3) Business
Days of termination, deliver Joint Written Instructions to the Escrow Agent directing the Escrow
Agent to deliver the Escrow Amount (together with all accrued interest thereon, if any) to
Purchaser.

                                           ARTICLE 4

                 REPRESENTATIONS AND WARRANTIES OF SELLER

       Seller hereby makes the representations and warranties in this Article 4 to Purchaser as of
the Execution Date and as of the Closing Date.

        4.1.    Corporate Organization. Seller is a limited liability company, duly organized,
validly existing and in good standing under the Laws of the State of Georgia. Seller has all
requisite power and authority to own, lease, develop and operate the Purchased Assets that it
owns, leases, develops and operates and to conduct the Business as it is now being operated by it.
Seller is duly licensed or qualified and in good standing to do business in each jurisdiction in
which the properties owned or leased by it or the operation of its business makes such licensing
or qualification necessary. Seller does not have any subsidiaries, nor does it otherwise own any
equity interest in any other Person.

        4.2.    Authority Relative to This Agreement. Subject to entry of the Sale Order, Seller
has all requisite limited liability company power, authority and legal capacity to (a) execute and
deliver this Agreement, (b) execute and deliver the Seller Ancillary Agreements, and (c) perform
its obligations hereunder and under each of the Seller Ancillary Agreements, and to consummate
the transactions contemplated hereby and thereby. The execution and delivery of this Agreement
and each of the Seller Ancillary Agreements, and the consummation of the transactions
contemplated hereby and thereby, have been duly authorized by all requisite action on the part of
Seller. This Agreement has been, and at or prior to the Closing, each of the Seller Ancillary
Agreements will be, duly and validly executed and delivered by Seller and (assuming the due
authorization, execution and delivery by the other parties hereto and thereto, and the entry of the
Sale Order) this Agreement constitutes, and each of Seller Ancillary Agreements, when so
executed and delivered, will constitute, legal, valid and binding obligations of Seller, enforceable
against Seller in accordance with its terms, subject to the Bankruptcy Exceptions.




{04605048.11}                                    8
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                            Desc
                Exhibit A - Purchase Agreement Page 14 of 229


         4.3.   Conflicts; Consents of Third Parties.

                (a)     Subject to entry of the Sale Order, neither the execution and delivery of
this Agreement or any of the Ancillary Agreements by Seller, nor the consummation of the
transactions contemplated hereby or thereby, nor compliance by Seller with any of the terms or
provisions hereof or thereof, will (i) conflict with or result in a breach of any provision of the
articles of incorporation, bylaws, or other governing documents of Seller, (ii) conflict with or
result in a breach of any Law applicable to Seller, or (iii) conflict with, violate, result in the
breach or termination of or the loss of a benefit under, or constitute (with or without notice or
lapse of time or both) a default (or give rise to any right of termination, cancellation, payment or
acceleration) or adverse modification of any terms or rights under, any Contract or Permit or (iv)
result in any Encumbrance (other than Permitted Encumbrances) on any of the Purchased Assets.

               (b)     Subject to entry of the Sale Order, no Permit, registration, or declaration
of or from, or notice or filing with, any Governmental Body or any other Person is required for
or in connection with the execution and delivery by Seller of this Agreement and each Ancillary
Agreement to which Seller is a party, and the consummation by Seller of the transactions
contemplated hereby and thereby.

        4.4.    Litigation. Except as set forth on Section 4.4 of the Seller Disclosure Schedule,
there is no litigation, action, claim, suit, proceeding, investigation, examination, hearing,
mediation, arbitration, inquiry, subpoena or audit, whether in law or equity, or whether civil,
criminal, regulatory, arbitral or administrative (except as filed as part of the Bankruptcy Case)
related to the Business, the Purchased Assets, or the Assumed Liabilities (collectively,
“Actions”), pending or, to the Knowledge of Seller, threatened. Except as filed as part of the
Bankruptcy Case, Seller is not subject to any judgment, decree, injunction, subpoena, order,
ruling, writ, assessment or award of any court, arbitration panel or other Governmental Body that
relates to the Business, the Purchased Assets or the Assumed Liabilities and for which Seller has
continuing obligations or Liabilities.

         4.5.   Intellectual Property. Seller is the exclusive owner of all right, title, and interest
in and to all Seller Intellectual Property. Section 4.5 of the Seller Disclosure Schedule sets forth
a true, complete and correct list of all Seller Intellectual Property, including, without limitation,
(i) all of the patents, registered trademarks, registered copyrights, internet domain names, and
applications for any of the foregoing, in each case that constitute Seller Intellectual Property
(“Registered IP”) and (ii) all software included in Seller Intellectual Property. Except as set forth
on Section 4.5 of the Seller Disclosure Schedule, (w) no Registered IP has been adjudged invalid
or unenforceable in whole or in part, (x) all Registered IP is valid and enforceable, (y) the
Business has not infringed upon or misappropriated any Intellectual Property of any third Person,
and (z) to the Knowledge of Seller, the Seller Intellectual Property has not been infringed upon
or misappropriated by any third Person. Seller has taken commercially reasonable efforts to
protect the confidentiality of its material trade secrets and confidential information relating to the
Business. No Person who has performed services, whether for Seller or any Affiliate of Seller, in
connection with the development or enhancement of Seller Intellectual Property holds any
proprietary or other ownership rights with respect to such Seller Intellectual Property. Each
Person who has contributed to or participated in the creation or development of any Seller
Intellectual Property for, or for the benefit of, Seller or any Affiliate of Seller either is a party to


{04605048.11}                                      9
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 15 of 229


a work-for-hire agreement under which Seller is deemed to be the original owner/author of all
propriety rights therein or has executed an enforceable assignment in favor of Seller of all right,
title and interest in all of the same. The Seller Intellectual Property is all of the Intellectual
Property (a) used by Seller in connection with the Business, and (b) that is necessary for the
Business to be conducted in the same manner as historically conducted by Seller prior to the
Closing.

        4.6.    Permits. Section 4.6 of the Seller Disclosure Schedule lists all of the Permits
issued to Seller and used, or held for use, in connection with the operation of the Business or
applicable to the ownership of the Purchased Assets or assumption of the Assumed Liabilities
(collectively, the “Seller Permits”). The Seller Permits are all of the Permits that are required or
necessary (i) for the ownership or use of the Purchased Assets and (ii) for the operation of the
Business. Each Seller Permit is in full force and effect. Seller is in compliance with its
obligations under each Seller Permit and the rules and regulations of the Governmental Body
issuing such Seller Permit. There is no pending, or to the Knowledge of Seller, threatened,
Action with respect to revocation, cancellation, suspension or nonrenewal of any such Seller
Permit. Seller has not received any written notice from any Governmental Body (x) asserting the
violation of the terms of any such Seller Permit, (y) threatening to revoke, cancel, suspend or not
renew the terms of any such Seller Permit, or (z) seeking to impose fines, penalties or other
sanctions for violation of the terms of any such Seller Permit.

         4.7.   Title to Assets; Condition of Assets.

                (a)     Except as otherwise listed in Section 4.7(a) of the Seller Disclosure
Schedule, Seller has good and marketable title, or a valid leasehold interest, as applicable, in and
to each of the Purchased Assets owned or leased by it and has the right to use the respective
Purchased Assets necessary for the conduct of the Business as currently conducted. Subject to
entry of the Sale Order, Seller has, and at the Closing Purchaser shall receive, good, valid and
marketable title, or valid leasehold interest in, as applicable, to the Purchased Assets, free and
clear of all Liabilities (except Assumed Liabilities) and Encumbrances (except Permitted
Encumbrances). The Purchased Assets are sufficient for Purchaser to conduct a business
substantially similar to the Business after the Closing in substantially the same manner as Seller
conducted the Business prior to the Closing and, except for the Excluded Assets, constitute all of
the rights, property and assets necessary to conduct a business substantially similar to the
Business conducted by Seller, should Purchaser elect to do so.

                (b)     Section 4.7(b) of the Seller Disclosure Schedule sets forth a complete and
correct list of all of Seller’s personal property, equipment, fixtures, machinery, and other fixed
assets (the “Fixed Assets”), and the location and book value (determined in accordance with
GAAP) of each such Fixed Asset. The Fixed Assets are in good operating condition and repair,
subject to ordinary wear and tear consistent with their age and use, and are suitable for their
intended uses. During the past three (3) years there has not been any significant interruption of
the operations of the business of Seller to inadequate maintenance of the Fixed Assets or the
Leased Real Property or otherwise.

         4.8.   Real Property.



{04605048.11}                                    10
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 16 of 229


                 (a)    Seller does not own any real property.

                 (b)     Section 4.8(b) of the Seller Disclosure Schedule sets forth a complete and
correct list of all leasehold interests in real property that are owned by Seller or that are used by
Seller (or useful to Seller) in connection with the operation of the Business, all of which shall
constitute Leased Real Property hereunder, specifying the address or other information sufficient
to identify all such Leased Real Property. With respect to the Leased Real Property:

                        (i)    True and correct copies of each of the leases for the Leased Real
         Property, together with all amendments, modifications, guaranties, supplements, letter
         agreements, understandings and correspondence related thereto have been made available
         to Purchaser, and each of such leases is valid, binding, enforceable (subject to the
         Bankruptcy Exceptions) and in full force and effect; and

                         (ii)   Seller has not subleased, assigned or otherwise granted to any
         Person the right to use or occupy such Leased Real Property or any portion thereof, Seller
         has not pledged, mortgaged or otherwise granted an Encumbrance on Seller’s leasehold
         interest in any Leased Real Property, and Seller has received no notice that it is in default
         under any lease for the Leased Real Property that would not be resolved through the
         payment of Cure Costs.

        4.9.   Compliance with Law. Seller: (i) is in compliance with all applicable Laws
relating to the Business, the Purchased Assets and the Assumed Liabilities, (ii) as of the
Execution Date, has not received written notice of any alleged violation of any Law applicable to
the Business, the Purchased Assets or Assumed Liabilities, and (iii) is not subject to, or in default
in any respect with, any order of any Governmental Body applicable to the Business, the
Purchased Assets or Assumed Liabilities or the transactions contemplated under this Agreement.

         4.10.   Employees; Employee Benefits.

                (a)    Section 4.10(a) of the Seller Disclosure Schedule sets forth a true and
complete list of individuals that are currently employed by Seller in the Business and all
individuals that are on temporary or permanent lay-off or furlough status (“Business
Employees”), including name, title, date of hire, former or current base salary or wage rate,
position, title, bonus opportunity, and whether such employee is out on disability or other
permitted leaves of absence and/or is on temporary or permanent lay-off or furlough status.

               (b)     Except as set forth on Section 4.10(b) of the Seller Disclosure Schedule,
Seller is not a party to any labor or collective bargaining agreement that covers any Business
Employees. To the Knowledge of Seller, there are no union organizing activities pending or
overtly threatened with respect to the Business Employees. There are no strikes, lockouts or
other material labor disputes pending or, to the Knowledge of Seller, overtly threatened by or
with respect to any Business Employees.

              (c)     Section 4.10(c) of the Seller Disclosure Schedule sets forth a list of all of
the material pension, retirement, profit-sharing, deferred compensation, equity compensation,
severance, change in control, vacation, medical, dental, disability, life insurance, bonus or other
plans, programs, arrangements or agreements (including all “employee benefit plans” as that


{04605048.11}                                     11
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 17 of 229


term is defined in Section 3(3) of ERISA, whether or not subject to ERISA) currently or
previously within the last ten (10) years maintained, sponsored or contributed to by Seller or any
of its Affiliates for the benefit of the Business Employees or any beneficiary or dependent
thereof or for which Seller or any of its ERISA Affiliates has or may have any Liability
(collectively, the “Benefit Plans”).

               (d)     Except as set forth on Section 4.10(d) of the Seller Disclosure Schedule,
Seller has not, within the last ten (10) years (i) maintained, contributed to, participated in, or
incurred any Liability with respect to, any employee benefit plan that is subject to Title IV of
ERISA, Code Section 412, or ERISA Section 302, or (ii) participated in, contributed to, or
incurred any Liability with respect to, a multiemployer plan within the meaning of Section 3(37)
of ERISA (“Multiemployer Plan”) or multiple employer pension or welfare plan.

                 (e)     Except as provided in Section 4.10(e) of the Seller Disclosure Schedule,
neither Seller nor any of its ERISA Affiliates has any Liability and, to the Knowledge of Seller,
there are no facts or circumstances that might give rise to any Liability, and the consummation of
the transactions contemplated by this Agreement will not result in any Liability: (i) for the
termination of or withdrawal from any Benefit Plan under Sections 4062, 4063 or 4064 of
ERISA; (ii) for any lien imposed under Section 302(f) of ERISA or Section 412(n) of the Code;
(iii) for any interest payments required under Section 302(e) of ERISA or Section 412(m) of the
Code; (iv) for any excise tax imposed by Section 4971 of the Code; (v) for any minimum
funding contributions under Section 302(c)(11) of ERISA or Section 412(c)(11) of the Code; or
(vi) for withdrawal from any Multiemployer Plan under Section 4201 of ERISA.

                (f)     Each of the Benefit Plans intended to be “qualified” within the meaning of
Code Sections 401(a) has received a favorable determination letter or may rely on a favorable
opinion letter as to such plan’s qualified status, and no circumstances exist that would reasonably
be expected to result in the revocation of any such letter. Each of the Benefit Plans has been (i)
administered in compliance with its terms and (ii) maintained in accordance with ERISA, the
Code and any other applicable Laws.

              (g)     With respect to each Benefit Plan: (i) no Actions or disputes are pending,
or, to the Knowledge of Seller, threatened; and (ii) all premiums, contributions, or other
payments required to have been made under the terms of any Benefit Plan or any contract or
agreement relating thereto as of the Closing Date have been made.

               (h)     Except as set forth in Section 4.10(h) of the Seller Disclosure Schedule
and except as required by COBRA or other applicable Laws, no Benefit Plan provides for
medical or death benefits with respect to any employee or former employee of Seller or its
predecessors after termination of employment.

                (i)    Except as otherwise expressly contemplated by the terms of this
Agreement, the consummation of the transactions contemplated by this Agreement shall not give
rise to any material Liability under any Benefit Plan, or accelerate the time of payment or vesting
or increase the amount of compensation or benefits due to any employee, director or independent
contractor of Seller (whether current, former or retired) or their beneficiaries solely by reason of
such transactions.


{04605048.11}                                   12
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 18 of 229


        4.11. Insurance Policies. Section 4.11 of the Seller Disclosure Schedule sets forth a
complete list of all insurance policies with respect to which Seller is a party, a named insured or
otherwise the beneficiary of coverage with respect to any of the Purchased Assets or the
Assumed Liabilities. All such insurance policies are in full force and effect, Seller has paid all
premiums on such policies as they have become due, and Seller is not in default thereunder.
Section 4.11 of the Seller Disclosure Schedule sets forth an accurate and complete list of all
pending claims made or paid under insurance policies maintained by Seller with respect to which
Seller was a named insured or otherwise the beneficiary of coverage since December 31, 2016.

         4.12.   Tax Matters.

               (a)     Seller has (or will have by the Closing Date) filed all Tax Returns that are
required to be filed on or before the Closing Date and such Tax Returns have been (or will be by
the Closing Date) properly prepared and timely filed and were (or will be by the Closing Date)
true, complete and accurate in all respects.

               (b)      Except as to those obligations disclosed on the Bankruptcy Schedules,
Seller has fully and timely paid all Taxes due and payable (whether or not shown on any Tax
Return), and Seller has withheld and timely paid over to the appropriate taxing authority all
Taxes that they are required to withhold from amounts paid or owing to any employee, creditor,
independent contractor or other Person in compliance with all Tax withholding and remitting
provisions of applicable Laws and has complied in all respects with all Tax information reporting
provisions of all applicable Laws.

               (c)    Seller has not waived any statute of limitations with respect to any Taxes
or agreed to any extension of time with respect to the collection or assessment or reassessment of
Taxes due from Seller for any taxable period and no request for any such waiver or extension is
currently pending.

                (d)     Except as set forth on Section 4.12(d) of the Seller Disclosure Schedule,
no audits or administrative or judicial or other Actions are pending or being conducted or, to the
Knowledge of Seller, being threatened in writing with respect to the Taxes due from Seller, no
Governmental Body has given notice in writing of any intention to assert any deficiency or claim
for additional Taxes against Seller, no claim has been made by any Governmental Body in a
jurisdiction where Seller does not file a Tax Return that Seller is or may be subject to Taxation
by that jurisdiction, and all deficiencies for Taxes asserted or assessed against Seller have been
fully and timely paid or have otherwise been resolved.

              (e)    Except as set forth on Section 4.12(e) of the Seller Disclosure Schedule,
none of the Purchased Assets are subject to any Liability (other than Assumed Liabilities) or
Encumbrance (other than Permitted Encumbrances) for Taxes.

              (f)    None of the Purchased Assets are “tax-exempt use property” within the
meaning of Section 168(h) of the Code.

              (g)     Seller has not had a permanent establishment in any foreign country, as
defined in any applicable Tax treaty or convention between the United States and such foreign



{04605048.11}                                   13
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 19 of 229


country, and Seller is not engaged in a trade or business in any foreign country with which the
United States does not have a Tax treaty or convention.

               (h)    Seller is not a “foreign person” as that term is used in Treasury Regulation
Section 1.1445-2. Seller does not have, and has never had, a permanent establishment in any
country other than the United States. Seller is not a “disregarded entity” as defined in Treasury
Regulation Section 1.1445-2(b)(2)(iii).

         4.13.   Customers and Suppliers.

               (a)    Section 4.13(a) of the Seller Disclosure Schedule sets forth a true,
complete and correct list of (i) all customers of Seller (each, a “Seller Customer”), and the
aggregate revenues attributable to and monthly pounds processed by each such Seller Customer
for the fiscal year ended on December 31, 2017 and for the nine (9) month period ended
September 30, 2018, and (ii) all suppliers for Seller (each, a “Seller Supplier”), and the aggregate
amounts of payments made to each Seller Supplier, in each case, for the fiscal year ended
December 31, 2017, and for the nine (9) month period ended September 30, 2018.

               (b)    Except as set forth on Section 4.13(b) of the Seller Disclosure Schedule,
no Seller Customer or Seller Supplier (i) has provided Seller with any notice or communication
terminating, suspending or reducing in any material respect, or specifying an intention to
terminate, suspend or reduce in any material respect in the future, or otherwise reflecting a
materially adverse change (including pricing) in, the business relationship between such Seller
Customer or Seller Supplier and Seller, or (ii) has cancelled or otherwise terminated or
materially amended, modified or reduced any Contract between such Seller Customer or Seller
Supplier and Seller.

        4.14. Financial Statements. Seller has made available to Purchaser true, correct and
complete copies of (a) Seller’s financial statements consisting of balance sheets of Seller as of
December 31, 2016 and 2017, and the related statements of comprehensive income and cash
flow for the years then ended (collectively, the “Fiscal Year Financial Statements”), and (b)
financial statements consisting of the balance sheet of Seller as of September 30, 2018, and the
related statements of comprehensive income and cash flow for the nine-month period then ended
(collectively, the “Interim Financial Statements” and together with the Fiscal Year Financial
Statements, the “Financial Statements”). The Financial Statements (i) were prepared in
accordance with GAAP consistently applied through the applicable periods involved (except that
the Interim Financial Statements are subject to normal year-end adjustments (the effect of which
will not, individually or in the aggregate, be material) and do not include footnotes (that, if
presented, would not differ materially from those presented in the Fiscal Year Financial
Statements)), (ii) are correct and complete in all material respects, and (iii) present fairly in all
material respects the financial condition of Seller as of the respective dates they were prepared
and the results of the operations, stockholders’ equity and cash flows of Seller for the period
indicated.

        4.15. Undisclosed Liabilities. Seller does not have any Liabilities, except (i) those that
are adequately reflected or reserved against in the Interim Balance Sheet (ii) those Liabilities that
are disclosed on the Bankruptcy Schedules and (iii) those that have been incurred in the Ordinary


{04605048.11}                                    14
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 20 of 229


Course of Business since the date of the Interim Balance Sheet, which are not material in amount
(either individually or in the aggregate) and none of which results from, arises out of, relates to,
is in the nature of, or was caused by any breach of Contract, breach of warranty, tort,
infringement, violation of Law, or any Action.

        4.16. Absence of Certain Developments. Except as set forth on Section 4.16 of the
Seller Disclosure Schedule, since December 31, 2017, Seller has conducted the Business only in
the Ordinary Course of Business and, without limiting the foregoing, Seller has not, with respect
to the Business, the Purchased Assets or the Assumed Liabilities:

                (a)    experienced or suffered a Material Adverse Effect;

                (b)    sold or otherwise disposed of any of its assets or properties, tangible or
intangible;

             (c)   created or suffered to exist any Encumbrance (other than a Permitted
Encumbrance) upon any of its assets, tangible or intangible;

                (d)     entered into or consummated any transaction involving the acquisition of
the capital stock or other equity securities, assets, property, or business lines of any Person other
than purchases of Inventory in the Ordinary Course of Business;

               (e)     made any change in accounting principles, practices or methods, except to
the extent required by changes in GAAP or applicable Law;

               (f)     suffered or sustained any damage, destruction or other casualty loss with
respect to any material asset or property owned, leased or otherwise used by Seller with respect
to the Business or any of the Purchased Assets, whether or not covered by insurance, in excess of
$5,000, individually or in the aggregate;

                (g)    had any employee strike, work stoppage, slow down or lockout;

              (h)     made any change in excess of five percent (5%) in the rate of
compensation, commission, bonus or other direct or indirect remuneration payable, or paid or
agreed or promised to pay, conditionally or otherwise, any bonus, extra compensation, pension
or severance or vacation pay, to any employee, consultant, salesman, representative or agent of
the Business;

              (i)    instituted, settled or agreed to settle, or become the subject of or named in,
any Action before any Governmental Body, other than, for the avoidance of doubt, the applicable
Bankruptcy Case;

                (j)    released or waived any material right or claim against any other Person;
and

                (k)    agreed or committed (orally or in writing) to any of the foregoing.




{04605048.11}                                    15
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 21 of 229


        4.17. Linen Inventory. Section 4.17 of the Seller Disclosure Schedule sets forth the
quantity, location, and book value (determined in accordance with GAAP) of the linen inventory
owned by Seller (the “Linen Inventory”). The Linen Inventory consists of a quality and quantity
usable and saleable in the Ordinary Course of Business, except for obsolete, damaged or
defective items that have been written off or written down to fair market value. All such linen is
owned by Seller free and clear of all Encumbrances (except Permitted Encumbrances), and no
linen is held on a consignment basis. The quantity of the Linen Inventory is not excessive, but is
reasonable in the present circumstances of Seller. The Linen Inventory is of a quantity and
quality sufficient for Seller’s current operations. Seller (i) has provided Purchaser complete and
accurate information regarding capital expenditures with respect to the Linen Inventory for the
past three (3) years, and (ii) confirms that such capital expenditures have been adequate during
the past three (3) years to maintain a sufficient Linen Inventory that is usable and saleable in the
Ordinary Course of Business. No customer for which Seller acquires linen has a deficiency in
linen inventory as to amount, nature or kind. Seller has no obligations to supply linen to
customers that own their own linen directly nor any other Liability with respect to such customer
owned linens. The average useful life of the Linen Inventory is twenty four (24) months, which
is consistent with the average useful life of Seller’ linen inventory during the past three (3) years.

         4.18.   Material Contracts.

               (a)     Section 4.18(a) of the Seller Disclosure Schedule sets forth a complete and
accurate list of each of the following Contracts (collectively, the “Material Contracts”) and
Seller’s good faith estimate, as of the Execution Date, of the Cure Costs, if any, applicable to
each such Contract:

                      (i)     Any Contract concerning marketing of or relating to research and
         development of any of the products sold by Seller;

                       (ii)   Any Contract (A) relating to indebtedness or the guaranty of
         another Person’s indebtedness, or (B) pursuant to which Seller has loaned or advanced
         money to any Person, other than sales to customers on credit in the Ordinary Course of
         Business;

                      (iii)    Any Contract granting any Person an Encumbrance on any of the
         Purchased Assets;

                        (iv)    Any Contract (A) providing for any Person to be the exclusive
         provider of any product or service sold or provided by Seller or the exclusive recipient of
         any such product or service, or otherwise imposing any exclusivity obligation on Seller,
         (B) containing a covenant by Seller not to (x) compete with any Person in any business in
         any geographic area or (y) solicit or hire any Person, or (C) including any “most favored
         nations” or similar pricing terms or other similar protections or assurances;

                       (v)     Any licenses or Contracts with respect to proprietary or Intellectual
         Property rights (other than licenses of generally available non-customized computer
         software granted to Seller with a total replacement cost of less than $5,000), including
         any agreement with any current or former employee, consultant or contractor regarding



{04605048.11}                                    16
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                           Desc
                Exhibit A - Purchase Agreement Page 22 of 229


         appropriation or non-disclosure of any Intellectual Property;

                        (vi)    Any Contract or group of related Contracts with the same party (or
         group of related parties) either (A) requiring payments after the Execution Date to or by
         Seller of more than $5,000 or (B) not terminable by Seller on sixty (60) days’ or less
         notice without penalty or other Liability;

                        (vii) Any Contract establishing or creating any partnership, joint
         venture, limited liability company, limited liability partnership or similar entity;

                          (viii) Any Contract that requires Seller to purchase all or substantially all
         of their requirements for a product or services from a particular Person, requires Seller to
         sell all of any type of product or service to a particular Person, or otherwise contains any
         exclusivity obligations;

                        (ix)    Any Contract that involves the grant by or to Seller of exclusive
         rights;

                         (x)     Any Contract with any Affiliate of Seller or with any manager,
         director, officer, stockholder or employee of Seller or any Affiliate of Seller;

                        (xi)   Any Contract affecting the ownership of, leasing of, title to, use of,
         or any leasehold or other interest in, any real or personal property, including each lease
         for the Leased Real Property and any Contract for the lease of any Purchased Asset;

                        (xii)   Any Contract with a Seller Customer

                         (xiii) Any Contract with a Seller Supplier that provides goods or services
         that are material to the operation of the Business; and

                       (xiv) Any other Contract which is material to Seller, the Business, or
         any Purchased Asset or Assumed Liability.

                (b)    Each Material Contract is in full force and effect, and is valid, binding and
enforceable against Seller and, to the Knowledge of Seller, the other parties thereto, in
accordance with its terms, in each case with respect to enforceability, subject to the Bankruptcy
Exceptions. There is no material breach or default by Seller under any Material Contract and, to
the Knowledge of Seller, no event has occurred which, with due notice or lapse of time or both,
would constitute such a breach or default, in each case, that will not be cured by compliance with
the Sale Order at Closing, including payment of any Cure Costs that the Purchaser is required to
pay pursuant to this Agreement. To the Knowledge of Seller, (x) no other party to any Material
Contract is in material default in respect thereof and (y) no event has occurred which, with due
notice or lapse of time or both, would constitute such a default. During the prior three (3) years,
Seller has not released or waived any material rights under any Material Contract.

               (c)    Seller has provided to Purchaser true, correct and complete copies of each
written Material Contract and true, correct and complete descriptions of all material terms of all
oral Material Contracts, as amended to date.


{04605048.11}                                     17
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 23 of 229


        4.19. Affiliated Transactions. Except as set forth on Section 4.19 of Seller Disclosure
Schedule, (i) no Affiliate of Seller is a party to any Material Contract or owns or has any interest
in any property used in the operation of the Business or in any other Purchased Assets or
Assumed Liabilities, (ii) during the past three (3) years, Seller has not, directly or indirectly,
purchased, leased or otherwise acquired or used any property, assets or rights of or obtained any
services from, or sold, leased or otherwise distributed, transferred or disposed of any assets,
properties or rights or furnished any services to, or otherwise engaged in transactions with, any
Affiliate of Seller, and (iii) neither of the Business nor operations of Seller related to any of the
Purchased Assets or the Assumed Liabilities is or has been conducted through any Affiliate of
Seller.

        4.20. Environmental, Health and Safety Matters. Except as set forth on Section 4.20 of
the Seller Disclosure Schedule:

               (a)    Seller (i) is and within the past five years has been in compliance in all
material respects with all applicable Environmental, Health and Safety Requirements, and (ii)
has obtained all Permits arising under Environmental, Health and Safety Requirements that are
necessary for the conduct of the Business in compliance in all material respects with
Environmental, Health and Safety Requirements;

              (b)    Seller has not received any unresolved written notice, report or other
written communication regarding any actual or alleged violation of Environmental, Health and
Safety Requirements or any unresolved actual or alleged Environmental Liabilities;

               (c)    no material Release has occurred or is occurring at or from any Leased
Real Property that requires notice to any Governmental Body, further investigation, any form of
response action under applicable Environmental, Health and Safety Requirements, or that could
reasonably be expected to form the basis of a material claim for damages or compensation by
any Person;

               (d)     Seller has not agreed to, assumed or retained any material Environmental
Liability under any lease, purchase agreement, sale agreement, joint venture agreement or other
binding corporate or real estate document or agreement, including any Assigned Contract; and

               (e)   Seller has made available to Purchaser all significant environmental
reports, data, documents, studies, analyses, investigations, audits and reviews in Seller’s
possession or control as necessary to reasonably disclose to Purchaser any material
Environmental Liabilities in relation to the Business, the Purchased Assets, or the Assumed
Liabilities.

                                           ARTICLE 5

                REPRESENTATIONS AND WARRANTIES OF PURCHASER

       Purchaser hereby makes the representations and warranties in this Article 5 to Seller as of
the Execution Date and as of the Closing Date.




{04605048.11}                                    18
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 24 of 229


        5.1.    Corporate Organization. Purchaser is a limited liability company, duly organized,
validly existing and in good standing under the Laws of the State of Delaware.

        5.2.    Authority Relative to This Agreement. Purchaser has all requisite limited liability
company power, authority and legal capacity to (a) execute and deliver this Agreement, (b)
execute and deliver the Ancillary Agreements to be executed by Purchaser, and (c) perform its
obligations hereunder and under each of the Ancillary Agreements to be executed by Purchaser,
and to consummate the transactions contemplated hereby and thereby. The execution and
delivery of this Agreement and each of such Ancillary Agreements, and the consummation of the
transactions contemplated hereby and thereby, have been duly authorized by all requisite action
on the part of Purchaser. This Agreement has been, and at or prior to the Closing each of such
Ancillary Agreements will be, duly and validly executed and delivered by Purchaser and
(assuming the due authorization, execution and delivery by the other parties hereto and thereto,
and the entry of the Sale Order) this Agreement constitutes, and each of such Ancillary
Agreements when so executed and delivered will constitute, legal, valid and binding obligations
of Purchaser, enforceable against Purchaser in accordance with its respective terms, subject to
the Bankruptcy Exceptions.

        5.3.    Consents and Approvals; No Violation. Neither the execution and delivery of this
Agreement or any of the Ancillary Agreements by Purchaser, nor the consummation of the
transactions contemplated hereby or thereby, nor compliance by Purchaser with any of the terms
or provisions hereof or thereof, will (i) conflict with or result in a breach of any provision of the
articles of incorporation, bylaws or other governing documents of Purchaser, (ii) conflict with or
result in a breach of any Law applicable to Purchaser or (iii) conflict with, violate, result in the
breach or default under any Contract to which Purchaser is a Party, except as in each case clauses
(i) through (iii) above would not have a material adverse effect on the ability of Purchaser to
consummate the transactions contemplated at the Closing. The execution, delivery and
performance by Purchaser of this Agreement does not require Purchaser to make any filing with
or give notice to, or obtain any consent or Permit from, any Governmental Body, other than the
Sale Order and other than that which will have been made, given or obtained at or prior to the
Closing.

       5.4.    Sufficiency of Funds. Purchaser has as of the Execution Date, and shall have at
the Closing, funds that are sufficient to pay the Purchase Price, assume the Assumed Liabilities
and otherwise consummate all of the transactions contemplated hereunder.

                                           ARTICLE 6

                                          EMPLOYEES

         6.1.   Employees.

              (a)    Purchaser (or its Affiliates) may, in its sole discretion, make written offers
of employment to any or all of the Business Employees (the “Offer Employees”), with such
employment by Purchaser or its Affiliate (as applicable) to commence as of the Closing Date,
conditional on Closing, on such terms as Purchaser chooses in its sole discretion. Each such
Offer Employee who executes and delivers an offer letter on or before the Closing Date and


{04605048.11}                                    19
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 25 of 229


commences employment with Purchaser (or its Affiliates) on the Closing Date is hereinafter
referred to as a “Hired Employee”. Prior to the Closing, Seller shall cooperate with Purchaser in
its efforts to obtain an executed offer letter from each Offer Employee. Subject to the foregoing
provisions of this Section 6.1(a), all such offers of employment shall be (i) subject to such
compensation, benefit and other terms and conditions of employment as Purchaser shall
determine in its sole discretion and (ii) contingent on such Business Employee’s waiver of any
claims to termination payments against Seller’s bankruptcy estate or employment-related claims
against Purchaser arising out of Seller’s employment or successor liability theories.
Notwithstanding the foregoing, Purchaser reserves the right to amend, modify or discontinue at
any time the compensation and other terms and conditions of employment, or terminate the
employment, of the Hired Employees. On the Closing Date, Seller shall terminate the
employment of each Hired Employee and Purchaser shall commence its employment of such
Hired Employee.

               (b)    Purchaser shall not have any responsibility, liability or obligation, whether
to Business Employees, Offer Employees, Hired Employees, former employees, their
beneficiaries or to any other Person, with respect to any employee benefit plans, practices,
programs or arrangements, including the Benefit Plans (including the establishment, operation or
termination thereof and the notification and provision of COBRA coverage) maintained by
Seller.

                (c)   Nothing in this Article 6 expressed or implied shall confer any third party
rights or remedies hereunder in any Person, including any Business Employees, Offer
Employees, or Hired Employees and nothing herein amends any Benefit Plan or any employee
benefit plan of Purchaser.

               (d)     Notwithstanding anything in this Agreement to the contrary, Purchaser
shall not be obligated to provide any severance, separation pay or other payments or benefits to
any employee of Seller or any Affiliate of Seller, including without limitation, any Business
Employee, Offer Employee, or Hired Employee, on account of any termination of such
employee’s employment on or before the Closing Date, and such payments and benefits (if any)
shall remain obligations of Seller.

              (e)    Seller shall remain solely responsible for any and all Liabilities that could
arise under the WARN Act as a result of or relating to this Agreement, to the transactions
contemplated hereby, or in connection with any employment losses occurring on or prior to the
Closing Date, and Seller shall take all actions that are necessary or proper to comply with the
WARN Act.

               (f)    Subject to applicable Law, Seller shall cooperate with Purchaser and shall
permit Purchaser a reasonable period during normal business hours prior to the Closing Date, to
communicate with Business Employees on temporary or permanent lay-off or furlough status
and meet with current Business Employees at such times as Purchaser shall reasonably request in
connection with Purchaser determining which Business Employees shall be extended an offer of
employment. Furthermore, Seller shall provide Purchaser with reasonable access to employment
records required by Purchaser which Seller may lawfully provide to Purchaser.



{04605048.11}                                   20
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 26 of 229


                (g)    Following the Closing, Seller and Purchaser shall cooperate reasonably
with each other to provide an orderly administrative transition to Purchaser of the Hired
Employees, including the provision by Seller to Purchaser of all necessary or appropriate
documents, records, materials, accounting files and Tax information with respect to each Hired
Employee. Seller consents to the hiring of the Hired Employees by Purchaser and waives (on
behalf of itself and its Affiliates) with respect to the employment of the Hired Employees by
Purchaser or any of its Affiliates, all claims and rights Seller or its Affiliates have under (A) any
non-competition, confidentiality, non-solicitation or similar restrictive covenants with the Hired
Employees (other than with respect to an Assigned Contract) and (B) that certain Confidentiality
Agreement, dated July 23, 2018, by and between Quilvest USA, Inc. and Seller Parent (the
“Confidentiality Agreement”).

       6.2.    No Assumption of Liabilities. Nothing in this Article 6 shall be construed to hold
Purchaser liable for any Liabilities of Seller or its Affiliates other than the Assumed Liabilities
expressly assumed by Purchaser pursuant to Section 1.2.

                                           ARTICLE 7

                             BANKRUPTCY COURT MATTERS

        7.1.   Competing Bids. Purchaser acknowledges and is aware that the transactions
contemplated by this Agreement are subject to any higher or better bids (“Competing Bids”) as
part of a sale process to be conducted in the Bankruptcy Case, as well as any objections by
creditors and parties in interest, as set forth in the Bidding Procedures described in Section 7.2.

       7.2.    Sale Motion, Bidding Procedures and Sale Milestones. Seller shall take the
following actions, or shall cause them to occur, by the following deadlines (collectively, the
“Sale Milestones”):

               (a)    Within ten (10) days after the mutual execution of this Agreement, Seller
will file a motion (the “Sale Motion”), with the Bankruptcy Court, in form and substance
approved by Purchaser, for entry of an order, in the form attached hereto as Exhibit D (the
“Bidding Procedures Order”), approving the transactions contemplated hereby and the bidding
procedures in the form attached to the Bidding Procedures Order, incorporated by reference
herein (the “Bidding Procedures”).

               (b)     Subject to availability of the Bankruptcy Court, on or before such date that
is fourteen (14) days after filing of the Sale Motion, Seller will obtain entry by the Court of the
Bidding Procedures Order.

               (c)    Seller shall require that any and all Qualified Bids (as defined in the
Bidding Procedures) shall be submitted on or before the date that is twenty-one (21) days from
entry of the Bidding Procedures Order (the “Bid Deadline”).

               (d)    In accordance with the Bidding Procedures Order and the Bidding
Procedures approved pursuant thereto, in the event a Qualified Bid, other than the Stalking Horse
Bid (as defined in the Bidding Procedures), is timely received prior to the Bid Deadline, Seller
will conduct an auction (the “Auction”) within five (5) days from the Bid Deadline.


{04605048.11}                                    21
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 27 of 229


               (e)     If Purchaser is the Successful Bidder (as defined in the Bidding
Procedures), Seller shall use its best efforts to obtain entry by the Bankruptcy Court of the Sale
Order, as soon as reasonably possible.

               (f)     If Purchaser is the Successful Bidder (as defined in the Bidding
Procedures), then Seller shall use its best efforts to cause the Closing to occur on or before the
date that is sixty (60) days from the Execution Date, or such other later date as is mutually
agreed by Purchaser and Seller in a writing dated prior to the date that is sixty (60) days from the
Execution Date (the “Outside Date”).

        7.3.   Bidding Procedures and Stalking Horse Protections Are Material Consideration to
Purchaser. Each and every provision of the Bidding Procedures and Stalking Horse Protections
(as described in the Bidding Procedures), including without limitation Purchaser’s right to
Break-Up Fee (as set forth in Section 7.4 below), Purchaser’s Matching Rights (as defined in the
Bidding Procedures), and Seller’s compliance with the Sale Milestones, constitute material
consideration to Purchaser under this Agreement. The Parties acknowledge that Purchaser would
not have entered into this Agreement without each and every provision within the attached
Bidding Procedures, including the Stalking Horse Protections described therein. In the event the
Court does not approve, or materially modifies, the Bidding Procedures, or Seller fails to comply
with the Sale Milestones, Purchaser may terminate this Agreement pursuant to Section 3.4(k)
hereof.

         7.4.   Break-Up Fee; Expense Reimbursement.

               (a)      In consideration for Purchaser’s expenditure of time, energy and resources
in performing due diligence and formulating its offer for the Purchased Assets, and the benefit to
the estate created by Purchaser’s willingness to submit an offer that will enable Seller’s
competitive sale process, in the event that this Agreement is terminated pursuant to Section
3.4(i), Purchaser shall, in addition to the return of the Escrow Amount and subject to approval of
the Bankruptcy Court, be entitled to a compensatory payment of $120,000 (the “Break-Up Fee”).
In the event Seller becomes obligated to pay the Break-Up Fee, the Break-Up Fee shall be
payable in cash or other immediately available funds at the time of consummation of a
Competing Bid from the proceeds of a closing on a Competing Bid; provided, however, that if an
approved Break-Up Fee is not fully paid pursuant to the foregoing, nothing herein shall prohibit
Purchaser from otherwise seeking payment of the Break-Up Fee in the Bankruptcy Case.

                 (b)    In consideration for Purchaser’s expenditure of time, energy and resources
in performing due diligence, formulating its offer for the Purchased Assets, and preparing this
Agreement, in the event that this Agreement is terminated for any reason other than pursuant to
Section 3.4(g) or Section 3.4(i), Seller shall, in addition to a return of the Escrow Amount and
subject to approval of the Bankruptcy Court, reimburse Purchaser for Purchaser’s documented,
reasonable, out-of-pocket costs, fees, and expenses (including legal, financial advisory,
accounting and other similar costs, fees, and expenses) incurred, in each case, in connection with
the letter of intent executed by the parties hereto, this Agreement, the Bankruptcy Case, and the
transactions contemplated under this Agreement up to $200,000 (collectively, the “Expense
Reimbursement”) as promptly as permitted by the Bankruptcy Court.



{04605048.11}                                   22
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 28 of 229


               (c)    In the event Seller becomes obligated to pay the Break-Up Fee or the
Expense Reimbursement, such payments shall automatically have administrative expense
priority status pursuant to Section 364(c)(1) of the Bankruptcy Code with priority over all
expenses of the kind specified in Sections 503(b)(1) and 507(a)(2) of the Bankruptcy Code
without further order of the Bankruptcy Court. Each Party acknowledges that the agreements
contained in this Section 7.4 are an integral part of the transactions contemplated by this
Agreement, that without these agreements such Party would not have entered into this
Agreement, and that any amounts payable pursuant to this Section 7.4 do not constitute a
penalty.

         7.5.   Bankruptcy Filings.

               (a)     Without limiting Seller’s obligations under Section 7.2, (i) Seller shall
undertake its best efforts to obtain approval of the Bidding Procedures and entry of the Sale
Order, and (ii) Seller shall timely take all actions required by the Bankruptcy Code and Federal
Rules of Bankruptcy Procedure, including without limitation, the extension of any time period
under Section 365 of the Bankruptcy Code, necessary to permit the Seller to consummate the
transactions contemplated herein by the Closing Date.

                (b)    Seller shall deliver or cause to be delivered to Purchaser for review and
comment, as soon as commercially reasonable and in any event not less than one (1) Business
Day prior to the filing thereof, all documents to be filed on behalf of Seller with the Bankruptcy
Court, including all motions, applications, petitions, schedules and supporting papers prepared
by Seller (including forms of orders and notices to interested parties) that relate to, or that may
affect, the Purchased Assets or the transactions contemplated hereby. All motions, applications,
petitions, schedules and supporting papers prepared by Seller and relating to the transactions
contemplated hereby or the Purchased Assets to be filed with the Bankruptcy Court on behalf of
Seller must be reasonably satisfactory in form and substance to Purchaser and Seller.

                (c)    Seller shall comply with all notice requirements (i) of the Bankruptcy
Code and the Federal Rules of Bankruptcy Procedures or (ii) imposed by the Sale Order, in each
case, in connection with any pleading, notice or motion to be filed in connection herewith. Seller
shall comply with all agreements, stipulations, and Orders of the Bankruptcy Court, now existing
or hereafter arising.

               (d)      Purchaser reserves the right to approve the form of any Sale Order
submitted to the Bankruptcy Court; however, at a minimum, the Sale Order shall, among other
things, pursuant to Sections 105, 363 and 365 of the Bankruptcy Code:

                        (i)     approve this Agreement and all related transactions;

                         (ii)   find that the transfer of the Purchased Assets is legal, valid and
         enforceable and vests Purchaser with valid title to the Purchased Assets, free and clear of
         all Liabilities (except Assumed Liabilities) and Encumbrances (except for Permitted
         Encumbrances);

                        (iii)  authorize Purchaser to file, if desired in its discretion, terminations
         or cancellations of any recorded Encumbrances (except for Permitted Encumbrances)


{04605048.11}                                     23
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                            Desc
                Exhibit A - Purchase Agreement Page 29 of 229


         against the Purchased Assets, including without limitation UCC-3 termination statements,
         and require secured parties or lienholders, where required by applicable non-bankruptcy
         Law or requested by Purchaser, to execute documents of release, cancellation or
         satisfaction prepared by Purchaser, to be filed by Purchaser to clear any Encumbrances of
         record (other than Permitted Encumbrances) from the Purchased Assets;

                          (iv)  find that, subject to payment of the Cure Costs, Purchaser is the
         valid and lawful assignee and transferee of the Assigned Contracts and has all rights and
         interests in the Assigned Contracts and the ability to enforce such rights and interests;

                      (v)    find that Purchaser has demonstrated and established adequate
         assurance of future performance before the Bankruptcy Court with respect to the
         Assigned Contracts;

                       (vi)     find that the Purchase Price and other consideration provided by
         the Purchaser, including the Assumed Liabilities, including any Cure Costs paid by
         Purchaser, constitute a fair and reasonable price for the Purchased Assets;

                          (vii)   find that Purchaser is a good faith purchaser of the assets and
         entitled to the protections of Section 363(m) of the Bankruptcy Code;

                         (viii) find that Seller gave good and sufficient notice of the sale and the
         assumption and assignment of the Assigned Contracts to all Persons affected thereby,
         with full disclosure of associated Cure Costs, and that Purchaser has provided adequate
         assurance of its ability to perform under the Assigned Contracts;

                         (ix)    find that Purchaser has not assumed, and has no responsibility or
         liability for any of Seller’s Liabilities other than any Assumed Liabilities, whether known
         or unknown as of the Closing, whether fixed or contingent, or whether existing at the
         time of or arising after the Closing, including successor or vicarious Liabilities of any
         kind or character, including, but not limited to, any theory of antitrust, environmental,
         alter ego, successor or transferee liability, employment or labor Law, de factor merger,
         mere or substantial continuation, and, for the avoidance of doubt, Purchaser shall have no
         successor liability under any collective bargaining agreement, Contract with any union or
         under any pension plan or other employee plan, including without limitation the Benefit
         Plans, under which Seller or any Affiliate thereof is or was an obligor or a party;

                        (x)    provide for the immediate effect of the sale after the Closing;

                        (xi)   waive the 14-day appeal periods staying the sale contemplated by
         this Agreement and the assumption and assignment of the Assigned Contracts pursuant to
         Fed. R. Bankr. P. 6004(h) and 6006(d), respectively;

                         (xii) in the event an appeal is taken or a stay pending appeal is
         requested, from the Sale Order, Seller shall immediately notify Purchaser thereof and
         shall provide Purchaser with a copy of the related notice of appeal or request for stay.
         Seller shall use its commercially reasonable efforts to defend such appeal or stay request
         at its own cost and expense and obtain an expedited resolution thereof; and


{04605048.11}                                    24
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 30 of 229


                        (xiii) specifically reserve the Bankruptcy Court’s jurisdiction to enforce
         the Sale Order and this Agreement.

                                           ARTICLE 8

                             COVENANTS AND AGREEMENTS

        8.1.    Conduct of Business. During the period from the Execution Date and continuing
until the earlier of the termination of this Agreement in accordance with Section 3.4 and the
Closing Date, except (1) for any limitations on operations imposed by the Bankruptcy Court or
the Bankruptcy Code, (2) as required by applicable Law, the Bankruptcy Court or the
Bankruptcy Code, (3) as occurring as a result of Seller being in bankruptcy under the Bankruptcy
Code, (4) as otherwise expressly contemplated by this Agreement, or (5) with the prior written
consent of Purchaser not to be unreasonably withheld, delayed or conditioned, Seller shall:

              (a)      conduct the Business and the operations thereof solely in the Ordinary
Course of Business;

              (b)     maintain the Purchased Assets in good working order and repair, subject
to ordinary wear and tear;

                (c)    maintain any and all Permits;

                (d)    comply with all applicable Laws in all material respects;

                (e)    maintain the Books and Records;

               (f)      not sell, pledge, assign, lease, license, or cause, permit or suffer the
imposition of any Encumbrance on, or otherwise dispose of, any Purchased Asset or asset that
would, but for its sale, assignment, or disposition, would have been a Purchased Asset;

               (g)    other than as required by Law or existing written plans or agreements, not
agree to any increase in the rate of compensation, commission, bonus or other direct or indirect
remuneration payable to any Business Employee;

                (h)     not authorize, declare or pay any dividends on or make any distribution
with respect to its outstanding shares of capital stock or other equity interests (whether in cash,
assets, stock or other securities);

                (i)   not agree to any limitations on engaging or competing in any line of
business or in any geographic area or location or otherwise covering the Business;

                (j)     not enter in any settlement, consent decree or other agreement or
arrangement with a Governmental Body or other Person that would require the payment by
Purchaser or any Affiliate thereof of any funds after the Closing (or waive or release any material
right related to a Purchased Asset or an Assumed Liability);

                (k)    not expend any insurance proceeds, condemnation awards or other


{04605048.11}                                   25
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 31 of 229


compensation in respect of loss or damage to any Purchased Asset or asset that would, but for
such loss or damage, have been a Purchased Asset, to the extent occurring after the Execution
Date but prior to the Closing Date;

               (l)     not take or fail to take any action which results in the termination of, or
any breach or default under any Assigned Contract;

               (m)    amend, terminate, accelerate or modify the terms of any Assigned
Contract or other Contract that would, but for such termination, have been an Assigned Contract,
other than immaterial amendments that are unrelated to pricing or cost and that are made in the
Ordinary Course of Business;

               (n)     enter into any new, or renew any existing, Contracts having a term of one
year or greater or that may require the Seller to incur, in the aggregate, potential Liabilities of
$5,000 or greater per year in the event such Contract becomes an Assigned Contract;

               (o)    not cause, or take any actions that cause or are reasonably expected to
cause, the occurrence of any of the events and developments listed in Section 4.16;

                (p)    not terminate the employment of any Business Employees (other than for
cause); and

               (q)     not enter into any agreement (whether written or oral) to do any of the
foregoing, or authorize or publicly announce an intention to do any of the foregoing.

         8.2.   Pre-Closing Access to Information.

                (a)     Seller agrees that, between the Execution Date and the earlier of the
Closing Date and the date on which this Agreement is terminated in accordance with Section 3.4,
Purchaser and the directors, officers, employees, counsel, professionals, advisors, accountants,
agents, contractors and other representatives (collectively, the “Representatives”) of Purchaser,
shall be entitled to have, and Seller shall afford, such access to, and make such investigation and
examination of the Documents, the Books and Records, the Purchased Assets, Assumed
Liabilities and directors, officers and employees of Seller as Purchaser or any of Purchaser’s
Representatives may reasonably request. Any such investigations and examinations shall be
conducted during regular business hours and upon reasonable advance notice to Seller and shall
not unreasonably interfere with the operations of Seller.

              (b)    All information provided or obtained pursuant to this Section 8.2 shall be
governed by the Confidentiality Agreement.

        8.3.   Further Agreements. After the Closing, Seller shall (i) promptly deliver to
Purchaser any mail or other communication received by Seller and relating to the Purchased
Assets or the Assumed Liabilities, (ii) promptly wire transfer in immediately available funds to
Purchaser any cash, electronic credits or deposits received by Seller to the extent that such cash,
electronic credits or deposits are Purchased Assets, and (iii) promptly forward to Purchaser any
checks or other instruments of payment that it receives to the extent that such checks or other
instruments are Purchased Assets. After the Closing, Purchaser shall (x) promptly deliver to


{04605048.11}                                   26
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 32 of 229


Seller any mail or other communication received by Purchaser and relating to the Excluded
Assets or the Excluded Liabilities, (y) promptly wire transfer in immediately available funds to
Seller, any cash, electronic credits or deposits received by Purchaser to the extent that such cash,
electronic credits or deposits are Excluded Assets, and (z) promptly forward to Seller any checks
or other instruments of payment that it receives to the extent that such checks or other
instruments are Excluded Assets. From and after the Closing Date, Seller shall refer all inquiries
with respect to the Purchased Assets and the Assumed Liabilities to Purchaser, and Purchaser
shall refer all inquiries with respect to the Excluded Assets and the Excluded Liabilities to Seller.

        8.4.    Consent and Approvals. Prior to Closing, each party hereto shall, at such party’s
own expense: (i) use its commercially reasonable efforts, as promptly as practicable, to obtain
all approvals, authorizations, clearances, consents and waivers of, and to file all notices and other
filings with, regulatory and other Governmental Bodies and all other Persons that are necessary
or required of it to consummate the transactions set forth herein; and (ii) provide such other
information and communications to regulatory and other Governmental Bodies and other
Persons as Purchaser or Seller, as applicable, or such Governmental Bodies or other Persons may
reasonably request. For avoidance of doubt, each party shall bear its own costs with respect to
any approvals, authorizations, clearances, consents and waivers of, notices and other filings with,
the Bankruptcy Court required to consummate the transactions herein.

        8.5.    Preservation of Records. Seller and Purchaser agree that each of them shall
preserve and keep the records held by them or their Affiliates relating to the Business, the
Purchased Assets and the Assumed Liabilities until the later of the liquidation and winding up of
Seller’s estate (including, without limitation, through liquidation under Chapter 7 of the
Bankruptcy Code) (the “Wind Down”) (but in no event later than twelve (12) months after the
Closing Date, except, in the case of Tax matters, until thirty (30) days following the expiration of
the period of any applicable statute of limitations) and shall make such records available during
such time period to the other party as may be reasonably required by such other party in
connection with, among other things, any insurance claims by, actions or tax audits against or
governmental investigations of Seller or Purchaser or any of their respective Affiliates,
administration of the Bankruptcy Case, or in order to enable Seller or Purchaser to comply with
their respective obligations under this Agreement or any of the Ancillary Agreements and each
other agreement, document or instrument contemplated hereby or thereby.

        8.6.    Publicity. Except as required by applicable Law or for any filings by Seller or
Purchaser with the Bankruptcy Court, Seller and Purchaser shall not (and shall cause their
respective Affiliates not to) issue any press release or make any public statement concerning this
Agreement or the transactions contemplated hereby without the other party’s consent, in each
case not to be unreasonably withheld, conditioned or delayed.

       8.7.    Notification of Certain Matters. During the period from the Execution Date and
continuing until the earlier of the termination of this Agreement in accordance with Section 3.4
and the Closing Date, Seller shall promptly give written notice to Purchaser of (a) the occurrence
or nonoccurrence of any event or circumstance that has resulted in, or would be reasonably likely
to cause, any of the conditions in Article 9 not to be satisfied or that otherwise has had or would
be reasonably likely to have a Material Adverse Effect or (b) upon becoming aware of any facts,
events or conditions allegedly constituting an Excluded Environmental Liability.


{04605048.11}                                    27
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 33 of 229


Notwithstanding the foregoing, the delivery of any notice pursuant to this Section 8.7 shall not
(i) be deemed to amend or supplement the Seller Disclosure Schedule or (ii) be deemed to cure
any breach of any representation, warranty, covenant or agreement or to satisfy any condition.
Without limiting the foregoing obligations, Seller acknowledges and agrees that (x) it has an
obligation to update the Seller Disclosure Letter to reflect information that is accurate as of the
Closing Date (or, where another date is specified, as of such date), and (y) any such update will
not be deemed to cure any breach of any representation or warranty.

        8.8.    Casualty and Condemnation. Until the Closing, all Purchased Assets shall remain
at the sole risk of Seller. Subject to Section 3.4(h), if any of the Purchased Assets are materially
damaged or destroyed by any event or casualty prior to the Closing, Seller shall provide
Purchaser with written notice thereof and shall either (a) repair or replace such Purchased Assets
to substantially the same condition as such Purchased Assets existed before such event or
casualty, (b) transfer and assign, at the Closing, all insurance or condemnation proceeds received
in respect of such Purchased Assets (together with an assignment of the right to receive any
proceeds not yet paid) to Purchaser, or (c) agree to a reduction in the Purchase Price
commensurate with the value of such Purchased Assets.

        8.9.     No Successor. Nothing in this Agreement or any Ancillary Agreement shall
create any implication, covenant, or commitment that Purchaser is a successor or successor-in-
interest to Seller or the Business.

       8.10. Purchase Price Allocation. Purchaser shall, not later than one hundred twenty
(120) days after the Closing Date, prepare and deliver to Seller a schedule (such schedule, the
“Allocation”) allocating the Purchase Price and any other items that are treated as additional
purchase price for Tax purposes among the Purchased Assets The Allocation shall be reasonable
and shall be prepared in accordance with Section 1060 of the Code and the Treasury Regulations
promulgated thereunder. Purchaser and Seller shall report and file all Tax Returns consistent
with the Allocation and shall take no position contrary thereto or inconsistent therewith.

         8.11.   Further Assurances.

                (a)     Subject to the terms and conditions of this Agreement and applicable Law,
Seller and Purchaser shall use their respective commercially reasonable efforts to take, or cause
to be taken, all actions, and to do, or cause to be done, all things necessary, proper or advisable to
ensure that the conditions precedent to the other party’s obligations hereunder set forth in this
Agreement are satisfied and to consummate and make effective the transactions contemplated by
this Agreement as soon as practicable.

                (b)    Subject to the terms and conditions of this Agreement, Seller and
Purchaser shall not take any action or refrain from taking any action the effect of which would be
to materially delay or impede the ability of Seller or Purchaser to consummate the transactions
contemplated by this Agreement unless taking such action or refraining from taking such action
is required by applicable Law.

              (c)   Subject to the terms and conditions of this Agreement, at and following
the Closing, each of the parties shall execute, acknowledge and deliver all such further



{04605048.11}                                    28
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                           Desc
                Exhibit A - Purchase Agreement Page 34 of 229


conveyances, notices, assumptions, releases and acquaintances and such other instruments, and
cooperate and take such further actions, as may be reasonably necessary or appropriate to
transfer and assign fully to Purchaser and its successors and assigns, all of the Purchased Assets,
and for Purchaser and its successors and assigns to assume the Assumed Liabilities, and to
otherwise make effective the transactions contemplated hereby. Nothing in this Section 8.11
shall obligate any party hereto to waive any right or condition under this Agreement.

                (d)    The obligations of Seller pursuant to this Section 8.11 shall be subject to
any orders, approvals or authorizations granted or required by the Bankruptcy Court or under the
Bankruptcy Code (including in connection with the Bankruptcy Case), and Seller’s obligations
as a debtor in possession to comply with any order of the Bankruptcy Court, and Seller’s duty to
the estate and its creditors including the duty to seek and obtain the highest or otherwise best
price for the Purchased Assets in compliance with, and not in a manner inconsistent with, the
Sale Procedures, as approved by the Sale Procedures Order.

         8.12. No Restriction on Purchaser. Seller acknowledges that Purchaser and its
Affiliates pursue similar or competitive paths to those which are or may be pursued by Seller.
The occurrence or existence of such similar or competitive activities shall not be cause for any
action or allegation by, or on behalf of, Seller that Purchaser or any of its Affiliates or
Representatives have failed to comply with its obligations set forth in this Agreement or have
otherwise breached any duty or obligation owed to Purchaser in connection with this Agreement
or the transactions contemplated hereunder. Furthermore, nothing in this Agreement shall
restrict in any way Purchaser’s business activities, including, but not limited to, its pursuit of
customers or prospective customers of Seller.

         8.13.   Restrictive Covenants.

                (a)     Noncompetition. From the Closing Date until the fourth (4th) anniversary
thereof, Seller shall not, or permit any of its Affiliates to, directly or indirectly (a) within the
Restricted Area, (i) engage in; (ii) own or control any interest in; (iii) act as an employee, officer,
director, partner, member, shareholder, consultant, or joint venturer of any entity engaged in; or
(iv) extend credit or lend money for the purpose of establishing or operating any Person engaged
in, the Restricted Business; or (b) solicit, encourage, influence or attempt to influence any Person
who is a customer or supplier of Seller as of the date of this Agreement to terminate, amend or
modify any Assigned Contract, or to otherwise modify or terminate such Person’s relationship
with Purchaser after Closing.

               (b)     Nonsolicitation of Employees. From the Closing Date until the fourth (4th)
anniversary thereof, Seller shall not, nor shall it permit any of its Affiliates to, directly or
indirectly, participate in any attempt to hire or solicit for employment or hire any Hired
Employee or other employee of Purchaser; provided, however, that Seller shall not be restricted
from hiring or soliciting for employment any person that is terminated by Purchaser after the
Closing Date; provided, further, however, that the foregoing covenant shall not prohibit the
placement of general advertisements or making of general solicitations, including general
advertisements or other solicitations that may be targeted to a particular geographic or technical
area or that are not specifically targeted toward any Hired Employee or other employee of
Purchaser; provided, further, and notwithstanding the foregoing, in no event shall Seller be


{04605048.11}                                     29
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 35 of 229


permitted to place any such general advertisements or make any such general solicitations in the
Restricted Area.

                (c)     Remedies. Seller acknowledges that its expertise in the Restricted
Business is of a special, unique, unusual, extraordinary and intellectual character, which gives
such expertise a peculiar value, and that a breach by it of the covenants contained in this Section
8.13 cannot be reasonably or adequately compensated in damages in an Action at law and that
such breach will cause Purchaser irreparable injury and damage. Seller further acknowledges
that it possesses unique skills, knowledge and ability and that violation of this Section 8.13
would be extremely detrimental to Purchaser. By reason thereof, Seller agrees that Purchaser
shall be entitled, in addition to any other remedies that Purchaser may have under this Agreement
or otherwise and without proof of actual damages, to temporary, preliminary and/or permanent
injunctive and other equitable relief to prevent or curtail any breach of this Section 8.13.

               (d)     Reasonableness. The parties hereto recognize that the limitations set forth
in this Section 8.13 are reasonable and not burdensome. In the event that such limitations are
deemed to be unreasonable by a court of competent jurisdiction, then Seller and Purchaser agree
to submit to a modification or reduction of such limitations as such court shall deem reasonable.
Seller acknowledges and agrees that the covenants and limitations set forth in this Section 8.13
are a significant inducement for Purchaser’s willingness to enter into this Agreement and to
consummate the transactions contemplated herein, and that Purchaser would not have entered
into this Agreement absent Seller agreeing to the covenants and limitations set forth in this
Section 8.13.

         8.14. De-Installation of Linens. Following the Closing, Seller shall undertake all such
action reasonably requested by Purchaser to assist Purchaser with the process of “de-installing”
and taking possession of any linens included in the Purchased Assets from the hospitals and
clinics that Purchaser will not service following the Closing.

                                          ARTICLE 9

                                 CONDITIONS TO CLOSING

        9.1.   Conditions Precedent to the Obligations of Purchaser and Seller. The respective
obligations of each party to this Agreement to consummate the transactions contemplated by this
Agreement are subject to the satisfaction or written waiver, on or prior to the Closing Date, of
each of the following conditions (any or all of which may be waived in writing by Seller and
Purchaser, in whole or in part, to the extent permitted by applicable Law):

                 (a)    no temporary restraining order, preliminary or permanent injunction or
other order issued by any court of competent jurisdiction or other legal restraint or prohibition
preventing the consummation of the transactions contemplated hereby shall have been issued,
nor shall there be any statute, rule, regulation, order or other Law promulgated, enacted, entered,
or enforced which makes the consummation of the transactions contemplated by this Agreement
illegal, void or rescinded; and




{04605048.11}                                   30
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 36 of 229


               (b)     the Bankruptcy Court shall have entered the Sale Order on the docket by
the Clerk of the Bankruptcy Court, and such Sale Order (i) shall be in full force and effect, (ii)
shall not be the subject of any stay, and (iii) if an appeal has been filed that challenges the
Purchaser’s good faith under Section 363(m) of the Bankruptcy Code or asserts that the
transactions contemplated by this Agreement are avoidable pursuant to, or otherwise violate,
Section 363(n) of the Bankruptcy Code, such appeal shall have been resolved so that the Sale
Order is a Final Order in all respects.

        9.2.   Conditions Precedent to the Obligations of Seller. The obligations of Seller to
consummate the transactions contemplated by this Agreement are subject to the satisfaction, on
or prior to the Closing Date, of each of the following conditions (any or all of which may be
waived in writing by Seller, in whole or in part, to the extent permitted by applicable Law):

                (a)     (i) each of the representations and warranties of Purchaser contained in
Article 5 that does not contain an express materiality qualification must be true and correct in all
material respects as of the Closing with the same effect as though made at and as of the Closing
(except those representations and warranties that address matters only as of a specified date,
which must be true and correct in all material respects as of that specified date); (ii) each of the
representations and warranties of Purchaser contained in Article 5 that does contain an express
materiality qualification must be true and correct in all respects as of the Closing with the same
effect as though made at and as of the Closing (except those representations and warranties that
address matters only as of a specified date, which must be true and correct in all respects as of
that specified date); (iii) Purchaser shall have performed and complied in all material respects
with all obligations and agreements required in this Agreement to be performed or complied with
by Purchaser on or prior to the Closing Date; and (iv) Purchaser shall have delivered to Seller at
Closing a certificate signed by an authorized officer of Purchaser, in form and substance
reasonably satisfactory to Seller, confirming satisfaction of the conditions in clauses (i), (ii), and
(iii) above; and

               (b)     Purchaser shall have delivered, or caused to be delivered, to Seller (or at
the direction of Seller) or the Escrow Agent, as applicable, all of the items set forth in Section
3.3.

        9.3.    Conditions Precedent to the Obligations of Purchaser. The obligations of
Purchaser to consummate the transactions contemplated by this Agreement are subject to the
satisfaction, on or prior to the Closing Date, of each of the following conditions (any or all of
which may be waived in writing by Purchaser, in whole or in part, to the extent permitted by
applicable Law):

               (a)      (i) each of the representations and warranties of Seller contained in
Article 4 that does not contain an express materiality qualification must be true and correct in all
material respects as of the Closing with the same effect as though made at and as of the Closing
(except those representations and warranties that address matters only as of a specified date,
which must be true and correct in all material respects as of that specified date); (ii) each of the
representations and warranties of Seller contained in Article 4 that does contain an express
materiality qualification must be true and correct in all respects as of the Closing with the same
effect as though made at and as of the Closing (except those representations and warranties that


{04605048.11}                                    31
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 37 of 229


address matters only as of a specified date, which must be true and correct in all respects as of
that specified date); (iii) Seller shall have performed and complied in all material respects with
all obligations and agreements required in this Agreement to be performed or complied with by
Seller on or prior to the Closing Date; and (iv) Seller shall have delivered to Purchaser at Closing
a certificate signed by an authorized officer of Seller, in form and substance reasonably
satisfactory to Purchaser, confirming satisfaction of the conditions in clauses (i), (ii), and (iii)
above;

             (b)     Seller shall have delivered, or caused to be delivered, to Purchaser or the
Escrow Agent, as applicable, all of the items set forth in Section 3.2;

                (c)    all authorizations, consents, orders or approvals of, or declarations or
filings with, or expirations of waiting periods imposed by, any Governmental Body that are
required or appropriate for Purchaser to own or operate the Purchased Assets shall have been
filed, occurred or been obtained;

                (d)    Seller shall have delivered to Purchaser a certificate of the corporate
secretary or other duly authorized officer of Seller, in form and substance reasonably satisfactory
to Purchaser, certifying that attached thereto are true, correct, and complete copies of (A) the
articles of incorporation and bylaws of Seller as in effect at all times from and after the
Execution Date, and (B) resolutions duly adopted by the board of directors and shareholders of
Seller authorizing the performance of the transactions contemplated in this Agreement and the
execution and delivery of this Agreement and the Seller Ancillary Agreements; and

               (e)   The conditions set forth in Sections 1.5(b) and (c) of the Real Property
Lease by and between Purchaser and ULS Acquisition, LLC, a copy of which is attached hereto
as Exhibit B (the “New Spartanburg Lease”), shall have been satisfied or waived by Purchaser
and the New Spartanburg Lease shall be valid and in full force and effect.

                                          ARTICLE 10

                                      MISCELLANEOUS

        10.1. Payment of Expenses. Except as set forth in Section 3.7 or Section 7.4 or
otherwise provided in this Agreement, each party hereto shall bear its own costs and expenses
(including investment advisory and legal fees and expenses) incurred in connection with this
Agreement and the transactions contemplated hereby.

       10.2. Entire Agreement; Amendments and Waivers. This Agreement (including the
Addenda, Appendices, and Seller Disclosure Schedule), the Ancillary Agreements and the
Confidentiality Agreement represent the entire understanding and agreement between the parties
hereto with respect to the subject matter hereof. Any provision of this Agreement may be
amended or waived if, and only if, such amendment or waiver is in writing and signed, in the
case of an amendment, by each party hereto, or in the case of a waiver, by the party against
whom the waiver is to be effective. No action taken pursuant to this Agreement, including,
without limitation, any investigation by or on behalf of any party shall be deemed to constitute a
waiver by the party taking such action of compliance with any representation, warranty,



{04605048.11}                                   32
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                      Desc
                Exhibit A - Purchase Agreement Page 38 of 229


covenant or agreement contained herein. The waiver by either party hereto of a breach of any
provision of this Agreement shall not operate or be construed as a further or continuing waiver of
such breach or as a waiver of any other or subsequent breach. No failure on the part of any party
to exercise, and no delay in exercising, any right, power or remedy hereunder shall operate as a
waiver thereof nor shall any single or partial exercise of such right, power or remedy by such
party preclude any other or further exercise thereof or the exercise of any other right, power or
remedy.

        10.3. Counterparts. For the convenience of the parties hereto, this Agreement may be
executed and delivered (by facsimile or PDF signature) in any number of counterparts, each such
counterpart being deemed to be an original instrument, and all such counterparts shall together
constitute the same agreement.

       10.4. Governing Law. This Agreement is to be governed by and construed in
accordance with federal bankruptcy Law, to the extent applicable, and where state Law is
implicated, the Laws of the State of South Carolina shall govern, without giving effect to the
choice of law principles thereof, including all matters of construction, validity and performance.

     10.5. Waiver of Jury Trial. EACH OF THE PARTIES HERETO HEREBY
IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL
PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY.

        10.6. Notices. Unless otherwise set forth herein, any notice, request, instruction or
other document to be given, provided or furnished hereunder by any party to the other parties
shall be in writing and shall be deemed duly given, provided or furnished (i) upon delivery, when
delivered personally, (ii) one (1) Business Day after being sent by overnight courier or when sent
by facsimile or e-mail transmission (with confirmation of transmission), and (iii) three (3)
Business Days after being sent by registered or certified mail, postage prepaid, as follows:

         If to Seller:

                          Alliance Laundry & Textile Services, LLC
                          60 Grider Street
                          Buffalo, New York 14215
                          Attn.: John Giardino
                          Email: john.giardino@claruslinens.com

                         with a copy (which shall not constitute effective notice) to:

                          Bond, Schoeneck & King, PLLC
                          One Lincoln Center
                          Syracuse, New York 13202
                          Attn.: Stephen A. Donato,, Esq.
                          Email: sdonato@bsk.com




{04605048.11}                                       33
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 39 of 229


         If to Purchaser:

                        Crown Health Care Laundry Services of Florida, LLC
                        25 West Cedar St.
                        Pensacola, FL 32502
                        Attn.: Cliff Haigler
                        Email: cliffh@crownlaundry.com

                       with copies (which shall not constitute effective notice) to:

                        Maynard, Cooper & Gale, P.C.
                        11 North Water Street, Suite 24290
                        Mobile, Alabama 36602
                        Attn.: Bryan A. Thames
                        Email: bthames@maynardcooper.com

or to such other Persons, addresses or facsimile numbers as may be designated in writing by the
party to receive such notice.

        10.7. Binding Effect; Assignment. This Agreement shall be binding upon Purchaser
and, subject to entry of the Sale Order, Seller, and inure to the benefit of the parties and its
respective successors and permitted assigns, including, without limitation, any trustee or estate
representative appointed in the Bankruptcy Case or any successor Chapter 7 case. No
assignment of this Agreement or of any rights or obligations hereunder may be made by Seller or
Purchaser (by operation of Law or otherwise) without the prior written consent of the other party
hereto and any attempted assignment without the required consents shall be void.

        10.8. Severability. If any term, condition or other provision of this Agreement is
invalid, illegal or incapable of being enforced by any rule of Law or public policy, all other
terms, conditions and provisions of this Agreement shall nevertheless remain in full force and
effect so long as the economic or legal substance of the transactions contemplated hereby is not
affected in a manner adverse to either party. Upon such determination that any term, condition
or other provision is invalid, illegal or incapable of being enforced, the parties hereto shall
negotiate in good faith to modify this Agreement so as to effect the original intent of the parties
as closely as possible in an acceptable manner to the end that the transactions contemplated
hereby are fulfilled to the fullest extent possible.

        10.9. Injunctive Relief. The parties agree that damages at Law may be an inadequate
remedy for the breach of any of the covenants, promises and agreements contained in this
Agreement by the parties, and, accordingly, Seller and Purchaser shall be entitled to injunctive
relief with respect to any such breach, including, without limitation, specific performance of such
covenants, promises or agreements or an order enjoining the other party from any threatened, or
from the continuation of any actual, breach of the covenants, promises or agreements contained
in this Agreement by such party, all without the necessity of proving the inadequacy of money
damages as a remedy and without the necessity of posting bond. The rights set forth in this
Section 10.10 shall be in addition to any other rights which Seller or Purchaser may have at Law
or in equity pursuant to this Agreement.


{04605048.11}                                     34
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 40 of 229


        10.10. Third Party Beneficiaries. This Agreement is for the sole benefit of the parties
hereto and their permitted assigns and nothing herein express or implied shall give or be
construed to give to any Person, other than the parties hereto and such permitted assigns, any
legal or equitable rights hereunder.

         10.11. Certain Interpretations.

               (a)     Unless otherwise expressly provided, for purposes of this Agreement, the
following rules of interpretation shall apply:

                        (i)    All references in this Agreement to Articles, Sections, clauses,
         parts and Schedules shall be deemed to refer to Articles, Sections, clauses, parts and
         Schedules to this Agreement unless otherwise specified.

                          (ii)   All Schedules annexed hereto or referred to herein are hereby
         incorporated in and made a part of this Agreement as if set forth in full herein. Any
         capitalized terms used in any Schedule but not otherwise defined therein shall be defined
         as set forth in this Agreement.

                       (iii)   The Article, Section and paragraph captions herein are for
         convenience of reference only, do not constitute part of this Agreement and shall not be
         deemed to limit or otherwise affect any of the provisions hereof.

                       (iv)    The words “include,” includes” and “including,” when used herein
         shall be deemed in each case to be followed by the words “without limitation” (regardless
         of whether such words or similar words actually appear).

                         (v)    When calculating the period of time before which, within which or
         following which any act is to be done or step taken pursuant to this Agreement, the date
         that is the reference date in calculating such period shall be excluded. If the last day of
         such period is not a Business Day, the period in question shall end on the next succeeding
         Business Day.

                         (vi)   Any reference in this Agreement to “$” or “dollars” shall mean
         U.S. dollars.

                       (vii) Any reference in this Agreement to gender shall include all
         genders, and words imparting the singular number only shall include the plural and vice
         versa.

                       (viii) The words such as “herein,” “hereinafter,” “hereof” and
         “hereunder” refer to this Agreement as a whole and not merely to a subdivision in which
         such words appear unless the context otherwise requires.

              (b)     The parties hereto agree that they have been represented by legal counsel
during the negotiation and execution of this Agreement and, therefore, waive the application of
any Law, regulation, holding or rule of construction providing that ambiguities in an agreement
or other document shall be construed against the party drafting such agreement or document.


{04605048.11}                                    35
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 41 of 229


                           [Signature page follows.]




{04605048.11}                         36
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 42 of 229
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 43 of 229
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 44 of 229


                                              Annex I

                                            Definitions

        “Affiliate” means, with respect to any Person, any other Person that, directly or indirectly
through one or more intermediaries, controls, or is controlled by, or is under common control
with, such Person, and the term “control” (including the terms “controlled by” and “under
common control with”) means the possession, directly or indirectly, of the power to direct or
cause the direction of the management and policies of such Person, whether through ownership
of voting securities, by contract or otherwise.

         “Albany Facility” means Seller’s facility located at 404 Hodges Street, Albany, Georgia
31701.

      “Ancillary Agreements” means, collectively, the Seller Ancillary Agreements and each
agreement and certificate required pursuant to Sections 3.2 and 3.3 hereto.

       “Assigned Contracts” means, collectively, (a) all Purchased Contracts, and (b) the
Optional Contracts identified by Purchaser in accordance with Section 1.4 hereto and listed on
the Assigned Contract Schedule, which Contracts shall be assumed by Seller and assigned to
Purchaser pursuant to Section 365 of the Bankruptcy Code, the Sale Order or other order of the
Bankruptcy Court and the Bill of Sale.

       “Atlanta Facility” means Seller’s facility located at 1631 Willingham Dr., East Point,
Georgia 30344.

       “Atlanta Lease” means that certain Lease Agreement by and between Seller and
Willingham 1631, LLC, dated December 3, 2001, as amended by that certain First Amendment
to Lease Agreement by and between Seller and 1631 Willingham BT, LLC, dated October 31,
2017, pursuant to which Seller leases the Atlanta Facility.

       “Atlanta PP&E” means all of Seller’s personal property, equipment, fixtures, machinery,
and other fixed assets located at the Atlanta Facility.

       “Bankruptcy Exceptions” means any applicable bankruptcy, insolvency, reorganization,
moratorium and similar Laws affecting creditors’ rights and remedies generally, and subject, as
to enforceability, to general principles of equity (regardless of whether enforcement is sought in
a proceeding at Law or in equity).

       “Bankruptcy Schedules” means those schedules of assets and liabilities, including all
amendments thereto, filed by Seller in the Bankruptcy Case pursuant to Section 521(a)(1)(B) and
Federal Rules of Bankruptcy Procedure 1007(b) and 1009(a).

        “Books and Records” means all documents used by Seller in connection with, or relating
to, the Purchased Assets, the Assumed Liabilities, or the Business, including all files, data,
reports, plans, mailing lists, supplier lists, customer lists, price lists, marketing information and
procedures, advertising and promotional materials, equipment records, warranty information,
records of operations, standard forms of documents, manuals of operations or business


{04605048.11}                            Annex I – Page 1
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 45 of 229


procedures and other similar procedures (including all discs, tapes and other media-storage data
containing such information) with respect to the Business.

        “Business Day” means any day other than a Saturday, Sunday or other day on which
commercial banks in Birmingham, Alabama are authorized or required by applicable Law to be
closed.

       “COBRA” means the requirements of Part 6 of Subtitle B of Title I of ERISA and
Section 4980B of the Code and of any similar state law.

         “Code” means the Internal Revenue Code of 1986, as amended.

        “Contract” means any written or oral contract, indenture, note, bond, lease, license,
commitment or instrument or other agreement or arrangement primarily related to the operation
of the Business or affecting or related to any of the Purchased Assets or the Assumed Liabilities
or by which Seller is bound or by which any asset of Seller is Encumbered.

       “Cure Costs” means, with respect to any Contract, the costs and expenses payable under
Section 365 of the Bankruptcy Code in connection with the assumption and assignment of such
Contract.

        “Documents” means all of Seller’s written files, documents, instruments, papers, books,
reports, records, tapes, microfilms, photographs, letters, correspondence, budgets, forecasts,
plans, operating records, safety and environmental reports, data, studies and documents, Tax
Returns, ledgers, journals, title policies, customer lists, supplier lists, vendor lists, regulatory
filings, operating data and plans, research material, technical documentation (design
specifications, engineering information, test results, maintenance schedules, functional
requirements, operating instructions, logic manuals, processes, flow charts, etc.), user
documentation (installation guides, user manuals, training materials, release notes, working
papers, etc.), marketing documentation (sales brochures, flyers, pamphlets, web pages, etc.) and
other similar materials, in each case whether or not in electronic form primarily related to or
primarily used, or held for use, in connection with any of the Purchased Assets or Assumed
Liabilities or the operation of the Business.

        “Encumbrance” means any lien, encumbrance, claim (as defined in Section 101(5) of the
Bankruptcy Code), charge, mortgage, deed of trust, option, pledge, security interest or similar
interest, restraint on title, hypothecation, easement, right of way, encroachment, right of first
refusal, preemptive right, judgment, conditional sale or other title retention agreement.

        “Environmental, Health and Safety Requirements” means all applicable Laws, Permits,
decrees, directives, legally binding judicial and administrative orders, in each case, concerning or
relating to workplace health and safety or to pollution, preservation, remediation or the
protection of the environment or natural resources or the emission of greenhouse gases or any
cleanup, removal, containment or other remediation or response actions or the handling,
discharge, transportation, storage, Release, or treatment of Hazardous Materials.

       “Environmental Liabilities” means any Liability, whether known or unknown, arising
under or relating to any Environmental, Health and Safety Requirements or any Release of


{04605048.11}                            Annex I – Page 2
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 46 of 229


Hazardous Materials, whether based on negligence, strict liability or otherwise, including costs
and liabilities for investigation, removal, remediation, restoration, abatement, monitoring,
personal injury, property damage, natural resource damages, court costs, and reasonable
attorneys’ fees.

         “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

       “ERISA Affiliate” means each entity that is treated as a single employer with Seller for
purposes of Section 414 of the Code.

         “Escrow Agent” means CIBC Bank USA.

       “Escrow Agreement” means that certain Escrow Agreement, dated as of the Execution
Date, by and among Seller, Purchaser, and the Escrow Agent.

       “Excluded Agreements” means the Contracts of Seller other than Contracts designated as
Assigned Contracts pursuant to Section 1.4(a).

        “Excluded Environmental Liabilities” means all Environmental Liabilities with respect to
the past or current operations (including through the Closing), properties or facilities of the
Business, including any Environmental Liabilities relating to or arising from the Business or the
Purchased Assets with respect to (i) any Leased Real Property, or any other real property used or
operated by Seller or any of its respective Affiliates or their respective predecessors in
connection with the Business prior to the Closing; (ii) the offsite disposal or arrangement for
offsite disposal of Hazardous Materials or wastes by Seller or any of its respective Affiliates or
their respective predecessors in connection with the Business (including any such materials,
substances or wastes produced or generated for offsite disposal prior to the Closing in connection
with operations upon the Leased Real Property); (iii) any fines, penalties or other sanctions
imposed by a Governmental Body in connection with any actual or alleged violation of or failure
to comply with Environmental, Health and Safety Requirements by Seller or its Affiliates, or
otherwise with respect to the Business or the Purchased Assets prior to the Closing.

        “Final Order” means an order, ruling or judgment of the Bankruptcy Court (or other court
of competent jurisdiction) entered by the Clerk of the Bankruptcy Court on the docket in the
Bankruptcy Case (or by the clerk of such other court of competent jurisdiction on the docket of
such court) that: (i) is in full force and effect; (ii) has not been stayed; and (iii) is no longer
subject to review, reversal, modification or amendment, by appeal or writ of certiorari.

        “GAAP” means United States generally accepted accounting principles in effect from
time to time.

        “Governmental Body” means any government, quasi-governmental entity, or other
governmental or regulatory body, agency or political subdivision thereof of any nature or any
self-regulatory agency, whether foreign, federal, state or local, or any agency, branch,
department, official, entity, instrumentality or authority thereof, or any court or arbitrator (public
or private).




{04605048.11}                            Annex I – Page 3
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 47 of 229


        “Hazardous Materials” means any substance, chemical, material or waste which is or will
foreseeably be prohibited, limited or regulated by any Governmental Body, including (i) any
chemical, material, or substance defined as or included in the definition of “hazardous
substances,” “hazardous wastes,” “hazardous materials,” “extremely hazardous waste,”
“restricted hazardous waste,” “medical waste,” “toxic waste”, “toxic pollutants,” “contaminants,”
“pollutants,” or “toxic substances” under any applicable Environmental, Health and Safety
Requirement due to its dangerous or deleterious properties, (ii) any oil, petroleum, petroleum
product, or petroleum-derived substance, (iii) asbestos containing materials, (iv) urea
formaldehyde and polychlorinated biphenyls.

       “Hearing” means the hearing to be held by the Bankruptcy Court to consider the Sale
Order and the approval of the transactions contemplated hereby.

         “Intellectual Property” means all intellectual property of any kind, including the
following: (i) trademarks, service marks, trade names, slogans, logos, trade dress, internet
domain names, brand names, and other similar designations of source or origin, together with all
goodwill, registrations and applications related to the foregoing; (ii) patents, utility models and
industrial design registrations (and all continuations, divisionals, continuations in part,
provisionals, renewals, reissues, re-examinations and applications for any of the foregoing);
(iii) copyrights and copyrightable subject matter (including, without limitation, any registrations
and applications for any of the foregoing); (iv) trade secrets, proprietary processes, formulae,
algorithms, models, and methodologies; and (v) computer software, computer programs, and
databases (whether in source code, object code or other form).

         “Interim Balance Sheet” means the balance sheet of Seller as of September 30, 2018.

       “Inventory” means all goods owned by Seller that are used, sold or leased or held for use,
sale or lease as of the Closing Date, including, but not limited to, linens, supplies, spare,
replacement and component parts, and other inventories.

        “Joint Written Instructions” means written instructions from Seller and Purchaser, a form
of which is attached to the Escrow Agreement as an exhibit thereto, directing the Escrow Agent
to deliver the amounts to be released from escrow as provided for under this Agreement.

        “Knowledge of Seller”, “Seller’s Knowledge” and similar phrases mean, with respect to
any matter in question, the actual knowledge following reasonable investigation and due inquiry,
as of the Execution Date, of John Giardino (CEO), Kevin McDonough (Director of Health and
Safety), and Jack Hawkins (Operations Manager).

        “Laws” means all federal, state, local or foreign laws, statutes, common law, rules, codes,
regulations or ordinances issued, promulgated, enforced or entered by, any and all Governmental
Bodies, or other requirement or rule of law.

         “Leased Real Property” means any real property leased or subleased by Seller.

       “Liability” means, as to any Person, any debt, adverse claim, liability, obligation,
commitment, assessment, cost, expense, loss, charge, fee, penalty, fine, contribution or premium
of any kind or nature whatsoever, whether known or unknown, asserted or unasserted, absolute


{04605048.11}                           Annex I – Page 4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 48 of 229


or contingent, direct or indirect, accrued or unaccrued, liquidated or unliquidated, or due or to
become due, including all costs and expenses relating thereto.

        “Material Adverse Effect” means, except for an effect related to the Seller’s filing for
bankruptcy relief, any change, effect, condition, circumstance or development that, individually
or in the aggregate, is, or could reasonably likely be, material and adverse to the business,
operations, assets, liabilities, prospects, customer or distributor relationships, ability to deliver
products or services, results of operations or condition (financial or otherwise) of Seller, or the
ability of Seller to perform its obligations under the Agreement or the Seller Ancillary
Agreements or to timely consummate the transactions contemplated under hereunder and
thereunder, in each case regardless of duration or whether or not foreseeable or a development
relating to a known condition or circumstance.

       “Ordinary Course of Business” means the ordinary and usual course of normal day to day
operations of the Business consistent with past practice during the period immediately preceding
the Execution Date.

        “Permits” means all notifications, licenses, permits (including environmental,
construction and operation permits), franchises, certificates, approvals, consents, waivers,
clearances, exemptions, classifications, registrations, variances, orders, tariffs, rate schedules and
other similar documents and authorizations issued by any Governmental Body.

         “Permitted Encumbrances” means (i) applicable zoning Laws, building codes, land use
restrictions and other similar restrictions imposed by Law that are not violated by the existing
improvements on such real property or the present use by Seller of such real property (but not
restrictions arising from a violation of any such Law); (ii) materialmans’, mechanics’, artisans’,
shippers’, warehousemans’ or other similar common law or statutory liens incurred in the
Ordinary Course of Business for sums not yet due and payable and that do not result from a
breach, default or violation by Seller of any Contract or Law; (iii) statutory liens for current
Taxes, assessments or other governmental charges not yet due and payable or the amount or
validity of which is being contested in good faith by appropriate proceedings or the making of
appropriate demands, notices or filings, and for which adequate reserves have been established
on the Interim Balance Sheet in accordance with GAAP; (iv) easements, covenants, conditions,
restrictions and other similar matters affecting title to real property and other encroachments and
title and survey defects with respect to any real property that do not or would not reasonably be
expected to, individually or in the aggregate, adversely affect the value, occupancy or use of such
real property in any material respect; (v) Encumbrances that will be and are discharged or
released either prior to, or simultaneously with the Closing; and (vi) such other Encumbrances,
title exceptions or imperfections of title as Purchaser may approve in writing in its sole
discretion.

        “Person” means an individual, corporation, partnership, limited liability company, joint
venture, association, trust, unincorporated organization, labor union, estate, Governmental Body
or other entity or group.

      “Release” means any discharge, emission, spilling, leaking, pumping, pouring, injecting,
dumping, burying, leaching, migrating, abandoning, discarding or disposing into or through the


{04605048.11}                            Annex I – Page 5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 49 of 229


environment of any Hazardous Materials including the abandonment or discarding of barrels,
containers and other closed receptacles containing any Hazardous Materials.

       “Restricted Area” means anywhere in the States of North Carolina, South Carolina, and
Georgia.

         “Restricted Business” means the healthcare laundry business.

        “Sale Order” means the order of the Bankruptcy Court, in form and substance satisfactory
to Purchaser, which shall, among other things, (i) authorize the sale of the Purchased Assets to
Purchaser pursuant to this Agreement free and clear of all liens, claims and Encumbrances (other
than Permitted Encumbrances) pursuant to Section 363(f) of the Bankruptcy Code; (ii) authorize
and finalize the assumption of the Assigned Contracts by Seller and the assignment of the
Assigned Contracts to Purchaser subject to payment of the Cure Costs; (iii) authorize the
consummation of the transactions contemplated by this Agreement and the Ancillary
Agreements and all other transactions and agreements contemplated hereby or thereby; (iv) find
that Purchaser is a good-faith purchaser entitled to the protections of Section 363(m) of the
Bankruptcy Code; (v) confirm that Purchaser is acquiring the Purchased Assets free and clear of
the Excluded Assets and Excluded Liabilities; (vi) retain jurisdiction of the Bankruptcy Court to
interpret and enforce the terms and provisions of the Sale Order and this Agreement; and (vii)
waives the fourteen-day stay of the Sale Order provided in Fed. R. Bankr. P. 6004(h) and
6006(d), making the Sale Order immediately effective.

       “Seller Ancillary Agreements” means, collectively, each certificate, agreement or
document (other than this Agreement) that Seller is required to execute and/or deliver in
connection with this Agreement.

       “Seller Disclosure Schedule” means the disclosure schedules which are attached hereto
and delivered by Seller. Notwithstanding anything else to the contrary in this Agreement other
than the immediately following sentence, the disclosures in the Seller Disclosure Schedule shall
modify and relate to the representations and warranties in the corresponding section or
subsection of Article 4 to which they refer and are intended to qualify such representations and
warranties. The information set forth in one section or subsection of the Seller Disclosure
Schedule that is specifically referred to in another section or subsection of the Seller Disclosure
Schedule by appropriate cross-reference shall also be deemed to qualify such other section or
subsection of Article 4, and the information set forth in one section or subsection of the Seller
Disclosure Schedule shall also be deemed to qualify each other section or subsection of Article 4
to the extent that the relevance of a disclosure in one section or subsection of the Seller
Disclosure Schedule to another section or subsection of Article 4 is reasonably apparent on its
face.

        “Seller Intellectual Property” means any Intellectual Property that is owned by, licensed
to, or primarily used, or held for use by, Seller.

         “Seller Parent” means Centerstone Linen Services, LLC.

         “Seller Principal” means John Giardino.



{04605048.11}                           Annex I – Page 6
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 50 of 229


       “Spartanburg Facility” means the facility located at 355 Old Greenville Road,
Spartanburg, South Carolina 29301.

       “Spartanburg Lease” means that certain Real Property Lease, dated November 1, 2013,
by and between Seller and ULS Acquisition LLC, as amended, pursuant to which Seller leases
the Spartanburg Facility.

        “Tax” and “Taxes” mean (i) any and all federal, state, local or foreign taxes, charges,
fees, imposts, levies or other assessments, including all income, gross income, gross receipts,
capital, sales, use, ad valorem, value added, transfer, franchise, profits, inventory, capital stock,
license, production, premium, disability, worker’s compensation, utility, windfall profit,
environmental, registration, alternative, add-on minimum, withholding, payroll, employment,
social security, unemployment, excise, severance, stamp, occupation, property and estimated
taxes, customs duties, fees, assessments and charges of any kind whatsoever, in each case
imposed by any Governmental Body; (ii) all interest, penalties, fines, additions to tax or
additional amounts imposed by any Governmental Body in connection with any item described
in clause (i); and (iii) any Liability in respect of any items described in clauses (i) and/or
(ii) payable by reason of Contract, assumption, transferee liability, operation of Law, Treasury
Regulation Section 1.1502-6(a) (or any predecessor or successor thereof or any analogous or
similar provision under Law) or otherwise.

        “Tax Return” means any return, report, information return, declaration, claim for refund
or other document (including any schedule or related or supporting information) supplied or
required to be supplied to any Governmental Body with respect to Taxes, including amendments
thereto.

         The following terms have the meanings set forth in the Sections set forth below:

         Defined Term                                     Location
         Actions                                          Section 4.4
         Agreement                                        Preamble
         Allocation                                       Section 8.10
         Assigned Contract Schedule                       Section 1.4(a)
         Assumed Liabilities                              Section 1.2
         Auction                                          Section 7.2(d)
         Bankruptcy Case                                  Recitals
         Bankruptcy Code                                  Recitals
         Bankruptcy Court                                 Recitals
         Benefit Plans                                    Section 4.10(c)
         Bid Deadline                                     Section 7.2(c)
         Bidding Procedures                               Section 7.2(a)
         Bidding Procedures Order                         Section 7.2(a)
         Bill of Sale                                     Section 3.2(a)
         Business                                         Recitals
         Business Employees                               Section 4.10(a)
         Closing                                          Section 3.1
         Break-Up Fee                                     Section 7.4(a)


{04605048.11}                            Annex I – Page 7
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 51 of 229


         Defined Term                            Location
         Closing Date                            Section 3.1
         Closing Date Payment                    Section 2.2(b)
         Competing Bid                           Section 7.1
         Confidentiality Agreement               Section 6.1(g)
         Cure Cap                                Section 1.4(d)
         Employment and Non-Compete Agreement    Section 3.2(h)
         Escrow Amount                           Section 2.2(a)
         Excluded Assets                         Section 1.1(b)
         Excluded Liabilities                    Section 1.3
         Execution Date                          Recitals
         Expense Reimbursement                   Section 7.4(b)
         Financial Statements                    Section 4.14
         Fiscal Year Financial Statements        Section 4.14
         Hired Employee                          Section 6.1(a)
         Interim Financial Statements            Section 4.14
         Material Contracts                      Section 4.18(a)
         Multiemployer Plan                      Section 4.10(d)
         New Spartanburg Lease                   Section 9.3(e)
         Offer Employee                          Section 6.1(a)
         Optional Contracts                      Section 1.4(b)
         Outside Date                            Section 7.2(f)
         Petition Date                           Recitals
         Purchase Price                          Section 2.1
         Purchased Assets                        Section 1.1(a)
         Purchased Contracts                     Section 1.4(a)
         Purchaser                               Preamble
         Registered IP                           Section 4.5
         Representatives                         Section 8.2(a)
         Sale Milestones                         Section 7.2
         Sale Motion                             Section 7.2(a)
         Seller                                  Preamble
         Seller Customer                         Section 4.13(a)
         Seller Permits                          Section 4.6
         Seller Supplier                         Section 4.13(a)
         Wind Down                               Section 8.5




{04605048.11}                      Annex I – Page 8
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 52 of 229


                                EXHIBIT A

                                 Bill of Sale

                                 (Attached)




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35 Desc
                Exhibit A - Purchase Agreement Page 53 of 229
                                                                    Exhibit A


               BILL OF SALE, ASSIGNMENT AND ASSUMPTION AGREEMENT

        THIS BILL OF SALE, ASSIGNMENT AND ASSUMPTION AGREEMENT (this
“Agreement”), dated as of [∙], 2018, is entered into by and between Alliance Laundry & Textile
Services, LLC, a Georgia limited liability company d/b/a Clarus Linen Systems (“Seller”), and
Crown Health Care Laundry Services, LLC, a Delaware limited liability company (“Purchaser”).
Seller and Purchaser are each referred to in this Agreement as a “Party” and, together, the
“Parties”.

                                            RECITALS

        A.      The Parties entered into that certain Asset Purchase Agreement, dated as of
December 19, 2018 (the “Purchase Agreement”), pursuant to which, among other things,
(1) Purchaser agreed to purchase, acquire and accept from Seller, and Seller agreed to sell,
transfer, assign, convey and deliver to Purchaser, all of Seller’s right, title and interest in, to and
under, free and clear of all Liabilities (other than Assumed Liabilities) and Encumbrances (other
than Permitted Encumbrances), the Purchased Assets, (2) Purchaser agreed to assume from
Seller, and Seller agreed to assign to Purchaser, the Assumed Liabilities, and (3) Purchaser
agreed to assume from Seller, and Seller agreed to assign to Purchaser, the Assigned Contracts.

        B.      On [∙], 2019, the United States Bankruptcy Court for the Western District of New
York entered an Order (the “Bankruptcy Sale Order”) authorizing and approving, among other
things, the sale, assignment and transfer to Purchaser of all of Seller’s right, title and interest in,
to and under the Purchased Assets, free and clear of all Liabilities (other than Assumed
Liabilities) and Encumbrances (other than Permitted Encumbrances) pursuant to sections 105,
363, and 365 of the Bankruptcy Code.

        C.      The Parties are entering into this Agreement in order to evidence the (1) purchase,
acquisition and acceptance by Purchaser from Seller, and the sale, transfer, assignment,
conveyance and delivery by Seller to Purchaser, of all of Seller’s right, title and interest in, to
and under, free and clear of all Liabilities (other than Assumed Liabilities) and Encumbrances
(other than Permitted Encumbrances), the Purchased Assets, (2) assumption by Purchaser from
Seller, and assignment by Seller to Purchaser, of the Assumed Liabilities, and (3) assumption by
Purchaser from Seller, and assignment by Seller to Purchaser, of the Assigned Contracts.

                                          AGREEMENT

         The Parties, intending to be legally bound, hereby agree as follows:

         1.    In consideration of the Purchase Price, the receipt and sufficiency of which are
hereby acknowledged, effective as of the Closing and subject to the terms and conditions set
forth in the Bankruptcy Sale Order and the Purchase Agreement:

                (a)     Purchaser hereby purchases, acquires and accepts from Seller, and Seller
hereby sells, transfers, assigns, conveys and delivers to Purchaser, all of Seller’s right, title and
interest in, to and under, free and clear of all Liabilities (other than Assumed Liabilities) and
Encumbrances (other than Permitted Encumbrances), the Purchased Assets;


{04620762.3}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                     Desc
                Exhibit A - Purchase Agreement Page 54 of 229


               (b)   Purchaser hereby assumes from Seller, and Seller hereby assigns to
Purchaser, the Assumed Liabilities; and

               (c)    Purchaser hereby assumes from Seller, and Seller hereby assigns to
Purchaser, the Assigned Contracts.

        2.     Seller shall execute and deliver, at the reasonable request of Purchaser, such
further instruments of sale, transfer, assignment, conveyance and delivery, and take such other
actions, as Purchaser reasonably requests, to effectuate, confirm, perform or carry out the terms
or provisions of this Agreement.

       3.     The terms of the Bankruptcy Sale Order and the Purchase Agreement, including
the Parties’ representations, warranties, covenants, agreements, and indemnities, are not
superseded by this Agreement, but remain in full force and effect to the full extent provided in
the Purchase Agreement. In the event of any conflict or inconsistency between the terms of the
Purchase Agreement and the terms of this Agreement, the terms of the Purchase Agreement are
to govern.

        4.      This Agreement is to be governed by and construed in accordance with federal
bankruptcy Law, to the extent applicable, and where state Law is implicated, the Laws of the
State of South Carolina shall govern, without giving effect to the choice of law principles
thereof, including all matters of construction, validity and performance.

         5.EACH OF THE PARTIES HEREBY IRREVOCABLY WAIVES ANY AND
ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR
RELATED TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY.

         6.   For the convenience of the Parties, this Agreement may be executed and delivered
(by facsimile or PDF signature) in any number of counterparts, each such counterpart being
deemed to be an original instrument, and all such counterparts shall together constitute the same
agreement.

       7.       The recitals to this Agreement are hereby incorporated into and made a part of
this Agreement by reference to such recitals. Capitalized terms used in this Agreement, but not
defined in this Agreement, have the meanings given to such terms in the Purchase Agreement.

                                   [Signature Page Follows]




{04620762.3}                                   2
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                      Desc
                Exhibit A - Purchase Agreement Page 55 of 229


         Each of the Parties, intending to be legally bound, has caused an authorized
representative of such Party to duly execute this Agreement on such Party’s behalf, as of the date
first set forth above.


                                             SELLER:

                                             ALLIANCE LAUNDRY & TEXTILE SERVICES,
                                             LLC


                                             By:
                                             Name:
                                             Title:


                                             PURCHASER:

                                             CROWN      HEALTH            CARE          LAUNDRY
                                             SERVICES, LLC


                                             By:
                                             Name:
                                             Title:




             [Signature Page to Bill of Sale and Assignment and Assumption Agreement]
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 56 of 229


                                EXHIBIT B

                           New Spartanburg Lease

                                 (Attached)




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35 Desc
                Exhibit A - Purchase Agreement Page 57 of 229
                                                              Execution Version


                                REAL PROPERTY LEASE
                                Spartanburg, South Carolina


        THIS LEASE (“Lease”) is made as of the December 19, 2018 by and between ULS
ACQUISITION LLC, a Delaware limited liability company with offices located at 805 Third
Avenue, New York, NY 10022 (hereinafter “Landlord”), and Crown Health Care Laundry
Services, LLC, a Delaware limited liability company with offices located at 25 West Cedar
Street, Pensacola, Florida 32502 (hereinafter “Tenant”).

       WHEREAS, Landlord is the owner of certain premises consisting of a 39,200 square foot
commercial laundry facility, a parking lot and all betterments and improvements located at 355
Old Greenville Road, Spartanburg, South Carolina being particularly described on Exhibit A
attached hereto (hereinafter, collectively, the “Leased Premises”); and

       WHEREAS, Landlord desires to lease to Tenant, and Tenant desires to lease from
Landlord, the Leased Premises.

      NOW, THEREFORE, in consideration of the rentals hereinafter reserved and the
covenants and agreements herein contained, the parties agree as follows:

                                   ARTICLE I
                  LEASED PREMISES; TERM AND COMMENCEMENT

        1.0    Acknowledgement Concerning Assets. Landlord acknowledges that Tenant is a
party to an Asset Purchase Agreement (the “Asset Purchase Agreement”) with Alliance Laundry
& Textile Services, LLC, a Georgia limited liability company d/b/a Clarus Linen Systems
(“Alliance”) of even date herewith whereby Tenant has agreed to acquire the furniture, trade
fixtures, machinery and equipment of Alliance, including but not limited to the items listed on
Schedule 1 attached hereto (the “Depreciation Schedule”), that are located on the Leased
Premises. Landlord acknowledges and agrees that the assets listed on the Depreciation Schedule
are the property of Alliance and that Landlord waives any claim with respect thereto, except as
follows:

       a.     Landlord has not been able to confirm that the following assets (which are
              identified in accordance with their description on the Depreciation Schedule) are
              trade fixtures and therefore does not waive any claim that it may have with
              respect thereto: (i) “Wire Partition, wall panel, door,” (ii) “Fencing,” (iii) “Move
              Fire Hyrdrant,” (iv) “retention pool for water sewer department,” and (v) “Sump
              Pump for waste water removal from Winchester;” and

       b.     Landlord does not waive any claim that it may have with respect to the following
              boilers (which are identified in accordance with their description on the
              Depreciation Schedule) if such boilers are used solely to heat the Leased Premises
              or the tap water at the Leased Premises: (i) “200 HP BOILER, L96066,” (ii) “200
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 58 of 229


                HP BOILER, I96065,”, and (iii) “Superior Boiler;” but if said boilers are used in
                the laundry operation they shall be considered trade fixtures.

        1.1     Lease. In consideration of the rents herein reserved and the mutual covenants of
the parties, Landlord hereby leases to Tenant and Tenant hereby leases from Landlord, subject to
the terms and condition hereinafter set forth, the Leased Premises.

       1.2   Initial Term. The initial term of this lease (hereinafter the “Initial Term”) shall
commence on the date of the closing of the purchase by Tenant under the Asset Purchase
Agreement (hereinafter the “Commencement Date”) and shall terminate on the tenth anniversary
of the Commencement Date, unless renewed as provided herein. Tenant shall provide written
notice to Landlord of the dated of the closing of the purchase under the Asset Purchase
Agreement.

        1.3     Renewal Terms. Tenant shall have the right and option to extend the term of this
Lease for two (2) renewal terms of five (5) years each (hereinafter a “Renewal Term”; the Initial
Term and, if extended, by one or more Renewal Terms are hereinafter sometimes referred to as
the “Term”) provided that Tenant (a) is not then in default under the terms of this Lease and (b)
gives Landlord written notice of its decision to renew not less than one hundred eighty (180)
days before the end of the then current Term. If Tenant shall fail to renew this Lease prior to the
end of the Initial Term, the second renewal option shall terminate.

       1.4    Delivery of Possession. Landlord shall deliver exclusive possession of the Leased
Premises to Tenant on the Commencement Date.

        1.5      Conditions of Tenant’s Obligations. Notwithstanding anything herein to the
contrary, Tenant shall have no obligation to perform under this Lease unless and until (a) the
closing of the transactions contemplated under that certain Asset Purchase Agreement occurs, (b)
Tenant receives an inspection report, acquired by Tenant, at Tenant’s sole cost and expense, as to
the roof and the HVAC systems for the Leased Premises with results satisfactory to Tenant in its
sole discretion (Tenant shall provide Landlord written notice of Tenant’s determination as to the
roof and HVAC systems on or before the closing under the Asset Purchase Agreement) and (c) a
satisfactory title report, at Tenant’s expense, indicating that there are no liens or encumbrances
on the Leased Premises which adversely impact Tenant’s rights under the Lease for which a non-
disturbance agreement has not been obtained or for which Tenant is unwilling to waive. Tenant
shall notify Landlord, in writing, of any title defects under this subsection (c) on or before the
closing under the Asset Purchase Agreement.

                                          ARTICLE II
                                            RENT

       2.1    Rental. Tenant covenants to pay as rent for the use and occupancy of the Leased
Premises the aggregate of the sums set forth below. The first rental payment shall be due and
payable on the first day of the first month following the Commencement Date. In the event that
the Commencement Date shall occur on a date other than the first of the month, the first rental
payment shall be adjusted to the proportionate fraction of the whole month so that all rental


{04625771.11}                                   2
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                            Desc
                Exhibit A - Purchase Agreement Page 59 of 229


payments, other than the first, shall be made and become due and payable on the first day of each
month thereafter. Rents shall be absolutely net to Landlord as provided herein.

         2.2    Base Rental – Initial Term. Tenant shall pay Landlord a base rental during the
Initial Term in the amounts set forth on the schedule attached hereto as Exhibit B.

        2.3   Base Rental - Renewal Term. In the event Tenant exercises its option to extend
the Term of this Lease pursuant to Section 1.3 hereof, Tenant shall pay Landlord as base rent
during each Renewal Term annual rent, payable in advance of the first day of each month, equal
to the amounts set forth on the schedule attached hereto as Exhibit B.

        2.4    Additional Rent: Taxes. Tenant shall pay as additional rent hereunder during the
Initial Term and any Renewal Term of any and all real estate taxes and assessments (ordinary
and extraordinary), water rents, sewer and other municipal charges which shall be imposed,
assessed, or levied upon the Leased Premises on or after the Commencement Date. Landlord
shall pay any such amounts which do not accrue during the Term of this Lease.

        The term “real estate taxes” shall mean all taxes and special assessments of every kind
and nature assessed by a governmental authority on the Leased Premises which the Landlord
shall become obligated to pay because of or in connection with the ownership, leasing and
operation of the Leased Premises. If taxes upon rentals or otherwise pertaining to the Leased
Premises shall be substituted, in whole or in part, for the present ad valorem real estate taxes or
assessed in addition thereto, then Tenant’s obligation to pay such taxes shall be based upon such
substituted taxes, to the extent to which the same shall be a substitute for present ad valorem real
estate taxes, together with such additional taxes, and such substitute or additional shall be
deemed to be included within the term “real estate taxes”. Nothing herein contained shall require
or be construed to require Tenant to reimburse Landlord for any inheritance, estate, succession,
transfer, gift, franchise, income or earnings, profit, excess profit tax, capital stock, capital levy or
corporate or other similar tax which is or may be imposed upon Landlord or upon Landlord’s
business. Tenant shall have the right, acting in good faith, to contest and/or appeal before the
appropriate governmental entity any real estate, personal property or other taxes that Tenant is
required to pay as a result of entering into this Lease and Landlord shall execute such
applications, authorizations and other documents and cooperate as reasonably necessary, at its
sole expense, as requested by Tenant in connection therewith.

       Tenant shall pay when due any and all State, Federal or local taxes based upon Tenant’s
personal property or resulting from any permitted alteration, additions or improvements made by
Tenant to the Leased Premises.

       2.5     Additional Rent: Insurance. During the Initial Term and any Renewal Term,
Tenant shall pay Landlord, as additional rent hereunder, the cost of Landlord’s Hazard Insurance
required to be maintained by Landlord pursuant to Section 5.1 (a) hereof.

         2.6    Payment of Additional Rent. Additional Rent shall be payable to Landlord at
least five (5) days prior to the date Landlord is required to pay such taxes and insurance provided



{04625771.11}                                      3
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 60 of 229


Landlord has submitted to Tenant at least twenty (20) days prior to the date due, copies of the
relevant bills and a statement of the amount due.

                                         ARTICLE III
                                    USE AND OCCUPANCY

        3.1     Use; Purpose. Tenant covenants to use and occupy the Leased Premises for any
(but only for) lawful purposes. Tenant agrees not to violate any applicable lawful statutes, rules,
regulations, orders, and ordinances of duly constituted governmental authority. Tenant shall
have the right to contest in good faith and by appropriate means the application to the use and
occupancy of the Leased Premises of any statute, rule, regulation, ordinance, and the like.

        3.2     Landlord Warranties and Quiet Possession. Landlord covenants, represents and
warrants (i) that it has good and marketable title to the Leased Premises; (ii) that Tenant’s
intended commercial use of the Leased Premises is allowable under existing zoning (including
use of the Leased Premises as a commercial laundry and all activities ancillary thereto); (iii) that
the same are free of any liens and encumbrances other than easements of record and mortgage
superior to this Lease; (iv) that Landlord has all requisite power and authority to enter into this
Lease; (v) that so long as Tenant shall not be in default hereunder (after the expiration of any
applicable notice, grace or cure periods), Tenant shall quietly hold, occupy, and enjoy the Leased
Premises during all the Term and any extension thereof without hindrance, ejection, or
molestation by Landlord or any party claiming under Landlord; and (vi) that taxes and all other
assessments affecting the Leased Premises are currently paid and in good standing.

        3.3     Assigning and Subletting. Tenant shall not assign this Lease or sublet its interest
under this Lease in the Leased Premises without Landlord’s prior written consent (such consent
not to be unreasonably withheld), provided Tenant shall have the right to assign this Lease or
sublet all or any part of the Leased Premises to a wholly owned subsidiary without Landlord’s
consent, provided Tenant furnishes to Landlord in advance copies of any proposed assignment
documents and continues to be liable for the prompt and full payment of the rentals and other
payments required hereunder. Notwithstanding the foregoing or anything else herein to the
contrary, Tenant shall have the right to assign this Lease without the requirement of any
Landlord consent or approval to any party who acquires all or substantially all of the assets of
Tenant and/or its affiliate entities.

                                   ARTICLE IV
                       MAINTENANCE AND REPAIR; ALTERATIONS

      4.1     By Tenant. Tenant shall be responsible for all maintenance and repairs to the
Leased Premises including but not limited to all structural, roof, mechanical, electrical, and
plumbing systems, overhead doors, parking areas, loading docks, and all others.

      4.2    Alterations. Tenant shall have the right at its expense to make alterations or
improvements to the Leased Premises provided that:




{04625771.11}                                    4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                      Desc
                Exhibit A - Purchase Agreement Page 61 of 229


        a.     No such alterations or improvements shall lessen the fair market value of the
Leased Premises and any such alteration or improvement shall be done in accordance with all
applicable laws, in a good and workmanlike manner with good quality material and shall not
impair the safety of the structure of the Leased Premises.

       b.      Any structural alterations shall be made in accordance with previously prepared
plans and specifications, and such plans and specifications must have the written approval of the
Landlord before any work thereon shall be commenced, such approval not to be unreasonably
withheld or delayed.

        c.      The Tenant shall pay the increased premium, if any, for the insurance coverage of
the Leased Premises resulting from any additional risk during the course of construction or
installation of any such alteration, addition, or improvement or resulting from such alteration,
addition or improvement.

        Landlord represents and warrants to Tenant that none of the furniture, fixtures or
equipment located on the Leased Premises, other than lighting, plumbing and HVAC equipment,
is owned by Landlord. All additions, improvements and fixtures (including the usual trade
fixtures, furniture and equipment) which may be made or installed by Tenant and which are not
permanently attached to a floor, wall or ceiling, may, at the expiration or earlier termination of
this Lease, be removed by Tenant from the Leased Premises. Tenant also shall have the right to
remove any additions, improvements, and fixtures that are permanently attached provided Tenant
repairs any injury to the Leased Premises caused by such removal. Tenant shall pay promptly
when due the entire cost of any work to the Leased Premises undertaken by Tenant so that the
Leased Premises shall at all times be free of liens for labor and materials; to procure all
necessary permits before undertaking such work; to do all of such work in a good and
workmanlike manner, employing new materials of good quality and complying with all
governmental requirements; and to save Landlord harmless and Indemnified from all injury, loss,
claims or damage to any person or property occasioned by or growing out of such work
including, without limitations, reasonable attorneys’ fees. Landlord shall not have any landlord’s
or other lien of any kind on the personal or other property of Tenant and Landlord shall
acknowledge such and execute such documents evidencing same as Tenant of it lenders or
investors may request.

                                  ARTICLE V
                 INSURANCE; WAIVER OF SUBROGATION; INDEMNITY

        5.1     Landlord’s Insurance Requirements. Landlord shall maintain during the Term of
this Lease the following insurance coverage:

               a. Fire and Extended Coverage Insurance. Fire and extended coverage insurance
on a full replacement cost basis, using an “all risk” or equivalent form, insuring the Leased
Premises and improvements thereto (excluding Tenants goods, furniture, or personal property
placed in the Leased Premises by Tenant), against damage or loss from fire or other casualty
normally insured against under the terms of standard policies of fire and extended coverage
insurance (“Landlord’s Hazard Insurance”).


{04625771.11}                                   5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 62 of 229



                b. Liability Insurance. Liability Insurance, using the commercial general liability
form, covering the Leased Premises against claims for personal injury or death and property
damage upon, in or about the Leased Premises, such insurance to be written on an occurrence
basis (not a claims made basis) with combined single limit coverage of not less than One Million
dollars ($1,000,000.00) and with a general aggregate limit of not less than Two Million Dollars
($2,000,000.00) for each policy year (“Landlord’s Liability Insurance”) and a commercial
coverage umbrella policy in the amount of Five Million dollars ($5,000,000,00). Tenant shall be
named as additional insureds on all such policies.

        All policies of Landlord’s Hazard Insurance and Landlord’s Liability Insurance required
to be carried by Landlord under this Section 5.1 shall be issued by insurance companies with a
rating of not less than A with a financial size reasonably consistent with the size and nature of
the risk being insured, and licensed to do business in the State in which the Leased Premises is
located. With respect to each policy of Landlord’s Hazard Insurance and Landlord’s Liability
Insurance carried by Landlord under this Section 5.1, Landlord shall deliver to Tenant a
certificate prior to the commencement of the Term of this Lease and thereafter within thirty (30)
days prior to the expiration of each such policy evidencing the required coverage and containing
provision that each insurer will give Tenant at least thirty (30) days advance written notice of any
material change, cancellation, termination, or lapse of such coverage and of the effective date of
any reduction in the amount(s) of such coverage.

       5.2    Tenant’s Insurance Requirements. Tenant shall maintain during the Term of this
Lease, at Tenant’s cost, the following insurance coverage:

               a. Hazard Insurance. All insurance coverage necessary for the protection against
loss or damage from fire or other casualty for Tenant’s goods, furniture, and other property
placed in the Leased Premises by tenant (“Tenant’s Hazard Insurance”).

                b. Liability Insurance. Liability Insurance, using the commercial general liability
form, insuring Tenant, and Landlord to the extent of the obligations of Tenant to Landlord under
this Lease, from and against claims for injuries and death sustained by persons or property
arising from the negligent acts or omissions of Tenant and Tenant’s employees, agents, invitees,
contractors, or subcontractors while on the Leased Premises. Such Liability insurance to be
maintained by Tenant shall be written on an occurrence basis (not a claims made basis) with a
combined single limit of not less than Three Million Dollars ($3,000,000.00) and with a general
aggregate limit of not less than Ten Million Dollars ($10,000,000.00) for each policy year
(“Tenant’s Liability Insurance”). Landlord and its mortgagee shall be named as additional
insureds on all such policies to the extent of Tenant’s indemnity of Landlord set forth below.

        All policies of Tenant’s Hazard Insurance and Tenant’s Liability Insurance required to be
carried by Tenant under this Section 5.2 shall be issued by insurance companies with a rating of
not less than A-, with a financial size reasonably consistent with the size and nature of the risk
being insured, and licensed to do business in the State in which the Leased Premises are located.
With respect to each policy of Tenant’s Hazard Insurance and Tenant’s Liability Insurance
carried by Tenant under Section 5.2, Tenant shall deliver to Landlord a certificate prior to the


{04625771.11}                                    6
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 63 of 229


commencement of the Term of this Lease and thereafter within thirty (30) days prior to the
expiration of each such policy evidencing the required coverage and containing a provision that
each insurer will give Landlord at least thirty (30) days advance written notice of any material
change, cancellation, termination, or lapse of such coverage and the effective date of any
reduction in the amount(s) of such coverage.

        5.3     Waiver of Subrogation. Each party to this Agreement agrees to waive all their
rights of subrogation or recovery for loss or damage to each respective party’s building,
equipment, improvements or other property whatsoever to the extent the loss or damage is
covered by Landlord’s Hazard Insurance or Tenant’s Hazard Insurance, as the case may be (or in
case the responsible party fails to carry such insurance, as would have been covered by such
insurance had the responsible party actually carried such insurance). It is the intent of the parties
that each shall rely on the separate property policies procured by each of them. If any policies of
insurance require an endorsement to effect this waiver of subrogation, the insureds of such
policies shall cause them to be so endorsed.

        5.4    Indemnity. Landlord and Tenant agree that each will indemnify and hold
harmless the other for all losses, damages, liabilities, costs, payments, expenses and fines
incurred by one party (the “Indemnitee”) as a result of any claim or action (whether or not such
claim or action proceeds to final judgment) brought or threatened for any of the following acts or
omissions of the other party (the “Indemnitor”), and/or the Indemnitor’s servants, employees,
agents, licensees, or invitees: (i) any breach, violation, and/or nonperformance of any covenant
or provision of the Lease applicable to the Indemnitor; (ii) the occupancy or use of the Leased
Premises; and/or (iii) any gross negligence, or any willful misconduct, whether intentional or not.
This Indemnification will remain in effect after the termination or expiration of this Lease for a
period of one (1) year. The parties agree to first look to one another’s insurance coverages for
any claims under this Section 5.4.


                                   ARTICLE VI
                      DAMAGE OR DESTRUCTION; CONDEMNATION

       6.1     Restoration. If the Leased Premises shall be damaged or destroyed by fire,
windstorm or any other insured casualty, Tenant shall immediately give written notice thereof to
Landlord (“Notice”) and unless this Lease is terminated as provided in Section 6.4 hereof,
Landlord shall, using the proceeds of the Landlord’s Hazard Insurance and such other funds as
are reasonably necessary, promptly repair or rebuild the same so as to restore the Leased
Premises to substantially the same condition they were in immediately prior to such damage or
destruction, subject, however, to zoning and building laws then in existence, provided that
Landlord shall not be responsible for any delay in such repair or reconstruction which may result
from any cause beyond its reasonable control.

       6.2      Condemnation. If during the Term of the Lease all or any portion of the Leased
Premises shall be acquired by authority of any governmental agency in the legal and valid
exercise of its power of eminent domain or by private purchase in lieu thereof, the rent herein
provided shall be reduced in the same proportion that the area of the Leased Premises so taken


{04625771.11}                                    7
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 64 of 229


bears to the total area of the Leased Premises immediately prior to such taking; and if such
condemnation or acquisition in the reasonable judgment of Tenant prevents or impedes Tenant in
the conduct of its business substantially in the same manner as theretofore, Tenant shall have the
right, at its option, to terminate this Lease by giving notice in writing to Landlord within ninety
(90) days after notice of said taking. The condemnation award shall be divided between
Landlord and Tenant in proportion to the value, at the time of condemnation, of their respective
interests in the Leased Premises, as improved, based upon the assumption that all options to
renew or extend the Term of this Lease are exercised. Anything in this Section to the contrary
notwithstanding, Tenant may, at its option, institute any proceedings appropriate to obtain
separate compensation.

        6.3    Abatement of Rent. If this Lease is not terminated as provided herein, then form
and after any such condemnation, casualty or damage and until the Leased Premises are restored
as above provided, the rent reserved herein shall abate, either wholly or proportionately to the
degree of the impact on Tenant’s use of the Leased Premises, according to the nature and extent
of the injury.

         6.4     Damage/Condemnation and Timing. If the Leased Premises shall be condemned,
damaged or destroyed by any cause to such extent that the same cannot be reasonably expected
to be restored to substantially the same condition within ninety (90) days, then either party shall
have the right to terminate this Lease by notice to the other given within sixty (60) days after the
occurrence of such damage or destruction, provided that Landlord may not cancel this Lease in
the last year of the Initial Term or any Renewal Term in the event Tenant promptly gives notice
of its intention to renew the Term hereof.




{04625771.11}                                    8
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 65 of 229


                                         ARTICLE VII
                                       SUBORDINATION

        7.1     Subordination. Tenant warrants and represents that this Lease (inclusive of the
Option, as hereinafter defined) is subject and subordinate to any existing or future mortgage
including any extensions, modifications, amendments, consolidations thereof on the Lease
Premises. As a condition to entering into this Lease, Landlord, Tenant and any holder of a
mortgage covering the Leased Premises shall execute and deliver a subordination, non-
disturbance and attornment agreement in form and content acceptable to the parties. Provided
that (a) there shall be no default by Tenant in the observance and performance of the covenants,
promises and agreements herein contained and required to be kept, observed and performed by
Tenant, (b) Tenant shall not have prepaid more than one month's rent in advance of its due date
under this Lease, the holder or holders of any such mortgage or mortgages, whether now in place
or hereafter granted by Landlord, shall, in consideration of the foregoing subordination of this
Lease to the lien and encumbrance of any such mortgage or mortgages be deemed to have agreed
that (i) such holder or holders shall not name or join Tenant as a party defendant in any
proceedings instituted to foreclose or otherwise enforce any such mortgage or mortgages, (ii)
neither this Lease nor the term hereof shall be terminated (except as expressly permitted by the
provisions of this Lease) or otherwise affected by the institution and/or completion of any such
proceedings and (iii) that Tenant's possession of the Leased Premises shall not in any way be
disturbed by the enforcement of any rights given to the holder or holders of any such mortgage
or mortgages pursuant to the terms, covenants or conditions contained in any such mortgage or
mortgages or any other documents held by any such holder or holders or any rights given to any
such holder or holders as a matter of law.

                                         ARTICLE VIII
                                          UTILITIES

       8.1    Utilities. Landlord shall at its sole expense cause the Leased Premises to be
served with sufficient electrical, water, sewer, gas and telephone service capacity and service to
meet Tenant’s intended use and all related needs. All such utilities shall be separately metered.
The payment of all utility bills for the Leased Premises shall be the responsibility of Tenant.

                                      ARTICLE IX
                                ENVIRONMENTAL MATTERS

        9.1      Environmental Condition. Landlord has provided to Tenant all environmental
reports pertaining to the Leased Premises in Landlord’s possession. In addition, Tenant
conducted an independent Phase I environmental investigation of the Leased Premises which
resulted in no finding of adverse environmental conditions at the Leased Premises. By executing
this Lease, Tenant accepts the Leased Premises “as is” as to all environmental matters and
waives any and all claims against Landlord relating to the environmental conditions of the
Leased Premises. Notwithstanding the foregoing or any provision of this Lease, Landlord shall
indemnify, hold harmless and defend Tenant from all claims, judgments, damages, penalties,
fines, costs, liabilities or losses including without limitation sums paid in settlement of claims,
attorneys’ fees, consultant fees and expert’s fees, incurred or suffered to the extent due to any


{04625771.11}                                   9
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                           Desc
                Exhibit A - Purchase Agreement Page 66 of 229


treatment, storage, disposal, or release of Hazardous Materials (as that term is defined in any
current or future federal, state, or local environmental laws, rules, regulations, statutes or
ordinances) at or related to the Leased Premises first occurring prior to the date of this Lease or
after Tenant’s vacation of the Leased Premises first occurring prior to the date of this Lease or
after Tenant’s vacation of the Leased Premises. Tenant shall indemnify, hold harmless and
defend Landlord from all claims, judgments, damages, penalties, fines, costs, liabilities or losses
including without limitation sums paid in settlement of claims, attorneys’ fees, consultant fees
and expert’s fees, incurred or suffered to the extent due to any treatment, storage, disposal, or
release of Hazardous Materials (as that term is defined in any current or future federal, state, or
local environmental laws, rules, regulations, statutes or ordinances) at or related to the Leased
Premises caused by Tenant during its occupancy of the Leased Premises. Landlord’s and
Tenant’s respective indemnification obligations set forth in this Section shall survive expiration
or termination of this Lease.

        9.2     Representation. To the best of Landlord’s knowledge, Landlord represents and
warrants that Landlord and its employees, officers, agents, vendors and customers have not
treated, stored, disposed of, or released any Hazardous Materials (as that term is defined in any
current or future federal, state, or local environmental laws, rules, regulations, statutes, or
ordinances) upon or within the Leased Premises.


                                            ARTICLE X
                                            DEFAULT

        10.1 Default by Tenant. This Lease is made on the condition that if Tenant shall fail to
perform any obligation hereunder in payment of base rent, additional rent, or in payment of any
other sums due under this Lease, and such failure shall continue for ten (10) days after receipt of
written notice from Landlord, or for thirty (30) days after receipt of written notice of default in
the case of any other obligation hereunder (or, if said default cannot reasonably be expected to be
cured within such thirty (30) day period, Tenant shall have a reasonable period of time to cure
same provided Tenant has commenced such cure within such thirty (30) day period and
thereafter prosecutes the curing of such default to completion with due diligence, provided,
however, in no event shall the cure period be greater than sixty (60) days), or if the estate hereby
created shall be taken on execution or other process of law, or if Tenant shall be declared
bankrupt or insolvent according to law, or if Tenant shall make or offer to make, in or out of
bankruptcy, a composition with Tenant’s creditors, or if Tenant shall make an assignment for the
benefit of its creditors, or if Tenant shall commit any act of bankruptcy, or if a receiver, trustee
or other officer shall be appointed to take charge of all or any substantial part of Tenant’s
property by a court, or if a petition shall be filed by or against Tenant for the reorganization of
Tenant or for an “arrangement” under the Bankruptcy Code or under any other provisions of the
Bankruptcy Code or any successor or similar State or Federal statute or regulation now or
hereafter in effect, and the same, if filed against but not by Tenant, shall not be dismissed within
thirty (30) days after the date on which it is filed, then and in any of the said cases, in addition to
and not in derogation of any remedies for any preceding breach of covenant, Landlord may
immediately or at any time thereafter and without further demand or notice (i) terminate this
Lease by notice in writing forthwith, or on a date stated in said notice, (ii) with or without


{04625771.11}                                     10
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 67 of 229


process of law (to the extent permitted by statute) peaceably enter into and upon the Leased
Premises or any part thereof in the name of the whole and repossess the same, and (iii) peaceably
expel Tenant and those claiming through or under Tenant and remove its and their effects
without prejudice to any remedies which might otherwise be used for arrears of rent or preceding
breach of covenant, and upon entry as aforesaid this Lease shall terminate; and in case of such
termination, or termination by reason of default on the part of Tenant, Tenant shall at the election
of Landlord, which election may be changed at any time:

                 (a)    pay to Landlord from time to time in equal monthly installments as the
same come due, in advance, sums equal to the aggregate rent herein provided for or, if the
Leased Premises have been relet, sums equal to the excess of the aggregate rent herein provided
for over the sums actually received by Landlord from such reletting, as well as any reasonable
expenses incurred by Landlord as a consequence of such default or in such reletting, including
but not limited to, attorneys’ fees, brokers’ fees and expenses of repairing the Leased Premises
for re-rental, such sums being payable, as liquidated damages for the unexpired Term hereof; or

                (b)     pay to Landlord as damages a sum which, at the time of such termination
or at the time to which installments of liquidated damages shall have been paid represents the
present-value of the amount by which the then rental value of the Leased Premises for the
residue of the Term is less than the aggregate rent herein provided for the residue of the Term
and pay from time to time to Landlord upon demand such additional sums as are equal to the
excess, if any, of the aforesaid rental value of the Leased Premises of the rent actually received
by Landlord for the Leased Premises for the period from such termination, or from the time to
which installments of liquidated damages shall have been paid (or from the time to which these
additional sums may have been paid by Tenant under this paragraph, whichever the case may be)
to the time for which Landlord may specify in its demand hereunder (but in no event to the time
later than the expiration of the Term hereof), plus, in any case, reasonable expenses of Landlord
by way of attorneys’ fees, in connection with such default.

         For the purpose of this Article, the phrase “aggregate rent” as used herein, shall include
the annual base rent as adjusted from time to time, and all additional rent payable hereunder less
any costs saved by Landlord as a result of Tenant not being in occupancy of the Leased
Premises. In the event of a default by Tenant as above provided, and if Landlord shall elect not
to terminate this Lease, Landlord may relet the Leased Premises or any part or parts thereof in
the name of either Landlord or Tenant, for a term or terms which may, at Landlord’s option,
extend beyond the balance of the Term of this Lease and may remove and store Tenant’s effects
at Tenant’s expense, and Tenant agrees that in the event of such reletting Tenant shall pay
Landlord any deficiency between the aggregate rent to be paid hereunder and the net amount of
the rents collected during such reletting, as well as any expenses reasonably incurred by
Landlord as a consequence of such default or in such reletting, including but not limited to,
attorneys’ fees, brokers’ fees and expenses of putting the Leased Premises in a condition similar
to its condition as of the date of this Lease, reasonable wear and tear expected. Such deficiency
shall be paid in monthly installments upon statements rendered by Landlord to Tenant.

        10.2 Remedies Cumulative. All rights and remedies which Landlord may have under
this Lease shall be cumulative and shall not be deemed inconsistent with each other, and any two


{04625771.11}                                   11
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 68 of 229


or more of such rights and remedies may be exercised at the same time insofar as permitted by
law.

        10.3 Limitation on Liability. Notwithstanding anything in this Article X or elsewhere
in this Lease to the contrary, in no event shall Tenant’s liability to Landlord in the event of a
breach or termination of this Lease related to Tenant exceed an amount equal to three (3) years’
annual rent at the then applicable Base Rate.

                                         ARTICLE XI
                                    OPTION TO PURCHASE

       11.1 Grant of Option; Method of Exercise; Form of Agreement. Landlord hereby
gives and grants in favor of Tenant an option to purchase the Leased Premises. The option
granted hereunder (hereinafter referred to as the “Option”) is granted, and must be exercised,
upon the terms and conditions hereinafter set forth:

                (a)     Option Term. The term within which the Option may be exercised
(hereinafter referred to as the “Option Term”) shall begin on the Commencement Date and shall
run throughout the Term of the Lease thereafter, except as otherwise provided herein. In the
event that this Lease is sooner terminated, then the Option shall be correspondingly and
automatically terminated upon termination of this Lease. Notwithstanding anything to the
contrary herein, in the event that Landlord receives a bona fide offer to purchase the Leased
Premises during the Option Term from a third party not affiliated in any way with Landlord, or
any member, manager, officer or employee of Landlord, that Landlord intends to accept (“Third
Party Offer”), Landlord shall give written notice of the existence of the Third Party Offer, along
with Landlord’s statement of its intent to accept such offer (inclusive of the purchase price in the
Third Party Offer), to Tenant (“Offer Notice”). Tenant shall have seven (7) business days
following Tenant’s receipt of the Offer Notice within which to exercise the Option pursuant to
the terms of this Lease (“Option Deadline”). If Tenant fails to exercise the Option by the Option
Deadline, and the Third Party Offer is accepted by Landlord and the purchase and sale
contemplated therein shall close, the Option shall automatically expire and terminate in all
respects. If the Third Party Offer is not accepted, or if accepted, and the transaction fails to
close, then the Option shall remain in full force and effect, subject to the provisions of this
subsection. If Tenant fails to exercise the Option after receipt of an Offer Notice from Landlord
and the purchase price in the Third Party Offer is subsequently changed, then Landlord shall be
required to provide Tenant a subsequent Offer Notice and Tenant shall have seven (7) business
days within which to exercise the Option provided for hereunder. A sale to a third party
purchaser, regardless of the termination of the Option, shall have no effect on this Lease, which
shall remain in full force and effect according to the terms and conditions hereof.

               (b)     Method of Exercise of Option. At any time during the Option Term,
Tenant may exercise the Option by delivering written notice thereof to Landlord, together with
the Deposit (defined below). The Option shall be deemed to have been exercised on the date of
Landlord's receipt of such written notice and the Deposit. Such written notice shall be delivered
as provided in this Lease, and the date upon which the Option is so exercised is referred to herein
as the "Option Effective Date".


{04625771.11}                                    12
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                            Desc
                Exhibit A - Purchase Agreement Page 69 of 229



               (c)     Terms. The purchase and sale of the Leased Premises shall be on the terms
and conditions set forth below, which shall constitute a binding contract upon exercise of the
Option.

        11.2. Purchase Price and Method of Payment. The total purchase price for the Leased
Premises, subject to the adjustments hereinafter provided for, shall be the lesser of (i) the price
set forth on Exhibit B to the Lease as to the Option Effective Date and (ii) the purchase price set
forth in the accepted Third Party Offer, and is payable as follows:

               (a)     An earnest money deposit (hereinafter referred to as the “Deposit”) in the
amount of $50,000.00 shall be delivered to Landlord with the exercise of the Option. At closing,
the Deposit, plus accrued interest shall be credited to Tenant and retained by Landlord in partial
payment of the purchase price.

               (b)     The balance of the purchase price shall be paid by Tenant at closing by
 bank wire transfer of immediately available funds, it being understood that the precise amount
 of cash payable at closing to complete payment of the total purchase price may vary depending
 upon applicable closing costs, adjustments and prorations.

         11.3. Evidence of Title. Within twenty (20) days following the Option Effective Date,
Landlord shall deliver to Tenant, issued by a licensed South Carolina title insurer (hereinafter
sometimes referred to as the “Issuing Agent”) acceptable to Tenant, a commitment for title
insurance agreeing to issue to Tenant upon recording of the deed to Tenant, a fee owner's policy
of title insurance in the amount of the purchase price of the Premises insuring the title of Tenant
to the Property, subject only to the Permitted Exceptions (as hereinafter defined) and the so-
called “Standard Exceptions” contained on the inside jacket cover of the standard ALTA Form B
of commitment. Said commitment shall provide that said Standard Exceptions will be deleted by
the title insurance company upon furnishing to the Issuing Agent a Lien, Possession and
Encumbrance Affidavit in the customary form (and Landlord agrees to furnish such Affidavit at
and as a part of the Closing) and any existing survey, if Tenant elects to update said survey, it
shall be at Tenant’s expense. In the event that the title insurance commitment discloses that title
to the Property is subject to any exceptions which render title unmarketable, then Tenant shall
have the right at its expense to deliver written notice thereof to Landlord objecting to such title
defect no later than thirty (30) days after its receipt of such title commitment. Landlord shall not
be obligated to cure any such defect other than monetary liens (such as mortgages) to be paid at
Closing. Landlord shall have a period of thirty (30) days within which to cure or remove such
defect, failing which Tenant shall have the right to: (i) accept title as it then is, or (ii) terminate
the exercise of the Option, in which event the Deposit shall be returned to Tenant promptly upon
demand therefor and thereupon Landlord and Tenant shall be released from any and all further
obligations and liabilities to each other under the Option, except with respect to any obligations
expressly surviving termination hereunder. Any matters reflected on the title commitment not
objected to by Tenant, or which are waived or deemed waived by Tenant, shall constitute
Permitted Exceptions hereunder.




{04625771.11}                                     13
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 70 of 229


       11.4. Survey. Tenant, at Tenant's expense, may have the Leased Premises surveyed at
any time during the Term and any time prior to the date of closing hereunder.

         11.5.   [Intentionally deleted].

       11.6. Conveyance of Land and Improvements. Title to the Leased Premises shall
be conveyed to Tenant by general warranty deed, free and clear of all liens, encumbrances and
matters whatsoever except the following:

              (a)    The Permitted Exceptions.
              (b)    Taxes for the year of closing and subsequent years.
              (c)    Zoning, restrictions, prohibitions and other requirements imposed by
governmental authority.

        11.7. Date and Place of Closing. Closing on the purchase and sale of the Leased
Premises in accordance with this Agreement shall incur at 10:00 a.m. eastern on the later of (a)
the 60th day after Option Effective Date or (b) the day that is ten (10) days after the expiration of
the Landlord’s right to cure title defects as notified by Tenant pursuant to Section 11.3 hereof, at
the offices of the Issuing Agent. If such date is a holiday on which banks are closed or a Saturday
or Sunday then the closing date shall be the next available business day. Landlord and Tenant
may agree, by written instrument, to an earlier or later closing date.

         11.8.   Documents for Closing.

              (a)     At the closing, the Landlord will execute and deliver, or cause to be
executed and delivered, the following instruments and documents:

                 (i)     A duly executed and acknowledged general warranty deed conveying title
                         to the Leased Premises to Tenant.
                 (ii)    A lien, possession and encumbrance affidavit in customary form sufficient
                         to delete the Standard Exceptions relating to construction liens and parties
                         in possession.
                 (iii)   A Closing Statement prepared in accordance with this Agreement.
                 (iv)    Such affidavits and other instruments and documents in form reasonably
                         satisfactory to the Issuing Agent necessary to establish of record that the
                         signatures on the deed and other instruments conveying title to the Leased
                         Premises are sufficient to bind the Landlord and convey the Leased
                         Premises to Tenant and that all requisite approvals under Landlord's
                         operating agreement have been obtained.
                 (v)     A non-foreign status affidavit and certificate in customary form.

(b)      Tenant shall deliver at closing, the following:

                 (i)     A Closing Statement prepared in accordance with this Agreement.




{04625771.11}                                     14
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                            Desc
                Exhibit A - Purchase Agreement Page 71 of 229


                (ii)    Such affidavits and other instruments and documents in form reasonably
                        satisfactory to the Issuing Agent necessary to establish the good standing
                        of Tenant for title purposes.
                (iii)   Payment (by bank wire transfer) of an amount sufficient to complete
                        payment of the purchase price specified above.

       11.9. Expenses. Landlord shall pay: (i) the documentary stamps to be affixed to the
warranty deed, (ii) the cost to record the general warranty deed and the cost of obtaining and
recording any corrective instruments; and (iii) the premium for the owner's title insurance policy
and the title search expense therefor. Tenant shall pay: (i) the cost of the survey; (ii) all costs and
expenses associated with Tenant's Inspections; and (iii) all costs and expenses associated with
Tenant's financing. Each party shall pay their respective legal fees.

        11.10. Prorations and Adjustments: The following are to be apportioned as of 12:01 a.m.
on the date of closing:

                (a)     Rent shall cease.
                (b)     Utilities charges not paid by Tenant directly, if any.

       11.11. Prorations of Taxes (Real and Personal). Taxes shall not be prorated. Tenant shall
be responsible for all property taxes associated with the Leased Premises under the terms of the
Lease.

         11.12. Option Default and Remedies.

               (a)     Default by Tenant and Remedies of Landlord. In the event Tenant defaults
in Tenant’s obligation to close on the purchase of the Leased Premises in accordance with the
terms hereof, the Deposit shall be disbursed and/or paid to Landlord as and for consideration for
the execution of this Agreement by Landlord and as agreed upon liquidated damages in full
settlement of all claims hereunder, whereupon all parties shall be released from further liability
under the Option (it being understood that the Lease shall survive the termination of the Option).

                (b)    Default by Landlord and Remedies of Tenant. In the event Landlord
defaults in the performance of its obligations under this Agreement, Tenant shall be limited to
the following remedies:

                (i)     Tenant shall have the right of specific performance,
                (ii)    Tenant may elect to terminate the Option by written notice to Landlord,
                        whereupon the Deposit shall be returned to Buyer and thereupon all rights
                        and liabilities of the parties with respect to the Option shall cease and
                        terminate (it being understood that the Lease shall survive the termination
                        of the Option).
                (iii)   Tenant shall have all remedies at law or in equity.

        11.13. Brokers. Landlord hereby represents and warrants to Tenant that no real estate
agent, broker, finder other intermediary has been consulted or contacted by Landlord or involved


{04625771.11}                                     15
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 72 of 229


at the instance of Landlord in connection with the transaction contemplated by this Agreement
and hereby agrees to indemnify, defend and hold Tenant harmless from and against any claim,
liability, loss, cost, damage or expense (including, without limitation, reasonable attorneys' fees
and other legal expenses whether incurred at or before the trial level or in appellate, bankruptcy
or administrative proceeding) which Tenant may suffer, sustain or incur because of any claim
made by any real estate agent, broker, finder or other intermediary claiming a broker fee or
commission or other compensation with respect to this Agreement or the transaction
contemplated hereby.

        Tenant hereby represents and warrants to Landlord that no real estate agent, broker,
finder or other intermediary was consulted or contacted by Tenant in connection with this
Agreement or the transaction contemplated hereby and hereby agrees to indemnify, defend and
hold Landlord harmless from and against any claim, liability, loss, cost, damage and expense
(including, without limitation, reasonable attorneys' fees and other legal expenses whether
incurred at or before the trial level or in any appellate, bankruptcy or administrative proceeding)
which Landlord may suffer, sustain or incur because of any claim made by any real estate agent,
broker, finder or other intermediary claiming to have been consulted or contacted by Tenant and
due a brokerage fee or commission or other compensation with respect to this Agreement or the
transaction contemplated hereby.

                                    ARTICLE XII
                          TENANT IMPROVEMENT ALLOWANCE

                                      [Intentionally Deleted]


                                         ARTICLE XII
                                       MISCELLANEOUS

        13.1 Tenant’s Financial Information. Upon Landlord’s request, Tenant shall provide
its most recent financial information or financial statement to Landlord’s existing or proposed
lender, as designated by Landlord, to assist Landlord in refinancing its mortgage secured by the
Leased Premises upon Tenant’s receipt of a written request from Landlord’s existing or proposed
lender and the execution by such lender of a non-disclosure agreement in form and content
reasonably acceptable to Tenant.

        13.2 Consent and Waiver. No consent or waiver, express or implied, by either party to
or of any breach in the performance by the other party of its agreements hereunder shall be
construed as a consent to or waiver of any such breach. No acceptance by Landlord of any rent
or other payment hereunder, even with the knowledge of any such breach, shall be deemed a
waiver thereof nor shall any acceptance of rent or other such payment in a lesser amount then is
herein required to be paid by Tenant, regardless of any endorsement on any check or any
statement in any letter accompanying the payment of the same, be construed as an accord and
satisfaction or in any manner other than as a payment on account by Tenant. No waiver by
Landlord in respect of any one tenant shall constitute a waiver with respect to any other tenant.
Failure on the part of either party to complain of any action or non-action on the part of the other


{04625771.11}                                    16
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                         Desc
                Exhibit A - Purchase Agreement Page 73 of 229


party or to declare a default, no matter how long such failure may continue shall not be deemed
to be a waiver by the non-breaching party of any of its rights hereunder. No act of Tenant,
including the taking of possession of the Leased Premises, shall constitute a waiver by Tenant of
any of Landlord’s obligations with respect to the Leased Premises, including Landlord’s
obligation to correct any defects in materials or workmanship as provided in this Lease.

        13.3 Generality and Severability of Provisions. In no case shall mention of specific
instances under a more general provision be construed to limit the generality of said provisions.
If any section, sentence, paragraph clause, or combination of provisions in this Lease is in
violation of any law, such sections, sentences, paragraphs, clauses, or combinations shall be
inoperative and the remainder of this Lease shall be binding upon the parties.

       13.4 Overdue Rent. If any installment of rent, base or additional, is paid more than ten
(10) days after the due date thereof, it shall bear interest at twelve percent (12%) per annum from
such due date of payment, which interest shall be immediately due and payable as additional
rent.

         13.5 Holding Over. If Tenant continues to occupy the Leased Premises after the
termination hereof, it shall have no more rights than a tenant by sufferance, but shall be liable for
one hundred twenty-five percent (125%) of the aggregate rental as above determined during such
occupancy, and shall be liable for any loss or expense directly due to such holding over. Nothing
in this section shall be construed to permit such holding over.

        13.6 Successors and Assigns. The conditions and agreements in this Lease contained
to be kept and performed by the parties hereto shall be binding upon and inure to the benefit of
said respective parties, their legal representatives, successors and assigns, and the same shall be
construed as covenants running with the Leased Premises.

        13.7 Construction. The parties acknowledge that this Lease is the result of
negotiations between the parties, and in construing any ambiguity hereunder no presumption
shall be made in favor of either party. No inference shall be made from any item, which has
been stricken from this Lease other than the deletion of such item.

        13.8 Headings. The section and article headings throughout this instrument are for
convenience and reference only and shall in no way be held to limit, define or describe the scope
or intent of this Lease or in any way affect this Lease.

       13.9 Governing Law. This Lease shall be governed by, construed and enforced in
accordance with the laws of the state in which the Leased Premises are located.

        13.10 Recording. Neither party shall record this Lease, but upon request of either party,
both parties shall execute and deliver a notice of Lease, in form satisfactory to both parties and
appropriate for recording, the costs of such notice shall be borne by the requesting party. The
parties agree to execute and deliver such documents or instruments as may be required to
evidence the terms of the Option created herein and record the same if necessary to perfect



{04625771.11}                                    17
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 74 of 229


Tenant’s leasehold and option rights.

       13.11 Notice. All notices required or permitted to be given hereunder shall be in writing
and delivered personally or sent by United States registered or certified mail, postage prepaid,
return receipt requested, or by express delivery service which provides for return receipts,
addressed to the parties as follows:

To Tenant:                              Crown Health Care Laundry Services, LLC
                                        25 West Cedar Street
                                        Pensacola, Florida 32502
                                        Attn: Don Haferkamp

To Landlord:                            ULS Acquisition LLC
                                        805 Third Avenue, 8th Floor
                                        New York, NY 10022
                                        Attn: John Giardino

Or to such other address as the parties may direct by notice given as hereinabove provided.
Notice shall be deemed given when received as evidenced by the return receipt or the date such
notice is first refused, if that be the case.

         13.12 Survival. All obligations hereunder not fully performed as of the expiration or
earlier termination of the Term of this Lease shall survive the expiration or earlier termination of
the Term hereof, including, without limitation, all payment obligations with respect to taxes and
insurance and all obligations concerning the condition and repair of the Leased Premises.

        13.13 Force Majeure. Notwithstanding any other provision of this Lease, neither party
hereto shall be required to perform any covenant or obligation in this ease, or be liable in
damages to the other party, so long as the performance or non-performance of the covenant or
obligation is delayed, caused by or prevented by an event of Force Majeure (provided, however,
the foregoing shall not excuse the timely payment of any rent or other monetary amounts due
from one party to the other hereunder). “Force Majeure” is defined for purposes of this Lease as
strikes, lockouts, sit-downs, material or labor restrictions by any governmental authority, riots,
floods, washouts, explosions, earthquakes, fire, storms, unusually severe weather for the locale
of the Leased Premises and the time of year in question, acts of the public enemy, wars,
insurrections, acts of God, governmental regulations, and any other cause not reasonably within
the control of Landlord or Tenant (as the case may be). Notwithstanding anything contained
herein to the contrary, if any delay in performance, utility interruption or other event arises
which has a material and adverse impact on Tenant’s ability to utilize any necessary part of the
Leased Premises for the use intended by Tenant for a period in excess of ninety (90) days,
Tenant shall have the right to terminate this Lease without penalty by or recourse on the part of
Landlord effective on the date specified in written notice of such exercise from Tenant to
Landlord.

        13.14 Entire Agreement. This Lease shall constitute the only agreement between the
parties relative to the Leased Premises and no oral statements and no prior written matter not


{04625771.11}                                    18
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                   Desc
                Exhibit A - Purchase Agreement Page 75 of 229


specifically incorporated herein shall be of any force or effect. In entering into this Lease,
Landlord and Tenant rely solely upon the representations and agreements contained herein. This
agreement shall not be modified except by a writing executed by both parties.




                       [SIGNATURES FOLLOW ON NEXT PAGE]




{04625771.11}                                19
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 76 of 229
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 77 of 229
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                            Desc
                Exhibit A - Purchase Agreement Page 78 of 229



                                            EXHIBIT A

                          LEGAL DESCRIPTION OF REAL ESTATE




         ALL that certain piece, parcel or lot or parcel land, situate, lying and being on the
         south side of Old Greenville Road in Spartanburg County, South Carolina,
         containing 6.419 acres, more or less, and being more particularly shown and
         described on a topographic survey for Steve Collins, M.B.D. Land Company,
         dated July 31, 1996, prepared by Benchmark Surveying, Inc., Registered Land
         Surveyors, recorded at Plat Book 135, Page 270, in the Office of the RMC for
         Spartanburg County, and having such metes and bounds, courses and distances as
         is shown on said plat.

         This is the same property conveyed to the Grantor by Deed of Spartanburg
         County Health Services District, Inc., dated December 29, 1997, recorded January
         13, 1998, at Deed Book 67-E, Page 227, Register of Deeds for Spartanburg
         County, South Carolina.

         Assessor’s Tax Map No: 6-13-13-037.03




{04625771.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 79 of 229



                                 EXHIBIT B

                             Rent and Option Price




{04625771.11}
                                                   Proposed Lease Payment Schedule
                                                                   Monthly         Annual
        Period            Year    Start      End                    Rent            Rent               Buyout Option Price

 Base Lease
                 Year 1   2019   01/15/19   01/14/20              $ 18,750     $ 234,000                   $ 1,750,000
                Year 2    2020   01/15/20   01/13/21              $   19,125   $   242,000                 $   1,900,000
                Year 3    2021   01/14/21   01/13/22              $   19,508   $   250,000                 $   2,000,000
                Year 4    2022   01/15/22   01/14/23              $   19,898   $   258,000                 $   2,100,000
                Year 5    2023   01/15/23   01/14/24              $   20,296   $   264,000                 $   2,200,000
                Year 6    2024   01/15/24   01/13/25              $   20,702   $   275,000                 $   2,300,000
                Year 7    2025   01/14/25   01/13/26              $   21,116   $   275,000                 $   2,400,000
                Year 8    2026   01/15/26   01/14/27              $   21,538   $   275,000                 $   2,500,000
                Year 9    2027   01/15/27   01/14/28              $   21,969   $   275,000                 $   2,600,000
               Year 10    2028   01/15/28   01/13/29              $   22,408   $   275,000                 $   2,700,000

 Option One
          Year 11         2029   01/14/29   01/13/30              $ 22,856     $ 310,000     $ 2,700,000 or Appraised Market Value,
                                                                                               whichever is higher
               Year 12    2030   01/15/30   01/14/31              $ 23,313     $ 310,000     $ 2,700,000 or Appraised Market Value,
                                                                                               whichever is higher
               Year 13    2031   01/15/31   01/14/32              $ 23,780     $ 310,000     $ 2,700,000 or Appraised Market Value,
                                                                                               whichever is higher
               Year 14    2032   01/15/32   01/13/33              $ 24,255     $ 310,000     $ 2,700,000 or Appraised Market Value,
                                                                                               whichever is higher
               Year 15    2033   01/14/33   01/13/34              $ 24,740     $ 310,000     $ 2,700,000 or Appraised Market Value,
                                                                                                whichever is higher
 Option Two
                                                                                                                                                      Exhibit A - Purchase Agreement Page 80 of 229




          Year 16         2034   01/15/34   01/14/35              $ 25,235     $ 340,000     $ 2,700,000 or Appraised Market Value,
                                                                                               whichever is higher
               Year 17    2035   01/15/35   01/14/36              $ 25,740     $ 340,000     $ 2,700,000 or Appraised Market Value,
                                                                                               whichever is higher
                                                                                                                                      Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35




               Year 18    2036   01/15/36   01/13/37              $ 26,255     $ 340,000     $ 2,700,000 or Appraised Market Value,
                                                                                               whichever is higher
               Year 19    2037   01/14/37   01/13/38              $ 26,780     $ 340,000     $ 2,700,000 or Appraised Market Value,
                                                                                                                                                                         Desc




                                                                                               whichever is higher
               Year 20    2038   01/14/38   01/13/39              $ 27,315     $ 340,000     $ 2,700,000 or Appraised Market Value,
                                                                                               whichever is higher
{04681878.1}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 81 of 229


                                     Schedule 1

                Furniture, Fixtures & Equipment acquired from Calrus




{04625771.11}
                                                                                                                                                                                                                    ~ T l N
                                  E                                                                                                        3         3                           ~                                  ? <  a
                     ~            ~                                                                                            c~          ~~        @       v                   g        9               0          m g ~
                                                                                                                                                                                                                    s' ~ y
                     q            3                                                                                            o,                    g      ~                    ~        0               3
                                                                                                                                                            3                             3                             Ec
                     3                ..w                  .. ~o                                                               £                     a
3                                                                                                                                                    ~ d °' ~                        v~~          ~E
                                                                                 0_ o= y c o ~ S= n~                                d E'                              _ C 6' 3
                                                                                                                                                                                                                       n~m
                  y~
                  a
             n g~ S      _-           a x~ a~~ ~ ;9                      `a~:o 0                     c o°~ A z$                                                                                                        a a
                                      3 N N 3 x' u' B~~ R?    A A O O m ~m o                        m,~ ac -~ a~                    m~               ~ A ~            n' 6'i u       A~           ~ ?                  ~ d
    o ~~ i~ u Y                                                               ~ C m o ~~ m O ~ A Z
                                                                                                                                                                                                                       O m
                                                                                                                                                                                                                       n ~
                                      R b~~~'~   - ?agd~'~aaaP~~<~zo~i~ 3~3$$~~~                                                                     ~                    ~~~
        z "'m n>~             r         -~3   v vu <              A
                                                                n p
                                                        ~ 3~~„p S                        "1 A ii ^'ii"        3 w                    ?                   ?            X88 o           r            ~ o                 o N
    o ~~g                                                               moAyn.P~
      iS
       y S 33                           3   F 3~~~ 3 R .  -in
                                                          a         a   u' -a~3 o n "'"'
                                                                                      'o>'    gs' o           ~                                                       ~ ~ a ~"                     E
                                                                    8. c~                                                                                             =      ~ g                    ''~
                                                                                                                                                                                                                       3 ~ O
        m                                        .'. 3 3     - m R      w  Pn y     ?         S p ii
     pn2
       Aor
         mFm                                       v~            q     y#   p~ i cAi                  nFoo          ..
                                                                                                                                                                      o Ef                                          8N _
    3       -noo                         -                   ' a                                      ~~ m
            a 3 za                       N                   _ ~                                       aP,~                                                           B. ~
            ~^                                                                                        o a$ A                                                          E~ R
                                                                                                              n                                                       ~
                                             3
                                                                                                                    nb ~-
                                                                                                                     m ~ a
                                                                                                                                                 ~
                                                                                                                                                 ~
                                                                                                                                                                                                  ~~
                                                                                                                                                                                                  3~
                                                                                                                                                 m
                                             ~                                                                    .
                                                                                                                  ,3 n - c                       ~                                                a a                  4
                                             _                                                                         ~,'Sy
                                             '
                                             "                                                                            '
                                                                                                                          R                      3
                                                                                                                    ~ e
    w wwwww                           ~\ m \ m \\~                   wwwww C~wwwwwwwwwwwwwww`ww
                                                                                               8                                                                                                              '~
                         o$o          >~ ^'~WoaStieBoo                                  "~
    ~s~~~~               ~ ~~ ."s m~~s~~;wtie~~~."s."s."s~~~~~."s~~o~~s~~~~~~ge                                                      ~                   ~w           ~~s             ~           ~p
    $ $$$8$              $~"' 8~8o~g~at°~$88888888888$$8$888SSS~w$~                                                                 $^'          e       gP2          $~8            $~~          aw
                         3        ~
                                                                                                                                                                                                              v ~
                                                                                                                                                                                                              a ~
    $ $$$~$              &.       $ $o$$oo$$$$o$$$$$$$$o$$$~$$S$$$$a8$$$                                                                 $      $$           $   ~~   $$$                 $ $$$$$$
                                                                                                                                                                                                              a~
                                                                                                                                                                                                              A ~
    $ $$a$$              -        $   $$$$$$$$$E$$$$$$$$$$$$$$$$$$$$$$$$$$                                                               $      $$           $   S$   $$$                 $   $$$$$$
                                                                                                                                                                                                              i~
                                                                                                                                                                                                              ~~
    8 ww8~~              ~            S~W~W~oo  "www~~ww~mW~ww~~8~~ww'wPe~                                                                                   ~        80~                                     a
    $ 00800                           $mewN>w>o~$00000000oo800SSS0000~o~~~                                                                       a           $        $$$                         o~
                                                                                                                                                                                                              s~
    ~o                                ~sqg~                 °~ °a~..wm~~wwPOPm~~sww~~~g~~°                                                                            "sue"s
            ~sww                                                                                                                                                                                              ~~
    so                                s~                   mS~oB~o~o~o                 o~so        o$Ro                                  S       S                    s~$
                                                                                                                                                                                                              3g
                                                                                                                                                                                                              &`
                                                                                                                                                                                                              "a
                                                                                                                                                                                                              ~o
    ~ ~~~~~                           ~~~~~~~~~~~~~~~~~~~~~~~~`\ HooN~~~~~                                                                       ~                    ~~~                         ~~
                                                                                                                                                                                                              s9
                                                            ~ ~0000000weewN
    8 $$$$$                           ~8~0$$$$$a$o$$$$~$$$o$$$$$$o$$$$$$8$                                                                       $                    ~$8                         $$          ~o
                                                                                                                                                                                                              3 m
    $$8 S $$                          B 8 $ 8 $ $ $ 8 8 8 $ $$ $8 $ 8 $ $ $ $ $ $ $ $ $ $ o $ o g g $ 8 S g                                      8                    8g g                        88
                                                                                                                                                                                                              Rg
                                                                                                                                                                                                              R g
    8 ~P8w                            BweSo                   ~8~~~w   ~"                                                                                             8~8                 ~
    $ oo$oo                           $Nmm~.~~,~~>~,0000000000$08$$$00oo>o~aa                                                            $      $            $        $$$                         $N
                                                                                                                                                                                                              3,
                                                                                                                                                                                                              i
    ~ s~~~°                   ~                                    ~~~"s ee~~ee~g~woo~~~~~~~~~~                                                                       ~~s                         ~N          ~~
    $ oo$oo                           $w~e~$ewa~a0000000000$o>$$$00000$$ffia                                                                     m                    $$$                 ~       $$
                                                                                                                                                                                                              ~~
    06 b o                            `6 ~       o~ ~                ~ b b b o o b b o o b o b m          o b b b b o o b                6      8                                         b       o b
    8 00800                           8~~C..~~oN~m$0000000000gomgSg00000awo~                                                                     v           ~        gm8                         8,~
                                                                                                                                                                                                              ~~
    ~ ffi ~aoo                                          o~~oS~oo~000000~oS~~o~o~~~o~~~                                                                                                            g~
                                      ~ ~ W C~PR>~N~cm~~mmawwm~amN" ~&S~wmN                                                                                                                       &~
    8 ~~8ww                           $~w~~ww~w~~~~~ww~~ww~8~~ooSww~~~oe~~°                                                                     ..                    8~0                         0~
                                                 N w~ w
                                      N~~
    ~ ~~~~~                                                 o~~~WwWW~~~www~~~ww~Ww~w ~ ~~~~
                                                      Exhibit A - Purchase Agreement Page 82 of 229                                             m                     ~~~                        ~~
                 Desc                 Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35
                                                                                                                                                                                                   ~T T N
                                                                      E                                          Z                                                                                 o <xa
                                                                                                                                                                                                   ~ m~d
                                        s                                                                        -                                                                                      td
                                        3                 a           -
                                                                                                                                                                                                        a Q
                                        a                 ~                     wN       ~m W ~.,       E            o         SS                                                                       n
3
                                  dd             33g"                                                       v&       '9                                                                                   x
                                                    a                      g°~°a~38~88~                              ka ~
                                                                                                                          d3 ~          SS~Sx~~~nSSSSS~S~m                             mm               o a
                                                                           5'   3~                                                                                             2 N 2z
                        v ~       ~^                          ~ m                    o S' ^
                                                                                            n a 99 ~        ~^       x~ ~ y y a- v
                                                                                                                                 mi O O y                       O O O O O O o
                                                                                                                                                 m    Z                                                 ~ N
                                                                                                o O~         R          m 3~ ~~~ z
                                                                                                                                      m                         ~ 3 3 3 3 3 ~ ~~ o                      O N
                                                                                                                                                                                                          A
                      "i          ~ ~                                     o A 5      o g s a~                                                o~~   c' p                            A£
                                                   `" w\                                                                                 o   A i m n$              o   o     m n
                    _ m R           ?            a a 3~           ~       ' 3~       f o v 'S ~ e            ~       ~   3 a M 2~ 9                                  "Sy ~
                                                                                                                                                a o N_   n a  n e
                    ~                                                                ~ e                                 ~ p =~ 3 ~~ A                                     ~ v
                                                                                                                                                                                                        o N
                                                                                -                `R m                    ~      s~ o c~ P z" "' 3 v. S n n                                              3 ~
                                                                                                                                                           n n A~~ p }n" 2                              c ~
                                                                                                                                                           ~' S X; E     x
                                                                                                                         ~ n   ~~ i          ~       A a3
                                                                                                                                                       SS
                                                                                                                                                                     ~z                            $w
                                                                                     3 a                                   q   -"            m         o 0 o O~ z Q
                                                                                                                                                       A~
                                                                                                                                                                                                    m y
                                                                                     3 ~                                       _                 ;a r                             in
                                                                                     ~,                                                               v0
                                                                                                                                                                                                        J
                                                                                     y                                         3                          a
                                                 £ ~ ~                     3         l       3
                                                                                             0
                                                                                                                                                                                                        Q
                                                                                                                                                                                                        m
                                                                           ~                 Q
                                                                                                                                                                                                        4
                                                                           ~                 D
                              Y
                              o
                                                                                                                                                                                            ~n O
                              D
                                                                                                                                                                                            2 n
                                                                                                                                                      ~' ~ ,.0 o 0 0 o u o o v~             x
            J w    ~ N                             ~g                           P 8o"~~~                     ~   oe~°8~S~~ oo ~~8~~~~~~8~ 0 ~~ 0
           $ ~~    ~~             $              e ~~         8            ~ ~~>w$8~888                     $~~~$~~$$8888888$88$$$$$$$88588
                  n 3
            a                 $                                                                                                                                                             C~
                                            $ ~~$$$$$
                                                                                                                                                                                            <g
                                                                                                                                                                                            k ~
                   _          g             $ $$$$$$$                      $ $$$$$$$$$$                                                                                                     z ~,
                   n
                                                                                                                                                                                            33
                                                 w m~                         ~ ~o                                         "~88~800w~°~wwwww~~~ow
                   R                                                                                                                               3~
                                                                           8 w~~~we»$oo                              $ NNe~~oB$o$$8080000000oo$ooE
                                                                                                                                                                                            o~
                                                                           m ~~~.~N~~~P~                             ~ ~~o~~P8ow~oo~~a~~~~awWw     ~~
                                                   w$                                                                ~ ~a~~~o$$o   o$$o$oo~000$$~$
                                                                                                                                                                                            a~
                                                                                                                                                                                            ~F
                                                                                                                                                                                            "a
                                                                                                                                                                                            ~o
                                                                                                                                                                                            ~s
                                                                                                                     ~ ~~~~~~~~              ~w~~wwwww~~~wwwww\~~
                                                 ~ aa                      a aa~~~~~~~~
                                                                                                                                                  ~ ~.
                                                 $ $$                      S SSSoos88o8                              $ $$$$$$$$~$$$$$$$$$~~$$$$$$$i'
                                                                                                                                                                                            3m
                                                                                                                                                                                        oa
                                                 $ gg                      $$$$$$$$$$$
                                                                                                                                                                                            2
                                                                                                                                                                                            R~
                                                                                                                                                  B.2
                                                                               e ~~ ~~~                                 ~ ~e m88w8o ~~~~~~~a
                                                 m >$                      ~m8~N~8N$SS                               > ~~Na~o$$o$$$o$0000000008008'^
                                                                                                                                                                                            ~~
                                                                                w ~~                               ~ ~~~m>s~oe~ oo ~~o~~~~~~~~ o ~~o~a
                                                 ~,p~                      ~s~s~~W~s~~                           P ~ooa~>ossos~sos000000000aoos ,~
                                                                           o "s a~..a..~~~~
                                                                                                                 g g 6~            ~b                 b       8b b b b b o        b b       ~' ~
                                                 w ~~                      weWo~,..~°~$~~                            v om~ommoSSo$ggog000000000goo8~
                                                                                                                                                                                            3
                                                                                                                         0000000000000000000000$oo$$s~
                                                 a oo                      00000000000                               0
                                                                                                                                                                                            3
                                                                           w $ m~ ~'0 8 0$ w m m                                                     a S.'•
                                                 m o ..                    ~~ ~ w m w ~ m$ v v                       v v~m'Jmr88w8$8v8~vvvvvWWW$vu8~
                                Exhibit A - Purchase Agreement Page 83 of 229
    Desc        Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 84 of 229


                                EXHIBIT C

                           Non-Compete Agreement

                                 (Attached)




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35 Desc
                Exhibit A - Purchase Agreement Page 85 of 229
                                                                    Exhibit C


                      NON-COMPETITION, NON-SOLICITATION AND
                           CONFIDENTIALITY AGREEMENT

       THIS NON-COMPETITION, NON-SOLICITATION AND CONFIDENTIALITY
AGREEMENT (this “Agreement”) is entered into effective as of [∙], 2018 (the “Effective Date”),
among and between [Centerstone Linen Services, LLC, a Delaware limited liability
company / John Giardino, an individual resident of the State of _________ ] (“Restricted
Party”), and Crown Health Care Laundry Services, LLC, a Delaware limited liability company
(the “Company”; Restricted Party and the Company are each referred to in this Agreement as a
“Party” and, together, the “Parties”.

                                            RECITALS

         A.      The Company and Alliance Laundry & Textile Services, LLC, a Georgia limited
liability company d/b/a Clarus Linen Systems (“Seller”), entered into that certain Asset Purchase
Agreement, dated as of December 19, 2018 (the “Purchase Agreement”), pursuant to which,
among other things, the Company agreed to purchase, acquire and accept from Seller, and Seller
agreed to sell, transfer, assign, convey and deliver to the Company, all of Seller’s right, title and
interest in, to and under, the Purchased Assets (including all goodwill incidental thereto);

        B.     Restricted Party, [as the record and beneficial owner of 100% of the
membership interests of Seller / as an indirect owner of membership interests of Seller],
will derive substantial benefits from the consummation of the transactions contemplated by the
Purchase Agreement; and

        C.      The Company conditioned its willingness to consummate the transactions
contemplated by the Purchase Agreement upon Restricted Party’s agreement to the restrictions
set forth herein, and Restricted Party’s agreement to such restrictions is a material inducement to
the Company to consummate the transactions contemplated by the Purchase Agreement.

                                          AGREEMENT

         The Parties, intending to be legally bound, hereby agree as follows

        1.     Definitions. Capitalized terms used but not defined in this Agreement shall have
the meanings given to such terms in the Purchase Agreement. Notwithstanding the foregoing,
for purposes of this Agreement, the following definitions shall apply:

                 (a)      “Affiliate” means, with respect to any Person, any other Person that,
         directly or indirectly through one or more intermediaries, controls, or is controlled by, or
         is under common control with, such Person, and the term “control” (including the terms
         “controlled by” and “under common control with”) means the possession, directly or
         indirectly, of the power to direct or cause the direction of the management and policies of
         such Person, whether through ownership of voting securities, by contract or otherwise.

                (b)    “Non-Compete Area” means anywhere in the States of North Carolina,
         South Carolina, and Georgia. Restricted Party acknowledges and agrees that scope of the


{04621225.3}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                          Desc
                Exhibit A - Purchase Agreement Page 86 of 229


         Non-Compete Area is reasonable and legitimate, and necessary to protect the interests of
         the Company.

                  (c)    “Non-Compete Period” means a period of four (4) years after the Effective
         Date. Restricted Party acknowledges and agrees that this time period has been
         considered by it at length and that such term has been negotiated at arm’s length and that
         the Company would not have entered into the Purchase Agreement but for this
         Agreement; and, furthermore, Restricted Party agrees that this time period and the
         restrictions and agreements contained herein are reasonable and appropriate in light of the
         legitimate interests of the Company to be protected.

                 (d)   “Person” means an individual, corporation, partnership, limited liability
         company, joint venture, association, trust, unincorporated organization, labor union,
         estate, Governmental Body or other entity or group.

              (e)      “Restricted Business” means the business of providing linen rental and
         commercial laundry services to the healthcare industry.

         2.     Non-Competition. During the Non-Compete Period, Restricted Party shall not, or
permit any of its Affiliates to, directly or indirectly (a) within the Non-Compete Area, (i) engage
in; (ii) own or control any interest in; (iii) act as an employee, officer, director, partner, member,
shareholder, consultant, or joint venturer of any entity engaged in; or (iv) extend credit or lend
money for the purpose of establishing or operating any Person engaged in, the Restricted
Business; or (b) solicit, encourage, influence or attempt to influence any Person who is a
customer or supplier of Seller as of the date of this Agreement to terminate, amend or modify
any Assigned Contract, or to otherwise modify or terminate such Person’s relationship with the
Company after Closing.

         3.     Nonsolicitation of Employees. During the Non-Compete Period, Restricted Party
shall not, nor shall it permit any of its Affiliates to, directly or indirectly, participate in any
attempt to hire or solicit for employment or hire any Hired Employee or other employee of the
Company; provided, however, that Restricted Party shall not be restricted from hiring or
soliciting for employment any person that is terminated by the Company after the Closing Date;
provided, further, however, that the foregoing covenant shall not prohibit the placement of
general advertisements or making of general solicitations, including general advertisements or
other solicitations that may be targeted to a particular geographic or technical area or that are not
specifically targeted toward any Hired Employee or other employee of the Company; provided,
further, and notwithstanding the foregoing, in no event shall Restricted Party be permitted to
place any such general advertisements or make any such general solicitations in the Restricted
Area.

        4.     Confidentiality. Restricted Party shall not, either directly or indirectly, without the
prior written consent of the Company, disclose any Confidential Information of the Company to
any other Person. The term “Confidential Information” shall include, without limitation: (a) any
and all trade secrets concerning the business and affairs of the Company (including with respect
to the Purchased Assets), data, know-how, processes, inventions and ideas, past, current and
planned research and development, current and planned growth plans, current and planned
{04621225.3}
                                                  2
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                           Desc
                Exhibit A - Purchase Agreement Page 87 of 229


marketing plans, methods and processes, referral sources, price lists and other pricing information
and methodologies, customer lists, customer data, customer information, prospective customer
information, compensation amounts, market studies, business plans, business models, computer
software and programs (including object code and source code), computer software and database
technologies, systems, structures and architectures (and related processes, know-how, discoveries,
concepts, designs, methods and information of the Company and any other information, however
documented, of the Company that is a trade secret within the meaning of applicable law); (ii) any
and all information to the extent concerning primarily the business and affairs of the Company
(which includes historical financial statements, financial projections and budgets, financial and
investment information, historical and projected sales, capital spending budgets and plans, the
names and backgrounds of key personnel and personnel training and techniques and materials),
however documented; (iii) Company provided files, software, code, reports, documents, manuals,
and forms used in the business that may not otherwise qualify as a trade secret but which are
treated as confidential to the business entity, in whatever medium provided or preserved, such as
in writing or stored electronically, and (iv) any and all notes, analysis, compilations, lists, studies,
summaries and other material prepared by or for the Company containing or based, in whole or in
part, on any information included in the foregoing methods of doing business.

        5.     Protectable Interest. Restricted Party acknowledges and agrees that the Company
has legitimate business interests and that the protection of these interests justifies the restrictive
covenants and agreements set forth in this Agreement. The Company's legitimate business
interests include, but are not limited to, the trade secrets and other Confidential Information;
relationships with prospective and existing customers; and customer goodwill associated with the
Business. The parties acknowledge further that Restricted Party’s relationship with Seller and the
business conducted by Seller makes Restricted Party uniquely aware of and a part of and subject
to the legitimate business interests to be protected hereunder. Furthermore, each of Restricted
Party and the Company understand and agree that this Agreement contains covenants and
agreements necessary and essential to protect the goodwill and reasonable business interests of
the Company and is ancillary to the acquisition by the Company of the Purchased Assets.

        6.     Remedies. Restricted Party acknowledges that the provisions of this Agreement
are reasonable and necessary for the protection of the Company, and that the Company will be
irrevocably damaged if such provisions are not specifically enforced. Accordingly, in the event of
any breach or threatened breach of the provisions of this Agreement, Restricted Party agrees that
the Company shall be entitled to injunctive relief (without bond or other security being required)
as well as any and all other applicable remedies at law and in equity. If a court of competent
jurisdiction declares any of these provisions unenforceable due to an unreasonable restriction of
duration or geographical area, or for any other reason, such court is hereby granted the express
authority by the parties to this Agreement to reform such provisions and/or to grant the Company
any and all other relief, at law or in equity, reasonably necessary to protect the interests of the
Company. Restricted Party expressly covenants and agrees that he considers these provisions to
be acceptable and reasonable.

       7.      Effect of Prior Agreements. This Agreement contains the complete and final
understanding and agreement of the parties hereto, and it supersedes any and all prior
representations, promises or understandings, express or implied, between Restricted Party and the
Company with respect to the subject matter hereof.
{04621225.3}
                                                  3
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                      Desc
                Exhibit A - Purchase Agreement Page 88 of 229




        8.      Covenant Not to Disclose. Restricted Party agrees to hold the terms and
conditions of this Agreement in strict confidence and not to disclose to any other persons or
entities that are not privy to this Agreement, the facts, circumstances or existence of this Agree-
ment.

       9.    Binding Effect. This Agreement may not be assigned by Restricted Party. This
Agreement and any rights hereunder may be assigned by the Company. This Agreement shall be
binding upon and inure to the benefit of the Company and its officers, directors, shareholders,
members, managers, successors and assigns.

        10.     Waiver and Amendment. This Agreement may be amended, supplemented,
modified and/or rescinded only through a written instrument signed by all parties. Any party may
specifically and expressly waive in writing any portion of this Agreement or any breach hereof,
but only to the extent such provision is for the benefit of the waiving party. No such waiver shall
constitute a further waiver of any preceding or succeeding breach of the same or any other
provision.

        11.     Severability. Each provision of this Agreement is intended to be severable.
Should any provision of this Agreement or the application thereof be judicially declared to be or
become illegal, invalid, unenforceable or void, the remainder of this Agreement will continue in
full force and effect and the application of such provision to other persons or circumstances will
be interpreted so as reasonably to effect the intent of the parties.

        12.      Legal Construction. In case any one or more of the provisions contained in this
Agreement is for any reason held to be invalid, illegal, or unenforceable in any respect, such
invalidity, illegality, or unenforceability shall not affect the other provisions hereof, and this
Agreement shall be enforced to the maximum extent permitted by applicable law, and, moreover,
the invalid, illegal or unenforceable provision shall be conformed to the law or determination to
the fullest extent possible and any court or tribunal of appropriate jurisdiction shall have the
authority revise or reform any such restriction so that it shall be enforceable to protect and
preserve the Company’s protectable interests to the maximum extent permitted under applicable
law. The titles of the articles and sections of this Agreement are inserted merely for convenience
and ease of reference and shall not affect or modify the meaning of any provision of this Agree-
ment.

        13.     Enforcement. In the event that any legal action or other proceeding is brought for
the enforcement of this Agreement, the prevailing party in such legal action or other proceeding
shall be entitled to recover, in addition to such other sums as may be due hereunder, the costs of
such legal action or other proceeding, including a reasonable attorney’s fee and accompanying
expenses (including, but not limited to, expert witness fees).

        14.    Applicable Law. This Agreement and the legal relations among the parties hereto
shall be governed by and construed in accordance with the laws of the State of South Carolina
without regard for conflict of laws principles.


{04621225.3}
                                                4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                    Desc
                Exhibit A - Purchase Agreement Page 89 of 229


        15.    Counterparts. This Agreement may be executed in counterparts, each of which
shall be deemed an original, but all of which together shall be deemed to be one and the same
agreement. A signed copy of this Agreement delivered by facsimile, e-mail or other means of
electronic transmission shall be deemed to have the same legal effect as delivery of an original
signed copy of this Agreement.


                                   [Signature Page Follows.]




{04621225.3}
                                               5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                            Desc
                Exhibit A - Purchase Agreement Page 90 of 229


      IN WITNESS WHEREOF, the undersigned parties have entered into and executed this
Agreement to be effective as of the Effective Date.


                                                   RESTRICTED PARTY:

                                                   [CENTERSTONE LINEN SERVICES, INC.


                                                   By:
                                                   Name:
                                                   Title:



                                                   JOHN GIARDINO]


                                                   COMPANY:

                                                   CROWN HEALTH                  CARE         LAUNDRY
                                                   SERVICES, LLC


                                                   By:
                                                   Name:
                                                   Title:




           [Signature Page to Non-Compete, Non-Solicitation, and Confidentiality Agreement]
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement Page 91 of 229


                                EXHIBIT D

                          Bidding Procedures Order

                                 (Attached)




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                                       Desc
                Exhibit A - Purchase Agreement Page 92 of 229


UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

In re:

    CENTERSTONE LINEN SERVICES, LLC,                                   Case No. 18-__________
    d/b/a Clarus Linen Systems, et al., 1                              Chapter 11 Cases
                                                                       Main Case
                              Debtors.                                 Jointly Administered
_________________________________________


         ORDER PURSUANT TO SECTIONS 363 AND 105 OF THE BANKRUPTCY
      CODE: (A)(1) SETTING DEADLINE AND APPROVING REQUIREMENTS AND
    PROCEDURES FOR INTERESTED PARTIES TO SUBMIT COMPETING BIDS FOR
     SUBSTANTIALLY ALL ASSETS OF DEBTOR ALLIANCE LAUNDRY & TEXTILE
       SERVICE, LLC, d/b/a CLARUS LINEN SYSTEMS; (2) APPROVING FORM OF
        PURCHASE AGREEMENT; (3) SCHEDULING AN AUCTION; (4) SETTING
    HEARING DATE TO APPROVE SALE OF ASSETS TO SUCCESSFUL BIDDER; AND
      (5) APPROVING PROCEDURES WITH RESPECT TO THE ASSUMPTION AND
       ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
            LEASES; AND (B) APPROVING FORM AND MANNER OF NOTICE


         Upon consideration of the motion (the “Motion”)2 filed by debtor Alliance Laundry &

Textile Services, LLC, d/b/a Clarus Linen Systems, a debtor and debtor in possession (the

“Debtor” or “Alliance”) in the captioned cases, for entry of an order pursuant to sections 105 and

363 of title 11 of the United States Code (the “Bankruptcy Code”) and Bankruptcy Rule 6004:

(A)(i) authorizing the sale of substantially all of Alliance’s assets (the “Purchased Assets”), free

and clear of all liens, claims, interests and encumbrances, subject to the terms of the Asset

Purchase Agreement and subject to higher and/or better offers; (ii) authorizing and approving the


1
  The debtors and debtors in possession (collectively, the “Debtors”) in these chapter 11 cases, along with the last
four digits of each debtor’s federal tax identification number, are: Centerstone Linen Services, LLC, d/b/a Clarus
Linen Systems (5594), Alliance Laundry & Textile Service, LLC, d/b/a Clarus Linen Systems (8284) and Atlas
Health Care Linen Services Co., LLC, d/b/a Clarus Linen Systems (2681).
2
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion, Purchase
Agreement and/or the Bidding Procedures, as applicable.


                                                                                                           3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                                        Desc
                Exhibit A - Purchase Agreement Page 93 of 229


Asset Purchase Agreement with Crown Health Care Laundry Services, LLC (“Purchaser”); and

(iii) authorizing Alliance to consummate all transactions related to the proposed sale;

(B) approving bidding procedures and other related relief; and (C) authorizing Alliance to

assume certain executory contracts and unexpired leases and assign such contracts and leases to

Purchaser pursuant to 11 U.S.C. §§ 365(a), (b) and (c) and Bankruptcy Rule 6006(e)(1) (the

“Assigned Contracts”); and upon review and consideration of (i) the Motion, (ii) the objections,

if any, filed with respect thereto, (iii) arguments of counsel and evidence proffered or adduced at

the hearing on the Motion held on ____________, 2018 (the “Bid Procedures Hearing”), and

(iv) the docket and proceedings in the above-captioned cases (the “Chapter 11 Cases”); and it

appearing that the relief requested in the Motion is in the best interests of Alliance, its estate,

creditors, and other parties in interest; and good and sufficient cause appearing therefor, it is

hereby:

          FOUND AND DETERMINED THAT:3

                 A.       This Court has jurisdiction over the Motion and the transactions

contemplated therein pursuant to 28 U.S.C. §§ 157 and 1334, and this matter is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). Venue in this district is proper under 28

U.S.C. §§ 1408 and 1409.

                 B.       Good and sufficient notice of the Motion and the relief sought therein has

been given under the circumstances, and no other or further notice is required except as set forth

herein. A reasonable opportunity to object or be heard regarding the relief provided herein has

been afforded to parties-in-interest.



3
   Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
fact when applicable. See Bankruptcy Rule 7052.


                                                         2                                                  3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                        Desc
                Exhibit A - Purchase Agreement Page 94 of 229


                C.      Alliance has articulated good and sufficient business reasons for this Court

to approve the bidding procedures attached hereto as Schedule 1 (the “Bidding Procedures”) and

the establishment of procedures to fix the cure amounts to be paid under section 365 of the

Bankruptcy Code in connection with the assumption, assignment and/or transfer of the Assigned

Contracts to the Successful Bidder.

                D.      The Bidding Procedures are reasonably designed to maximize the value to

be achieved for the Purchased Assets.

                E.      The Notice of the Auction and Sale Hearing attached hereto as Schedule 2

and the Notice of Assumption and Assignment attached hereto as Schedule 3 are calculated to

provide all interested parties with timely and proper notice of the Auction, the sale of the

Purchased Assets, the Bidding Procedures and the procedures governing Alliance’s assumption

and assignment of the Assigned Contracts to the Successful Bidder.

                F.      The entry of this Order (the “Bidding Procedures Order”) is in the best

interests of Alliance, its estate, creditors and other parties in interest.

    NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
THAT:

        1.      The Motion is granted as set forth herein.

        2.      All objections to the Motion relating to the relief provided herein that have not

been withdrawn, waived or settled, and all reservations of rights included therein, are hereby

overruled and denied on the merits.

        3.      The form of asset purchase agreement attached hereto as Exhibit A (the

“Purchase Agreement”) is hereby approved. Purchaser is hereby designated as the stalking-horse

bidder for the Purchased Assets, the Purchase Agreement is hereby deemed a Qualified Bid for




                                                    3                                       3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 95 of 229


the Purchased Assets and Purchaser is hereby deemed a Qualified Bidder for the Purchased

Assets.

          4.    The Bidding Procedures, in substantially the form attached hereto as Schedule 1,

are hereby incorporated herein and approved, and shall apply with respect to the sale of the

Purchased Assets.     Alliance is authorized to take all actions necessary or appropriate to

implement the Bidding Procedures.

          5.    As further described in the Bidding Procedures, the deadline for submitting bids

for the Purchased Assets (the “Bid Deadline”) is _____________, 201__ at __:__ a.m./p.m.

(prevailing Eastern Time). No bid shall be deemed to be a Qualified Bid (as defined in the

Bidding Procedures) or otherwise considered for any purposes unless such bid meets the

requirements set forth in the Bidding Procedures.

          6.    Alliance may sell the Purchased Assets by conducting an Auction in accordance

with the Bidding Procedures. If more than one Qualified Bid is timely received by Alliance in

accordance with the Bidding Procedures, the Auction shall take place on _____________, 201__

at 10:00 a.m. (prevailing Eastern Time) at the offices of Bond, Schoeneck & King, PLLC, One

Lincoln Center, Syracuse, New York, or such other place and time as Alliance shall notify all

Qualified Bidders and other invitees.

          7.    Each Qualified Bidder participating at the Auction will be required to confirm that

it has not engaged in any collusion with respect to the bidding or the Sale.

          8.    The Sale Hearing shall be held before this Court on _____________, 201__ at

__:__ a.m./p.m. (prevailing Eastern Time), or as soon thereafter as counsel and interested parties

may be heard.




                                                 4                                          3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                      Desc
                Exhibit A - Purchase Agreement Page 96 of 229


       9.      The Notice of Auction and Sale, in substantially the form attached hereto as

Schedule 2, is hereby approved. On or before three (3) business days after entry of this Bidding

Procedures Order, Alliance will cause (i) a copy of the Notice of Auction and Sale Hearing and

(ii) a copy of the Bidding Procedures Order to be sent by first-class mail postage prepaid, to the

following: (i) counsel for Purchaser; (ii) the Office of the United States Trustee for the Western

District of New York; (iii) counsel for HSBC Bank USA, National Association (“HSBC”);

(iv) counsel to any committee(s) appointed in these cases; (v) all parties to the Assigned

Contracts; (vi) all required governmental agencies; (vii) all creditors of Alliance in the Chapter

11 Cases; and (viii) all entities known by Alliance to have filed a notice of appearance or a

request for receipt of chapter 11 notices and pleadings filed in the Chapter 11 Cases.

       10.     The Notice of Assignment and Assumption, in substantially the form attached

hereto as Schedule 3, is hereby approved. No later than three (3) business days after entry of

this Bidding Procedures Order, Alliance shall serve by first class mail, the Notice of Assumption

and Assignment on all non-debtor parties to the executory contracts and unexpired leases. The

Notice of Assumption and Assignment shall identify the cure amounts that Alliance believes

must be paid to cure all prepetition defaults under the executory contracts and unexpired leases

(the “Cure Amounts”). In addition, if Alliance identifies additional executory contracts or

unexpired leases that might be assumed by Alliance and assigned to the Successful Bidder not

set forth in the original Notice of Assumption and Assignment, Alliance shall promptly send a

supplemental notice (a “Supplemental Notice of Assumption and Assignment”) to the applicable

counterparties to such additional executory contracts and unexpired leases.

       11.     Unless the non-debtor party to an executory contract or unexpired lease identified

in the Notice of Assumption and Assignment or any Supplemental Notice of Assumption and



                                                 5                                         3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 97 of 229


Assignment files an objection (the “Cure Amount/Assignment Objection”) to (a) its scheduled

Cure Amount and/or (b) to the proposed assumption, assignment and/or transfer of such

executory contract or unexpired lease by the later of (i) 4:00 p.m. (prevailing Eastern Time) on

____________, 201__ or (ii) five (5) days after service of the relevant Supplemental Notice of

Assumption and Assignment (such later date, the “Cure/Assignment Objection Deadline”) and

serves a copy of the Cure Amount/Assignment Objection so as to be received on the same day by

(i) counsel to Alliance; (ii) the Office of the United States Trustee for the Western District of

New York; (iii) counsel for HSBC; (iv) counsel to Purchaser; and (v) counsel to any

committee(s) appointed in these cases, then such non-debtor party (a) will be forever barred from

objecting to the Cure Amount and from asserting any additional cure or other amounts due with

respect to such executory contract or unexpired lease and Alliance shall be entitled to rely solely

upon the Cure Amount, and (b) if the executory contract or unexpired lease is identified by the

Successful Bidder and/or Backup Bidder as an Asset to be purchased and/or assigned, will be

deemed to have consented to the assumption, assignment and/or transfer of such executory

contract and unexpired lease and will be forever barred and estopped from asserting or claiming

against Alliance, the Successful Bidder and/or the Backup Bidder, or any other assignee of the

relevant executory contract or unexpired lease that any additional amounts are due or defaults

exist, or prohibitions or conditions to assumption, assignment and/or transfer exist or must be

satisfied, under such executory contract or unexpired lease. Notwithstanding the foregoing, as

provided below, each non-debtor party shall retain the right to object to the assumption,

assignment or transfer of its executory contract or unexpired lease, based solely on the issue of

whether the Successful Bidder or Backup Bidder can provide adequate assurance of future

performance as required by section 365 of the Bankruptcy Code.



                                                6                                          3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                      Desc
                Exhibit A - Purchase Agreement Page 98 of 229


       12.     If a Cure Amount/Assignment Objection challenges a Cure Amount, the objection

must set forth the cure amount being claimed by the objecting party (the “Claimed Cure

Amount”) with appropriate documentation in support thereof.            Upon receipt of a Cure

Amount/Assignment Objection, Alliance is authorized, but not directed, to resolve any Cure

Amount/Assignment Objection by mutual agreement with the objecting counterparty to any

executory contract or unexpired lease without further order of the Court. Alliance is also hereby

authorized to file a response to any Cure Amount/Assignment Objection by 4:00 p.m.

(prevailing Eastern Time) on ____________, 201__. In the event that Alliance and any

objecting party are unable to consensually resolve any Cure Amount/Assignment Objection, the

Court will resolve any such Cure Amount/Assignment Objection at a hearing to be held at __:__

a.m./p.m. (prevailing Eastern Time) on ___________, 201__ or on such later date as the Court

may determine.

       13.     Alliance, the Successful Bidder or the Backup Bidder, as the case may be, may

determine to exclude any executory contract or unexpired lease from the list of Purchased Assets

to be assumed and sold or assigned at any time prior to the closing of the sale of the Purchased

Assets. The non-debtor party or parties to any such excluded contract or lease will be notified of

such exclusion by written notice mailed within five (5) business days following the closing of the

sale of the Purchased Assets.

       14.     To the extent that a Cure Amount/Assignment Objection remains unresolved as of

the Bid Deadline, and the Bankruptcy Court subsequently determines that the Cure Amount for

the subject Assumed Agreement is greater than that set forth in the Cure Amounts identified in

the Notice of Assumption and Assignment, the Successful Bidder may elect to reclassify such

Assumed Agreement as an Excluded Contract at any time prior to the earlier to occur of the



                                                7                                          3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18 Entered 12/21/18 12:13:35                       Desc
                Exhibit A - Purchase Agreement Page 99 of 229


closing of the sale of Purchased Assets or the day that is five (5) business days following such

determination by the Bankruptcy Court.

       15.     Immediately following the conclusion of the Auction for the Purchased Assets,

Alliance shall serve (i) a notice identifying the Successful Bidder and Backup Bidder, and (ii)

financial information concerning the Successful Bidder’s and Backup Bidder’s ability to provide

adequate assurance of future performance of such Assigned Contracts, to the non-debtor parties

to the Assigned Contracts that have been identified as Purchased Assets to be sold and/or

assigned in connection with such Successful Bid and Backup Bid. The non-debtor parties to the

Assigned Contracts will have until 4:00 p.m. (prevailing Eastern Time) on _____________,

201__ (the “Adequate Assurance Objection Deadline”) to file a written objection to the

assumption, assignment and/or transfer of such Assigned Contract solely on the issue of whether

the Successful Bidder and/or Backup Bidder can provide adequate assurance of future

performance as required by section 365 of the Bankruptcy Code. Any such objections shall be

heard at the Sale Hearing.

       16.     Any objections to the sale of the Purchased Assets, or to the balance of the relief

requested in the Motion and not granted in this Bidding Procedures Order, must: (a) be in

writing; (b) comply with the Bankruptcy Rules and the Local Rules; (c) be filed with the Clerk of

the Bankruptcy Court for the Western District of New York, on or before 4:00 p.m. (prevailing

Eastern Time) on __________, 201__; and (d) be served so as to be received no later than 4:00

p.m. (prevailing Eastern time) on the same day, upon (i) counsel for Alliance; (ii) counsel for

Purchaser; (iii) the Office of the United States Trustee for the Western District of New York; (iv)

counsel for HSBC; and (v) counsel to any committee(s) appointed in these cases. All objections




                                                8                                           3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35        Desc
                Exhibit A - Purchase Agreement             Page 100 of 229


must state with specificity the nature of such objection and will be heard by the Court at the Sale

Hearing.

       17.     The Sale Hearing may be adjourned, from time to time, without further notice to

creditors or other parties in interest other than by announcement of said adjournment before this

Court or on this Court’s calendar on the date scheduled for said hearing.

       18.     Except as otherwise provided in this Bidding Procedures Order, Alliance reserves

the right as it may reasonably determine to be in the best interests of its estate, subject to

conformity with the Bidding Procedures to: (a) determine which bidders are Qualified Bidders;

(b) determine which bids are Qualified Bids; (c) determine which Qualified Bid is the highest or

best proposal and which is the next highest or best proposal; (d) reject any bid that is

(i) inadequate or insufficient, (ii) not in conformity with the requirements of the Bidding

Procedures or the requirements of the Bankruptcy Code, or (iii) contrary to the best interests of

Alliance and its estate; (e) remove some of the Purchased Assets from the Auction; (f) waive

terms and conditions set forth herein with respect to all potential bidders; (g) impose additional

terms and conditions with respect to all potential bidders; (h) extend the deadlines set forth

herein; (i) adjourn or cancel the Auction and/or Sale Hearing in open court without further

notice; and (j) modify the Bidding Procedures as Alliance may determine to be in the best

interest of its estate or to withdraw the Motion at any time with or without prejudice; provided,

that any exercise by Alliance of its rights hereunder shall not alter or modify the terms of the

Purchase Agreement, including its stated conditions for Purchaser to close.

       19.     Alliance is hereby authorized to take such steps and incur and pay such

expenditures as may be necessary or appropriate to effectuate the terms of this Bidding

Procedures Order.



                                                9                                           3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18               Entered 12/21/18 12:13:35        Desc
                Exhibit A - Purchase Agreement            Page 101 of 229


       20.    The stays provided for in Bankruptcy Rules 6004(h) and 6006(d) are waived and

this Bidding Procedures Order shall be effective immediately upon its entry.

       21.    This Court shall retain jurisdiction over any matters related to or arising from the

implementation of this Order.



Dated: ________________, 2018
        Buffalo, New York                           _________________________________
                                                    Hon. Michael J. Kaplan
                                                    United States Bankruptcy Judge




                                               10                                          3242125.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18         Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement      Page 102 of 229


                                   Schedule 1

                               Bidding Procedures
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                           Entered 12/21/18 12:13:35             Desc
                Exhibit A - Purchase Agreement                        Page 103 of 229

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

In re:

    CENTERSTONE LINEN SERVICES, LLC,                                   Case No. 18-__________
    d/b/a Clarus Linen Systems, et al., 1                              Chapter 11 Cases
                                                                       Main Case
                              Debtors.                                 Jointly Administered
_________________________________________


              BIDDING PROCEDURES FOR THE SALE OF SUBSTANTIALLY
                  ALL ASSETS OF ALLIANCE LAUNDRY & TEXTILE
                    SERVICES, LLC, d/b/a CLARUS LINEN SYSTEMS


        Set forth below are the bidding procedures (the “Bidding Procedures”) to be employed
with respect to the proposed sale (the “Proposed Sale”) of substantially all of the assets (the
“Purchased Assets”) owned by debtor Alliance Laundry & Textile Services, LLC, d/b/a Clarus
Linen Systems (“Alliance”). The Proposed Sale is subject to competitive bidding as set forth
herein and approval by the United States Bankruptcy Court for the Western District of New York
(the “Bankruptcy Court”) pursuant to sections 105, 363 and 365 of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) and Rule 6004 of the Federal Rules of Bankruptcy
Procedure. All capitalized terms shall have the meanings ascribed to them in that certain Asset
Purchase Agreement between Alliance and Crown Health Care Laundry Services, LLC (the
“Purchase Agreement”) dated November ___, 2018 (the “Execution Date”), approved by the
Court in connection with the Proposed Sale or the Sale Motion (as defined herein).

        On November ____, 2018, Alliance filed the Motion by Debtor Alliance Laundry &
Textile Services, LLC, d/b/a Clarus Linen Systems for Orders (A) (i) Authorizing the Sale of
Substantially All of Alliance’s Assets, Free and Clear of All Liens, Claims, Interests and
Encumbrances, Subject to the Terms of the Asset Purchase Agreement and Subject to Higher
and/or Better Offers; (ii) Authorizing and Approving the Form of a Certain Asset Purchase
Agreement with Crown Health Care Laundry Services, LLC; and (iii) Authorizing Alliance to
Consummate all Transactions Related to the Proposed Sale; (B) Approving Bidding Procedures
and Other Related Relief; and (C) Authorizing Alliance to Assume Certain Executory Contracts
and Unexpired Leases and Assign Such Contracts and Leases to Purchaser Crown Health Care
Laundry Services, LLC [Docket No. __] (the “Sale Motion”).


1
  The debtors and debtors in possession (collectively, the “Debtors”) in these chapter 11 cases, along with the last
four digits of each debtor’s federal tax identification number, are: Centerstone Linen Services, LLC, d/b/a Clarus
Linen Systems (5594), Alliance Laundry & Textile Service, LLC, d/b/a Clarus Linen Systems (8284) and Atlas
Health Care Linen Services Co., LLC, d/b/a Clarus Linen Systems (2681).



                                                                                                           3242204.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                  Entered 12/21/18 12:13:35         Desc
                Exhibit A - Purchase Agreement               Page 104 of 229

        These Bidding Procedures describe, among other things, the Purchased Assets available
for sale, the form of bids and the manner in which bidders and bids become qualified, the
coordination of diligence efforts among bidders, the conduct of the Auction (as defined herein),
the ultimate selection of the Successful Bidder (as defined herein) and the Court’s approval
thereof (the “Bidding Process”). The Bidding Procedures were developed in consultation with
Alliance’s professionals. Alliance will continue to consult with its professionals, as well as with
its secured creditor, HSBC Bank USA, National Association (“HSBC”), and other parties in
interest, throughout the Bidding Process. In the event that Alliance and any such constituents
disagree as to the interpretation or application of these Bidding Procedures, the Bankruptcy
Court shall have jurisdiction to hear and resolve such dispute.

                                   Purchased Assets to be Sold

        The Purchased Assets to be sold include all of Alliance’s right, title and interest in, to and
under, free and clear of all Liabilities (other than Assumed Liabilities) and Encumbrances (other
than Permitted Encumbrances), all of Alliance’s assets, properties, rights and interests of any
nature whatsoever used in or related to the operation of its business, excluding those assets
identified as “Excluded Assets” in Section 1.1(b) of the Purchase Agreement; provided, that
notwithstanding the inclusion of the Atlanta PP&E as an Excluded Asset, Alliance shall have the
option to designate the Atlanta PP&E as a “Purchased Asset” through timely written notice to the
Purchaser. The Excluded Assets are specifically listed on Appendix 1.1(b) of the Purchase
Agreement and include, but are not limited to, Alliance’s real estate leases and all other
Contracts not specifically designated by the Purchaser as Assigned Contracts pursuant to the
terms of the Purchase Agreement. The foregoing summary description of the Purchased Assets
and Excluded Assets is provided for the convenience of Potential Bidders and is in all regards
qualified by and subject to the terms of the Purchase Agreement.

        Alliance shall retain all rights to any Purchased Assets that are not subject to a bid
accepted by Alliance and approved by the Bankruptcy Court at the Sale Hearing (as defined
herein).

        All of the Purchased Assets designated as such by a Successful Bidder will be sold
together as one lot. The sale of the Purchased Assets will be conducted on an “as is, where is”
basis and without representations or warranties of any kind, nature, or description by Alliance, its
agents or Alliance’s bankruptcy estate, except to the extent set forth in the Purchase Agreement,
as approved by the Bankruptcy Court. Except as otherwise provided in such approved Purchase
Agreement or in the Bankruptcy Court’s order approving the same, the Purchased Assets shall be
sold to the Successful Bidder free and clear of all liens, claims, interests and encumbrances
thereon (collectively, the “Liens”), with such Liens to attach solely to the net proceeds of the
sale.

                                   Participation Requirements

       In order to participate in the Bidding Process, a person (a “Potential Bidder”) must be a
“Qualified Bidder.” A Qualified Bidder is (A) Crown Health Care Laundry Services, LLC
(“Crown”), and (B) a person or group of persons:

       (a) who has delivered to Alliance an executed confidentiality agreement in form and


                                                                                              3242204.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                 Entered 12/21/18 12:13:35       Desc
                Exhibit A - Purchase Agreement              Page 105 of 229

             substance acceptable to Alliance; and

       (b) who has delivered to Alliance on or before the Bid Deadline (defined below): (i) a
           Qualified Bid (defined below) and (ii) satisfactory evidence of committed financing
           or current audited financial statements or other form of financial and/or credit-
           quality disclosures reasonably sufficient to ascertain that the Potential Bidder has the
           financial wherewithal and liquidity to consummate a transaction pursuant to its
           Qualified Bid and any subsequent bid that the Potential Bidder may place at the
           Auction.

       Alliance shall determine whether a bid qualifies as a “Qualified Bid”. To constitute a
Qualified Bid, a bid must be a written irrevocable offer from a Qualified Bidder and:

       (a) propose a purchase price to be paid in cash, cash equivalents or readily marketable
           securities acceptable in the discretion of Alliance;

       (b) propose a purchase price that exceeds Crown’s bid, calculated pursuant to the
           Purchase Price Methodology set forth in Appendix 2.1 of the Purchase Agreement,
           by (a) the amount of the Breakup Fee ($120,000), plus (b) $100,000.00 (the “Initial
           Qualified Overbid”);

       (c) provide Alliance with a deposit in an amount equal to 10% of its Initial Qualified
           Overbid (the “Bid Deposit”);

       (d) be accompanied by a signed Purchase Agreement, together with a copy marked to
           show any changes from the form of Purchase Agreement approved by the Court and
           attached as Exhibit A to the Order approving these Bidding Procedures;

       (e) contain a list of Alliance’s executory contracts and unexpired leases with respect to
           which the Potential Bidder seeks assignment from Alliance and, if the Bid is
           conditioned on the assumption and assignment of such executory contracts and/or
           unexpired leases, provide evidence of the Potential Bidder’s ability to provide
           adequate assurance of future performance of such contracts or leases;

       (f)   provide satisfactory evidence of committed financing or current audited financial
             statements or other form of financial and/or credit-quality disclosure reasonably
             sufficient to ascertain such Potential Bidder’s ability to consummate the sale and not
             be conditioned on obtaining financing or on the outcome of any due diligence;

       (g) not request or entitle the Potential Bidder to any break-up fee, expense
           reimbursement or similar type of payment;

       (h) fully disclose the identity of each entity that will be bidding for the Purchased Assets
           or otherwise participating in connection with such bid and the complete terms of any
           such participation;

       (i)   be accompanied by a letter from the Potential Bidder stating that (i) the bidder is
             prepared to enter into and consummate the proposed transaction in accordance with
             the terms of the Purchase Agreement after approval by the Bankruptcy Court of the

                                                                                            3242204.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                   Entered 12/21/18 12:13:35         Desc
                Exhibit A - Purchase Agreement                Page 106 of 229

             Sale Order, subject to receipt of any applicable governmental or regulatory approval,
             (ii) the Potential Bidder will make all necessary federal, state or local filings, pay all
             costs and expenses associated with such filings (including the costs and expenses of
             Alliance), and (iii) such Potential Bidder’s offer is irrevocable until the date that is
             twenty (20) days after the conclusion of the Sale Hearing with respect to the
             Purchased Assets; and

       (j)   be delivered to counsel for Alliance on or before the Bid Deadline.

       As promptly as practicable after a Potential Bidder delivers a bid, Alliance shall
determine, and shall notify the Potential Bidder in writing, whether the Potential Bidder is a
Qualified Bidder with respect to the Purchased Assets. Alliance may waive any requirements for
Qualified Bidders or Qualified Bids.

                                            Bid Deadline

        A Potential Bidder that desires to make a bid shall deliver (i) written and electronic
copies of its bid and (ii) its Bid Deposit so that they are actually received not later than __:__
a.m./p.m. (prevailing Eastern Time) on _______, 2018 (the “Bid Deadline”) by Alliance’s
counsel, Bond, Schoeneck & King, PLLC, One Lincoln Center, Syracuse, New York 13202
(Attn: Stephen A. Donato, Esq., sdonato@bsk.com and Camille W. Hill, Esq., chill@bsk.com).
Alliance may extend the Bid Deadline once or successively, but is not obligated to do so. If the
Bid Deadline is extended, Alliance shall promptly notify all known Potential Bidders of such
extension.

                                           Due Diligence

        Upon a Potential Bidder’s execution of a confidentiality agreement in form and substance
approved by Alliance, each Potential Bidder shall be afforded reasonable due diligence access
with respect to the Purchased Assets prior to the Bid Deadline (the “Due Diligence Period”).
Neither Alliance nor its representatives shall be obligated to furnish any information of any kind
whatsoever relating to the Purchased Assets at any time prior to or after the Due Diligence
Period. Due diligence access may include access to Alliance’s online data room, management
presentations as may be scheduled by Alliance, on-site inspections of the Purchased Assets and
such other matters which a Potential Bidder may request and as to which Alliance may agree.
Alliance will designate employees or other representatives to coordinate reasonable requests for
additional information and due diligence access from Potential Bidders. Alliance may, in its
discretion, coordinate diligence efforts such that multiple Potential Bidders have simultaneous
access to due diligence materials and/or simultaneous attendance at management presentations or
site inspections. Potential Bidders are advised to exercise their own discretion before relying on
any information regarding the Purchased Assets provided by anyone other than Alliance or its
representatives.

       Each Potential Bidder shall comply with all reasonable requests for additional
information by Alliance or its advisors regarding such Potential Bidder’s financial wherewithal
to consummate and perform obligations in connection with the Sale. Failure by the Potential
Bidder to comply with requests for additional information may be a basis for Alliance to
determine that a bid made by the Potential Bidder is not a Qualified Bid.

                                                                                               3242204.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35       Desc
                Exhibit A - Purchase Agreement             Page 107 of 229


        By participating in the Auction, each Qualified Bidder shall be deemed to acknowledge
and represent that it has had an opportunity to inspect and examine the Purchased Assets and to
conduct any and all due diligence regarding the Purchased Assets prior to submitting its bid, that
it has relied solely upon its own independent review, investigation and/or inspection of any
documents in making its bid, and that it did not rely upon any written or oral statements,
representations, promises, warranties or guaranties whatsoever, whether express, implied, by
operation of law or otherwise, regarding the Purchased Assets, or the completeness of any
information provided in connection with the Bidding Process except as expressly stated in the
relevant Purchase Agreement submitted with its Qualified Bid.

                                            Auction

        If two or more Qualified Bids with respect to the Purchased Assets have been received on
or prior to the Bid Deadline, Alliance shall conduct an auction (the “Auction”) with respect to
the Purchased Assets. Only Qualified Bidders who timely submit a Qualified Bid will be eligible
to participate in the Auction. The Auction shall take place on _______, 2018, at 10:00 a.m.
(prevailing Eastern Time) at the offices of Bond, Schoeneck & King, PLLC, One Lincoln
Center, Syracuse, New York 13202, or at such other time and place as Alliance may notify all
Qualified Bidders and parties in interest. Alliance shall provide copies of all Qualified Bids to
counsel for HSBC, the Office of the United States Trustee for the Western District of New York,
counsel for any appointed committee(s), if any, and all other Qualified Bidders at least one (1)
business day prior to the Auction.

        At the commencement of the Auction, Alliance’s representatives will announce the
highest or otherwise best bid for the Purchased Assets (the “Starting Qualified Bid”) and the
overall consideration value ascribed to such bid (the “Bid Value”). Each Qualified Bidder
present at the Auction will be permitted to increase its Initial Qualified Overbid by at least One
Hundred Thousand Dollars ($100,000.00) (a “Qualified Overbid”); provided, that Crown shall
have the right, but not the obligation, in its sole and absolute discretion, to match Qualified
Overbids made by any other Qualified Bidder (the “Matching Rights”). All subsequent bids
must be in Bidding Increments of at least $100,000.00. During the course of the Auction,
Alliance will inform the participants which Qualified Overbid reflects the then-highest or
otherwise best offer for the Purchased Assets and the Bid Value ascribed thereto. Other than
bids of Crown made pursuant to its Matching Rights, Alliance shall not consider any subsequent
bid received at the Auction unless the Bid Value of such bid exceeds the Bid Value of the
Starting Qualified Bid or the then-highest Qualified Overbid by the Bidding Increment.

       The Auction may be adjourned from time to time by Alliance, but it shall not be
concluded until each Qualified Bidder has had an opportunity to submit a Qualified Overbid with
knowledge of the Bid Value ascribed to the Starting Qualified Bid or the then-highest Qualified
Overbid, as applicable, or match, in the case of Crown, the Starting Qualified Bid or the then-
highest Qualified Overbid, as applicable.

       At the conclusion of the Auction, Alliance will announce the Qualified Bid which it
deems to represent the highest or otherwise best bid for the Purchased Assets (such bid being the
“Successful Bid” and the Qualified Bidder submitting such bid, the “Successful Bidder”) and the
next highest or otherwise best bid (the “Backup Bid” and the party submitting such bid, the

                                                                                           3242204.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35       Desc
                Exhibit A - Purchase Agreement             Page 108 of 229

“Backup Bidder”). The Backup Bid shall remain in full force and effect until the closing of the
Sale of the Purchased Assets to the Successful Bidder. Alliance shall require, as a condition
precedent to declaring any bid the Successful Bid or the Backup Bid, that the Bid Deposits of the
Successful Bidder and Backup Bidder be retained by Alliance pending the closing of the sale of
the Purchased Assets. Any Bid Deposit not applied in satisfaction of the obligations of the
Successful Bidder or Backup Bidder in connection with their respective bids shall be returned
not later than five (5) business days following the closing of the sale of the Purchased Assets.

                                       The Sale Hearing

        A hearing to approve the Proposed Sale (the “Sale Hearing”) is presently scheduled to
take place on ____________, 201__ at __:__ a.m./p.m. (prevailing Eastern Time) before the
Honorable Michael J. Kaplan, United States Bankruptcy Court for the Western District of New
York, 2 Niagara Square, Buffalo, New York 14202. At the Sale Hearing, Alliance will seek
entry of an order, among other things, designating the Successful Bidder and the Backup Bidder,
authorizing and approving the sale of the Purchased Assets to the Successful Bidder, as
determined by Alliance in accordance with the Bidding Procedures, pursuant to the terms and
conditions set forth in the relevant Purchase Agreement submitted by the Successful Bidder (the
“Sale Order”). The Sale Hearing may be adjourned or rescheduled without notice other than by
an announcement of the adjourned date in open court at the Sale Hearing.

        Following entry of the Sale Order, if the Successful Bidder fails to consummate an
approved sale because of a breach or failure to perform on the part of such Successful Bidder, the
Backup Bid shall be deemed to be the Successful Bid with respect to the Purchased Assets and
Seller shall effectuate the sale of Purchased Assets to the Backup Bidder without further order of
the Bankruptcy Court, and the Bid Deposit of the non-closing Successful Bidder shall be
forfeited. Alliance shall retain all rights to the Purchased Assets that are not subject to a bid
accepted by Alliance and approved by the Bankruptcy Court. If an Auction is held, Alliance
shall be deemed to have accepted a Qualified Bid only when (i) such bid is declared the
Successful Bid (or the Backup Bid) at the Auction, (ii) definitive documentation has been
executed in respect thereof, and (iii) the Bankruptcy Court has entered the Sale Order.

                                          Sale Closing

       The closing of the Sale of the Purchased Assets to the Successful Bidder (or Backup
Bidder) shall occur (i) no later than sixty (60) days from the Execution Date of the Purchase
Agreement executed by Crown if Crown is the deemed the Successful Bidder, or (ii) within ten
(10) business days following the entry of the Sale Order if a party other than Crown is deemed
the Successful Bidder (or Backup Bidder), or (iii) such other later date as is mutually agreed by
Alliance and the Successful Bidder (or Backup Bidder) in a writing dated prior to the otherwise-
required Closing date.

                                     Reservation of Rights

       Alliance reserves all rights to terminate the Bidding Process at any time if Alliance
determines, in its business judgment, that the Bidding Process will not maximize the value of the
Purchased Assets. In addition, Alliance reserves all rights not to submit any bid which is not
acceptable to Alliance for approval to the Bankruptcy Court. Alliance shall further have the right

                                                                                           3242204.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                  Entered 12/21/18 12:13:35        Desc
                Exhibit A - Purchase Agreement               Page 109 of 229

to amend the rules set forth herein for the Bidding Process or impose such other terms and
conditions for the Bidding Process which Alliance determines, in its business judgment is
necessary to fulfill its fiduciary duties, provided that such modifications are not inconsistent with
any Bankruptcy Court order; however, Alliance recognizes that a material modification may,
under the Purchase Agreement, relieve Crown of any obligation to proceed with the Auction or,
if it is the Successful Bidder, to close the sale of the Purchased Assets, and Crown’s ability to
terminate the Purchase Agreement in accordance with its terms is fully preserved. Without
limiting the generality of the foregoing, Alliance may reject at any time before entry of an order
of the Bankruptcy Court approving a Qualified Bid, any bid that, in Alliance’s discretion is
(i) inadequate or insufficient, (ii) not in conformity with the requirements of the Bankruptcy
Code or the Bidding Procedures, or (iii) contrary to the best interests of Alliance, its estate and
creditors.




                                                                                             3242204.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18        Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement     Page 110 of 229


                                    Schedule 2

                         Notice of Auction and Sale Hearing
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                           Entered 12/21/18 12:13:35             Desc
                Exhibit A - Purchase Agreement                        Page 111 of 229


UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

In re:

    CENTERSTONE LINEN SERVICES, LLC,                                   Case No. 18-__________
    d/b/a Clarus Linen Systems, et al., 1                              Chapter 11 Cases
                                                                       Main Case
                              Debtors.                                 Jointly Administered
_________________________________________


                          NOTICE OF AUCTION AND SALE HEARING


PLEASE TAKE NOTICE OF THE FOLLOWING:

       1.      On November ____, 2018, debtor Alliance Laundry & Textile Service, LLC,
d/b/a Clarus Linen Systems (“Alliance”) filed the Motion by Debtor Alliance Laundry & Textile
Service, LLC d/b/a Clarus Linen Systems for Orders (A) (i) Authorizing the Sale of Substantially
All of Alliance’s Assets, Free and Clear of All Liens, Claims, Interests and Encumbrances,
Subject to the Terms of the Asset Purchase Agreement and Subject to Higher and/or Better
Offers; (ii) Authorizing and Approving the Form of a Certain Asset Purchase Agreement with
Crown Health Care Laundry Services, LLC; and (iii) Authorizing Alliance to Consummate all
Transactions Related to the Proposed Sale; (B) Approving Bidding Procedures and Other
Related Relief; and (C) Authorizing Alliance to Assume Certain Executory Contracts and
Unexpired Leases and Assign Such Contracts and Leases to Purchaser Crown Health Care
Laundry Services, LLC [Docket No. __] (the “Sale Motion”).2

       2.      Alliance is seeking to sell substantially all of its assets (the “Purchased Assets”) to
the Successful Bidder or Backup Bidder.3 Approval of the sale of Purchased Assets to either the
Successful Bidder or Backup Bidder may result in, among other things, the assumption,
assignment and/or transfer by Alliance of certain executory contracts and leases (the “Assigned
Contracts”). If you are a party to an Assigned Contract with Alliance, you will receive a separate


1
  The debtors and debtors in possession (collectively, the “Debtors”) in these chapter 11 cases, along with the last
four digits of each Debtor’s federal tax identification number, are: Centerstone Linen Services, LLC, d/b/a Clarus
Linen Systems (5594), Alliance Laundry & Textile Service, LLC, d/b/a Clarus Linen Systems (8284) and Atlas
Health Care Linen Services Co., LLC, d/b/a Clarus Linen Systems (2681).
2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Sale
Motion and/or the Bidding Procedures Order, as applicable.
3
 The Sale Motion identifies Crown Health Care Laundry Services, LLC (“Crown”) as the “stalking horse” bidder
and attaches a copy of an Asset Purchase Agreement between Alliance and Crown contemplating a sale of the
Purchased Assets to Crown.

                                                                                                           3242272.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35        Desc
                Exhibit A - Purchase Agreement             Page 112 of 229


notice that contains relevant dates and other information that may impact you as a party to an
Assigned Contract.

        3.       On November ___, 2018, the United States Bankruptcy Court for the Western
District of New York (the “Bankruptcy Court”) entered an order approving bidding procedures
and granting other relief related to Alliance’s proposed sale (the “Bidding Procedures Order”).
The Bidding Procedures approved by the Court are attached as Schedule 1 to the Bidding
Procedures Order. Pursuant to the Bidding Procedures Order, if Alliance receives more than one
Qualified Bid for the Purchased Assets, an Auction for the Purchased Assets shall take place on
____________, 201__, at 10:00 a.m. (prevailing Eastern Time) at the offices of Bond,
Schoeneck & King, PLLC, One Lincoln Center, Syracuse, New York. Only parties that have
submitted a Qualified Bid in accordance with the Bidding Procedures by no later than
____________, 201__ at __:__ a.m./p.m. (prevailing Eastern Time) (the “Bid Deadline”) may
participate at the Auction. Any party that wishes to take part in this process and submit a bid for
the Purchased Assets must submit its competing bid prior to the Bid Deadline and in accordance
with the Bidding Procedures.

       4.      The Sale Hearing to consider approval of the sale of the Purchased Assets to the
Successful Bidder or Backup Bidder, free and clear of all liens, claims and encumbrances, will
be held before the Honorable Michael J. Kaplan, United States Bankruptcy Judge, United States
Bankruptcy Court for the Western District of New York, 2 Niagara Square, Buffalo, NY 14202
on ______________, 201__ at __:__ a.m./p.m. (prevailing Eastern Time), or at such other
time thereafter as counsel may be heard. The Sale Hearing may be adjourned from time to time
without further notice to creditors or parties in interest other than by announcement of the
adjournment in open court on the date scheduled for the Sale Hearing.

        5.     Objections, if any, to the sale, or the relief requested in the Sale Motion (other
than with respect to the assumption and assignment of the Assigned Contracts which are the
subject of a separate notice) must: (a) be in writing; (b) comply with the Bankruptcy Rules and
the Local Rules; (c) be filed with the clerk of the Bankruptcy Court for the Western District of
New York, on or before 4:00 p.m. (prevailing Eastern Time) on _______________, 2018; and
(d) be served so as to be received no later than 4:00 p.m. (prevailing Eastern Time) on the same
day, upon (i) counsel to Alliance; (ii) the Office of the United States Trustee for the Western
District of New York (iii) counsel to Purchaser; (iv) counsel for HSBC Bank USA, National
Association; and (v) counsel to any committee(s) appointed in these cases. UNLESS AN
OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE WITH THIS NOTICE,
IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND THE
BANKRUPTCY COURT MAY GRANT THE RELIEF REQUESTED IN THE SALE
MOTION WITHOUT FURTHER HEARING OR NOTICE.

        6.      This notice is subject to the fuller terms and conditions of the Sale Motion, the
Bidding Procedures Order, and the Bidding Procedures, which shall control in the event of any
conflict and Alliance encourages parties in interest to review such documents in their entirety.
Parties interested in receiving more information regarding the sale of the Purchased Assets or
obtaining a copy of any of the foregoing documents may make a written request to counsel for
the Debtors, Bond Schoeneck & King, PLLC, One Lincoln Center, Syracuse, New York, 13202,
Attn: Stephen A. Donato, Esq. and Camille W. Hill, Esq. In addition, copies of the Sale Motion,

                                                                                           3242272.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18            Entered 12/21/18 12:13:35     Desc
                Exhibit A - Purchase Agreement         Page 113 of 229


the Bidding Procedures Order, the Bidding Procedures and this Notice can be found on the
Bankruptcy Court’s electronic case management website, http://ecf.nywb.uscourts.gov and are
on file with the Clerk of the Bankruptcy Court.


Dated: ____________, 2018
       Syracuse, New York                 BOND, SCHOENECK & KING, PLLC


                                   By:    ___________________________________
                                          Stephen A. Donato, Bar Roll No. 101522
                                          Camille W. Hill, Bar Roll No. 501876
                                          Sarah M. Harvey, Bar Roll No. 519993
                                          Office and Post Office Address:
                                          One Lincoln Center
                                          Syracuse, New York 13202
                                          Tel: (315) 218-8000
                                          Fax: (315) 218-8100
                                          Email: sdonato@bsk.com
                                                  chill@bsk.com
                                                  sharvey@bsk.com


                                          Proposed Counsel to the Debtors and Debtors in
                                          Possession




                                                                                    3242272.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 114 of 229


                                   Schedule 3

                       Notice of Assumption and Assignment
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                           Entered 12/21/18 12:13:35             Desc
                Exhibit A - Purchase Agreement                        Page 115 of 229


UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

In re:

    CENTERSTONE LINEN SERVICES, LLC,                                   Case No. 18-__________
    d/b/a Clarus Linen Systems, et al., 1                              Chapter 11 Cases
                                                                       Main Case
                              Debtors.                                 Jointly Administered
_________________________________________


                         NOTICE OF ASSUMPTION AND ASSIGNMENT


PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.     On _______________, 2018, the United States Bankruptcy Court for the Western
District of New York (the “Bankruptcy Court”) entered an order (the “Bidding Procedures
Order”),2 approving, among other things, the fixing of cure amounts (the “Cure Amounts”)
related to the potential assumption, assignment and/or transfer by Alliance Laundry & Textile
Services, LLC, d/b/a Clarus Linen Systems (“Alliance”) of certain executory contracts,
unexpired leases, and other agreements (the “Assigned Contracts”) listed on Exhibit A annexed
hereto in connection with the proposed sale of certain of Alliance’s assets (the “Purchased
Assets”). Alliance intends to assume, assign, and/or transfer some or all of the Assigned
Contracts to the Successful Bidder or Backup Bidder for the Purchased Assets as determined
pursuant to the bidding procedures (the “Bidding Procedures”) approved by the Bankruptcy
Court and attached to the Bidding Procedures Order as Schedule 1.

        2.    Alliance believes that any and all defaults (other than the filing of these Chapter
11 Cases) and actual pecuniary losses under the Assigned Contracts can be cured by the payment
of the Cure Amounts listed on Exhibit A annexed hereto.

       3.      Any objections to (i) the assumption, assignment or transfer of an Assigned
Contract, or (ii) the amount asserted as the Cure Amount (each, a “Cure Amount/Assignment
Objection”), must be in writing and set forth with specificity the nature of the objection and the
cure amount that the objecting party believes should be paid in connection with the assumption
of the Assigned Contract (the “Claimed Cure Amount”). In addition, if Alliance identifies
additional Assigned Contracts that might be assumed by Alliance and assigned to the Successful

1
  The debtors and debtors in possession (collectively, the “Debtors”) in these chapter 11 cases, along with the last
four digits of each Debtor’s federal tax identification number, are: Centerstone Linen Services, LLC, d/b/a Clarus
Linen Systems (5594), Alliance Laundry & Textile Service, LLC, d/b/a Clarus Linen Systems (8284) and Atlas
Health Care Linen Services Co., LLC, d/b/a Clarus Linen Systems (2681).
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
Procedures Order.

                                                                                                           3242282.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35        Desc
                Exhibit A - Purchase Agreement             Page 116 of 229


Bidder or Backup Bidder which are not set forth in this Notice of Assumption and Assignment,
Alliance shall promptly send a supplemental notice (a “Supplemental Notice of Assumption and
Assignment”) to the applicable counterparties to such additional Assigned Contracts; however, in
no event shall Alliance send a Supplemental Notice of Assumption and Assignment to the
applicable non-debtor counterparties after ____________, 201__.

       4.      To be considered a timely Cure Amount/Assignment Objection, a Cure
Amount/Assignment Objection must be filed with the Bankruptcy Court and served upon (i)
counsel to Alliance; (ii) the Office of the United States Trustee for the Western District of New
York; (iii) counsel for HSBC; (iv) counsel to Purchaser; and (v) counsel to any committee(s)
appointed in these cases, by the later of (a) 4:00 p.m. (prevailing Eastern time) on
____________, 201__ or (b) five (5) days after service of the relevant Supplemental Notice of
Assumption and Assignment.

        5.     If a Cure Amount/Assignment Objection is timely filed, Alliance may resolve any
Cure Amount/Assignment Objection by mutual agreement with the objecting counterparty to any
Assigned Contract without further order of the Court. Alliance may also file a written response
to the Cure Amount/Assignment Objection with the Bankruptcy Court no later than 4:00 p.m. on
_____________, 201__. In the event that Alliance and any objecting party are unable to
consensually resolve any Cure Amount/Assignment Objection, the Bankruptcy Court will
resolve any such Cure Amount/Assignment Objection at a hearing to be held at __:__ a.m./p.m.
on ____________, 201__ or such later date as the Court may determine.

        6.     Unless a Cure Amount/Assignment Objection is timely filed and served, the
assumption, assignment and/or transfer of the Assigned Contracts may proceed without further
notice to counterparties to the Assigned Contracts.

        7.     Parties that fail to file and serve timely Cure Amount/Assignment Objections
shall be deemed to have waived and released any and all rights to assert against Alliance, the
Successful Bidder or Backup Bidder cure amounts different from the Cure Amounts listed on
Exhibit A hereto and shall be forever barred and estopped from asserting or claiming against
Alliance, the Successful Bidder or Backup Bidder, or any assignee of any Assigned Contract that
any additional amounts are due or defaults exist, or prohibitions or conditions to assignment exist
or must be satisfied, under such Assigned Contract.

        8.     To the extent that a Cure Amount/Assignment Objection remains unresolved as of
the Bid Deadline, and the Bankruptcy Court subsequently determines that the Cure Amount for
the subject Assigned Contract is greater than that set forth in the Cure Amounts identified on
Exhibit A hereto, the Successful Bidder may elect to reclassify such Assigned Contract as an
Excluded Agreement at any time prior to the earlier to occur of the Closing or the day that is five
(5) business days following such determination by the Bankruptcy Court.

        9.     Alliance, the Successful Bidder or the Backup Bidder, as the case may be, may
determine to exclude any Assigned Contract from the Purchased Assets to be assumed and sold
or assigned at any time prior to the Sale Hearing. The non-debtor party or parties to any such
excluded contract or lease will be notified of such exclusion by written notice mailed within
three (3) business days following the conclusion of the Sale Hearing.

                                                                                           3242282.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35       Desc
                Exhibit A - Purchase Agreement             Page 117 of 229


        10.    If no Cure Amounts are due under an Assigned Contract, or the non-debtor party
to the Assigned Contract does not otherwise object to Alliance’s assumption, assignment and/or
transfer of the Assigned Contract, no further action needs to be taken on the part of that non-
debtor party.

       11.     Alliance’s decision to sell, assign and/or transfer to the Successful Bidder or
Backup Bidder the Assigned Contracts is subject to Bankruptcy Court approval and the closing
of the sale of the Purchased Assets. Accordingly, absent such closing, none of the Assigned
Contracts shall be deemed to be assumed, sold, assigned and/or transferred, and shall in all
respects be subject to further administration under the Bankruptcy Code. The inclusion of any
document on the list of Assigned Contracts shall not constitute or be deemed to be a
determination or admission that such document is, in fact, an executory contract or unexpired
lease within the meaning of the Bankruptcy Code (all rights with respect thereto being expressly
reserved).

       12.     This notice is subject to the fuller terms and conditions of the Bidding Procedures
Order which shall control in the event of any conflict and Alliance encourages parties in interest
to review that document in its entirety. Parties interested in receiving more information
regarding the sale of the Purchased Assets or obtaining a copy of the Bidding Procedures Order
may make a written request to counsel to the Debtors. In addition, copies of the Bidding
Procedures Order and this notice can be found on the Bankruptcy Court’s electronic case
management website, http://ecf.nywb.uscourts.gov and are on file with the Clerk of the
Bankruptcy Court.

Dated: ____________, 2018
       Syracuse, New York                    BOND, SCHOENECK & KING, PLLC

                                     By:     ___________________________________
                                             Stephen A. Donato, Bar Roll No. 101522
                                             Camille W. Hill, Bar Roll No. 501876
                                             Sarah M. Harvey, Bar Roll No. 519993
                                             Office and Post Office Address:
                                             One Lincoln Center
                                             Syracuse, New York 13202
                                             Tel: (315) 218-8000
                                             Fax: (315) 218-8100
                                             Email: sdonato@bsk.com
                                                     chill@bsk.com
                                                     sharvey@bsk.com

                                             Counsel to the Debtors and Debtors in Possession




                                                                                           3242282.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18       Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement    Page 118 of 229


                                    Exhibit A

                      To Notice of Assumption and Assignment

                               [Assigned Contracts]




                                                                              3242282.4
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35        Desc
                Exhibit A - Purchase Agreement             Page 119 of 229


                                           APPENDIX 1.1(a)

                                            Purchased Assets

         (a)    the Inventory;

       (b)    all fixtures, machinery, equipment, fixed assets, furniture, tools, maintenance
equipment, mobile equipment, electrical, mechanical, electronic, computers software,
telecommunications, servers and other equipment and fixed assets of every kind located at the
Spartanburg Facility and the Albany Facility.

         (c)    the Seller Intellectual Property;

         (d)    the Seller’s Permits;

         (e)    all goodwill associated with the Business or the Purchased Assets;

         (f)    all Books and Records associated with the Purchased Assets;

       (g)      all rights of Seller under or pursuant to all warranties, representations and
guarantees made by suppliers, manufacturers, service providers and contractors other than any
warranties, representations and guarantees pertaining to any Excluded Assets;

      (h)    all rights to payment under insurance policies in connection with any loss or
damage associated with any Purchased Asset; and

        (i)    all other assets of every kind and nature (tangible or intangible, known or unknown,
liquidated or unliquidated) located at the Spartanburg Facility and Albany Facility or used or
useful in conjunction with the operation of those facilities and not specifically included in the
definition of Excluded Assets.




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                   Entered 12/21/18 12:13:35       Desc
                Exhibit A - Purchase Agreement                Page 120 of 229


                                          APPENDIX 1.1(b)

                                            Excluded Assets

    1.          The Excluded Agreements, including, without limitation, the following Contracts:

                (a)      Linen Service Agreement with Board of Regents of the University System
                         of Georgia on behalf of the Georgia State University-Georgia State
                         University Student Health Clinic dated July 1, 2018;

                (b)      Linen Service Agreement with Hospice of the UpstatLine, Inc. dated
                         January 15, 2016;

                (c)      Contract with United States of America for linen services at Martin Army
                         Community Hospital, Fort Benning Georgia dated September 13, 2016,
                         Modified as of December 14, 2017;

                (d)      Linen Service Agreement with Mary Black Health System LLC dated July
                         17, 2013;

                (e)      Contract with United States of America for linen services at Moncrief Army
                         Health Clinic, Fort Jackson, South Carolina dated May 1, 2018;

                (f)      Contract with United States of America for linen services at Moody Air
                         Force Base, Georgia dated October 1, 2018;

                (g)      Laundry Service Agreement dated September 1, 2103 and Participating
                         Hospital Agreement dated October 8, 2913 with Northeast Georgia Hospital
                         System;

                (h)      Linen Service Agreement with Regional Medical Center of Orangeburg and
                         Calhoun Counties d/b/a Regional Medical Center dated August 1, 2018;

                (i)      Cooperative Agreement with Industry with Wiregrass Rehabilitation Center,
                         Inc. dated April 5, 2017;

                (j)      Linen Service Agreement with Wellstar Health System, Inc. dated April 1,
                         2016;

                (k)      Service Agreement with Summit Orthopaedic Surgery Center dated March
                         1, 2011;

                (l)      Contract No. VA247-17-D-0138 with United States of America for linen
                         service to the Veterans Administration, Augusta, Georgia dated August 1,
                         2017;




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                     Entered 12/21/18 12:13:35     Desc
                Exhibit A - Purchase Agreement                  Page 121 of 229


                (m)      Contact No. W81K00-14-C-0096 with the United States of America for
                         linen service at Martin Army Community Hospital, Fort Benning, Georgia
                         dated October 1, 2014;

                (n)      Contract 1, No. W91YTZ-17-P-0286 with the United States of America for
                         linen service at Moncrief Army Health Clinic, Fort Jackson, South Carolina
                         dated May 1, 2017;

                (o)      Contract No. FA4830-16-C-0007 with the United States of America for
                         linen service at Moody Air Force Base Clinic, Georgia dated October 1,
                         2016; and

                (p)      Contract No. W91YTZ-19-P-0014 with the United States of America for
                         linen service at Moncrief Army Health Clinic, Fort Jackson, South Carolina
                         dated November 1, 2018;

    2.          Cash and cash equivalents (whether on hand or in banks);

    3.          Seller’s trade receivables and other accounts and notes receivable;

    4.          Stocks, bonds or other securities of Seller;

    5.          All employee benefit plans of any kind and nature whatsoever;

    6.          Any non-transferrable Permits;

    7.          Insurance policies;

    8.          The following pre-paid expenditures and security deposits (together with any right to
                refunds thereof):

                (a)      2018 sales tax estimate in the amount of $5,480.09 paid to the Georgia
                         Department of Revenue;

                (b)      Accrued expenses of $13,632.45 paid to the Cities of Spartanburg,
                         Anderson, and Greenville for 2018 business licenses; and

                (c)      Security deposit of $42,500 paid pursuant to the Atlanta Lease.

    9.          Any rights to refunds from any insurance policies;

    10.         All rights to or claims for refunds, overpayments or rebates of taxes;

    11.         All actions arising under chapter 5 of the Bankruptcy Code with respect to the
                Purchased Assets;

    12.         the Atlanta Lease;

    13.         the Atlanta PP&E (subject to Seller’s option in Section 1.1(c));


{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                     Entered 12/21/18 12:13:35        Desc
                Exhibit A - Purchase Agreement                  Page 122 of 229


    14.         Personnel, business and other records that Seller is required by law to retain in its
                possession, or which relate to any avoidance actions under the Bankruptcy Code, and
                all corporate seals, minute books, charter documents, membership transfer records,
                record books, original tax and financial records and such other files, books and
                records relating to the Excluded Assets or the organization, existence or capitalization
                of Seller; and

    15.         Seller’s rights under the Agreement.




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35        Desc
                Exhibit A - Purchase Agreement             Page 123 of 229


                                         APPENDIX 1.2

                                      Assumed Liabilities

        The contractual obligations of Seller under the Assigned Contracts, in each case, solely to
the extent any such contractual obligation with respect to any such Assigned Contract relates
solely to periods after the Closing and specifically excluding all Liabilities with respect to any
such Assigned Contract related to any (a) failure to perform, improper performance, breach,
default, or violation under any such Assigned Contract that occurred prior to or in connection with
the Closing, (b) breach of warranty, product liability, product recall, product warning, tort,
infringement, or violation of Law that occurred prior to or in connection with the Closing, (iii)
Action that is based on facts or circumstances existing prior to or at the Closing, or (iv)
inaccuracy in, or breach of, any representation, warranty, covenant, agreement, or obligation of
Seller in the Agreement.




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18               Entered 12/21/18 12:13:35      Desc
                Exhibit A - Purchase Agreement            Page 124 of 229


                                       APPENDIX 1.4(a)

                                     Purchased Contracts

1.       Linen Service Agreement with Houston Hospitals, Inc., d/b/a Houston Healthcare dated
         September 1, 2018.




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18               Entered 12/21/18 12:13:35         Desc
                Exhibit A - Purchase Agreement            Page 125 of 229


                                       APPENDIX 1.4(b)

                                      Optional Contracts

1.       Linen Service Agreement with AnMed Health dated June 17, 2013.

2.       Partners Cooperative Laundry Service Agreement dated September 1, 2013 and
         Participating Hospital Agreement dated May 25, 2017 with Archibald Memorial
         Hospital, Inc.

3.       Linen Service Agreement with Partners Cooperative, Inc. dated September 1, 2013.

4.       Linen Service Agreement dated August 1, 2016 and Addendum to Linen Service
         Agreement dated July 27, 2017 with Phoebe Putney Memorial Hospital, Inc.

5.       Partners Cooperative Laundry Service Agreement dated September 1, 2013 and
         Participating Hospital Agreement with Self Regional Healthcare dated March 18, 2016.




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                   Entered 12/21/18 12:13:35      Desc
                Exhibit A - Purchase Agreement                Page 126 of 229


                                            APPENDIX 2.1

                                     Purchase Price Methodology

The Purchase Price shall be an amount equal to the sum of the following amounts (each of which
is to be determined as of the Closing Date):

    (a)         Fifteen percent (15%) of the book value (determined in accordance with GAAP) of
                the Fixed Assets included in the Purchased Assets, except as to the Fixed Assets at
                the Spartanburg Facility, which shall be valued at $2,500,000; plus

    (b)         Thirty percent (30%) of the book value (determined in accordance with GAAP) of the
                Linen Inventory in service as of the Closing and included in the Purchased Assets,
                subject to inspection satisfactory to Purchaser; plus

    (c)         $651,000 for the Assigned Contracts.




{04605048.11}
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 127 of 229



                    Alliance Laundry &Textile Service, LLC
                          Asset Purchase Agreement
                 With Crown Health Care Laundry Services, LLC


                          Seller's Disclosure Schedule




                                                                             3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18        Entered 12/21/18 12:13:35    Desc
                Exhibit A - Purchase Agreement     Page 128 of 229



                                     Section 4.4

                                      Litigation


      Integra Business Alternatives, LLC v. Alliance Laundry &Textile Service, LLC
      d/b/a Clarus Linen System, Case No. 18-EV-004982 (State Court, County of
      Fulton, GA) —pending collection action.

2.    Tamiko Favors v. Centerstone Linen System, LLC d/b/a Clarus Linen System, et
      a/., Case No. 2018-CV-311679 (Superior Court, Fulton County, GA)—pending
      discrimination proceeding.

3.    Wellstar Health System, Inc. v. Alliance Laundry and Textile Service of Atlanta,
      LLC d/b/a Clarus Linen Systems, et al., Case No. 17-1-9277-51 (Superior Court,
      Cobb County, GA)—June 2018 judgment.

4.    Teems Electric Company v. Alliance Laundry &Textile Service, LLC et al., Case
      No. SUCV2018000984 (Superior Court, Catoosa County, GA) —pending
      collection action.




                                                                                 3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18         Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement      Page 129 of 229




                                     Section 4.5

                           Seller Intellectual Property



D     Fictitious name: d/b/a Clarus Linen Systems

0     Software:

      Name                      License      Comments

      Linen Master             No            Inventory (month to month payment)
      Microsoft Products       Yes
      Quickbooks               No            Accounting (annual payment)
      SageNext                 Yes           QuickBooks Hosting
      Proliant                 No            HR &Payroll
      AVG                      Yes           Antivirus
      Adobe Acrobat Pro        Yes           Document Creator
      FoxIT                    Yes           Document/Form Creator
      V-Tiger                  No            ClaursOnCall CRM
      Carbonite                Yes           Support(month to month payment)
      Code Two                 No            Email Archiving
      SonicWall                No            Firewall Licensing &Virus Subscription
      MalwareByte              No            Key Machines
      TeamViewer               No            Remote Access
      N uance PDF              No            All PCs and servers
      Concur                   No            Expense Accounting (annual payment)
      AttendanceOnDemand       No            Time Clock System (annual payment)




                                                                                3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18         Entered 12/21/18 12:13:35    Desc
                Exhibit A - Purchase Agreement      Page 130 of 229




                                     Section 4.6

                                   Seller Permits


1.    South Carolina Infectious Waste Generator Permit #SC42-20166

2.    South Carolina Office of Environmental Quality Control, Bureau of Air Quality
      State Operating Permit #2060-0313

3.    Spartanburg Sanitary Sewer District Significant Industrial Wastewater Discharge
      Permit #096; SIC No.(S)7213

4.    City of Atlanta, Georgia Industrial Wastewater Discharge Permit No. F229

5.    City of Albany, Georgia Industrial Pretreatment Permit No. 34

6.    Business License —City of Anderson, South Carolina, Acct. No. 17798

7.    Business License —City of Greenville, South Carolina, License No. 2017-35590

8.    Business License —City of Spartanburg, South Carolina, License No. 00022753

9.    Business License —City of East Point, Georgia, Certif. No. 17-00011971




                                                                                 3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18       Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement    Page 131 of 229



                                 Section 4.7(a)

                         Exceptions to Marketable Title


                                      None.




                                                                              3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18       Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement    Page 132 of 229




                                 Section 4.7(b)

                                  Fixed Assets


                               See Attached Lists.




                                                                              3239221.5
               Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                                                                                Entered 12/21/18 12:13:35                                         Desc
                               Exhibit A - Purchase Agreement                                                                             Page 133 of 229
\                                e                                                                                                              3                               3                       3            ~T T y
                                                                                                                                                                                                                     o <-'c
                                                                                                                                                                                                                     ~ m - d
                                                                                                                                                                                                                         t n
                                                                                                                                                                                                                           3

3                   ,~           3    rw                     ~~                                                            m         .,         B             3                 ~        3                               A
                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                         'F '-'i
                                                              zc y- -i y o 0 0_ o~ y c o ~ S i n~$9 o g~ 2 3                                                                                                                x
                         `-_ -        o~ ~ o .2 .2 ~~ ii ii         z                                                          ~~               G        ~ ~             ~~ 3            ~     'm
     - m n~ g 6
                                                                a          N m x o m o m A m o
                                                                                                ~ G c z~ F_~ S                  ~                    ~
                                                                                                                                                                                                                         °
                                                                                                                                                                                                                         v n
                                                                                                                                                                       - 6 `-                                            t d
    9z
     '
     ~rbi~ N N~          p R          3 N ~`3 3 9 d$ d &
                                                       m S~ N A   p o o    m o o b   z N        zi"
                                                                                         -a o 3 c   m  a o v a~                p R              ~
                                                                                                                                                                                                 S a o
                                                                                                                                                                                                                         p N
                                                                                                                                                                                                                           m
    0 3 ~g                                                     00    m 4^`                                                                                                           r             ~ o
                                                                           a~`O N3'"o Ac~ N zz                -                 ~               •~       "             =88 $
               33            ~           3 3 3 33~ E 3~ ss ~o $a                                                      N ~                                                                                                o N
        ~Sy ~                                f n n               A N N "~ ~n 3 a   A A A 8n p p                                                                        x ? g                      $
                                                                                                                                                                                                                           0
        N ~Y oFr                             i3 3  ~ mR     "'                                                                                                         -                          A                        m
                                                                 iii cAi ~"?     a       n  ~~
     p ~~                                                             ~~          n                  fR o     ~                                                        o££                         8                 8
            oo                           -        l               a                              3 i~ m                                                                __ 'S
                                                                                                                                                                          =N
         v 3z a                          N                    _   2                                i&~


         ~ n                                                                                     z
                                                                                                 ya~~
                                                                                                    A~as                                                               £ R R
                                                                                                                                                                       a l e
                                                                                                 O s ~n                                                                                                                  `t

                                              G                                                               n b o~                       3                           ~                         33
                                              3                                                                 mN                         ~                                                     o~,d
                                              _                                                                   -                        q                                                     A
                                                                                                                  ~                                                                              h n
                                                                                                             ~ ~-~                         ~                                                     "a:
                                              S                                                                   ^~ d
                                              '
                                              "                                                                    ^ ~°                    3




                                                                                                              ~e      "'




         a r             Ong o           av           .-.-    a   r or r              .•     o   r     r.-                       v                       ~n                          N           wr           i~
    ~ s"~~~~             ~ti" s~~~s°~w~~~~~.s"."ss~~~~~s~~~o~"s~~~~~~~~                                                         ~                        ~~            ~Po."s        ~           °~
    $ 888$8              8~ ~        $~$g~~~>..~$$888888888$8888888oSS~°:8a                                                    $~"         e         8 Pm              8~8          gam'         ~w
                         3


                                                                                                                                                                                                              o ~'
    $ $$$$o              R       $   $$$$$$$$$o$o$$$$$o$$$$$$$$$$$o$$$~$$                                                            $    $$                  $   $$   $o$                   $$$88$


                                                                                                                                                                                                              d8
                                                                                                                                                                                                              A ~
    $ $$o$$              -       $   $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$                                                            $    $$                  $   $$   $$$               $   $$$$$$

                                                                                                                                                                                                              3 ~~
    8 ww8~~              ~           ~~w~w~oa°~°www~~wwmmw~ww~~8~~wwtiw~~m                                                                                    ~        8>~                                    '
                                                                                                                                                                                                              A
    8 00$00                          $~eW~~S°o>$w$000$$000008oa8880000~0~>~                                                                ~,                 $        8$8                       ow


                                                                                                                                                                                                              ~ 3
    8 PP8w                       ~   $~~o~Pw'"~w°~Pm"°9`°~Rww~o~~~~8ww~~NB' G°                                                                                m        ~'S                       ~P           ~a
                                     $ ~~~  ~$~o$oo~$$o$000$000$$0000>~°~~                                                           $     $                  &        $mo
                                                                                                                                                                                                              3g

                                                                                                                                                                                                              S

                                                                                                                                                                                                              a




                                                                                                                                                                                                              z~



    ~ ~~~~~                          ~~~~~~~w~w~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  ~                           ~~~                       ~~
                                                                                                                                                                                                              ~a



                                                                                                                                                                                                              2~

S
                                                                                                                   ~n ~n                   w                           r r r                     ~n w         3a
    8 88888                          gg$$$$$$$$o$$$$$800$0$$0$$$008$$8~8~                                                                  $                           $$8                       8~
                                                                                                                                                                                                              3m



    $ $$$$~                          $$$g$$$$$$$$$$8$$$$$~o$$$$$$$o$$$$g 8                                                                 g                           $$g                       Sg

                                                                                                                                                                                                              R~
                                                                                                                                                                                                              ~. P
    8 Pm8ww                          8w~go~a               P8~~8mw~~~S°G~                                                                                              8~'8                     °~
    $ 00800                          8Nm~m~m~~~m0000000000$088880000noemm                                                            $    $                   $        $$8                      ~N

      N $G                                                   ~                                                                                                                                               '~
    ~ 8~~ee                      S   ~~w~°'  "'eJ~~Eee~~~eSSSwoo~e~~g~W~~e                                                                                             dab                       ~~
                                                                                                                                           a                  $        $$$               $       8$           ~~
    $ oo$oo                          $w~$w$e~~Na0000000000$0~$$800000$0~o


     b b                             b" °~°       o R 1O           ~ b b b o 06 b o a b    b m       o b b b b o o b                 b    6                                              b         b          fr ~
    8 00goo                          g~~G'te~oNemS'0000000000gom'ggg000000wo8                                                              v                  ~        g~8                       ~v
                                                                                                                                                                                                              ~~
    $ $$000                          000~~~ $ 000''oo $ o $ ~ $$ 000~ $E 000 $$ ~~00000                                                   0                            000                       00



                                                                       w ~~S~CaN                                                          ffi                                                    &C
    $ ~~'$ww                         $~w~~wwew~,~~.,.,ww~.,ww°;$°;~oo$ww~~Noe~ti                                                          ..                           $moo                      o~
    Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                                                        Entered 12/21/18 12:13:35                                          Desc
                    Exhibit A - Purchase Agreement                                                     Page 134 of 229
                                                                                                                                                                                       ~T ~ N
                                                                                                                                                                                       o <=9
                                                       ~        E                                 ~        ~                                                                           ~ m- d
                                                       a        s                                                                                                                           a
                                                                                                                                                                                             S c
                                   'a                  ~                      tiN       ~,~w~,    ~                    88                                                                    n ~
3
                                                                     go~~~a~og~gg~                    ~~       k'm ~ d ~~; o 8s?Sx~~ n                                                        X
                '
                _           v &'                 ~g'a
                                               33'         d~                                                                                                                               o a
                                                                                                                                                    y~'S8S'S5'~'i
               f d             "                                     -  o N "'''na 99 ~                  x2 ~o -- Nooyo m soon0000000yo"'oi                                                 t d
                 ~, v       ~0 ~                  ?~                 03 ~             O OH            ~~                                                                                    O Nm
                                                                            a E~ 9 ~S                        ~ 3~~`                   O O O O 3 ~ O O o 00
                                                                                                                        Zo o~ m m ~ o
                             r                 aa'3 ~       ~        3 g            ~ o^v'S ~ ~                            a'a ,~-                                                           ~ N
               q ~ B                                                '                                  ~'               as
                                                                                                             3 ~O E 33 z'                             nsy iAn
                                                                                                                                                                                             ao
                                                                                      £ ~   6~P          '., ~.0-               „vOw__ _ _ 9
                                                                                                                     s3~~ As '~ '^ p~Sn     np~mp ~n 2  p n~.
                                                                                                                                                                                         ,~~, 3 'm
                                                                                    ~F                          ~a     ~~i            ~    ~03       88ccx~~         -     ~.          $ S_
                                                                                    3 d                         ~ 3    asm            m              0000~          ~o
                                                                                                                                            A~
                                                                                                                                                                    i m    '~
                                                                                    03                            '~                          y
                                                                                                                                           3 ~~                     N ~

                                                                                    f~                            -                        39 p

                                                                                    ~                                  3                        n                                           Z

                                               n g g                 n              ~      v
                                               F R ~                 3                     3
                                                                                          0                                                                                                  A

                                                                     ~                     3
                                                                                                                                                                                             n
                                                                     2
                                                                     _.                    m
                                                                                           ~




                                                                                                                                                                                20
                                               ~ ~~




                                                                                                                                            ~~ ti 0000~oo                       x~
           ~ w ~~            w                   ~g                                 P so9s~~           ~ ~~oe`~s~8~~                        ~~8~~~~~~8s o ~~,
         $ gy m' S          ~"~                e..ti       $ ~~      ~w„a~8$~888                      8N`°~8m~o~88888$$88888888$888$8'.
             ^3

                                                                                                                                                                                C ~

                        $          8    $ o o$ o$ o$                 $ $888o$88SS                        ~$$8S8$o8Bo88$$$S88$$$88SSo8$'~

                                                                                                                                                                                <g
                                                                                                                                                                                ~~
                                                                     88        8888$$$8                    88$$888$$$8888888888$$8$888$'.
               n
                                                                          w    ..                          ~                    ~..   ..    .,~            Non        Nw        ki
                                                                                                                                                                                ~ ~.
                                                                          w                                                           wL, ~~
                                                                       ~ ~~>p~~~ww                         W ~~  ~w88~8   w~wwwwww~~a ww
                                               o o n                 8 W~~~weN8oa                          ~BNN>~~o8808$$080000000008008,`

                                                                                                                                                r                               x~
                                                                       ~ ~$..eH~mGG
                                                                     w ~w   °°&~,~&'~~                     06~              m8~w8       m ~~~&'w
                                                                                                                                   m~m~ &
                                                                                                                                        '        o{.~
                                                 ~$                             X 800                                       oS800880800050~0008000

                                                                                                                                                                                ~F

                                                                     0 0000000000                              000000000000000000000000000~ a ~



                                                                     ~ ~~~~~~~~~~                              ~~~~~~~~~~~~~~~~~~~~~~~~~~~w~~




                                                                                                                                                      w ~ w ~~~~~~~C3~
                                               w N~                  ~~SJN~~~~~~                               ~~~~~~~`\~\~~~~~~
                                                 m m                 w w w w ~n m m m m w w                    m m

                                                                                                                                          ~3a
                                               g gg                  $o$$o$$$$o$                               8$$$~~~$S$$$$~$$$$$$$~$$~$$$s'

                                                                                                                                                                             3 m
                                                                                                                                                                           ~ q
                                               $ gg                  $$$$$$$$8$$                               $ $$$~$$$$$$$$$~~$$$$$$$8$o$$a
                                                                                                                                            2
                                                                                                                                            og
                                                                                                                                          ~~
                                                                       G ~~~ ~§§                            ~ ~~~ m88w8  ~~~
                                               ~,e$                  ~m$PN~$~$&$                           ~~w~N>aa$$o$$$o$000000000$oo$ ~g


                                                  w             ~     eW~P~P°~ww                            ~~G~m>B~Se~oo~~og~~~~ee~o~~ ~d
                                   ~           a>~                   ~~~>PeW&$>>                           a~oo~N$oS$o$$$08000000000$008 3

                                                                     o $a $.~              mm
                                                                                                           '
                                                                                                           B~ wbG          'r
                                                                                                                           "b               8       bbbbbbo           b6        ~~ ~
                                               w pm                  w ~owo»~°$$'m'm                           vomemmo$$ogggo8000000000goo8~
                                                                            P                                                                  o~
                                                                                                                               ooao~o~~o~~~~~3~~-
                                               0 00                  00$ 000$ 0000                             ~~~~oo $ ~000000'
                                                                                                                               $
                                                                                                                                                                                3

                                                                        ~ ~'oSo$wmm                               ""o ,`~SwPoow000mS~mmmmmwwwommo<
                                               a >..                 ~~~waw~a$~~                               ~ ~~m~w~$8W$$$~$~~~~99www$~~$


                                               ~~;                   w~~~oa               >\ww                 ww\~~~ww~~~~~~~~~~~~~mm~~~~w~
                                                 Tristate fixed assets - 2018
                                                 Fill in yellow cells; copy down formulas in green cells only /or assets added
                                                 FYE                             u73Uzoie
                                                 Month:                             i.00
Desc




                                                                                                                                               Date in      Book         Book Sec     Book Sal       CgiR-N;         r'..giMi~       eook    Book     Date in      This       This      Iriceptionm PYE                 Baok Curreirt       Yvr r~        Year mW        Book
                                                   Asset                        Property Description              Vendors)       Involce~s)    Service      Cost         179 Ezp       Value        ~.~+.nulxM     !~, ,,Nc Vaiue   Method   Vears    Service      FYE        FYE           Months      MthS exp CY     ~eprecia[ian      P-cum~y[n!     book Value     MOMhs      Monthly       ftetiremen[
                                                  Location: TRISTATE                                                                                                                                                                                                                                                                       ~ . . . ..
                                                      Group: Drywak WW/ll94/5764
                                                                 Ironerfrom Winchester                                                         6/01/12       63,190.J5         0.00         0.00       50,402.09       32,J88.665/L             J.0   91061.00   12/31/18   12/31/18         6].00           12.00            9,027.24       59,629.33       3,761.42     84.E          752.27    5/31/19
                                                                                                                                                                                            0.00        2,229.32        5,201.39 5/L            5.0   92552.00   12/31/18   1]/31/16         18.00           12.00            1,486.08        3,]15.20       3,77516      60.0          123.86
Entered 12/21/18 12:13:35




                                                                 BUTTERFLY TEMATIC PR Folder from 5eif regional                                ]/01/16        7,430.46         0.00                                                                                                                                                                                                               6/30/23
                                                  DRYWORK                                                                                                   ]0,621.13          0.00         0.00       52,631.21       17,990.00                                                                                             10,51332        63,144.53       7,676.68
                                                                                                                                                            ]0,621.21
                                                                                                                                                                  0.00
Page 135 of 229




                                                      Group: WPSHROOM
                                                        TRIS-300 Washroom                                                                      7/O3/1]        1,848.59         0.00         0.00         184.86          1,663.]3 5/L           5.0   4291].00   12/31]38   12/31/18          6.00           12.00               369.72         559.58       3,294.01     60.0           30.81    6/30/22
                                                        TRIS-101 Stainless Steal Floor Panels                                                  ]/Ol/1]        1,750.00         0.00         0.00         115.02          1,574.96 S/L           5.0   41917.00   12/31/18   12/31/18          6.00           12.00               350.06         525.06       1,224.96     60.0           29.17    6/30/22
                                                        TRIS-102 Milnor Washer                                                                 ]/O1/ll        5,06812          O.DO         0.00         506B2           4,561.40 S/L           5.0   @91].00    12/31/18   72]31/38          6.00           12.00             1,013.66       1,520.46       3,54].]6     60.0           8n.47    6/30/22
                                                                                                                                                                               0.00         0.00
                                                                                                                                                                               0.00         0.00
                                                                                                                                                                               o.00         o.00
                                                                                                                                                                               o.00         o.00
                                                  WASHROOM                                                                                                    8,666.81         0.00         0.00          866.70         7,800.11                                                                                              1,733.40       2,600.10       6,066.]3
                                                                                                                                                             8,666.81
                                                                                                                                                  TriSGt¢    ]9,288.02         0.00          0.00      53,497.91        25,790.11                                                                                            12,246.]2       65,]44.63      13.543.39
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                              GL Balance    19,268.02
                                                 11/1/2018 3:d5 PM                                                                                                                                                                                                           C:\Users\MarcY~Dropbox\tlarus_SSG files\Crown Diligence\K financial\K6 2018 Alliance Fixed asset antl depreciation schedule Trista[e
            Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                                                     Entered 12/21/18 12:13:35                        Desc
                            Exhibit A - Purchase Agreement                                                  Page 136 of 229
                                                                                                                                                             s          3f~n m
                                             3                                                                                                                           m5
 oe~~P~eww~a                             N ~g~                                                                                                                             ~ o
                               ~~
                                                                                                                                                                           F
                                                                                                                                                                           n =~
                                                                                                                                                                           u y
                                                           S ~'~zg"~mSSSS~cd '"`"=ccSc           xS~ms~~8~=C2___      _SSSSSSSSSSS88~
                           N3v a Pa                        ~d    Qz ~~~~ ~z                                                                                                    N
 z Z Z~ A~ 2 P ~                                                             "z s;~3a88 ^o S'c n ~~~~~c ~kz~ 6t °t s?~="~~u~~~~~~~~~~
                           g ~P=fa      'z a xo   ?R                                                                                                                       O
                                                             ~ ~_- 3    N E 3~~ j ci = t<= v S S S A s u s s   E~~' ~~
 3 3 c s P m;3 0~ ~~
                  "        3   aG oE                         a a. R      'x                ~foo o~~          =
                                                                                                             09      =F     aaawga                                             v
                                                                                                                                                                               w
      a 30
                                                                                                     mo m     d Zz     3    SSR 9SR
 if          30     ~                                          S                   3>TiC3       if      ~                   233 33
                                            a                  E                   $ 3 N? a F   ~9   ~~                _    3 3 d 3;3
        9    2
                                                                                            ~    9    c~             9 ~°   88g 8 Q8
                                                               a                            N    y    G                v,       6




                                                               5.

                                                               3

                                                                                                                                                                           n
                            33333                          "_         _
                                                                              Vi     a"
                            '
                            9  G G' R
                            G Q'
                               9
                                                           ~a v nga v         a o v_ v a
                                                           zG GP3 G R         FQQRP
                                                           3




                               ~ 8$ ~                       wo~      ~~       Sg~~~




SSW&$SSm~&                 m ~~ g a~w3~s                   ~ ~~ow     \ww \~wN      ~~,. ..0000000000000~33~~~33~~~$~8~w~8&mgm~~




                                                              P s~~~~e~ss~~~ s~o~go.saoo~ogw~s~~o~~~os~oo"s~oosoP~~d~
 a ss`sssaas~              ~ o~"WOJ&~s                     P sssosssasssa~esassaassssssasssssassssssssassssssssss~~w


$$$$$$$$$$              $ $$$$$$$$$$$$                 $   $ $$$$$$$$$$S$$$$$$$$$$$$$$$$$$$$$$$$$S$$$$$$$$$$$$$$$$$$



8 888$$$$$$             $ $$$$$$$$$$$$                 $   $ $$888$$$$$$$888588$$$$$$$$$S88S$$$$$$88888$$$$$$$$8$888



                                                           o ~~°ws~~e~~~e    ~g$s~~kaa~oPwsw~s~~~ao>~ea~eo~~~~~gNo~~~m
                                    ~ s~,ww~               e ~~~a~,~sas~swo~Pe~~ss~~oo~s~ssossW~s~~,~~s~~sssss~s~~ss~~
                                                                                                                                                                 ~~
                                                           ~ ~~~~~o                                                                                              5~
$ $$$$$$$$$                                                         m &a8$$$$$$$$$$$$$$$$$$$$$$$$5888$$$$$$$$$$$$$$$$$$$$

                                                                                                                                                                 ~~

                                                                                                                                                                 "a P


                                                           ~,"~;a ~~~~~5    o~~egwso ossogsgg~ggosg8~~~~w~aw~~~~~~ee~
s sssssssss                a sss'`sssssa                        s s's'sssaaasassssassssssssssssssssss'as'sssasssssssssss

w w~SWW~WWw                w aaw~w~eW~                                                          ,
                                                                 S w~~ww~w5W55Ww5ww;w~~;;W;~~wFw; ;55w~555w5WW555wwWW                                            ma
~~mmmmwmmm                                                 W wm~~~~w~~~Wm~WmW~~~~~~~~~~~w~~~~~m~wm~W~~~wwm~mmmmWWmWW

                           P m^                            P PP~Paa~wP~~P ^~~~~^Pa~PaA~aaa~~~a~~~~~~s~~~~~~~~~~~~~mN                                             ~~
$ $$$$$$$$$                $ $$$$$$$$$                     $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$8$$$$$$$$$$$$$$


                                                              "~ew9PamPaa~.aa~.aa~aP~~~6aa~~6~aPP~~.mPPPPa~$~$~~~~~~~~~                                          3~
                            ~ ~~PPPaPP
                           8888888888                      8 8$$$8$8$$88$$8$$$$$88888$$888888$8888888888888888888888                                             3g

                                                                                                                                                                 a m

$ $$$$$$$$$                $ $$$$$$$$$                     $ $$$$$$$$$$$8888$8$$$$$$$$$$$$$$$$88888$8$$$$$$$$$$$$$$$                                             C
                                                                                                                                                                 2
                                                                                                                                                                 A~
                                                                                                                                                                 gp
                           > SoPoeoopo                     ~ PP~soe o .                                                                                          s~
                           ~,eN~$8$$8$                       "~w&X88$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$

                                                                                                                                                                 AC
                           o ~~~~~~~                                m ~~~e~e~e             °$s~~~~g~€~~s~oo~~               >~e.sNw~=E~~~g~~~~~~                 `a
                           & ~~av$awW~                     e aXffi~oS&PBa~w~wa8~~$No$o~P8~$8S$$~&$~'~°~'~8~~$$8$~g $~L°~$<$~


                                                           A"'v ..808 b  'x O~meS'~~'b o'
                                                                                        "
                                                                                        N'"
                                                                                          V ~~$$ ob  d+o `" b '" 6                                               fr o
$ $$$$$$$$$                ~ 8°Reo~N83                     ~ mmowoo$$88GwN~~~~~$N~SgS>$~$8o$$N&$WNww$~$88$$&~$&~$~w~

0 000000000               0000000000                       o$                                                 0
                                                                                                              $ 000'
                                                               'o aoo'o~00000000ccceocooaoocc000a000aoe'o~caoc'
                                                            'o $                                                   $
                                                                                                                   o aa0000 $
                                                                                                                            oo                                   z~

                              `"~9~Nwo                     ~~~~..eWge~~~wdwo P ~e~oo8wXwoP»eBGti~~tiGgmW~mw~~vv$ewGo"'"P~
$$$$$$$$$w                 ~N3~ao~wwS                      Nwwww~we..e..W~~~°o wG6oWW9'W°98w68~86G°.°~S,°GwNww8685Gw8W~$~«o


$ a m m w$ a w$ G         e .~ m   ~~ m v v v               ooem      e m m m~ m N`~~ p~ a~ w w~~~~ w w~ u, ~~       v G G G N~ ~, u~   W   wwWwGGww w W W
                                                       East Point £xed assets - 2018
                                                       Flllln yellow cells;copy tlown /ortnu/as In gmen cells only /orasse(s added
                                                       FYE:                                       ~z/ii/zaia
                                                       Month:                                        ioo
Desc




                                                                                                                                                                          Date in    Book          Book Sec     Bode Al -- -                rKi.miy ..    Book    Book      Date in     This       ThIs      Inception to PTE              Back Nrtent R  r                r. end    Book
                                                        Asset      PROIp                           propeM ~aro~ian                             ve~eort:~      Inwke(s)    Servke     Cost          I>9 ~p        Value     /4~?~~W          ,
                                                                                                                                                                                                                                            .d Val w     MefhoE   Years     Service     FYE         FYE          MOMhs        MMz exp CY   DepreclaHon ,Y~vmvuN          e~.Value MOMhs                    Aetiremem
                                                                                                                                                                                                                                                                                                                                                                                                 MonthN
                                                           11              F&fLSED EhST VOIM                                                                              5/OS/OB       1,155.03         0.00         O.OD    3,355.40             O.W S/l           5.0   395]3.00   13/31/18   43965.00         60.00         0.00               0.00     a,a.~a.00           0.~3   fi0.0         19.25  5/OC/13
                                                           13              COMPUTER EQUIPMENi~FULLY OEP                                                                   5/05/08           0.00         0.00         0.00                        0.00               0.0   395J3.00   1]/31/18   43G65.00          0.00         0.00                                            0.00    0.0           0.00 5/OS/OB
                                                           13              COMPUTER EQUIPMENT-FULLY DEP                                                                   5/OS/OB           0.00         0.00         0.00                        0.00               0.0   395]3.00   12/31/18   43465.00          0.00         0.00                                            0.00    0.0           0.00 5/OS/OB
                                                           14              FURNITURE/FI%TURES-FULLY DEP                                                                   5/OS/OB           0.00         0.00         0.00                        0.00               0.0   395]3.00   12/3]/18   <3465.00          0.00         0.00                                            0.00    0.0           0.00 5/OS/OB
                                                           9C              TIME CLOCKS                                                                                   9/30/09         483.92          000          0.00      483.91            0.005/l            3.0   40086.00   12/3]/18   43065.00         36.00         0.00               O.W         483.91           0.03   36.0          13.9E  9/29/32
                                                          29)              Time Ciak                                                                                     11/31/11      2,800.00          x.00         0.00    1,866.)1            0.005/L            3.0   00908.00   13/3]/18   03465.00         36.00         0.00               0.00      1,866.]2         933.18   36.0          7).18 13/30/36
Entered 12/21/18 12:13:35




                                                                 EPT-133   Employee lockers                                                                               i/O]/15      2,886.50          000          0.00    3,886.48             O.00 S/L          3.0   E2005.00   12/3]/18   43065.00         36.00         0.00               0.0~      2,886.08           0.02   3fi.0         80.18 ll131/1)
                                                                           Empioyre tockerz-lranzferred from Wnches[er                                                    3/01/]5      1,509.25          X00          0.00    1,509.12            0.005/L            3.0   42005.00   11/3]/18   43465.00         36.00         0.00               OW        1,509.13           0.13   36.0          <1.92 Il/31/iJ
                                                                                                                                                                                                         O.W          0.00
                                                                                                                                                                                                         0.00         0.00
                                                                                                                                                                                                         0.00         0.00
                                                                                                                                                                                                         O.W          0.00
                                                                                                                                                                                                         0.0p         0.00
                                                                                                                                                                                                         O.W          O.W
                                                                                                                                                                                                         O.W          0.00
                                                            FF                                                                                                                        11.B18.E8          O.OD        0.00     30,885.18            0.00
Page 137 of 229




                                                                                                                                                                                                                                                                                                                                                   0.00     10,885.18         933.50
                                                                           Balance per G/l                                                                                            11,B18.fi8
                                                                           Variance                                                                                                          _
                                                       lEA5EH01D IMPROVEMEHR Prsts: 1530
                                                           15           IHI~E0.Si POINT                                                                                   5/OS/OB    209,116.36          0.00        0.00    302,SSSA6          6,9)0.)85/L         10.0   395]3.00   11/31/38   0336500         316.00        6.00             6,9]0.88   209,11636            -0.10   320.0      I.lC3.)2     5/03/18
                                                           16           PAVINGS~EAST POIM                                                                                 5/OS/O8      a,12a.3b          0.00        x.00      3,986.91           13).0L 5/L        10.0   39513.00   13/31/18   4346500         116.00        0.00               137.48     <,12d.a0           -0.00   120.0         34.3)     5/03/38
                                                            1]             W~                                                                                             5/OS/OB     36,Bia.Op          0.00        0.00     35,56663          1,13>.3)5/l         10.0   395)3.00   1]/31/18   4306500         116.00        4.00             1,33).13    36.8]3.75            0.15   320.0        306.)8     5/03/i8
                                                            ig             w~                                                                                             5/OS/OB      6,)10.33          O.W         0.00      6,486.69           ]33.605/L         10.0   395]3.00   11/31/18   43465.00        336.00         <.00              123.68     6,710.37           ~O.OG   320.0         55.92     5/03/38
                                                            95             fiOILEfl SUPPLY COMPgNY                                                                       )/20/09       8,354.30          0.00        0.00      ),031.60         3,332.]0 S/L        10.0   40D14.00   12/31/38   G3465.00        103.00        11.00              835.04     ),86).04         ES).26    110.0         69.62     J/18/i9
                                                            96             STOMGE BU~LDiNG                                                                                9/30/P]      3,912.00          0.00        O.OD      ],911.98             0.005/l          3.0   tOD86.00   13/31/38   0396500         36.W          000                  0.00     3,91198             x.02    36.0         53.11     9/19/32
                                                            9J             SECUAItt G1MERA$                                                                              ]~/SO/09      6,333.62          0.00        0.00      5,383.56             0.005/L          5.0   GO1W.00    12/33/38   43365.0)        60.00          0.00                0.00     5,383.56         950.06     60.0        1O5.5fi   10/13/16
                                                            98             OVERHEAD DOOR                                                                                 10/30/09      3,686.00          0.00        O.CD      1,605.00             0.005/t          5.0   00336.00   12/33/18   03065.00        60.40          0.00                0.00     3,005.00        ]S1.W       60.0         ]8.10    10/29/]6
                                                            99             TOTFt INDUSTPIALSUPPLY DRVfR                                                                  ]0/31/09     3<,9)5.00          0.00        O.W      12,4)9.09             0.005/l          5.0   0031].00   13/31/18   G3065.00        60.W           0.00                0.00    1lG>9.03        1,495.91     60.0       ]<9.58     10/30/34
                                                           100             STOMGE BUILDING                                                                               ]1/03/09      1,913.00          0.00        O.CO      1,965.09             0.005/L          3.0   E0130.00   12/3U18    <3a65.00         36.00        000                  0.00     I,%5.09          -53.09     36.0         53.11    81/03/12
                                                           1>0             Cmveyor(o~Oryers                                                                              )/21/30       8,000.00          0.00        0.00      ],333.21             0.005/l          5.0   G0380.OD   1]/33/16   <3C65.00        60.00         0.00                 0.00     7,333.33         666.)9     60.0        ]33.33     7/30/]5
                                                           183             weigh $tales                                                                                  )/21/30       ],580.00          0.00        0.0~      2,365.00             0.005/l          5.0   40380.OD   UJ31/IB    43465.00        fi0.00        0.00                 0.00     3,365.00         215.00     60.0         43.00    ]/30/]5
                                                                 EPT-109   Break Room p/C Unit                                     0..S.AMrewS             46)33)         J/16/14      9,590.00          0.00        0.00      >,6>l.&1         ],919.365/L          5.0   41836.00   11/33/18   43465.0)        01.00         12.00            3,93).96     9,539.80            0.10    60.0        359.83    ]/15/19
                                                                 EPT~130   Hoof PeDain.Soil, CM1emiwl5[arage,Clean linen Storage   0&L General ConVattor   ]g             8/Ofi/30     8,300.00          0.00        O.CO      6,639.80         ],660.165/L          5.0   0185).00   12/31/18   E3065.pJ        4100          12.00            1,659.%      8,199.80            0.10    60.0        338.33     B/08)19
                                                                 EDT-125   New O(fcc AC unit                                                                              6/01/35      ),881).23         0.00        0.00      4,0)1.50         3,808.695/L          5.0   41156.00   Sy33/38    43465.00         31.00        11.00            1,5)6.08     5,60).62       2133.61      60.0        331.30     5/30/20
                                                                 Eli-id)   Dak Plates for Trucks
                Exhibit A - Purchase Agreement




                                                                                                                                                                         11/01/15
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                                                                       1,313.18          0.00        0.00        569.1E           J64.005/L          5.0   42309.00   11/3]/18   43465.00        16.00         1].00              362fi8       831.82         481.36     EO.O         11.89    10/30/30
                                                                 EVT-339   0.ober[zon Homelmproremen~                                                                    4(01/16       5,850.00          0.00        0.00      I,OE>.50         3,802.505/L          5.0   4/1/2016   13/31/18   G3465.00         21.00        ]].W             1,3)0.00     3,11).50       1,632.50     60.0         9].50     3/31/23
                                                                 EPT~162   0a(hroom Remodel                                                                              )/01/36       5,)40.00          0.00        0.00      ],)11.06         6,01).905/L          5.0   J/1/3016   13/31/88   03465.00        18.00         ]3.00            3,348.00     2,8]0.10       3,869.90     60.0         95.6)    6/30/11
                                                                 EPT-360   RooF Repairs                                                                                  ]/01/36       6,20.00           0.00        0.00      1,659.9G         6,300.065/t          5.0   J/1/2036   13/31/38   43465.00        18.00         12.W             3.139.96     3,099.90       3,300.10     60.0        303.33    6/30/]3
                                                                 EVT~159   Nea[Pump AC Unit                                                                               >(Ol/16      6,030.00          0.00        O.OD      1,609.00         6,321.OD 5/L         5.0   )/1/2016   12/31/38   03Gfi5.00       ]8.00         12.00            3,206.00     3,015.00       3,035.00     60.0        100.50    6/30/21
                                                                                                                                                                                                                     0.00
                                                                                                                                                                                                                     O.OD
                                                            IMVROVEMENIS                                                                                                             353,433.28          0.00        0.00    314,481.11        30,390.48                                                                                       19,5]5.18   334.056.39      19,3)4.89
                                                                           Balance peg G/L                                                                                           353,433.18
                                                                           Variance
                                                        MgCNINEftY & EQUIFMEM Au[s: 1500/3]00
                                                           11            PLANT EQ111PMENT~EAST P0INT                                                                     5/OS/OB     ]]3,335.)5          000         0.00    1]6,085.53        9],150.225/1         35.0   395]3.00   13/31/18   93065.00        1]6.00         12.00          18,215.]6   193,301.39      )8,934.96    189.0      ],51).98     5/02/Li
                                                           32             FIANT EQUiPMEM/USEOFAST POINT                                                                  5/OS/O8       ],079.32          0.00        O.OJ        695.82           383.50 S/l        35.0   395]3.00   12/31/18   E3C65.00        316.W          32.00              ]2.00       )fi].82        313.SD    180.0          6.00     5/01/23
                                                           24            fASf TflACK                                                                                     5/OS/OB      11,43).83          0.00        0.00      7,3>0.>9         a,06).045/l         35.0   395)3.00   12/3]/18   43065.00        116.00         12.00             ]63.98     8,133.2)       3,304.56    180.0         63.80     5/03/]3
                                                           25            LINT FItTEft                                                                                    5/OS/OB       9,811.30          0.00        0.00      6,319.07         3,493.235/L         35.0   395]3.00   12/31/18   43<65.00        116.00         12.00             654.)2     6.983.)9       2,83].51    180.0         54.Sfi    5/02/23
                                                           26            IAUNOftv M&f                                                                                    5/OS/OB      10,998.29          000         0.00      ),08).67         3,910.625/L         35.0   395]3.00   13/33/18   03065.00        316.00         1].OJ             )33.20     1,820.8)       3,1]).42    380.0         61.10     5/0]/13
                                                           2]            (AUnDav M&f                                                                                     5/05/08      1],833.15          0.00        0.00     88,093.26         6.3G0.895/L         35.0   395)3.00   12/31/18   43465.00        116.00         12.00           3,]88.80    12,681.10       5,]51.05    180.0         99.0)     5/03/23
                                                           28            1AUNDRY M&E                                                                                     5/OS/OB      33,)38.48          0.00        0.00     31,098.11        11,6W.3]5/L          35.0   395)3.00   li/3l/18   43465.00        316.00         12.00           1,]81.56    33,280.6)       9,45].81    180.0        ]81.88    8/02/23
                                                           30            6AiCH WASHER                                                                                    5/OS/OB      E),3p6.)0          000         0.00     30,013.13        16,>80.5>5/L         35.0   395)3.00   12/3]/18   03465.00        31600          12.00           3.]<J.12    33,569.25      33,63).45    180.0        162.16     5/01/23
                                                           31             WINK DAVIS~lISED                                                                               5/OS/O8      91,541.]3          X00         0.00     58,993.90        33,54].835/L         35.0   39573.00   12/3]/18   93065.00        116.00         12.00           6,]02.80    65,036.)4      16,644.99    180.0        508.8)     5/01/13
                                                           33            CARTS-FULLY DEP                                                                                 5/05/08           0.00          0.00        0.00                           O.W              0.0   395]3.W    32/3]/18   43465.00         0.00          0.00                                             O.W       0.0         0.00     5/OS/OB
                                                           33             IAurvDRV Equ~PmENT                                                                             5/OS/OB      36.1E0.61          0.00        0.00     23,343.50        12.8]8.335/l         35.0   395)3.W    11/31/18   43465.00        116.00         13.00           1,4]4.]6    25,]5).36      30,463.36    180.0        301.33     5/03/23
                                                           35             EQi11PMENT                                                                                     5/OS/OB     SW,T/8.56           000         0.00    3fi1,390.89      399}8).6)8/l          15.0   395)3.00   12/31/18   03465.00        1]6.00         12.00          3),385.E8   398,))6.3)     162,001.39    ]80.0      3,535.40     5/01/23
                                                           56             PV fliGGIN6                                                                                    5/2J/O8      ]2,830.00          000         0.00      8,19).09         E,632.915/l         15.0   39595.00   IZ/33/18   C3<65.00        115.00         1].00             855.36     9,052.65       3,71).55    180.0         X1.28     5/24/23
                                                           5)            CHICAGO EDGE FOLDER                                                                             6/11/08      33,6)5.00          0.00        0.00     21,514.34        12,160.66 S/L        15.0   39610.00   12/33/18   93465.00        515.00         12.00           3,344.96    33,)59.30       9,915.)0    180.0        38).08    6/08/33
                                                           68             33016 Milnor Press                                                                             ]/19/09       5,301.00          0.00        0.00      5,305.00             O.00 S/L         2.0   39833.00   12/33/18   03065.00        14.00          0.00                0.00     5,241.00            0.00    34.0        338.38     1/39/31
                                                           69             Ironer Cart 0009>fVH                                                                           2/03/09       1,6E1.J0          000         0.00      1,60).)0             O.00 S/L         2.0   3984).00   IZ/3]/18   43065.00        14.00          0.00                0.00     1,60).)0            0.00    24.0         6865      3/03/11
                                                           70            ]3016 Milnor Press                                                                              2/10/09       3,932.86          000         0.00      3,911.86             0.005/L          i.0   3985<.00   33/3]/18   43465.00        Z00p           0.00                0.00     3,921.86            0.00    24.0        163A5      3/30/1]
                                                            ~~             A~~                                                                                           3/13/09       1,386.8]          0.00        O.OJ      3,398.]3             0.005/L          3.0   39885.00   33/31/18   93365.00        36.00          0.00                0.00     2,308.)2         138.15     36.0         69.08     3/32/12
                                                            n                       'A                                                                                   3/13/09       1,336.])          000         0.00      1,3]3.90             O.ro S/~         3.0   39885.W    12/31/18   93465.00        36.OD          0.00                0.00     3.313.90          -3].13    36.0         3).13     3/33/]2
                                                            73             Hh~ol Conveyor                                                                                3/30/09       1,500.00          0.00        0.00      ),135.00             0.005/L          5.0   39892.00   31/3]/18   43L65.00        fiO.W          0.00                0.00     ),135.DJ         3]5.00     60.0        135.W      3/19/16
                                                            ~4             P"^~e~                                                                                        5/EO/09       ],OSD.Op          0.00        000       ],049.9)             0.003/L          3.0   39953.00   13/31/18   a3e65.00        36.00          0.00                000      3,OG9.9)            0.03    36A          5690      5/19/]1
                                                            75             filter                                                                                        5/21/09      30,000.00          0.00        0.00      9,366.)5             0.005/L          5.0   39950.00   12/3]/18   43665.00        60.00          0.00                0.0~     9,166.)5         833.15     fi0.0
                                                            J6             1G 10'Sciswflik                                                                                                                                                                                                                                                                                                           166.6]     5/30/10
                                                                                                                                                                         6/15/09       2,996.00          0.00        0.00      Z,>g6.25             0.005/L          5.0   399)9.40   13/31/18   4346500         60.W           0.00                O.W      2,)46.15         249.)5     60.0         49.93    6/14(10
                                                            1]             ComD~essor (or Easl Point Plan[                                                               10/19/09     23,629.)6          0.00        0.00     ]),664.46         3,965.305/L         10.0   00115.00   ]2/3]/18   03G6500         98.00          52.00           2,163.W     19,81).06
                                                            ]8             So(vol Protluniviry Epuipmen[                                                                                                                                                                                                                                                                    1,802.30    120.0        180.15    ]0/2)/19
                                                                                                                                                                         10/33/09     60,6)1.)5          0.00        0.00     60,6]2.49             0.005/L          7.0   apll).W    12/3/16    43065.00        Sa.Op
                                                           112                                                                                                                                                                                                                                                                  0.00                0.00    60,6)3A9             0.26    86.0        )32.39    10/29/16
                                                                           BflAUN WASHER                                                                                 13/31/09      ),518.85          0.00        0.00      ),538.88             0.00 5/L         3.0   901]8.00   1]/3]/18   03E65.00        36.00          0.00                0.00     ),518.88
                                                           113             BflAUN WASHER                                                                                                                                                                                                                                                                                        -0.03    36.0        208.86    IJJ30/12
                                                                                                                                                                         11/31/09      ),679.32          0.00        0.00      ],6)9.36             0.005/L          3.0   901)8.00   11/31/18   0306500         36.W           0.00                O.Op     ],6)9.26            O.W     36.0        213.33    12/30/32
                                                           1>3             3010 USED DRYERS                                                                               2/18/]0     86,9]6.00          0.00        0.00     )1,48000              0.005/L          5.0   C011J.W    12/31/18   43065.00        GO.Cp          0.00                0.00
                                                           1)0             Conveyor                                                                                                                                                                                                                                                                         73,480.00      14,496.00     60.0      ],049.60     3/3]/15
                                                                                                                                                                         3/15/10       6,SM.00           0.00        0.00      4,358.43             0.00 S/l         5.0   40251.00   13/31/18   43365.00
                                                           1)5             Minor Repaid                                                                                                                                                                                                                          fiO.Op         O.Op                O.CO     4,158.43         831.57     fi0.0        83.1]     3/i</]5
                                                                                                                                                                         3/25/]0       6,5)3A0           O.Op        0.00       3,866.60            0.005/L          5.0   <0263.00   13/3]/18   4306500
                                                           3)6             TaleEO Swle                                                                                                                                                                                                                           60.00          0.00                ~.W      3,886.64         685.)6     60.0         )631      3/2E/15
                                                                                                                                                                         3/25/30       6,550.00          0.00        000        3,06].00            0.005/l          5.0   40262.00   13/31/18   <3<65.00
                                                           tT/             Dryer install                                                                                                                                                                                                                         60.00          0.00                0.00     3,86].40         68I.6~     60.0         75.83     3/1E/]5
                                                                                                                                                                         3/31/10       ~,SOp.Op          0.00        x.00      6,3]5.00             0.005/L          5.0   40268.00   13/31/18
                                                           3)8             Ci 886                                                                                                                                                                                                                43465.00        60.OD          0.00                O.OD     6.3]5.00       1,1]8.00     60.0        115.00     3/30/15
                                                                                                                                                                         a/12/10       8,432.23          0.00        0.00      ),350.]8             0.005/l          5.0   40280.00   12/3]/18   43465.00
                                                           1)9             TFermopatcli Corporation                                                                                                                                                                                                              60.00          0.00                0.00     ),150.38       1.261.95     60.0        340.10    a/il/15
                                                                                                                                                                         B/01/]0       1,53G.00          0.00        0.00       2,312.)3            0.005/L          5.0   E0391.00   11/31/18   0346500
                                                           182             1)518 GAS D0.YE0.                                                                                                                                                                                                                     60.00          0.00                0.00     2,322.71         211.29     60.0         62.23    ]/31/15
                                                                                                                                                                         6/21/11       1}0690            0.00        0.00         8)5.39          0)].)35/l         10.0   EO]15.00   11/31/18   03365.00        )8.00
                                                           383             1'1818 GA500.YER                                                                                                                                                                                                                                     32.00             ]3<.6C     1,009.83         33J.OJ    1100          11.]2    6/38/21
                                                                                                                                                                         6/21/11       ],803.12          0.00        0.00      1,398.08           6E5.045/L         10.0   40)15.00   12/31/16
                                                           ]84             SHEET FEE~E0.                                                                                                                                                                                                         43665.00        >8.W           12.00             184.32     1,383.E0         <60.J3    110.0         15.36    6/18/21
                                                                                                                                                                         6/31/11      ]B4OJCA6           0.00        0.00     11,148.36         6,326.305/L         30.0   <OJ15.W    11/31/18   43465.00
                                                           185             CenWryironer                                                                                                                                                                                                                          '18.00         32.00           ],g0].4E    33,888.80       <,518.66    130.0        350.63    6/38/21
                                                                                                                                                                         6/21/11      3],9]5.39          0.00        0.00     IJ,Z&1.13         ),691.265/L         10.0   <0)15.OD   11/31/18   0306500
                                                           186             Chicago Folder w/Sacker Skyline                                                                                                                                                                                                       ~B.W           31.00           ],19].56    16,481.69       5,493.)0    130.0        383.13     fi/38/21
                                                                                                                                                                         6/21/11       ],~9>.82          0.00        0.00      5,068.45         2,]i9.315/L         ]0.0   40]15.W    ]2/31/18
                                                                           5/S Reuse Tankw/Slant bottom                                                                                                                                                                                          43465.00        '18.00         12.00             >]9.)6     8.848.21       ],9E9.61    120.0         64.98    6/38/21
                                                                                                                                     Tri~SG[e Technical    0333113        5/01/12      5,]59.)5          0.00        0.00      5,)fi0.00            0.005/L          5.0   43030.0)   32/3]/18   43<65.00        60.00          0.00                0.00     5,)fi0.00          -0.25    60.0         %.00     </30/1]
                                                                           Miinor eq~ipmen[                                          Tri-nape ietlini~al   0138512-E     11/01/12    220,5]0.48          0.00        0.00     )5,9)4.38       144,596.305/L         15.0   0111E.00   13/31/18   43465.00        62.OD
                                                                           Meflter Toletlo wales                                                                                                                                                                                                                                11.00          14.)04.68    90,6)8.86     129,691.62    380.0      3.]35.39    10/29/2)
                                                                                                                                     8&Olndus~rial         9861546       )/01/12       3,1)4.49          0.00        0.00       3,3)4.fi0           0.005/L          5.0   91091.00   11/3]/18   03065.00        fi0.00         0.00                0.00     3,IJE.60           -0.il
                                                                           Gi~agp Air Xt                                             JP Epuipmnet          3951                                                                                                                                                                                                                          60.0         52.91    6/30/1)
                                                                                                                                                                         9/01/11      ]0,000.00          0.00        000      ]0,000.10             0.005/L          5.0   61153.00   12/31/18   4306500         60.00          0.00                0.00    50,000.]0           -0.20    60.0        366.6]    8/31/1)
                                                                           Boiler Supply                                             Boiler 5u00W                        11101/12      6.113.90          0.00        0.00      5,910.10             0.005/L          5.0   a1110.W    11/31/18   A3G65.00        fiO.Op         0.00                O.OD     5.910.20         203.]0     60.0       101.90     30/31/1)
                                                 11/3/2018 3:43 Pm
                                                                                                                                                                                                                                                                                                   C:\Users\MarcY~OroD~x\Glarus SSG Files\Crown Diligence\I(finanna~K62018 Alliance Fixtd asu[antl Eepreonion uhedule East Point
                                                       East Poin[ fixed assets - 2018
                                                       F107n yellow cells;copy down fomlulas A green cells Doty fol assets atltletl
                                                       Fve:                                         ~~,no,a
                                                       Month:                                          ~m
Desc




                                                                                                                                                                                          Oate in       nook           Book Sec     Soak Al     i.c...,n          ~sd~n~~        Book    Book       DrteM        ThK         This    IrrcepHon to PYE           Book Curtmc ~   ~,..rN               ..   ~nG     Book
                                                        Arse[   D0.01p                               pra0erty Desoiptlon                           Vmdo~(i~             Invaire~z~        Srnirs        Cosa           1)9 Exp       Value         ~r~~W fa      •-pk Yalue     Method   Years      Service       FYE         FYE        Mwrths       Mthi vpCY DeOm~ation ,~.wr wnrC                     Value Mrorrths    Mm[My      Rnirement
                                                                          Ctii<ago Mini W/SW<ter                                      ~P EquiOmnel                  2516                 2/01/13          13,500.00          O.W          0.00 An~J ,,,03.L:        15,)SL.y:: S/L         15.0    3/S/2013    12/31/!8   11/31/2018      59.00          32.00       1.566.71     9,269.)6           ~~te,330.[0
                                                                                                                                                                                                                                                                                                                                                                                                        1          180.0       130.56 1/]9/28
                                                                          3HP4POOP 108/340/60+230/380                                  Tristate Technical           014568)-1             3/01/13          1,060.9)          0.00         D.00      1,039.50            35.4)5/L            5.0    3/3/2013    11/31Ji8   11/31/1018      58.00          3.00           35.50     ],065.00                  -0.03   fi0.0       1].JS 2/26/38
                                                                         Tag ryrtem/UHF InEustial Portal/UHF Antenna                   Positek RFID,LP              IE520                3/01/13          19,338.00          0.00         0.00      6,224.56        13,033.E4 5/L          15.0    3/1/2013    13/31/!8   31/31/2018      58.00          12.00       1,38).89     ],513.40             3],805.60 ]80.0         10).32 1/26/38
                                                                          FreigM1~                                                     Positpk  RLID, IP                                 3(0]/13           1,36].77          0.00         0.00      1,335.56            C].235/L            5.0    3/I/2~13    ]2/31/!9   1]/31/]018      58.00          3.00           G1.16     ],2fi].00                 0.03    60.0        11.13 2/38/18
                                                                          3 Hv ]p8~230/a6pV6pHZOce~                                    Tri~slate Technical          0150606              3/01/13           1,306.55          0.00         0.00      1,1fi6.38           40.175/L            5.0    3/1/2013    ]2/31/18   13/31/3018      58.00          3.Op           40.23     ],206.60                  -0.OS   60.0        20.11 2/28/18
                                                                          i~PtY WNiTE GRID BELT C/t 2X146                              Tngue,Brown&Co.              154094               3/0]/13             86).18          0.00         0.00        838.10            29.085/L            5.0    3/1/2013    ]2/31/18   11/31/2018      58.00          1.00           38.90       86!.00                   0.18   60.0        1<.45 2/38/18
Entered 12/21/18 12:13:35




                                                                          Service Ubot/Milnor 5B058TG2/Main switch                     Triitale Technical           0152916              3/0]/13           1,669.96          0.00         0.00      1,610.14            55.805/L            5.0    3/1/2013    ]2/31/18   11/31/2018      58.00          3.00           55.66     1,6fi9.80                  0.14   60.0        2].83 2/38/18
                                                                          Service labor/Milnor 58058TG1/main switch                    Triata[e TxM1niral           015306)              3/01/13           1,310.43          0.00         0.00      1,2)6.58            43.855/L            5.0    3/1/2013    ]2/31/18   13/31/2018      58.00          ].00           46.p2     1,320.60                  -0.1)   fi0.0       12.01 i/18/18
                                                                          Rep~aceC OperatorPrenurtrol/Yoke &Pia4 on boiler             Boiler 5uppty ComOany        00)i6J8~IN           3/01/13           1,2)].53          O.W          0.00      1,I3G.82            42.695/L            5.0    3/I/E013    ]3/31/18   12/31/2018      58.00          3.00           02.56     1,2)].40                   0.11   60.0        21.39 1/38/18
                                                                          QuotM:6i9042551                                              Dell Marketing LP.           %Ia63f85]            4/01/13           1,619.06          0.00         0.00      1,53).86            83.183/L            5.0   4/3/2013     3]/31/18   12/31/2018      5).00          3.00           e0.9G     3.618.80                   0.30   60.0        26.98 3/33/18
                                                                          Quotep6E8815)31 Quo~eN6480C1488 Quoteb6g8823139 Quacep6088]2De11 Marketing LP.            ~4CORfi4             0/0]/13           3,009.86          0.00         0.00      1,9G3.56           10].305/L            5.0   4/1/2013     12/31/18   11/31/3018      5).00          3.00          103.10     1,044.80                   0.06   60.0        34.08 3/33/18
                                                                          Ubor/Material Bailer rertructure                             Boiler 5uppty Company        00)5p13~IN           4/01/33           6,366.48          0.00         0.00      3,03385          3,343.635/L           10.0   </3/2013     ]2/31/18   13/31/2018      5).00         ]2.00          636.fi0    3,660A5               1,]06.03 320.0          53.05 3/30/13
                                                                          Idle arm,chain ritle~, replay 5051 jaw Vansferclamp          TriSta[eTtthniral5enitt5     0356563              5/01/33           1,399.)0          0.00         0.00      1,313.96            86.)35/L            SA     5/3/3013    13/31/!8   13/31/218       56.00          6.00           86.60     1,299.60                   0.10   60.0        21.66 </30/18
                                                                          Quote 65333332<                                              0¢Il Marketing L~.           XI59K8%82             5/01/33          1.)33.96          0.00         0.00      1,599.92           116.005/L            SA     5/3/2013    12/31/18   12/31/2018      56.00          4.00          134.18     ],)10.20                  d.$0    60.0        28.5) 4/30/18
                                                                              nualPM for Comp~essot                                    Kaeser Compressors           94633}20             6/01/33           1,615.3]          0.00         0.00      1,39).45           21).865/L            5.0   6/1/2013     1))31/!8   13/31/3018      55.00           5.00         237.95     2,615.G0                   0.09   60.0        03.59 5/31/18
                                                                          SaferyGuards                                                 Southern 0.ewintling         A551-01588           6/01/13           1,066.40          0.00         0.00      1,890.20           1]Z.205/L            5.0   6/3/2013     ]2/31/18   Sl/31/2~18      55.00          5.00          17120      2,066.x0                   0.00   60.0        34.4) 5/33/18
                                                                          Xissor lik                                                   Diversified Plasti¢,Inc
Page 138 of 229




                                                                                                                                                                    31203                6/01/33           3,693.21          0.00         0.00      2,285.25           20).%5/L             5.0   6/3/2013     13/31/38   32/31/2018      55.00          5.00          30).]5     2.493.00                   0.23   60.0        01.55 5/31/18
                                                                          Sciswrlih                                                    Diversifietl Plastia, lnc    31309                6/01/33           3,52a.>a          0.00         0.00      1,39).55           13).195/l            5.0   6/3/2013     13/31/!8   31/31/218       55.00          5.00          11).05     1,5!4.60                   O.la   6p.0        25.41 5/3U18
                                                                          E~tt[brake/Drive Chain/ElM clutci+/Seam 4x0                                               E88                  6/01/33           5,664.G0          0.00         0.00      1,596.00         3,063.405/L           10.0   6/3/2013     ]2/31/18   Ii/31/2~18      5500          ]2.00          566A0      3,163A0               1,502.00 120.0          4].20 5/3o/I3
                                                                          io~enla USED hot Featl steam Oress                           Tri~State Technical Servitts 0]5]]83~UE           6/01/33           3,920.65          0.00         0.00      1,>60.55           160.105/L            5.0   6/1/2013     13/31/18   13/31/218       55.00          5.00          ifi0A5     ],930.60                   0.05   60.0        31.01 5/3S/IS
                                                                          Boile~Make~up/0.ebuiltl Dump and Motor                       SoutM1ern Rewintling         CR0.1-0665E 06/28/   )/01/33           1p13.)9           0.00         O.W       1,2)2.20           141.555/L            5.0    >/i/2013    13/31/38   31/31/2018      50.00          6.00          14]36      1A13.6U                    0.19   6p.0        23.56 6/30/18
                                                                          0.otlless M~. chain, bumper                                  TriState Technical Services  0160166              )/01/13           3,658.21          0.00         0.00      1p92.56            165.655/]            5.0   )/1/1013     12/31/38   12/31/2018      50.00          6.00          165.80     ],658.40                  -0.19   60.0        2].60 6/30/18
                                                                          Baldor 0.epla~emene Motw                                     SoutM1em flevnntling         A0.gID2381           )/01/33           3,5)8.25          0.00         0.00      I,G20.10           158.055/l            5.0   7/1/1013     12/31/38   33/31/218       50.00          6.00          SSJ.&1     1$)8.00                    0.25   60.0        26.30 6/30/18
                                                                          Belling                                                      rogue,Brown&Co.              1665]3               8/01/33           3,159.00          0.00         0.00      ],)9pA5            3fi8.555/L           5.0    8/1/1013    11/31/38   3]/31/218       53.00          ).00          366.55     3,159.00                   0.00   60.0        53.65 )/33/18
                                                                          Gea~Motor/Gown Pulley/Aux swi¢h/Gaskets                      TnSta[e TechniwlSemces                            9/01/13           3,613.61          0.00         0.00      3,398.28           315.3E 5/l           5.0    9/1/3013    ]3/31/38   32/31/2018      SI.00          8.00          215.12     1,613.30                   0.22   60.0        16.69 8/31/18
                                                                          OVERLOAD PPOTECIOR                                           IENSEN                                            10/01/13          3,088.69          0.00         0.00        935.1<           163.555/]            5.0   10/]/2013    13/31/18   12/31/2018      S1.OD          9.00          363.16     ],088.40                   x39    60.0        18.1< 9/30/38
                                                                          WALL FANS                                                    GMINGER                                           10/01/13          1,]3!.90          0.00         0.00      T}23.05            403.895/]            5.0   10/]/2013    12/31/18   32/33/2018      51.00          9.OJ          G09.95     2,)33.00                  -0.06   60.0        45.55 9/30/18
                                                                          30h of 8"sO~ral Euc[.                                        G.E. SNEET MEtAI&MECHANIC 10333013                10/01/13          3,150.00          0.00         0.00      3,062.33           18).6>5/l            5.0   10/]/2013    13/33/38   32/31/2018      51.00          9.40          181.4)     1,IG9.80                   0.10   fi0.0       20.03 9/30/38
                                                                          2a3~8~i,1-]/1'sens~siRv,Gaz regulamr                         StormQuirt                   551111)              13/01/33          x,113.19          O.OD         0.00      3,92).5            685.695/L            5.0   11/12013     1]/31/18   33/31/2018      50.00          10.00         665.50     x.113.00                   0.19   60.0        68.55 10/3]/18
                                                                           HVAC installation                                           G.f. SHEET MEfAI&MECHgNICAL,iNC                   11/01/13         30,000.00          0.00         0.00      6,166.83         1,833.3]8/]            5.0   12/]/2013    12/31/18   32/33/2018      <9.00          11.W        3,8333)     ]0,000.2D                  -0.30   fi0.0      lfib.b) 11/30/18
                                                                          40'membrane milnor MP16E0U~1                                 Tn-SUte Ttthnical $ervitts                        9/01/13           3,805.18          0.00         0.00      3,39).80           50~.305/L            5.0    9/]/2033    ]3/31/18   13/31/2018      52.00          8.00          50).36     3,805.20                  -0.02   60.0        63.x2 8/33/18
                                                                          PIPE FITTINGS F00.TUNNEL                                     Tom Uudell,lnc                                    9/01/13           3,113.d2          0.00         0.00        965.12           1<8.305/t            5.0    9/]/3013    32/3U38    11)33/2018      53.00          8.00          148.06     1.113.60                   0.18   60.0        18.56 8/31/18
                                                                          Spark Plugwbie                                               Tri~S~ate Te<hnical5enices   U161083              9/01/13           ],050.]9          0.00         0.00        910.8!           1E0.2J 5/L           5.0    9/1/3033    13/33/18   12/33/2018      53.00          8.00          1<0.08     1p50.fi0                   0.39   60.0        1].51 8/33/18
                                                                           Micro<Tips                                                  vositek NFiO, LP                                  !/28/]4          33,14].50          0.00         0.00     26,51808          6,629A25/t             S.0   2/28/201G    12/31/18   32/33/2018      46.00          12.00       6,629.52    33,80).60                  -0.10   60.0       552.96 1/2)/19
                                                              EVi-112     JF Equipment                                                )P Equipmne[                                       8/11/30          21,690.00          0.00         0.00      8,6)6.00        13.034.005/L           10.0   8/1]/2014    11/33/18   32/33/2018      41.00          11.00       3,]69.00    ]0,805.00             10,805.00   110.0       180.)5 8/OB/I6
                                                                           Capitalize cntof inlemal ttaniportatlon                                                                       9/01/16           3,000.00          0.00         0.00      ],000.00         !,000.005/]            1.0    9/1/3016    13/31/18   32/33/3018      16.00          8.40        1,000.00     3,D00.0p                   0.00   2A,0       125.W 9/03/18
                                                                           UpiUlite enternal transportation
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                                                                         9/01/16           6,2)6.91          0.00         0.00      E,183.20         2,091.]35/L            2.0    9/]/3016    11/31/18   !2/31/2018      16.00          8.00        2,091.60     6,2~4.BD                   0.11   ]4.0       261.45 9/01/18
                                                                           UpiUlixe internal innapa[ian                                                                                  9/01/16           3,500.00          0.00         0.00      3]33.18          1,166.)25/L            3.0    9/1/1016    13/31/18   11/33/2018      16.00          8.00        3,166.64     3,G99.92                   0.06   30.0       1d5.83 9/01/18
                                                                          $cissa lift ham Rome                                                                                            >/Ol/18          1.996.W           0.00         O.W       3,996.00             0.00               0.0   ]/]/3018     13/33/18   ]3/33/1018       0.00          0.00            0.00         0.00                   x.00    0.0         0.00 7/03/18
                                                            MAtl1~NERY &EQIlIOMEN!                                                                                                                     3.8)6.2>6.1E          0.00         0.00  1.21).530.62       63).6888]                                                                                       121.)2).98 ].336.261.60           53].01].50
                                                                           Balance per G/l                                                                                                             3.8)6.096.60
                                                                           Vanan~e                                                                                                                           319.50
                                                       1502 Wf3N ROOM
                                                                          IVam CommanE                                                   Tri-S~a~e Technirnl       160050.E              12/01/13         3,041.12          0.00          0.00       ],830.15           630.9>5/l           5.0   1]/]/2033    33/31/18   12/332018       <9.00          11.00              63085       3,403.00            0.32    60.0          57.35 1]/30/18
                                                                          Tunnel Vian Drawing                                            Tri-SW~e Technical        164850.E              12/01/13         5.350.00          0.00          0.00       4,369.33           980.6)8/]           5.0   11/]/]013    33/31/18                   49.00
                                                                                                                                                                                                                                                                                                                          12/31/3038                     11.00              980.6)      5,350.30          -0.30     60.0          89.L) 11/30/16
                                                                          Milnor auto lint system br6drycrs                              TmState TecM1nirai        16E850.E              13/03/13        40,900.00          O.W           0.00      36,)03.00         8,339.005/L           5.0   31/1/3033    33/33/18   12/33/3018      49.00          11.00            8,239.00     44,900.00            O.W     60.0         )49.W 11/30/18
                                                                          CONW30CH;4 potkel loatling conveyor, elettrital iernce         Tri-Stale Te~hniral       164856E               12/03/13        33,090.30          O.W           0.00      25,393.)6         5,)00.00 S/l          5.0   11/1/1013    13/31/18   12/3]/1018      49.00          11.00            5,)00.64     31,094A0           -0.2~     60.0         518.24 11/30/18
                                                                          Milnor8 module <on[inuaus batch washer                         iri-State Te~M1nicil      16E850.E              12/01/13       412,15E.81          O.OD          0.00     112,226.21      300,038.fi05/L          15.0   31/]/2033    33/3]/18   ]1/3]/3018      <9.00          12.00           ]),E83.48    139,10].69     2)2,545.1!    180.0       2,290.29 11/2)28
                                                                          Milnor Motlei MV1656CL                                         Tri~State TecM1niwl       16f850.E              12/01/13       353.066.))          0.00          0.00      68,890.5)      186,3)fi.305/L          15.0   33/1/3013    33/33/18   11/3]/3018      A9.W           12.00           36,8]1.36     85,)61.]3     ]6),305.00    180.0       ],405.93 11/3)/26
                                                                          Steam Trap,RifoxflangeE unit                                   Iensen USR,IM             3))581                12/09/13         3,406.30          0.00          0.00       3,781.]3           62C.5>5/L           5.0   33/9/3033    IU33/18    11/3]/1018      49.00          11.00              62GAJ       3,406.20            0.10    60.0          56.)) 13/08/18
                                                               EFT-103    Tunnelprojett                                                  GnC Conscruaion;N HammonC Cn                     JJOS/14         S,J50.00          p.Op          0.00       1,533.12         6,116.885/L          15.0    T/1/E014    SZ/3]/1B   12/3]/2038      <].CO          ]2.00              383.18      1,936.40       3,833.60    180.0          31.94 1/10/19
                                                               EFT~S01    Tunnel projett                                                 Various                                          i/03/ld       8]<,3EU.09          0.00          0.00     233,285.16      663,03E935/L            15.0    1/1/E014    13/31/18   1]/31/3038      4).00          12.00           58,28).%     291.5)3.12     582,]46.9]    180.0       <,SSJ.33 1/EB/39
                                                               EPT-103    NVACinitalla~ion                                               G.E. SHEET METAL&MECNANICA4ING                   1/05/16        ]0,000.00          O.W           0.00       3,fi66.88        >,333.125/L          15.0     US/3034    31/33/18   12/3]/3038      48.W           12.0               666.)2      3,333.60       fi,666.40   180.0          55.56 1/01/!9
                                                               EPi-101    HVpCini(allMion                                                G.E. SHEET METAL&MECHANIC130313                  1/3)/14        10.000.00          000           0.00       2,666.88         '],333.125/]         15.0   ]/1)/3034    33/3)/18   13/3]/3018      d6.W           1].00              666.)1      3,333.60       6.666A0     ]80.0          55.56 3/!3/19
                                                               EM-101     HVACinnalla~ion                                                G.E. SHEET MEfAI&MECHANICA4INC                   3/03/]0        10,000.00          000           0.00       3,666.88         ),333.125/1,         15.0    3/3/3014    Ii/31/18   33/3]/2038      d6.W           13.00              666.)2      3,333.60       6,666.90    ]80.0          55.56 2/2)/19
                                                               EPT-101    HvpC installation                                              G.E. SHEET METAL&MECHANIC441NC.                  3/18/la         x,000.00          O.W           0.00       1,W6.56          2,933.445/]                 3/IB/203A
                                                                                                                                                                                                                                                                                           15.0                11/31/18   12/3]/]018      a6.W           13.00              266.60      1,333.1        2,666.80    180.0          11.12 3/!x/29
                                                               EPT-SO]    Milnw Washer                                                                                                     6/1/203a       3,SW.00           0.00          0.00         699.80         3,800.165/L          15.0    6/1/3014    3!/33/18   13/3]/3018      x3.00          13.00              233.28        933.12       2,566.88    180.0          19.LA 5/28/19
                                                               EPT-106    Grt Dumper                                                                                                       1/]/2015      19,)3600           0.00          0.00      11,841.48         ),894.52 S/l          5.0     U1/1035    33/31/18   12/3]/1038      36.00          12.00            3,9E~.16     15,)88.60       3,94].36     60.0         328.93 13/3]/19
                                                               EPi-130    Veers Pump Ma[or                                                                                                 5/]/2015       8,959.19          0.0~          0.00       4,])8.24         0,I8U.955/l           5.0    5/1/1015    II/31/18   11/3]/2038      32.00          13.00            1,)91.64      6,5)0.08       2,389.31     60.0         149.33 0/29/10
                                                               EDT-131    Brake motor                                                                                                      5/1/2015       1,068.3fi         0.00          0.00         569.91           698.045/]           5.0    5/1/3015    31/31/18   13/31/2018      3E.00          13.40              213.)2        783.66         280.8      60.0          1 .61 4/19/10
                                                               EPT-140    Belt for Milnar Press                                                                                            7/1/3015       6,)83.35          D.00          0.00       3,391.80         3,391.55 5/L          5.0    )/1/3015    11/31/18   12/3]/1018      30.W           1].00            1.356.]2      4,]48.8!       2,030.83     60.0         113.U6 6/29/30
                                                               EGT-138    6oartl Multi(untlion                                                                                             )/1/2015       1,19966           O.W           0.00         599.]0           599.965/L           5.0    )/1/2015    31/33/18   12/31/2015      30.W           12.00              239.88        839.58         360.08     60.0          19.99 fi/39/20
                                                               EDT-139    Panel(ront PfV w/lil~cr                                                                                          )/1/2015       3,543.00          0.00          0.00         TI1.60           ))1.405/L           5.0    )/1/3015    33/33/18   12/31/2018      30.00          12.00              308.60      1,080.24         C62.>6     60.0          25.)2 6/29/10
                                                               E4T-130    565014VK GEAR 80X FOR 13518. MODEL CHS GR~ftE0=1/25MFGf                                                          )/1/1015       3,4)1.00          0.00          0.00       1,335.40          3,135.645/L          5.0    )/1/3015    13/33/18   12/3]/3038      30.00          13.00              <9C.36      1,]29.56         )41.98     60.0          41.38 6/29/20
                                                               EVi-133    Tablet for Cart D~mprte~CMGinv.5010                                                                              8/1/20!5       1,0)).80          0.00          0.00         510.80            55).005/L          5.0    8/1/2015    IZ/31/18   13/3]/3018      39.00          13.00              215.51        ]36.36         341.48     60.0          1].96 J/3~/30
                                                               EPT-135    Shuttle mrotor Tai Scar inuO3p699E                                                                               8/1/2015       1,451.9]          0.00          O.Cp         ]01.80           )50.3'15/L          5.0    6/1/1D35    33/3]/18   13/31/3018      29.00          13.00              290.40        99].30         459.))     60,0          14.10 ]/3D/10
                                                               EPi~1Ia    G.A. Braun lnvecerlw4501b wdsl~er                                                                                6/1/2035       3,94).93          0.00          0.00       1,781.5)         ],666.363/L           5.0    6/1/E035    ]3/31/18   11/31/3018      31.00          13.00              689.66      2,¢7],31         9)b.Tt     60.0          5].47 5/30/10
                                                               EPT-141    Procezzar BoarE for 13516 Washed                                                                                30/1/1035       3,0)6.10          0.00          0.00         480.36            591.)65/L          5.0   ]0/1/3015    ]2/31/18   11/31/2018      2).00          13.00              215.38        699.66         3)6.48     60.0          17.94 9/29/20
                                                               EPL-143    Membrane Assembly fo~Milnw Press                                                                                ]0/1/3035       0}56.66           0.00          0.00       1,960.0)         ],39G.195/L           5.0    10/1/1015   ]2/31/18   12/31/3018      3].00          12.00              8]1.32      1,83].79       1,534.8)     60.0         ) 2.61 9/19/!0
                                                               EPi-144    GNS pC1VATOa M000tATOR                                                                                          1]/1/3035       1,665.30             0             D         721.)6            943.545/]          S.0   ]]/1/2015    12/31/]8   12/31/1018      36.00          12.00              333.12      1,080.88         610.42     60.0          27.)6 10/30/20
                                                               EPT-106    oye~Vrobe Assy                                                                                                  11/1/1015       !.030.)3             0             0         438.10            511.6! 5/L         5.0    11/1/1015   12/31/18   13/31/3018      26.00          11.00              203.]0        640.30         3)0.03     60.0          16.85 10/30/10
                                                               EPT~l49     Boartl flelay                                                                                                  ]2/1/3015       1,938.34             0             0         803.50          1,1!4.84 5/L         5.0    12/1/2015   ]2/31/18   13/31/2018      15.00          12.00              385.68      1,189.38         139.16     fi0.0         31.14 13/29/30
                                                               ER~323     Conveyer                                                                                                        ]1/1/1015       3,803.'13         0.00          0.00       1,60~.)S          2,2G0.985/L          SA     1l/1/1015   12/31/!8   11/31/2018      ]5.00          12.00              768.36      1,369.31       1,4)1.62     60.0          64.03 11/29/20
                                                               EPT-153    stiller welding. Repaies to milnor Tunnel n3                                                                     x/1/2016       3,SOO.OD          0.00          0.00       ],32<.93          2,2]5.015/L          5.0    4/1/]016    12/31/18   13/31/2018      31.00          12.00              699.96      3,920.89       1,5)5.11     60.0          58.33 3/31/31
                                                               EVT-150     GaSoiine PawereE Wate~VumD                                                                                      4/1/2016       1,033.54          0.00          0.00         501.06            930.065/L          5.0    4/1/2016    12/31/18   13/31/2018      ]3.~0          13.00              ]86.32        ~6>.38         643.16     60.0          23.86 3/31/13
                                                               EPT-164    8eit for badin6 Conveyor Milnor Tunnel                                                                           7/1/2016       ],164.49          0.00          0.00         6)9.33          1,585.175/L          5.0    7/1/2016    ]2/31/18   13/31/2018      38.00          12.00              052.88      1,132.20       1,133.29     60.0          3).JL 6/30/33
                                                               EFT~lfi6   fork~ik-Washroom                                                                                                 ]/I/1D16       2,905.91          x.00          0.00         SJl.)<          2,030.1) S/L         5.0    J/1/2016    12/31/18   12/31/2018      38.00          11.00              581.16      1452.90        1,453.01     60.0          E8.03 6/30/21
                                                                          EIIis ZB4lC waslierfrom $cif regional                                                                            '!/1/E016     2<,J66.13          0.00          0.00       ),x30.90        1),33).8!8/l           5.0    )/1/2016    13/31/18   13/31/3018      16.00          11.00            x,953.60     13,380.00      13,384.22     60.0         x13.80 6/30/11
                                                                          EIIi5ZBd3C washer from Sel(regional                                                                              7/1/2016      14,Jfi8.32         0.00          0.00       ),43~AU         3),33].835/]           5.0    )/1/216     12/31/18   12/33/2018      36.0           13.00            4,953.fi0    13.384.00      12.380.12     60.0         <13.80 6/30/21
                                                                          30016dryer~ansferred from Winchester                                                                            8/24/2011       8,833.40          0.00          0.00       ),990.6]            B40.J8 S/t         J.0   8/20/2011    1))33/!8   1]/31/3018      )6.00           8.00              841.1]      8,831.)4          -0.30     84.0         105.16 8/2Z/IS
                                                                           3001b tlrver transferred tram wincM1escer                                                                      8/2x/3011       8.831.<0          0.00          0.00       ).990.62            840.)85/L          ].0   8/2E/3~11    1])31/18   12/31/2018      ]6.00           8.00              843.12      8.831.)a           -0.3G    84.0         ]05.14 8/22/38
                                                                           ~rye~Iram Win~hexter                                                                                            9/1/]013     131.596.63          0.00          0.00     I00,362A0         31,333.325/]           ).0    9/1/2013    ]2/31/18   11/31/3018      64.00          12.00           18,)99.30    119,061.60      12,533.02     84.0
                                                                          CanveyerpurcM1aseEfrom Self Regional                                                                                                                                                                                                                                                                                                                 1,566.60 B/3l/39
                                                                                                                                                                                           7/1/2016       6,191.05          0.00          0.00       I,85>.60          J,33<.055/L          5.0    ]/1/2016    13/31/18   13/31/3018      18.00          13.W
                                                                          Conveyer purcM1azeC from Self ReSional                                                                                                                                                                                                                                                          1.23840       3,096.00       3,096.05     60.0         103.30 6/30/31
                                                                                                                                                                                           ]/1/2016       6,192.05          0.00          0.00       1,SSJ.6D         4,334.055/L           5.0    ]/1/3D16    11/3]/18   11/31/1018      18.00          12.00
                                                               EPT-181     pryer lnrtallation Program                                                                                                                                                                                                                                                                     1,238.00      3,096.00       3,096.05     60.0         103.20 6/30/21
                                                                                                                                                                                           5/1/101]      ]9,506.00          0.00          0.00       3,600.56       36,903.40 5/l           5.0    5/1/2017    12/31/18   11/31/3018       8.00
                                                               EPT-180     Gasoline Powered Water Pump                                                                                                                                                                                                                                                   12.00            3,9pp,g6      6,SOl.YO      13,003.60     60.0         315.0) </3~/33
                                                                                                                                                                                           5/1/201)       ].339.30          0.00          0.00         362.56         1,056.)4 5/l          SA     8/1/2011    1))31/18   13/31/3018       8.00
                                                               EDT-189     Pump for Milnor Tunnel p3                                                                                                                                                                                                                                                     13.W               203.84        406.)0         813.9      60.0          10.32 4/3~/l2
                                                                                                                                                                                           5/1/201)       E,944.p4          0.00          0.00         659.20        4,280.84 5/L           5.0    5/1/201)    12/31/L8   1]/31/3018       8.00          11.00
                                                               EVT~39E     Old Sryle Siemens                                                                                                                                                                                                                                                                                988.80      1,608.00       3,396.04     60.0          82.40 </30/33
                                                                                                                                                                                           ]/1/301)       6,043.83          x.00          0.00         6E4.16        5,)9).66 5/L           5.0    >/1/3D1)    32/3]/18   11/31/3018       6.00          1E.00
                                                               EPi-397     Deyer Blower Wheel                                                                                                                                                                                                                                                                             1,288.32      1,931C8        A,509.39     fi0.0        ]0].36 6/30/11
                                                                                                                                                                                         11/31/301)       I,38).fi0         0.00          0.00           0.00        2,38).60 S/L           5.0   13/31/E01)   12/31/18   1]/31/2018.      0.00          13.00              a)J.og        4)J.Cg       1,910.82     EO.O          39.)9 12/30/13
                                                             WASN ROOM                                                                                                                                  1,988,515.18         0.00         0.00     6)E.120.55    1,316,399.63                                                                                           t>S.B10.G]    8<J,933.02
                                                                           Balantt per G/L                                                                                                                                                                                                                                                                                                         1,140,880.16
                                                                                                                                                                                                       1,988,535.19
                                                                           Vanancc
                                                                                                                                                                                                             (0.011
                                                 31/3/2018 3:03 PM
                                                                                                                                                                                                                                                                                                                             C:\Uxrs\Mar<1'~Dropbax\Ciarus 556 Files\Crown Oiligenm\K Finan<ia~K63038 Filiance Fized azset and de0~euation 5efieduie EaSI Pdn[
                                                       East Point fixed assets - 2018
                                                       F711 in ye!!ow ce//s;copy tlown foimu/as In green ce4s onty fola55e45 addetl.
                                                       FYE:                                       i~i/zaia
                                                       Month:                                        io0
Desc




                                                                                                                                                                                             Date In      Book           Book Sec     Book Al      kyn~n                .eti~n~nR       ~k      Book       a[e in       Thh           Thk       I~ueptim to WE           Book Curtent ~ i~r<M                     ~~nE        Baak
                                                        AsSM      VftO1C                            hoPerty DesaipHan                                   Ventlo~(s)            ~keRl          Serv'ae      Con            1>9 EVP       Value    _._ ................_   ~~oL: Value    MethoE   Years     Scrvite       iYE           fYE           Mwrths     MtM1x ~Pn ~Vrecla[ion i ~R'+m.tarro            ~.,~. Vaiw     Mo~tths    MontM1N      Retiremem
                                                       ISCC Ory Work
                                                                                                                                               Gingue,Brown &Co;Tiernan&Pa[Mo,Inc; Blount: 1/28/16         33,842.91           0.00        0.00         32.73].28          19.305.605/l           ]0.0   l/i8/2016    II/3]/18     ]3/31/3018       46.00          13.00           3,180.32      35,923.60      15,911.33      320.0        365.36    3/26/19
                                                               EVT~108     EVT 100-rlensen Folder                                                                                           6/01/16         9,350.00           000         0.00          3,699.84           5,550.165/L           10.0   6/1/2010     32/31/18     11/31/2038       43.00          11.00             92a.9fi      4,620.80       0,615.20      330.0         T/.OB    5/29/TA
                                                               EPT-1pC     Chicago Skyline SP<multi~lane Small Piett loiding/SUtker            Tri~S[ate Technical Seni<es 01))037-E        )/01/14        31,)15.00           0.00        0.00          9,085.92          ]3,629.085/]           ]00     ]/1/2016    12/3]/18     1]/31/2018       a2.00          13.00           2,2]IA8       11}5>.a0       13,35].60      330.0                 6/18/3a
                                                                                                                                                                                                                                                                                                                                                                                                                                            389.29
                                                               EPT~lOJ     Chicigo Skyline SPa multilane Small Piece folding/Statlmr           Tn~Staee Technical Services 01)]03>~E         7/01/14       68,105.00           0.00        0.00         2J,258.2a          00.886.)6 S/L          10.0    >/1/201a    12/3]/18     13/3U~018        62.00          12.00           6,810.56      39,OJ3.80      34,OR.20       320.0        56).86   6/38/24
Entered 12/21/18 12:13:35




                                                               EPi-lla     O8BS168T,6/16 BORft0;09M%350A96                                     Tri3Ute Technical Seni~es   0393156~0393150~ ]/0)/15         ],1x6.53           0.00        0.00            3E3.60             803.]35/L           10.0    1/)/2015    ]2/31/18     12/31/2018       3fi.00         12.00             11a.60         458.40                     ]20.0
                                                                                                                                                                                                                                                                                                                                                                                                                   688.13                     9.55    ]/00/25
                                                               EDT-S1C     Corton Belting(multiple)                                            Tngue, Brawn BCo            ]10966            ]/07/15        3,205.59           O.OD        O.W             663.68           ],SC3.915/L           10.0    1/)/2015    ]2/3]/18     13/31/2018       36.00          13.00             220.56         88].24       1,313.35      320.0         18.38    ]/OC/TS
                                                               EDT-314     3003-159g;1W3~1J1; 1003-990; eye brake[, pin                        Tri,SU~e TecM1niwl $ernces  0193)30           ]/35/15        1,58>.36           0.00        O.OU            dJ6.28           1,111.]05/L           10.0   1/15/2015    12/3]/18     13/31/3018       36.00          11.00             158.)6         635.06         952.34      320.0         ]333     ]/11/25
                                                               EVT-11<     Clevis erxket, Eye Brackc[, 0.oE Cylinder Eli                       Tri-52[c Ttthnial5ervices   0193)561/0193]5 L19/15             135.86           0.00        0.00             31.80              88.065/L           10.0   U39/3015     13/33/18     ]3/31/2018       35.00          32.00              31.60          50.40          )SA6       320.0          3.05    ]/16/25
                                                               EPT-l]<     Elecvi~al,ftnngs, damp. mist                                        Grainger                    9650005x1         126/15         1,026.3n           0.00        0.00            299.25             ]2].095/t           10.0   1/26/2015    11)31118     1]/31/2018       35.00          12.00             102.60         403.85         634.49      120.0          8.55    1/23/25
                                                               EPT-11a     Sceve C.aHey Darts                                                  Concur                      Cgewir            1/38/15           35.66           0.00        0.00              7.35              18.315/l           10.0   ]/382035     11/31/18     13/31/2018       35.00          32.00               ].52           9.8J          SS.J9      120.0          0.]1    1/11/25
                                                               EPT-li<     l/2 fihin&Oliers                                                    Grainger                    %53223930         ]/19/15           59.2>           O.W         0.00             3).35              d3.335/l           10.0   ]/29/2015    ]1/31/18     13/31/2018       35.00          33.00                5.88         13.03          36.30      ]20.0          0.<9    ]/36/15
                                                               EPT-135     Bearing(or Chicago Ironer                                           Tn~State Techniwl5ervites   0193756-1/0193) ]/19/15          1,018.40           0.00        0.00            fi06.50          1,430.C~S/t           10.0   1/19/2035    13/31/18     12/31/3018       35.0           11.00             203.80         813.20       1,11).20      120.0         36.90    ]/16/25
                                                               EPT-112     FalEing tables                                                                                                    a/Ol/15        ]p]5.36            O.W         0.00          a,111.EJ           3,363.89 S/l           5.0    4/1/1015    1]/31/18     12/31/2018       33.00          13.00           1,495.08       5,606.55       1,868.81       fi0.0       124.59    3/30/30
                                                               EPT-150             rand ada0ter                                                                                             33/01/15        1,883.13           0.00        0.00            ]83.75           1,09'l.385/t           5.0   11/]/2015    ]2/31/18     12/31/2018       25.00          Ii.00             3)6.20       ],159.95         )31.18       60.0         31.35   1]/29/30
                                                               EVT-352            sto Chicago Ironer Nl aher Fire
Page 139 of 229




                                                                                                                                                                                             A/01/16        1,3G5.90           0.00        0.00            831.30           1,530.80               5.0    C/]/3016    13/31/18     33/31/2018       21.00          32.00             469.30       1,390.30       3,055.60       60.0         39.10    3/31/]3
                                                                           Uvtec Martelfold folde~f~om self regional                                                                        )/0]/16         9,90).28           0.00        0.00          3,98.16            6,935.125/]            5.0    7/]/ZOlfi   13/31/18     12/31/3018       ]8.00          12.00           1.981.04       0,953.60       6,953.68       60.0        165.13   6/30/]1
                                                                           Uvatec MarteMack M535tazker from seH regional                                                                    )/01/16         9,90).28           0.00        0.00          3,98.36            6,935.125/]            5.0    ]/3/2036    12/3]/18     11/31/3018       18.00          12.00           1,981.04       4,953.60       6,953.66       60.0        365.13   6/30/21
                                                                           Membrane assembly for Milnor Press                                                                               11/Ol/1fi       8,268.86           0.00        0.00          1,939.34           6,339.545/]            5.0   11/1/3036    13/33/18     12/31/2018       14.00          32.00           1,653.13       3,583.06       6,fi85.8]      fi0.0       1;>.81   30/31/31
                                                               EDT-1>)     Auy Milnor Press                                                                                                 32/01/16        4,194.1]           0.00        0.00            908.]0           3,285.4)5/]            5.0   11/]/1036    12/33/18     13/31/2018       13.00          32.00             838.80       1,]0).50       3,496.6)       fi0.0        69.90   13/30/13
                                                               EPT-1]6     Fssy Milnor Press                                                                                                12/03/16        4,168.51           0.00        0.00            903.20           3,365.2]5/]            5.0   11/]/1036    12/31/18     12/31/2018       13.00          32.00             833)6        ],)3).00       2,431.53       6~.0         69.G8   11/30/21
                                                               EPT-180     Membrane assembly for Mil~w~Pre55                                                                                ]2/03/16        d,l)0.3)           0.00        O.Op            903.63           3,366.)0 S/l           5.0   11/1)2016    ]2/31/18     12/31/2018       13.00          31.00             83E.12       l,)3).JS       2,432.62       6~.0         69.53   13/30/23
                                                                           Small piem foldedfrom Winchenet                                                                                   8/20/11       10,303.30           0.00        0.00          9)22.35              981.155/L            ).0   8/E4/3011    13/31/18     12/31/2018       )6.00          8.00              981.38      1D,303.03           -0.13      80.0        322.66   8/33/38
                                                                           SmaII Die<e (older hom Wincherter                                                                                 8/24/13        5,593.11           0.00        0.00          5,060.82             533A05/~             l.0   8/10/3011    11/3]/18     11/31/2018       )6.00          8.00              531.]2       5,593.54          -0.32       80.0         66.59   8/21/38
                                                                           Stazkerfrom WircM1ester                                                                                           8/24/31          588.)6           0.00        D.00            532.16              56.00 S/L           J.0   8/]0/2011    13/31/]8     1]/31/1018       ]6.00          8.W                56.08         588.80           -0.OB      BC.O          7.01   8/22/36
                                                                           Blanke[FOIEer fromWinchester                                                                                      B/24/li        6,831.40           0.00        0.00          ),990.62             840.]65/L            J.0   8/14/1011    11/31/18     31/31/2018       )6.00          8.00              BGi.13       8,831.)6           -0.34      BC.O        ]05.14   8/32/16
                                                                           FeMerfrom Winchester                                                                                              8/24/31       30,303.30           0.00        0.00          9,322.15             961.35 S/L           ).0   8/24/3011    32/31/18     31/31/2D38       ]6.OD          8.00              98328       10,303.03           -0.33      81.0        122.66   8/11/18
                                                                           feeder hom Wnchener                                                                                               a/01/12       ]0,645.5)           0.00        0.00         16,958.81           3,686.)5 S/L           ).0    4/1/1013    13/31/]8     13/33/2018       69.00          ]L00            ],949.36      19,909.19         )3>.39       84.0        245.78    3/33/19
                                                               EPT-185     Gearbox for Jensen Ironer E%11                                                                                    5/O1/])        1,d0).31           0.00        0.00            18).68           3,319.60 5/L           5-0    5/1/301)    12/31/18     12/33/2018        8.00          12.00             183.52         069.20         938.32       60.0         23.06    </30/22
                                                               EaT-~82     rvew8eit f'ormiinor press                                                                                         5/01/1]        3,x95.01           D.00        0.00            C66.Op           3p29.025/t             5.0    5/1/201]    31/3L38      12/33/2018        8.00          ]2,00             699.00       1,165.00       1,33pA2        60.0         58.35    d/30/32
                                                               EPT-18)      Milnot Tech To work On New Oryer Installation                                                                    5/Ol/1]        6,633.)5           D.00        0.00            884.48           5,)49.2]S/L            SA     5/1/201)    13/31/18     12/33/2038        8.00          ]3.00           1,326.)2       3,231.30       0,022.55       60.0        110.56    d/30/23
                                                               FPT-190     Gum Rubber For Mi~no~Press                                                                                        5/Ol/1]        6,6]4.65           0.00        0.00            889.92           5,)89.)35/l            SA     5/1/301)    11/31/18     11/33/2018        8.00          12.00           1,330.88       2,120.80       4,609.05       60.0        111.24    4/30/22
                                                               EPT-186     gearbox, Motor and ~nvener EDGE mnxt                                                                              5/OS/1)        d,066.)6           000         0.00          ],488.88           ],9]).865/t            Z.0    5/1/201]    13/31/18     12/33/2018        8.00          12.00           2,23332        3,'122.]D        )44.54       24.0        186.11    5/01/19
                                                               FPT-192      New panel                                                                                                        )/03/17        1,208.)0           0.00        0.00            116.86           1,113.10 5/l           5.0    )/1/201)    13/31/18     ti/3]/2038        6.00          12.00             169.8          3)0.58         874.32       60.0         20.81   6/30/33
                                                               EVT-193      Dryer ~nrtallation Program                                                                                       >/O3/1J          835.fi0          0.00        0.00             83.56             J43.045/L            5.0    J/3/201)    33/31/18     12/33/2038        6.00          13.W              165.12         1GJ.68         5)).92       60.0         ]3.J6   6/30/23
                                                                           Chi~ngo lroner2&3from Rame
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                                                                             7/01/18       18,115.)9           OW          0.00          3,59].15          14,589.60 5/t           5.0    7/1/2018    31/31/18     13/33/2018        0.00          12.00           3,615.10       ),166.35      t0,959.ad       60.0        302.30    6/30/13
                                                       Dry Work
                                                                                                                                                                                                                                                                                                           0.00       13/33/18      <3G65.00        0.00           0.00                                                          0.0                  1/00/00
                                                               Dry Woh Total                                                                                                                              291,619.95           0.00        0.00       128,391.39          563,229.56                                                                               D.00           <0,)36.)2     369,338.31     122,493.84
                                                                           Baian<e pe.G/L                                                                                                                 291,619.95
                                                                           Variance                                                                                                                             O.pp
                                                       1545 Vowcr Pla~rt   1505/i)45/5)a5
                                                                           ~O~~atite EVT 103-Air Como~essor/Oil cooler                                                                       6/01/ia         6,303.1]          0.00        O.W           3,<83.00            3,]25.135/]          10.0    6/i/201a    13/3U38      11/31/2018       x3.00          12.00             610.76       3,303.80       3,1OE.3)      130.0         51.73   5/19/2a
                                                               EVT~11J     Boiler rehab                                                                                                      3/01/35        30,032.00          0.00        0.00          1,839.68            ),183.365/]          10.0    3/1/2015    ]3/3U18      12/3ll2018       34.00          13.00           3,002.]0       3,8E1.9Z       6,180.11      110.0         83.52   3/36/25
                                                               EVT-138     Superior Bailer                                                                                                   9/01/15         6,350.00                      0.00          3,981.)6            4,868.2<5/l          10.0    9/1/2015    ]1/31/18     13/3]/2038       10.00          31.00             635.04       3,316.80       C,233.E0      110.0         52.92   8/39/25
                                                               EDT-IC2     0.epain to Superior Boiler                                                                                       10/01/15         5,360.21          0.00        0.00          I,E06.09            4,154.125/L          10.0    1D/1/2015   12/3]/18     ]1/3]/2038       1).00          13.00             536.00       3,)42.13       3,618.08      110.0         44.6)   9/18/25
                                                               EPT-155     Repairs[o Kacu ComOrenor                                                                                          d/p]/36         3,613.58          0.00        0.00            459.06            3,166.53             10.0    4/3/3016    12/3]/38     13/31/3018       11.00          3].00             262.32         )21.38       1,902.20      120.0         31.66   3/30/26
                                                               EVT-156     Rewintl AC SUror Fo~Kaeser Compressor,Parts&labor                                                                 0/Ol/]6           895.98          0.00        0.00            156.8)              739.11             30.0    0/1/2016    lI/31/18     1]/31/3018       21.OD          32.00              89.64         216.51         609.4)      130.0          ].0>   3/30/26
                                                               EPT-155     Kaeser Compressor                                                                                                 )/01/16         1,623.58          0.00        0.00            659.W             ],36).53 5/L         10.0    )/1/3036    12/31/18     17)31/2018       ]800           11.00             262.32         721.38       1,902.20      Ii0.0         11.%    6/29/16
                                                               FPi-163     Bris1o18oiler anE WeiEing                                                                                         ]/01/]6         3,163.36          0.00        0.00            553.56            3,fi09.805/L         10.0    )/1/3016    12/31/18     11/31/3018       ]8.00          Si.00             316.32         86988        2,293d8       320.0         36.36   6/29/16
                                                               EPi-165     eristai Boiler anE inspenion                                                                                      ]/01/16         ],302.50          O.Op        0.00            230.99            3,301.51 5/L         30.0    )/3/3036    1JJ33/18     12/31/2016       18.00          3].00             134.38         369.2]         9)3.23      330.0         ll.t9   6/29/36
                                                               EVT-169     New Boller Transportation and lnstallatian                                                                        )/Ol/16         7,361.33          0.00        0.00          1,188.]6            6,0)2.985/L          10.0    ]/1/3016    ]2/33/18     13/31/3018       ]800           12.DJ             )36.08       2,03<.23       5,336.90      320.0         61.34   fi/]9/16
                                                               EPT-1]0     A~Ias Air Compreswr                                                                                               )/01/]6         ]109.50           0.00        0.00            246.)5            ],362.)55/L          30.0    7/1/2016    12/31/18     13/31/2018       1800           12.00             1d1.00         38).)5       1.013.)5      110.0         11.75   6/19/16
                                                               FP-1016     Teanspo~ation and installation of loAnslon Boiler from Pittsburgh                                                it/03/I6       ]),)10.10           0.00        0.00          x,856.25           12.893.855/L          50.0    31/1/3036   ]3/3]/18     11/31/1018       SC.00          12.00           2,J)5.0~       ).631.15      20,118.85      520.0        131.15   10/3026
                                                               EDT-1>2     w ter Totalizer                                                                                                  1U~1/36            8E9.06          0.00        0.00            148.68              )OOAO 5/L          30.0    11/]/2016   11/31/18     13/31/2018       18.00          12.00              8G.96         133.64         615.x4      330.0          1.08   10/30/26
                                                                           Boiler antl install                                                 Brislol8ai~er&Welding Co.   819)0            1U01/16        11,]30.00           000         0.00          ),301.)5          36,a2].355/L           10.0    13/1/2036   12/31/18     13/31/2018       1300           32.00           ),1]3.00      31,6)5.)5      30,151.25      120.0        34).75   11/]9/26
                                                                           Sullair 50 Ap from WincFener                                                                                      8/24/11         2,060.66          000         0.00          ],790.)0              169.%5/L            7.0   8/24/2031    11/31/18     11/31/2018       )6.00          8.00              196.24       1,986.9E          J3.J2       84.0         ]4.53   8/22/18
                                                                           Atlas COVCO <omo~essor from wincherte~                              Atlas Capco[ompresson ltC   116639            3/01/13        33,3fi0.00         0.00        O.W          3,109.53             2,150.x85/]           5.0     3/1/3013   13/31/18     11/31/2018       59.00           S.OD             53).6)      30,60).19       1,612.81       60.0        53).6]    1/31/38
                                                               EPT-133     Compressor                                                          Kaeser Compressors          910616963         1/O1/16         3,2]5.99          O.CO        0.00            5)3.30            2,)02.69 5/L         ]0.0     1/1/3016   11/31/]8     11/31/2018       ZE.00          12.00             32].60         900.90       3,3]5.09      ]20.0         1).30   12/29/15
                                                               EPT-183     Bailer Feetl Water Pump                                                                                           5/0]/17         3,169.09          000         0.00             03.60            3,II5.895/L          50.0     5/1/201)   12/31/]8     12/31/1018        8.00          ]1.00              fi5.d0        ]09.00       3,160.09      600.0          5.45   0/19/67
                                                               Evi-1%      New Boiler Tranzponation and Installation                                                                         5/01/1]         5,3)5.26          0.00        0.00            358.33            5,016.945/t          10.0     5/1/3017   12/31/18     1]/31/2018        8.00          12.00             53).x8         895.80       a,a)9.a6      ]10.0         04.]9   a/]9/3)
                                                               EPT~195     Sernce Air Compressor                                                                                             )/Ol/1)         3,95).89          O.CO        0.00            14).90            2,809.995/t          10.0    ]/1/3D1)    13/31/18     12/33/2018        6.00          12.00            ]95.80          443.)0       ],516.19      120.0         ]4.65   6/29/2)
                                                               EPT-199      Feetlwa[er tank -emergency                                         Teems                       k261>C           1]/31/201]     20,388.9]           0.00        0.00              0.00          38388.9) 5/l            5.0   ]3/31/203)   12/31/18     13/31/2018        0.00          12.00           <,8)J.]6       d,8>J.J6      19,511.]1       60.0        006.48   12/30/32
                                                        Power Plant
                                                                                                                                                                                                                                                                                                            0.00      13/33/18      43G65.00        0.00            0.00                                                         0.0                  1/00/0p
                                                               P°"~K ~^~T°V~                                                                                                                               193,1)).48          0.00        0.00         56,)40.02         13G.53)Ab                                                                                 0.00          18.606.95      J5,3C6.9J     135,930.51
                                                                          Balance Der G/L                                                                                                                 ~qy 1~~ ag
                                                        MISCEWNEOUS EQUIPMEM Au4: 174>, L54)
                                                          188           16 CM1annel Lorer UEeo Server                                                                                        8/00/11         7,829.90          000         0.00           ),829.99               0.00 5/L          5.0    40,]59.00    E3,465.00    63,665.00            60.00             ~           0.00       ],829.99           -0.09      60.0        ]3.50     8/01/16
                                                           MISfEtlANE0U5 EgUIVMEM                                                                                                                            ],819.90          0.00        X00            ),829.99               Op0                                                                                0.00               D.00       ],829.99           -0.03
                                                                            Balance peg G/L                                                                                                                 ].839.90
                                                                            Vanan<e                                                                                                                             0.~
                                                                                                                                                                                            EM1Sf PO1M   5,0)0,914.84          0.00        000       3,115,341.]2        2,312,146a3                                                                                             39],18602     3,500,924.9) 1,966,993.8)
                                                                            TOW]Balance per G/l                                                                                                          10)8,135.35
                                                                            Tolai Variance                                                                                                                 (],32053
                                                                                                                                                                                                                     CIP
                                                                                                                                                                                                            >,SOO.W DeposR-researching
                                                                                                                                                                                                              S)9.a9
                                                 11/1/2018 3:43 PM
                                                                                                                                                                                                                                                                                                                                      C:\Users\MarcY~OroO~x\Carus SSG files\Crown Diligence\K finan<ia~K63038 Alliance Fixetl asset antl deprcua~ion schedule Eazt Voint
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18         Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement      Page 140 of 229



                                   Section 4.8(b)

                       Leasehold Interests in Real Property


      Real Property Lease with ULS Acquisition, LLC dated November 1, 2013 for
      Spartanburg, South Carolina facility

2.    Lease for Laundry Facility with Phoebe Putney Memorial Hospital, Inc. dated
      August 1, 2016 for Albany, Georgia (Tristate) facility

3.    Lease Agreement with 1631 Willingham BT, LLC dated December 3, 2001 and
      First Amendment to Lease Agreement dated October 31, 2017 for Atlanta,
      Georgia (East Point) facility




                                                                                3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 141 of 229



                                 Section 4.10(a)

                              Business Employees


                                See attached list.




                                                                             3239221.5
                                                 Alliance Laundry and Textile Services, LLC
                                                 Crown APA attachment requests
                                                 As of 2018-11-21
Desc




                                                 Source: EmployeeCensus.accdb -tables - Census_Current
                                                     Employee         Employee               Plant                                                                                                                                                                                                                                                                                                                         location
Entered 12/21/18 12:13:35




                                                      Status              Type              Name              Hire Date                 Last, First                                Department Name                                         CCl name                                                             Title                                              Base Rate   Employee !D              Position             Code        P~ Cycle
                                      'A                             FT                 Corporate              9/1/2014 F~ ~:.~er, Bi l ly                                   Sales                                         Business Development                              Manager of Client Services -South Region                                                                         M ngr Client Sery           910           Bi-weekly
                                                 A                  FT                  Corporate              10/2/2013 Hutchison, Lauren                                   Patient Service Rep                           Patient Services                                  Regional Patient Sery Rep South                                                                                  Reg PSR South               910           Bi-weekly
                                                 A                  FT                  ' EastPoint            2/11/2008 Williams, Patti                                     Clean Processing                              Clean Processing                                  Laundry Operator                                                                                         _.._    Laundry Operator            '906        _ !. Bi-weekly
                                                                                                                                                                                                                                                                                                                                                                                                       _
                                           ~A                       FT                  EastPoint            12/13/2017 Vejarano, Jose                                       Drivers                                       Drivers                                           Driver                                                                                                           Driver                      906            `Bi-weekly
Page 142 of 229




                                                 A                  FT                  EastPoint             12/8/2014 Capie, David                                         Drivers                                       Drivers                                           Driver                                                                                                           Driver                      906          ~ Bi-weekly
                                                 A_ __~ _ __ FT               _ T EastPoint
                                                                                      _.___ ..       6/24/2005;
                                                                                                     __    . . _. Loper,~     Albert Lee
                                                                                                                                       __ _ _ _ ~a ....Soil
                                                                                                                                                       ~ _Processing
                                                                                                                                                               .. ~_. ~   ~                                               Soil Processing
                                                                                                                                                                                                                          ~._     _ .____                  _ _~          - Dryer
                                                                                                                                                                                                                                                                           —     Operator
                                                                                                                                                                                                                                                                                  --_ _ _ _                         _. _ _. ~ . ~ ~.                 __                                       Dryer Operator              '906         I Bi-weekly
                                                 A                FT
                                                 __.__ _ __ __,__...._            .EastPoint        12/13/2017'
                                                                                    .W W _,_~_____ ___  ...__ _____ ;.______.____.
                                                                                                                     Clark, Gary _ ~_..__ ___.~ _ .. _ ..__
                                                                                                                                                        Drivers
                                                                                                                                                            ,__....__....  ..                                               Drivers
                                                                                                                                                                                                                           ,._.~,~, .. ~.~  ...~..~.. ~                     :,...~.._,
                                                                                                                                                                                                                                                                               Driver  ~. _ _._.._,_r_. .. _, ~.._.._ ~.__                .~.~.~                                              Driver                      '906          Bi-weekly
                                                 A              'FT                EastPoint          5/1/20061McWhorter, Roseby                       Clean Processing                                                   ( Clean Processing                                   Laundry Operator                                                                                        ~'LaundryOperator
                                                                                                                                                                                                                                                                                                                                                                                                _~_      __.. ~~906                    iBi-weekly
                                                 A _...._           FT .__ _____ EastPoint
                                                                  _~..              ____.                      7/31/200T;Smith,
                                                                                                             _.....                 George
                                                                                                                      _ .__...__.__.__~...._   Anthony
                                                                                                                                             ...__.______.____._            iSoil Processing
                                                                                                                                                                           ____._.___ __ _.,_._.__.. .                    _Soil   Processing
                                                                                                                                                                                                                              _..._~ _ _.___. _,_.._M___.                  ;_.~~ . _.M Operator
                                                                                                                                                                                                                                                                            Washer       _. ~._._..__.. .._......_.... ,.. _e __~ .__                      _        _..                  Washer Operator        ;906                   Bi-weekly
                                           ;A                       FT           EastPoint                     5/30/2011 Bowden, Crystal                                    ': Clean Processing                           _ Clean Processing                               ;Team Lead                                                                                                        Team Lead                    906         `Bi-weekly
                                         'A                        ':FT                 !EastPoint ! 4/18/2012 Dowdy, Michael                                                Scrubs /OR Processing                       'Scrubs/OR Processing                               Team
                                                                                                                                                                                                                                                                              _ . ,_ Lead                                                                                                    Team Lead                    906           Bi-weekly
                                                 WC                !FT                  EastPoint             7/14/20ll Gates, Gregory                                       Drivers                                       Drivers                                           Driver                                                                                                           Driver                      906           Bi-weekly
                                                 A                 : FT                 EastPoint             2/28/2017 Ryan, Donald                                         Engineering -Non Union ':Engineering                                                            Maintenance Mechanic 1                                                                                          ~ Maint Mechanicl          ~ 906       ~'Bi-weekly
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                 A                  FT                  EastPoint             9/11/2006 Broughton,Sharon                                     Soil Processing                               Soif Processing                                   Soil Sorter                                                                                                     Soif Sorter                  906          ~Bi-weekly
                                                 A                 'FT                  EastPoint             5/27/2004'De Mejia, Libier                                   'Scrubs /OR Processing                        :Scrubs/OR Processing                     ~         Packer                                                                                                           Packer                      906          iBi-weekly
                                          ;A                       !FT                  EastPoint               9/5/2013 Mitchell, Linda                                     Engineering -Non Union :Engineering                                                           'Janitor                                                                            '                              Janitor                    '906         }Bi-weekly
                                            iA                     I FT                 i EastPoint           7/15/2009 Dean, Jimmy Lewis                                    Engineering -Non Union                        Engineering                                       Maintenance Mechanic 2                                                                                          i Maint. Mechanic 2          906          '; Bi-weekly
                                                 A                  FT
                                                                    _         ___. EastPoint                  2/12/2016'Henderson,lerry                                      Dnvers                                        Drivers                                           Biller                                                                                  ~                        Biller                      906          ei-weekly
                                                 A                  FT                  ;EastPoint              4/5/2010 Thomas, Alan Dale                     v_ ~~       v'Soil Processing                              ;Soil Processing~                                  DryerOperator~ ~                                         ~~                                                      Dryer Operator     ~_.__ 906
                                                                                                                                                                                                                                                                                                                                                                                                          ._ _ _.._.__          ~ Bi-weekly
                                                 A                 `FT                  EastPoint             7/11/2017!. Felton, Reginald                                   Drivers                                       Drivers                                           Driver        _.. ..                                                                                             Driver                   :906 ~ ~ ~ Bi-weekly
                                                 A                  FT                  EastPoint             1/11/2008!;Hughley, Vickie Larrina                             Clean Processing                              Clean Processing                                  Laundry Operator                                                                                                'Laundry Operator            906          ~Bi-weekly
                                                 A                  FT                  EastPoint            10/19/2017 Webb, Bennie                                         Soil Processing                               Soil
                                                                                                                                                                                                                             _ _ Processing                                  Soil Sorter                                                                             J                       Soil Sorter                  906           Bi-weekly
                                                 A                  ~T                  EastPoint             9~21~2017 Mathis, Tavares                                      Dnvers                                        Drivers                                          [Inver                                                                                   ~                        Driver                      906           Bi-weekly
                                                 A                  FT                  EastPoint             7/21/2010 Trammell, Zenobia 1                                  Clean Processing                              Clean Processing                                  Laundry Operator                                                                                                 Laundry Operator            906           Bi-weekly
                                                 ~.___ ....__-_..,. FT
                                                 A                   _ _. ~____         EastPoint
                                                                                         ~______ _._             6/9/2010 Trigger,
                                                                                                             ___....~.....    ___.~.dNorine
                                                                                                                                        _._ _ .. _          _. ~._ ...__     Clean Processing
                                                                                                                                                                                   . _ .___.._ .., W_                 _ Clean __.~.
                                                                                                                                                                                                                               Processing
                                                                                                                                                                                                                                    ,~ _                    ___ _ .._ Laundry Operator
                                                                                                                                                                                                                                                                       __ _ _.._.__ _ _._...__.___ _ _ .,..~_._ ~_,._                                                _                        Laundry Operator            906           Bi-weekly
                                                 A                  FT                  EastPoint                2/4/1977 McCommons, Ida                                     Clean Processing                           Clean Processing                              Laundry Operator                                                                                                        Laundry Operator
                                                                                                                                                                                                                                                                                                                                                                                              ..                          ~i906         Bi-weekly
                                                 A                  FT                  EastPoint             3/31/1986 Jones, Connie                                        Plant Admin                                   Plant Admin                                       Operations Administrative Assistant                                                                             ,ups Admin Assistant         SOb         `Bi-weekly
                                           ;A                       FT                  EastPoint             9/26/2017 Washington, Charles                                  Soil Processing                               Soil Processing                                   Laundry Operator                                                                                                 Laundry Operator           .906           Bi-weekly
                                                 A                  FT                  EastPoint             7/30/2018'McCarty, Kendric                                     Plant Management                              Plant Management                                  Operations Manager                                                                                               Operations Manager          -:906         Bi-weekly
                                                 A                  FT                  EastPoint            11/10/2014Forman, Irene                                         Clean Processing                            :Clean Processing                                   Laundry Operator                                                                                                ~ LaundryOperator ~         X906       ~'Bi-weekly
                                                 A
                                                 ._ __.        ___ FT                   EastPoint              7/8/2005 Granados Lara,_Adrian
                                                                                                                                        ___                         — ~-
                                                                                                                                                                         Soil Processing
                                                                                                                                                                            —     ___~_.                                   Soil
                                                                                                                                                                                                                             _ __Processing
                                                                                                                                                                                                                                    __ _.~ .... _ _— _                      _. __ Operator
                                                                                                                                                                                                                                                                       _ Dryer      .___ ...                                                                                                   Dryer
                                                                                                                                                                                                                                                                                                                                                                                                  ._ Operator
                                                                                                                                                                                                                                                                                                                                                                                                            _.          ~ 906          ~ Bi-weekly
                                                 A                 AFT         ~        EastPoint             1/19{2001 Palomo, Mana Teresa                              Specialty Processing ~                            Specialty Processing                          ~ Load Builder                                                                                                      - Load Builder               906          Bi-weekly
                                                 A                  FT                  EastPoint               2/7/2006Granados, Olivia                                     Exchange Cart Processing Exchange Cart Processing                                               Load Builder                                                                                                     load Builder               :906          Bi-weekly
                                                 A                  FT                  EastPoint             3/20/2006 Gomez Gomez, Rosa                                    Clean Processing                              Clean Processing                                  Laundry Operator                                                                                                 LaundryOperator             906          Bi-weekly
                                                                                                                                                                                                                                                                                                                                                                                                                                               Y
                                                 P, __.__.........._ FT     ~.._..___   EastPoint
                                                                                             __......_,...      1{1/2001:
                                                                                                                     _._...._ Lopez,
                                                                                                                                _«._ Maria
                                                                                                                                     ._..... Aiba
                                                                                                                                              _......~_ .__~_.....__         Exchange         Cart Processing Exchange
                                                                                                                                                                               _~~._._._..__.........________._...~..._        _.... _ Cart
                                                                                                                                                                                                                                        .. .... Processing
                                                                                                                                                                                                                                                 ... ..._.~..m_._..__.. Load Builder
                                                                                                                                                                                                                                                                              _... __.. . ... ._.. ._....__.._ ..__.....~._....... _._~._.~.._.._. ._.._           ___.                       Load Builder                906          Bi-weekl
                                                 A ~_ __~,_ FT                          EastPoint             7/21/2005Cortez, Maria Luisa
                                                                                                                                         ~~~_. _ _                           Soil  Processing
                                                                                                                                                                               _.__.g             __ _. a ~ g Soil       __ Processing
                                                                                                                                                                                                                            .. _ g ~_~ _ _ __ g ~ . Soil                 .. Sorter
                                                                                                                                                                                                                                                                            . .. _._ . ~__.._                 __ ._ _ ..e _ .~ _ _                                                           'Soil Sorter                 ;906         Bi-weekly
                                                                    FT                  EastPoint                                      ~
                                                                                                             10/25/2004`Pacheco, Erika X                                     Exchan e Cart Processin                    Exchan e Cart Processin                         Load Builder                                                                                                          Load Builder               '906          Bi-weekly
                                                 A                  FT                  EastPoint            10/20/2004 Hernandez, Margarita                                 Clean Processing                              Clean Processing                                  Laundry Operator
                                                                                                                                                                                                                                                                                     _-                                                                                                      Laundry
                                                                                                                                                                                                                                                                                                                                                                                             ..      Operator
                                                                                                                                                                                                                                                                                                                                                                                                      _.                  906          Bi-weekly
                                                 A      __. ..---- FT__._      _.       EastPoint
                                                                                          _._ _... ..          5/7/2002 Alfaro
                                                                                                             _ _.               Marina
                                                                                                                            _. _.._ _. .__ Del Rosario
                                                                                                                                                     _                       Scrubs
                                                                                                                                                                            e__. __ /OR   Processing
                                                                                                                                                                                    _.. _.._._ ___. _                     Scrubs/OR  Processing
                                                                                                                                                                                                                           __~ .~ . ....___.. .____ .__ .Team
                                                                                                                                                                                                                                                         _.... Lead_._.                                                            ___ . .___.                                               Team lead                    906          Bi-weekly
                                                 A                 FT                   EastPoint              2/2/2005 Leal Roman, Gustavo                                  Engineering -Non Union                      : Engineering                   Maintenance Mechanic 2                                                                                                               Maint.Mechanic2             906          Bi-weekly
                                      'A              ~._.~_ . ~.._.... FT _... _~... . . EastPoint
                                                                                             _._....           8/15/2000;Rodriguez,
                                                                                                             _.._...... . . ... .. __ .__.. . ..Ines     I
                                                                                                                                                 .... . ,_....._._.,.._...._._.._ ..~.. 'Clean    Processing
                                                                                                                                                                                         .__.._,._m_~._....._., _,_.~. (Clean
                                                                                                                                                                                                                        _..~.._.._ Processing
                                                                                                                                                                                                                                       _._.___ .__..__ ~_.__                 Laundry
                                                                                                                                                                                                                                                                              _...   Operator
                                                                                                                                                                                                                                                                                          __. _.._..__ ._.____....~                   ,.___ _.. ...__.                                      LaundryOperator
                                                                                                                                                                                                                                                                                                                                                                                       ~._. _,  ~ ___,._. .w. ..,_ _.     906
                                                                                                                                                                                                                                                                                                                                                                                                                           _..__   ~____ Bi-weekly
                                                 A                      FT                EastPoint            1/25/2005'Gonzalez, Norma A                                               Exchange Cart Processing ', Exchange Cart Processing                                Load Builder                                                                                                   Load Builder                  906            Bi-weekly
                                             Alliance Laundry and Textile Services, LLC
                                             Crown APA attachment requests
                                             As of 2018-11-21
Desc




                                             Source: EmployeeCensus.accdb -tables - Census_Current
                                                     Employee     Employee    Plant                                                                                                                                                                                                                                                                                                                       Location                 Ann~ini b~~c
Entered 12/21/18 12:13:35




                                                      SCatus        Type      Name                      Hire Date            Last, f fi rst                             ~     Department Name                              CCl name                                                           Title                                     Bsse Rate   Employee ID                 Position                    Code       PH Cycle       w at~,cs    ~
                                                 A               F7        EastPoint                    12/3/2013 ~ ~ ,Annie                                              Clean Processing                        Clean Processing                            Laundry Operator                                                                                     Laundry Operator                      906          Bi-weekly
                                                 A               FT        Spartanbur;                  7/21/2013 iacharewski,Jacqueline                                  Drivers                                 Drivers                                     Driver                                                                                               Driver                                908          Bi-weekly
                                                 A               FT        Spartanbur;                   5/1/2017'Krawczyk, David                                         Hoor Supervision                      i Floor Supervision                           Plant Manager                                                                                         Plant Manager
                                                                                                                                                                                                                                                                                                                                                                  _ _...                                 908          Bi-weekly
                                                 A              !FT        Spartanbur;                  6/24/2013 Vasilevich, Mariya                                      Clean Processing                      (Clean Processing                             Laundry Operator                                                                                      Laundry Operator
                                                                                                                                                                                                                                                                                                                                                                             _,                       _ 908          'Bi-weekly
Page 143 of 229




                                             A _.._.           'FT
                                                            ___m~_                  Spartanbur, Z/10/2018 Burgess,                      Judith
                                                                                                                             _ _. _.,_...    m _ _.v_.~~m.                       Clean Processing
                                                                                                                                                                                               __                __. . _ ___ Clean._Processing
                                                                                                                                                                                                                                        . _. _~._                       Laundry Operator                    __.._                                                   Laundry
                                                                                                                                                                                                                                                                                                                                                              _.._ __          Operator
                                                                                                                                                                                                                                                                                                                                                                      ~._ m __.~__                      908           Bi-weekly
                                                                     _---__ ___ _
                                             A__T                FT
                                                             __..__m_        ~ Spartanbur,
                                                                                     v~           _      10/7/2013
                                                                                                         _                Velasquez,
                                                                                                                          _._               Blanca __                            _Clean
                                                                                                                                                                                     ... Processing
                                                                                                                                                                                              _,...—,_       --
                                                                                                                                                                                                                             Clean Processing
                                                                                                                                                                                                                                        ORP~_ _ __ Laundry               _ .~_,      Operator
                                                                                                                                                                                                                                                                                            ~a~~ _ ___ . ,~~ . __                                                 laundry Operator                       908          Bi-weekly
                                             A.____. ,_       !PT_....._______ Spartanbur,
                                                              _,                        .__             6/24/2013;Parchuk,
                                                                                                        .~.~._                            Nina .............. ..._...,.....__ . _Scrubs
                                                                                                                 .~,_. ~ ..______ W_. ....,._...                                     ._ /OR          Processing
                                                                                                                                                                                               .,_.._,_.   .___.,,_.. ._...Scrubs     /
                                                                                                                                                                                                                             _.____._____._v._rocessing
                                                                                                                                                                                                                                                     __._....________.. Packer
                                                                                                                                                                                                                                                                         _.__..__.__         ______~_. _,_________W__ __ _ __ _.                                  Packer                                .908          Bi-weekly
                                             A                 ~ FT                 Spartanbur;' 5/6/2016;Wilson, Charles                                                        Soil Processing                             Soii Processing                            Team Lead                                                                                  Team Lead             ~       ~ X908            ~Bi-weekly
                                             A                   FT                ;Spartanbur 6/24/2013~Gutierrez-Rodriguez, Luz                                              .Clean Processing                          'Clean Processing                            laundry Operator                                                                            Laundry Operator                     1908          Bi-weekly
                                          '. A                   FT                .Spartanbur, 5/30/2018Kaur,Avinash                                                            Clean Processing                         ';Clean Processing                            Laundry Operator                                                                           Laundry Operator                   x:908 ~         Bi-weekly
                                             A                   FT                 Spartanbur; 12/12/2013 Grant, Gerrode                                                        Soil Processing                             Soil Processing                            Soil Sorter                                                                               'Soil Sorter                          .908          Bi-weekly
                                             A                   FT                 Spartanbur: 1/22/2018 Simmons, Robert                                                        Service                                  .linen Asset Management                       Linen Asset Mgr                                                                       ~~ Linen Asset Mgr~~~                 ~ ~~ 908 ~     ~~Bi-weekly
                                       'A_u___,. _„.._ _         FT_ ___._.---_ Spartanburg
                                                                                    , ._ ._ _            _ ~. _. ._ Doggett, 5indair
                                                                                                        6/24/2013'                                                                drivers                               ~ Drivers ~.__ .               ___~__._._       Driver ~_ _ .~ ,.. ~ _ ~_. _ .__ ....___._ _             _                          ~ ~ Driver          ~        ~~~~.~~~~ 908 ~~~~Bi-weekly
                Exhibit A - Purchase Agreement




                                                                                                                                                                                  Drivers                                                                          __ Transportation
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                           A ~.__....__   __     FT                 Spartanbur;
                                                                                      p_~_.._.       __.__~5/9/20161
                                                                                                               _ ~.       Lingerfeft, Gary _._...                    _—            —._            __         ___._...._   ;Drivers~ .... .. .                                        __..... Manager
                                                                                                                                                                                                                                                                                             . ....~......~ ~.__. . ......._._..                                   Transportation Mgr                    9Q8         {Bi-weekly
                                           A                     FT                 S artanbur 6 24 2013'Carrin,John                                                              Drivers                                    orivers                                    Driver                                                                                     Driver                                908          Bi-weekly
                                           A                     FT                 Spartanbur; 6/24/2013:Hines-Moore, Barbara                                                   Plant Admin                              'Plant Admin                                  Operations Administrative Assistant                                                        Ops Admin Assistant                 !908           Bi-weekly
                                           A                     FT                 Spartanbur; 6/24/2013;Wiley, Allen                                                            Drivers                                 'Drivers                                      Driver                                                                                     Driver                                908         ! Bi-weekly
                                        .~ A _._____ _ _ __~     FT
                                                                  __ ~.~____ ~ _ _Spartanbur,
                                                                                      ______ _           9/11/2014
                                                                                                      ____  — ...         SmaII,
                                                                                                                         ~__      ___Carolyn
                                                                                                                                      .__       _... _ .. _____ .Housekeeping     _.__ ._. . _.._._ _. _.__ _ . _ 'Housekeeping
                                                                                                                                                                                                                           . __ __ _ ____ ___ __ _w ___._.. Janitor           _ _ ___ _____ _ _~__.~—_ . _ _. _ ._                                            ~~~Janitor ~w                ^~ ~ ~       ,
                                                                                                                                                                                                                                                                                                                                                                                                        908        w,Bi-weekly
                                           A _.__.               FT
                                                                  ____..___..__.__ 'Spartanbur„
                                                                                    _ _._,.~ _~_ .,~. 6.,/24/2013         Davis,
                                                                                                               ., _ _~,_;.,          Freida .~_r. .._ __._ ___ _Soil
                                                                                                                              . ._ _.._____~_~                                     __.___Processing
                                                                                                                                                                                             ._._.__._ _._..___~____.V    'Soil_ _Processing
                                                                                                                                                                                                                                    _ _~.,__,._. W___._..._ __ Soil      .. Sorter
                                                                                                                                                                                                                                                                                __ ._.. _ ...__.. ~ ~,,,_ _..,~ _.,~.__m__.. _...,_                       ..~ _ v _Soil Sorter
                                                                                                                                                                                                                                                                                                                                                                    __ ._.._                                _ _. . _ sBi-weekly
                                                                                                                                                                                                                                                                                                                                                                             ~ _ ~,~ ..,. _. .. _,_~.. __ 408
                                           A __......     _      FT
                                                                  _ . . . _....... Spartanbur,
                                                                                          _.._          6/24/2013
                                                                                                     _...._...        __ "Jones,__....._
                                                                                                                                     Kathy .. _.__.                   __..       Exchange
                                                                                                                                                                                  ___.....      Cart Processing
                                                                                                                                                                                               __.._....._ ~_ ___         _; Exchange       Cart Processing
                                                                                                                                                                                                                              _ W _ __ . ~~__      . _ _. _._ _._. Load   _. Builder __~_      _..._ ___ _~_ . .._~—               c-                              Load Builder                           908         Bi-weekly
                                           A                     FT                'Spartanbur; 6/24/2013' Morrow, Robin                                                       :Clean Processing                         '.Clean Processing                             Laundry Operator                                                                           Laundry Operator                      908          6i-weekly
                                                 A               FT                Spartanbur, 3/20/2015 Betsill, Anthony                                                Drivers                                  Drivers                                     Driver                                                                                               Driver                                908         i Bi-week)
                                         IA                      FT                Spartanbur; 6/24/2013 McCluney,Torrence                                               Drivers                                  Drivers                                     Driver                                                                                               Driver                                908          Bi-weekly
                                                 A               FT                Spartanburg 10/25/2016 Glenn, Christopher                                             Drivers                                  Drivers                                     Driver                                                                                          ~~ Driver ~~               ~~~ ~~~ 908 ~~ ~!Bi-weekly
                                          A_..._.____~           FT_..          Spartanburg
                                                                           ____,.                    5/2/2016 Tucker,
                                                                                  _ .. ,..,_.. _ ~__.___._____        James
                                                                                                                 _ _ __..___mn____ __~___.__ -_                          Drivers
                                                                                                                                                                          __     ~_ .,._... ._                Drivers _
                                                                                                                                                                                                         ___. ._.__.      _ _  ___.___                        Driver
                                                                                                                                                                                                                                                               _. ~ __.__.___._______ ~.__.                    ~~_, _ _      __. .__                      _.._ _..:.Driver
                                                                                                                                                                                                                                                                                                                                                                     _  ._ ___. _ _ . .. ~._ __. r _ _ 908
                                                                                                                                                                                                                                                                                                                                                                                                        .._.. ..   .. Bi-weekly
                                          A                      FT             Spartanburg 6/24/2013 Dean, Cedrick                                                      Clean Processing                     Clean Processing                                Laundry Operator                                                                                      Laundry Operator                   908            Bi-weekly
                                                 A               FT               `Spartanbur           7/21/2016 Harden, Benjamin                                       Drivers                                  Drivers                                     Driver                                                                                               uriver                                yut~         kii-weekly
                                                 A               FT                Spartanbur; 7/22/2013 Biggerstaff, Christopher                                        Soil Processing                          Soil Processing                             Laundry Operator                                                                                     Laundry Operator                      908         iBi-weekly
                                       !A                        FT                Spartanbur; 12/6/2015 Scruggs, Brian                                                 .Soil
                                                                                                                                                                        -     Processing                          Soil Processing                             Team Lead                                                                                            Team Lead                             908          Bi-weekly
                                                 A               FT                Spartanbur: 4/27/2017 Hall, Tina                                                      Clean Processing                         Cfean Processing                            Laundry Operator                                                                                     Laundry Operator                      908         ;Bi-weekly
                                          A                      FT                Spartanbur, 2/26/2018 Edwards, Shirley                                                Clean Processing                         Clean Processing                            Laundry Operator                                                          _.               .~. ~ ..~. 'Laundry
                                                                                                                                                                                                                                                                                                                                                                     _ ... ~_ ~_Operator                   _ _ _ ~Bi-weekly
                                                                                                                                                                                                                                                                                                                                                                                 _._ _ __,.._ ~.. ...... 908              Y
                                                 A               FT          _..__ Spartanbur;:
                                                                                       ~...___    9/6/2016'
                                                                                                _.__      ; Ragin,
                                                                                                        ___     _ Adam
                                                                                                                   ....~ .. __.__                               __      Soil
                                                                                                                                                                          _.._..Processing
                                                                                                                                                                                       __              ____     .Soil
                                                                                                                                                                                                                  ~_Processing
                                                                                                                                                                                                                          r.. .                _~_~ _       .Soil
                                                                                                                                                                                                                                                             __ Sorter
                                                                                                                                                                                                                                                                     _.._.               __              __       _._..__.                                           Soil Sorter                         908     !Bi-weekl
                                      :A                         FT                Spartanbur, 9/17/2018Bailey, Katie                                                  '.Housekeeping                           'Housekeeping                                Janitor                                                                                              .Janitor                               908         'Bi-weekly
                                                 A               FT               ',Spartanbur; 6/24/2013: Mitchell, Lillie                                              Clean Processing                       (Clean Processing                           'Laundry Operator                                                                                      Laundry Operator
                                                                                                                                                                                                                                                                                                                                                                           _._                           908         iBi-weekly
                                                                                                                                                                                                                                                                                                                                                                                                          __
                                                 A              `'FT               Spartanbur; 12/29/2015Kershaw,Sara                                                    Clean Processing                         Clean Processing                            Laundry Operator                                                                                    'LaundryOperatar                       908          Bi-weekly
                                                 A               FT                Spartanbun 5/17/2017 Roseburgh, Bobby                                                :Clean Processing                       :Clean Processing                            ~LaundryOperator                                                                                      Laundry Operator                    '908           Bi-weekly
                                            A
                                           _____                 FT                Spartanbur,            9/9/2013'Bridges, _ ._ _.... _ ,_. ...__ _ .., Clean
                                                                                                          _ _ _ _ _ _ ___. Rickshonda                     _ _..., Processing
                                                                                                                                                                   _ _ _.~~  __ __ _                            ,._Clean
                                                                                                                                                                                                                    . _.. Processing
                                                                                                                                                                                                                            ,~_ _ u._ _ ___ ._                Laundry Operator                  __.. _.._ ~ . ~ _~____._                                           Laundry Operator                      908         =Bi-weekly
                                            A                    FT                Spartanbur;            9/6/2014Everheart,Shea                         Soil Processing                                         Soil Processing                              Team Lead                                                                                            Team Lead                           '908          'Bi-weekly
                                        ,A                       FT                Spartanbur,            7/6/2018Morrow, Daniel                                         Clean Processing                         Clean Processing                            laundry Operator                                                                              ~ ...._d_Laundry Operator
                                                                                                                                                                                                                                                                                                                                                                                _ ._ ~__            __ ;908
                                                                                                                                                                                                                                                                                                                                                                                                         -__ _. _ ~'; Bi-weekly
                                                                                                                                                                                                                                                                                                                                                                                                                              Y
                                      'A                        'FT                Spartanbur' 7/14/2017'Sims,Jeremy                                                     Soil Processing                        'Soil Processing                              Soii Sorter                                                                                         Soil Sorter                          '908          Bi-weeks
                                         iA                     'FT               'Spartanburi 4/12/2017 House Jr, Carl                                                 'Drivers                                'Drivers                                      Driver                                                                                              Driver                                908          Bi-weekly
                                             A                  ;FT               ;Spartanbur, 6/24/2013 Kelley,lanice                                                   Clean Processing                         Clean Processing                            Laundry Operator                                                                                    Laundry Operator                      908          Bi-weekly
                                                 Alliance Laundry and Textile Services, LLC
                                                 Crown APA attachment requests
                                                 As of 2018-11-21
Desc




                                                 Source: EmpioyeeCensus.accdb -tables - Census_Current
                                                    Employee ~ fmpioyee                      Alant ~                  (                                                                                            ~                                                 {                                                                                                                                                Location                 Annu~ibase
Entered 12/21/18 12:13:35




                                                      Status             Type                Name      Hire Date                        last, First                            Department Name                                         CCl name                      ,                                         Title                                    Base Rate   gee ID                       Position                Code        Nft Cycle   ova{ cs
                                                 F~ _._~.~ _~-_. FT                    Spartanbun       3/6/2015 Wilson, Vivian                     _..               Clean Processing       _      _ _                Clean
                                                                                                                                                                                                                          — Processing
                                                                                                                                                                                                                                    ______._.. ... ___v_. Laundry           _ _ .. Operator
                                                                                                                                                                                                                                                                                        __._ ___.,_                _ .~.._..._ _.______.re _.__ ._                                 Laundry Operator                  908            Bi-weekly
                                                 A                    FT               Spartanbur; 6/24/2013 Saxon, Frederick                                         Engineering- Non Union Engineering                                                                Maintenance Mechanic 2                                                                                      Maint. Mechanic 2              908              Bi-weekly
                                                 A                    FT               Spartanbuc 12/19/2017 Moore, Kim                                               Soii Processing                                  Soil Processing                                  Soil Sorter                                                                                 ~        _._   Soil Sorter                 _     908            Bi-weekly
                                                 A                    F7               Spartanbur; 9/23/2015 Moore, Tony                                              Drivers                                          Drivers                                          Driver                                                                                                _ Driver
                                                                                                                                                                                                                                                                                                                                                                                   .....                             908         'Bi-weekly
Page 144 of 229




                                                 A            _ FT_._~.._              Spartanbun 2/26/2018 Tracy,               Donald
                                                                                                                              __.__      _._~ ..._~_.__.. _.         Soil      Processing
                                                                                                                                                                         _.____.,..,    .. ~_ __..____.__              Soil Processing  _~____m____. ,               iSoil
                                                                                                                                                                                                                                                                      -_____  Sorter                      ___~._~ _._                _                 _                   __. '•. Soil Sorter                       908            Bi-weekly
                                                 A                    FT               Spartanbur 6/24/2013 York, Jessica                                             Clean Processing                                 Clean Processing                               i Laundry Operator
                                                                                                                                                                                                                                                                                                                                                                        .._ ._Laundr             O erator
                                                                                                                                                                                                                                                                                                                                                                                          ..._.Y_..P ___ _~. _.,.. '908
                                                                                                                                                                                                                                                                                                                                                                                                                      _ . _ ~ Bi-week)Y
                                                 A                    FT               Spartanbur; 6/24/2013,Matthews, Leonard                                        Floor Supervision                                Floor Supervision                                Production Supervisor                                                                                      Production Super                .908             Bi-weekly
                                                 A                    FT               Spartanbur, 10/21/2013 Patterson, Matthew                                      Engineering -Non Union Engineering                                                             ;Maintenance Mechanic 3                                                                                 ._... Maint. Mechanic 3                 908 ~ Bi-week)y
                                                 A                  , FT               Spartanbur, 6/24/2013; Loftis, Gary                        _                   Engineering -Non Union :Engineering                                                            .Maintenance Mechanic 3                                                                                       Maint. Mechanic 3    _
                                                                                                                                                                                                                                                                                                                                                                                                        .          '908    w_ __    Bi-weekly
                                                 A                    FT               Spartanbur 12/11/2015'Boggs, Joseph                                            Drivers                                          Drivers                                          Dnver                                                                                                      Dnver           _               ~ 908       _,~ Bi-weekly
                                                 A ___.__ _
                                                 _.                   FT               Spartanbur; 6/14/2018'Pye Lexy          _ __ _ .            w_      _...__     Clean Processing
                                                                                                                                                                                     _ .  _   _._ .   _  _  __         Clean Processing
                                                                                                                                                                                                                          _.                 _       _.___  _        'Laundry Operator
                                                                                                                                                                                                                                                                         __          __.~_._      _     . _.._         _.____.     ~         . _  _  _   __   ...                  Laundry Operator                  908          `Bi-weekly
                                                 A                    FT               Spartanbur; 6/24/2013 Epps, Billy                                              Engineering- Non Union Engineering                                                            ',Maintenance Mechanic 2                                                                _..                ~ Rgamt. Mechanic2                    908            Bi-weekly
                                                 A                    FT             ~Spartanbur; 1/29/2018 Trump Jeffrey                                             Engineering -Non Union Engineering                                                                Maintenance Mechanic 1                                                                                     Maint Mechanic 1                  908            Bi-weekly
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                 A                    FT             ,Spartanburi 8/S/2013Pearson,Shenique                                            Clean Processing                                 Clean Processing                              ?Laundry Operator                                                                              r              Laundry Operator                  908            Bi-weekly
                                                 A                    FT               Spartanbur, 10/26/2016 Howington Allen                                        Soil Processing                                   Soil Processing                                 Soil Sorter                                                                                                 Soil Sorter                       908         'Bi-weekly
                                                 A                    FT             i Spartanbur,.' 6/29/2015'Bennett, Apri)                                        Clean Processing                                  Clean Processing                              f Laundry Operator                                                                                            LaundryOperator                 .908_._        ~Bi-weekly
                                                 A                    FT               Spartanbur E/23/2018 Quick, Robert                                             Drivers                                          Drivers                                          Driver                                                                                                     Onver                             908            Bi-weekly
                                                 A                    FT               Spartanbur 11/25/2015 Suber Maunce                                             Floor Supervision                                Floor Supervision                                Production Manager                                                                                         Production Manager                908            Bi-weekly
                                                 A                    FT               Spartanbur, 4/2/2015 Corn, Kayla                                               Clean Processing                                 Clean Processing                                 Laundry Operator                                                                                           Laundry~Operator ~~ 908                       !~Bi-weekly
                                                 A                    FT               Spartanbur 6/24/2013 McCravy,Janice                                            Clean Processing                             'Clean Processing                                    Laundry Operator                                                                                           Laundry
                                                                                                                                                                                                                                                                                                                                                                                     __..        Operatar ~T~M~ry 908 _ ~ v~ ". Bi-weekly
                                                 A                 EFT                 Spartanbur; 8/6/2018'Tello, Donna                                           iClean Processing                                   Clean Processing                                 Laundry Operator                                                                                           Laundry Operator                  908          iBi-weekly
                                                 A                    FT               Spartanbur;' 6/24/2013': McCraw, Michael                                       Drivers                                      .Drivers                                             Driver                                                                                                     Driver                            908          i Bi-weekly
                                                 A __.___ ..,. FT     .,      ._..~_ j Spartanbur;
                                                                                       .....~ .r.~ ~_ 10/20/2014':
                                                                                                        _._      _.~.. ..Harris, John . .... _._~_~_...__,.~_..~ _ Drivers
                                                                                                                           ..~_...__.~....                            .,_.....,.._. ,. _.__..____...._._.._..__. . 'Drivers
                                                                                                                                                                                                                      _, .__.._.~...__~.__~._.____ _ __~.~_.. ._.... Driver __...._.._...._....... __~.~..~.._ ... ........ . .. . ........_.._ _..__.   ~.                        Driver                            908            Bi-weekly
                                                 A                    FT               Spartanbur,     5/30/2018'Dimsdale,             Richard                     . Soil      Processing                          - . Soil    Processing                            . Soil   Sorter                                                                                      ~~~Soil Sorter ~~~ ~~ ~~                ~=908 ~~`Bi-weekly
                                                 A                    F7               Spartanbur3 5/4/2017 Davis Cornelws                                           Soil Processing                                   Soil Processing                                 Soil Sorter
                                                                                                                                                                                                                                                                                 __. __ __                                                                                  W Soil _       Sorter
                                                                                                                                                                                                                                                                                                                                                                                             __ _._      _.. _    _ 908
                                                                                                                                                                                                                                                                                                                                                                                                                      _..     __. Bi-weekly
                                                 A                    FT               Spartanbur 10/28/2013 Cheeks, Bobby                                            Clean Processing                                 Clean Processing                                 Laundry Operator                                                                                           Laundry Operator                  908         : Bi-weekly
                                                 A                    FT             ;Spartanburg 11/16/2017'Hackett, Willis                                         Soil Processing                                   Soil Processing                                 Soil Sorter                                                                                                 SoiiSorter                        908         'Bi-weekly
                                                 A                    FT               Spartanbur, 1/22/2018!Bussey, Allison                                         Service                                           Linen Asset Management                           Linen Asset Mgr                                                                                            Linen Asset Mgr                 .908             Bi-weekly
                                                 A                    FT               Spartanburg 6/7/2017 Foster, Christopher                                      Clean Processing                                  Gean Processing                                  Laundry Operator                                                                                           LaundrY OPerator                  908         iBi-week)Y
                                                 A                    FT              Spartanbur~ 5/22/2017HaYwood Qumten                                             Dnvers                                           Drivers                                          Dnver                                                                                                      Dnver                             908            Bi-weekly
                                                 A                    FT               Spartanburi 10/11/2018 Corn Dawd                                              Soil Processing                                   Soil Processing                                 Soi! Sorter                                                                                       ._ _,.Soil _ Sorter                       .908             Bi-week)Y
                                                                                                                                                                                                                                                                                                                                                                                             _ _ __.     _.._,.. _ ___ __ v -~.
                                                 A                    FT               Spartanbur       5/2/2016 McNealy, Eric                                        Drivers                                      ;Drivers                                            Transportation Supervisor                                                                              'Transportation Super                :908
                                                                                                                                                                                                                                                                                                                                                                                                                   .              > Bi-weekly
                                                 A                    FT               Spartanbur; 6/24/2013 Ustymchuk, Larysa                                       Scrubs /OR Processing                             Scrubs/OR Processing                         'Packer                                                                                                   Packer ~__                    ---      908      ~ 1Bi-weekly
                                                 A _.... .            FT               Spartanbur, 10/11{1999 Leatherwood, Richard                                   Engineenng -Non Union Engineering                                                                  Maintenance Manager                                                                         ~`        ;,Maintenance Manager 908                          ,Bi-weekly
                                                 A                    FT               Spartanburg 3/8/2018 Thomas Jeffrey                                           Soil Processing                                   Soil Processing                                 Soil Sorter                                                                                                Soil Sorter                        908            Bi-weekly
                                                 A     __         !FT
                                                                    ___ _ .__.       , _______. _._.3/14/2005
                                                                                     ISpartanbury        _ _ _.        Hawkins,
                                                                                                                              __..,_ Robert
                                                                                                                                      ~__ T._ .._                    Plant Management
                                                                                                                                                                     _..____.._.               ___. _                  Plant Management___._                        'Operations Manager               ~ _~.__ _~._ _.                                                              Operations Manager                908          i Bi-weekly
                                                 A          .. _,~ i .~_
                                                                      FT ____._,~ ,Spartanburg
                                                                                        _. ._....       7/1/2014
                                                                                                          __ .~. _,~ Mendoza,
                                                                                                                            .. _ _. Melody  .....~ r _ ._. ___._, _ _Clean
                                                                                                                                                                        _.__.. Processing
                                                                                                                                                                                    _.~..._ ,_         __._..__.       Clean      Processing
                                                                                                                                                                                                                           _,_-_________     _ _ . __ _ _ __ _ Laundry   _., _. _.._   Operator
                                                                                                                                                                                                                                                                                            ____~_..__ _ .__ ._ _._ .._ _ _ ,_ .... ~_                                             Laundry Operator                  908            Bi-weekly
                                                 A                    FT              Spartanbur; 6/24/2013 Jasso, Patricia                                          Clean Processing                                  Clean Processing                              = laundry Operator                                                                                            Laundry Operator                  908            Bi-weekly
                                                 A                    FT              Spartanburg: 6/28/2017iGomez,Concepcion                                        Clean Processing                                  Clean Processing                             'Laundry Operator                                                                                              Laundry Operator                  908         , Bi-weekly
                                                 A                 iFT                Spartanburj 6/21/2017'Gomez, Carlota                                           Clean Processing                                  Clean Processing                              aLaundryOperator                                                                                 :. ~LaundryOperator                          ~~908        _; Bi-weekly
                                                 A               _ AFT                Spartanbur:   _  6/24/2013 Pena, Graciela           _              _           Clean Processing                                  Clean Processing                                Laundry Operator                                                                                            Laundry Operator                  908            Bi-weekly
                                                                                                                                                                                ____
                                                 A                   FT               Spartanbur; 10/3/2018 Figueroa, Priscilla                                      Clean Processing                                  Clean Processing                                Laundry Operator                                                                                            Laundry Operator                  908            Bi-weekly
                                                 Alliance Laundry and Textile Services, LLC
                                                 Crown APA attachment requests
                                                 As of 2018-11-21
Desc




                                                 Source: EmpioyeeCensus.accdb -tables - Census_Current
                                                Employee Employee                   Plant                                                                                                                                                                                                                                                                                                                         location
Entered 12/21/18 12:13:35




                                                  Sta[us            Type            Name            Hire   Date                      List,  Fu~t                         Department           Name                            CC1   name                                                           Title                                   Base Rate j Employee  ID                 Position                                         PR Cycle
                                                                                                                                                                                                                                                                                                                                                                                                                       Code
                                              A  __.    _ u~ _  PT     _   ~._   Spartanbur; 6/24/2013 I i l Mina
                                                                                            _ _      _  _  ....  ..~           __         ___           ._         Clean Processing_                          Clean       Processing                                  Laundry     Operator                                                                                Laundry    Operator                    908                Bi-weekly
                                              A                 PT              Spartanburg 6/26/2018 +tomar, DaQuarius                                            Soii Processing                            Soil Processing                                        Soil Sorter                                                                                         Soil Sorter
                                                                                                                                                                                                                                                                                                                              ___         _...                                     _._..                         908                Bi-weekly
                                              A                 FT              Spartanbur; 6/24/2013;Patel, Indirabahen                                           Clean Processing                           dean Processing                                      = Laundry Operator                                                                                    Laundry Operator _.                    908   _           ?Bi-weekly
                                              A                 FT              Spartanburg 8/5/2013 Everhart, Yesenia                                             Clean Processing                           Clean Processing                                     ~ Laundry Operator                                                                                 'Laundry Operator                        '908
                                                           _                             _.                                                                                                                                                                                                                                                                                                                                         Bi-weekly
Page 145 of 229




                                              A                 FT              Spartanbun 6/24/2013 Ray Nayna                                                     Gean Processing ~                          Clean Processing                                        Laundry    Operator                                                                                Laundry    Operator                    908               ;Bi-weekly
                                              A                 FT              Spartanbur, 6/24/2013:Kaur Jaswmder                                                Clean Processing                         :Clean Processing                                        Laundry Operator                                                       '                            Laundry Operator                       908                 Bi-weekly
                                              A     _._.... FT                  Spartanbur, 10/12/2016;   _. __ _ .Chavez       Constance,      Julia.._.__. _ _ Clean       Processing
                                                                                                                                                                                _..~ _... __________. __~ _ Clean        Processing
                                                                 _.                                                  V _ _ __..      _. V _                          ._ _ _ __                                  w            ~~__ .... _ _ ~. _...~ _____. laundry      _...___~Operator
                                                                                                                                                                                                                                                                                   _.. _ _ _~ ~._.__,~_ _._             __~._..._z _.__                                  Laundry Operator                       908               ~Bi-weekly
                                              A                 FT              TnState             8/15/2016 Lipscomb Lenora                                      Clean Processing                           Clean Processing                                       Laundry     Operator                                                                                Laundry    Operator                    912                Bi-weekly
                                              A                 FT              TnState           12/12/2017'Wesley William                                        Soil Processing                 _          Soil Processing                                        Soil
                                            E                                                                                                                                                                                                                            _ Sorter _~_..__. ....~...__ _____.. __.~_ ~_ ___ ~~ ._                                      '. Soil Sorter                           '912                Bi-weekly
                                              A                 FT              TnState             11/8/2017    __  Bowens,      Daphney                          Clean     Processing
                                                                                                                                                                              _.                              Clean      Processing                              ~   LaundryOperator                                                                                     LaundryOperator
                                                                                                                                                                                                                                                                                                           _,....          _.                                                                                  !912               ~Bi-weekly
                                              A                 FT              TriState         ~ 12/5/20].7 Bigelow, Mandy                                       Drivers                                    Drivers                                            ° : Biller                                                                                              Biller                                .912                Bi-weekly
                                              A__.~,_           FT              TnState             8/15{2016 Wiggins        _._..Tanzania                        _Soii  Processing                           Soil__Processing
                                                                         __, ._   . _ _ .., _._..~.__                                 . ___.._.~_m__               .._. ~     . __. ._                                       _~__~_._._. ____.~ Soil                       Sorter_ _ __ ~ _ ___.___.,_.__ ._
                                                                                                                                                                                                                                                                       ~__._,.                                                   ,_____                                  Soil Sorter ~                         ;912                Bi-weekly
                                              A                 FT              TriState            7/30/2018 Cooper, Martin                                    :Phoebe                                      Offsite Labor                                           Linen Distribution Technician                                                                       Linen__Dist     Tech __.
                                                                                                                                                                                                                                                                                                                                                               _ _ _„ ~_.         __~__e_                       912
                                                                                                                                                                                                                                                                                                                                                                                                                 _, _._ _-tBi-weekly
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                              A                ,FT              TnState             11/6/2017 Kennebrew Ramon                                      Drivers                                    Drivers                                                Dnver                                                                                               Dever
                                                                                                                                                                                                                                                                                                                                      t ....__.                                                                 912                Bi-weekly
                                            ~A                  FT             ~TnState             4/30/2018 Hornsby, Todd                                        Engineering -Non Union Engineering                                                                Maintenance         Mechanic     2                                                                  Maint.   Mechanic       2              912                Bi-weekly
                                              A                ,FT              TnState           10/27/2016 Ball, Dorothy                                        Soi) Processing                            Soil Processing                                   !.Laundry Operator                                                                                        Laundry Operator                 ... . 912
                                                                                                                                                                                                                                                                                                                                                                                                                 .......        !Bi-weekly
                                              A                 FT              TriState            8/15/2016 Merntte Annie                                      _Soil   Processing                          Soil     Processing                               'Soil       Sorter                                                                                       Soil  Sorter                            912                6i-weeklY
                                              A                ;FT              TriState            9/20/2017~AImond, Latosha                                     Soil Processing                            Soii Processing                                   'Soil       Sorter                                                                                       Soil  Sorter                            912                Bi-weekly
                                              A                 FT              TnState             7/12/2018 Prttman,Gernardric                                   Housekeeping                             :Housekeeping                                           Janitor                                                                                             Janitor                                 912                Bi-weekly
                                              A                'FT              TriState            8/15/2016 Arnold, Minnie                                      Soil Processing                            Soil Processing                                   `Laundry~Operator                                                                                         Laundry Operator                      :912               ~~Bi-weekly
                                              A                 FT              TriState            11/2/2018Moore, Brandon                                     'Clean Processing                           iCfean Processing                                        Laundry    Operator                                                                                 Laundry0perator                        912              =Bi-weekly
                                              A                 FT              TriState        ~ 8/15/2016 Coleman, William                                    ;Soil Processing                             Soil_....Processing                                     Washer Operator                                                                                    Washer Operator                         912                Bi-weekly
                                              A                 FT              TriState          10/29/2017 Smith_ _.Rossu                                                                                                                                                                                             _ _
                                                                                                                                                                  Floor Supervision                          Floor _ Supervision                                ~ Production
                                                                                                                                ..                                                                                        _. .              _._                       __~ ~__.Manager  _.._.._ ..__._____._          _d~_. ._...._.,                                    Production Manager                      912             `Bi-weekly
                                              A                 FT              TnState             8/15/2016 Daniel, Mary                                        Clean Processing                           Clean Processing                                        Laundry Operator                                                                                   Laundry Operator                        912                Bi-weekly
                                              A                 FT              Testate             8/15/2016 Goodson, Soma                                       Clean Processorg                           Clean Processing —"~ -~ -Team                            ~ ~ ~Lead _ _                    ~             ~ ~_~~ ~              ~~
                                                                                                                                                                                                                                                                                                                                                               — :Team
                                                                                                                                                                                                                                                                                                                                                                     __~ _ __~Lead.        ~ ~~_ _ ~~~ ._
                                                                                                                                                                                                                                                                                                                                                                                  ._., ~. ~._.d         ~ ~ 912~~_,_ .      ~ _ !Bi-weekly
                                                                                                                                                                                                                                                                                                                                                                                                                                3
                                              A                 FT              TnState             8/15/2016 Faircloth, Timothy                                  Engineering -Non Union Engineering                                                                 Maintenance Manager                                                                             'Maintenance Manager     _.              '912              ;Bi-weekly
                                              A                'FT             'TriState ' 4/16/2018 Smith, Eric                                                  Drivers                                    Drivers                                          .Driver                                                                                                  Driver                                   912                Bi-weekly
                                             Q                  FT              TriState              8/1/2017 Williams, Phillip                                  Drivers                                    Drivers                                                Driver                                                                                             Dever
                                                                                                                                                                                                                                                                                                                          __.   _.._.                                                                           912                Bi-weekly
                                              A                 FT              TriState              9/2/2016 Williams, Kenneth
                                                                                                                          __  ~              _.                  Soil Processing
                                                                                                                                                                       _      _.                             Soii Processing                                        Laundry Operator                                                                                   Laundry Operator
                                                                                                                                                                                   ___            M_.,                _  ._ _.__~_                 __   . ...          _                    ~.._...._  _~____. _ ..__..~____ __.                                                                                912                Bi-weekly
                                              A                 FT              TriState          10/16{2018 Leonard Jr Calvin                                   Clean Processing                            Clean Processing                                 ;Laundry Operator                                                                                       LaundryOperator
                                                                                                                                                                                                                                                                                            w._~                                                                                                                912                Bi-weekly
                                              A____~  _   _,    FT
                                                                _..     ._._„   TnState_...       .
                                                                                                  ~ 6/18/2018 Barnes Tyquashia
                                                                                                       _,    __._._     __.~.,   ...   —_        _.. __          Clean Processing
                                                                                                                                                                    ___.._ _  .  _   __                      Clean Processing                                       Laundry     Operator                                                                             `Laundry      Operator
                                                                                                                                                                                              _., w~..,      _____      _.____                         ~..                     ~_  ....__.,. _ _ __ _~___.                                                                                  . _. _ _ m _ - 912   _ __ ~ ,,,..~~ Bi-weekly
                                            /l                  FT              TnState           12/18/2017 Oates, Michael                                     Soil Processing                              Soii Processing                                     Soil Sorter                                                                                          Soil
                                                                                                                                                                                                                                                                                                                                                                      _ _ Sorter    __..         __..           912
                                                                                                                                                                                                                                                                                                                                                                                                                  ~~
                                                                                                                                                                                                                                                                                                                                                                                                                                  Bi-weekly
                                              A                 FT              TriState          11/27/2017 W~Iliams, Cassandra                                 Soil Processing                             Soil Processing                                  .Soil Sorter                                                                                            Soil Sorter
                                                                                                                                                                                                                                                                                                           __                                                                                                  912              `Bi-weekly
                                              A                 FT              TriState            5/21/2018 Johnson, Sonya                                     Phoebe                _..                   Offsite      Labor                                    Linen     Distribution      Technician                                                             Linen     Dist.
                                                                                                                                                                                                                                                                                                               _         _.._                               _.                          _Tech                  912                Bi-weekly
                                              A                 FT              TriState          10/30/2017 Wallace George                                      Drivers                                     Drivers                                              Driver                                                                                   '
                                                                                                                                                                                                                                                                                                                                                           '          Driver                                   912             '  Bi-weekly
                                              A                 FT              TriState          10/18/2017 Snell, Shakeita                                     Soil Processing                            Soil Processing                                      Soil Sorter                                                                                          Soil Sorter_
                                                                                                                                                                                                                                                                                                                                                            P                                        _.._. =912  _....          ~Bi-weekly
                                             A                  FT        ~ TriState                8/15/2018 Richardson, Charlotte                              Clean      Processing                      Gean        Processing                               Laundry        Operator                                                                     ~
                                                                                                                                                                                                                                                                                                                                                             .        Laundry      Operator                    912                Bi-weekly
                                             A                  FT              TriState              8/7/2017 Ball Anthony                                      Phoebe                                      Offsite Labor                                       Team        Lead                                                                                    Team       Lead
                                                                                                                                                                                                  __                                                                                                                 _..._                                                                                     912              ~ Bi-weekly
                                             A                  FT              TriState            7/31/2018 Tyson Alyssia                                      Clean Processing                           Clean Processing                                  j Laundry Operator                                                                                      Laundry Operator
                                                                                                                                                                                                                                                                                                                                       ____                                                                   .912                Bi weekly
                                             A                  Ff              TriState            6/27/2018 Woodson Katherine                                  Clean Processing                           Clean Processing                                  ,Laundry Operator                                                                                     laundry Operator
                                                                                                                                                                                                                                                                                          __.                                                                                                                  912             ;Bi-weekly
                                             A ~~ ~FT                           TriState
                                                                                     _._      _      ~5/8/2017~McCray, Paul
                                                                                                       _  ._._                  _.           _                   Drivers           ___     _..              Drivers                                           j  Driver                                                                                               Dever
                                                                                                                                                                                                          _            ______..e.    ___~              ..__._.____w._____                   ~.~____.___.      ~   __ ~_. _._~_.....                                                                            912
                                                                                                                                                                                                                                                                                                                                                                                                             _ _~..      _ ~;Bi-weekly
                                             A                  FT              TriState            4/16/2018-Evans Shabnka                                      Plant Admin                                Plant Admin                                          Operations Administrative Assistant                                                                  OpsAdminAssistant                       '912             !Bi-weekly
                                                 Alliance Laundry and Textile Services, LLC
                                                 Crown APA attachment requests
                                                 As of 2018-11-21
Desc




                                                 Source: EmployeeCensus.accdb -tables - Census_Current
                                                     E mployee     Employee          Plat                                                                                                                                                                                                                                                                      Location
Entered 12/21/18 12:13:35




                                                      Status          Type      Name         Hire Date                  Last, Firs;                      Department Name                        CCl name                                                Title                                Base Rate   Employee IQ                Position                     Code       PR Cycle
                                                 p                 FT        TriState        8/15/2016 I I t I        Corey                         Plant Management                   Plant Management                     Operations Manager                                                                      Operations Manager   912         f;i-weekly
                                           A                       FT       TriState        12/18/2017 King, Leasia                                 Clean Processing                   Clean Processing                     Laundry Operator                                                                        Laundry Operator     912         f3i-weekly
                                                                                                                                                                                                                                                                                              __                            ---      --  ~_._.
                                          `A                       FT       TriState      ° 10/30/2018'
                                                                                               _.            Nelson, Brittany                       Clean
                                                                                                                                                        _. Processing                   Clean Processing                                                                                                      '
                                                                                                                                                                                                                                                                                                              '                          912       ~ Bi-weekly
                                                                                                                                                                                                         _           _..
                                           A                       FT       TnState          10/3/2017.      Moore,  Tamelia                        Floor  Supervision                  Floor Supervision                         Production Manager                                                          "     Production Manager  '912       sBi-weekly
Page 146 of 229




                                                                                                                                                                                                                                                                                                   _                                      .....
                                           A                       FT       TnState          10/9/2018
                                                                                                  _._~ ...~. Winchester    Vanessa                  Clean
                                                                                                                                                     ____ Processng                     Clean Processing
                                                                                                                  _ _       ____..., ~_                       ___.__._.___ _          e_._         ..______.._             ~_ Laundry       Operator _~_,_______._____--_
                                                                                                                                                                                                                                   _..._~~ ___                                                                      Laundry Operator     912       ?Bi-weekly
                                           A                       FT    ~ TriState .;   ~' ~8/27/2017 Burns, Cashonda                              Phoebe                              Offsite Labor                             Linen Distribution Technician                                                     Linen Dist. Tech     912      ; Bi-weekly
                                                 A      .~ .._ FT_~.__V . ...._.__,_._..
                                                                            TnState          10/3/2017
                                                                                              ~. ___ Stephens _        lacenta
                                                                                                                             __.__ __.._..__ ... Clean Processing
                                                                                                                                                             _._. ~..____.~...._        Clean
                                                                                                                                                                                            _ Processing
                                                                                                                                                                                                  _...__._...                   ~LaundryOperator
                                                                                                                                                                                                                                 ~____.~ __               ~._~ .___.___._.~ ~...~~__                                Laundry Operator    ;912         Bi-weekly
                                                 A                 FT       TriState         6/19/2018 Gaint, Timothy                               Cfean Processing                    Clean Processing                        {Laundry Operator                                                                 i Laundry Operator     912     ~ Bi-weekly
                                                 A                 FT
                                                        ._ _ _ . _.._       TnState         10/30/2018'Fieids       Rosalyn _._.._
                                                                                                   __ ~ _ _ _ ~ ~ ----                  _._._ _ _:.Clean   Processing
                                                                                                                                                     _ ._ __~.  __ —                  .Clean     Processing                                                                                                                              912         Bi-weekly
                                                                                                                                                                                      e~____. _ ___  . _ --- ___.__.. _ _ _. _~€...__ ~ _.—.__ ~ __~.~_ _ ..~_._. ___ __         __.
                                                 A                'FT       TriState          3/6/2017 Martin, Chance                             : Engineering -Non Union            _ Engineering                             ` Maintenance Mechanic 1                                                        ~'Maint. Mechanic 1 ~~ 912 ~ Bi-weekly
                                                                    T       7riState         9/13/2017~Johnson Suporra                             Soil Processing                      Soil Processing                          Soi! Sorter                                                                       Soil Sorter           912         Bi-weekly
                                                 A                 FT       Tr~State        10 17 2017 Lewis Cenella                               Clean Processin                       Clean Processing                Laundry   Operator                                                                          aundry Operator     972        Bi-weekly
                                                 A         W,__   FT
                                                                   _ __.__ ~TnState
                                                                                  .. ~        7/2/2018  _ Howard Gaines, Majeedah_   ~_            Clean.. Processing__ ______.          Clean Processing                Laundry Operator                                                                           Laundry Operator    '912       EBi-weekly
                                                                                                                                                                                                                                                       __.._          _        ~_
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                 A                FT        TnState      ~ 8/15/2016 - Ware Ivan                                    Drivers                              Dnvers                          Driver      ~ T ""                                                                            Dever                      j Bi-weekly   912
                                                                                                                                                                                                     _._-                                                                      ___
                                                 A                FT        TriState
                                                                                __.. __.. ~ 8/15/2016       Simmons    Kim                         So~i_.Processing                     ~Soil
                                                                                                                                                                                           ..e.Processing
                                                     _....                                   .                   _._____. .. . ._ _        _.. ___         .._. _ . ..__.     ___..               __._v ~       _~_ _... Washer
                                                                                                                                                                                                                           _ ..~.~ Operator _._. _ . ._.....___.~... _ ..... . . .......     __..                      Washer   Operator
                                                                                                                                                                                                                                                                                                                          .. _._._~_.__. .~ . . _..._ .912
                                                                                                                                                                                                                                                                                                                                                __~ Bi-weeklyY   ---
                                                 A                FT        TnState      ~ 8/7/2017McCoy, Baraka                                 'Drivers                             .: Driven                          Driver                                                                                        Driver _._
                                                                                                                                                                                                                                                                                                                               _           _.......... ..__._.. 912
                                                                                                                                                                                                                                                                                                                                                    Bi-week{
                                                 A                FT        TriState        11/18/2009 Mvou, Daisy Christelle                      Service                             Linen Asset Management               Linen Asset Mgr                                                                          'Linen Asset Mgr             !Bi-weekly    912
                                                 A                FT        TriState         8/15/2016 Hams, Akeem                                 Clean Processing                    Clean Processing                     Washer Operator                                                                            Washer Operator            ~Bi-weekly   .912
                                                 A                FT        TriState         7/31/2018Coleman, Crystal                             Clean Processing                    Clean Processing                     Laundry Operator
                                                                                                                                                                                                                                                                                             _.                  _._ _Laundry   Operator
                                                                                                                                                                                                                                                                                                                       _„ ~,~_..._   _ .____ _w _.__Bi-weekly  .:912
                                                 A                FT        TriState         6/26/2018'Lane, Raytron                               Clean Processing                    Clean Processing                     Laundry Operator                                                                         , Laundry0perator            ~Bi-weekly    912
                                                                                                                                                                                                                                                                                                                                                                 _..
                                                 A                FT        TriState        10/30/2018'Deariso Jasmine                             Clean Processing                    Clean Processing                                                                                                                                           ~ Bi-weekly   912
                                                                                                                                                                                                                                      _ _                                            ~. __
                                                 A                FT        TriState         6/13/2018 Jackson, Shyungela                          Phoebe                              Offsite Labor                       Laundry Operator                                                                            Laundry Operator                         912       'Bi-weekly
                                                                                                                                                                                                                                                                             _....
                                                 A                FT        TriState         3/21/2018 Jackson, Antonio                            Soil Processing                    ;Soil Processing                    ;Soil Sorter                                                                                 Soil Sorter                              912       !Bi-weekly
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 147 of 229


                                 Section 4.10(b)

                  Labor and Collective Bargaininq Agreements


                                      None.




                                                                             3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18          Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement       Page 148 of 229


                                   Section 4.10(c)

                              Employee Benefit Plans


      Personal Days/Paid Time Off

      a)    Non-exempt full-time hourly (non-union) Employees: Years of Service on
            January 1; PTO Hours per Worked Calendar Year; and Weekly Accrual
            Rate:

                   0-2 years — 64 hours; 1.2307692
                   3-10 years — 104 hours; 2.00
                   1 1+years — 144 hours; 2.7692307

      b)    Exempt Salaried Employees —Professionals and Managers: Years of
            Service on January 1; PTO Hours per Worked Calendar Year; Weekly
            Accrual Rate:

                   0-10 years — 152 hours; 2.9230769
                   1 1+years — 192 hours; 3.6923076

      c)    Directors: Years of Service on January 1; PTO Hours per Worked
            Calendar Year; Accrual Rate:

                   0-10 years — 192 hours; 3.6923076
                   1 1+years — 232 hours; 4.4615384

2.    Holidays

      Varies by plant —New Year's Day, Memorial Day, July 4t", Labor Day,
      Thanksgiving, Christmas. If employee works on a holiday, paid at 1+1/2
      times regular rate of pay.

3.    Insurance

      Employee, spouse and dependents are eligible for the following benefits on the
      first day of the month following 30 days of employment: health, dental, vision
      and voluntary life insurance.

4.    Retirement

      Clarus Linen Systems 401(k) Plan. To participate in the 401(k) plan, employees
      m ust at least 21 years old and have completed 1 year of service with Clarus
      Linens. Traditional and Roth options available.


                                                                                 3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18          Entered 12/21/18 12:13:35     Desc
                Exhibit A - Purchase Agreement       Page 149 of 229


5.    Employee Assistance Program

      A no-cost, company-sponsored benefit available to all employees and their
      dependents which provides confidential support, resources and information to
      assist with through life's challenges.

6.    Jury Duty

      Paid regular wages.

7.    Bereavement Leave and Pav

      Three days for immediate family death: father, mother, siblings, spouse,
      significant other, child, mother/father-in-law, grandparents, grandchild. Additional
      two unpaid days if funeral more than 500 miles away.

8.    Voluntary Benefits

      Employees can elect a variety of coverage for themselves or family members
      through AFLAC or Colonia Life.




                                                                                   3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 150 of 229


                                 Section 4.10(d)

                         Multi-Employer Pension Plans


                                     None.




                                                                             3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18        Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement     Page 151 of 229


                                 Section 4.10(e)

              ERISA Withdrawal Liability, Liens, Interest Payments
               Excise Taxes and Minimum Funding Contributions


                                     None.




                                                                               3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18        Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement     Page 152 of 229


                                 Section 4.10(h1

              Benefit Plans for Terminated or Deceased Employees


                                     None.




                                                                               3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18         Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement      Page 153 of 229



                                     Section 4.11

                      Insurance Policies and Pending Claims


      See attached list of Insurance Policies

2.    No pending insurance claims other than health insurance claims pending in the
      ordinary course of business and the pending workers' compensation claims
      identified on the Loss Run Report dated as of November 1, 2018




                                                                                3239221.5
                                                                                                                CENTERSTONE LINEN SERVICES, lLC
Desc




                                                                                                                        POLICY SUMMARY
                                                 COVERAGE              CARRIER                POLICY NO:        EFFECTIVE DATE         LIMIT                         DEDUCTIBLE        PREMIUM
Entered 12/21/18 12:13:35




                                                 Auto                  Federal Ins Co         73605155          9/3/18-9/3/19        $1,000,000 CSL               $2,500 COMP           $355,565
                                                                                                                                    87 units                      $2,500 COLL
Page 154 of 229




                                                 General liability     Great Northern         36034379          9/3/18-9/3/19       $1,000,Q00 each occur            None                $54,457
                                                                                                                                    $2,000,000 General Aggr
                                                 Umbrella              Travelers Indemnity    ZUP-61M35538-18   9/3/18-9/3/19       $15,000,000                      $10,000 S.I.R       $45,792
                                                                                                                                    excess over Gl, AL
                                                                                                                                    and EL
                                                 Property              Landmark American      LHT905751         9/30/18-9/3/19      $31,541,582 Property Limits      $50,000 PD          $89,708
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                                                     3 Days TE
                                                 Boiler &Machinery     Continental Casualty   BM 6072466558     9/30/18-9/3/19      $31,541,582                             $50,000      $30,410
                                                 Directors &Officers   Hartford               01KB 0274452-18   8/3/18-7/3/18        $1,000,000 D&0                         $25,000      $30,590
                                                                                                                                     $1,000,000 EPL                         $50,000
                                                                                                                                     $1,000,000 Fiduciary                        $0
                                                 Crime                 Hartford Fire          FA 0331617-18     9/3/18-9/3/19          $250,000   Employee Theft             $5,000       $2,973
                                                                                                                                       $250,000   Inside Premises            $5,000
                                                                                                                                       $250,000   Outside Premises           $5,000
                                                                                                                                       $250,000   Alteration                 $5,000
                                                                                                                                       $250,000   Money Order                $5,000
                                                  Workers Com.         Great American         WC 1475484-05     7/3/18-7/3/19       Workers Compensation-                   $500,000    $675,575 Premium
                                                                                                                                    Statutory                                           $170,650 Assessments
                                                                                                                                    Employers Liability                     $500,000             (Annualized)
                                                                                                                                    $500,000/$500,000/$500,000
                                                                                                                                                                         Plus Losses
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 155 of 229



                                 Section 4.12(d)

                  Tax Audits. Administrative or Judicial Actions


                                      None.




                                                                             3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18        Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement     Page 156 of 229



                                 Section 4.12(e)

           Purchased Assets Subject to Tax Liability or Encumbrance


                                     None.




                                                                               3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18        Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement     Page 157 of 229


                                 Section 4.13(a)

                        Seller Customers and Suppliers


                                See attached lists.




                                                                               3239221.5
 FiscalYear                                              2017        _                                                                                           ---      ---
                                                         Sum offAN        Sum of fE6       Sum of MAR Sum of APR Sum of MAY Sum oflUN `Sum of JUL               Sum of AU6 Sum of SEP ` Sum of OCT'' Sumo# NOV         '    Sum of DEC'       Total 2017
 Row labels
                                                             2,400.00               0.00             0.00         0.00         0.00         0.00         0.00              0.00           0.00         0.00          0.00             0.00        2,400.00
 ABC Hospital
Desc




                                                                845.25          681.45            790.65       835.80       909.30       97230      1,065.75            936.60        823.20        994.35        889.35           859.95        10,603.95
 ABM -Lanier -Hunt Airport Parking Atlanta
                                                                128.00          164.00             59.50       153.00       136.00       103.50         89.00           184.00            0.00          8.00         0.00             0.00         1,025.00
 Albany Dermatology Clinic
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00              0.00           0.00          0.00         0.00             0.00              0.00
 Alliance Rome Internal Laundry
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00        6,476.02      4,754.31       3,117.71     2,556.15         3,877.94         20,782.12
 AMH Ambulatory Care Center
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00           342.08        118.09          5431          70.47             0.00           584.94
 AMH Archbold Primary Care
Entered 12/21/18 12:13:35




                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00           705.15         270.11       469.98        329.96           491.57          2,266.77
 AMH Archbold Sleep Center
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00           567.22         298.20       104.44          88.08          20729           1,265.24
 AMH Bainbridge Specialty Clinic
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00        5,538.53       3,958.47      4,006.34     3,286.24         2,878.04         19,667.62
 AMH Brooks County Hospital
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00           546.22        524.29        187.71        133.57           198.05          1,589.83
 AMH Cardio Consultants of South Georgia
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00               0.00          0.00          0.00          0.00            0.00              0.00
 AMH Decatur County Dialysis Facility
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00        3,811.06     13,334.01       4,441.97     4,074.25         4,413.29         30,074.58
 AMH Glenn-Mor Nursing Home
Page 158 of 229




                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00        6,553.16       7,439.43      8,506.57     6,693.12         6,857.21         36,049.50
 AMH Grady General Hospital
                                                                   0.00             0.00             0.00         0.00         0.00         0.00         0.00        1,804.16       1,398.26      2,036.11     2,087.31         2,002.29           9,328.15
 AMH Lewis Hall Singletary Oncology Center
                                                                   0.00             0.00             0.00         0.00         0.00          0.00        0.00      23,900.59        8,043.66      6,740.74     7,810.49          7,350.13        53,845.61
 AMH Mitchell County Hospital
                                                                   0.00             0.00             0.00         0.00         0.00          0.00        0.00        4,580.11       1,088.57        873.78     1,348.13          1,819.13          9,709.71
 AMH Northside Center for Behavioral &Psychiatric Care
                                                                    0.00            0.00              0.00        0.00         0.00          0.00         0.00       5,655.39       4,768.17      5,243.20     5,763.16          5,129.16        26,559.09
 AMH Pelham Parkway Nursing Home
                                                                    0.00            0.00              0.00        0.00          0.00         0.00         0.00            75.30          21.26          0.00        21.26            40.80           158.63
 AMH South Georgia Surgical Associates
                                                                    0.00            0.00              0.00         0.00         0.00         0.00         0.00          793.44         510.00       704.31        634.19           502.25          3,144.19
  AMH Thomasville Physical Therapy
                                                                    0.00             0.00             0.00         0.00         0.00         0.00         0.00          335.63         35829        573.89        315.74           438.19          2,021.74
  AMH Urgent Care &Corporate Care Centers
                                                                    0.00             0.00             0.00         0.00         0.00         0.00         0.00          212.29         182.41       274.19        141.18           226.54          1,036.61
  AMH Wound Management & Hyperbaric Medicine
                                                              1,067.00           972.50         1,162.00     1,034.00        797.75       781.00       779.50         1,102.25         614.25       878.25        886.50           737.50        10,812.50
  Amtran Medical Transportation, Inc.
                                                              6,286.28         5,637.53         7,173.16     5,586.48     6,043.51     5,833.77     5,235.81         6,276.52       5,139.42      5,854.67      6,261.77         5,402.83        70,731.76
  AnMed Cannon Memorial Hospital
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                             81,902.27        74,186.97        79,638.07    76,899.65    80,586.01    75,322.51    72,600.22       77,287.76      77,155.47     72,531.96     74,850.76        72,793.51        915,755.18
  AnMed Health Medical Center
                                                             20,256.85        18,53939         21,202.29    17,378.22    19,761.99    18,693.80    18,237.15        20,648.46     17,946.14     19,346.06     20,741.23        19,341.16        232,092.75
  AnMed Health North Campus
                                                                 181.18          218.68            208.76       190.53       205.18       255.01       142.45            260.29        165.90        157.11       198.73           179.39          2,363.21
  AnMed Health Sleep Lab
                                                                 261.15          269.91            490.57       449.98       318.26       403.70       529.02            353.15        168.74       222.14         127.45          298.33          3,892.42
  AnMed Health Wound and Hyperbaric Medicine
  AnMed HMC Replacement Scrubs                                5,841.86               0.00             0.00         0.00         0.00   2,463.02           0.00              0.00           0.00         0.00          0.00            0.00         8,304.89
                                                                    0.00             0.00             0.00         0.00         0.00         0.00         0.00              0.00           0.00         0.00          0.00         465.62            465.62
  Aramark Services
  Archbold Memorial Hospital                                        0.00             0.00             0.00         0.00         0.00         0.00    4,934.13       61,854.92      59,731.44     54,339.58    56,319.73        52,340.69        289,520.50
  BG Neurology                                                     76.18             0.00            76.77         0.00         0.00        76.77         0.00             76.18           0.00        91.77          0.00           15.00           412.67
  Carlton Breast Ce~terat Meredyth Place                         329.55          262.60            247.65       267.80       367.25       296.73       370.83            270.40         274.95       373.10        348.40           259.03         3,668.28
  Carolina Center for Behavioral Health                       6,294.11         5,43931           5,854.94     5,806.75    6,106.84      6,561.34     5,674.78         6,931.52      6,136.41       6,36530      6,340.66         5,386.19        72,898.15
  Carolina Orthopaedic &Neurological Associates(MRI)                 0.00         300.38           254.75       260.25       278.05       169.75       164.95            150.50         207.85       204.90        174.85           194.75         2,360.98
  Carolina Panthers at Wofford College                               0.00             0.00             0.00        0.00         0.00          0.00   3,648.88         1,683.68             0.00          0.00         0.00            0.00         5,332.56
  Center for Advanced Rehabilitation                           7,704.90        6,29238           8,292.77     7,032.65     8,587.89     7,186.18     7,599.25         9,425.20       8,782.49      9,457.76   10,046.30          8,15134         98,559.10
   Center for Advanced Rehabilitation - SACU 3rd Floor               0.00             0.00             0.00         0.00         0.00         0.00         0.00              0.00          0.00          0.00         0.00          719.14            719.14
   Center for Pain and Spine                                       90.00            92.70          117.00         93.60        93.60        93.60        93.60             93.60        117.00         93.60         93.60          117.00          1,188.90
   Chattanooga Heart Institute -Chattanooga                          5.10             533              0.00         0.00         533          5.10         0.00              0.00          0.00        13.11           0.00            0.00            33.98
   Chattanooga Heart Institute -Cleveland                            0.00             0.00             0.00       (1.66)         0.00         0.00         0.00              0.00          0.00          0.00          0.00            0.00            (1.66)
   Chattanooga Heart Institute - Hixson                              0.00             3.49             0.00         0.00         0.00         0.00         9.49              0.00          0.00          9.93          0.00            0.00            22.91
   Clarus Linen Systems -Rome                                        0.00             0.00             0.00         0.00         0.00         0.00         0.00              0.00          0.00          0.00          0.00            0.00              0.00
   Glarus TriState SmartRoute                                        0.00             0.00             0.00         0.00         0.00         0.00         0.00              0.00          0.00          0.00          0.00            0.00              0.00
   Dougherty County EMS                                            69.50          234.00             39.00        48.00        29.50          0.00       82.00               0.00          0.00          0.00          0.00            0.00           502.00
   Dunwoody Urgent Care                                           147.00          110.00            131.40       118.70       134.26       159.00       113.40             92.70        136.50       133.07        136.60           17530           1,587.93
   Eden Terrace of Spartanburg                                 1,419.19           535.64         1,392.21        877.50    1,342.67      1,173.12     1,107.61         1,364.14      1,073.48      1,087.79      1,258.99         1,050.35        13,682.68
   EP Star Wipers, Inc. -RAGS                                  3,637.25             33.20       10,544.65     8,501.75           0.00    7,410.90          0.00        4,949.25            0.00    4,453.00      3,697.05              0.00       43,227.05
   Family Medical Center                                          188.80          119.03            135.01       110.19       162.62       223.96       201.91            239.77        182.31       265.43        282.49           173.69          2,285.21
   FGPG Shakerag Hill                                             147.00          123.00            177.OD       110.00       122.50       262.00       110.00           165.00         110.00       117.50        110.00           110.00          1,664.00
   FGPG Yorktown i (Ste 100)                                      419.50           300.50           888.90       362.00       316.00       458.00       318.50           528.00         262.75       346.00        512.20           304.00          5,016.35
    FGPG Yorktown 111 (Ste 207)                                   220.00           220.00           275.00       220.00       220.00       275.00       220.00            275.00        220.00       220.00        275.00           221.90          2,861.90
    Fort Jackson                                              99,216.33      103,402.00       105,838.27     94,054.80   100,247.46   100,803.76    90,259.38      134,547.11     125,152.74    106,485.00     94,486.34        67,371.52      1,221,864.71
    Fresenius Medical Care of Decatur                             487.00           479.00           614.25       483.25       498.50       608.50       488.00            565.75        491.75       424.00        628.25           605.75          6,374.00
    Fresenius Medical Care of Duluth-Lawrenceville              1,298.00        1,138.00          1,314.00     1,102.00     1,314.00     1,314.00     1,168.00         1,309.00      1,300.50         795.00       962.00         1,355.50        14,370.00
    fresenius Medical Care of Henry County                      1,102.50        1,082.50            987.50     1,069.00     1,215.00     1,135.00     1,084.80         1,180.00       1,025.00        757.50       954.00           801.50        12,39430
    Fresenius Medical Care of Honey Creek                         591.00           588.00           862.50       436.50       707.50       840.50       722.50            863.75        651.50        659.25       812.75           543.00          8,278.75
    Fresenius Medical Care of South DeKalb/Rockdale               613.50           630.00           699.00       881.50       740.00       925.00       740.00            842.50        690.00        510.00       841.85           653.50          8,766.85
            11/2/2018 136 PM                                                                                            C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2017
fiscalYear                                                 2017
~_.    ~~
                                                                                                                                                            Sum of JUL       Sum of AUG Sum of SEP          Sum of OC7 Sum of NOY Sum of OEC                 Tota12017
   Row Labels                                              Sum of1AN        Sum of PEB      Sum of MAR Sum of APR Sum of MAY ' Sum of1UN
                                                                                                                     0.00            0.00            0.00             0.00          662.73           0.00              0.00          0.00          0.00             662.73
   Georgia Baptist College of Nursing -Mercer University             0.00            0.00             0.00
                                                                                                                                                                                                                   194.50         264.60           0.00           2,502.04
Desc




                                                                  214.85           285.25          292.75          180.21         204.43          225.00           217.75           225.00       197.70
   Georgia Breast Surgery, PC                                                                                                                                                                    88935             684.04      1,049.97         685.18            9,204.76
                                                                  703.63           761.27          903.38          800.50         749.80          714.76           655.31           607.57
   Georgia Cancer Center for Excellence                                                                                                                                                       16,083.56        17,03432       15,436.10     16,776.43         181,271.50
                                                              12,970.00        13,749.94       16,111.59       12,622.99       14,64735       16,179.98        14,06437         15,594.88
   Georgia Regional Hospital                                                                                                                                                                                       150.00         150.00        150.00            1,860.00
                                                                   60.00           150.00          225.00          150.00         150.00          150.00           150.00           150.00       225.00
   Georgia State University Student Health Clinic                                                                                                                                                                      0.00          0.00          0.00                0.00
                                                                     0.00             0.00             0.00           0.00            0.00           0.00             0.00             0.00          0.00
   Greenwood Regional Rehabilitation Hospital
Entered 12/21/18 12:13:35




                                                                                                                      0.00            0.00           0.00             0.00             0.00          0.00              0.00          0.00          0.00           1,108.80
   HHC Replacement Scrubs                                            0.00             0.00       1,108.80
                                                                                                                 8,179.75       8,181.28       8,740.77          8,360.55        8,835.53      9,351.60          8,956.34      9,050.65      8,302.91         103,435.83
   Higgins General Hospital                                    8,610.80         8,277.32        8,588.33
                                                                                                 1,001.22          517.97          614.33         617.20           377.69           539.55       177.67             545.82     1,312.54         647.46            6,965.77
   Home Hospice Nurses -Direct Sale                               614.33              0.00
                                                                                                    808.70         657.60          721.45         764.78           338.40           413.20       500.77             194.00        278.40        245.50            6,243.75
    Hospice of Laurens County                                     710.20           610.75
                                                                                                                 3,407.86        3,522.64       3,290.98         3,150.07         2,756.43     3,086.73          3,35839       3,071.61      3,017.64           38,775.08
    Hospice of the Upstate                                      3,639.72         2,894.66        3,578.33
                                                                                                 2,952.17        2,407.06        2,872.01       2,725.90         2,513.91         2,949.17     2,473.58          2,904.45      2,678.58      2,515.22           32,306.62
    Houston Health Pavilion                                     2,520.59         2,793.99
Page 159 of 229




                                                                                                               76,318.45       85,710.66      77,310.64        76,621.94        87,357.67     80,517.92        88,327.26      85,784.95     85,955.85         986,217.87
    Houston Medical Center                                    85,36833         73,857.54       83,086.66
                                                                                               13,349.33       12,697.09       13,21333       13,196.20        11,057.83        14,550.47     12,962.03        13,542.07      12,328.23     14,714.01         157,613.78
    Houston Perry Hospital                                    12,941.02        13,062.17
                                                                                                                 3,442.69        4,310.29       4,367.53         4,542.45         4,538.07     4,042.43          4,501.62      4,431.12      4,394.77           51,448.14
    Houston Surgery Center                                      4,703.15         3,552.50        4,621.52
                                                                                                    904.82         919.99        1,137.56         914.50           904.46         1,154.54        91523          1,146.31         914.86        904.82          11,856.36
    Infectious Disease Program Lab Coats                        1,125.50           913.78
                                                                                                 3,436.55        3,018.60        3,992.17       3,398.72         3,759.24         3,568.60      3,332.51         3,189.97      3,019.12      3,095.45           40,221.53
    Joe-Anne Burgin Nursing Home                                3,363.10         3,047.53
                                                                                                      90.00          60.00           60.00          60.00            60.00            60.00         90.00             60.00         60.00         60.00              780.00
    J udson G. Black, MD LLC                                        60.00            60.00
                                                                                                        0.00           0.00           0.00            0.00             0.00            0.00           0.00             0.00           0.00          0.00                0.00
    Laurens County Memorial Hospital                                  0.00             0.00
                                                                                                27,879.68       24,091.49       24,851.04      27,911.33        23,363.58       30,242.98     23,33635          25,894.89     28,012.64     23,789.64          308,904.21
    Martin Army Hospital                                       26,086.78        23,443.81
                                                                                                      61.26            2.89          35.08          35.37            52.95            51.65         20.40             34.09         47.62         23.11              43629
     M HI Outpatient Imaging                                        17.77            54.09
                                                                                                        0.00           0.00            0.00           0.00             0.00             0.00          0.00              0.00          0.00          0.00                0.00
     Midtown Neurology PC                                             0.00             0.00
                                                                                                        0.00           D.00      4,173.12       5,01630           4,257.73        4,044.24      4,165.49          3,585.98      3,563.37      3,157.85           31,964.07
     Moncrief Army Health Clinic                                      0.00             0.00
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                                                  976.84        904.43           10,752.02
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                  1,285.21           877.94         857.90          784.25         622.79           683.04        1,182.55        455.66            761.92
     Moody Air force Base Clinic                                 1,359.49
                                                                                     8028            111.48         131.63          162.18           76.70          130.00           129.68         61.43               0.00          0.00          0.00             972.08
     Morningside of Albany                                          88.73
                                                                                                     946.98       1,083.60          988.81       1,125.71           863.67           778.15       873.02          1,227.34      1,512.15      1,007.51           12,793.08
     Morrison's Cafeteria at Floyd Medical Center                1,327.68         1,058.46
                                                                                                      52.26           31.51          50.04          44.48             25.95          127.88         51.89             40.77         31.87         44.48              555.26
     Northwest Georgia Women's Care                                  22.24           31.88
                                                                                                      49.60         127.97             0.00          28.77            53.57             0.00      113.09             117.06           0.00       154.26              937.94
     Orthopedic Specialties                                        185.01           108.62
                                                                                     96.41           121.68          9734            97.34         121.68             97.34           97.34       121.68              9734          9734         121.68            1,260.79
     Pain Care Center of Georgia, LLC                                93.60
                                                                                       0.99            10.42            0.00           3.97            0.00             0.00          1835          13.39               0.00        38.69          10.42             104.16
     Palmetto Hemtology Oncology- Union                                7.94
                                                                                        0.00             8.13           0.00           0.00          12.68              0.00            0.00          5.53              0.00          0.00        67.60              101.73
     Phoebe Community Benefit                                          7.80
                                                                                        0.00             0.00           0.00           0.00            0.00             0.00            0.00        58.50               0.00          0.00          0.00               58.50
     Phoebe Community Care Clinic                                      0.00
                                                                                    638.30           689.33         522.60          943.48         704.60           71435            89635        683.15             938.28        862.55        807.63            9,296.63
     Phoebe Diagnostics Imaging Center                             896.03
                                                                                      84.83          197.93         173.88          14138          196.95             43.55            71.83       158.28            151.78        160.23        140.73            1,599.98
     Phoebe East                                                     78.65
                                                                                  1,220.70         1,140.43         795.60        1,432.93       1,353.49           522.28         1,163.46        871.10         1,300.98         850.53        795.79          12,797.64
      Phoebe Endoscopy Center                                    1,350.38
                                                                                      41.28              0.00           0.00            0.00           0.00             0.00            0.00       10335               25.35          0.00         13.65             183.63
      Phoebe Family Medical Center -Albany                             0.00
                                                                                        7.48             0.00         15.60             0.00          24.05           2730             33.48         69.88             34.13         40.95           0.00            252.85
      Phoebe Family Medical Center -Camilla                            0.00
                                                                                      52.33            27.63          4030            65.33          55.58            32.83            33.48         24.70             36.40         71.83         40.63             529.75
      Phoebe Family Medical Center -laurel Place                     48.75
                                                                       0.00             0.00             0.00          14.63            0.00           9.43             9.75             0.00          0.00            2730            0.00          0.00              61.10
      Phoebe Family Medical Center -Pelham
                                                                      24.70           34.13              0.00          12.68          52.98             0.00            0.00           2535            0.00            35.10           0.00          0.00             184.93
      Phoebe Gastroenterology Associates
                                                                    658.78           767.00           59930          654.55       1,275.83          700.70           494.98          657.15        507.65            404.95        596.70        539.92            7,857.50
      Phoebe Healthworks
                                                                       0.00             0.00             0.00            0.00           0.00            0.00           15.93             0.00          0.00              0.00        10.08           0.00              26.00
      Phoebe Infectious Disease
                                                                      30.55             8.13             8.78          99.78            0.00          10.40            18.20           10.73           0.00            10.73         10.08         10.40              217.75
      Phoebe Neurology Associates
                                                                      36.08          147.23             67.93          32.50          33.48           32.18            25.03           34.78       11830               66.63         13.00         30.55              637.65
      Phoebe Neurosurgical Associates
                                                                    640.58         1,04033            747.18         785.20          995.15       1,225.90           66138         1,090.05      1,075.10          1,462.18      1,277.58      1,346.15           12,346.75
      Phoebe Northwest
                                                                      64.03          11733              93.93        118.63           90.35           66.63          239.20           136.83         58.50             8938        220.68          13.65           1,309.10
      Phoebe Orthopaedic Specialty Group
                                                                43,666.48        39,835.56        39,165.44       34,201.91      38,666.68      33,518.02        32,127.60        73,45433     69,979.15         70,283.07     71,998.25     73,906.18          620,802.64
      Phoebe Putney Memorial Hospital (Main Campus)
                                                                  8,553.68         8,052.20        8,673.93        6,824.03        7,766.20       6,284.20         7,394.40        6,516.58      6,32938           7,318.41      6,399.82      6,931.28           87,044.08
       Phoebe Putney Memorial Hospital (North Campus)
                                                                        0.00             0.00           32.83            0.00          79.95            0.00           25.35             0.00          0.00              0.00          0.00          0.00             138.13
       Phoebe Rheumatology
                                                                        0.00             0.00         131.95           48.10            0.00            0.00         139.75              0.00      161.20                0.00          0.00          0.00             481.00
       Phoebe Sickle Cell Clinic
                                                                    527.15           298.35           356.53         373.10          562.90         530.40           451.75           688.68       419.35             508.95        398.45        309.08           5,424.67
       Phoebe Sleep Disorders Center
                                                                  9,576.78         9,014.53       10,059.40        8,876.08        9,950.20       9,712.63         9,548.18       10,494.25      9,356.75          9,665.18      8,94530       9,56638          114,765.63
       Phoebe Sumter Medical Center
                                                                     166.73          155.03           310.38         176.80          202.80          186.55          147.23           165.43        187.20            225.55        218.08        195.00            2,336.75
       Phoebe Sumter OB/GYN
                                                                      67.28            48.43            56.88           67.93          47.45           64.68           65.00            84.18         51.35            67.93         83.85          56.88             761.80
       Phoebe Sumter Orthopedics
                                                                        0.00             0.00            29.25           0.00          44.20           29.25           26.00            31.20           0.00            30.55         60.13         26.33             276.90
       Phoebe Sumter Surgical Associates
                                                                     134.88           138.45           141.70         101.08           88.40         124.80           136.18          202.80        106.60            124.48        246.35        142.68            1,68838
       Phoebe Sumter Wellness &Education Center
                                                                       36.73            73.78             0.00            0.00           0.00            0.00            0.00           4030            0.00            45.83         55.25           0.00            251.88
       Phoebe Tower Medical at Meredyth Place
                11/2/2018 1:36 PM                                                                                              C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2017
FiscalYear                                                 2017
------------                                     -
                                                                                                                                                                  Sum of JUL        Sum of AUG __Sum of SEP          Sum of OCT Sum of NOV Sum of DEC                  Total 2017
                                                           Sum of JAN       Sum of PEB       Sum of MAR Sum of APR Sum of MAY Sum of1UN
Row Labels                                                                                                                                                                   0.00             0.00            0.00             0.00             8.45          21.45              92.63
                                                                    14.30            19.18              0.00           16.90             0.00            1235
Phoebe Worth Family Medicine -Sylvester                                                                                                                                                                 2,417.35         2,536.63         2,972.60        1,911.61        30,738.61
Desc




                                                                2,516.48         2,498.60         2,998.13        2,923.38         2,435.23         2,660.78           2,156.70         2,711.15
Phoebe Worth Medical Center                                                                                                                                                                 90.68          140.73           145.60           302.90          211.25         2,400.78
                                                                  218.40            185.58           217.43          185.58           304.85           208.00             189.80
Phoebe Wound Care & Hyperbaric Center                                                                                                                                                      49735           570.75           828.51          419.00           270.50         4,204.62
                                                                      0.00             0.00             0.00           91.48          601.98           502.14             422.91
Premier Orthopedics                                                                                                                                                                           0.00            0.00             0.00             0.00            0.00             2633
                                                                      0.00            17.55             0.00             0.00             8.78             0.00               0.00
Randolph Medical Associates                                                                                                                                                            42,645.62       37,171.48        39,990.37        38,587.32       44,089.79      478,361.89
                                                              41,986.60        38,703.49        43,071.30       36,372.98        40,454.07        39,312.32           35,976.56
Regional Medical Center of Orangeburg
Entered 12/21/18 12:13:35




                                                                                                                                   5,305.10                0.00               0.00      1,101.00        6,431.25               0.00             0.00            0.00      21,932.65
                                                                1,516.75         5,864.15               0.00      1,714.40
RM Star Wipers, Inc. -RAGS                                                                                                                                                                 802.60          343.13           284.46           731.03          146.75         6,310.64
                                                                   878.03           540.82           484.13          569.91           568.92           304.18             656.68
RMCO Healthplex                                                                                                                                                                               0.00         101.56               0.00           92.19         198.04             719.39
                                                                      0.00            73.46             0.00         155.79             40.18            58.17                0.00
RMCO Healthplex-Holly Hiil                                                                                                                                                                 497.93          414.12           366.79           459.04          349.87          5,257.74
                                                                   462.93           395.39           482.65          448.14           50631            472.79             401.80
R MCOHealthplex-Santee                                                                                                                                                                     249.95          224.81           116.84           122.93          181.79          2,27732
                                                                   273.62           165.16           15037           224.81           210.51            233.79            122.76
 RMCO Urgent Care - Bamburg                                                                                                                                                            86,481.04       75,544.76        72,392.45        70,499.01       75,53839        922,180.67
                                                               80,073.86        71,390.82        87,067.71       73,174.61        75,100.79        80,459.69          74,457.55
Self Regional Medical Center
Page 160 of 229




                                                                                                                                    1,334.54         1,262.58           1,012.62         1,21034         1,092.30         1,231.26         1,04530         1,206.64        13,875.42
                                                                   912.29         1,17437          1,239.54        1,153.66
 SFMC Outpatient Imaging &Specialty Care at Camp Creek                                                                                                                                     491.70          570.25           499.25           674.75          278.25          5,888.90
                                                                   646.25            226.50          295.75          601.45           595.25            592.50            417.00
 SoutheasternlnterventionalPain Associates                                                                                                                                                 175.00          141.60           140.00           184.16          149.60          1,574.08
                                                                   117.20             70.00            71.32          105.00           175.20           140.00            105.00
 Southern Surgical Arts Calhoun                                                                                                                                                            406.56          124.52           269.28           566.28          141.24          3,354.12
                                                                   132.88            246.84           286.88          309.76           27720            288.20             304.48
 Southwest Georgia OB/GYN                                                                                                                                                                    71.18           83.20            68.90            64.35           32.83            838.18
                                                                    104.65             72.15           54.28            66.95            83.85            77.35              58.50
 Southwest Georgia Physical Therapy                                                                                                                                                      1,039.12        1,204.13         1,124.92         1,005.88        1,087.32        12,660.20
                                                                 1,148.88            907.40        1,265.88        1,016.93            841.43        1,117.45             900.90
 Southwest Georgia Regional Medical Center                                                                                                                                                     0.00            0.00             0.00             0.00           0.00            117.06
                                                                     49.60             63.98             0.00             0.00             3.47             0.00               0.00
 Spartanburg Community College -Central Campus                                                                                                                                        139,608.95      134,739.04       131,951.27       131,719.79      135,224.89     1,583,225.49
                                                              130,447.89       123,089.58       137,405.58      124,543.79       131,386.41       131,897.16         131,211.15
 Spartanburg Regional Medical Center                                                                                                                                                     2,835.95        1,716.80         1,462.75               0.00      3,102.75        31,221.55
                                                                 1,980.45            630.55        1,845.10        2,710.70         4,066.05         4,678.65           6,191.80
 SPN Star Wipers, Inc -RAGS                                                                                                                                                                 246.14          245.87           280.88           315.09         168.90          2,822.70
                                                                    231.71           193.22           256.03          216.74           238.92            224.22            204.98
 STARR Breast Center at Medical Mall                                                                                                                                                                        224.45           195.55           407.47          362.25         2,862.12
                                                                       0.00          314.11           224.90          274.76           301.13            184.14            179.86           193.49
 STARR Outpatient Physical Therapy                                                                                                                                                                                       11,549.36        11,79827        11,734.17      151,114.09
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                        12,535.47
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                13,425.49        13,090.98        13,535.89       11,877.31        13,044.88        12,089.53          13,606.13        12,826.61
 Starr Regional Medical Center                                                                                                                                                                                 0.00              0.00            0.00            0.00              0.00
                                                                       0.00             0.00             0.00             0.00             0.00             0.00               0.00            0.00
  STARR Replacement Scrubs                                                                                                                                                                                  329.20           410.27           401.63          313.80         4,376.33
                                                                    617.07           417.04           192.35          313.57           374.74            309.14            381.18           316.35
  STARR Sleep Lab                                                                                                                                                                                           925.70        1,040.30         1,094.40        1,080.50        12,467.00
                                                                 1,064.20            973.90         1,337.40        1,143.90         1,036.50            953.80            714.00         1,102.40
  Summit Orthopaedic Surgery Center                                                                                                                                                                         379.67           760.29           479.19          288.65          5,976.49
                                                                    350.85            582.77          589.51          472.68            523.26           502.84            553.97           492.80
  SurgiCare Gwinnett                                                                                                                                                                                                       1,171.56        1,516.84        1,317.68        14,353.89
                                                                  1,032.54         1,267.76         1,388.92           929.24           990.60        1,057.68              763.35        1,382.16        1,535.56
  T3 Labs, inc.                                                                                                                                                                                             259.70           250.00           314.70          200.00          3,166.50
                                                                     259.70           200.00           300.00          254.70           250.00           250.00             313.00          314.70
  Union County Emergency Medical Services                                                                                                                                                                       0.00     20,794.12        50,570.72       40,335.79       111,700.63
                                                                       0.00              0.00             0.00             0.00            0.00              0.00              0.00            0.00
  VAMC Augusta Downtown Division                                                                                                                                                                                         18,588.09        23,987.91       23,275.17         65,851.16
                                                                                         0.00             0.00             0.00            0.00              0.00              0.00             0.00            0.00
   VAMC Augusta Uptown Division                                         0.00
                                                                                                                                            0.00             0.00               0.00            0.00            0.00     21,856.77        44,287.75       43,917.41       110,061.94
                                                                        0.00             0.00             0.00             0.00
   VAMC Charleston                                                                                                                                                                                                               0.00     30,393.09       41,757.75         72,150.84
                                                                        0.00             0.00             0.00             0.00             0.00             0.00               0.00            0.00            0.00
   VAMC Columbia                                                                                                                                                                                                         24,476.24        25,576.69       22,915.71         89,193.53
                                                                        0.00             0.00             0.00             0.00             0.00             0.00               0.00            0.00    16,224.88
   VAMC Dublin                                                                                                                                                                                                             1,192.78         1,116.94          556.06        11,547.24
                                                                                      550.90           797.74          737.83           962.82         1,071.69          1,301.44           965.94        1,29721
   VITAS Innovative Hospice Care -Duluth                             995.90
                                                                                                                       767.87           938.36            969.52         1,255.30         1,418.75        1,539.80         1,409.55         1,044.47        1,456.50        13,857.37
   VITAS Innovative Hospice Care -Stockbridge                     1,221.62          1,002.04           833.58
                                                                                                                         48.00              0.00             0.00               0.00          48.00             0.00             0.00             0.00          48.00            192.00
   VITAS Innovative Hospice Care Direct Sale                            0.00             0.00            48.00
                                                                                                         32.47             0.00           21.88              9.75             13.70             0.00          13.57             26.61            12.41           0.00            150.80
   WeIlStar AMC Bone &Joint Specialists                                2D.42             0.00
                                                                                                                        198.93            42.06            10.52                0.00          17.08            31.55              0.00            0.00          17.08            31711
   WeIlStar AMC East Point Clinic                                       0.00             0.00             0.00
                                                                                                     1,487.77        1,343.00         1,807.89         1,136.39           1,44631            946.99          723.16           951.43           907.73       1,136.39        13,920.55
   WeIlStar AMC Gym                                                1,034.35            969.16
                                                                                                                          34.75            33.91            16.95               0.00            6.44          47.04             10.52             7.28            6.57           248.56
    WeIlStar AMC Inman Park Physicians                                 23.66            2435             37.10
                                                                                                        156.25          148.77           154.47           184.68             111.18          118.49          104.33             99.51          100.00          154.70         1,582.75
    WeIlStar AMC Morrow Healthcare                                    115.26           135.11
                                                                                                                        199.28           187.43           210.92             180.40          137.24          209.24           205.85           109.15           95.68          2,072.24
    WeIlStar AMC Orthopaedic Rehabilitation                           231.69           170.81           134.53
                                                                                                        187.13            28.78            72.40            44.83              40.06         112.74          114.23           124.24           137.28          123.29          1,104.05
    WeIlStar AMC Primary Care Clinic -Camp Creek                       69.12            49.95
                                                                                                         42.45            83.51          101.00             79.56              75.68           64.48           25.95            24.83            4737           19.18            667.13
    WeIlStar AMC Primary Care Clinic -Cascade                          74.50            28.63
                                                                                        1424            199.96            54.73              0.00           43.16              22.57           18.62           49.63            2229             31.85          15.23            511.73
    WeIlStar AMC Primary Care Clinic -Virginia Highlands               39.44
                                                                                   22,937.90        25,903.75       22,802.80        27,133.16        25,963.58         25,78830         26,972.06       25,093.35        25,339.33        25,915.66       23,591.33       303,039.14
    Whitten Center                                               25,597.92
                                                                      855.40         1,172.93           825.50          801.13           894.73         1,004.58             78520           739.70          79138            942.18        1,029.60           855.08        10,697.38
    Willson Hospice House
                                                                                          0.00             0.00             0.00             0.00             0.00               0.00            0.00            0.00             0.00            0.00            0.00              0.00
    Wiregrass Rehabilitation Center (I)                                  0.00
                                                                         0.00             0.00      23,624.61       21,094.83        22,071.21        19,314.53         18,842.30        21,367.07       17,605.60        19,308.37        17,320.36       17,831.65       198,380.52
    Wiregrass Rehabilitation Center (II)
                                                                        62.60            22.78            38.04            79.50           8130             73.26              73.08           94.76           28.42           101.80          104.18           50.60            81032
    Zero Waste Solutions
                                                                  10,000.00        10,000.00        10,000.00       10,300.00        10,300.00        10,300.00          10,300.00        10,300.00      10,300.00        10,300.00            338.63             0.00     102,438.63
    ZZ-AMC Contract Labor
                                                                                     5,451.60         8,586.16        6,521.19         9,02435          6,984.95          8,939.78         7,732.73        8,174.14         7,814.30         2,12438              0.00       76,646.32
    ZZ-AMC Direct Sale                                              5,292.76
                                                                         0.00             0.00             0.00             0.00             0.00             0.00               0.00            0.00            0.00              0.00            0.00           0.00              0.00
    ZZ-AMC Dr. Quarters -Suite 530
                                                                    2,408.00         2,408.00         2,408.00        2,480.24         2,480.24         2,480.24           2,480.24        2,480.24        2,480.24         2,480.24            578.72            0.00       25,164.40
    ZZ-AMC Equipment lease
                                                                         0.00             0.00             0.00             0.00             0.00             0.00               0.00            0.00            0.00              0.00            0.00           0.00              0.00
    ZZ-AMC Hyperbaric Center
                                                                                                                                    C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by tustomer.xlsx 2017
                11/2/2018 1:36 PM
   PiscalYea~                                              2017
                                                                                                                             Sum of MAV Sum of1UN          Sum,of JUl      Sum of AUG -Sum of SEP       Sum of OCT '' Sum of NOV Sum of DEC        Total 2017
   Row labels                                              Sum o4 JAN       Sum of fE6      Sum of MAR Sum of APR
                                                                                                      0.00            0.00             0.00         0.00            0.00           0.00          0.00           0.00          0.00        0.00             0.00
   ZZ-AMC Internal Medicine -Suite 316                               0.00             0.00
                                                                                                                                                                                                                0.00          0.00        0.00             0.00
Desc




                                                                     0.00             0.00            0.00            0.00             0.00         0.00            0.00           0.00          0.00
   ZZ-AMC internal Medicine Associates                                                                                                                                                                                                               55,689.01
                                                                                 2,690.71        5,775.81        7,029.68         8,145.47      4,743.56        5,424.49       5,609.65      6,942.77       6,212.57        787.79        0.00
   ZZ-AMC Mops                                                  2,326.52
                                                                                                   185.80            26.75           89.61         80.87           56.55           0.00          0.00           0.00          0.00        0.00           637.93
   ZZ-AMC Primary Care Clinic -Forest Park                        101.94            96.41
                                                                     0.00             o.00             o.00            o.00            o.00         o.00            o.00           o.00          o.00           o.00          o.00        o.00             o.00
   ZZ-AMC Replacement Scrubs                                                                                                                                                                                                                              0.00
                                                                                      0.00             0.00            0.00            0.00         0.00            0.00           0.00          0.00           0.00          0.00        0.00
   ZZ-AMC Rheumatology Associates                                    0.00
Entered 12/21/18 12:13:35




                                                                                                       0.00            0.00            0.00         0.00            0.00           0.00          0.00           0.00          0.00        0.00            0.00
   ZZ-AMC Sheffield Healthcare                                        0.00            0.00
                                                                                                 6,114.00        6,773.54       10,644.59       6,386.77        5,203.25       8,787.19      6,733.11       8,683.16      2,681.86        0.00       73,374.82
   ZZ-AMC SO Direct Sale                                        5,457.60         5,909.75
                                                                                                 3,227.47        4,339.19         4,539.43      3,910.50        3,183.43       3,594.73      3,573.77       4,305.15        686.60        0.00       38,970.51
   ZZ-AMC SO Mops                                               4,208.71         3,401.53
                                                                                                       0.00            0.00            0.00         0.00            0.00           0.00          0.00           0.00          0.00        0.00            0.00
   ZZ-AMC South Replacement Scrubs                                    0.00            0.00
                                                                                                   284.28          164.98           245.63        218.73          243.79         304.33        189.15         233.68          0.00        0.00        2,226.24
   ZZ-AMC Wound Care Center                                       117.58           224.11
                                                                                                       0.00            0.00            0.00          0.00           0.00           0.00           0.00           0.00         0.00        0.00            0.00
   ZZ-AMH Integrative Medicine                                        0.00            0.00
Page 161 of 229




                                                                                              104,751.22      103,393.38       100,818.09      94,815.81       94,199.37     101,792.74     96,497.92      86,800.60     12,592.56    3,709.19      978,254.56
   ZZ-Atlanta Medical Center                                   87,957.60        90,926.08
                                                                                                39,597.43       39,710.81        39,567.00     36,300.76       37,843.78      36,250.40     34,891.55      44,749.73      4,824.24        0.00      385,859.96
    ZZ-Atlanta Medical Center South                            36,161.20        35,963.07
                                                                                                       0.00            0.00             0.00         0.00            0.00          0.00           0.00           0.00         0.00        0.00            0.00
    ZZ-Carolinas Hospital System                                      0.00            0.00
                                                                                                       0.00            0.00             0.00         0.00            0.00          0.00           0.00           0.00         0.00        0.00            0.00
    ZZ-CHS Cedar Tower Rehabilitation Hospital                        0.00             0.00
                                                                                                       0.00            0.00             0.00         0.00            0.00          0.00           0.00           0.00         0.00        0.00            0.00
    ZZ-CHS Outpatient Rehabilitation Center                           0.00             0.00
                                                                      0.00             0.00            0.00            0.00             0.00         0.00            0.00           0.00          0.00           0.00         0.00        0.00            0.00
    ZZ-CHS Surgery Center -Florence
                                                                                       0.00            0.00             0.00            0.00         0.00            0.00           0.00          0.00           0.00         0.00        0.00            0.00
    ZZ-GHS Cath Lab Stemi Project                                     0.00
                                                                                    544.55          563.83          445.39           160.03          0.00            0.00           0.00          0.00           0.00         0.00        0.00        2,427.66
    ZZ-GHS Emergency Medical Services-Baldwin County               713.85
                                                                                       0.00             0.00            0.00            0.00         0.00            0.00           0.00          0.00           0.00         0.00        0.00           41.04
    ZZ-GHS Emergency Medical Services-Macon/Mercer                   41.04
                                                                   176.11           170.17          151.46          173.07           105.84          0.00            0.00           0.00          0.00           0.00          0.00       0.00          776.66
    ZZ-GHS Emergency Medical Services-Zebulon
                                                                 1,889.75         1,858.74        2,149.19        1,944.96         2,272.30      2,074.95        2,092.57       3,46431       1,117.55       1,060.80          0.00       0.00       19,925.11
    ZZ-GMC Cardiac Imaging
                                                                                                                                                     o.00            o.00           o.00          o.00           o.00          o.00        o.00             o.00
                Exhibit A - Purchase Agreement




                                                                                                                                        o.00
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




    ZZ-GMC Concussion Institute                                        0.00            o.00             o.00            o.00
                                                              151,303.56       127,865.51      160,233.30     147,618.73        167,376.68    157,765.00      164,222.86     180,937.50    138,247.00     144,896.89     44,000.18        0.00     1,584,467.20
    ZZ-Grady Health System (I)
                                                                       0.00            0.00             0.00            0.00            0.00         0.00            0.00           0.00          0.00           0.00    95,092.41   68,446.65       163,539.06
     ZZ-Grady Health System (i)
                                                                13,910.20         5,984.48        5,36133         7,200.56         2,950.07        179.37            0.00           0.00          0.00           0.00          0.00       0.00         35,586.01
     ZZ-Grady Health System (III)
                                                              176,132.61       167,453.24      189,122.24      146,012.26               0.00          0.00           0.00           0.00          0.00           0.00          0.00        0.00      678,720.35
     71-Navicent Health
                                                                 7,069.32         8,398.96        5,632.00        2,816.00              0.00          0.00           0.00           0.00          0.00           0.00          0.00        0.00        23,916.28
     71-Navicent Health Direct Sale
                                                                   z32.8~           265.29          272.80          230.62           101.50           0.00           0.00           0.00          0.00           0.00          0.00        0.00          1,103.08
     ZZ-NGHS NGPG Braselton Clinic
                                                                   200.00           200.00          253.00           203.00          101.50           0.00           0.00           0.00           0.00           0.00         0.00        0.00            957.50
     ZZ-NGHS NGPG Braselton family Medicine
                                                                   216.56           208.38          275.60           217.92          101.50           0.00            0.00          0.00           D.00           0.00         0.00        0.00          1,019.96
     ZZ-NGHS NGPG Braselton Interventional Pain Medicine
                                                                   500.00           400.00          406.00           406.00          203.00           0.00            0.00          0.00           0.00           0.00         0.00        0.00          1,915.00
      ZZ-NGHS NGPG Braselton Medical Oncology
                                                                    150.00          100.00           101.50          101.50            50.75          0.00            0.00          0.00           0.00           0.00         0.00        0.00            503.75
      ZZ-NGHS NGPG Buford
                                                                    250.00           200.00          203.00          203.00           101.50          0.00            0.00          0.00           0.00           0.00         0.00        0.00            957.50
      ZZ-NGHS NGPG Chestnut Mountain
                                                                    246.20           205.76          275.70          217.76           101.50          0.00            0.00           0.00          0.00           0.00         0.00        0.00          1,046.93
      ZZ-NGHS NGPG Dacula Primary Care &Urgent Care
                                                                    253.22           213.76          265.80          203.00           101.50          0.00            0.00           0.00          0.00           0.00         0.00        0.00          1,037.28
      ZZ-NGHS NGPG Family Health Associates
                                                                    250.00           200.00          203.00          203.00           101.50          0.00            0.00           0.00          0.00           0.00         0.00        0.00            957.50
      ZZ-NGHS NGPG Gynecologic Oncology
                                                                    200.00           200.00          253.00          203.00           101.50          0.00            0.00           0.00          0.00           0.00         0.00        0.00            957.50
      ZZ-NGHS NGPG Internal Medicine
                                                                    262.47           245.75          305.44          321.57           101.50          0.00            0.00           0.00          0.00           0.00         0.00        0.00          1,236.73
      ZZ-NGHS NGPG Interventional Pain
                                                                    200.00           200.00          253.00          203.00           101.50          0.00            0.00           0.00          0.00           0.00         0.00        0.00            957.50
      ZZ-NGHS NGPG Occupational Medicine Oakwood
                                                                    205.20           200.00          255.44          203.00            50.75          0.00            0.00           0.00          0.00           0.00         0.00        0.00            91439
      ZZ-NGHS NGPG Sports Medicine
                                                                    250.00           200.00          203.00          203.00           101.50          0.00            0.00           0.00          0.00           0.00          0.00       0.00            957.50
      ZZ-NGHS NGPG Trauma &Acute Care Surgery
                                                                  1,291.31         1,209.13        1,477.22        1,117.84           456.75           0.00           0.00           0.00          0.00           0.00          0.00       0.00          5,552.25
       ZZ-NGHS NGPG Urgent Care
                                                                    200.00           200.00          253.00           203.00            50.75          0.00           0.00           0.00          0.00           0.00          0.00       0.00            906.75
       ZZ-NGHS NGPG Urology
                                                                    946.90         1,037.70          253.00           203.00             0.00          0.00           0.00           0.00          0.00           0.00          0.00       0.00          2,440.60
       ZZ-NGHS Toccoa Cancer Center
                                                                  4,153.95         5,704.62        6,500.13        3,629.53              0.00          0.00           0.00           0.00          0.00           0.00          0.00       0.00        19,988.24
       ZZ-NH Ambulatory Surgery Center
                                                                    494.46           449.99          436.50           221.16             0.00          0.00           0.00           0.00          0.00           0.00          0.00        0.00         1,602.11
       ZZ-NH Breast Center Hardeman
       ZZ-NH Breast Center PEf - PA Cancer Center                 1,028.78           933.61           935.15          491.87             0.00          0.00            0.00          0.00           0.00          0.00          0.00        0.00         3,389.41
       ZZ-NH Center of Pelvic Health                                   63.52           53.47            47.55           35.17            0.00          0.00            0.00          0.00           0.00          0.00          0.00        0.00            199.71
       ZZ-NH Children's Health                                    6,413.79         6,703.76        6,323.52        5,059.43              0.00          0.00            0.00          0.00           0.00          0.00          0.00        0.00        24,500.50
       ZZ-NH Children's Health Center                                   0.00             0.00         136.90            43.83            0.00          0.00            0.00          0.00           0.00          0.00          0.00        0.00            180.72
       ZZ-NH Contract labor                                      37,074.86        31,619.78       35,320.04       32,20230               0.00          0.00            0.00          0.00           0.00           0.00         0.00        0.00      136,216.98
       ZZ-NH Crescent House                                             0.00            21.17         112.88             0.00            0.00          0.00            0.00           0.00          0.00           0.00         0.00        0.00            134.05
       ZZ-NH Diagnostic Center                                       806.08           895.74       1,039.79           457.06             0.00          0.00            0.00           0.00          0.00           0.00         0.00        0.00          3,198.67
        ZZ-NH Diagnostic Center Monroe                                 80.63          152.90          187.55            95.31            0.00          0.00            0.00           0.00          0.00           0.00         0.00        0.00            51639
        ZZ-NH Diagnostic Center NW                                   402.51           391.66          343.79          259.22             0.00          0.00            0.00           0.00          0.00           0.00         0.00        0.00          1,397.17
                11/2/2018 1:36 PM                                                                                          C:\Users\hilic\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xisx 2017
      FiscalYear                                              2017
                                                              Sum of JAN `Sum of FEB 'Sum of MAR Sum of APR - Sum of MAY Sum of lUM Sum of JUL                            Sum of AUG Sum of SEP:Sum of OCT Sum of NOV Sum of DEC                    Total 2017
     Row labels
                                                                     447.65        451.14          608.17         314.17             0.00          0.00            0.00             0.00          0.00          0.00         0.00          0.00         1,821.13
     ZZ-NH Diagnostic Center PET- PA Cancer Center
Desc




                                                                     142.05        198.53          235.70           95.65            0.00          0.00            0.00             0.00          0.00          0.00          0.00         0.00            671.93
     ZZ-NH Family Health
                                                                       71.84         72.92           61.67          35.83            0.00          0.00            0.00             0.00           0.00         0.00          0.00         0.00            242.27
     ZZ-NH Fertility Institute
                                                                       72.41         59.24           57.55          50.61            0.00          0.00            0.00             0.00           0.00         0.00          0.00         0.00            239.81
     ZZ-NH Gynecologic/Surgical Oncology
                                                                        3.23           3.23          10.65            6.94           0.00          0.00            0.00             0.00           0.00         0.00          0.00         0.00              24.05
     ZZ-NH Gynecology Associates
                                                                     761.55        653.55          712.60         533.02             0.00          0.00            0.00             0.00           0.00         0.00          0.00         0.00         2,660.72
     ZZ-NH Macon EMS
Entered 12/21/18 12:13:35




                                                                   6,988.92      7,109.70        7,754.14       5,215.67             0.00          0.00            0.00             0.00           0.00         0.00          0.00         0.00        27,068.43
     ZZ-NH Medical Center of Peach County
                                                                 10,240.77       9,234.69        8,353.33       5,891.20             0.00           0.00           0.00             0.00           0.00         0.00          0.00         0.00        33,719.99
     ZZ-NH Rehabilitation Hospital
                                                                     219.27        209.35          180.41         174.03             0.00           0.00           0.00             0.00           0.00         0.00          0.00         0.00            783.07
     ZZ-NH Urgent Care East, Gray Highway
                                                                     171.30        220.06          178.92         127.70             0.00           0.00           0.00             0.00           0.00         0.00          0.00         0.00            697.96
     ZZ-NH Urgent Care North, Riverside Drive
                                                                     432.50        331.46          345.79          238.04            0.00           0.00           0.00             0.00           0.00         0.00          0.00         0.00         1,347.78
     ZZ-NH Urgent Care Northwest, Zebulon Road
                                                                     878.53        861.28        1,101.06         663.29             0.00           0.00           0.00             0.00           0.00         0.00          0.00         0.00         3,504.16
     ZZ-NH Wound Care & Hyperbaric
Page 162 of 229




                                                                       10.00         10.00           10.00            0.00           0.00           0.00           0.00             0.00           0.00         0.00          0.00         0.00              30.00
     ZZ-Premier Cardiology Group
                                                                 55,436.41      47,149.79       53,489.49      52,916.84      51,826.14      45,984.63      48,138.67        49,055.52      50,294.68     39,635.22           0.00         0.00       493,927.39
      ZZ-Spalding Regional Medical Center
                                                                      370.36       435.82          33733           344.61        473.22          597.75         732.00           36239          405.46       783.26           0.00         0.00         4,842.19
      ZZ-SpRMC Center for Rehabilitation Services
                                                                     461.18         262.92         405.87          525.87         335.74         313.82         398.11           369.83         363.63       509.32           0.00         0.00         3,94628
      ZZ-SpRMC Wound Healing Center
                                                                   3,200.40      2,803.71        3,285.75        2,918.14      3,335.07       3,519.58       3,348.29          2,953.02      4,090.50      3,414.74           0.00         0.00        32,869.18
      ZZ-Sylvan Grove Hospital
                                                                      790.83        588.92          679.72         675.03         793.79         703.27         824.11           65536          692.18       639.04        555.39       61530           8,212.95
      ZZ-CHOA Afiac Cancer Center
                                                                       92.46          95.96           92.86          56.69          86.56        152.50           89.46            90.78        10235          74.93        91.83         95.65          1,122.03
      ZZ-CHOAAIpharettaHwy
                                                                 97,52935       99,342.90      113,488.63      88,667.86      99,838.26     109,012.78     103,417.55       115,730.22     109,271.45    114,391.84    111,444.80   127,788.11      1,289,923.75
      ZZ-CHOA at Egleston
                                                                  11,403.24     10,012.13       14,456.25      11,475.54       9,869.74       8,920.01      10,669.83        13,155.45      14,003.54     18,084.71     16,151.81    17,977.22        156,179.47
      ZZ-CHOA at Hughes Spalding
                                                                102,912.28      98,759.41      115,335.66     102,089.73     102,095.26      96,368.95      95,846.93       120,356.86     127,251.77    128,525.72    142,10436    135,102.79      1,366,749.71
      ZZ-CHOA at Scottish Rite
                                                                      678.69        784.10          813.41         693.22         722.53         854.56         604.11           702.31         853.30       769.06        546.05       712.44           8,733.78
      ZZ-CHOA at Scottish Rite OUT RAD
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                      175.17        163.91          199.61         217.41         153.35         151.89         220.22           220.26         201.34       289.10        220.64       178.82           2,391.72
      ZZ-CHOA Cherokee
                                                                         0.00           0.00            0.00           0.00         55.02          74.27        129.02             60.96          33.49        83.25         75.16        63.10            574.26
      ZZ-CHOA Children's Specialty Services
                                                                        32.82         52.64           59.15          66.04        105.27           59.15          62.35            52.83          80.15      112.24          20.41        42.57            745.60
      ZZ-CHOA Cobb
                                                                        21.23         15.65           16.76          17.58          29.06          32.13          43.31            92.20          32.52        61.01          4.03        11.80            377.28
      ZZ-CHOA Cystic Fibrosis
                                                                          0.00        19.51           19.51          22.56          22.86          16.15            9.75           42.06          20.09        30.14         10.05        32.96            245.64
       ZZ-CHOA DeKalb
                                                                        27.63         21.23           24.49          21.56          21.23          14.11          31.61            10.90          49.57        35.89         22.02        32.47            312.72
      ZZ-CHOA Duluth
                                                                    2,213.00      2,213.00        2,213.00       2,213.00       2,213.00       2,213.00       2,213.00         2,213.00       2,279.39     2,27939       2,27939      2,279.39         26,821.56
       ZZ-CHOA EGL Equipment Lease
                                                                    4,233.12            0.00      4,116.24      14,706.00             0.00           0.00           0.00             0.00    1,923.00      4,543.20      1,426.56           0.00       30,948.12
       ZZ-CHOA EGl Replacement Scrubs
                                                                          9.17        12.52             0.00           9.17           0.00         20.93            3.58           16.10          27.55          7.14          9.44       18.65            134.26
       ZZ-CHOA Executive Park
                                                                       228.46        124.13          192.85         184.09         176.19         218.42         173.78          205.63         179.58       176.73        209.32       149.41           2,218.59
       ZZ-CHOA Fayette
                                                                       317.18        306.86         482.11          374.45        457.00          371.61         310.01          347.74         411.28       378.89        393.97       305.24           4,45635
       ZZ-CHOA Forsyth
                                                                          0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00         0.00        14.13          0.00             14.13
       ZZ-CHOA Hamilton Mill
                                                                          0.00          0.00            0.00           0.00        268.50            0.00           0.00             0.00           0.00         0.00          0.00         0.00            268.50
       ZZ-CHOA HS Direct Sale
                                                                       202.34        237.97          344.50         267.96         363.14         295.88         217.58           394.76         281.42       263.11       328.75       306.41           3,503.83
       ZZ-CHOA Hudson Bridge
                                                                        26.52          41.28           63.53          31.47          10.06         13.11           10.06            36.88           0.00       24.17           0.00       1036              267.73
       ZZ-CHOA Ivy Walk
       ZZ-CHOA Marietta                                                   0.00           0.00          32.84            6.81          9.91         16.42            9.91            29.73         13.60          7.01        15.46        20.62             162.31
        ZZ-CHOA Medical Office Bldg                                    588.56        626.73          545.00         614.04         653.60         551.19         524.09          65321           581.49       533.26       510.46        510.46          6,892.08
        ZZ-CHOA Mount Zion                                               56.46         79.08           89.47          69.14          40.06         72.78           39.64          138.50          64.74         58.27        67.82         34.76            810.72
        ZZ-CHOA Neurology                                                  8.94          7.26          17.88            4.19         25.40          13.94          10.06            15.93          24.72         5.76          3.45         0.00            137.54
        ZZ-CHOA Neuroscience                                           257.07        195.20          209.65         286.08         346.68         270.89         239.67           314.73         169.53       229.21        243.44       214.84          2,977.00
        ZZ-CHOA North Druid Hills                                      155.06        188.97          20331          184.48         193.80         157.40         139.96           233.99         158.90       203.40        181.55       212.28           2,213.10
        ZZ-CHOA North Point                                            129.40        173.64          156.89         147.11         257.87         149.51         14133            208.89         171.16       151.24        223.97       127.22           2,068.24
        ZZ-CHOA Old Milton Parkway                                         0.00        13.51             0.00           0.00          6.81           0.00            0.00           10.21           7.01         0.00          0.00        13.60              51.15
        ZZ-CHOA Orthotics &Prosthetics                                   59.01         39.93           43.13          65.95          72.69          56.44          62.75            69.66          50.93        34.01        6831          34.03            656.84
        ZZ-CHOA Outpatient Surgery Center at Satellite Blvd            705.24        70331           925.95          769.63      1,576.46         73232          954.13           921.74         548.01       648.98      1,080.76       906.01         10,472.54
        ZZ-CHOA Primary Care Center-Chamblee                           144.27         130.40          133.20         152.40          97.69          98.20          77.17          175.62         136.67       143.58        134.66       125.05           1,548.90
        ZZ-CHOASandyPlains                                             165.18         267.01          34535          143.20         134.15        121.42         143.90           135.62         124.79       155.87        121.22       105.16           1,962.88
        ZZ-CHOA Satellite Bivd                                         996.83      1,152.93        1,580.61       1,162.01       1,247.00       1,174.52       1,076.82         1,514.40       1,026.77     1,160.15      1,747.15     1,270.96         15,110.16
        ZZ-CHOA Snellville                                               13.61          17.02           30.58           0.00           3.30         12.19            0.00           20.32          14.65         0.00         14.06         0.00            125.74
        ZZ-CHOA SR Replacement Scrubs                                      0.00    4,097.76        2,124.12       8,415.12             0.00           0.00           0.00             0.00   10,566.84           0.00     4,056.84          0.00        29,260.68
         ZZ-CHOA Surgery Center at Meridian Mark Plaza               6,866.96      7,942.06        9,353.16       7,622.06       7,833.93       9,647.33       8,17336          7,686.68       7,065.43     7,697.20      8,872.16     9,289.09         98,049.41
         ZZ-CHOA Suwanee                                                   3.40           0.00           6.81           0.00           6.81         13.61            0.00             3.40          0.00          7.01        10.52          7.01             58.58
         ZZ-CHOA Town Center                                         1,190.80      1,183.13        1,46135        1,246.68       1,418.00       1,071.45       1,434.94         1,177.88       1,293.86     1,69621       1,390.85     1,222.59         15,787.75
         ZZ-CHOA Urgent Care -Hamilton Creek                               0.00           0.00           0.00        377.88         103.12          35.26         187.06           105.33        206.01       104.63          93.19        44.63          1,257.11
                  11/2/2018 1:36 PM                                                                                           C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2017
   FiscalYear                                              2017
                                                                            Sum of FEB       Sum of MAR Sum of APR Sum of MAY Sum of JUN                  Sum of1Ul ;Sum of AUG Sum of SEP             Sum of OCT ` Sum of NOV '- Sum of DEC          Total 2017
   Row Labefs                                              Sum of lAN
                                                                  711.76        1,110.45         1,155.28      1,029.14          977.61     1,004.69            716.25       1,224.73        924.23        1,147.46       1,221.74        902.77         12,126.13
   ZZ-CHOA Webb Bridge
                                                                                                                                                                                                           2,561.91       2,276.50     2,854.57          28,301.23
Desc




                                                               2,197.00         2,153.65         2,492.76      2,193.46       2,245.89      2,499.22          2,195.33       2,166.15      2,464.79
   ZZ-MEM Ooltewah Imaging Center
                                                                  141.92           307.28           299.11        299.11         426.98        174.01            378.57         378.57       189.29           307.28        149.56        367.30          3,418.96
   ZZ-SpRHS Cardiac Pulmonary Rehabilitation
                                                                  689.92           430.47           780.64        518.68         779.21        719.50            525.23         757.75       465.60           661.68        542.24        679.38          7,550.29
   ZZ-SpRHS Emergency Medical Services
                                                                                     78.92          181.17          57.61        149.52          39.41           120.31          42.29       165.81             54.42       105.00          5833          1,096.60
   ZZ-SpRHS Gibbs Cancer Center -Gaffney                            43.83
                                                                  469.24           466.14           624.59        492.90         538.18        820.75           446.77          61838        712.67           611.65        565.49        592.31          6,959.06
   ZZ-SpRHS Gibbs Cancer Center -Pelham
Entered 12/21/18 12:13:35




                                                                                       0.00             0.00          0.00           0.00          0.00              0.00         36.55        14.25            48.46         24.01         42.88            166.14
   ZZ-SpRHS MGC Internal Medicine Westside                            0.00
                                                                                       0.00             0.00          0.00           0.00          0.00              0.00         10.51         0.00              0.00         0.00           0.00            10.51
   ZZ-SpRHS Ortho Surgery Eastside/Ortho Trauma Services              0.00
                                                                2,461.95         2,612.99         3,251.69     2,435.72        2,706.49      2,629.40          2,622.27      2,805.42      2,721.63         2,840.65      2,545.37      2,524.47         32,158.07
   ZZ-SpRHS Outpatient Imaging Services -North Grave
                                                                                     86.13            86.84         34.11         113.52        100.49             64.45        169.31         7132             73.91         49.68       136.02          1,103.68
   ZZ-SpRHS PMC Comprehensive Pain Center                         117.90
                                                                1,737.62         1,44733          1,80435      1,404.99        1,784.86      1,634.50          1,589.02      1,532.17      1,536.03         1,418.13      1,592.98      1,631.30         19,113.28
   ZZ-SpRHS PMC Imaging Services
                                                                                 2,00534          2,363.33     1,990.65        2,116.77      1,672.38          1,603.55      1,961.48      2,229.52         1,576.19      1,498.49      2,031.77         23,750.94
   ZZ-SpRHS Regional Hospice Home                               2,701.48
Page 163 of 229




                                                                    84.71          128.09              52.43        57.89           81.58         71.48            81.23          43.04        76.01          101.56          71.42       135.03             984.46
   ZZ-SpRHS Regional One Air Medical Service
                                                                   174.09           216.46           311.05        25537          195.28        210.46           259.48         268.39       24232            214.63        188.97        176.16           2,712.65
    ZZ-SpRHS Rehabilitation -East Spartanburg
                                                                                    217.99           164.84        162.46         159.50        285.02           185.50         243.84       234.19           160.08        221.55        284.51           2,476.17
    ZZ-SpRHS Rehabilitation -Pelham Medical Center                 156.70
                                                                   249.97           338.86           313.34        19838          274.19        324.62           339.94         369.56       304.23           839.78        268.25        253.57          4,074.68
    ZZ-SpRHS Rehabilitation -West Spartanburg
                                                                                    679.90        1,142.33         742.37      1,148.88         914.18           76920       1,198.89        945.49           874.22      1,102.61      1,020.86         11,509.92
    ZZ-SpRHS Rehabilitation -YMCA                                  971.00
                                                                6,157.29         5,446.05         6,245.81      5,345.20       6,406.64      4,702.31          4,262.08      4,513.00      5,521.67         5,236.20      5,261.74      5,196.63         64,294.62
    ZZ-SpRHS Union Medical Center
                                                                      0.00            50.05            21.11         21.18          24.40         68.53            30.60            0.00       60.57            11.83         32.97           0.00           321.23
    ZZ-SpRPG Center for Family Medicine - Chesnee
                                                                   152.45           159.61           201.54        193.86         230.35        285.22            236.10        298.63       225.66           221.38        195.62        176.10           2,576.52
    ZZ-SpRPG Corporate Health -Greer
                                                                       0.00             0.00           17.87           0.00           0.00          0.00           3730             0.00         0.00           38.12          0.00         15.17            108.46
    ZZ-SpRPG family Medicine -Converse Heights
                                                                     62.10            50.17            37.77         57.25          5125          74.88            31.47          61.56        29.98            92.31         4439          49.55            642.66
    ZZ-SpRPG Family Physicians - 290
                                                                     44.37            8934             43.30         90.54          52.09         98.18            65.82          92.85        54.96            45.53         81.79           0.00           758.75
    ZZ-SpRPG Family Physicians -Boiling Springs
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                              119.01          97.53       119.01           1,249.23
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                   126.75           114.74           180.44            0.00         81.45       127.77            150.58         131.96          0.00
    ZZ-SpRPG Family Physicians -Landrum
                                                                       0.00           44.58          202.49            0.00           0.00        97.53              0.00        16532           0.00           82.21         75.90           0.00           668.03
    ZZ-SpRPG Inman Family Medicine
                                                                   144.61           122.01           208.75        175.36         162.63         175.94           120.66         163.95       174.08           201.30       145.02        202.66           1,996.97
    ZZ-SpRPG Internal Medicine -Greer
                                                                     45.67              0.00           32.05         41.74            0.00         15.45            36.04          19.83       24.10             31.00        29.17         42.91            317.95
    ZZ-SpRPG Magnolia Plastic Surgery -Greer
                                                                   122.09           144.57           154.68        106.99          106.60        147.86             96.02        125.85       132.40           177.54        119.46        120.78          1,554.84
    ZZ-SpRPG Magnolia Plastic Surgery -Spartanburg
                                                                   279.65            313.04           329.13       250.55          353.66        284.70           315.14         319.10       394.71           229.77       350.53         104.65          3,524.63
     ZZ-SpRPG MGC Occupational Health - Westside
                                                                       0.00            37.32            3339           0.00          42.76          0.00              0.00         33.83         0.00            4838           0.00         49.11           244.79
     ZZ-SpRPG Pacolet Family Medicine
                                                                       8.14            13.65            26.93          0.00          14.15          0.00            27.03           3.00        30.84              0.00         0.00          0.00           123.74
     ZZ-SpRPG Palmetto Pediatrics -North Grove
                                                                     24.43              0.00             0.00       144.97            0.00       149.61               0.00         92.58        75.26          201.97           0.00         60.89           749.70
     ZZ-SpRPG Palmetto Pediatrics -West
                                                                    161.11           105.68           232.63        187.93         183.18        250.65           126.95         299.31       173.73           345.94        219.90        179.19          2,466.19
     ZZ-SpRPG PMC Center for Women
                                                                    154.44              0.00             0.00          0.00          71.06       141.52               0.00         11.81         0.00          258.54           0.00           0.00          63737
     ZZ-SpRPG Spartanburg Internal Medicine
                                                                    108.78           129.25           212.49        140.95         172.25        169.76             59.77        179.58         91.32          158.46        146.50        213.79          1,782.90
     ZZ-SpRPG Weight Loss Services
                                                               88,82330         79,577.99        91,466.50     83,250.82      90,543.76     88,398.87         82,613.91     92,108.12     90,776.92        90,050.46     81,409.52     86,813.46      1,045,533.62
     ZZ-Floyd Medical Center
                                                                    500.00           500.00           507.50        507.50         507.50        507.50           507.50         507.50       507.50           507.50        507.50        507.50          6,075.00
     ZZ-Floyd Primary Care
                                                                        0.00             0.00           21.62           0.00         22.60           0.00             0.00         71.28          0.00             0.00         0.00           0.00           115.51
     ZZ-GMC Academic Internal Medicine Partners
                                                                 1,452.45         1,074.89         1,398.84      1,130.86          992.66     1,267.25            887.77       1,270.56       976.64         1,046.88      1,134.85      1,601.70         14,235.36
     ZZ-GMC Breast Center
                                                                    139.02           158.18           298.25        18537          191.87        194.97            163.05        227.01       248.70           203.18        224.30        118.67           2,352.57
      ZZ-GMCCancerCenter-Sneliville
                                                                        0.00             0.00             0.00          0.00           0.00          0.00             0.00           0.00         0.00             0.00         0.00         35.22             35.22
      ZZ-GMC Cancer Support Center
                                                                18,459.00        18,459.00        18,735.89     18,735.89      18,735.89     18,735.89         18,735.89     18,735.89     18,735.89       18,735.89      18,735.89    18,735.89        224,276.85
      ZZ-GMC Contract Labor
                                                                        0.00             0.00             0.00          0.00           0.00          0.00             0.00           0.00         0.00             0.00         0.00           0.00             0.00
      II-GMC Direct Sale
                                                                 4,050.83          2,939.67         4,896.78      3,595.51       4,084.06      3,528.87         3,756.03       4,140.22     3,431.87         3,165.71      2,759.62      1,089.10         41,438.26
      ZZ-GMC Glancy Rehabilitation Center
                                                                  8,384.91         6,543.13         9,891.82      8,570.59     10,335.26       9,251.04         7,875.32     10,712.87      8,435.67         8,854.64      7,947.52      3,877.42       100,680.19
      ZZ-GMC Gwinnett Extended Care Center
                                                                    810.31            401.32           459.80       440.47          659.16        442.66           530.17         395.81      461.62            517.38       573.40        606.47           6,298.57
      ZZ-GMC Imaging Center at Hamilton Mill
                                                                    651.83            423.42           821.16       564.31          579.39        339.06           256.37         616.87      415.09           809.84        348.19        409.64           6,235.17
      ZZ-GMC John's Creek Orthopaedic Surgery Center
      ZZ-GMC Outpatient Imaging Center                            1,91712          1,570.54         2,142.43      2,268.32       1,914.62      1,930.23         1,531.66       1,828.00     1,891.56         2,088.69      1,47139         225.99         20,780.66
      ZZ-GMC Pain Management Center                                  380.01           330.03           578.99       51034           594.18        714.37           506.04         462.34       696.67           413.59       610.81        717.40           6,514.76
      ZZ-GMC SportsRehab                                            447.83            326.24           484.14       434.73          426.51        410.00           390.31         275.39       275.85           437.54       384.71        401.07           4,694.31
      ZZ-GMC Strickland Family Medicine                                71.58             0.00            53.82        91.49         169.52          72.65          123.78         161.45         72.65            64.58       118.39           0.00           999.89
       ZZ-GMC Suwanee Specialty Center                                  0.00             0.00             0.00       136.52            0.00          0.00              0.00          0.00       95.01              0.00         0.00           0.00           231.53
      ZZ-GMC Wound Treatment Center                                  443.93           399.60           361.13        468.67         329.14        384.12           446.72         341.52       570.70           371.71        333.89        511.02          4,962.15
       ZZ-Grady Health System (II)                                       0.00             0.00         117.95            0.00    2,191.54             0.00             0.00          0.00         0.00              0.00         0.00          0.00         2,309.49
       ZZ-Grady Health System Lab Coats                           3,16736          2,568.13         2,637.07      2,593.84       3,242.30      2,593.84          2,593.84      3,24230      2,593.84         3,24230       2,593.84      1,902.15         32,970.77
       ZZ-Greenville Health System                             312,486.37       270,934.66       291,528.46    273,59834      278,130.23    272,963.20        269,937.77    282,519.01    272,671.07      258,942.32     258,629.16   253,771.74       3,296,11233
       ZZ-Greenville Health System Scrubs                        13,282.07        12,316.21        14,805.90     14,060.40      15,231.46     16,001.45        17,758.43      19,491.29    15,368.08        13,679.99     15,716.72     15,934.48        183,646.48
                11/2/2018 1:36 PM                                                                                            C:\Users\hilic\AppData\local\Microsoft\Windows\Temporary Internet Fides\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2017
fiscalYear                                                < 2017
-     _----
                                                                                                                           Sum of MAY'Sum of JUN Sum of1Ul                   Sum of AUG Sum of SEP          Sum of OCT 'Sum of NOV Sum of DEC __               Total 2017
    Row Labels                                          'Sum oflAN        Sum of FEB ` Sum of MAR Sum of APR
                                                                                                             29,897.00        32,204.20       26,804.47        24,80731         29,081.07      24,804.30       28,766.31       22,817.06       21,840.00         334,131.01
                                                            35,977.16        26,776.30       30,355.83
    ZZ-GrHS Greenville Memorial Medical Campus                                                                                                                                                      51.90           24.42            25.95           22.90             45731
                                                                                                                                                                                      25.44
 Desc




                                                                  74.57            56.09           58.00           26.97            33.07           29.51           28.49
    ZZ-GrHS Greer Memorial Hospital                                                                                                                                                               198.43          177.06           118.04          155.18           2,628.82
                                                                286.64           339.54          281.37          249.82           233.03          230.49          175.54            183.68
    ZZ-GrHS Hillcrest Memorial Hospital                                                                                                                                                               0.00            0.00            0.00            0.00                0.00
                                                                   0.00              0.00           0.00            0.00              0.00            0.00            0.00             0.00
    ZZ-GrHS North Greenville Hospital                                                                                                                                                                 0.00            0.00            0.00            0.00              19.53
                                                                                   19.53             0.00           0.00              0.00            0.00            0.00             0.00
    ZZ-GrHS Patewood Medical Campus                                0.00
                                                                                                                     0.00             0.00            0.00            0.00             0.00           0.00            0.00            0.00            0.00                0.00
                                                                    0.00             0.00            0.00
    ZZ-GrHS Patewood Memorial Hospital
 Entered 12/21/18 12:13:35




                                                                                                                     0.62             0.93            2.17            0.93             2.79           1.86            0.93            1.55            0.93              15.50
                                                                    0.92             0.00            1.86
    ZZ-GrHS Pediatric Specialists -Duncan                                                                                                                                                             3.10            4.96             4.65           2.79              65.16
                                                                    0.00             0.00            6.52            4.34             2.79          24.82             1.86             9.31
    ZZ-GrHS Pediatric Specialists -North Grove                                                                                                                                                        6.21            6Z1              6.21           3.10               75.85
                                                                    6.11             4.58            7.76            4.65             4.65            7.76            7.76            10.86
    ZZ-GrHS Proaxis Therapy Oak Grove                                                                                                                                                                 3.10             0.00            6.21           3.10               74.24
                                                                    6.72             7.64            9.62            5.28             7.76            9.31            9.31             6.21
    ZZ-GrHS Proaxis Therapy S Pine St                                                                                                                                                                 0.00             0.00            0.00           0.00                0.00
                                                                    0.00             0.00            0.00            0.00             0.00            0.00            0.00             0.00
    ZZ-GrHS Satellite Accounts                                                                                                                                                                        0.00             0.00            0.00           0.00                0.00
                                                                    0.00             0.00            0.00            0.00             0.00            0.00            0.00             0.00
     ZZ-GrHS Surgery Center- Boiling Springs
 Page 164 of 229




                                                                                                                                    13.96             6.21             7.76           21.72         13.96              0.00            7.76          15.52             122.42
                                                                    3.05             6.11          15.52           10.86
     ZZ-GrHS University Medical Group OB/GYN                                                                                                                                                       117.00            93.60           93.60         117.00           1,188.90
                                                                  90.00            92.70          117.00           93.60            93.60            93.60           93.60            93.60
     ZZ-Griffin Center for Pain and Spine, LLC                                                                                                                                                                   1,071.84          816.06        1,169.28          12,48831
                                                                                 696.00          876.96          864.78         1,218.00        1,023.12        1,096.20          1,394.61      1,181.46
     ZZ-Gwinnett Medical Center Dietary                       1,080.00
                                                                                                              56,901.12        55,691.64       58,850.53       49,193.56         56,658.01     50,430.90       53,394.59       57,998.18       59,824.56         658,447.77
     ZZ-Gwinnett Medical Center Duluth                       52,486.99        48,489.45       58,498.23
                                                                                                             179,725.05      184,128.41       286,811.71      170,344.75       180,306.90     175,678.04      180,309.97      186,154.33      193,348.57       2,285,031.85
     ZZ-Gwinnett Medical Center Lawrenceville              182,090.11       167,610.12       198,523.90
                                                                                                                  503.14           612.22          440.80          328.10            543.00        494.60          477.60          536.92          559.60            5,747.92
                                                                 400.95           350.85          500.14
     ZZ-Harbin Clinic (14) Cedartown                                                                                                                                                             1,762.37        2,122.98        1,792.40        1,549.12          22,359.67
                                                              1,498.56         1,513.32        1,648.96        2,117.61         2,038.57         2,004.13        1,812.73         2,498.92
     ZZ-Harbin Clinic (150) Cartersville                                                                                                                                                                           395.23          131.71          295.43            2,751.30
                                                                 254.20           202.69          325.85          322.24           227.19          224.12          169.48            103.66          99.50
     ZZ-Harbin Clinic(330) Physicians Center                                                                                                                                                                     1,064.66        1,025.70        1,009.79          13,395.90
                                                                                1,229.14       1,241.05        1,190.50          1,185.34        1,100.59        1,089.17          1,242.06      1,033.25
     ZZ-Harbin Clinic (504) Cardiology                           984.65
                                                                                                2,805.59        2,676.41         2,646.73        2,779.17        2,268.25          2,971.58      2,176.80        2,438.33        2,256.11        2,304.65          30,289.48
     ZZ-Harbin Clinic (550) Specialty                          2,405.79         2,560.07
                                                                                                                1,097.24           822.44        1,001.60           592.46           882.36        988.12        1,177.18        1,21435         1,344.24          12,565.77
      ZZ-Harbin Clinic(Cancer Center)                          1,022.34         1,275.38        1,148.06
                                                                                                                                                                                                                 7,111.55        6,615.27        5,73036           64,07832
                 Exhibit A - Purchase Agreement




                                                                                                                                                                                   7,462.64      6,469.06
 Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                               3,480.19         4,038.13        4,309.03        3,812.83         3,897.05        4,827.92        6,324.29
      ZZ-Harbin Clinic (Main)                                                                                                                                                                                       860.22          703.08          788.94           8,79831
                                                                 642.60           735.12          800.10          510.30           724.50           749.70          759.15           724.50        800.10
      ZZ-Harbin Clinic Dialysis                                                                                                                                                                                                     226.80          264.60           2,99835
                                                                                  126.00           283.50         236.70            285.75          32130           19530            371.70        233.10           277.20
      ZZ-Harbin Clinic Dialysis -Calhoun                          176.40
                                                                                                   349.65          302.40           264.60          412.65          239.40           321.30        220.50             56.70         277.20          289.80           3,301.20
      ZZ-Harbin Clinic Dialysis -Summerville                      264.60          302.40
                                                                                                    18.77           56.08             20.76           24.54           13.10            13.10         13.10            42.40           26.60            0.00             27639
      ZZ-Harbin Clinic Family Medicine - Adairsville               26.69             21.25
                                                                                                      0.00            1.40             0.00             0.00            0.00            0.00           0.00             0.00            0.00           0.00                5.30
      ZZ-Harbin Clinic Family Medicine - Armuchee                    0.00             3.90
                                                                                                                    90.65           103.09            6739            77.65            66.88         51.45          176.53          114.11          22130            1,42927
      ZZ-HIX Physical Therapy                                     186.36           10023           173.63
                                                                                                   497.63          422.89           367.07          519.16          405.57           336.17        474.85           482.81          383.79          545.79           5,31633
      ZZ-HIX Sleep Lab                                            404.14           476.45
                                                                                                   650.32          510.93           736.85          593.67          359.91           406.75         139.55          468.20          684.14          421.80           5,802.57
      ZZ-MEM Atrium Sleep Center                                  378.06           452.41
                                                                                                   141.46          105.32           204.10          171.32          156.66            334.12        16937           233.92          220.72          179.52           2,190.44
      ZZ-MEM Hamilton YMCA                                        142.31           131.63
                                                                                                   299.08          51630            286.47          348.76          258.75            326.34        185.97          649.45          234.82          304.06           4,447.62
       ZZ-MEM Mission Surgery Center                              469.44           568.18
                                                                                               35,817.59       32,230.78        33,699.25       32,811.15       30,539.10         31,086.02     30,869.04       31,008.72       29,067.88       36,931.42         384,787.41
       ZZ-Memorial Hixson Hospital                            30,803.26        29,923.20
                                                                                              116,439.85      106,184.34      105,860.34       108,165.47      101,620.56       108,569.71     108,015.99      106,592.47      101,51639       106,730.49       1,285,953.34
       ZZ-Memorial Hospital                                 114,651.26       101,606.50
                                                                                   233.00          256.56          220.67           294.46           226.71          229.51           336.50        257.12           266.71         326.34          271.02            3,159.60
       ZZ-NGHS Cleveland White Co. EMS                            241.00
                                                                                                   203.00          203.00            253.75          203.00          254.92           203.00        204.63          26035           203.00          203.00            2,641.65
       ZZ-NGHS Lanier Med Transport                               250.00           200.00
                                                                                   974.78        1,394.68          933.60         1,161.26        1,773.67        1,195.52            862.13      1,203.87        1,187.64        1,641.47        1,196.03          14,398.25
       ZZ-NGHS Lanier Park Wound Care                             873.60
                                                                                 2,120.34        2,533.60        2,285.73         2,622.86        2,450.16        2,573.55          2,486.06      2,507.06        2,186.80        2,181.51        2,121.43          28,322.53
       ZZ-NGHS Laurelwood                                       2,253.42
                                                                                    200.00          258.60          203.00           203.00          253.75          206.06           203.00        258.84           203.00          203.00         261.88            2,654.13
       ZZ-NGHS Outpatient Cardiac Rehab                            200.00
                                                                                       0.00            0.00            0.00             0.00           50.75            0.00             0.00          0.00             0.00            0.00           0.00               50.75
       ZZ-NGHS Rehabilitation Institute                               0.00
                                                                                    200.00          203.00          203.00           253.75          203.00          253.75           203.00        203.00           253.75          203.00         203.00            2,632.25
       ZZ-NGHS Trauma &Acute Care Orthopedics                      250.00
                                                                                 1,661.00        1,661.00        1,661.00         1,661.00        1,661.00        1,661.00          1,661.00      1,661.00        1,661.00        1,661.00        1,661.00          19,932.00
       ZZ-NGMC Braselton Equipment Lease                        1,661.00
                                                                              155,986.15      162,658.44      151,716.93       175,40028       161,308.66      147,822.27        152,603.28    158,289.67      147,591.82      155,449.13      157,903.07       1,894,901.77
        ZZ-Northeast Georgia Medical Center                  168,172.08
                                                                                 8,138.49        8,103.83        7,602.39         9,133.38        7,448.71        7,677.91          8,287.70      8,689.78        7,126.97        6,862.63        7,922.85          92,877.20
        ZZ-Northeast Georgia Medical Center Barrow              5,882.56
                                                               39,689.33        39,945.00       44,952.04      43,726.99        41,449.63       42,330.33       42,617.50         44,036.89     42,834.76        43,183.94      41,82432        50,975.85         517,566.58
        ZZ-Northeast Georgia Medical Center Braselton
                                                                3,140.09         3,020.87        3,055.02        2,876.60         3,182.69        3,134.79        2,790.02          2,906.43      2,997.17        2,916.72        2,562.53        2,600.35          35,183.26
        ZZ-SpRHS Child Development Center
                                                                5,978.52         6,12134         7,151.97        5,721.48         8,859.10        7,356.89        8,126.88          9,377.08      8,280.23        7,555.66        7,543.15        7,096.88          89,169.18
        ZZ-SpRHS Ellen Sagar Nursing Home
                                                                      0.00             0.00            0.00            0.00             0.00             D.00            0.00            0.00           0.00             0.00            0.00           0.00                0.00
        ZZ-SpRHS Pediatric Rehabilitation
                                                               14,467.65        14,475.52       15,732.50       13,331.06        15,239.64       13,320.11       13,227.05         14,854.87     13,445.02       13,938.40       14,983.98      12,212.04         169,227.84
        ZZ-SpRHS Pelham Medical Center
                                                                 2,999.70         2,316.60        3,439.15        2,776.95         2,744.50        3,095.95        2,819.30         2,932.05      3,058.55        3,308.80        2,874.85        3,506.80          35,873.20
        ZZ-SpRHS PMC Surgery Center
                                                                      0.00            58.03            0.00            0.00             0.00             0.00            0.00            0.00           0.00             0.00            0.00           0.00              58.03
        ZZ-SpRHS Rehabilitation -Floyd Road
                                                                 8,708.18         7,065.06        8,748.71        7,173.51         8,283.49        7,452.68        7,754.31         7,81739       7,225.80         7,805.30       7,094.40        7,026.40          92,155.21
        ZZ-SpRHS Restorative Care LTC
                                                                       0.00             0.00            0.00            0.00             0.00            0.00            0.00            0.00           0.00             0.00            0.00           0.00                0.00
         ZZ-SpRMC Replacement Scrubs
                                                                       0.00             5.80            0.00            0.00             0.00            0.00            0.00            0.00           0.00             0.00            0.00           0.00                5.80
         ZZ-SpRPG Ear, Nose, and Throat -Greer
                                                                    179.02           177.28             0.00            0.00             0.00            0.00            0.00            0.00           0.00             0.00            0.00           0.00             356.30
         ZZ-SpRPG Ear, Nose, and Throat -Spartanburg
                                                                                                                                 C:\Users\hillc\AppData\local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2017
                    11/2/2015 1:36 PM
 FiscalYear                                               2017
                                                          Sum of JAN   Sum of FEB   Sum of MAR ' Sum of APR   Sum of MAY Sum of1UN ,Sum oflUL    Sum of AUG ` Sum of SEP 'Sum of OCT   Sum of NOV Sum of DEC                                     Tota12017
 Row Labels
                                                                  0.00         1.20        16.35         0.00         0.00      0.00        0.00         0.00         0.00        0.00         0.00       0.00                                         17.55
 ZZ-SpRPG Family Medicine -North Grove
                                                                                                                                                                                              85.02      66.36                                        448.06
Desc




                                                                  0.00         0.00       232.49         0.00         0.00      0.00       64.20         0.00         0.00        0.00
 ZZ-SpRPG Lung &Chest Medical Associates
                                                                  0.00         0.00         0.00                 0.00           0.00
                                                                                                                                0.00                     0.000.00     0.00                                0.00
                                                                                                                                                                                                          0.00           0.00                            0.00
 6MCD Direct Sale
                                                                261.50           495.50         267.50         413.00         209.00         455.00        202.00         142.50         323.00         226.50         260.50          178.50        3,434.50
 Goldstar EMS
                                                                947.47           563.08         878.74         935.51         663.76         86225       1,039.02         894.58       1,044.03         933.19         997.65          964.69       10,723.96
 Gwinnett Surgery Center, LLC
                                                                 54.44           213.00         225.00         201.28         318.40         176.70        155.08         148.60         10330          17034          175.64          195.18        2,136.96
 Harbin Clinic Vein Center
Entered 12/21/18 12:13:35




                                                                333.47           383.98         484.24         475.75         393.95         448.09        396.80         418.15         461.57         308.04          416.71         27731         4,798.10
 I nfectious Disease Program
                                                                108.28           130.48         154.07         148.64         144.70         191.43        142.59         137.14         18331          140.24          200.55          65.32        1,746.75
 ZZ-Asa G. Yancey, Sr., MD Health Center
                                                              9,615.40         9,615.40       9,711.55      12,139.44       9,711.55       9,711.55     12,139.44       9,711.55      12,139.44       9,711.55        9,711.55       7,283.67      121,202.12
 ZZ-Crestview Contract Labor
                                                              2,820.84         2,173.54       2,429.24       2,520.16       4,156.59       2,663.21      2,615.08       3,179.26       2,849.05       3,033.55        2,243.40       1,355.67       32,039.57
 ZZ-Crestview Direct Sale
                                                             46,333.33        45,089.57      53,762.94      49,098.51      49,715.19      46,492.13     50,118.96      50,156.85      45,904.68      40,479.48       37,956.08      23,012.72      538,120.45
 ZZ-Crestview Health &Rehabilitation Center
                                                                    67.63         94.92         318.17          72.29          60.10          94.10         54.72         131.56          70.18          71.53           59.14          85.93        1,180.27
 ZZ-East Point Grady Health Center
Page 165 of 229




                                                                   253.81        357.52         371.19         341.36         361.88         241.73        349.53         491.21         370.79         413.59          498.12         252.83        4,303.56
 ZZ-GN Harris Radiation Therapy Center
                                                                    49.96         39.76          99.11         120.98         141.97         109.18         82.13         174.56         136.72         134.50           98.76         124.06        1,311.67
 ZZ-GH North Georgia Cancer Center
                                                                     0.00          0.00           0.00           0.00            0.00          0.00         93.39          71.05          55.75          57.58           27.87          14.39          320.04
     ZZ-GH Northwest Georgia Women's Care
                                                             25,792.50        25,792.50      25,792.50      25,792.50       25,792.50     25,792.50      25,792.50      25,792.50      25,792.50      25,792.50      25,792.50      25,792.50      309,510.00
     ZZ-GHS Contract labor
                                                              5,248.00         5,248.00       5,245.00      21,911.78        2,624.00      6,068.00       4,756.00      19,123.60       8,036.00       6,642.00       5,248.00       2,624.00       92,777.38
     ZZ-GHS Direct Sale
                                                                110.47            120.20        117.83           94.09         333.89          0.00           0.00           0.00           0.00           0.00           0.00           D.00          776.49
     ZZ-GHS Emergency Medical Services -Sylvester
                                                               2,289.75         1,369.70      2,34432         2,182.28       2,153.16          0.00           0.00           0.00       1,742.99       1,166.72       2,675.84       1,882.50       17,80727
     ZZ-GHS Emergency Medical Services -Sylvester
                                                              26,811.19        26,12830      29,410.56       20,740.39      25,989.91     27,184.55      22,416.51      26,756.80      25,425.60      28,123.40      23,673.14      25,307.41      30~,967J5
     ZZ-Gordon Hospital
                                                              33,963.00        33,963.00     33,963.00       33,963.00      33,963.00     33,963.00      33,963.00      33,963.00      33,963.00      33,963.00      33,963.00      33,963.00      407,556.00
     ZZ-Hospital Services, Inc Contract Labor
                                                              28,341.47        27,690.17     32,503.42       26,252.17      27,478.49     28,020.09      24,977.08      30,108.37      27,049.01      31,351.50      26,259.15      27,689.87      337,720.77
     ZZ-Mary Black Memorial Hospital
                                                                 427.75           299.17        288.52          357.24         291.55        258.63         271.13         440.84         258.71         315.11         199.72         288.20        3,696.58
     ZZ-MBMH Outpatient Therapy Services
                                                                                                                                                                                                                                                     7,014.55
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                                        627.84         694.90
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                 548.11           502.79        513.84          425.96         727.30        866.94         498.56         566.40         496.04         545.88
     ZZ-MBMH Women's Breast Health Center
                                                                 7,472.98       4,500.05      4,747.64        3,578.69       4,577.77      3,741.42       4,075.12       4,035.53       4,150.60       4,192.94       3,950.58       3,936.06       52,959.37
     ZZ-Murray Medical Center
                                                                     0.00           0.00           0.00           0.00           0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00
       ZZ-Parkside Children's Learning Center
                                                                 1,098.95       1,068.52       1,200.39         902.74       1,155.38         999.09        94034          923.99       1,197.94         840.31         536.15           0.00       10,863.80
       ZZ-Peachtree Christian Hospice
                                                                 26,506.14     25,490.19      29,164.14      26,402.93      30,659.40      29,363.82     28,010.39      30,249.53      28,535.79      30,185.26      29,23938       30,233.05      344,040.02
       ZZ-Piedmont Newton Hospital
                                                                     43.09         76.88          82.84           0.00         108.06          47.88         26.93           0.00           0.00           0.00           0.00          44.89          430.57
       ZZ-PNH Imaging Center
                                                                      0.00          0.00           0.00           0.00           0.00           0.00          0.00           0.00           0.00           0.00           0.00           0.00            0.00
        ZZ-PNH Southern Neurology
                                                                  7,376.62      6,633.43       7,912.52       6,909.59       8,829.21       7,734.62      6,758.13       7,798.92       7,714.86       7,570.33       7,091.24       6,930.94       89,260.72
        ZZ-Polk Medical Center
                                                                     97.00         96.35         126.35         184.84         104.39         173.90        131.22         131.68          93.79         152.65          80.60         107.49        1,480.25
        ZZ-Polk/Floyd Wound Center
                                                                      0.00          0.00           0.00           0.00           0.00           0.00          0.00           0.00         833.12         109.62       1,930.80       3,480.00        6,353.54
        ZZ-Tanner Medical Center/Alabama
                                                                 59,474.16     56,860.39      64,681.16      58,260.63      63,185.74      60,082.62     59,462.07      65,467.93      65,885.14      62,802.89      60,870.73      62,377.50      739,410.95
        ZZ-Tanner Medical Center/Carrollton
                                                                 22,06333      21,537.23      22,769.72      22,078.02      21,55634       21,770.52     22,413.29      22,370.61      23,345.45      26,321.51      25,416.94      25,458.67      277,101.64
        ZZ-Tanner Medical Center/Villa Rica
                                                                 10,480.00     10,480.00      10,480.00      13,427.50      10,742.00      10,742.00     13,427.50      10,742.00      13,427.50      10,742.00      10,742.00      13,427.50      138,860.00
        ZZ-TMC Contract Labor
                                                                  8,397.00      7,617.17       8,083.61       7,604.17       7,124.45       7,483.16      7,935.27       7,349.02       7,438.19       7,614.55       6,028.83       5,814.61       88,490.03
        ZZ-Triumph The Specialty Hospital, LLC(Rome,GA)
                                                                      0.00          0.00           0.00           0.00           0.00           0.00          0.00           0.00           0.00           0.00      37,767.84      59,858.64       97,626.48
          ZZ-VAMCAtlanta
                                                                      0.00          0.00           0.00           0.00           0.00           0.00          0.00           0.00           0.00           0.00       2,340.38       1,114.09        3,454.47
          ZZ-VAMC Atlanta Clinic Facility
                                                                      0.00          0.00           0.00           0.00           0.00           0.00          0.00           0.00           0.00           0.00       1,608.30       1,580.02        3,18831
          ZZ-VAMC Ft. McPherson Bldg
                                                                      0.00          0.00           0.00           0.00           0.00           0.00          0.00           0.00           0.00           0.00       3,729.85       3,210.55        6,940.40
           ZZ-VAMC Trinka Davis Veterans Village
                                                                5,609.60        5,159.04       6,453.96       5,55137         6,596.75      6,061.74      5,321.42        5,617.00       5,818.41      5,850.51       5,361.12        5,33230        68,763.22
           ZZ-WillowbrookeatTanner
                                                            3,155,381.87     2,915,932.48   3,316,171.76   3,021,760.09   2,937,168.66   2,949,77131   2,750,018.09   3,194,831.31   3,038,759.97   3,067,008.26   2,972,436.26   2,886,104.64   36,205,344.70
            GrendTOWI
              11/2/2018 136 PM                                                                                             C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xisx 2017
                                                                                  2018                               ~~1~~ ~ ~'~            ~ l~ i.i.~~G~ i✓t~ ~$~ ~-
         FiscalYear                                                                          _..::~.
                                                                                                                                                                                                                                 Total YTD
                                                                                                   Sum of FEB       Sum of MAR Sum of APR           Sum of MAY Sum of JUN__ Sum of lUl          Sum of AUG Sum of SEP            9/30/2018
                                                                                  Sum of 1AN
Desc




           Row Labels                                           _ _ ..._ ,.,.__
                                                                                         878.85           955.96        1,006.99       1,064.83         1,126.06        890.19      1,051.22           943.49        759.78          8,677.37
           ABM -Lanier -Hunt Airport Parking Atlanta
                                                                                                       2,784.84         3,151.40       2,205.74         3,174.09     2,455.45       2,433.41         3,583.71      2,452.46         25,181.48
           AMH Ambulatory Care Center                                                 2,940.38
                                                                                                            50.71            37.71           0.00          130.57         95.15         24.68            10.20         66.91            415.92
           AMH Archbold Primary Care                                                         0.00
                                                                                                          379.75           418.32         401.24           566.40       436.74        454.44            556.44       401.89          3,919.58
Entered 12/21/18 12:13:35




           AMH Archbold Sleep Center                                                     304.36
                                                                                                            77.29          176.20         102.16             89.72       117.89       164.70            123.78        137.65          1,124.87
           AMH Bainbridge Specialty Clinic                                               135.47
                                                                                      3,475.20         3,066.48         4,325.71       4,745.68              56.18    3,045.72      3,536.44         2,958.58      2,61531          27,825.30
           AMH Brooks County Hospital
                                                                                         135.28           156.11           150.64         144.68             81.47       127.62         87.40           145.51         86.14          1,114.85
           AMH Cardio Consultants of South Georgia
                                                                                      4,590.24         4,434.62          5,255.54      4,66832           4,823.75     5,267.42      4,938.97         4,773.59      4,023.36         42,775.81
           AMH Glenn-Mor Nursing Home
                                                                                                        7,600.55       13,980.53      13,065.49        (4,250.38)     7,308.88      7,668.86         7,882.53      6,709.37         b9,205.29
                                                                                       9,239.46
Page 166 of 229




           AMH Grady General Hospital                                                                                                                                                                                               15,707.11
                                                                                       1,824.06         2,048.51         2,061.76       1,561.59         2,124.92     1,799.97      1,567.26         1,584.09      1,134.96
           AMH Lewis Hall Singletary Oncology Center
                                                                                          801.87        2,264.26         2,52332        2,151.26         2,440.94     2,432.24      2,345.64         2,608.48      2,058.11         19,626.12
           AMH Mitchell Convalescent Center
                                                                                                        3,991.98         7,336.62       7,241.98           507.07     4,546.67      5,164.87         4,754.99      4,089.33         43,634.39
            AMH Mitchell County Hospital                                               6,000.88
                                                                                          732.18        1,239.10           610.97       1,212.38         1,363.01     2,019.63      1,204.76            964.02     1,314.32         10,660.36
            AMH Northside Center for Behavioral &Psychiatric Care
                                                                                       5,552.93         4,710.63         6,062.81       5,776.63         5,418.89     5,988.48      5,716.57         6,207.63      5,077.48         50,512.05
            AMH Pelham Parkway Nursing Home
                                                                                            20.40             0.00             0.00          0.00              0.00         0.00          0.00             0.00          0.00             20.40
            AMH South Georgia Surgical Associates
                                                                                          589.57           743.83           587.69        618.11           530.85        602.71        685.93           617.68        509.16          5,485.52
            AMH Thomasville Physical Therapy
                                                                                          424.56           535.92           361.76         297.67          404.50        360.83        328.41           30835         356.08          3,378.07
            AMH Urgent Care &Corporate Care Centers
                                                                                          310.69           286.66           211.80         210.14           238.53       128.23        279.07           198.96        206.78          2,070.86
            AMH Wound Management & Hyperbaric Medicine
                                                                                                                                                                                          0.00             0.00          0.00         5,282.06
                Exhibit A - Purchase Agreement




                                                                                                                                                                            0.00
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                        1,869.83         1,415.61           58636          734.02           676.24
            Amtran Medical Transportation, Inc.
                                                                                              0.00             0.00            0.00           0.00             0.00      63130       1,316.26           79234         174.41          2,914.31
            Amtran Medical Transportation, Inc.
                                                                                        6,337.14         5,538.19        4,965.62       5,285.88         6,276.41      5,224.87      5,631.15         6,423.60     5,371.46         51,05432
            AnMed Cannon Memorial Hospital
                                                                                      81,509.79        71,599.97        77,506.25     74,615.96         77,821.34    77,191.56     76,002.03        78,851.01    73,363.19         688,451.11
            AnMed Health Medical Center
                                                                                      21,868.51        18,550.20        20,343.15      18,887.03        20,862.16    19,048.65     19,601.45        22,37834      18,435.70        179,975.19
            AnMed Health North Campus
                                                                                           177.63          208.11           272.60         172.35           291.94        224.53       262.63            175.87       200.49          1,986.15
            AnMed Health Sleep Lab
                                                                                           386.62          227.84           666.43         378.07           719.83        389.26       667.41            548.31       335.52          4,31931
             AnMed Health Wound and Hyperbaric Medicine
                                                                                      79,39436         69,205.04        63,061.07      59,672.79        58,458.35    60,365.21     53,34635         52,694.88     51,00032         547,39838
             Archbold Memorial Hospital
                                                                                             76.77            31.18            0.00          76.77            61.77          0.00        81.13              0.00        80.26            407.88
             BG Neurology
                                                                                           494.98           366.60           346.13        364.10           277.88        217.16       327.22            31135         297.80          3,003.20
             Carlton Breast Center at Meredyth Place
                                                                                        6,559.73         5,812.11         6,652.03       5,595.02         7,457.12     6,563.80      7,125.10         7,002.62      6,676.40         59,443.92
             Carolina Center for Behavioral Health
                                                                                           233.73           206.09           279.02        266.28           333.02        252.39        281.17           178.81        330.22          2,360.74
             Carolina Orthopaedic &Neurological Associates(MRI)
                                                                                        8,489.02         6,192.62         8,854.59       7,874.74         7,230.26           0.00          0.00             0.00         0.00        38,641.22
             Center for Advanced Rehabilitation
                                                                                               0.00             0.00            0.00           0.00         580.94     5,897.49      9,595.51         7,871.11      6,537.05         30,482.10
             Center for Advanced Rehabilitation
                                                                                         3,475.29           944.00        1,404.62       2,079.94         1,531.92           0.00          0.00             0.00         0.00          9,435.77
             Center for Advanced Rehabilitation - SACU 3rd Floor
                                                                                               0.00             0.00            0.00           0.00             0.00      503.67     5,116.61            769.40          0.00          6,389.68
             Center for Advanced Rehabilitation - SACU 3rd Floor
                                                                                           229.52           130.35           183.40         116.42            76.46         86.94       118.26           118.15        100.12          1,159.62
             Dunwoody Urgent Care
                                                                                         1,255.76           979.16        1,000.75          85837         1,073.70      1,273.85        903.30         1,318.78        975.08          9,638.75
              Eden Terrace of Spartanburg
                                                                                               0.00             0.00            0.00     3,422.10               0.00    4,532.25           0.00        3,708.65     4,687.00         16,350.00
              EP Star Wipers, Inc. -RAGS
                                                                                            285.24           161.43          113.66         173.50           181.04       225.83        376.13           130.72        332.58          1,980.14
              Family Medical Center
                                                                                            117.70           117.70          176.55         125.19           117.70        117.70       176.55           251.45        176.55          1,377.09
              FGPG Shakerag Hill
                                                                                            254.13           344.01           324.75        281.41           404.46        385.20       836.10           513.55        451.01          3,794.59
              FGPG Yorktown I (Ste 100)
                                                                                            235.40           235.40           353.10        235.40           294.25        235.40       176.55            292.91       235.40          2,293.81
              FGPG Yorktown III (Ste 207)
                                                                                       87,030.64        89,619.85        84,359.79      90,806.59        87,806.18    87,933.53    100,442.33      124,789.93             0.00      752,788.84
              fortlackson
                                                                                               0.00             0.00             0.00          0.00             0.00          0.00         0.00             0.00 160,369.74         160,369.74
              Fort Jackson
                                                                                            579.67           460.10           655.11        552.96           590.22        318.54       495.50           625.65        456.28          4,734.03
              Fresenius Medical Care of Decatur
                                                                                            903.65           823.09        1,446.90         955.06         1,294.79        535.81     1,125.26         1,171.59      1,103.58          9,359.72
              Fresenius Medical Care of Duluth-Lawrenceville
                                                                                            633.44           61739            952.03        621.14           856.54        531.83       662.63            859.88       669.18          6,404.05
               Fresenius Medical Care of Honey Creek
                                                                                            870.18           745.26           986.01        626.40           926.10        638.64     1,030.16            863.69       563.95          7,250.37
               Fresenius Medical Care of South DeKalb/Rockdale
                 11/2/2018 1:36 PM                                                                     C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2018
           FistalYear                                               2018         '`
                                                                                                                                                                                                                        Total YTD
                                                                                                        Sum of MAR Sum of APR„ Sum of MAY Sum oflUN                  Sum of JUL       Sum of AUG Sum of SEP^            9/30/2018
                                                                    Sum of JAN        Sum of FEB
Desc




            Row labels'                                                                                                                                                                                        0.00            639.38
                                                                              0.00               0.00             0.00           0.00          0.00            0.00            0.00         639.38
            Georgia Baptist College of Nursing -Mercer University                                                                                                                                              0.00              24.65
                                                                               0.00            24.65              0.00           0.00          0.00            0.00            0.00             0.00
            Georgia Breast Surgery, PC                                                                                                                                                                 14,772.81         126,142.Q7
                                                                       14,970.56         11,567.80         16,490.49      12,759.29     13,651.83       13,61433        13,750.46        14,564.50
            Georgia Regional Hospital                                                                                                                                                                       150.00           1,584.80
                                                                                             150.00            225.00         159.80        150.00          150.00          150.00           300.00
Entered 12/21/18 12:13:35




            Georgia State University Student Health Clinic                 150.00
                                                                                             205.50            393.50         374.00        232.50          318.32          454.09           263.40         258.32           2,666.13
            Goldstar EMS                                                   166.50
                                                                                              298.45           629.26            0.00       708.17          35534              0.00             0.00           0.00          2,559.74
            Home Hospice Nurses -Direct Sale                               568.52
                                                                                                               586.25         276.06        258.51          515.95          436.66           383.06         586.63           3,772.76
            Hospice of Laurens County                                       203.30            52633
                                                                                           2,747.66          3,323.05       2,882.98      2,412.61        1,612.25        2,611.18         2,385.41      2,088.55          23,68039
            Hospice of the Upstate                                       3,616.71
                                                                                           2,490.02          3,004.81       2,393.59      2,656.25        2,599.13        2,714.01         2,874.15      2,432.09          23,745.20
                                                                         2,581.14
Page 167 of 229




            Houston Health Pavilion                                                                                                                                                                    77,175.19          741,340.85
                                                                       86,461.07         76,929.33         88,390.58      80,388.06     81,337.24       78,830.19       83,852.42        87,976.77
             Houston Medical Center                                                                                                                                                                    12,072.28          116,198.10
                                                                       12,722.12         11,398.98         12,292.78      15,034.83     11,750.07       12,182.68       14,520.47        14,223.90
             Houston Perry Hospital                                                                                                                                                                      4,443.71          38,552.74
                                                                                           3,623.16          4,50338        4,398.66      4,653.24        4,617.67        3,262.63         4,862.92
             Houston Surgery Center                                      4,187.38
                                                                                           2,944.65          3,417.30       3,695.50      3,50239         3,586.07        4,071.75         4,478.53      3,454.14          32,620.79
             Joe-Anne Burgin Nursing Home                                3,470.46
                                                                                                64.65            64.65          64.65         64.65           64.65           64.65          129.30           64.65            646.50
             Judson G. Black, MD LLC                                          64.65
                                                                                                  0.00             0.00           0.00  29,760.00       76,904.00         3,752.00       19,116.12              0.00      129,532.12
             Linen Replacement in Excess of Allowance (EP)                      0.00
                                                                                                  0.00             0.00           0.00  42,162.00      151,399.28            345.00      48,440.04      (8,129.00)        234,21732
             Linen Replacement in Excess of Allowance(SPAR)                     0.00
                                                                                                  0.00             0.00           0.00  39,619.00       47,589.00               0.00     40,599.08              0.00      127,807.08
             Linen Replacement in Excess of Allowance (TRIST)                   0.00
                                                                                                  0.00           57.01            0.00        34.49             0.00            0.00         123.91           25.29             240.70
             Lung &Chest Medical Associates                                     0.00
                                                                                                                                                                         24,538.69        24,275.80    24,989.79          226,353.62
                Exhibit A - Purchase Agreement




                                                                                                                                                         24,120.35
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                        27,235.02         22,277.83         26,333.58      25,354.03     27,228.55
              Martin Army Hospital                                                                                                                                                                                           2,84833
                                                                                0.00           346.85           412.51         323.65        419.05          316.03          329.10          447.96         253.19
              Midtown Neurology PC
                                                                                            3,316.77         4,440.86       3,024.96      3,942.18        3,802.44        3,566.80         3,579.81      3,796.27          32,988.23
              Moncrief Army Health Clinic                                 3,518.16
                                                                                               719.42         1,183.62       1,057.70      1,105.76        1,037.56          697.00          612.94         609.98           7,623.58
              Moody Air Force Base Clinic                                    599.60
                                                                                                  0.00              0.00          0.00          0.00            0.00            0.00             0.00           0.00               0.00
              Morningside of Albany                                             0.00
                                                                          9,144.81          7,407.60          7,21936        8,090.83      9,801.41        7,220.80        7,515.55       10,44639        7,965.60          74,81235
              Northeast Georgia Medical Center Barrow
                                                                                                  0.00            60.51           0.00         60.02            0.00           57.54          104.16         112.10             429.54
              Orthopedic Specialties                                           35.22
                                                                                                  0.00              0.00          0.00         14.88            0.00            0.00             0.00           0.00              19.34
              Palmetto Hemtology Oncology -Union                                4.46
                                                                                                   0.00             7.80          0.00           0.00           9.59            0.00             2.97           0.00              29.46
              Phoebe Community Benefit                                           9.10
                                                                                 0.00            5233             7833           54.28         80.60           50.24           39.66          140.14           73.71            569.28
              Phoebe Community Care Clinic
                                                                                               680.88           782.93         768.30        994.18          738.39        1,003.24           809.46         918.96           7,480.54
              Phoebe Diagnostics Imaging Center                              784.23
                                                                             233.68              85.80           311.03          5330        135.53          282.93           102.79          142.46         181.13           1,528.63
              Phoebe East
                                                                           1,505.55          1,109.65         1,175.58       1,191.83      1,154.82          914.65          916.08         1,150.32         709.40           9,827.88
              Phoebe Endoscopy Center
                                                                               65.65             60.13             21.78         36.08         14.95           22.48           14.21            45.28          41.98            322.52
              Phoebe Family Medical Center -Albany
                                                                               10.08             21.45              0.00         30.23           0.00          14.21           27.10             0.00          25.12            128.19
              Phoebe Family Medical Center -Camilla
                                                                               54.93             19.50               3.58        51.68         53.30           27.10           26.44          107.09             0.00           343.61
              Phoebe Family Medical Center -Laurel Place
                                                                                19.18              0.00              0.00        17.55           0.00            0.00            0.00            0.00            0.00             36.73
              Phoebe Family Medical Center -Pelham
                                                                                 0.00             25.68              0.00          0.00         27.30          21.15             0.00           26.44          27.76             12833
              Phoebe Gastroenterology Associates
                                                                              387.73            857.45           546.00         507.98        582.08          802.71          541.73          677.87         509.67           5,413.19
               Phoebe Healthworks
                                                                                15.28               0.00             0.00         20.48          0.00            0.00            0.00             0.00           0.00             35.75
               Phoebe infectious Disease
                                                                                  8.45              0.00             0.00          0.00          0.00            0.00            0.00             0.00         28.09              36.54
               Phoebe Neurology Associates
                                                                                  7.15            41.93            39.65         42.25          22.43          37.02           42.31            43.96          39.99             316.68
               Phoebe Neurosurgical Associates
                                                                           1,210.49          1,188.20          1,343.23       1,600.82      1,569.62        1,660.73        1,081.48        1,813.03       1,452.00          12,919.57
               Phoebe Northwest
                                                                              114.08              72.15            72.80          33.80         78.33          86.60          132.21            76.02          77.67             743.65
               Phoebe Orthopaedic Specialty Group .
                                                                         75,334.09         74,705.90         76,356.62      74,608.78     80,450.91       79,211.36       77,020.41        81,896.90     84,467.83         704,052.80
               Phoebe Putney Memorial Hospital (Main Campus)
                                                                           7,370.03          8,513.62          7,592.53       8,003.21      7,91435         8,541.79        7,614.02        7,602.03       7,435.00          70,586.58
               Phoebe Putney Memorial Hospital (North Campus)
                                                                                  0.00              0.00             0.00          0.00           0.00           0.00            0.00             0.00           0.00               0.00
               Phoebe Rheumatology
                                                                                  0.00              0.00             0.00          0.00           0.00           0.00            0.00             0.00           0.00               0.00
               Phoebe Sickle Cell Clinic
                                                                              747.92            425.10            624.94        641.00        447.85          465.38          635.70           465.24         483.89          4,937.01
               Phoebe Sleep Disorders Center
                   11/2/2018 1:36 PM                                                      C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2018
          Fisca~Year                                                         -   2018
                                                                                                                                                                                                                    Total YTD
                                                                                 Sum oflAN    Sum of FEB   Sum of MAR Sum of APR_ Sum of MAY Sum of JUN;   Sum of 1UL   Sum of AUG   Sum of SEP                     9/30/2018
Desc




           Row Labels
                                                                                    11,214.78     8,38338      9,476.68   9,509.18   10,49133    9,910.47     10,357.00    11,957.73     9,487.06                     90,787.59
           Phoebe Sumter Medical Center
                                                                                       24830        244.73       249.93     193.38      14138        73.05                     70.07
                                                                                                                                                                              19.83                       68.09        1,308.74
           Phoebe Sumter OB/GYN
                                                                                          73.13       213.53        185.90         52.00         80.93         68.09          51.89         83.95         66.77          876.18
           Phoebe Sumter Orthopedics
                                                                                                                     34.13         53.30         17.55           0.00         40.32         18.51         32.72          271.61
Entered 12/21/18 12:13:35




           Phoebe Sumter Surgical Associates                                              56.55        18.53
                                                                                         185.25       241.80        182.98        133.58        213.20         206.25        149.73        220.13        188.73        1,721.64
           Phoebe Sumter Wellness &Education Center
                                                                                           0.00         0.00         27.95          0.00         15.60           0.00         22.81         17.52         27.76          111.64
           Phoebe Tower Medical at Meredyth Place
                                                                                           20.15        0.00          0.00         15.28           0.00          6.94         10.91         25.12         16.20           94.59
             Phoebe Worth Family Medicine -Sylvester
                                                                                        3,503.75     1,759.93     3,079.43      2,153.97       3,001.99      1,876.16      2,006.38      2,845.12       2,102.90      22,329.61
             Phoebe Worth Medical Center
                                                                                           38.03       206.38       136.83        207.68         260.00        275.99        27830         180.47         125.93       1,709.59
Page 168 of 229




             Phoebe Wound Care & Hyperbaric Center
                                                                                          704.06       524.84       249.04        40532          441.00        281.83        52439         355.03         405.69       3,891.18
             Premier Orthopedics
                                                                                            0.00        0.00          0.00          0.00           0.00          0.00          0.00          0.00           0.00           0.00
             Randolph Medical Associates
                                                                                    45,396.10       41,004.11    43,162.07     45,687.88      46,218.83     44,660.73     46,418.42     44,174.80      39,845.31     396,568.23
               Regional Medical Center of Orangeburg
                                                                                         525.41       511.28        423.80        322.74        729.16         441.15        437.82        381.85        289.41        4,062.61
               RMCO Healthplex
                                                                                            0.00        0.00          0.00          0.00         153.22          0.00          0.00          0.00          0.00          153.22
               R MCO Healthplex -Holly Hill
                                                                                         524.86       478.68        415.65        364.03        449.88         484.93        403.46        418.14        289.91        3,829.54
                R MCO Healthplex-Santee
                                                                                          349.89      229.79        126.68        180.98         354.28          0.00        148.24        141.59         185.31       1,716.74
                RMCO Urgent Care - Bamburg
                                                                                    85,353.87       75,959.21    80,168.05      73,110.79     82,272.20     82,566.84     74,172.25     88,980.77      83,877.06     726,461.03
                Self Regional Medical Center
                                                                                        1,030.02     1,021.96      1,312.86      1,077.56      1,357.92      1,484.86       1,403.89      1,189.69      1,149.59      11,02836
                SFMC Outpatient Imaging &Specialty Care at Camp Creek
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                          550.28       489.51        521.78        858.44        778.92        558.41         483.53        886.24        721.87       5,848.99
                Southeastern Interventional Pain Associates
                                                                                          21031        181.26        314.39        132.47        112.35          0.00           0.00          0.00          0.00         950.77
                Southern Surgical Arts Calhoun
                                                                                            0.00         0.00          0.00          0.00         37.45        361.02         534.57        330.95         44.08       1,308.08
                Southern Surgical Arts Calhoun
                                                                                          143.88       304.48        541.56        319.00        604.12        545.93         416.16        620.21        430.03       3,92536
                Southwest Georgia OB/GYN
                                                                                           92.63         0.00         24.70         63.05          9.75         50.24          7833          89.90        108.74         517.34
                Southwest Georgia Physical Therapy
                                                                                        1,343.00     1,218.10       995.25       1,128.92      1,131.65      1,401.49       1,230.74      1,329.10      1,474.00      11,252.23
                Southwest Georgia Regional Medical Center
                                                                                           62.00         0.00          0.00         39.68         87.79          0.00          0.00           0.00          0.00         189.47
                  Spartanburg Community College -Central Campus
                                                                                           96.22        49.10         92.26          8.43          0.00          0.00          0.00           0.00          0.00         246.02
                  Spartanburg Community College -Tyger River Campus Duncan
                                                                                        1,695.75     2,410.25          0.00      2,814.70      2,921.10      8,935.10       5,351.65      3,711.00      2,040.45      29,880.00
                  SPN Star Wipers, Inc- RAGS
                                                                                        1,015.45     1,027.78      1,196.47        866.79      1,112.20        881.47       1,490.56      1,400.42      1,087.87       10,079.00
                  Summit Orthopaedic Surgery Center
                                                                                        2,316.60     2,907.30      2,896.30      3,070.65      2,732.40       2,708.39      1,986.50      2,500.94      2,284.95       23,404.03
                   Surgery Center at Pelham
                                                                                          624.45      46835          496.05       565.03         716.91         248.54        549.91        730.39        37633         4,775.96
                   SurgiCare Gwinnett
                                                                                         1,491.19    1,733.31      1,372.26      1,529.54       1,370.51      1,05836       1,874.03      1,782.18      1,018.89       13,230.26
                   T3 Labs, inc.
                                                                                           277.88      224.38        214.00        224.38         277.88       218.01         277.88        267.50        22438         2,206.29
                     Union County Emergency Medical Services
                                                                                        52,433.92   34,007.73     48,026.52     40,683.07          0.00           0.00          0.00          0.00          0.00      175,151.25
                     VAMC Augusta Downtown Division
                                                                                             0.00        0.00          0.00      1,982.18     49,429.46      39,927.80     39,968.95     49,527.71     38,268.00      219,104.09
                      VAMC Augusta Downtown Division
                                                                                        17,281.80    17,421.32    25,768.59     17,596.85          0.00           0.00          0.00          0.00          0.00       78,068.56
                      VAMC Augusta Uptown Division
                                                                                            0.00          0.00         0.00        727.71     20,770.87      17,435.60     21,027.75     23,473.54     19,042.64      102,478.11
                      VAMC Augusta Uptown Division
                                                                                        44,36539     37,916.86    51,287.45     46,105.24     47,884.02      47,990.14     45,407.05     48,524.53     31,971.64      401,452.32
                      VAMC Charleston
                                                                                        44,776.25    39,898.14    45,700.64     40,705.25      43,063.38     48,968.85     40,809.34     50,335.01     44,309.15      398,566.00
                       VAMC Columbia
                       VAMC Dublin                                                      23,975.20    23,818.70    27,821.02      25,652.95     29,590.70     29,718.89     27,841.12     32,413.36     26,877.75      247,709.68
                       VITAS Innovative Hospice Care -Duluth                             1,396.19        0.00           0.00        106.00        106.00          0.00          0.00         0.00           0.00        1,608.19
                       VITAS Innovative Hospice Care -Stockbridge                        1,215.86      783.64       1,284.45      1,427.21      2,089.24      1,401.88      1,308.73      1,28235       1,242.49       12,035.85
                       VITAS Innovative Hospice Care Direct Sale                            5136          0.00         51.36          0.00          0.00         51.36         5136         5136            0.00          256.80
                       WeIlStar AMC Bone &Joint Specialists                                 20.14        10.45          0.00         18.46         35.66         31.98         30.21        19.08          36.92          202.90
                       WeIlStar AMC East Point Clinic                                       27.75         0.00          0.00          7.07         14.15         38.25        175.50       351.00           0.00          613.72
                       WeIlStar AMC Gym                                                  1,136.39       378.80        929.77      1,394.66        568.19        826.46      1,44631         413.23       1,239.70       8,333.51
                       WeIlStar AMC Inman Park Physicians                                    0.00        26.81         20.84          0.00         18.27         14.30         28.53          3.63         26.53          138.91
                       WeIlStar AMC Morrow Healthcare                                       83.46       121.40       154.03         130.59        162.46        116.83        149.35        170.24        104.65        1,193.01
                11/2/2018 1:36 PM                                                                    C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2018
          FiscalYear                                                                         '2018
                                                                                                                                                                                                                                                             Total YTD
                                                                                                                               Sum                Sum of APR
                                                                                                                                            MAR __....._           Sum ~of  MAY Sum              Sum oflUL
                                                                                                                                                                                     of JUN _..._..._._._._            Sum of    AU6    Sum of SEP           9/30/2018
                                                                                               Sum of1AN_.._._ Sum
                                                                                                                 _ of  PEB _ .~.. _.____of                               _. .._._ __..____                   __._.__..._...~.._. ~---_____._    _ _..._.._
Desc




                                                                                                                                         _ ___.           _.__..._ _.___
            _...._~Labels
           Row      _. _.__ __...._. p _.__._ _ . _...___. __        _ ...._ _.   _. ._.._   ___... ._ ~            ..._.,_.
                                                                                                                                                                                       278.08               220.67               186.87       182.28            1,974.95
                                                                                                         242.04       216.02               283.96        237.85            127.19
           WeIlStar AMC Ortho aedic Rehabilitation
                                                                                                         124.12         9435               160.87         105.50           169.90      165.61                 148.08             258.78       121.73            1,348.95
           WeIlStar AMC Primary Care Clinic -Camp Creek
                                                                                                       65.36              0.00            32.83            3637             65.74             25.23            8932            126.40             80.09           521.32
           WeIlStar AMC Primary Care Clinic -Cascade
                                                                                                                          0.00             0.00              0.00             0.00             0.00             0.00             0.00              0.00            14.75
Entered 12/21/18 12:13:35




           WeIlStar AMC Primary Care Clinic -Virginia Highlands                                        14.75
                                                                                                     5,221.88        3,436.63          3,600.09           780.70         1,240.68            711.12         1,056.67         3,641.24          4,344.95        24,033.97
           WeIlStar Atlanta Medical Center
                                                                                                     1,488.37             0.00             0.00          (239.68)            0.00              0.00             0.00              0.00             0.00         1,248.69
           Wesley Commons
                                                                                                         0.00           0.00               0.00           376.57           474.72            510.92           378.27           564.25            412.24         2,716.96
             Westside Dermatology
                                                                                                   29,417.43        25,12737          29,805.08        27,646.62        29,503.01        27,486.56         31,390.56        35,601.42        25,385.26        261,363.30
             Whitten Center
                                                                                                      910.98            867.75           915.53           865.48         1,230.45           925.14          1,009.75           939.55            910.27         8,574.88
Page 169 of 229




             Willson Hospice House
                                                                                                   18,178.94        17,212.68         20,341.62        17,795.48        19,492.91        18,035.50         17,680.81        20,202.71        17,47736         166,418.01
             Wiregrass Rehabilitation Center (II)
                                                                                                        8237            75.58             84.36            78.43             99.51            72.48            98.23             83.05          76.06             750.07
             Zero Waste Solutions
                                                                                                      335.82              0.00             0.00             0.00              0.00             0.00              0.00             0.00             0.00           335.82
             ZZ-AMC Direct Sale
                                                                                                      958.31            518.18           823.14           433.67              0.00              0.00             0.00             0.00             0.00         2,733.30
             ZZ-Aramark Services
                                                                                                       100.15            50.08              0.00             0.00             0.00             0.00              0.00             0.00              0.00          150.23
             ZZ-Center for Pain and Spine
                                                                                                         0.00             0.00              0.00            17.36             0.00              0.00             0.00             0.00              0.00           1736
             ZZ-Chattanooga Heart Institute -Chattanooga
                                                                                                     4,855.78             0.00              0.00             0.00             0.00              0.00             0.00             0.00              0.00        4,855.78
               ZZ-Crestview Contract Labor
                                                                                                   90,253.54         79,289.65        82,608.02        31,662.45              0.00              0.00             0.00             0.00              0.00      283,813.66
               ZZ-Floyd Medical Center
                                                                                                       543.03           543.03           543.03            271.51             0.00             0.00              0.00             0.00              0.00        1,900.59
               ZZ-Floyd Primary Care
                                                                                                                                                                                                                                                    0.00        5,374.21
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                                                  0.00
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                       88730            831.66         1,513.52            919.40           625.95           530.71             65.68
               ZZ-Fresenius Medical Care of Henry County
                                                                                                       225.20           305.75           258.10            450.05           426.50             0.00              0.00             0.00              0.00        1,665.60
               ZZ-6H Harris Radiation Therapy Center
                                                                                                        87.11           116.85           106.50            179.51           161.94              0.00             0.00             0.00              0.00          651.92
               ZZ-GH North Georgia Cancer Center
                                                                                                        28.79            28.79            21.81             31.75            37.98              0.00             0.00             0.00              0.00          149.11
               ZZ-GH Northwest Georgia Women's Care
                                                                                                    25,792.50              0.00             0.00             0.00             0.00              0.00             0.00             0.00              0.00       25,792.50
               ZZ-GHS Contract Labor
                                                                                                        27.52             0.00             35.22             0.00              0.00          123.00             13.40              0.00             0.00          199.15
                  ZZ-GMC Academic Internal Medicine Partners
                                                                                                     1,338.72           891.89          1,402.40         1,369.60         1,009.41         1,157.68            560.75              0.00             0.00         7,730.46
                  ZZ-GMC Breast Center
                                                                                                          0.00             0.00             0.00             0.00             13.80             0.00             0.00              0.00             0.00            13.80
                  ZZ-GMC Cancer Care Center-Hamilton Mill
                                                                                                       140.17            16236            114.75           143.59           209.69            175.70            79.18              0.00             0.00         1,025.43
                  ZZ-6MCCancerCenter-Snellville
                                                                                                       250.65            388.01           367.47           370.24           250.94            239.27           252.61              0.00             0.00         2,119.18
                  ZZ-GMC Cancer Support Center
                                                                                                     18,735.89       18,735.89         18,735.89        18,735.89        18,735.89        18,735.89         10,274.52              0.00             0.00       122,689.83
                   ZZ-GMC Contract Labor
                                                                                                      3,61330         3,99735           5,909.91         4,853.31         5,638.25         5,979.24          2,958.83              0.00             0.00        32,950.19
                   ZZ-GMC Glancy Rehabilitation Center
                                                                                                      8,792.80       12,691.85         12,648.37        13,22733         12,574.65        11,03236           7,462.93              0.00             0.00        78,430.29
                   ZZ-GMC Gwinnett Extended Care Center
                                                                                                        437.59          455.19            571.48          370.94            491.13            584.40           227.48              0.00             0.00         3,138.20
                   ZZ-GMC Imaging Center at Hamilton Mill
                                                                                                        404.17          446.30            52132           471.15            628.73            461.98           271.81              0.00             0.00         3,205.46
                   ZZ-GMC John's Creek Orthopaedic Surgery Center
                                                                                                      1,178.57        1,357.57          1,899.28         1,86933           1,967.46         1,906.45           844.69              0.00             0.00        11,023.35
                     ZZ-6MC Outpatient imaging Center
                                                                                                        549.12           228.86           678.48           318.75           401.93            512.88           210.27              0.00             0.00         2,900.29
                     ZZ-GMC Pain Management Center
                                                                                                        358.95           299.87           37230            280.01           354.74            615.42           209.02              0.00             0.00         2,490.32
                     ZZ-GMC SportsRehab
                                                                                                         94.42            94.42              0.00           110.57            86.10             0.00              0.00             0.00             0.00          385.51
                     ZZ-GMC Strickland Family Medicine
                                                                                                          0.00              0.00             0.00           103.94             0.00             0.00              0.00             0.00             0.00           103.94
                      ZZ-GMC Suwanee Specialty Center
                      ZZ-GMC Wound Treatment Center                                                     309.08           267.41           409.13           48935             368.66           494.49           366.53              0.00             0.00         2,704.66
                      ZZ-Gordon Hospital                                                             26,695.44        22,486.09        23,003.85        23,406.68        18,277.28               0.00             0.00             0.00             0.00       113,869.34
                      ZZ-Gordon Hospital                                                                  0.00              0.00            0.00             0.00         2,045.47          6,12838               0.00             0.00             0.00         8,173.85
                        ZZ-Greenville Health System                                                272,029.90        196,948.49         1,462.43              0.00             0.00              0.00             0.00             0.00             0.00       470,440.82
                        ZZ-Greenville Health System Scrubs                                          13,728.60         13,84838            947.18              0.00             0.00              0.00             0.00             0.00             0.00        28,524.16
                        ZZ-GrHS Greenville Memorial Medical Campus                                   9,899.64            101.70              0.00             0.00             0.00              0.00             0.00             0.00             0.00        10,001.34
                         ZZ-GrHS Greer Memorial Hospital                                                 14.25            22.90              0.00             0.00             0.00              0.00             0.00             0.00             0.00            37.14
                         ZZ-GrHS Hillcrest Memorial Hospital                                            247.79           19233               0.00             0.00              0.00             0.00             0.00             0.00             0.00           440.11
                         ZZ-GrHS North Greenville Hospital                                                0.00             0.00              0.00              0.00             0.00             0.00             0.00             0.00             0.00             0.00
                 11/2/2018 1:36 PM                                                                                    C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xisx 2018
            fiscalYear                                                       2018
                                                                                                                                                                                                                Total YTD
                                                                                          Sum of PEB   Sum of MAR ;Sum of APR   Sum of MAY Sum oflUN A Sum of1Ul    Sum of AUG   Sum of SEP                     9/30/2018
                                                                             Sum of 1AN
Desc




             Row Labels
                                                                                                  0.00         0.00        0.00         0.00      0.00         0.00         0.00         0.00                          0.00
             ZZ-GrHS Patewood Medical Campus                                         0.00
                                                                                                     0.00      0.00              0.00          0.00            0.00
                                                                                                                                                             0.00           0.00          0.00                          0.00
              ZZ-GrHS Patewood Memorial Hospital                                       0.00
                                                                                                     0.93          0.00          0.00          0.00          0.00           0.00          0.00          0.00            2.46
              ZZ-GrHS Pediatric Specialists -Duncan                                    1.53
                                                                                                                   0.00          0.00          0.00           0.00          0.00          0.00          0.00            6.21
Entered 12/21/18 12:13:35




              ZZ-GrHS Pediatric Specialists -North Grove                               5.28          0.93
                                                                                                     6.21          0.00          0.00          0.00           0.00          0.00          0.00          0.00           10.86
               ZZ-GrHS Proaxis Therapy Oak Grove                                       4.65
                                                                                                     3.41          0.00          0.00          0.00           0.00          0.00          0.00          0.00           12.72
               ZZ-GrHS Proaxis Therapy 5 Pine St                                       9.31
                                                                                                     0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00            0.00
                ZZ-GrHS Surgery Center- Boiling Springs                                0.00
                                                                                                     0.00          0.00          0.00          0.00           0.00          0.00          0.00          0.00            3.10
                ZZ-GrHS University Medical Group OB/GYN                              3.10
                                                                                                    50.08          0.00          0.00          0.00           0.00          0.00          0.00          0.00          150.23
                                                                                   100.15
Page 170 of 229




                ZZ-Griffin Center for Pain and Spine, LLC
                                                                                   828.24           966.79       738.41      1,228.66       1,461.60      1,680.84        596.82          0.00          0.00        7,50136
                 ZZ-Gwinnett Medical Center Dietary
                                                                                58,252.25        49,352.06    54,575.57     57,410.06      56,110.82     52,702.50     32,540.17          0.00          0.00      360,943.42
                 ZZ-Gwinnett Medical Center Duluth
                                                                                                153,695.24    52,698.49     160,916.72    160,076.97    169,699.47     87,791.47          0.00          0.00      959,639.77
                 ZZ-Gwinnett Medical Center Lawrenceville                      174,761.40
                                                                                                  1,324.91     1,560.75       1,482.97      1,194.71      1,483.79        435.55          0.00          0.00        9,012.74
                 ZZ-Gwinnett Surgery Center, LLC                                 1,530.07
                                                                                     297.25          0.00          0.00          0.00           0.00          0.00          0.00          0.00          0.00          297.25
                  ZZ-Harbin Clinic(14) Cedartown
                                                                                     766.71           0.00         0.00          0.00           0.00          0.00          0.00          0.00          0.00          766.71
                  ZZ-Harbin Clinic(150) Cartersville
                                                                                      9833            0.00         0.00           0.00          0.00          0.00          0.00          0.00          0.00           98.33
                  ZZ-Harbin Clinic(330) Physicians Center
                                                                                                      0.00         0.00           0.00          0.00          0.00          0.00          0.00          0.00          480.54
                   ZZ-Harbin Clinic (504) Cardiology                                 480.54
                                                                                    1,180.12          0.00         0.00           0.00          0.00          0.00          0.00          0.00           0.00       1,180.12
                   ZZ-Harbin Clinic(S50)Specialty
                                                                                                                                                                                                                      807.19
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                         0.00
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                     807.19           0.00         0.00           0.00          0.00          0.00          0.00          0.00
                    ZZ-Harbin Clinic(Cancer Center)
                                                                                    3,188.92          0.00         0.00           0.00          0.00          0.00          0.00          0.00           0.00       3,188.92
                    ZZ-Harbin Clinic(Main)
                                                                                      536.01          0.00         0.00           0.00          0.00          0.00          0.00          0.00           0.00         536.01
                    ZZ-Harbin Clinic Dialysis
                                                                                      134.82          0.00         0.00           0.00          0.00          0.00          0.00          0.00           0.00         134.82
                    ZZ-Harbin Clinic Dialysis -Calhoun
                                                                                      134.82          0.00         0.00           0.00          0.00          0.00          0.00           0.00          0.00         134.82
                    ZZ-Harbin Clinic Dialysis -Summerville
                                                                                        0.00          0.00         0.00           0.00          0.00          0.00          0.00           0.00          0.00           0.00
                    ZZ-Harbin Clinic Family Medicine - Adairsville
                                                                                        0.00          0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00           0.00
                      ZZ-Harbin Clinic Family Medicine - Armuchee
                                                                                       67.37          0.00          0.00          0.00          0.00          0.00          0.00           0.00          0.00          6737
                      ZZ-Harbin Clinic Vein Center
                                                                                    9,743.22      8,261.81      8,424.58      5,759.07          0.00          0.00          0.00           0.00          0.00      32,188.68
                      ZZ-Higgins General Hospital
                                                                                       7832          88.92        122.03         87.11        239.02          0.00           0.00          0.00          0.00         615.40
                       ZZ-HIX Physical Therapy
                                                                                        0.00          0.00          0.00          0.00          0.00        282.13           0.00          0.00          0.00         282.13
                       ZZ-HIX Physical Therapy
                                                                                      358.47        402.75        492.36        457.84        368.80          0.00           0.00          0.00          0.00        2,080.22
                       ZZ-HIX Sleep Lab
                                                                                        0.00          0.00          0.00          0.00          0.00        631.25           0.00          0.00          0.00          631.25
                       ZZ-HIX Sleep Lab
                                                                                        0.00          0.00          0.00          0.00    110,548.00          0.00           0.00          0.00          0.00      110,548.00
                       ZZ-Linen Replacement in Excess of Allowance(RM)
                                                                                      511.60        465.70        458.60        465.11        263.77           0.00          0.00          0.00          0.00        2,164.78
                       ZZ-MEM Atrium Sleep Center
                                                                                        0.00          0.00          0.00          0.00          0.00         144.19          0.00          0.00          0.00         144.19
                       ZZ-MEM Atrium Sleep Center
                                                                                      195.47         99.57        164.04        212.75        13330            0.00          0.00          0.00          0.00         805.14
                          ZZ-MEM Hamilton YMCA
                                                                                        0.00          0.00          0.00          0.00          0.00         139.77          0.00          0.00          0.00         139.77
                          ZZ-MEM Hamilton YMCA
                                                                                      552.15        861.80        417.59        290.16        190.09           0.00          0.00          0.00          0.00        2,311.79
                          ZZ-MEM Mission Surgery Center
                                                                                        0.00          0.00          0.00          0.00           0.00        203.88          0.00          0.00          0.00         203.88
                          ZZ-MEM Mission Surgery Center
                                                                                    32,309.94     31,48832     33,505.44      29,842.51     26,930.78          0.00          0.00          0.00          0.00      154,076.99
                           ZZ-Memorial Hixson Hospital
                                                                                      0.00             0.00         0.00           0.00      2,690.38     12,463.12          0.00          0.00          0.00       15,153.51
                           ZZ-Memorial Hixson Hospital
                                                                                100,180.56        95,658.72   110,058.83     101,641.34     16,211.23          0.00          0.00          0.00          0.00      423,750.67
                           ZZ-Memorial Hospital
                                                                                      0.00             0.00          0.00          0.00     79,352.21     74,065.67          0.00          0.00          0.00      153,417.88
                           ZZ-Memorial Hospital
                                                                                     40.78           120.42         46.93         57.77         85.14          0.00          0.00          0.00          0.00          351.04
                           ZZ-MHI Outpatient Imaging
                                                                                      0.00             0.00          0.00          0.00          0.00         44.26          0.00          0.00          0.00           44.26
                           ZZ-MHI Outpatient Imaging
                                                                                  1,229.56         1,220.40      1,289.82        453.91          0.00          0.00          0.00          0.00          0.00        4,193.69
                           ZZ-Morrison's Cafeteria at Floyd Medical Center
                                                                                  4,537.74         4,117.40      3,805.85      3,713.61      4,005.12          0.00          0.00          0.00          0.00       20,179.73
                           ZZ-Murray Medical Center
                                                                                         0.00          0.00          0.00          0.00          0.00      2,171.38          0.00          0.00          0.00        2,17138
                           ZZ-Murray Medical Center
                     11/2/2018 1:36 PM                                                            C:\Users\hillc\AppData\focal\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2018
           FiscalYear                                                2018
                                                                                                                                                                                                                  Total YTD
                                                                                                        Sum of MAR Sum of APR            Sum of MAY Sum oflUN           Sum of JUL _ Sum of AUG Sum of SEP        9/30/2018
Desc




           Row labels                                                Sum of1AN        Sum of FEB
                                                                            287.76            269.25           300.71           250.62           325.83        226.67          408.74      282.17        0.00           2,351.75
           ZZ-NGHS Cleveland White Co. EMS
                                                                                0.00             0.00              0.00            0.00             0.00     7,500.00            0.00    5,080.65        0.00        12,580.65
           ZZ-NGHS Contract Labor
                                                                             253.75           205.03            205.03          254.46           203.00        207.47          278.80      103.73        0.00           1,711.28
           ZZ-N6HS Lanier Med Transport
                                                                                                                                                             1,044.06       1,545.36       275.70        0.00          8,303.99
Entered 12/21/18 12:13:35




                                                                             969.52           620.56            972.11       1,00233         1,874.35
           ZZ-NGHS Lanier Park Wound Care
                                                                          2,574.36         2,138.12          2,517.03        2,699.72         2,606.07       2,350.39       2,616.52     1,075.88        0.00         18,578.07
           ZZ-NGHS Laurelwood
                                                                             203.00           208.09            285.23          217.74           286.78        273.27          430.05      103.73        0.00           2,007.90
           ZZ-NGHS Outpatient Cardiac Rehab
                                                                             253.75           203.00            203.00          253.75           203.00        207.47          272.09      103.73        0.00           1,699.79
           ZZ-NGHS Trauma &Acute Care Orthopedics
                                                                          1,661.00         1,661.00          1,661.00              0.00             0.00         0.00            0.00         0.00       0.00           4,983.00
           ZZ-NGMC Braselton Equipment Lease
                                                                                                                             1,661.00         1,661.00       1,661.00        1,661.00         0.00       0.00           6,644.00
Page 171 of 229




           ZZ-NGMC Braselton Equipment Lease                                    0.00             0.00              0.00
                                                                       168,047.23       143,668.04        114,082.69               0.00             0.00         0.00            0.00         0.00       0.00       425,797.97
           ZZ-Northeast Georgia Medical Center
                                                                                0.00             0.00      28,709.89       147,100.75      171,667.68      168,170.52     173,575.18    47,897.99        0.00       737,122.01
           ZZ-Northeast Georgia Medical Center
                                                                        47,567.48        50,367.75         35,068.72               0.00             0.00         0.00            0.00         0.00       0.00       133,003.95
           ZZ-Northeast Georgia Medical Center Braselton
                                                                                0.00             0.00      14,727.13        45,216.08       52,860.14       52,221.46      50,555.76    20,072.23        0.00       235,652.81
           ZZ-Northeast Georgia Medical Center Braselton
                                                                               48.19            64.12             5931            33.36           48.19          0.00            0.00         0.00       0.00             253.17
            ZZ-Northwest Georgia Women's Care
                                                                              104.16            52.08               0.00           0.00             0.00         0.00            0.00         0.00        0.00            156.24
            ZZ-Pain Care Center of Georgia, LLC
                                                                         35,379.84        31,803.58         33,401.07       30,547.17       31,293.35       28,373.09         (253.96)        0.00        0.00      190,544.14
            ZZ-Piedmont Newton Hospital
                                                                           6,888.79         5,854.67         5,912.87         2,159.30              0.00         0.00            0.00         0.00        0.00        20,815.64
            ZZ-Polk Medical Center
                                                                              128.20           147.32            261.51           39.36             0.00         0.00             0.00        0.00        0.00            576.39
            ZZ-Polk/Floyd Wound Center
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                 0.00             0.00        7,496.15              0.00             0.00         0.00            0.00        0.00        0.00          7,496.15
            ZZ-RM Star Wipers, Inc. - RA6S
                                                                           2,867.83         2,412.55          3,077.75        2,379.83         2,853.15        604.72             0.00        0.00        0.00        14,195.83
            ZZ-SpRHS Child Development Center
                                                                           7,708.26         6,64439           7,636.15        7,112.81        7,452.88            0.00            0.00        0.00        0.00        36,554.48
            ZZ-SpRHS Ellen Sagar Nursing Home
                                                                         16,156.20        12,904.22         13,844.17       13,235.43        14,014.68            0.00            0.00        0.00        0.00        70,154.71
            ZZ-SpRHS Pelham Medical Center
                                                                           7,376.60         7,479.50          7,008.90        7,641.72        6,546.85            0.00            0.00        0.00        0.00        36,053.58
            ZZ-SpRHS Restorative Care LTC
                                                                                 0.00             0.00            68.00           68.00            51.00          0.00            0.00        0.00        0.00             187.00
            ZZ-SpRHSTransportation Garage
                                                                              262.76           213.82              56.80            0.00             0.00         0.00            0.00         0.00       0.00            533.38
            ZZ-STARR Breast Center at Medical Mall
                                                                              227.13           153.81            183.46             0.00             0.00         0.00            0.00         0.00       0.00             564.40
             ZZ-STARR Outpatient Physical Therapy
                                                                         14,382.05         11,979.42          4,783.86          (305.80)             0.00         0.00            0.00         0.00       0.00        30,839.53
             ZZ-Starr Regional Medical Center
                                                                              346.65           305.88              24.22            0.00             0.00         0.00            0.00         0.00       0.00             676.75
             ZZ-STARR Sleep Lab
                                                                           3,322.09          2,671.55         3,616.22         1,766.40              0.00         0.00            0.00         0.00       0.00         11,376.25
             ZZ-Tanner Medical Center/Alabama
                                                                          10,742.00        10,742.00         13,427.50        8,056.50               0.00         0.00            0.00         0.00       0.00        42,968.00
             ZZ-TMC Contract Labor
                                                                            6,10236          5,878.19          5,531.92       7,467.96         5,676.80           0.00            0.00         0.00       0.00         30,657.23
             ZZ-Triumph The Specialty Hospital, LLC(Rome, GA)
                                                                                 0.00              0.00              0.00           0.00       2,041.76       6,934.21            0.00         0.00       0.00           8,975.98
             ZZ-Triumph The Specialty Hospital, LLC(Rome,6A)
                                                                          63,223.54        48,220.19         59,692.44       53,12538        59,478.41       48,518.74      56,858.92    55,130.35    3,690.38       447,93835
             ZZ-VAMCAtlanta
                                                                            2,038.83         1,717.88          1,967.18        2,117.04        2,116.94       1,607.71        2,508.19    2,018.56      189.35         16,281.68
             ZZ-VAMC Atlanta Clinic Facility
             ZZ-VAMC Ft. McPherson Bldg                                     1,671.41         1,436.52          1,468.64        1,168.99         1,409.17      1,384.88        1,322.46    1,086.25      200.46         11,148.78
             ZZ-VAMC Trinka Davis Veterans Village                          2,050.19         2,067.54          2,26936               0.00             0.00         0.00            0.00        0.00        0.00          6,387.08
              ZZ-VAMC Trinka Davis Veterans Village                               0.00             0.00              0.00      2,961.96         2,665.50      2,729.02        2,406.75    2,370.84      334.89         13,468.96
              ZZ-WillowbrookeatTanner                                       5,887.46         5,705.79          5,96038         4,221.35               0.00         0.00            0.00        0.00        0.00        21,774.99
              ZZ-CHOA Advanced Pediatrics Radiology at Tullie Road                0.00             0.00              0.00            0.00             0.00         0.00         118.51      175.67         0.00            294.19
              ZZ-CHOA Aflac Cancer Center                                      632.95           491.33            524.69         631.31           417.42        591.93          691.46      613.31      637.59           5,231.99
              ZZ-CHOA Alpharetta Hwy                                            67.11           102.56              97.01         106.90            72.05        72.05           75.24        27.42     110.66             730.99
              ZZ-CHOA at Egleston                                       108,343.40       109,345.30        118,152.14       104,740.17      114,333.99      115,703.15     114,895.45   114,974.82  107,975.60     1,008,464.00
              ZZ-CHOA at Hughes Spalding                                   15,331.84        13,790.43        17,154.83       16,669.78        14,62631       12,266.31       11,881.11   12,110.58   13,592.60       127,423.79
              ZZ-CHOA at Scottish Rite                                   117,823.99       130,288.17        141,570.98      125,292.58      133,948.12      127,221.71     125,027.42   129,85533   124,270.79     1,155,299.10
              ZZ-CHOA at Scottish Rite OUT RAD                                 616.95           541.27            657.77          617.21          548.83        521.64          544.41      609.63      658.50           5,316.20
              ZZ-CHOA Chamblee Brookhaven Urgent Care                             0.00              0.00              0.00        31636           147.16        172.78          248.88       104.82     229.62           1,219.62
              ZZ-CHOA Cherokee                                                 246.82           211.23            165.33          183.57           169.51        95.69          224.99       174.21     124.29           1,595.64
                  11/2/2018 1:36 PM                                                       C:\Users\hilic\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKK600Q\Revenue by customer.xlsx 2018
            FiscalYear                                               2018
                                                                                                                                                                                                              Total YTD
                                                                                      Sum of fEB' Sum of MAR Sum of APR         Sum of MAY Sum of1UN          Sum of JUL       Sum of AUG Sum of SEP          9/30/2018
                                                                     Sum of 1AN
Desc




            Row labels
                                                                           109.52             32.28      143.05         72.15            36.05      11135            125.95           268.47         0.00            898.84
            ZZ-CHOA Children's Specialty Services
                                                                               0.00            0.00          0.00        0.00             0.00         0.00             0.00             0.00      11.03               11.03
            ZZ-CHOA Clinical Research Unit Sth Floor @CAP Building
                                                                               0.00             0.00         0.00   1,194.48               0.00        0.00             0.00             0.00        0.00         1,194.48
            ZZ-CHOA Clinics Replacement Scrubs
                                                                             6035             33.93        40.83        68.14            37.46       3739             58.56            2731        20.11             384.08
Entered 12/21/18 12:13:35




            ZZ-CHOA Cobb
                                                                               0.00             0.00         0.00        0.00              0.00        0.00             0.00          321.96         8.06            330.02
            ZZ-CHOA CPG-Endocrinology
                                                                              23.89           10.65        23.60        23.89            27.63       45.18             22.73            23.89      82.15             283.60
            ZZ-CHOA Cystic Fibrosis
                                                                              16.64           16.33        12.87        13.50            10.05        20.09             0.00              0.00       8.16              97.64
            ZZ-CHOA DeKalb
                                                                              14.11           2438         25.18        32.23            22.49        24.48            42.80            28.45       10.75            224.87
            ZZ-CHOA Duluth
                                                                                0.00            0.00         0.00         0.00             0.00        0.00              0.00             7.17      23.21              3038
Page 172 of 229




            ZZ-CHOA Ear Nose &Throat
                                                                          2,279.39         2,27939      2,279.39     2,27939         2,27939      2,27939          2,27939          2,279.39    2,279.39         20,514.51
            ZZ-CHOA EGL Equipment Lease
                                                                          3,97635               0.00         0.00    4,586.47              0.00        0.00              0.00             0.00       0.00         8,562.83
            ZZ-CHOA EGL Replacement Scrubs
                                                                              28.41             5.26         5.76         6.91           12.66        10.05              3.45             0.00        7.80             80.29
            ZZ-CHOA Executive Park
                                                                            114.62           148.35       200.00       165.44          191.65       165.81           194.72           334.78      12639            1,641.76
            ZZ-CHOA Fayette
                                                                            311.72           346.01       426.73       312.64          377.37       418.70           363.96           393.51      348.56           3,299.18
             ZZ-CHOA Forsyth
                                                                                0.00            0.00          0.00        0.00             0.00         0.00             0.00             0.00        4.03               4.03
             ZZ-CHOA General Surgery 1st Floor @CAP Building
                                                                                0.00            0.00          0.00        0.00             0.00         0.00             0.00             0.00      77.02              77.02
             ZZ-CHOA Hamilton Mill
                                                                             276.91          277.20       345.94       234.10           296.86      200.81           217.82           356.51      245.36           2,451.53
             ZZ-CHOA Hudson Bridge
                                                                               10.36             6.59       10.36        18.99              6.91        6.91             0.00             0.00        0.00             60.12
             ZZ-CHOA Ivy Walk
                                                                                                                                          24.12         3.51           27.52            10.20       25.61            13539
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                               10.20           10.41        23.81         0.00
             ZZ-CHOA Marietta
                                                                             595.19          501.66       474.20       494.22           663.77      487.57           654.76           507.06      475.94           4,85437
             ZZ-CHOA Medical Office Bidg
                                                                               94.76           81.68        79.20        48.36            48.47       43.70           101.94            65.96       68.09            632.15
             ZZ-CHOA Mount Zion
                                                                                 6.91            9.34         7.77         0.00           32.23         432             16.69            17.84      21.74             116.84
             ZZ-CHOA Neurology
                                                                             29733           225.02       25435        264.45           248.33       20438            205.40           243.70     239.18           2,182.13
             ZZ-CHOA Neuroscience
                                                                             159.84          198.51       171.54       159.46           160.56       220.71           189.19           149.57     198.40           1,607.80
             ZZ-CHOA North Druid Hilis
                                                                             210.01          152.27       148.92       174.68           182.04       149.26           143.96           208.57     133.54           1,503.25
             ZZ-CHOA North Point
                                                                                 3.51            0.00         0.00         3.51           10.41        17.11            13.92             0.00        0.00             48.45
              ZZ-CHOA Old Milton Parkway
                                                                               70.89           41.14         68.02       54.54            83.62        56.27            68.35            62.99      51.35             557.17
              ZZ-CHOA Orthotics &Prosthetics
                                                                             842.00          69630         889.86      805.97         1,102.82       982.03         1,014.59         1,027.61     804.56           8,165.74
              ZZ-CHOA Outpatient Surgery Center at Satellite Blvd
                                                                                 0.00           52.01        15.49         4.03           18.99         4.03            32.81              4.03     30.03             161.42
              ZZ-CHOA Physician Group at Town Center- Orthopedics
                                                                              147.71          102.92       125.16       111.08          113.60       151.75           123.85           133.79      104.44          1,11430
              ZZ-CHOA Primary Care Center-Chamblee
                                                                              160.44            85.25      194.55       216.29          102.81       160.45           110.13           174.70        37.64          1,242.25
              ZZ-CHOA Sandy Plains
                                                                           1,268.81           844.83     1,421.07     1,266.96        1,515.06     1,100.68         1,076.75         1,478.46    1,154.48         11,127.10
              ZZ-CHOA Satellite Blvd
                                                                                 0.00             0.00       21.86         8.27            57.09       15.67              0.00           55.10         3.40           16138
              ZZ-CHOA Snellville
                                                                           1,026.43               0.00   3,07930      6,829.89               0.00        0.00             0.00             0.00        0.00       10,935.62
              ZZ-CHOA SR Replacement Scrubs
                                                                           7,453.83         7,546.08     8,683.51     8,495.16        8,729.25    10,112.23         9,562.27         9,090.96    7,313.82         76,987.12
              ZZ-CHOA Surgery Center at Meridian Mark Plaza
                                                                                  7.01            7.01         3.51         7.01             7.01        7.01             3.51             7.01        0.00             49.08
              ZZ-CHOA Suwanee
                                                                           1,593.52         1,320.44     1,385.96     1,656.55        1,392.17     1,204.94         1,586.96         1,423.07    1,248.52         12,812.13
               ZZ-CHOA Town Center
                                                                                65.03         150.12        260.65      104.05           211.17      179.78            122.79          390.84      148.71           1,633.14
               ZZ-CHOA Urgent Care -Hamilton Creek
                                                                           1,024.36         1,091.85     1,036.06       942.87        1,087.78     1,160.81           706.77         1,237.53      918.12           9,206.14
               ZZ-CHOA Webb Bridge
               ZZ-Hospital Services, Inc Contract Labor                   33,963.00        33,963.00    33,963.00    33,963.00       33,963.00    34,642.26       34,642.26        34,642.26    34,642.26       308,384.04
               ZZ-Mary Black Memorial Hospital                            32,738.49        29,685.47    29,782.84    27,310.27       29,876.60    28,450.02       25,351.15                0.00    335.86       203,530.69
               ZZ-MBMH OutpatientTherapy Services                             245.26           124.70       257.16      309.93           304.24       142.81              0.00          136.08     116.42           1,636.60
               ZZ-MBMH Women's Breast Health Center                           438.35           465.91       629.42      590.38           48235        719.01           564.52          473.96      298.03           4,661.92
               ZZ-MEM Ooltewah Imaging Center                               2,097.50        1,710.50     1,57538      1,460.09         1,690.28          0.00             0.00             0.00        0.00         8,533.74
               ZZ-MEM Ooltewah Imaging Center                                     0.00            0.00         0.00         0.00             0.00  1,044.29               0.00             0.00        0.00         1,044.29
               ZZ-Spartanburg Regional Medical Center                    138,954.57       126,409.32   142,187.94   131,28533        88,017.40           0.00             0.00             0.00        0.00     626,854.57
               ZZ-SpRHS Cardiac Pulmonary Rehabilitation                       174.01          36837        174.01       255.45           204.57         0.00             0.00             0.00        0.00         1,176.40
                   11/2/2018 1:36 PM                                                     C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xisx 2018
          FiscalYear                                                                          2018
                                                                                                                                                                                                                                                                      Total YTD
                                                                                                 Sum of1AN           Sum             Sum of
                                                                                                                         of FEB _ _.__       MAR Sum                      Sum of MAY .
                                                                                                                                                            of APR _._._.____..._,_._.._. Sum   of1UN        Sum of1UL
                                                                                                                                                                                          ... ._~.__~__...___~_....._..         Sum of AUG
                                                                                                                                                                                                                        ~ _ _____.._.           Sum of SEP
                                                                                                                                                                                                                                        _. _.___._._.___.__.___.._   9/30/2018
Desc




          _. ..__Labels
          Row      ___~_.......g _.___.__~ ._._..~_......_ __..~ _~.__.~_~___ __________  ____~ ~..._.__._  __. ._.._. ___.___            __.___      __..___._.
                                                                                                                                                                                                     81.77              0.00             0.00              0.00           3,129.65
          ZZ-SpRHS Emer ency Medical Services                                                              777.27          531.72           585.48              610.48          542.93
                                                                                                           151.13            62.40          122.16              175.79            59.70              23.13               0.00            0.00              0.00             594.30
          ZZ-SpRHS Gibbs Cancer Center -Gaffney
                                                                                                           562.10           528.85          873.89              720.66          625.55             213.07                0.00            0.00              0.00           3,524.11
          ZZ-SpRHS Gibbs Cancer Center -Pelham
                                                                                                                              58.21          82.31                28.51           57.01               0.00              0.00             0.00              0.00             248.84
Entered 12/21/18 12:13:35




          ZZ-SpRHS MGC internal Medicine Westside                                                            22.80
                                                                                                           107.70             51.71         171.64                90.68           62.47               0.00               0.00            0.00              0.00             484.20
          ZZ-SpRHS North Grove
                                                                                                               7.93            0.00             0.00                0.00            9.10              0.00               0.00            0.00              0.00               17.03
          ZZ-SpRHS Ortho Surgery Eastside/Ortho Trauma Services
                                                                                                         2,183.61         2,398.81        3,046.26           2,531.44          2,997.84            710.78                0.00            0.00              0.00          13,868.74
          ZZ-SpRHS Outpatient Imaging Services -North Grove
                                                                                                           167.47             19.10           56.21                 0.00          39.10                0.00              0.00            0.00              0.00             281.87
          ZZ-SpRHS PMC Comprehensive Pain Center
                                                                                                         1,254.44         1,318.18        1,601.00            1,201.39         1,674.47            161.57                0.00            0.00              0.00           7,211.04
Page 173 of 229




          ZZ-SpRHS PMC Imaging Services
                                                                                                         1,945.58         1,589.11        2,084.28            1,852.72         1,556.86                0.00              0.00            0.00              0.00           9,028.54
          ZZ-SpRHS Regional Hospice Home
                                                                                                             71.78          124.70            61.64               90.60          137.84              41.93               0.00            0.00               0.00            528.49
          ZZ-SpRHS Regional One Air Medical Service
                                                                                                               8.43           12.48           12.48               23.34             0.00               0.00              0.00            0.00               0.00              56.74
          ZZ-SpRHS Rehab ZF Gray Court
                                                                                                            194.99          246.92          287.94               207.00          344.44              7638                0.00            0.00               0.00          1,357.66
          ZZ-SpRHS Rehabilitation -East Spartanburg
                                                                                                             75.34          159.56          228.91               174.67          263.12              83.98               0.00            0.00               0.00            985.59
           ZZ-SpRHS Rehabilitation -Pelham Medical Center
                                                                                                            248.71          401.03          327.70               192.52          287.56              91.29               0.00            0.00               0.00          1,548.80
           ZZ-SpRHS Rehabilitation -West Spartanburg
                                                                                                            970.76          898.20          744.43               857.95        1,197.58             21735                0.00            0.00               0.00          4,886.26
           ZZ-SpRHS Rehabilitation -YMCA
                                                                                                         6,558.40         5,415.00        5,878.27            5,038.87         4,461.91                0.00               0.00            0.00              0.00         27,352.44
           ZZ-SpRHS Union Medical Center
                                                                                                             42.39            39.26           33.57                26.15           66.26               0.00               0.00            0.00              0.00             207.63
           ZZ-SpRPG Center for Family Medicine - Chesnee
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                                                          0.00              0.00            820.59
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                            144.38           176.54          180.92              148.26          104.61              65.89                0.00
           ZZ-SpRPG Corporate Health -Greer
                                                                                                               0.00             0.00            0.00               23.01            0.00               0.00               0.00            0.00              0.00              23.01
           ZZ-SpRPG Family Medicine -Converse Heights
                                                                                                              50.92            38.86           57.68             107.51            28.46               0.00               0.00            0.00              0.00             283.42
           ZZ-SpRPG Family Physicians - 290
                                                                                                            127.71             69.39         107.87              104.85            60.88               0.00               0.00            0.00              0.00            470.70
           ZZ-SpRPG family Physicians -Boiling Springs
                                                                                                            135.66             79.82         162.89                62.77            0.00               0.00               0.00            0.00              0.00             441.13
           ZZ-SpRPG Family Physicians -Landrum
                                                                                                              71.42            89.12             0.00            213.08             0.00               0.00               0.00            0.00              0.00             373.62
           ZZ-SpRPG Inman family Medicine
                                                                                                              97.98          168.73          201.00              150.04          213.51               32.40               0.00            0.00              0.00            863.66
           ZZ-SpRPG Internal Medicine -Greer
                                                                                                              43.17            23.47           25.79               37.84           59.01               0.00               0.00            0.00              0.00             189.26
            ZZ-SpRPG Magnolia Plastic Surgery -Greer
                                                                                                            159.40             83.73         186.59              138.81            94.28              49.28               0.00            0.00              0.00             712.09
            ZZ-SpRPG Magnolia PlasticSurgery-Spartanburg
                                                                                                            36430            237.46          349.14              471.81           137.64            138.83                0.00            0.00              0.00           1,699.18
            ZZ-SpRPG MGC Occupational Health - Westside
                                                                                                                0.00           60.01           45.16                 0.00          13.80                0.00              0.00            0.00              0.00             118.98
            ZZ-SpRPG Pacolet Family Medicine
            ZZ-SpRPG Palmetto Pediatrics -North Grove                                                           0.00           40.98           12.83                 0.00          15.63                0.00              0.00            0.00              0.00              69.43
                                                                                                                0.00           25.96             0.00              32.57           41.54                0.00              0.00            0.00              0.00             100.07
            ZZ-SpRPG Palmetto Pediatrics -West
            ZZ-SpRPG PMC Center for Women                                                                    201.10            72.79         229.88               128.37          405.19                0.00              0.00            0.00              0.00           1,037.33
            ZZ-SpRPG Spartanburg Internal Medicine                                                              0.00           45.61         202.77                  0.00            0.00               0.00              0.00            0.00              0.00             24838
            ZZ-SpRPG Weight Loss Services                                                                     89.34           162.53          167.73                71.12         121.41              98.91               0.00            0.00              0.00             711.03
            ZZ-Tanner Medical Center/Carrollton                                                          65,068.18       56,460.42       62,051.79           47,742.14               0.00               0.00              0.00            0.00               0.00       231,322.53
            ZZ-Tanner Medical Center/Villa Rica                                                          25,987.51        21,341.41      24,298.45           17,431.23               0.00               Oy00~~ 0.00                       0.00               0.00        89,058.61
             Grand Total               ~~~ ~~                     ~            ~~        ~~~~~ 2,866,854.472,506,093.90 2,402,923.84 2,299,128.13 2,413,382.46 2,260,430.09 1,732,957.38 1,609,400.29 1,272,232.80                                                   19,363,40336
                11/2/2018 1:36 PM                                                                                      C:\Users\hiilc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\Revenue by customer.xlsx 2018
                                                 fiscalYeav                                                 - 2017                                 ~~              d✓'
                                                                                                             Sum of JAN      Sum of FES     Sum of MAR 'Sum of APR, Sum of MAY .Sum of JUN                Sum.of.lUl      Sum of AUG__: Sum of SEP ,Sum of OCT^m5um _..... of NOV.._...._..~u..
                                                                                                                                                                                                                                                                                       Sum of OEC __.._   Total 2017
                                                 Row Labels
                                                                                                                                                                     0.00           0.00           0.00            0.00             0.00           0.00           0.00           0.00          0.00           3,235.65
Desc




                                                 ABC Hospital                                                    3,235.65             0.00            0.00
                                                                                                                   729.40          586.60         672.20          724.00         786.60         850.20          931.40           798.60         700.80         864.20         767.40         744.40           9,155.80
                                                 ABM -Lanier -Hunt Airport Parking Atlanta
                                                                                                                   202.78          309.41         204.08          250.01         254.24           56.84          22137           214.00            0.00          19.00           0.00          0.00            1,731.73
                                                 Albany Dermatology Clinic
                                                                                                                     0.00             0.00            0.00           0.00           0.00           0.00            0.00             0.00           0.00           0.00           0.00           0.00                0.00
                                                 Alliance Rome Internal Laundry
                                                                                                                     0.00             0.00            0.00           0.00           0.00           0.00            0.00       8,248.87        7,597.28      6,611.25       5,352.79        7,367.79          35,177.98
                                                 AMH Ambulatory Care Center
                                                                                                                                                                                                                                                               102.40         146.20            0.00           1,203.30
Entered 12/21/18 12:13:35




                                                                                                                      o.o0            0.00            0.00           0.00           0.00           0.00            0.0~          709.70         245.00
                                                 AMH Archbold Primary Care
                                                                                                                       0.00           0.00            0.00           0.00           0.00           0.00            0.00       1,462.96          539.85         883.78         684.57       1,019.85           4,591.01
                                                 AMH Archbold Sleep Center
                                                                                                                       0.00           0.00            0.00           0.00           0.00           0.00            0.00          505.43         450.92         243.20         166.85         466.09            1,832.49
                                                 AMH Bainbridge Specialty Clinic
                                                                                                                       0.00           0.00            0.00           0.00           0.00           0.00            0.00       8,125.09        6,943.12      8,113.84       6,963.53        6,311.98          36,457.66
                                                 AMH Brooks County Hospital
                                                                                                                       0.00           0.00            0.00           0.00           0.00            0.00            0.00         402.94         357.44         389.44         236.03         328.74            1,714.59
                                                 AMH Ca rdio Consultants of South Georgia
                                                                                                                       0.00           0.00            0.00           0.00           0.00            0.00            0.00             0.00          0.00           0.00           0.00           0.00                0.00
                                                 AMH Decatur County Dialysis Facility
                                                                                                                       0.00           0.00            0.00           0.00           0.00            0.00            0.00       7,909.01       9,249.41      8,828.51       8,136.66        8,561.77          42,685.36
                                                 AMH Gienn-Mor Nursing Home
Page 174 of 229




                                                                                                                       0.00           0.00            0.00           0.00           0.00            0.00            0.00     14,122.71      15,703.01      17,864.14      14,541.86       14,771.69          77,003.41
                                                 AMH Grady General Hospital
                                                                                                                        0.00          0.00            0.00           0.00           0.00            0.00            0.00       4,379.68       3,484.25      4,859.77       4,92432         4,75819           22,406.31
                                                  AMH Lewis Hall Singletary Oncology Center
                                                                                                                       0.00           0.00            0.00           0.00           0.00            0.00            0.00     11,658.53      11,813.20      13,747.00      14,510.98       14,508.93          66,238.64
                                                  AMH Mitchell Lounty Hospital
                                                                                                                        0.00          0.00            0.00           0.00           0.00            0.00            0.00       2,199.40       1,802.01       1,721.53      2,593.84        2,949.12          11,265.90
                                                  AMH Northside Center for Behavioral &Psychiatric Care
                                                                                                                        0.00          0.00            0.00           0.00           0.00            0.00            0.00     10,911.60        9,195.38     10,512.87      10,988.07        9,993.04          51,600.96
                                                  AMH Pelham Parkway Nursing Home
                                                                                                                        0.00          0.00             0.00          0.00            0.00           0.00            0.00          173.90          61.79            0.00         61.79        120.00              417.48
                                                  AMH South Georgia Surgical Associates
                                                                                                                        0.00           0.00            0.00           0.00           0.00           0.00            0.00       1,650.85       1,059.27       1,409.87       1,305.48       1,04320             6,468.67
                                                  AMH Thomasville Physical Therapy
                                                  AMH Urgent Care &Corporate Care Centers                               0.00           0.00            0.00           0.00           0.00           0.00            0.00          690.08        735.28       1,182.50         656.44         908.55            4,172.85
                                                                                                                        0.00           0.00            0.00           0.00           0.00           0.00            0.00          451.05        384.34         548.31         27236          449.46            2,105.52
                                                  AMH Wound Management & Hyperbaric Medicine
                                                                                                                  2,877.80        2,609.00       3,132.30        2,802.80       2,215.70       2,142.90        2,157.50        3,044.10       1,662.30       2,403.80       2,380.10       1,972.00          29,400.30
                                                  Amtran Medical Transportation, Inc.
                                                                                                                 11,991.00      10,767.00       13,542.00      10,548.00      11,350.00      11,025.00         9,778.00      11,761.00        9,717.00     10,777.00      11,836.00       10,037.00         133,129.00
                                                  An Med Cannon Memorial Hospital
                                                                                                                157,186.00     142,523.00     150,676.00      145,436.00     152,559.00     141,993.00      137,757.00      146,295.00     146,330.00     137,307.00     141,515.00      137,687.00       1,737,264.00
                                                  AnMed Health Medical Center
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                 39,315.00      36,045.00      40,599.00       33,367.00      37,787.00      35,702.00       34,895.00       39,541.00       34,363.00     37,009.00      39,746.00       37,041.00         445,410.00
                                                  AnMed Health North Campus
                                                                                                                     314.00         379.00          357.00         325.00         350.00         435.00          243.00           444.00        283.00         265.00         339.00         306.00            4,043.D0
                                                  An Med Health Sleep lab
                                                                                                                     328.00         339.00          689.00         632.00         447.00         567.00          743.00           496.00        237.00         312.00         179.00         419.00            5,388.00
                                                  AnMed Health Wound and Hyperbaric Medicine
                                                                                                                        0.00           0.00            0.00           0.00           0.00           0.00            0.00             0.00           0.00           0.00          0.00           0.00                0.00
                                                  AnMed HMC Replacement Scrubs
                                                                                                                        0.00           0.00            0.00           0.00           0.00           0.00            0.00             0.00           0.00           0.00          0.00        776.55              776.65
                                                  Aramark Services
                                                  Archbold Memorial Hospital                                            0.00           0.00            0.00           0.00           0.00           0.00       9,731.09     128,332.44     128,400.82     116,062.95     120,821.06      111,303.28         614,651.64
                                                   BG Neurology                                                        43.00           0.00          47.00            0.00           0.00          45.00             0.00           42.00           0.00         49.00           0.00           8.00             234.00
                                                  Carlton Breast Center at Meredyth Place                            746.40         364.80          298.80         572.40         841.80         636.00           477.00          186.60         186.60            0.00          0.00           0.00           4,310.40
                                                   Carolina Center for Behavioral Health                         11,494.00        9,933.00      10,692.00      10,604.00       11,152.00     11,982.00        10,363.00       12,658.0       11,206.00     11,624.00      11,579.00        9,836.00         133,123.00
                                                   Carolina Orthopaedic &Neurological Associates(MRI)                    0.00       375.00          327.00         288.00         331.00         227.00           185.00          184.00         243.00         252.00        215.00          226.00           2,853.00
                                                   Carolina Panthers at Wofford College                                  0.00          0.00            0.00           0.00           0.00            0.00      5,366.00         2,476.00            0.00           0.00           0.00          0.00           7,842.00
                                                   Center for Advanced Rehabilitation                            17,277.00       13,870.70      19,15535        15,86230       19,290.40      16,665.95       16,820.26       19,759.90      19,297.77     21,538.39      21,475.15       19,192.78         220,205.95
                                                   Center for Advanced Rehabilitation-SACU 3rd Floor                     0.00           0.00            0.00           0.00           0.00           0.00            0.00             0.00          0.00           0.00           0.00      1,491.55           1,491.55
                                                   Center for Pain and Spine                                             0.00           0.00            0.00           0.00           0.00           0.00            0.00             0.00          0.00           0.00           0.00          0.00                0.00
                                                   Chattanooga Heart Institute -Chattanooga                            10.00          10.46             0.00           0.00         10.46          10.00             0.00             0.00          0.00          25.70           0.00          0.00               66.62
                                                   Chattanooga Heart Institute -Cleveland                                0.00           0.00            0.00         (3.25)           0.00           0.00            0.00             0.00          0.00           0.00           0.00          0.00               (3.25)
                                                   Chattanooga Heart Institute - Hixson                                  0.00           6.84            0.00           0.00           0.00           0.00          18.61              0.00          0.00          19.47           0.00           0.00              44.92
                                                   Clarus linen Systems -Rome                                            0.00           0.00            0.00           0.00           0.00           0.00            0.00             0.00          0.00           0.00           0.00           0.00               0.00
                                                   Glarus TriState SmartRoute                                            0.00           0.00            O.OD           0.00           0.00           0.00            0.00             0.00          0.00           0.00           0.00           0.00               0.00
                                                   Dougherty County EMS                                               275.97         109.17          170.40         349.19            0.00         85.82             0.00             0.00          0.00           0.00           0.00           0.00             990.55
                                                    Dunwoody Urgent Care                                              228.05         166.50          20535          185.80         207.24         24830           178.80           142.50        212.40         208.62         207.50         273.60            2,464.66
                                                    Eden Terrace of Spartanburg                                    2,578.00          973.00       2,529.00        1,594.00       2,439.00       2,131.00        2,012.00        2,478.00       1,950.00       1,976.00      2,287.00        1,908.00          24,855.00
                                                    EP Star Wipers, Inc. -RAGS                                    23,555.00      18,072.00       46,550.00      35,743.00             0.00    28,932.00              0.00     25,545.00             0.00    20,915.00      26,530.00             0.00       225,842.00
                                                    Family Medical Center                                             401.70         253.25          287.25         234.45         346.00         476.50          429.60           510.15        387.90         564.75         601.05         369:55            4,862.15
                                                    FGPG Shakerag Hill                                                138.40         171.80          219.80         102.50         13330          166.60           6930            212.80          41.00        146.65          69.20         125.70            1,597.05
                                                    FGPG Yorktownl(Ste 100)                                           524.70         431.90       1,29135           507.10         439.60         638.10          437.90           749.00        327.65         474.20         686.15         412.70           6,920.35
                                                    FGPG Yorktown 111 (Ste 207)                                         70.00          84.00         143.80          69.80         103.80         145.00            72.60          124.05        105.20           78.00        102.00         121.80            1,220.05
                                                    fort Jackson                                                 134,546.06     141,848.08     150,003.91      126,842.64     134,84734      144,334.94      147,881.06      202,755.28     183,739.70    168,924.51     138,446.93       89,806.75       1,763,977.20
                                                    Fresenius Medical Care of Decatur                              1,035.92        1,033.56       1,372.24        1,094.47       1,080.92       1,323.63        1,065.92        1,204.90       1,059.59         883.56       1,386.06       1,354.88          13,895.65
                                                    Fresenius Medical Care of Duluth-Lawrenceville                 3,057.00        2,721.00       3,091.50        2,568.00       3,091.50       3,091.50        2,748.00        3,087.00       3,079.35       1,820.40       2,291.25       3,289.65          33,936.15
                                                    Fresenius Medical Care of Henry County                         2,788.50        2,670.00       2,475.00        2,b79.00       3,022.50       2,850.00        2,649.00        3,000.00       2,568.00       1,875.00       2,344.35       2,00a.00          30,92535
                                                    Fresenius Medical Care of Honey Creek                          1,470.75        1,458.00       2,13930         1,040.25       1,776.60       2,09835         1,820.25        2,164.50       1,625.70       1,628.70       2,009.10       1,327.05          20,558.55
                                                    Fresenius Medical Care of South DeKalb/Rockdale                 1,557.40       1,602.40        1,760.80       2,260.20       1,902.40       2,378.00        1,902.40         2,153.00      1,739.60       1,276.80       2,101.70       1,647.80          22,282.50
                                                    Georgia Baptist College of Nursing -Mercer University                 0.00           0.00            0.00           0.00           0.00           0.00            0.00         946.75            0.00           0.00          0.00           0.00             946.75
                                           11/2/2018 10:30 AM                                                                                                                                                                                                      F:\CFO\Crown\APA Requests\Pounds by customer 2017
                                                 FiscalYear                                                                    2017
                                                                                                                                                            Sum of MAR Sum of APR Sum of MAY Sum of JUN Sum of 1UL                                           Sum of AU6        Sum of SEP          Sum of OCT Sum of NOV ':Sum of QEC:               Total 2017
                                                 Row...__.._
                                                       Labels _ _.. .__ _. _.. ._.__..                                  Sum of lAN         Sum of FEB                                 .. _ _._. _  .... _...__.._..~   ... __         . _ _      _..._. ..._.  __.._     ._._.___         _....._ ___...____
                                                                                         _.:___.___ . ---...__~.._._..__F . ._.._ _ . _...._.... _ . _..__ _ _ . . ._.~ _ .._ _.-                                                                                                     27720                272.55        373.50             0.00          3,404.93
Desc




                                                                                                                                 277.00           368.50           411.60             256.32             272.46                 297.00            291.00             307.80
                                                 Georgia Breast Surgery, PC
                                                                                                                                                1,601.08         1,884.57           1,666.91          1,561.33               1,48838           1,364.58           1,178.85         1,765.60              1,424.40      2,186.38       1,426.78          19,028.71
                                                 Georgia Cancer Center for Excellence                                         1,479.85
                                                                                                                                              14,464.00        17,424.00          14,079.00        15,975.00               17,964.00         15,146.00          16,586.00         15,622.00            17,829.00      14,881.00      17,177.00         191,762.00
                                                 Georgia Regional Hospital                                                   14,615.00
                                                                                                                                                                       7.60               7.60              24.00                39.40                0.00             74.80           66.95                 24.00           0.00          24.00             308.20
                                                 Georgia State University Student Health Clinic                                      0.00           39.85
                                                                                                                                                      0.00             0.00               0.00                0.00                  0.00              0.00              0.00             0.00                 0.00           0.00            0.00               0.00
                                                 GMCD Direct Sale                                                                    0.00
Entered 12/21/18 12:13:35




                                                                                                                                                  720.00             35.88            837.76             609.10                 948.90            613.92             536.05           670.73               192.00        587.51          627.05           6,858.90
                                                 Goldstar EMS                                                                    480.00
                                                                                                                                                      0.00             0.00               0.00                0.00                  0.00              0.00              0.00             0.00                 0.00           0.00            0.00               0.00
                                                 Greenwood Regional Rehabilitation Hospital                                          0.00
                                                                                                                                                      0.00             0.00               0.00                0.00                  0.00              0.00               0.00            0.00                 0.00           0.00            0.00               0.00
                                                 HHC Replacement Scrubs                                                              0.00
                                                                                                                                               15,646.05       16,105.81          15,216.02         14,988.55              16,091.39         15,419.98           16,198.65        17,443.40            16,386.66      16,737.15      15,360.16         191,898.96
                                                 Higgins General Hospital                                                    16,305.14
                                                                                                                                                      0.00          149.00             131.00             133.00                134.00              99.00             134.00            34.00              121.00         248.00         156.00           1,584.00
                                                 Home Hospice Nurses -Direct Sale                                                 245.00
                                                                                                                                                  926.00         1,150.40             937.00          1,122.00               1,095.00             643.00              599.00          774.00               304.00         479.00         432.00           9,621.00
                                                 Hospice oflaurens County                                                      1,160.00
                                                                                                                                                                                    4,410.00          4,474.00               4,386.00          4,152.00            3,581.00        3,963.00              4,493.00      4,018.00       4,023.00          51,021.00
Page 175 of 229




                                                 Hospice of the Upstate                                                        4,947.00         3,772.00         4,802.00
                                                                                                                                                4,566.88         4,813.45           3,916.55          4,670.21               4,442.30          4,006.60            4,707.78        3,921.84              4,643.85      4,229.71       3,992.65          51,985.19
                                                  Houston Health Pavilion                                                      4,07337
                                                                                                                                             133,079.43       149,47132          137,07931        154,820.41             139,227.02         135,159.45         155,019.72        141,177.70           156,244.99     151,220.19     152,317.50       1,758,418.99
                                                  Houston Medical Center                                                    153,601.95
                                                                                                                                               23,962.00       24,320.39          23,153.23         24,05422                24,156.20        19,798.43           26,171.91        23,139.47            24,288.44      22,071.72      26,557.01         285,425.06
                                                  Houston Perry Hospital                                                     23,752.04
                                                                                                                                                6,091.12         7,981.06           5,896.94          7,475.52                7,625.76         7,790.66            7,682.07        6,873.74              7,648.81      7,589.60       7,487.59          88,279.58
                                                  Houston Surgery Center                                                       8,136.71
                                                                                                                                               10,326.25        13,072.85         12,687.82         14,914.85               12,195.10        15,777.20           11,485.00        13,59835             14,366.80      11,012.41      11,212.85         151,414.53
                                                  Joe-Anne Burgin Nursing Home                                                10,765.05
                                                                                                                                                     15.85            59.10              47.10               39.40                39.40              47.10             23.55            15.40                39.40           0.00          23.55             373.40
                                                  Judson G. Black, MD LLC                                                           23.55
                                                                                                                                                      0.00              0.00               0.00                0.00                 0.00               0.00              0.00             0.00              192.00           0.00            0.00            192.00
                                                  Laurens County Memorial Hospital                                                    0.00
                                                                                                                                               34,717.37        41,550.23          35,536.67        36,179.95               40,953.25         33,930.66          44,814.43        33,429.62             36,564.11     40,478.56      33,726.94         450,389.48
                                                   Martin Army Hospital                                                       38,507.69
                                                                                                                                    34.55          106.06           120.11                 5.67              68.79                6936             103.83             101.28            40.00                66.84          93.37          4531              855.47
                                                   MHI Outpatient imaging
                                                                                                                                      0.00             0.00             0.00               0.00                0.00                 0.00               0.00              0.00             0.00                0.00           0.00            0.00               0.00
                                                   Midtown Neurology PC
                                                                                                                                      0.00             0.00             0.00               0.00        6,048.00               7,270.00          6,209.00           5,904.00         6,081.00             5,235.00      5,202.00        4,610.00          46,559.00
                                                   Moncrief Army Health Clinic
                                                                                                                                                                                       727.67              688.69                595.95            454.78             927.08          440.51                586.71        909.06         870.93            8,872.12
                Exhibit A - Purchase Agreement




                                                                                                                                                                    777.74
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                   Moody Air Force Base Clinic                                                    927.15           965.85
                                                                                                                                   250.87          130.96           310.55             137.95              428.08                216.62            300.82               61.78          151.91                  0.00          0.00            0.00          1,989.54
                                                   Morningside of Albany
                                                                                                                                1,475.00         1,175.00         1,037.50           1,187.50           1,087.50              1,245.00             947.50             857.50          960.00              1,350.00      1,662.50       1,112.50          14,097.50
                                                   Morrison's Cafeteria at Floyd Medical Center
                                                                                                                                   373.00           219.00           100.00             258.00                 0.00                58.00           108.00                0.00          228.00               236.00           0.00        311.00            1,891.00
                                                   Orthopedic Specialties
                                                                                                                                      0.00             0.00             0.00               0.00                0.00                  0.00               0.00             0.00             0.00                 0.00           0.00           0.00               0.00
                                                   Pain Care Center of Georgia, LlC
                                                                                                                                     16.00             2.00            21.00               0.00                 8.00                 0.00               0.00            37.00            27.00                 0.00         78.00           21.00            210.00
                                                   Palmetto Hemtology Oncology -Union
                                                                                                                                      0.00             0.00            34.00               0.00                 0.00               48.64                0.00              0.00            0.00                 0.00           0.00           0.00              82.64
                                                   Phoebe Community Benefit
                                                                                                                                      0.00             0.00             0.00               0.00                 0.00                 0.00               0.00              0.00         182.40                  0.00           0.00        195.30             377.70
                                                   Phoebe Community Care Clinic
                                                                                                                                1,716.31         2,087.64          1,812.12          1,345.39           2,368.29               1,278.21         1,889.68            2,019.63        1,49133                 860.06      1,839.32       3,139.78          21,847.76
                                                   Phoebe Diagnostics Imaging Center
                                                                                                                                   126.00             63.00          610.90             471.40             236.25                488.25              94.50                0.00         154.00               142.50         283.25         467.20           3,137.25
                                                   Phoebe East
                                                                                                                                5,052.00         2,472.55          2,73532           2,805.55           4,699.26               3,343.13             771.00          6,250.66        3,776.57              3,950.70            0.00     3,608.68          39,465.42
                                                   Phoebe Endoscopy Center
                                                                                                                                       0.00            0.00            63.46                0.00                0.00                 0.00               0.00              0.00         264.54                  0.00           0.00          54.07             382.07
                                                   Phoebe Family Medical Center -Albany
                                                                                                                                     29.70            23.40            65.48              36.00                 0.00               51.64              73.40               0.00         227.00                  0.00        138.50             0.00            645.12
                                                   Phoebe family Medical Center -Camilla
                                                                                                                                   127.00             75.98            9630             117.00              250.05                241.04            139.50             344.00          104.00                  0.00        277.00           80.75          1,852.62
                                                   Phoebe Family Medical Center -laurel Place
                                                                                                                                       0.00             0.00             0.00             36.00                 0.00                23.40             23.40               0.00            0.00                 0.00           0.00            0.00             82.80
                                                   Phoebe Family Medical Center- Pelham
                                                                                                                                     55.00          170.00               0.00             51.00             306.00                   0.00               0.00           200.00              0.00                0.00           0.00            0.00            812.00
                                                    Phoebe Gastroenterology Associates
                                                                                                                                 1,727.59           946.43         1,076.28           1,76031            2,221.11              2,340.14          1,958.18              558.00        1,288.82                  0.00        248.91       1,709.40         15,835.17
                                                    Phoebe Healthworks
                                                                                                                                       0.00             0.00             0.0~               0.00                0.00                 0.00               0.00              0.00             0.00                0.00           0.00            0.00               0.00
                                                    Phoebe Infectious Disease
                                                                                                                                     16.20            21.60            70.20                0.00                0.00                27.00             21.60             80.00              0.00                0.00           0.00          40.00             276.60
                                                    Phoebe Neurology Associates
                                                                                                                                 1,695.00         3,222.00             48.00          1,677.38           4,809.76              3,210.76          4,833.76                32.00         134.33                 51.25           0.00        140.83          19,855.07
                                                    Phoebe Neurosurgical Associates
                                                                                                                                 1,542.00         1,715.84         2,404.54         25,646.19            1,556.61              1,339.19             971.69           1,618.72        1,65039                471.54         471.54       1,756.70         41,144.95
                                                    Phoebe Northwest
                                                                                                                                    239.25           263.70           314.01             654.06             371.85                282.75            401.70             291.60           22125                   0.00          0.00          81.00           3,121.17
                                                    Phoebe Orthopaedic Specialty Group
                                                                                                                              162,298.82       170,921.50      171,447.92         227,504.91        166,09533               142,658.20       134,105.08          157,390.22       166,132.55           153,727.66     171,57639      205,464.36       2,029,322.94
                                                    Phoebe Putney Memorial Hospital (Main Campus)
                                                                                                                               20,338.89        21,014.58         21,871.04         16,106.29         22,058.73              18,865.11         23,237.07           28,51531        28,775.84             28,345.51     20,709.70      27,616.62         277,454.69
                                                    Phoebe Putney Memorial Hospital (North Campus)
                                                                                                                                       0.00           80.68             80.68               0.00               80.68                  0.00            57.80               0.00             0.00                 0.00          0.00          42.61             342.45
                                                    Phoebe Rheumatology
                                                                                                                                       0.00             0.00             0.00               0.00                 0.00                 0.00               0.00             0.00          550.50                  0.00          0.00            0.00            550.50
                                                    Phoebe Sickle Cell Clinic
                                                    Phoebe Sleep Disorders Center                                                1,662.70            809.68           774.24          1,653.46           1,906.22               1,272.10          2,003.59             986.08        1,198.13                574.93        107.68       1,423.55          14,37236
                                                                                                                                28,964.17        28,215.72        29,792.66          26,410.62         28,802.88              25,388.77        27,611.54           28,32230        35,273.45             35,378.97     30,663.25      34,483.24         359,307.57
                                                    Phoebe Sumter Medical Center
                                                    Phoebe Sumter OB/GYN                                                            276.00           330.00           582.00             485.04              564.00               540.00             289.20            800.50           650.60               704.50        550.75          717.25           6,489.84
                                                    Phoebe Sumter Orthopedics                                                         96.00            96.00          144.00             192.00              144.00                192.00            192.00            320.00           192.00               128.00        271.40          192.00           2,159.40
                                                     Phoebe Sumter Surgical Associates                                                  0.00             0.00           79.50                0.00                0.00                 0.00               0.00          102.50              0.00.             102.50        205.00          102.50             592.00
                                                     Phoebe Sumter Wellness &Education Center                                       39835            616.35           439.01             538.50              31625                 506.53            615.30            518.98           381.85               391.00        681.50          592.95           5,996.57
                                                     Phoebe Tower Medical at Meredyth Place                                           94.28              0.00             0.00               0.00                0.00               82.20                0.00              0.00            0.00                 0.00           0.00           0.00            176.48
                                                     Phoebe Worth Family Medicine -Sylvester                                            0.00             0.00             0.00               0.00                 0.00                 0.00              0.00            13.40             0.00                 0.00           0.00          48.00              61.40
                                                     Phoebe Worth Medical Center                                                  9,065.45         7,566.05         8,97130           8,859.57            6,962.00              8,649.43          6,517.50           8,417.20       10,019.69              8,710.00      9,100.05       6,468.46          99,306.70
                                                 11/2/2018 10:30 AM                                                                                                                                                                                                                                      F:~CFO\Crown\APA Requests\Pounds by customer 2017
                                                 FiswlYear                                                zoi~
                                                                                                          Sum of JAN   Sum of FEB    Sum of MAR Sum of APR's Su m of MAY Sum of JUN    Sum oflUl - Sum of AUG       Su m of SEP     Sum of OCT Sum of NOV Sum of DEC''       Total 2017
                                                 Row Labels
                                                                                                                             570.70        70830       652.04      899.90      556.48        818.33      361.00             576.65        526.50      416.00     1,046.50         7,446.00
Desc




                                                 Phoebe Wound Care & Hyperbaric Center                          313.60
                                                                                                                  0.00          0.00          0.00     140.47      914.88      792.82        595.95      581.15             885.05      1,059.87      333.75       156.79         5,460.64
                                                 Premier Orthopedics
                                                 Randolph Medical Associates                                      0.00        21.94           0.00       0.00         o.00        o.00         o.00        o.00               0.00           0.00        0.00         0.00           21.94
                                                                                                             81,052.00    74,605.00     82,287.00   70,000.00    77,928.00  76,257.00     70,019.00   82,907.00         71,460.00      76,954.00   74,161.00   82,998.00      920,525.00
                                                 Regional Medical Center of Orangeburg
                                                                                                             28,354.00    21,825.00           0.00   6,230.00    22,595.00        0.00         0.00    4,455.00         24,560.00            0.00        0.00         0.00     108,019.00
                                                 RM Star Wipers, Inc. -RAGS
                                                                                                                                                                                                                                          577.00    1,468.00       289.00       12,777.00
Entered 12/21/18 12:13:35




                                                 RMCO Healthplex                                              1,781.00     1,097.00        982.00    1,156.00     1,154.00     617.00      1,332.00    1,628.00             696.00
                                                                                                                  0.00       149.00           0.00     316.00        81.50     118.00          0.00        0.00             206.00           0.00     187.00       390.00         1,447.50
                                                 RMCO Healthplez -Holly Hill
                                                                                                                939.00       802.00        979.00      909.00     1,027.00     959.00        815.00    1,010.00             840.00        744.00      918.00       689.00       10,631.00
                                                 RMCO Healthplex -Santee
                                                                                                                555.00       335.00        305.00      456.00       427.00     459.00        249.00      507.00             456.00        237.00      246.00       358.00         4,590.00
                                                 RMCO Urgent Care - Bamburg
                                                                                                            139,256.00   126,618.00    154,692.00  132,339.00   134,159.00 144,507.00    132,371.00  152,124.00        132,150.00     130,798.00  128,449.00  135,732.00     1,643,225.00
                                                 Self Regional Medical Center
                                                 SfMC Outpatient Imaging &Specialty Care at Camp Creek        1,915.46     2,392.03      2,637.31    2,383.10     2,756.74   2,608.09      2,027.92    2,500.19           2,256.35      2,54339     2,095.43     2,385.91       28,501.92
                                                                                                              1,087.30       370.60        481.40      913.85       955.10     949.05        736.40      723.70             924.18        805.35    1,147.30       454.45         9,548.68
                                                 Southeastern Interventional Pain Associates
Page 176 of 229




                                                                                                                105.60         35.60         90.43     170.00       210.29       83.81        65.35      161.95             214.85          9230      173.10         9535         1,498.63
                                                 Southern Surgical Arts Calhoun
                                                                                                                341.25       309.25         313.50     858.75       666.50     SO1.00        89135       494.25             205.50        769.25      251.20       549.5          6,151.05
                                                 Southwest Georgia OB/GYN
                                                                                                                338.80       26830          273.00       0.00        85.75     277.70        184.25      239.65             371.40        15630       23330        148.10         2,576.55
                                                 Southwest Georgia Physical Therapy
                                                                                                              3,605.24     2,618.19       2,916.26   2,302.10     2,665.02   2,730.54      2,515.98    1,961.50           4,403.12      3,863.55    3,648.66     3,631.21       36,86137
                                                 Southwest Georgia Regional Medical Center
                                                 Spartanburg Community College -Central Campus                    ioo.00       iz9.00         o.00         o.00         ~.00        o.00        o.00        o.00               0.00          0.00        0:00         0.00          236.00
                                                 SPN Star Wipers, Inc -RAGS                                         o.ao         o.00         o.00         o.00         o.00        o.00        o.00        o.00               0.00          0.00        0.00         0.00            0.00
                                                                                                               429.47          426.40        562.08       443.20       762.45     479.05       441.46      511.31           561.56        583.95      646.16       429.71         6,276.80
                                                 STARR Breast Center at Medical Mall
                                                                                                                  0.00          505.54       209.47       291.92       408.98      350.16      364.78      409.18           249.86         308.50     531.92       464.58         4,094.89
                                                  STARR Outpatient Physical Therapy
                                                  Starr Regional Medical Center                              23,544.66       23,477.60    24,890.42    22,308.77    24,255.11   22,350.37   25,338.73   24,404.49       42,491.59      23,064.10   26,010.54   23,648.45       305,784.83
                                                  STARR Replacement Scrubs                                        0.00            0.00         0.00         0.00         0.00        0.00        0.00        0.00              0.00          0.00        0.00         0.00            0.00
                                                  STARR Sleep Lab                                               633.92          440.93       273.96       454.78       506.66      453.36      538.85      449.63           441.40        529.43      558.16       469.63         5,750.71
                                                  Summit Orthopaedic Surgery Center                           2,320.88        2,154.69     2,972.77     2,556.87     2,316.82    2,119.80    1,587.14    2,463.22         2,087.26      2,307.29    2,443.77     2,417.66       27,748.17
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                  SurgiCare Gwinnett                                            498.50          803.40       814.40       640.85       726.00      718.10      756.05      657.25           541.00       1,025.45     643.25       373.20         8,197.45
                                                  T3 Labs, Inc.                                                 441.45          597.87       595.66       355.48       378.13      349.49      21632       641.96           705.26         497.61     734.14       627.05         6,140.42
                                                  Union County Emergency Medical Services                       102.00            0.00        75.00       108.00        72.00        5.00      127.00      122.00             93.00          0.00      148.00         0.00          852.00
                                                  VAMC Augusta Downtown Division                                     o.00        o.00          o.00         o.00         o.00        o.00       o.00         o.00              0.00    40,432.44  105,666.01   84,337.38       230,435.83
                                                  VAMC Augusta Uptown Division                                       0.00        0.00         0.00         0.00          0.00        0.00        0.00        0.00              0.00    34,658.74   45,738.19   43,440.14       123,837.07
                                                  VAMC Charleston                                                    o.00         o.00         a.00         o.00         0.00        0.00        0.00        0.00              0.00    33,488.00   67,948.00   67,611.00       169,047.00
                                                   VAMC Columbia                                                     0.00         0.40         0.00         0.00         0.00        0.00        0.00        0.00              0.00          0.00  55,357.00    76,109.00      131,466.00
                                                   VAMC Dublin                                                       0.00         0.00         0.00         0.00         0.00        0.00        0.00        0.00        37,341.60     45,300.46   50,819.29   46,086.72       179,548.07
                                                   VITAS Innovative Hospice Care -Duluth                         1,663.52       772.81     1,367.42     1,178.04     1,670.57    1,809.15    2,366.25    1,363.26         2,348.04       2,078.60    1,707.12       880.65       19,205.43
                                                   VITAS Innovative Hospice W re -Stockbridge                    2,065.31     1,691.83     1,489.70     1,365.07     1,524.88    1,542.66    2,150.65    2,415.74          2,647.06      2,133.93    1,899.04     2,284.54       23,210.41
                                                   VITAS Innovative Hospice Care Direct Sale                         o.ao         o.00         o.00         o.00         o.00        o.00        o.00        o.00            o.00         o.00          o.00         o.00            o.00
                                                   WeIlStar AMC Bone &Joint Specialists                              41.00        0.00        65.20         0.00        42.65       19.00       26.70        0.00           26.45         51.88        24.20          0.00         297.08
                                                   WeIlStar AMC East Point Clinic                                     0.00        0.00         0.00       307.50        82.00       20.50        0.00       3330            61.50          0.00         0.00         3330          538.10
                                                   WeIlStar AMC Gym                                               2,077.00    1,943.00     2,981.50     2,613.00     3,517.50    2,211.00    2,814.00    1,842.50        1,407.00      1,909.50     1,766.12      2,211.00      27,293.12
                                                   WeIlStar AMC Inman Park Physicians                                47.50       48.90        74.50        67.75        66.10       33.05        0.00       12.55           91.70         20.50        14.20         12.80         489.55
                                                   WeIlStar AMC Morrow Healthcare                                   231.45      27130        313.75       290.03       301.15      360.05      216.75      231.00          203.40        194.00       194.95        301.60       3,109.43
                                                   WeIlStar AMC Orthopaedic Rehabilitation                          465.25      343.00       270.15       388.50       365.40      411.20      351.70      267.55          407.93        401.32       212.80        186.53       4,071.33
                                                   WeIlStar AMC Primary Care Clinic -Camp Creek                     138.80      100.30       375.76        56.10       141.15       87.40       78.10      219.80          222.70        24212        267.63        240.35       2,170.31
                                                   WeIlStar AMC Primary Care Clinic -Cascade                        149.60       37.40        85.24       162.80       196.90      155.10      137.50      125.70           50.60         48.40        9235          37.40       1,278.99
                                                   WeIlStar AMC Primary Care Clinic -Virginia Highlands              79.20       28.6        401.52       106.70         0.00       84.15       44.00       3630            96.75.        43.45        62.10         29.70       1,012.47
                                                   Whitten Center                                                39,680.00   34,973.00    39,970.00    35,239.50    39,860.00   38,872.00   37,633.00   39,799.00       36,932.00     38,114.00    38,683.00     36,187.00     455,942.50
                                                   Willson Hospice House                                          2,034.16    1,259.24     1,72232      2,652.81     2,714.52    2,483.20    2,253.32    1,642.65        1,394.76          0.00         0.00          0.00      18,156.98
                                                   Wiregrass Rehabilitation Center (IJ                               o.00         o.00         o.00         o.00         o.ao        o.00        o.00        o.00            o.00         o.00          o.00          o.00           o.00
                                                    Wiregrass Rehabilitation Center (II)                             0.00         0.00    32,809.23    41,973.95    40,096.53   33,850.67   28,233.04   60,437.43       26,050.36     32,271.65    30,697.79     32,123.36     358,544.01
                                                   Zero Waste Solutions                                             76.80        28.32        47.04        94.92        85.32       78.52       79.84      110.28           3124         107.88       107.48         51.96         899.60
                                                   ZZ-AMC Contrect Labor                                              o.00        o.00         o.00         o.00         o.00        o.00        o.00        o.00            0.00          0.00         0.00          0.00           0.00
                                                   ZZ-AMC Direct Sale                                             3,076.00    3,304.00     5,072.00     3,810.00     5,310.00    4,110.00    5,206.00    4,550.00        4,678.00      4,598.00     1,250.00          0.00      44,964.00
                                                   ZZ-AMC Dr. Quarters -Suite 530                                     o.00        o.00         o.00         o.00         0.00        0.00        0.00        0.00            0.00          0.00         0.00          0.00           0.00
                                                    ZZ-AMC Equipment Lease                                            o.00        o.00         o.00         o.00         0.00        0.00        0.00        0.00            0.00          0.00         0.00          0.00           0.00
                                                    ZZ-AMC Hyperbaric Center                                          0.00         0.00         0.00         0.00        0.00        0.00        0.00        0.00            0.00          0.00         0.00          0.00           0.00
                                                    ZZ-AMC Internal Medicine -Suite 316                               0.00         0.00         0.00         0.00        o.00        o.00        o.00        o.00            o.00          o.00         o.00          o.00           o.00
                                                    ZZ-AMClnternal Medicine Associates                                0.00         0.00         0.00         0.00        o.00        o.00        o.00        o.00            o.00          o.00         o.00          o.00           o.00
                                                    ZZ-AMC Mops                                                   4,19315      5,150.00    11,339.00    13,154.75   15,478.00    9,064.50   10,167.75   10,435.50       13,330.00     11,871.25     1,505.50          0.00     105,689.50
                                                    ZZ-AMC Primary Care Clinic -Forest Park                         204.70       193.60       373.10        52.15      174.70      157.65      110.25        0.00            0.00          0.00         0.00          0.00       1,266.15
                                            11/2/2018 10:30 AM                                                                                                                                                                             F:\CFO\Crown\APA Requests\Pounds by customer 2017
                                                 FiscalYear                                               2017
                                                                                                                                                                                                                                                                                                        Total 2017
                                                 Row Labels                                               Sum of lAN -- Sum of fE6': -. Sum of MAR Sum of APR Sum of MAY .Sum of!UN, ,.^ Sum of 1UL .Sum of AUG Sum of SEP:'Sum of OCT Sum of NOV:- Sum of DEC
                                                                                                                                                                                                                                   0.00    ~~~~o.00~          ~o.o0             0.00           0.00               0.00
Desc




                                                                                                                    0.00            0.00            0.00             0.00            0.00           0.00           0.00
                                                 ZZ-AMC Replacement Scrubs
                                                                                                                    0.00            0.00            0.00             0.00            0.00           0.00           0.00            0.00            0.00           0.00          0.00           0.00              0.00
                                                 ZZ-AMC Rheumatology Associates
                                                                                                                                    0.00            0.00             0.00            0.00           0.00           0.00            0.00            0.00           0.00          0.00           0.00              0.00
                                                 ZZ-AMCSheffield HealthCa re                                        0.00
                                                                                                                              2,090.00        3,380.00         2,060.00        2,602.00        3,080.00       2,248.00       3,950.00       2,660.00        4,160.00         900.00            0.00        29,624.00
                                                 ZZ-AMC SO Direct Sale                                        2,494.00
                                                                                                              8,519.80        6,913.00        6,499.50         8,422.50        8,791.00        7,587.75       6,172.75       6,980.25       6,911.00        8,354.00       1,307.75            0.00        76,459.30
                                                 ZZ-AMC 50 Mops
Entered 12/21/18 12:13:35




                                                                                                                                    0.00            0.00             0.00            0.00            0.00           0.00           0.00            0.00           0.00           0.00          0.00               0.00
                                                 ZZ-AMC South Replacement Scrubs                                    0.00
                                                                                                                 236.11          449.50          569.69           320.99          477.90         425.56         47432          592.11          368.02          454.65            0.00          0.00         4,368.85
                                                 ZZ-AMC Wound Care Center
                                                                                                                    0.00            0.00            0.00             0.00             0.00           0.00           0.00           0.00            0.00           0.00           0.00          0.00               0.00
                                                 ZZ-AMH Integrative Medicine
                                                                                                                 202.00          248.70          295.10           283.80          275.60         360.05          27120          259.85         356.00          266.30        379.04         123.15           3,320.79
                                                 ZZ-Asa G. Yancey, Sr., MD Health Center
                                                                                                            172,509.13      178,711.41      205,539.11       196,892.12      191,372.97      180,708.73     179,982.67     194,091.82     183,15730       164,971.26      23,593.09       6,905.17      1,878,434.78
                                                 ZZ-Atlanta Medical Center
                                                                                                             72,003.10       71,474.10       78,611.05        76,578.75       76,336.93       70,030.94      73,075.91      69,942.48      67,429.42       86,520.35       9,311.51            0.00       751,314.54
                                                 ZZ-Atlanta Medical Center South
                                                                                                                                                                      0.00            0.00           0.00           0.00           0.00            0.00            0.00          0.00          0.00               0.00
Page 177 of 229




                                                 ZZ-Carolinas Hospital System                                       0.00            0.00             0.00
                                                                                                                              1,159.30        1,338.03         1,328.80        1,562.58        1,384.39       1,62227        1,290.08        1,331.98       1,22131        1,061.44       1,175.95         16,032.88
                                                 ZZ-CHOA Aflac Cancer Center                                   1,556.75
                                                                                                                 182.00          188.90          182.80           111.60          170.40         300.20          176.10         178.70          195.60         143.20        175.50         182.80           2,187.80
                                                  ZZ-CHOAAIpharetta Hwy
                                                                                                            177,337.80      181,697.93      207,554.51       161,910.50      183,963.17      172,605.42     162,995.24     193,04738      174,044.37      184,574.85     180,545.56     209,929.90      2,190,206.63
                                                  ZZ-CHOA at Egleston
                                                                                                             21,608.90       18,872.31       27,595.97        21,900.66       18,739.65       16,697.85      20,314.62      25,207.57      25,950.73       33,873.96      30,179.86      32,222.97        293,165.05
                                                  ZZ-CHOA at Hughes Spalding
                                                                                                            190,063.54      182,45833       212,869.21       188,441.14      188,093.10      177,84334      176,867.04     202,769.80     207,832.30      210,704.79     236,717.95     243,787.62      2,418,448.16
                                                  ZZ-CHOA atScottish Rite
                                                                                                               1,336.00        1,543.50        1,601.20         1,364.60        1,42230        1,682.20        1,189.20       1,382.50       1,636.60        1,469.80      1,043.60       1,361.60         17,033.10
                                                  ZZ-CHOA at Scottish Rite OUT RAD
                                                                                                                 344.83          322.65          392.94           427.98           301.87         299.00         433.50         433.58          384.80         552.51        421.68         341.75           4,657.09
                                                  ZZ-CHOA Cherokee
                                                                                                                     0.00            0.00            0.00             0.00         108.30         146.20         253.97         120.00            64.00        159.10        143.64         120.60           1,115.81
                                                  ZZ-CHOA Children's Specialty Services
                                                                                                                   64.60          103.63          116.43           130.00          207.23         116.43         122.73         104.00          155.83         214.50          39.00          8135           1,455.73
                                                  ZZ-CHOA Cobb
                                                                                                                   41.80           30.80            33.00            34.60          57.20           63.25          85.25        181.50            62.15         116.60           7.70         22.55            736.40
                                                  ZZ-CHOA Cystic Fibrosis
                                                                                                                     0.00          38.40            38.40           44.40            45.00          31.80          1910           82.80           38.40          57.60          19.20         63.00            478.20
                                                  ZZ-CHOA De Kalb
                                                                                                                                                                                     41.80          27.78          62.23          21.45           94.73          68.60         42.08          62.06            607.57
                Exhibit A - Purchase Agreement




                                                                                                                                                                    42.45
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                  ZZ-CHOA Duluth                                                   54.38           41.80           48.21
                                                                                                                     0.00            0.00            0.00             0.00             0.00           0.00           0.00           0.00            0.00           0.00          0.00          0.00               0.00
                                                  ZZ-CHOA EGL Equipment Lease
                                                                                                                     0.00            0.00            0.00             0.00             0.00           0.00           0.00           0.00            0.00           0.00          0.00          0.00               0.00
                                                  ZZ-CHOA EGL Replacement Scrubs
                                                                                                                   18.05            24.65            0.00            18.05             0.00         41.20            7.05         31.70           52.65           13.65         18.05         35.65            260.70
                                                  ZZ-CHOA Executive Park
                                                                                                                  449.73          24436           379.62           330.88          346.83         429.96         342.09         404.79          343.21          337.76        400.04        285.55           4,294.82
                                                   ZZ-CHOA Fayette
                                                                                                                  61637           604.05          949.04           737.11          899.60         731.52         610.25         684.53          791.48          724.13        752.95        583.37           8,584.40
                                                   ZZ-CHOA Forsyth
                                                                                                                     0.00             0.00            0.00             0.00            0.00           0.00           0.00           0.00            0.00           0.00         27.00           0.00             27.00
                                                   ZZ-CHOA Hamilton Mill
                                                                                                                     0.00             0.00            0.00             0.00            0.00           0.00           0.00           0.00            0.00           0.00           0.00          0.00              0.00
                                                   ZZ-CHOA HS Direct Sale
                                                                                                                  39830           468.45          678.14           527.48          714.85         582.45         42830           777.09         537.85          502.85        628.30        585.60           6,829.66
                                                   ZZ-CHOA Hudson Bridge
                                                                                                                    52.20           81.25         125.65             46.20           19.80          25.80          19.80          72.60             0.00          46.20           0.00        19.80             509.30
                                                   ZZ-CHOA Ivy Walk
                                                                                                                     0.00             0.00          64.65            13.40            19.50         32.33          19.50          58.53           26.00           13.40         29.55         39.40             316.26
                                                   ZZ-CHOA Marietta
                                                                                                                1,171.26        1,253.88        1,14339          1,182.19        1,294.52       1,110.94       1,083.51       1,333.36        1,158.85       1,109.86       1,018.77        997.18          13,857.71
                                                   ZZ-CHOA Medical Office Bldg
                                                                                                                  111.15          155.66           176.13           136.11            78.86        143.26          78.03         272.63          123.73         111.36        129.62          66.43           1,582.97
                                                   ZZ-CHOA Mount Zion
                                                                                                                    17.60           1430             35.20             8.25           50.00          27.45         19.80           31.35          4725            11.00           6.60          0.0~            268.80
                                                   ZZ-CHOA Neurology
                                                                                                                  506.05          384.25          412.70           563.15           682.45         533.25         471.80         619.55          324.00         438.05        465.25        410.60            5,811.10
                                                   ZZ-CHOA Neuroscience
                                                                                                                  305.24           371.99         40012             363.14          381.49         309.85         275.51         460.61          303.68         388.73        346.98        405.70            4,313.14
                                                    ZZ-CHOA North Druid Hills
                                                                                                                  254.72           341.81          367.90           289.59          507.62         29432          278.20         411.20          327.12         289.05        428.04         243.14           4,032.71
                                                    ZZ-CHOA North Point
                                                                                                                      0.00          26.60              0.00            0.00           13.40            0.00          0.00          20.10           13.40            0.00          0.00        26.00              99.50
                                                    ZZ-CHOA Old Milton Parkway
                                                                                                                   116.16            78.60           84.90          129.83          143.09         111.10         123.53         137.13            9733           65.00       130.56          65.03           1,28216
                                                    ZZ-CHOA Orthotics &Prosthetics
                                                                                                                1,309.93        1,279.92        1,684.41         1,426.13        2,976.03       1,416.72        1,734.50       1,692.26          95835        1,130.64      1,949.26       1,63538          19,193.53
                                                    ZZ-CHOA Outpatient Surgery Center at Satellite Blvd
                                                                                                                   284.00          256.70          262.20           300.00          19230          19330          151.90         345.70          261.20          274.40       25735          239.00           3,018.05
                                                    ZZ-CHOA Primary Care Center-Chamblee
                                                                                                                   325.15          509.87          679.82           266.15          264.08         239.01         236.03         266.96          241.16          297.90        184.43        200.98           3,711.54
                                                    ZZ-CHOA Sandy Plains
                                                                                                                1,962.26        2,269.54        3,111.44         2,287.42        2,454.72       2,312.05        2,119.73       2,981.11       1,96234         2,217.25      3,307.61       2,366.02         29,351.49
                                                    ZZ-CHOA Satellite Blvd
                                                                                                                     26.80           33.50           60.20              0.00            6.50         24.00            0.00         40.00           28.00            0.00         26.87          0.00            245.87
                                                    ZZ-CHOA Snellville
                                                                                                                      0.00             0.00            0.00             0.00            0.00           0.00           0.00           0.00            0.00           0.00          0.00          0.00               0.00
                                                    ZZ-CHOA SR Replacement Scrubs
                                                    ZZ-CHOA Surgery Center at Meridian Mark Plaza              14,365.77       15,572.67       18,339.52        14,94522        15,360.64      18,916.34      16,026.19      15,071.92       13,853.79      15,092.55      17,39639       18,213.90        193,154.90
                                                    ZZ-CHOASuwanee                                                    6.70             0.00           13.40             0.00          13.40          26.80            0.00           6.70            0.00          13.40         20.10         13.40            113.90
                                                    ZZ-CHOA Town Center                                          2,344.09        2,329.00       2,656.20          2,454.10       2,79133         2,109.15       2,824.69       2,318.67       2,479.50        3,241.75      2,658.15       2,336.58         30,543.21
                                                     ZZ-CHOA UrgentCare-Hamilton Creek                                0.00             0.00            0.00         743.85           203.00          69.40        368.22          20735          365.41          199.96        178.10          53.80          2,389.09
                                                     ZZ-CHOA Webb Bridge                                         1,401.10        2,185.93        2,274.18         2,025.87        1,924.43       1,977.74       1,409.95       2,410.89        1,777.53       2,192.99      2,334.96       1,72535          23,640.92
                                                     ZZ-CHS Cedar Tower Rehabilitation Hospital                       0.00             0.00            0.00             0.00            0.00           0.00           0.00           0.00            0.00           0.00           0.00          0.00              0.00
                                                     ZZ-CHS Outpatient Rehabilitation Center                          0.00             0.00            0.00             0.00            0.00           0.00           0.00           0.00            0.00           0.00           0.00          0.00              0.00
                                                     ZZ-CHS Surgery Center- Florence                                   0.00            0.00             0.00            0.00            0.00           0.00           0.00           0.00            0.0~           0.00           0.00          0.00              0.00
                                                     ZZ-Crestview Contract Labor                                       0.00            0.00             0.00            0.00            0.00           0.00           0.00           0.00            0.00           0.00           0.00          0.00              0.00
                                                     ZZ-Crestview Direct Sale                                          0.00            0.00             0.00            0.00            0.00           0.00           0.00           0.00            0.00           0.00           0.00          0.00              0.00
                                                 11/2/2018 10:30 AM                                                                                                                                                                                              F:\tF0\Crown\APA Requests\Pounds by customer 2017
                                                 FiscalYear                                          2017
                                                                                                     Sum of JAN. Sum of PEB           Sum of MAR Sum of APR Sum of MAY Sum of JUN Sum of 1UL                       Sum of AUG: Sum of SEP.. Sum of OCT- > Sum of NOY.:. Sum of DEC             Total 20ll
                                                 Row Labels
                                                                                                                                                        101,65532       103,135.79      96,401.98     103,883.78     103,611.70      94,904.43      82,753.46     78,125.56     47,741.90      1,114,742.42
Desc




                                                 ZZ Crestview Health &Rehabilitation Center             97,028.95       94,45732        111,042.23
                                                                                                             90.80          148.20           241.23           99.10           73.70         144.50          62.50         196.80          94.70          97.50         71.70        127.50          1,44813
                                                 ZZ-EastPoint Grady Health Center
                                                                                                       174,531.42      158,327.13       177,739.13      162,891.96      171,626.87     168,759.57     162,613.73     173,722.36     170,779.27     173,116.61    159,060.27    170,059.31      2;023,327.63
                                                 ZZ-Floyd Medical Center
                                                                                                               0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00          0.00          0.00           0.00              0.00
                                                 ZZ-Floyd Primary Care
                                                                                                            527.23          742.66           771.07          709.10          714.23         502.13        726.06        1,020.37         736.15        859.15       1,034.74        525.20          8,868.09
                                                 ZZ-GH Harris Radiation Therapy Center
                                                                                                                                                                                                                                                                      205.15        257.70          2,724.70
Entered 12/21/18 12:13:35




                                                                                                            103.78           82.59           205.88          251.30          294.90         226.80        170.60          362.60         284.00         279.40
                                                 ZZ-GH North Georgia Cancer Center
                                                                                                               0.00            0.00             0.00            0.00            0.00           0.00         29.90         147.60         115.80         119.60         57.90         29.90            500.70
                                                 ZZ-GH Northwest Georgia Women's Care
                                                                                                               0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00           0.00         0.00           0.00              0.00
                                                 ZZ-GHS Cath Lab Stemi Projec[
                                                                                                               0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00           0.00         0.00           0.00              0.00
                                                 ZZ-GHS Contract Labor
                                                                                                               0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00           0.00         0.00           0.00              0.00
                                                 ZZ-GHS Contrect Labor
                                                                                                               0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00           0.00         0.00           0.00              0.00
                                                 ZZ-GHS Direct Sale
                                                                                                               0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00           0.00         0.00           0.00              0.00
Page 178 of 229




                                                 ZZ-GHS Direct Sale
                                                                                                         4,815.70         2,880.70        4,889.60        4,544.24         4,483.60            0.00          0.00            0.00      3,629.50       2,429.50      5,572.00      3,920.00         37,164.84
                                                 ZZ-GHS Emergency Medical Services
                                                                                                             74.45          252.81           245.96          195.93          379.48            0.00          0.00            0.00           0.00           0.00          0.00          0.00         1,148.63
                                                 ZZ-GHS Emergency Medical Services -Sylvester
                                                                                                            625.55          513.70           542.50          683.25          17535             0.00          0.00            0.00           0.00           0.00          0.00          0.00         2,540.35
                                                  ZZ-GHS Emergency Medical Services-Baldwin County
                                                                                                               0.00             0.00            0.00            0.00            0.00           0.00          0.00            0.00            0.00          0.00          0.00          0.00              0.00
                                                  ZZ-GHS Emergency Medical Services-Macon/Mercer
                                                                                                            212.50          200.00           157.54          202.50            62.50           0.00          0.00            0.00            0.00          0.00          0.00          0.00           835.00
                                                  ZZ-GHS Emergency Medical Services-Zebulon
                                                                                                               0.00             0.00           44.20            0.00           46.20           0.00          0.00          145.70            0.00          0.00          0.00          0.00            236.10
                                                  ZZ-GMCAcademic Internal Medicine Partners
                                                                                                          3,188.50        2,368.53         3,056.66        2,464.70        2,143.93       2,705.20       1,894.18       2,720.80       2,10233        2,273.01      2,443.40      3,477.20         30,838.44
                                                  ZZ-GMCBreastCenter
                                                                                                            376.80          42835            745.15          487.90          49235          503.40         433.45          587.75        652.70         533.15        517.40        304.44          6,062.84
                                                  ZZ-GMC CancerCenter-Sneliville
                                                                                                                0.00            0.00             0.00            0.00           0.00           0.00          0.00            0.00            0.00          0.00          0.00         72.00             72.00
                                                  ZZ-GMC Cancer Support Center
                                                                                                          3,920.65        3,856.30         4,393.00        3,975.55        4,644.65       4,241.25       4,277.27       7,081.15       2,284.30       2,168.30           0.00          0.00        40,842.42
                                                  ZZ-GMC Cardiaclmaging
                                                                                                                0.00            0.00             0.00            0.00            0.00           0.00         0.00            0.00            0.00          0.00          0.00          0.00              0.00
                                                  ZZ-GMC Concussion Institute
                                                                                                                0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00          0.00          0.00          0.00              0.00
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                  ZZ-GMC Contract Labor
                                                                                                                0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00          0.00          0.00          0.00              0.00
                                                  ZZ-GMC Direct Sale
                                                                                                          8,306.90        6,035.23         9,895.02        7,261.43        8,26435         7,146.56      7,609.92       8,398.45       6,958.44       6,414.23      5,583.15      2,16116          84,034.94
                                                  ZZ-GMC Glancy Rehabilitation Center
                                                                                                         17,178.01       13,414.09        19,96531        17,30334        20,854.12      18,678.68      15,901.82      21,615.74      17,045.11      17,859.43     16,034.50      7,755.70        203,606.95
                                                  ZZ-GMC 6winnett Extended Care Center
                                                                                                           1,627.05          816.70           913.40          914.65        1,291.15         899.15      1,092.40          78335         927.10       1,036.10      1,159.70      1,129.10         12,589.85
                                                  ZZ-GMC Imaging Center at Hamilton Mill
                                                                                                           1,23436           856.95         1,610.98        1,098.92        1,108.52         631.29        46939         1,188.44        812.10       1,60037         724.36        77063          12,10634
                                                  ZZ-GMCJohn's Creek Orthopaedic Surgery Center
                                                                                                           3,863.99        3,239.70         4,324.66       4,48538          3,882.14       3,936.85      3,18833         3,713.15      3,806.52       4,186.25      3,003.14        482.90         42,113.01
                                                   ZZ-GMC Outpatient Imaging Center
                                                                                                             835.76          746.58         1,245.33        1,122.69        1,286.04       1,569.20      1,078.56        1,011.61      1,512.40         910.20      1,363.40      1,600.00         14,281.77
                                                   ZZ-GMC Pain Management Center
                                                                                                             929.10          676.85           989.60          888.60          871.79         838.05        797.80          562.90         563.85        89435         78635         819.80           9,619.04
                                                   ZZ-GMC SportsRehab
                                                                                                             148.50              0.00         110.00          187.00          346.50         148.50        253.00          330.00         148.50         132.00       242.00           0.00          2,046.00
                                                   ZZ-GMC Strickland Family Medicine
                                                                                                                0.00             0.00            0.00         279.05             0.00           0.00          0.00            0.00        194.20           0.00          0.00          0.00            473.25
                                                   ZZ-GMCSuwaneeSpecialtyCenter
                                                                                                             921.01          829.05           738.15          957.98          672.78         785.15        913.10          698.08       1,163.66         759.78       682.48      1,044.54         10,165.76
                                                   ZZ-GMC Wound Treatment Center
                                                                                                         52,834.68       51,675.44        57,629.11       40,623.45       50,990.62      54,143.48      44,799.62      52,848.51      50,681.75      55,296.97     46,811.49     50,117.20        608,45232
                                                   ZZ-Gordon Hospital
                                                                                                        318,215.58      268,925.61       334,426.78      307,391.73      348,534.40     328,433.98     339,982.78     349,848.70     284,906.54     301,723.94     91,623.14            0.00    3,274,013.18
                                                   ZZ-Grady Health System (I)
                                                                                                                 0.00            0.00             0.00            0.00           0.00           0.00          0.00            0.00           0.00           0.00  198,014.31    142,469.41        340,483.72
                                                   ZZ-Grady Health System (I)
                                                   ZZ-Grady Health System (II)                                   0.00            0.00         245.61              0.00      4,563.53            0.00          0.00            0.00           0.00           0.00         0.00           0.00         4,809.14
                                                                                                         29,25537        12,58632         11,191.12       14,993.99         6,143.04         373.50           0.00            0.00           0.00           0.00         0.00           0.00       74,543.34
                                                   ZZ-Grady Health System (111)
                                                   ZZ-Grady Health System Lab Coats                          204.00           160.20          189.60           148.80         188.40         121.80         183.60          129.00          80.40        198.60         86.40         87.60          1,778.40
                                                    ZZ-Greenville Health System                         472,804.00      463,239.00       495,594.00      455,118.00      472,007.00     462,940.00     456,655.00     481,527.00     464,877.00     437,080.00    436,277.00    426,060.00      5,524,178.D0
                                                    ZZ-Greenville Health System Scrubs                    16,594.00       15,326.00        18,583.00       16,701.00       18,237.00      19,874.00     21,794.00      22,612.00      19,213.00      16,415.00     18,725.00     18,681.00        222,755.00
                                                    ZZ-GrHS Greenville Memorial Medical Campus            58,708.00       48,740.00       53,435.00       53,856.00        57,845.00     47,731.00      44,338.00      52,525.00      44,513.00      51,543.OD     40,683.00     41,250.00        595,1fi7.00
                                                    ZZ-GrHS Greer Memorial Hospital                           128.00          112.00           114.00           53.00           65.00          58.00         56.00           50.00        102.00          48.00         51.00         45.00            882.00
                                                    ZZ-GrHS Hillcrest Memorial Hospital                      492.00           678.00           553.00          491.00         458.00          453.00        345.00          361.00        390.00         348.00        232.00        395.00          5,106.00
                                                    ZZ-GrHS North Greenville Hospital                            0.00            0.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00          0.00          0.00          0.00              0.00
                                                    ZZ-GrHS Patewood Medical Campus                              0.00           39.00             0.00            0.00            0.00           0.00          0.00            0.00           0.00          0.00          0.00          0.00            39.00
                                                    ZZ-GrHS Patewood Memorial Hospital                           0.00             0.00            0.00            0.00            0.00           0.00          0.00            0.00           0.00          0.00          0:00          0.00              0.00
                                                    ZZ-GrHSPediatricSpecialists-Duncan                          38.00             0.00          93.00           48.00           35.00         122.00         88.00          126.00          46.00         60.00         48.00         83.00            787.00
                                                    ZZ-GrHS Pediatric Specialists-Nnrth Grove                 196.00          312.00           277.00          245.00          275.00         480.00        616.00          649.00        106.00         473.00        502.00        152.00          4,283.00
                                                    ZZ-GrHSProaxisTherapyOakGrove                             335.00          311.00           314.00          308.00          310.00         252.00        244.00          648.00         279.00        277.00        320.00        333.00          3,931.00
                                                    ZZ-GrHS Proaxis Therapy S Pine St                         677.00          514.00           827.00          401.00          520.00         583.00        481.00          577.00         273.00        159.00        477.00        383.00          5,872.00
                                                    ZZ-GrHS Satellite Accounts                                    0.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00          0.00          0.00              0.00
                                                    ZZ-GrHS Surgery Center- Boiling Springs                       0.00            0.00             0.00            0.00           0.00           0.00          0.00            0.00           0.00          0.00          0.00          0.00              0.00
                                                     ZZ-GrHS University Medical Group OB/GYN                  314.00          339.00           407.00          271.00          132.00         285.00        301.00          523.00        401.00         203.00        217.00        243.00          3,636.00
                                                     ZZ-Griffin Center for Pain and Spine, LLC                    0.00            0.00             0.00            0.00           0.00           0.00          0.00            0.00           0.00          0.00          0.00          0.00              0.00
                                                     ZZ-Gwi~nett Medical Center Dietary                     1,125.00           725.00          900.00          887.50        1,250.00       1,050.00      1,125.00        1,450.00      1,212.50       1,100.00        837.50      1,200.00         12,862.50
                                             11/2/2018 10:30 AM                                                                                                                                                                                         F:~CFO\Crown\APA Requests\Pounds by customer 2017
                                                 FiscalYear "..                                           2017
                                                                                                                                          Sum of MAR:; Sum of APRv ^ Sum of MAY _Sum of JUN              Sum of JUl      Sum of AUG Sum of SEP          Sum of OCT_ Sum of NOV r Sum of DEC           Tota12017
                                                 Row Labels                                               Sum of JAN      Sum of FEB
                                                                                                                                                                                                                                                          113,587.41     123,267.28     126,658.82    1,402,830.69
Desc




                                                                                                            112,872.18      105,583.56      124,530.19      119,678.09      117,711.79     126,488.51      104,96035       120,547.23     106,945.28
                                                 ZZ Gwinnett Medical Center Duluth
                                                                                                                            349,528.04      405,968.02      366,963.97      373,876.89     578,976.17      339,687.15      369,165.44     353,109.11      369,688.03     378,217.09     397,47615 4,662,88234
                                                 ZZ-Gwinnett Medical Center Lawrenceville                   380,226.18
                                                                                                                              1,023.78         1,597.70        1,700.92        1,206.84       1,567.73        1,889.13        1,626.51       1,898.24        1,696.71       1,813.90       1,753.98       19,498.11
                                                 ZZ-Gwinnett Surgery Center, LLC                              1,722.67
                                                                                                                                               2,348.54        3,057.49        3,080.13       2,934.04        2,727.41        3,613.28       2,64624         3,134.27       2,637.87       2,265.82       32,627.89
                                                 ZZ-Harbin Clinic(150) Cartersville                            2,174.61        2,008.19
                                                                                                                                                 406.40          395.20          263.54         286.80          196.70          136.50         141.80          495.95         167.35         375.75         3,507.56
                                                 ZZ-Harbin Clinic (330)Physicians Genter                         362.07          279.50
Entered 12/21/18 12:13:35




                                                                                                                               1,793.65        1,847.82        1,752.43        1,804.53       1,675.73        1,601.99        1,850.94       1,571.52        1,645.24       1,605.88       1,540.43       20,162.98
                                                 ZZ-Harbin Clinic(504)Cardiology                               1,472.82
                                                                                                                                               4,314.12        4,200.65        4,197.10       4,364.20        3,531.87        4,554.72       3,430.96        4,083.56       3,615.92       3,624.01       47,954.09
                                                 ZZ-Harbin Clinic(550)Specialty                                3,933.73        4,103.25
                                                                                                                               2,773.64        2,496.20        2,393.90        1,779.60       2,249.80        1,292.60        1,937.80       2,145.90        2,434.75       2,591.81       2,823.45       27,153.75
                                                 ZZ-Harbin Clinic (Cancer Center)                              2,23430
                                                                                                                                               7,251.94        6,336.60        6,182.73       7,767.42       10,042.06       11,735.83      10,187.33       11,285.91      10,540.42       9,182.82     102,904.74
                                                 ZZ-Harbin Clinic (Main)                                       5,772.92        6,618.76
                                                                                                                                               1,625.60        1,036.80        1,472.00       1,523.20        1,542.40        1,472.00       1,625.60        1,731.85       1,403.35       1,583.95       17,812.85
                                                 ZZ-Harbin Clinic Dialysis                                     1,305.60        1,490.50
                                                                                                                                                  576.00         478.35          567.75         652.80          396.80          755.20         473.60          56310          460.80         537.60         6,076.50
                                                 7Z-Harbin Clinic Dialysis -Calhoun                              358.40          256.00
                                                                                                                                                                                 537.60         838.40          486.40          652.80         448.00          115.20         563.20         588.80         6,707.20
Page 179 of 229




                                                 ZZ-Harbin Clinic Dialysis -Summerville                          537.60          614.40           710.40         614.40
                                                                                                                                   1425             18.26          69.55           30.09          37.80           11.80           11.80          11.80           61.90          35.40           0.00           325.50
                                                 ZZ-Harbin Clinic Family Medicine -Adairsville                     22.85
                                                                                                                                     5.40            0.00            130            0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00              6.70
                                                  ZZ-Harbin Clinic Family Medicine - Armuchee                        0.00
                                                                                                                                 264.05           27730          248.60          358.20         211.20          198.20          172.90         14230           222.15         23535          254.05         2,664.00
                                                  ZZ-Harbin Clinic Vein Center                                     79.70
                                                                                                                                 196.53           340.46         177.74          202.13         132.13          152.25          131.14         100.89          346.14         223.74         433.92         2,802.49
                                                  ZZ-HIX Physical Therapy                                        365.42
                                                                                                                                 757.75           828.69         667.43          719.74         880.71          795.23          659.15         788.93          711.40         752.53         932.93         9,213.39
                                                  ZZ-HIXSIeep Wb                                                 718.90
                                                                                                                                     0.00            0.00            0.00           0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00              0.00
                                                  ZZ-Hospital Services, Inc Contrail Labor                           0.00
                                                                                                                                 807.58         1,010.28         990.73          82033          933.07          826.28          870.73         961.15          641.45         867.73         577.45       10,008.13
                                                  ZZ-Infectious Disease Program                                  70135
                                                                                                                                   97.40            77.75         110.80          111.70          98.30           7730           147.00          99.20          128.25          98.75          77.75        1,209.55
                                                  ZZ-Infectious Disease Progrem Lab Coats                           85.35
                                                                                                                              53,291.00       62,288.00       49,842.00       52,428.00      52,888.00       46,252.00       55,833.00      50,144.00       58,092.00      48,343.00      51,438.00     635,255.00
                                                  ZZ-Mary Black Memorial Hospital                             54,416.00
                                                                                                                                  598.00          571.00          707.00         577.00         511.00          524.00          852.00         500.00           609.00         386.00        557.00         7,247.00
                                                  ZZ-MBMH Outpatient Therapy Services                             855.00
                                                                                                                                1,005.00        1,001.00          843.00        1,381.00       1,665.00          902.00        1,066.00        895.00         1,055.00      1,085.00       1,343.00       13,257.00
                                                  ZZ-MBMH Women's Breast Health Center                          1,016.00
                                                                                                                                                                                                                 705.70          797.55          13.82          957.25       1,336.54         709.41      10,03935
                Exhibit A - Purchase Agreement




                                                                                                                                                                                1,140.88       1,026.81
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                  ZZ-MEM Atrium Sleep Center                                      692.27          813.55        1,030.03          815.54
                                                                                                                  279.03          258.09           27738          206.51          400.20         335.92          307.18          655.14         332.09          370.43         432.78         352.00        4,206.75
                                                   ZZ-MEM Hamilton YMCA
                                                                                                                                1,224.57           741.43       1,139.85          630.70         769.84          575.35          719.39         458.65        1,392.93         528.44         711.70       10,064.82
                                                   ZZ-MEM Mission Surgery Center                                1,171.97
                                                                                                                                2,672.42        2,745.16        2,746.44        2,763.41       2,853.92        2,752.31        2,568.52       2,900.56        3,256.89       2,948.60      3,608.96       34,363.97
                                                   ZZ-MEM Ooltewah Imaging Center                               2,546.78
                                                                                                                              46,995.03       55,594.01       50,561.98       53,782.41      50,408.18       49,989.05       50,70438       48,376.19       50,771.09      46,259.54      SS,955.95      611,214.17
                                                   ZZ-Memorial Hixson Hospital                                48,816.36
                                                                                                             243,807.51      218,007.56      243,178.80      222,320.99      223,487.71     222,641.48      210,383.04      221,838.85     225,411.97      234,421.08     229,006.97     234,109.18 2,728,615.24
                                                   ZZ-Memorial Hospital
                                                                                                                                9,398.84        9,943.00        7,364.85        9,625.76       7,772.16        8,475.26        8,202.04       8,650.01        8,669.82       8,24631        8,426.21     110,981.92
                                                   ZZ-Murray Medical Center                                   16,207.66
                                                                                                             330,895.50      313,764.39      349,931.14      270,337.21              0.00           0.00            0.00            0.00          0.00            0.00           0.00           0.00   1,264,928.24
                                                   ZZ-Navicent Health
                                                                                                                  632.00        1,296.00              0.00            0.00           0.00           0.00            0.00            0.00          0.00             0.00          0.00           0.00         1,928.00
                                                   ZZ-Navicent Health Direct Sale
                                                                                                                  606.40          536.30           477.00         444.40          507.95         482.85          539.65          748.05         578.18          576.90         494.30         648.05         6,640.03
                                                   ZZ-NGHS Cleveland White Co. EMS
                                                                                                                   380.55          273.10          243.55          287.05         480.63         270.73          451.78          399.24         407.62          423.47         370.10         360.10         4,347.92
                                                   ZZ-NGHS lanier Med Transport
                                                                                                                1,215.15        1,387.20         1,905.63       1,336.97        1,657.28       2,267.03        1,653.62        1,162.95       1,682.33        1,648.96       2,174.04       1,570.69       19,661.85
                                                   ZZ-NGHS Lanier Park Wound Care
                                                                                                                3,899.54        3,590.76         4,350.92       3,896.50        4,42132        4,185.81        4,358.50        4,242.92       4,286.14        3,738.19       3,716.41       3,624.03       48,311.04
                                                   ZZ-NGHS Laurelwood
                                                                                                                   193.06          32136           295.35          326.70            0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00        1,136.47
                                                    ZZ-NGHS NGPG Braselton Clinic
                                                                                                                      6.60           19.20           70.40           36.85           0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00           133.05
                                                    ZZ-NGHS NGPG Braselton family Medicine
                                                                                                                   221.48          272.44           325.98         247.50            0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00        1,067.40
                                                    ZZ-NGHS NGPG Braselton Interventional Pain Medicine
                                                                                                                   111.96          139.08            75.19           56.34           0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00           382.57
                                                    ZZ-NGHS NGPG Braselton Medical Oncology
                                                                                                                     6930             0.00           46.20           53.90           0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00           169.40
                                                    ZZ-NGHS NGPG Buford
                                                                                                                     66.50           84.70          115.50           46.20           0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00           312.90
                                                    ZZ-NGHS NGPG Chestnut Mountain
                                                                                                                   383.40          282.10           427.35         237.20            0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00        1,330.05
                                                    ZZ-NGHS NGPG Dacula Primary Care &Urgent Care
                                                                                                                   335.94          254.08           345.23         125.60            0.00           0.00            0.00            0.00           0.00            0.00           0.00           0.00        1,060.85
                                                    ZZ-NGHS NGPG family Health Associates
                                                                                                                   107.25          10230            118.80           19.80            0.00          0.00            0.00            0.00           0.00            0.00           0.00           0.00           348.15
                                                    ZZ-NGHS NGPG Gynecologic Oncology
                                                                                                                     85.80         112.20           177.10           92.35            0.00           0.00           0.00            0.00           0.00            0.00           0.00           0.00           467.45
                                                    ZZ-NGHS NGPG Internal Medicine
                                                                                                                   354.21          362.05           474.77         494.68             0.00           0.00           0.00            0.00           0.00            0.00           0.00           0.00        1,685.71
                                                    ZZ-NGHS NGPG Interventional Pain
                                                                                                                      0.00            0.00             0.00            0.00           0.00           0.00            0.00           0.00           0.00            0.00           0.00           0.00              0.00
                                                    ZZ-NGHS NGPG Occupational Medicine Oakwood
                                                                                                                    243.10          208.40          232.10         217.80             0.00           0.00            0.00            0.00          0.00            0.00           0.00           0.00           901.4A
                                                    ZZ-NGHS NGPG Sports Medicine
                                                                                                                      0.00            0.00             0.00            0.00           0.00           0.00            0.00            0.00          0.00            0.00           0.00           0.00              0.00
                                                     ZZ-NGHS NGPG Trauma &Acute Care Surgery
                                                                                                                 1,452.31        1,186.94         1,606.55         879.40           29.10            0.00            0.00            0.00          0.00            0.00           0.00           0.00        5,15430
                                                     ZZ-NGHS NGPG Urgent Care
                                                                                                                      0.00            0.00             0.00            0.00           0.00           0.00            0.00            0.00          0.00            0.00           0.00           0.00              0.00
                                                     ZZ-NGHS NGPG Urology
                                                     ZZ-NGHS Outpatient Cardiac Rehab                               165.00          171.00          288.60          217.80         211.20         196.80          262.80          250.80         396.00          215.40         308.40         282.00         2,965.80
                                                     ZZ-NGHS Rehabilitation Institute                                  0.00            0.00            0.00            0.00           0.00           0.00            0.00            0.00          0.00             0.00          0.00           0.00              0.00
                                                     ZZ-NGHS Toccoa Cancer Center                                1,543.25        1,652.90              0.00            0.00           0.00           0.00            0.00            0.00           0.00            0.00          0.00           0.00         3,196.15
                                                     ZZ-NGHS Trauma &Acute Care Orthopedics                            0.00            0.00            0.00            0.00           0.00           0.00            0.00            0.00           0.00            O.DO          0.00           0.00              0.00
                                                     ZZ-NGMC Braselton Equipment Lease                                 0.00            0.00            0.00            0.00           0.00           0.00            0.00            0.00           0.00            0.00          0.00           0.00              0.00
                                                     ZZ-NH Ambulatory Surgery Center                             8,455.79       11,081.27       13,022.59        7,487.78             0.00           0.00            0.00            0.00           0.00            0.00           0.00          0.00       40,047.43
                                           11/2/2018 10:30 AM                                                                                                                                                                                                     F:\CFO\Crown\APA Requests\Pounds by customer 2017
                                                 FiscalYear"                                                                                                              2017
                                                 Row     i.abels                                                                                                          Sum of JAN .Sum of FEB                               Sum of MAR Sum of APR Sum of MAY Sum oflUN                                                                  Sum of lUL                 Sum of AUG Sum of SEP 'Sum of OCT Sum of NOV Sum of DEC
                                                 .............................-.._...._......_..__..._.._...........__..........__...._............_.._.__...__......_._......_....._._.....--------..._--__.__....._.:m._.~._._..__........---..._._.._.__......_._..______~_.._.____._...__.__.-----.......__.._.__.__........___._...-------._..__.__...._............_..__.---..._._....._.._._...._....._._._.._._..._...._._...._.___....._..._~.__..____.._....__.__.__.....___..._.__~_...~_......__   Totai 2017
                                                 ZZ-NH Breast Center Hardeman                                                                                                         67330                      590.12                     600.70                     234.70                         0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00                       0.00              2,098.82
Desc




                                                 ZZ-NH Breast Center PET- PA Cancer Center                                                                                         1,041.80                   1,03538                    1,092.13                     572.20                          0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00              3,741.51
                                                 ZZ-NH Center of Pelvic Health                                                                                                        102.40                       73.70                      74.50                      62.30                        0.00                       0.00                       D.00                      0.00                       0.00                       0.00                       0.00                       0.00                312.90
                                                 ZZ-NH Children's Health                                                                                                         12,131.06                  12,745.06                  11,898.91                   9,285.32                           0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00            46,060.35
                                                 ZZ-NH Children's Health Center                                                                                                           0.00                       0.00                   122.02                       57.64                        0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00                179:66
                                                                                                                                                                                                                                                                                                                                                                                      0.00                       0.00                       0.00                       0.00                       0.00                   0.00
Entered 12/21/18 12:13:35




                                                 ZZ-NH Contract Wbor                                                                                                                      0.00                       0.00                       0.00                       0.00                      0.00                        0.00                       0.00
                                                 ZZ-NH Crescent House                                                                                                                     0.00                     20.59                      28.40                        0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00                  48.99
                                                 ZZ-NH Diagnostic Center                                                                                                           1,618.44                   1,764.87                   2,128.20                      948.26                         0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00              6,459.77
                                                 ZZ-NH Diagnostic Center Monroe                                                                                                        133.70                    279.10                     335.10                     150.10                         0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00                898.00
                                                 ZZ-NH Diagnostic Center NW                                                                                                           363.20                     378.80                     317.60                     227.90                         0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00              1,287.50
                                                 ZZ-NH Diagnostic Center PET - PA Cancer Center                                                                                       908.20                     891.90                  1,230.40                      645.80                         0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00              3,67630
                                                 ZZ-NH Family Health                                                                                                                   294.70                    382.85                     474.48                     198.45                         0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00              1,350.48
Page 180 of 229




                                                 ZZ-NH Fertility Institute                                                                                                             140.80                    114.80                     120.10                       68.10                        0.00                       0.00                       0.00                       0.00                      0.00                        0.00                      0.00                       0.00                443.80
                                                 ZZ-NH Gynecologic/Surgical Oncology                                                                                                   135.70                     122.90                    119.40                     105.00                         0.00                       0.00                       0.00                       0.00                       0.00                       0.00                      0.00                       0.90                483.00
                                                 ZZ-NH Gynecology Associates                                                                                                               6.50                       6.50                    21.90                      14.20                        0.00                       0.00                       0.00                       0.00                       0.00                       0.00                      0.00                       0.00                  49.10
                                                 ZZ-NH Macon EMS                                                                                                                    1,589.90                  1,381.65                   1,521.85                   1,189.00                          0.00                       0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00              5,682.40
                                                 ZZ-NH Medical Center of Peach County                                                                                            13,758.10                  14,380.79                  15,171.75                  10,786.71                           0.00                       0.00                       0.00                       0.00                       0.00                      0.00                       0.00                        0.00           54,097.35
                                                 ZZ-NH Rehabilitation Hospital                                                                                                   17,477.08                  16,915.90                  15,411.22                  11,372.08                           0.00                       0.00                       0.00                       0.00                       0.00                      0.00                       0.00                        0.00           61,176.28
                                                 ZZ-NH Urgent Care East, Gray Highway                                                                                                  453.03                    417.13                      357.88                    369.75                         0.00                       0.00                       0.00                       0.00                       0.00                       0.00                      0.00                        0.00             1,597.79
                                                 ZZ-NH UrgentCare North, Riverside Drive                                                                                               355.86                    441.71                      370.88                    272.83                         0.00                       0.00                       0.00                       0.00                       0.00                       0.00                       0.00                       0.00             1,441.28
                                                  ZZ-NH Urgent Care Northwest, Zebulon Road                                                                                            87934                      672.83                    694.58                     491.18                         0.00                       0.00                       0.00                       0.00                       0.00                       0.00                       0.00                       0.00             2,737.93
                                                  ZZ-NH Wound Care & Hyperbaric                                                                                                     1,73930                    1,672.52                  2,162.15                   1,337.25                          0.00                       0.00                       0.00                       0.00                       0.00                       0.00                       0.00                       0.00             6,911.22
                                                  ZZ-Northeast Georgia Medical Center                                                                                           304,554.41                292,536.90                 302,214.29                 278,510.04                 321,231.56                 297,035.59                 280,103.19                287,887.73                 301,347.83                 278,715.79                 295,582.76                 297,835.27              3,537,55536
                                                  ZZ-Northeast Georgia Medical Center Barrow                                                                                      11,337.61                  16,150.42                  16,382.97                 15,525.69                  18,558.88                  14,799.29                  15,186.92                  15,901.92                 17,608.79                  14,079.20                  14,171.40                  15,920.65               185,623.74
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                  ZZ-Northeast Georgia Medical CenterBraselton                                                                                    73,530.25                 72,564.06                  81,394.00                  77,774.62                  73,395.41                  75,899.49                  75,889.42                  79,514.69                 78,547.29                  79,256.98                  77,226.15                  93,450.20              938,442.56
                                                  ZZ-Northwest Georgia Women's Care                                                                                                      46.20                      66.22                    108.55                       65.45                   103.95                       92.40                      53.90                    265.65                     107.80                       84.70                     66.20                      92.40               1,153.42
                                                  ZZ-Parkside Children's Learning Center                                                                                                   0.00                       0.00                     12.20                        0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00                       0.00                       0.00                 12.20
                                                  ZZ-Peachtree Christian Hospice                                                                                                    2,20339                    2,054.47                   2,348.29                   1,732.01                  2,257.09                   1,958.74                   1,820.20                   1,810.09                   2,351.95                  1,59033                    1,045.15                           0.00           21,171.71
                                                  ZZ-Piedmont Newton Hospital                                                                                                     46,112.86                 44,319.02                  50,710.49                  46,102.62                  53,554.15                  51,517.10                  49,320.94                 52,860.04                  50,096.43                  52,83414                   51,555.97                  53,321.29               602,4Q5.15
                                                  ZZ-PNH Imaging Center                                                                                                                   79.20                   141.30                     15215                          0.00                   198.60                      88.00                      49.50                        0.00                       0.00                       0.00                       0.00                     82.50                79135
                                                  ZZ-PNH Southern Neurology                                                                                                                 o.o0                      0.00                       0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00                       0.00                  0.00
                                                  ZZ-Polk Medical Center                                                                                                          14,570.61                  13,172.01                  15,816.21                  13,581.61                 17,493.54                  15,347.68                  13,436.35                  15,081.42                  14,812.98                  14,818.03                  14,309.26                 13,907.74               176,347.44
                                                  ZZ-Polk/Floyd Wound Center                                                                                                            194.38                    193.08                     253.21                     370.42                     209.19                     348.49                    262.96                     263.88                     187.96                     305.92                     161.53                     215.41               2,966.43
                                                  ZZ-Premier Cardiology Group                                                                                                               0.00                      0.00                       0.00                       0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00                  0.00
                                                  ZZ-Spalding Regional Medical Center                                                                                           111,484.60                   94,30937                 106,135.46                 102,737.60                  99,960.43                  88,884.00                  92,854.84                  95,422.07                 97,705.08                  75,328.53                            0.00                       0.00          964,821.98
                                                   ZZ-Spartanburg Regional Medical Center                                                                                       252,635.00                 236,085.00                 264,786.00                 240,409.00                254,615.00                 255,264.00                 253,201.00                 270,120.00                260,722.50                 254,733.00                 254,608.00                 260,366.40              3,057,544.50
                                                  ZZ-SpRHS Cardiac Pulmonary Rehabilitation                                                                                             158.00                     347.00                    365.00                     317.00                     445.00                     225.00                    417.00                     441.00                     217.00                     362.00                     174.00                     438.00               3,906.00
                                                   ZZ-SpRHS Child Development Center                                                                                                 2,377.00                  2,314.00                   2,182.00                   2,226.00                   2,526.00                   2,454.00                  2,132.00                   2,290.00                   2,308.00                   2,256.00                   1,984.00                   1,999.00               27,048.00
                                                   ZZ-SpRHS Ellen Sagar Nursing Home                                                                                               11,739.00                 12,076.00                  14,090.00                  11,302.00                  17,454.00                  14,482.00                 15,992.00                  18,473.00                  16,225.00                  14,799.00                  14,860.00                  13,847.00              175,339.00
                                                   ZZ-SpRHS Emergency Medical Services                                                                                               1,182.00                     807.00                  1,337.00                      893.00                  1,469.00                   1,363.00                   1,004.00                  1,300.00                      841.00                  1,214.00                      971.00                  1,325.00               13,706.00
                                                   ZZ-SpRHS Gibbs Cancer Center -Gaffney                                                                                                  84.00                    148.00                    346.00                      104.00                    262.00                       66.00                    204.00                    171.00                     292.00                       88.00                    189.00                       98.00              2,052.00
                                                   ZZ-SpRHS Gibbs Dancer Center -Pelham                                                                                                 785.00                     765.00                    971.00                     768.00                     870.00                  1,281.00                      707.00                 1,002.00                   1,085.00                      929.00                     912.00                     919.00              10,994.00
                                                   ZZ-SpRHS MGC Internal Medicine Westside                                                                                                  0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                    45.00                      19.00                      62.00                      31.00                      53.00                 210.00
                                                   ZZ-SpRHS Ortho Surgery Eastside/Ortho Trauma Services                                                                                    0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                     19.00                       0.00                       0.00                       0.00                       0.00                 19.00
                                                   ZZ-SpRHS Outpatient Imaging Services -North Grove                                                                                 3,871.00                   3,986.00                  5,271.00                   3,924.00                   4,289.00                   4,137.00                  4,179.00                   4,377.00                   4,282.00                   4,432.00                   4,122.00                   3,959.00              50,829:00
                                                   ZZ-SpRHS Pediatric Rehabilitation                                                                                                        0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                   0.00
                                                   ZZ-SpRHS Pelham Medical Center                                                                                                  28,841.00                  28,483.00                 31,424.00                  26,505.00                  30,194.00                  26,479.00                 25,996.00                  29,101.00                  25,847.00                  27,352.00                  28,979.90                  23,685.00              332,886.00
                                                   ZZ-SpRHS PMC Comprehensive Pain Center                                                                                               205.00                     161.00                     161.00                       73.00                   203.00                     177.00                     118.00                     275.00                     125.00                    119.00                     126.00                     243.00                1,986.00
                                                   ZZ-SpRHS PMC Imaging Services                                                                                                     2,254.00                   1,892.00                   2,467.00                   1,880.00                  2,351.00                   2,190.00                   2,067.00                   2,OS5.00                  2,032.00                   1,784.00                   2,023.00                   2,188.00               25,213.00
                                                   ZZ-SpRHS PMC Surgery Center                                                                                                       5,454.00                   4,212.00                   6,253.00                   5,049.00                  4,990.00                   5,629.00                   5,126.00                  5,331.00                   5,561.00                   6,016.00                   5,227.00                   6,376.00               65,224.00
                                                    ZZ-SpRHS Regional Hospice Home                                                                                                   3,850.00                   2,893.00                   3,311.00                   2,851.00                  3,124.00                   2,585.00                   2,392.00                   2,986.00                  3,210.00                   2,315.00                   2,282.00                   2,965.00               34,764.00
                                                    ZZ-SpRHS Regional One Air Medical Service                                                                                            158.00                    217.00                       83.00                      92.00                    134.00                     121.00 -                  131.00                       67.00                    128.00                    167.00                     126.00                     230.00                1,654.00
                                                    ZZ-Sp RHS Rehabilitation -East Spa rtanburg                                                                                          231.00                    239.00                     375.00                     250.00                     240.00                    253.00                     308.00                     338.00                     265.00                    275.00                     243.00                     196.00                3,213.00
                                                    ZZ-SpRHS Rehabilitation -Floyd Road                                                                                                      0.00                    80.00                        0.00                       0.00                       0.00                       0.00                      0.00                       0.00                       0.00                       0.00                      0.00                       0.00                 80.00
                                                    ZZ-SpRHS Rehabilitation -Pelham Medical Center                                                                                       178.00                     235.00                    201.00                     188.00                     176.00                     334.00                    187.00                     245.00                     287.00                    198.00                      251.00                    299.00                2,779.00
                                                    ZZ-SpRHS Rehabilitation -West Spartanburg                                                                                            273.00                    411.00                     386.00                     215.00                     299.00                     382.00                    42fi.00                    428.00                     384.00                    993.00                     301.00                     282.00                4,780.00
                                                    ZZ-Sp RHS Rehabilitation -YMCA                                                                                                    1,075.00                     873.00                  1,318.00                      943.00                  1,342.00                      978.00                    839.00                  1,420.00                   1,124.00                     923.00                  1,291.00                   1,196.00               13,322.00
                                                    ZZ-SpRHS Restorative Care lTC                                                                                                   11,868.00                   9,563.00                 12,210.00                    9,797.00                 11,808.00                 10,628.00                  10,687.00                  11,551.00                   9,565.00                 10,757.00                    9,700.00                   9,765.00             127,899.00
                                          11/2/2018 10:30 AM                                                                                                                                                                                                                                                                                                                                                                                 F:\CFO\Crown\APA Requests\Pounds by customer 2017
                                                 PiswfYear                                                                                               2017...
                                                                                                                                                              '
                                                                                                                                                                                                      Sum of PEB                Sum of MAR Sum of APR Sum of MAY Sum of JUN                                               Sum of]~L                    Sum of AU6 Sum of SEP                 Sum of OR . Sum of NOV " Sum of DEC                             Tota12017
                                                 Row labels                                                                                                                 Sum of lAN
                                                                                                                                                                                                                                                                                                                                                                                                                        10,506.00           10,376.00         128,136.00
Desc




                                                                                                                                                                                  12,119.00                  10,874.00                 12,434.00            1,645.00             12,792.00              9,389.00                   8,510.00                     9,011.00       11,025.00           10,455.00
                                                 ZZ-SpRHS Union Medical Center
                                                                                                                                                                                        768.99                    909.85                    704.24              698.48               959.15             1,211.57                    1,483.67                        734.52        821.82             1,587.57                  0.00                0.00          9,579.86
                                                 ZZ-SpRMG Center for Rehabilitation Services
                                                                                                                                                                                            0.00                      0.00                      0.00                0.00                 0.00                  0.00                         0.00                         0.00         0.00                0.00                 0.00                0.00               0.00
                                                 ZZ-SpRMC Replacement Scrubs
                                                                                                                                                                                                                  523.88                     790.08             984.88               624.34               617.25                       766.41                       697.19        693.58               952.16                  0.00                0.00          7,579.36
                                                 71-SpRMC Wound Healing Center                                                                                                          929.59
                                                                                                                                                                                            0.00                    64.00                      28.00              28.00                31.00                89.00                        42.00                           0.00       80.00                17.00               40.00                 0.00            419.00
                                                 ZZ-SpRPG Center for Family Medicine-Chesnee
Entered 12/21/18 12:13:35




                                                                                                                                                                                        186.00                    199.00                     254.00              253.00               294.00              363.OD                       294.00                       374.00         283.00              271.00               240.00              221.00           3,232.00
                                                 ZZ-SpRPG Corporate Health -Greer
                                                                                                                                                                                            0.00                       7.00                      0.00               0.00                 0.00                  0.00                         0.00                         0.00         0.00                0.00                 0.00                0.00               7.00
                                                 ZZ-SpRPG Ear, Nose, andThroat-Greer
                                                                                                                                                                                        283.00                    271.00                         0.00               0.00                 0.00                  0.00                         0.00                         0.00         0.00                0.00               88.00                 0.00            642.00
                                                 ZZ-SpRPG Ea r, Nose, and Throat -Spartanburg
                                                                                                                                                                                            0.00                      0.00                     19.00                0.00                 0.00                  0.00                       64.00                          0.00         0.00               65.00                 0.00               18.00            166.00
                                                  ZZ-SpRPG Family Medicine -Converse Heights
                                                                                                                                                                                            D.00                       1.00                    18.00                0.00                 0.00                  0.00                         0.00                         0.00         0.00                0.00                 0.00                0.00              19.00
                                                  ZZ-SpRPG Family Medicine- North Grove
                                                                                                                                                                                                                     62.00                     58.00               80.00                69.00              104.00                         47.00                        87.00         36.00             144.00                51.00                61.00            891.00
                                                  ZZ-SpRPG Family Physicians -290                                                                                                         82.00
                                                                                                                                                                                                                                                                                                           125.00                         74.00                      133.00          71.00               59.00              110.00                 0.00            977.00
Page 181 of 229




                                                                                                                                                                                          57.00                    107.00                      57.00             114.00                 70.00
                                                  ZZ-SpRP6 Family Physicians -Boiling Springs
                                                                                                                                                                                         160.00                    151.00                    236.00                 0.00              104.00               166.00                       209.00                       169.00           0.00             159.00               121.00              163.00           1,638.00
                                                  ZZ-SpRPG Family Physicians -Landrum
                                                                                                                                                                                             0.00                    65.00                   219.00                 0.00                 0.00              138.00                           0.00                     231.00           0.00             114.00               110.00                 0.00            sn.00
                                                  22-SpRPG Inman Family Medicine
                                                                                                                                                                                         186.00                    173.00                    276.00              238.00               226.00               226.00                       170.00                       224.00        233.00              278.00               176.00              263.00           2,669.00
                                                  ZZ-SpRPG Internal Medicine -Greer
                                                                                                                                                                                             0.00                      0.00                  308.00                 0.00                 0.00                  0.00                     103.00                           0.00         0.00                 0.00             128.00                87.00             626.00
                                                  ZZ-SpRPG Lung &Chest Medical Associates
                                                                                                                                                                                           53.00                       0.00                    41.00               51.00                 0.00                20.00                        42.00                        24.00         28.00               36.00                35.00               52.00             382.00
                                                  ZZ-SpRPG Magnolia Plastic Surgery -Greer
                                                                                                                                                                                         150.00                    174.00                     190.00             128.00               128.00               174.00                       124.00                       147.00        170.00              223.00               146.00              142.00           1,896.00
                                                  ZZ-SpRPG Magnolia Plastic Surgery -Spartanburg
                                                                                                                                                                                         367.00                    396.00                    424.00              345.00               457.00               350.00                       399.00                       340.00        491.00              351.00               451.00              138.00           4,509.00
                                                  ZZ-SpRPG MGC Occupational Health - Westside
                                                                                                                                                                                             0.00                    50.00                      46.00                0.00               55.00                   0.00                        0.00                       47.00          0.00               53.00                 0.00               65.00             316.00
                                                  ZZ-SpRPG Pacolet Family Medicine
                                                                                                                                                                                           15.00                       9.00                     33.00                0.00               18.00                   0.00                       37.00                          2.00       54.00                 0.00                0.00                 0.00            168.00
                                                  ZZ-SpRPG Palmetto Pediatrics -North Grove
                                                                                                                                                                                           40.00                       0.00                       0.00            176.00                  0.00              153.00                           0.00                    164.00          89.00              211.00                 0.00               77.00             910.00
                                                  ZZ-SpRPG Palmetto Pediatrics -West
                                                                                                                                                                                         245.00                    202.00                     363.00              292.00               280.00              398.00                       188.00                       443.00        262.00              487.00               329.00              263.00           3,752.00
                                                   ZZ-SpRPG PMC Center for Women
                                                                                                                                                                                                                                                                                                           252.00                            0.00                       12.00         0.00              430.00                 0.00                 0.00          1,088.00
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                                                                                                       120.00
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                   ZZ-SpRPG Spartanburg Internal Medicine                                                                                                274.00                        0.00                       0.00               0.00
                                                                                                                                                                                         151.00                     163.00                    291.00              204.00               262.00               234.00                         82.00                     243.00        150.00               207.00              196.00              285.00           2,468.00
                                                   ZZ-SpRPG Weight Loss Services
                                                                                                                                                                                      6,681.42                  5,867.43                   6,859.60            5,914.71             6,773.95             7,133.75                    6,786.56                     5,999.58       8,290.94            6,921.25                  0.00                 0.00        67,229.19
                                                   ZZ-Sylvan Grove Hospital
                                                                                                                                                                                             0.00                       0.00                      0.00               0.00                 0.00                  0.00                         0.00                         0.00   1,759.64               202.60            3,83531             6,828.56          12,627.11
                                                   ZZ-Tanner Medical Center/Alabama
                                                                                                                                                                                  109,302.85                104,253.43                 118,423.15           104,374.72           113,371.35           107,329.91                 106,381.40                  117,224.04        117,98235          112,023.95           109,011.73          111,638.49        1,331,31737
                                                   2Z-Tanner Medical Center/Carrollton
                                                                                                                                                                                    39,919.27                 39,467.22                  41,186.18            39,174.94           38,477.37             38,774.87                  39,483.96                    39,399.60       41,449.63           46,795.09           45,258.75           45,435.04          494,821.92
                                                   ZZ-Tanner Medical Center/Villa Rica
                                                                                                                                                                                              0.00                      0.00                      0.00               0.00                 0.00                  0.00                         0.00                         0.00         0.00                0.00                 0.00                0.00              0.00
                                                   ZZ-TMC Contrect labor
                                                                                                                                                                                    14,788.22                  13,314.66                 13,951.69            13,296.42            12,393.50            12,855.61                  13,921.33                    12,805.62       12,746.19           13,338.56            10,329.46            9,719.91         153,461.17
                                                   ZZ-Triumph The Specialty Hospital, LLC(Rome,GA)
                                                                                                                                                                                              0.00                      0.00                      0.00               0.00                 0.00                   0.00                        0.00                         0.00         0.00                0.00          77,063.38         123,632.55          200,695.93
                                                   ZZ-VAMC Atlanta
                                                                                                                                                                                              0.00                      0.00                      0.00               0.00                 0.00                   0.00                        0.00                         0.00         0.00                0.00           4,206.19            2,447.94           6,654.13
                                                   ZZ-VAMC Atlanta Clinic Facility
                                                                                                                                                                                              0.00                      0.00                      0.00               0.00                 0.00                   0.00                        0.00                         0.00         0.00                0.00           2,82136             3,245.83            6,067.19
                                                   ZZ-VAMC Ft. McPherson Bldg
                                                                                                                                                                                              0.00                      0.00                       0.00              0.00                 0.00                   0.00                        0.00                         0.00         0.00                0.00           6,706.28            8,391.64          15,097.92
                                                    ZZ-VAMCTrinka Davis Veterans Village
                                                                                                                                                                                     11,706.47                 10,778.92                 13,53839             11,270.05            13,407.45            12,312.13                  10,808.76                    11,464.77       11,821.25           11,905.30            10,928.47           10,830.25         140,772.21
                                                    ZZ-Willowbrooke at Tanner
                                                                                                                                                                                          761.38                    687.60                     984.87             960.02             1,148.50               869.70                       618.80                    1,078.00         981.90              936.68            1,045.15            1,11620           11,188.80
                                                    ZZ-ZZ-Harbin Clinic (14~ Cedartown
                                                   .._._..._.._._..~..~...._._..._......._.._.._.___~_a._.,.,,,....,.~.~.._~.....m._........_......................_..._,_...........~__..._..~_._.._._...._.___._._.......,...__......._..v.._.__....~.~_.                                                                                                            ,._..
                                                                                                                                                                                                                                                                                                      ,_.,....._......._._.._._._._._....~.~.._.........._....______.~..
                                                                                                                                                                                                                                                             ..._.._..........~._..~_.,.___...__..~_...                                                                         .._..._.~...,...._...._____~___.._....._______...~..,......_..___~__._...._.
                                                    Grand Totai                                                                                                                 S,6Q6,611.62 5,257,339.04 5,953,954.08 5,420,059.66 5,296,44895' S,294,441J3 4,908,660.61 5,616,787.68 5,370,261.34 5,461,505.67 5,343,448.19 5,235,452.44 64,764,971.01
                                             11/2/2018 10:30 AM                                                                                                                                                                                                                                                                                                                             F:\CFO\Crown\APA Requests\Pounds by customer 2017
                                      FiscalYear                                                                  2018                      t Qom.           ~            ~ `~"~~~~~                    ~~
                                                                                                                                                                                                                                                                                         Total YTD
Desc




                                                                                                                                                                            Sum       APR~_d Sum of.,MAY Sum of1UN            Sum of 1UL                   ,,a_,.... Sum
                                                                                                                                                                                                                                                 Sum of_ AUG           _ of  SEP         9/30/2018
                                       Row Labels                         .~. ~            _~....~ ~~ .._ ~.~ A   Sum
                                                                                                                  ._m. of
                                                                                                                        ~.1AN          Sum
                                                                                                                            ~ ._.~. _,~,. _~ of__FEB       Sum
                                                                                                                                                           ~   of ,~MAR
                                                                                                                                                                      a..     m._,of
                                                                                                                                                                                   ~_.~_                              e..,. _ _~..~.      ~_ ~~                           _ _.._ ._
                                       ABC Hospital - IS&T Test Account                                                       0.00            (11739)                 0.00              0.00           0.00            0.00               0.00              0.00                 0.00          (1ll.39)
                                       ABM -Lanier -Hunt Airport Parking Atlanta                                           700.60               772.60            818.00             859.40         912.20         75.60               855.60           752.40              610.00            6,996.40
                                                                                                                               0.00                 0.00              0.00              0.00           0.00            0.00               0.00              0.00                 0.00              0.00
                                       Albany Dermatology Clinic
Entered 12/21/18 12:13:35




                                       AMH Ambulatory Care Center                                                       6,239.03              6,158.51          6,604.97          4,498.84       6,606.72        4,85937            5,26639          8,063.69             5,462.29          53,759.81
                                       AMH Archbold Primary Care                                                               0.00              105.20             57.70               0.00        270.90         197.40                51.20            30.00             144.70              857.10
                                                                                                                           569.21                787.87            867.88            832.45       1,175.10         906.09              880.59         1,154.43              833.80            8,007.42
                                       AMH Archbold Sleep Center
                                       AMH Bainbridge Specialty Clinic                                                     310.78                16035             377.35            211.96         186.15         244.59              341.71           28037               277.73            2,390.99
                                                                                                                        7,475.86              6,520.90          7,357.67          6,811.56        5,564.69       6,547.55            7,569.02        6,337.61             5,711.72          59,89b.58
                                       AMH Brooks County Hospital
Page 182 of 229




                                                                                                                           239.58                323.88            312.54            259.09          169.02        264.78              18132            301.88              178.72            2,230.81
                                       AMH Cardio Consultants of South Georgia
                                       AMH Glenn-Mor Nursing Home                                                       9,185.69              8,862.64        10,575.05           9,540.47        9,567.97     10,629.17             9,973.21         9,902.30            8,345.70          86,582.20
                                       AMH Grady General Hospital                                                      19,411.20             15,650.61        15,656.04          16,958.43      15,206.65      14,665.17           16,075.74        17,160.15           14,629.41          145,413.40
                                       AMH Lewis Hall Singletary Oncology Center                                        4,329.56              4,806.67          4,761.73          3,583.15        4,931.11       4,371.23            3,765.92         3,818.22            2,749.66          37,117.25
                                       AMH Mitchell Convalescent Center                                                  1,381.09             4,154.61          4,614.77          4,264.76        4,60835        4,306.20            4,600.66         5,089.37            4,225.78          37,245.59
                                       AMH Mitchell County Hospital                                                    11,860.71              8,222.62        10,146.05          10,297.84      10,843.92        9,331.95          10,713.21        10,111.57             8,707.94          90,235.81
                                       AMH Northside Center for Behavioral &Psychiatric Care                             1,416.34              2,457.77          1,164.88          2,330.46       2,58134        3,840.94            2,396.80         2,000.05            2,726.80          20,915.38
                                        AMH Pelham Parkway Nursing Home                                                10,45235               9,307.47         11,200.96         10,374.18        9,934.91     11,127.80           10,857.63        12,133.84           10,068.99           95,458.13
                                        AMH South Georgia Surgical Associates                                                 60.00                  0.00             0.00               0.00           0.00           0.00                0.00             0.00                  0.00            60.00
                                        AMH Thomasville Physical Therapy                                                 1,150.75              1,431.80          1,219.35          1,284.75       1,040.90       1,199.08            1,371.75         1,284.43            1,05635           11,039.16
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                        AMH Urgent Care &Corporate Care Centers                                             882.19             1,018.84            754.08             613.27         841.56        753.32              682.52           639.93              737.03            6,922.74
                                        AMH Wound Management & Hyperbaric Medicine                                          620.84               577.14            400.10            435.98          443.52         245.50             580.76           414.54              439.62            4,158.00
                                        Amtren Medical Transportation, Inc.                                              4,640.50              3,508.50          1,448.70          1,888.40       1,763.10              0.00               0.00              0.00                 Q.00      13,249.20
                                        Amtran Medical Transportation, Inc.                                                     0.00                 0.00              0.00              0.00           0.00      1,662.50           3,433.06         2,056.00              460.50            7,612.06
                                        AnMed Cannon Memorial Hospital                                                 12,075.00             10,377.00           9,321.00          9,841.00     11,804.00        9,648.00          10,435.00        11,743.00             9,978.00          95,222.00
                                        AnMed Health Medical Center                                                   154,672.00            135,320.00       146,587.00         141,489.00     147,507.00     143,337.00          141,206.00       146,464.00          13fi,193.00       1,292,775.00
                                        AnMed Health North Campus                                                      41,849.00             35,534.00         39,018.00         36,207.00       39,869.00      35,637.00          36,785.00        42,032.00           34;611.00          341,542.00
                                        AnMed Health Sleep Lab                                                              303.00                355.00            465.00            294.00         498.00         383.00             448.00            300.00              342.00           3,388.00
                                        AnMed Health Wound and Hyperbaric Medicine                                          543.00                320.00            936.00            531.00       1,011.00         536.00             919.00           755.00               462.00           6,013.00
                                        Archbold Memorial Hospital                                                    163,904.97            140,146.42       133,903.75         132,571.13     123,733.94     125,161.28          117,633.77       116,309.95          112,746.55        1,165,911.76
                                        BG Neurology                                                                          42.00                 17.00              0.00             43.00          35.00            0.00             52.00               0.fl0              51.00            240.00
                                        Carlton Breast Center at Meredyth Place                                               70.00                  0.00              0.00              1.00          30.80          44.17             380.50        1,154.01            1,048.10             2,728.58
                                        Carolina Center for Behavioral Health                                           11,301.00             10,013.00        11,460.00           9,639.00      12,847.00      11,308.00          12,275.00        12,064.00            11,502.00         102,409.00
                                        Carolina Orthopaedic &Neurological Associates(MRI)                                   284.00               230.00            310.00            312.00          342.00        314.00              342.00           228.00              389.00            2,751.00
                                        Center for Advanced Rehabilitation                                              18,213.92             13,243.78         20,522.60         17,848.23      17,179.40              0.00               0.00              0.00                 0.00       87,007.93
                                        Center for Advanced Rehabilitation                                                      0.00                  O.QO             0.00               0.00     1,593.23     12,096.06           21,419.08       15,915.40            12,30337            63,327.14
                                         Center for Advanced Rehabilitation-SACU3rdFloor                                  6,866.88              1,959.95          2,835.01          4,135.86       2,648.84             0.00               0.00              0.00                 0.00       18,446.54
                                         Center for Advanced Rehabilitation - SACU 3rd Floor                                    0.00                  0.00             0.00               0.00           0.00     1,205.52          10,612.52          1,449.82                   0.00       13,267.86
                                         Glarus Linen Systems -Rome                                                             0.00                  0.00             0.00               0.00           0.00           0.00               0.00              0.00                 0.00              0.00
                                         Dunwoody Urgent Care                                                                34230                183.68             258.70            158.10         10430         120.15              163.90           17530               142.50            1,658.93
                                         Eden Terrace of Spartanburg                                                      2,152.00              1,678.00          1,715.00          1,471.00       1,840.00       2,183.00            1,548.00         2,260.00            1;671.00          16,518.00
                                         EP Star Wipers, Inc. -RAGS                                                              0.00                 0.00              0.00      23,195.00              0.00   23,205.00                   0.00     27,491.00           26,876.00         100,767.00
                                         Family Medical Center                                                               567.20                321.00            226.00            345.00         360.00        438.30              574.00           253.60              645.20            3,730.10
                                         FGPG Shakerag Hill                                                                    53.90                74.40            130.80            135.80         11030            15.40              67.95          350.70               114.05             85330
                                         FGPG Yorktown I (Ste 100)                                                           266.60                404.28            341.50            33230          514.10        435.40            1,079.97           501.14              616.90            4,492.19
                                         FGPG Yorktown III (STe 207)                                                           70.58                96.40            100.20             80.40         116.00          92.80               91.40            75.90                 46.00           759.68
                                         Fort Jackson                                                                  127,258.52            134,350.16       130,542.87         124,704.66     127,052.74     138,310.75         174,364.09       202,518.88                     0.00   1,159,102.67
                                         Fort Jackson                                                                            0.00                 4.00              0.00              0.00           0.00            0.00               0.00              0.00       51,205.00           51,205.00
                                         Fresenius Medical Care of Decatur                                                 1,199.46                969.13         1,374.58          1,061.20        1,27030          642.65             997.95         1,320.36              967.59            9,803.22
                                                 11/2/2018 10:30 AM                                                                                                                                                                       F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                      FiscalYear                                                        ZQlg
                                                                                                                                                                                                                                                                      Total YTD
Desc




                                                                                                                                                                                                                        of 1UL _..,. Sum of AUG     Sum of,.~_
                                                                                                                                                                                                                                                            SEP      9/30/2018
                                      Row Labeis - u_._._~.~~__-____~           ____ ~.,m__       w   _, Sum of___..,          of FEB
                                                                                                                     JAN _ Sum .._~  ..__,w..._.._,   of MAR
                                                                                                                                              Sum. _.m..  .      w_.~_~of APR
                                                                                                                                                                Sum         _     Sum
                                                                                                                                                                                   ~__ of MAYw_. Sum_. of~_~_
                                                                                                                                                                                                           JUN_    Sum.._...~..~
                                                                                                                                                                                                                                              _ _.. w.~
                                                                                                         ..,..._                                      3,258.00         2,115.75         2,844.00       1,030.50         2,404.50         2,604.00         2,404.50      20,435.55
                                      fresenius Medical Care of Duluth-Lawrenceville                              1,952.55     1,821.75
                                                                                                                  1,461.60      1,428.00              2,199.00         1,441.20         1,972.95       1,195.80         1,516.20         1,971.60         1,521.60      14,707.95
                                      Fresenius Medical Care of Honey Creek
                                                                                                                  2,058.30      1,750.70              2,295.50         1,44030          2,175.50       1,410.30         2,39735          1,915.90         1,210.80      16,654.65
                                      Fresenius Medical Care of South DeKalb/Rockdale
Entered 12/21/18 12:13:35




                                                                                                                       0.00          0.00                 0.00              0.00            0.00             0.00              0.00        913.40             0.00         913.40
                                      Georgia Baptist College of Nursing -Mercer University
                                                                                                                       0.00        17.50                  0.00              0.00            0.00             0.00              0.00           0.00            0.00           17.50
                                      Georgia Breast Surgery, PC
                                                                                                                 14,921.00    11,906.00              18,686.00       12,743.00         14,388.00      14,834.00        14,109.00        14,666.00        15,357.00     131;610.00
                                      Georgia Regional Hospital
                                                                                                                      56.65        24.00                 30.80             15.40            0.00             0.00             15.40          87.58           10.00         239.83
                                      Georgia State University Student Health Clinic
                                                                                                                    626.00        821.75                972.25           949.90           573.45          714.40         1,151.55          575.85           960.90       7,34fi.05
                                      Goldstar EMS
Page 183 of 229




                                                                                                                       0.00           0.00                 0.00             0.00            0.00             0.00              0.00           0.00            0.00            0.00
                                      Greenwood Regional Rehabilitation Hospital
                                                                                                                      79.00         45.00               122.00              0.00          124.00            79.00              0.00           0.00            0.00         449.00
                                      Home Hospice Nurses -Direct Sale
                                                                                                                     288.00       758.00                875.00           380.00           412.00          685.00            587.00         535.00           826.00       5,346.00
                                       Hospice of Laurens County
                                                                                                                  4,470.00      3,430.00              4,133.00         3,429.00         2,877.00       1,709.00          3,030.00        2,651.00         2,354.00      28,083.00
                                       Hospice of the Upstate
                                                                                                                  4,106.65      3,990.07              4,784.49         3,802.03         4,271.91       4,088.46          4,202.88        4,451.54         3,764.22      37,452.25
                                       Houston Health Pavilion
                                                                                                               153,100.78    136,010.30             156,511.73      141,834.26        144,153.24   137,363.14         143,086.72       149,678.11       131,352.56   1,293,090.84
                                       Houston Medical Center
                                                                                                                 22,708.38    20,420.78              22,031.55       26,791.17         21,058.95      21,596.81        25,196.87        24,613.48        20,546.91     204,964.90
                                       Houston Perry Hospital
                                                                                                                   7,108.44     6,112.51               7,726.65         7,50420         7,952.76        7,773.17         5,251.98        8,019.81         7,367.51      64,817.03
                                       Houston Surgery Center
                                                                                                                 11,351.07    10,502.95              11,616.41       12,759.70         12,472.52      12,244.06        13,093.85        14,076.06        10,671.48     108,788.10
                                       Joe-Anne Burgin Nursing Nome
                                                                                                                      64.61         30.80                 15.40            15.40           30.80            23.10             23.10          87.50            0.00          290.71
                                       Judson G. Black, MD LlC
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                        0.00          0.00                 0.00              0.00           0.00              0.00              0.00           0.00           0.00            0.00
                                       Linen Replacement in Excess of Allowance (EP)
                                                                                                                        0.00          0.00                 0.00              0.00           0.00              0.00              0.00           0.00           0.00            0.00
                                       Linen Replacement in Excess of Allowance (SPAR)
                                                                                                                        0.00          0.00                 0.00              0.00           0.00              0.00              0.00           0.00           0.00            0.00
                                       Linen Replacement in Excess of Allowance (TRIST)
                                                                                                                        0.00           0.00               73.00              0.00          43.00              0.00              0.00        176.00           37.00          329.00
                                       Lung &Chest Medical Associates
                                                                                                             38,690.57         31,788.47        37,642.87        36,995.19        38,340.40        34,965.65        35,784.46        34,583.72        35,649.43       324,440.76
                                                 Martin Army Hospital
                                                                                                                    0.00          387.99           445.47           241.30           455.67           212.21            256.51           422.14           349.07         2,77036
                                                 Midtown Neurology PC
                                                                                                               5,136.00         4,842.00         6,483.00         4,416.00         5,755.00         5,551.00         5,207.00          5,226.00         5,542.00        48,158.00
                                                 Moncrief Army Health Clinic
                                                                                                                 684.21           632.13           808.55           790.44           946.03           593.64            683.52           562.84           603.29         6,304.65
                                                 Moody Air Force Base Clinic
                                                                                                                    0.00             0.00             0.00             0.00             0.00             0.00             0.00             0.00             0.00             0.00
                                                 Morningside of Albany
                                                                                                                  71.00              0.00          122.00              0.00          121.00              0.00           116.00           210.00           226.00           866.00
                                                 Orthopedic Specialties
                                                                                                                    9.00             0.00             0.00             0.00            30.00             0.00             0.00             0.00             0.00            39.00
                                                 Palmetto Hemtology Oncology -Union
                                                                                                                  40.00              0.00            29.30             0.00             0.00            33.40             0.00             930              0.00           112.00
                                                 Phoebe Community Benefit
                                                                                                                    0.00          178.65           289.05           194.00            291.65           194.00           141.06           475.70           242.50         2,006.61
                                                 Phoebe Community Care Clinic
                                                                                                               3,148.43         2,557.91         3,153.16         3,24935           3,467.23         2,787.43         3,092.14         2,847.05         3,035.68        27,33838
                                                 Phoebe Diagnostics Imaging Center
                                                                                                                 790.65           280.47           80734             181.91           412.20           828.25           33530            52036            655.53         4,812.01
                                                 Phoebe East
                                                                                                               4,752.79         3,72330          3,778.62         4,091.38          3,870.36         4,084.96         2,590.56         3,807.84         2,093.47        32,793.28
                                                 Phoebe Endoscopy Center
                                                 Phoebe Family Medical Center -Albany                            100.27              0.00            84.80           132.27            54.07            86.07            52.80           153.13           134.78           798.19
                                                 Phoebe Family Medical Center -Camilla                             26.10            70.25             0.00            88.50             0.00            43.70            90.05             0.00            83.60           402.20
                                                 Phoebe Family Medical Center -Laurel Place                       257.75            53.90            32.00           191.95           179.00            89.75            91.75           358.80              0.00        1,254.90
                                                 Phoebe Family Medical Center -Pelham                              70.80             0.00             0.00            59.25             0.00             0.00              o.00             0.00             0.00          130.05
                                                 Phoebe Gastroenterology Associates                                 0.00           100.00             0.00             0.00           100.00            80.00              0.00          100.00           100.00           480.00
                                                 Phoebe Healthworks                                             1,700.00         2,593.00         2,089.40         1,521.00         1,947.00         2,208.00         1,957.40         1,992.25         2,359.85        18,367.90
                                                 Phoebe Infectious Disease                                         60.00             0.00             0.00            80.00              0.00             0.00             0.00             0.00             0.00          140.00
                                                 Phoebe Neurology Associates                                       40.00             0.00            40.00             0.00              0.00             0.00             0.00             0.00           80.00           160.00
                                                 Phoebe Neurosurgical Associates                                   32.00           147.08           134.50           153.49            83.25           134.24           166.50           153.75           147.16         1,151.97
                                                 Phoebe Northwest                                               1,546.08         2,038.77         2,616.62         2,382.85         2,685.78         2,201.44         1,172.85         2,122.93         1,865.69        18,633.01
                                                 Phoebe Orthopaedic Specialty Group                               619.00           270.00           275.25           104.60           285.00           291.05           429.55           289.60           300.00         2,864.05
                                                 Phoebe Putney Memorial Hospital (Main Campus)               280,535.88       222,939.89       243,138.01       246,440.83       244,872.73       233,676.00       226,037.17       252,305.83        240,907.17     2,190,853.51
                                                 Phoebe Putney Memorial Hospital (North Campus]                33,484.63        33,161.64        26,888.90        25,629.82        27,627.84        26,586.34        23,548.43        31,653.99        24,238.68       252,820.27
                                                 11/2/2018 10:30 AM                                                                                                                                                      F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                     FiscalYear
                                                                                                                                                                                                                                                                            Total YTD
Desc




                                                                                                                                                                                          of MAY..,w         JUN - Sum
                                                                                                                                                                                                     'Sum of_._           of JUl       Sum   of AUG Sum_ of~_    SEP        9/30/2018
                                      _Row.. _Labels   '
                                               ~ ,.>.,.,.~ _..__... _ _,~~_.w   __.w_     ~>. ~~.._„ ~   _._..., Sum of 1AN
                                                                                                                      m...        ,_ of
                                                                                                                                 Sum     FEB
                                                                                                                                      .~....      ~ ,_ of MAR
                                                                                                                                                 Sum                   ~ _ pf APR
                                                                                                                                                              __. .m,mSum      ~ _.~, Sumee,.~.,...                    ~~~.            _.m.,_.r._
                                                                                                                           0.00            0.00            42.61                 0.00            0.00           0.00            0.00                0.00           0.00              42.61
                                       Phoebe Rheumatology
                                                                                                                           0.00            0.00             0.00                 0.00            0.00           0.00            0.00                0.00           0.00                0.00
                                       Phoebe Sickle Celi Clinic
                                                                                                                     2,119.27         1,463.37         1,566.42            1,839.11        1,584.03       1,525.78        1,818.41            1,024.13       1,456.65          14,397.17
                                       Phoebe Sleep Disorders Center
Entered 12/21/18 12:13:35




                                                                                                                    43,403.94       31,589.54         36,093.06           35,813.84      35,540.65       33,473.66       35,495.93          39,525.50       31,45133         322,385.45
                                       Phoebe Sumter Medical Center
                                                                                                                        864.50          589.25           660.95               659.75         506.00          256.25           71.75             239.50          226.75           4,074.70
                                       Phoebe Sumter OB/GYN
                                                                                                                        256.00          256.00           256.00               256.00          320.00         256.00          192.00             320.00          256.00           2,368.00
                                       Phoebe Sumter Orthopedics
                                                                                                                        256.25            61.50            82.00              223.00           61.50            0.00         143.50               61.50         123.00           1,012.25
                                       Phoebe Sumter Surgical Associates
                                                                                                                        602.55          466.28           455.63               415.89         784.79          702.58          508.25             793.78          712.36           5,442.11
                                       Phoebe Sumter Wellness &Education Center
Page 184 of 229




                                                                                                                           0.00            0.00          102.50                  0.00           38.50           0.00          70.50             102.50          102.50              416.50
                                       Phoebe Tower Medical at Meredyth Place
                                                                                                                          66.50            0.00              0.00               55.70            0.00          21.80           36.50               77.50          57.00             315.00
                                       Phoebe Worth Family Medicine -Sylvester
                                                                                                                    11,980.26         5,784.70        10,296.84            7,748.75        9,665.51       6,178.26        6,692.70            9,224.10        6,894.83          74,465.95
                                       Phoebe Worth Medical Center
                                                                                                                        624.00          770.50           576.00               789.50          918.15         984.50          968.50             663.00          420.00           6,714.15
                                       Phoebe Wound Care & Hyperbaric Center
                                                                                                                        707.40          700.50           405.05               639.91          737.54         467.92          799.69             579.02          630.79           5,667.82
                                       Premier Orthopedics
                                                                                                                           0.00            0.00              0.00                 0.00           0.00            0.00           0.00                0.00           0.00                0.00
                                        Randolph Medical Associates
                                                                                                                    80,457.00        72,238.00        75,951.00           80,558.00      81,719.00       77,294.00       80,875.00          82,272.00       77,626.00         708,990.00
                                        Regional Medical Center of Orangeburg
                                                                                                                        967.00           941.00           780.00              594.00       1,342.00          796.00          790.00             752.00          588.00           7,550.00
                                        R MCO Healthplex
                                                                                                                            0.00            0.00             0.00                 0.00        282.00            0.00            0.00                0.00           0.00             282.00
                                        RMCO Healthplex -Holly Hill
                                                                                                                        966.00           881.00           765.00              670.00          828.00         875.00          728.00              828.00         589.00            7,130.OQ
                                        RMCO Healthplex-Santee
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                        638.00           419.00           231.00              330.00          646.00             0.00        265.00              285.00         373.00            3,187.00
                                        RMCO Urgent Care - Bamburg
                                                                                                                   147,166.00       125,721.00       134,994.00          124,030.00     142,303.00      138,148.00      122,417.00         148,265.00      138,102.00       1,221,146.00
                                        Self Regional Medical Center
                                                                                                                      1,999.79         2,111.05         2,711.97            2,055.44       2,698.41        2,960.b2        2,601.61           2,265.78        2,374.70          21,779.37
                                        SFMC Outpatient Imaging &Specialty Care at Camp Creek
                                                                                                                         738.74          696.51           825.65            1,174.25        1,248.43         830.90          732.25           1,41135         1,013.65            8,671.69
                                        SoutheasternlnterventionalPain Associates
                                                                                                                         169.40          154.50           337.46               200.20           96.86            0.00            0.00                0.00           0.00            958.42
                                        Southern Surgical Arts Calhoun
                                                                                                                            0.00            0.00             0.00                 0.00            0.00       391.00        1,231.20              652.30           84.60           2,359.10
                                        Southern Surgical Arts Calhoun
                                                                                                                         401.52          877.00         1,066.52               561.00       1,193.25       1,392.27        1,136.85           1,603.85        1,175.75            9,408.D1
                                        Southwest Georgia OB/GYN
                                                                                                                         338.60             0.00            86.15              249.30           33.50         172.30         274.80              333.80          376.95           1,865.4fl
                                        Southwest Georgia Physical Therapy
                                        Southwest Georgia Regional Medical Center                                      4,702.52        4,599.09         3,530.45            3,768.04        4,054.16       3,901.31        3,791.14           4,110.10        4,489.30          36,946.11
                                        Spartanburg Community College -Central Campus                                    125.00             0.00              0.00              80.00          177.00            0.00            0.00                0.00           0.00            382.00
                                         Spartanburg Community College -Tyger Rlver Campus Duncan                        194.00            99.00           186.00                17.00            0.00           0.00            0.00                0.00           0.00            496.00
                                         SPN Star Wipers, Inc -RAGS                                                         0.00            0.00              0.00                 0.00           0.00           0.00            0.00                0.00           0.00               0.00
                                         Summit Orthopaedic Surgery Center                                             2,143.51        2,170.01         2,519.76            1,808.78        2,31338        1,803.57        3,017.67            2,899.81        2,282.05         20,958.54
                                         Surgery Center at Pelham                                                      4,212.00        5,286.00         5,266.00            5,583.00        4,968.00       4,838.00        3,541.00            4,458.00       4,073.00          42,225.00
                                         SurgiCare Gwinnett                                                            ~99•Z~            600.10            640.20              719.80          896.65         322.45          686.15              790.83         488.16           5,943.54
                                         T3 Labs, Inc.                                                                 578.40             74432            56230               60036           53333          320.66          718.56              753.24         330:63           5,141.80
                                         U nion County Emergency Medical Services                                       81.00             104.00              0.00             120.00          108.00           94.00         101.00                 0.00        113.00              721.00
                                         VAMC Augusta Downtown Division                                            107,421.13         71,227.02       105,252.44           86,663.94              0.00            0.00           0.00                0.00           0.00      370,564.53
                                         VAMC Augusta Downtown Division                                                  0.00                0.00             0.00          3,297.00      81,984.00       66,405.00       67,679.00          82,378.00       63,569.00        365,312.00
                                         VAMC Augusta Uptown Division                                               33,188.10         33,326.46        49,784.40           33,874.16              0.00            0.00           0.00                0.00           0.00       150,173.12
                                         VAMC Augusta Uptown Division                                                    0.00                0.00              0.00          1,156.00     33,590.00       28,565.00       34,765.00          38,203.00       30,910.00         157,189.00
                                          VAMC Charleston                                                           69,034.00         58,099.00        78,830.00           70,863.00       73,373.00      73,869.00       69,488.00          74,334.00       49,691.00        637,581.00
                                          VAMC Columbia                                                             81,487.00         72,862.00        83,408.00           74,412.00       78,536.00      89,241.00       74,220.00          91,816.00       80,961.00         726,943.00
                                          VAMC Dublin                                                               49,117.13         47,800.26        53,100.61           48,137.94       56,181.67      52,514.96       52,523.9b          61,859.81       49,924.83        471,161.17
                                          VITAS Innovative Hospice Care -Duluth                                      2,151.98                0.00              0.00                0.00            0.00           0.00            0.00               0.00           0.00           2,151.98
                                          VITAS Innovative Hospice Care -Stockbridge                                 1,823.54           1,213.19         1,85235             1,656.97        1,868.09       1,275.95        1,696.95           1,537.48        1,687.72          14,612.24
                                          VITAS Innovative Hospice Care Direct Sale                                      0.00                0.00              0.00                0.00            0.00           0.00            0.00                0.00          0.00                0.00
                                          WeIlStar AMC Bone &Joint Specialists                                          36.05               18.70              0.00              33.05           63.84          57.25           44.05               34.16          66.10             353.20
                                          WeIlStarAMC East Point Clinic                                                  0.00                0.00              0.00               12.80          25.60          69.20         307.50              615.00             0.00          1,030.10
                                                 11/2/2018 10:30 AM                                                                                                                                                             F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                      FiscalYear                                                              2018
                                                                                                                                                                                                                                                                                           Total YTD
Desc




                                                                                                                                                                  Sum of APR    _~_ Sum of . MAY          Sum of 1UN                  Sum  of JUL     ..._.~of~~.~
                                                                                                                                                                                                                                                      Sum      AUG Sum      of SEP__W      9/30/2018
                                      Row~..,..labels
                                                ..    ~..~.~__.. d .e_~,.~      _.__.._    ..,,_,   u_..~~~   ~_. of 1AN~._ Sum of FEB
                                                                                                              Sum                            Sum
                                                                                                                                             w..,. ~~of MAR
                                                                                                                                                          ~.~..._~_~_n.~.ti~_                 .__.__.._.._.,.>.~,_.........,,_~~._.~.  .,~.~~                          „.,~._~.._.
                                      WeIlStar AMC Gym                                                             2,211.00        737.00            1,809.00            2,713.50        1,105.50                   1,608.00               2,814.00           804.00         2,412.00         16,214.00
                                      WeIlStar AMC Inman Park Physicians                                                0.00        48.00               37.30                   0.00         32.70                        2'5.60              51.08              6.50            47.50           248.68
                                      WeIlStar AMC Morrow Healthcare                                                 150.65        219.15              278.05               225.70         293.27                       210.89               269.60           307.30           188.90          2,143.51
Entered 12/21/18 12:13:35




                                      WeIlStar AMC Orthopaedic Rehabilitation                                        433.30        386.72              508.35               425.80          227.69                     497.82                395.05           334.54           326.32          3,535.59
                                      WeliStar AMC Primary Care Clinic -Camp Creek                                   222.20        168.91              288.00               188.87          304.15                      286.44               265.10           463.28           197.85          2,384.80
                                      WeIlStar AMC Primary Care Clinic -Cascade                                      118.25           0.00              59.40                 65.80         108.90                        45.65              161.60           228.70           144.90            933.20
                                      WeIlStar AMC Primary Care Clinic -Virginia Highlands                            26.40           0.00                0.00                  0.00           0.00                         0.00                0.00             0.00              0.00            26.40
                                      WeIlStar Atlanta Medical Center                                              9,532.89      6,399.95            6,154.30               666.09          760.42                      597.fl6            1,233.09         6,249.96         7,698.72         39,292.48
Page 185 of 229




                                      Wesley Commons                                                               2,474.00           0.00                0.00                  0.00           0.00                         0.00                0.00             0.00              0.00        2,474.00
                                      Westside Dermatology                                                              0.00          0.00                0.00              454.00          535.00                     fi35.00               453.00           697.00           492.00          3,266.00
                                      Whitten Center                                                             41,848.00     54,587.00           40,111.00            52,871.00       89,628.00                 37,341.00               41,743.00        69,721.00       37,046.00        464,896.00
                                      Willson Hospice House                                                             0.00          0.00             394.04                  30.00      1,257.56                  2,263.18               2,622.96         2,036.17         2,344.82         10,944.73
                                      Wiregrass Rehabilitation Center (I)                                               0.00          0.00                0.00                  0.00           0.00                         0.00                0.00              0.00             0.00             0.00
                                      Wiregrass Rehabilitation Center (II)                                        34,805.38     33,145.25           39,791.03           35,647.70       38,329.12                 34,037.b0               34,481.96        39,974.37       34,277.48        324,489.89
                                      Zero Waste Solutions                                                             8036          86.08               91.64                 86.24        112.96                        81.80              111.36             93.48            85.04           828.96
                                      ZZ-Alliance Rome Internal Laundry                                                 0.00          0.00                0.00                  0.00           0.00                          0.00               0.00              0.00             0.00             0.00
                                      ZZ-AMC Direct Sale                                                                0.00           0.00               0.00                  0.00           0.00                         0.00                0.00              0.00             0.00             0.00
                                      ZZ-AMH Decatur County Dialysis Facility                                           0.00           0.00               0.00                  0.00           0.00                          0.00               0.00              0.00             0.00             0.00
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                      ZZ-Aramark Services                                                           1,382.45       916.50             1,076.00               490.00            0.00                          0.00               0.00              0.00             0.00        3,864.95
                                      ZZ-Asa G. Yancey, Sr., MD Health Center                                           0.00           0.00               0.00                   0.00          0.00                          0.00               0.00              0.00             0.00             0.00
                                      ZZ-Center for Pain and Spine                                                       0.00          0.00               0.00                  0.00           0.00                          0.00               0.00              0.00             o.DD             '0.00
                                       ZZ-Chattanooga Heart Institute -Chattanooga                                       0.00          0.00               0.00                 34.03           0.00                          0.00               0.00              0.00             0.00            34.03
                                       ZZ-Chattanooga Heart Institute -Chattanooga                                       0.00          0.00               0.00                   0.00          0.00                          0.00               0.00              0.00             0.00             0.00
                                       ZZ-Chattanooga Heart Institute -Cleveland                                         0.00          0.00                0.00                  0.00          0.00                          0.00               0.00              0.00             0.00             0.00
                                       ZZ-Chattanooga Heart Institute -Cleveland                                         0.00          0.00                0.00                  0.00           0.00                         0.00               0.00              0.00             0.00             0.00
                                       ZZ-Chattanooga Heart Institute - Hixson                                           0.00          0.00                0.00                  0.00           0.00                         0.00               0.00              0.00             0.00              0.00
                                       ZZ-Chattanooga Heart Institute - Hixson                                           0.00          0.00                0.00                  0.00           0.00                         0.00               0.00              0.00             0.00              0.00
                                       ZZ-CHOA Advanced Pediatrics Radiology at Tullie Road                              0.00          0.00                0.00                  0.00           0.00                         0.00             226.50           335.74              0.00          562.24
                                       ZZ-CHOA Aflac Cancer Center                                                  1,052.20        939.01            1,002.78            1,206.54          797.76                   1,131.28               1,321.50         1,172.13        1,218.54          9,841.74
                                       ZZ-CHOA Alpharetta Hwy                                                         128.26        196.00              185.40                204.3D         137.70                      137.70               143.80            52.40           211.49         1,397.05
                                       ZZ-CHOA at Egleston                                                       167,235.25    173,333.55          197,921.45          165,692.71      181,009.13               183,740.19               181,781.34       181,535.44      170,514.36       1,502,763.42
                                       ZZ-CHOA at Hughes Spalding                                                  28,612.75     25,666.86           31,924.55           31,169.79       27,264.37                 22,123.09              22,017.83        22,284.14        25,461.03        236,524.41
                                       ZZ-CHOA at Scottish Rite                                                  213,199.73    210,086.66          241,334.60          203,680.55      218,284.54                207,045.47              201,067.19       210,766.58      202,290.08       1,907,755.40
                                       ZZ-CHOA at Scottish Rite OUT RAD                                             1,179.10      1,034.45            1,257.10             1,179.60       1,048.90                       996.95             1,040.45         1,165.10         1,258.51        10,160.16
                                       ZZ-CHOA Chamblee Brookhaven Urgent Care                                           0.00          0.00                0.00               478.63         281.24                      33012                475.65           20033            438.84         2,204.91
                                        ZZ-CHOA Cherokee                                                              471.71        403.70              315.97                350.84         323.97                      182.87               429.99           332.95           237.54         3,049.54
                                        ZZ-CHOA Children's Specialty Services                                         20932           61.70             273.40                137.90          68.90                      212.80               240.72          '513.10              0.00         1,717.84
                                        ZZ-CHOA Clinical Research Unit 5th Floor @CAP Building                           0.00           0.00               0.00                  0.00           0.00                          0.00              0.00              0.00            21.08            21.08
                                        ZZ-CHOA Clinics Replacement Scrubs                                               0.00           0.00               0.00                  0.00           0.00                          0.00              0.00              0.00             0.00              0.00
                                        ZZ-CHOA Cobb                                                                  11534           64.85               78.03               130.23          71.60                        71.45              111.92            52.20             38.43           734.05
                                        ZZ-CHOA CPG-Endocrinology                                                         0.00          0.00               0.00                  0.00           0.00                          0.00               0.00          599.58             15:40           614.98
                                        ZZ-CHOA Cystic Fibrosis                                                         45.65         2035                45.10                 45.65         52.80                        8635                43.45            45.65           157.00            542.00
                                        ZZ-CHOA DeKalb                                                                  31.80         31.20               24.fi0                25.80         19.20                         38.40               0.00              0.00            15.60           186.50
                                        ZZ-CHOA Duluth                                                                  26.96         46.60               48.13                 61.60         42.98                        46.78               81.79            5438              20.55           429.77
                                        ZZ-CHOA Ear Nose &Throat                                                          0.00          0.00                0.00                  0.00          0.00                          0.00               0.00            39.60            73.44           113.04
                                        ZZ-CHOA EGL Equipment Lease                                                       0.00          0.00                0.00                  0.00          0.00                          0.00               0.00             0.00             0.00              0.00
                                        ZZ-CHOA EGL Replacement Scrubs                                                    0.00          0.00                0.00                  0.00          0.00                          0.00               0.00             0.00              0.00             0.00
                                            11/2/2018 10:30 AM                                                                                                                                                                           F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                      FiscalYeac                                             [u3x
                                                                                                                                                                                                                                 Total YTD
Desc




                                      Row Labels                                             Sum of 1AN r Sum of FEB         Sum of MAR Sum of APR Sum of MAY Sum of JUN             Sum of JUL     Sum of AUG Sum of SEP       9/30/2018
                                                                                                     5430            10.05           11.00          13.20        24.20       19.20            6.60           0.00      14.90           153.45
                                      ZZ CHOA Executive Park
                                                                                                    219.06         283.53           382.23        284.69       350.53      316.89          372.14         639.82     241.55          3,090.44
                                      ZZ-CHOA Fayette
                                                                                                    595.75         661.29          815.55         597.50       721.21      800.20          695.58         752.06     666.15          6,305.29
                                      ZZ-CHOA Forsyth
Entered 12/21/18 12:13:35




                                                                                                       0.00           0.00             0.00          0.00         0.00         0.00           0.00           0.00       7.70              7.70
                                      ZZ-CHOA General Surgery 1st floor @CAP Building
                                                                                                       0.00           0.00             0.00          0.00         0.00         0.00           a.00           0.00       0.00              0.00
                                      ZZ-CHOA Gynecology 1st floor
                                      ZZ-CHOA Hamilton Mill                                            0.00           0.00             0.00           0.00        0.00         0.00           0.00           0.00     147.20           147.20
                                                                                                       0.00           0.00             0.00           0.00        0.00         0.00           0.00           0.00       0.00              0.00
                                      ZZ-CHOA HS Direct Sale
                                                                                                    529.23         529.78           661.15        447.41       567.35      383.78          416.30         681.36     468.93          4,685.29
                                      ZZ-CHOA Hudson Bridge
Page 186 of 229




                                                                                                      19.80          12.60            19.80         3630         13.20       13.20            0.00           0.00       0.00           114.90
                                      2Z-CHOA Ivy Waik
                                                                                                      19.50          19.90            45.50           0.00       46.10         6.70          52.60          19.50      48.95           258.75
                                      ZZ-CHOA Marietta
                                                                                                  1,147.69       1,05235            938.67        97333      1,274.86      947.12        1,362.96       1,011.55      989.53         9,698.06
                                      ZZ-CHOA Medical Office Bldg
                                                                                                    181.10         156.10           151.36          92.43        92.63       83.51          194.83         126.06     130.13         1,208.15
                                      ZZ-CHOA Mount Zion
                                      ZZ-CHOA Neurology                                               13.20          17.85            14.85           0.00       61.60         8.25          31.90          34.10      41:55           22330
                                                                                                    568.25         430.05           486.10        505.40       474.60       390.60          392.55        465.75      457.11         4,170.41
                                       ZZ-CHOA Neuroscience
                                       ZZ-CHOA North Druid Hilis                                    305.49         379.38           327.85        304.75       306.86      421.82           351.58         285.86     379.18         3,072.77
                                       ZZ-CHOA North Point                                          354.12         291.02           284.62        333.85       347.91       285.26          275.13         398.61     255.21         2,825.73
                                       ZZ-CHOA Old Milton Parkway                                       6.70           0.00             0.00          6.70       19.90       32.70           26.60           0.00       0.00             92.60
                                       ZZ-CHOA Orthotics &Prosthetics                                135.49          78.63          130.00        104.23       159.81       107.55          130.63         120.38      98.13         1,x54.85
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                       ZZ-CHOA Outpatient Surgery Center at Satellite Blvd        1,489.04       1,198.29         1,594.44      1,424.09     1,778.98     1,675.69        1,696.75       1,723.20   1,389.90       13,970.38
                                       ZZ-CHOA Physician Group at Town Center- Orthopedics              0.00         99.40            29.60           7.70       36.30         7.7o          62.70           7.70      57.40           308.50
                                       ZZ-CHOA Primary Care Center-Chamblee                          28230          196.70           239.20       212.30       217.10       290.02          236.70         255.70     199.60         2,129.62
                                       ZZ-CHOA Sandy Plains                                          306.62         162.93           371.81        366.12       195.48      306.65          210.47         239.40      71.93         2,232.41
                                       ZZ-CHOA Satellite Blvd                                     2,424.91       1,598.87         2,715.90      2,42137      2,895.54     2,103.58        2,057.85       2,825.59   2,206.40       21,250.01
                                       ZZ-CHOA Snellville                                               0.00           0.00            41.78         15.80      109.10        29.95           0.00         10530        6.50           308.43
                                       ZZ-CHOA SR Replacement Scrubs                                    0.00           0.00             0.00          0.00         0.00        0.00           0.00           0.00       0.00              0.00
                                       ZZ-CHOA Surgery Center at Meridian Mark Piaza             14,61536       14,796.23        17,026.49     16,657.18    15,950.96    18,339.06      17,237.69      16,235.95   12,986.66      143,845.58
                                        ZZ-CHOA Suwanee                                                13.40          13.40              6.70        13.40        13.40       13.40            6.70         13.40       0.00             93.80
                                        ZZ-CHOATown~enter                                          3,045.48      2,523.58         2,648.80      3,165.95     2,660.68     2,302.85        3,032.95       2,719.72   2,386.14       24,486.15
                                        ZZ-CHOA Urgent Care -Hamilton Creek                          124.29         286.90           498.14        198.85       403.59      343.59          234.68         746.97     284.20         3,121.21
                                        ZZ-CHOA Webb Bridge                                        1,941.98       2,086.70        1,980.08      1,801.98     2,078.93     2,218.50        1,350.75       2,365.13   1,754.69        17,578.74
                                        ZZ-Crestview Contract Labor                                      0.00          0.00              0.00          0.00        0.00         0.00           0.00           0.00      0.00              0.00
                                        ZZ-Crestview Direct Sale                                         0.00          0.00              0.00          0.00        0.00         0.00           0.00           0.00       0.00             0.00
                                        ZZ-Crestview Health &Rehabilitation Center                       0.00           0.00             0.00          0.00        0.00         0.00           0.00           0.00       0.00             0.00
                                        ZZ-East Point Grady Health Center                                0.00           0.00             D.00          0.00        0.00         0.00           0.00           0.00       0.00             0.00
                                        ZZ-Floyd Medical Center                                 169,546.70     150,252.54       158,938.26     60,472.85           0.00         0.00           0.00           0.00       0.00     539,21035
                                        ZZ-Floyd Primary Care                                            0.00           0.00             0.00          0.00        0.00         0.00           0.00           0.00       0.00             0.00
                                        ZZ-Fresenius Medical Care of Henry County                  2,016.00       1,828.50         3,603.00      2,161.50     1,359.00    1,063.50             0.00           0.00       0.00       12,031.50
                                        ZZ-Georgia Cancer Center for Excellence                          0.00           0.00             0.00          0.00        0.00         0.00           0.00           0.00       0.00             0.00
                                        ZZ-GH Harris Radiation Therapy Center                         467.81        635.12           536.14        934.87       885.96          0.00           0.00           0.00       0.00         3,459.90
                                         ZZ-GH Harris Radiation Therapy Center                           0.00           0.00             0.00          0.00        0.00         0.00           0.00           0.00       0.00              0.00
                                         ZZ-GH North Georgia Cancer Center                            180.95         242.73           221.23        372.90      336.40          0.00           0.00           0.00       0.00         1,354.21
                                         ZZ-GH North Georgia Cancer Center                               0.00           0.00             0.00          0.00        0.00         O.aO           0.00           0.00       0.00              0.00
                                         ZZ-GH Northwest Georgia Women's Care                          59.80          59.80             45.30        65.95        78.90         O.QO           0:00           0.00       0.00           309.75
                                         ZZ-GH Northwest Georgia Women's Care                            0.00           0.00             0.00          0.00        0.00         0.00           0.00           0.00       0.00              0.00
                                         ZZ-GHS Contract Labor                                            O.QO          0.00              0.00         0.00         0.00        0.00           0.00           0.00       0.00              0.00
                                         ZZ-GHS Emergency Medical Services                               0.00           0.00              0.00         0.00         0.00        0.00           0.00           0.00       0.00              0.00
                                         ZZ-GMC Academic Internal Medicine Partners                     56.26           0.00            72.00          0.00         0.00     245.00           26.80           0.00       0.00           401.06
                                                 11/2/2018 10:30 AM                                                                                                                       F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                       FiscalYear                                                                   2018
                                                                                                                                                                                                                                                                           Total YTD
Desc




                                                                                                                                                                                                                           of JUL      Sum             Sum of SEP __.
                                                                                                                                                                                                                                            of AUG ,.._..~~_____.~         9/30/2018
                                       Row Labels                                        ,,_   ._,.. .m._.w
                                                                                                                Sum of lAN' Sum of FEB
                                                                                                              ~~~._.         ~.~...__         ~.    Sum of MAR Sum of APR __~,
                                                                                                                                                      _~~    _~.u._    ,
                                                                                                                                                                       ..~_         > Sum  of MAY
                                                                                                                                                                                       _..~_~~                   _.___.Sum
                                                                                                                                                                                                  _.,.___Sum of JUN      ~...,~..       ~..wu
                                              w ~_.._.,.__.~___ . ~~~._..     .__._._...
                                                                                                                                                                          2,991.00          2,187.00         2,435.64      1,174.55             0.00             0.00         16,682.59
                                       ZZ-GMC Breast Center                                                         2,913.15            1,937.95         3,04330
                                                                                                                          0.00               0.00              0.00            0.00             40.00             0.00          0.00            0.00             0.00              40.00
                                       ZZ-GMC Cancer Care Center-Hamilton Mill
                                                                                                                      366.05              414.35            305.25          370.10             55530           441.55         202.55            0.00             0.00           2,655.15
                                       ZZ-GMC Cancer Center - Snellville
Entered 12/21/18 12:13:35




                                                                                                                      555.40              852.90            815.70          824.95             566.75          506.85         541.10            0.00             0.00           4,663.55
                                       ZZ-GMC Cancer Support Center
                                                                                                                          0.00               0.00              0.00            0.00              0.00             0.00          0.00            0.00             0.00                0.00
                                       ZZ-GMC Contract Labor
                                                                                                                          0.00               0.00              0.00            0.00              0.00             0.00          0.00            0.00             0.00                0.00
                                       ZZ-GMC Direct Sale
                                                                                                                    7,311.17            8,132.50        11,859.20         9,713.44        11,362.03         11,790.62       5,847.18            0.00             0.00         66,016.14
                                       ZZ-GMC Glancy Rehabilitation Center
                                                                                                                   17,577.00          25,548.77         25,629.95        26,803.97        25,373.52         21,859.34     14,65133              0.00             0.00        157,443.88
                                       ZZ-GMC Gwinnett Extended Care Center
Page 187 of 229




                                                                                                                      879.55              923.05          1,179.90          748.30             957.63        1,17939          434.43            0.00             0.00           6,302.25
                                       ZZ-GMC Imaging Center at Hamilton Mill
                                                                                                                       767.61             860.75          1,018.80          89033           1,243.64           864.74         469.44            0.00             0.00           6,11531
                                       ZZ-6MC John's Creek Orthopaedic Surgery Center
                                                                                                                     2,448.41           2,686.99          3,796.71        3,746.28          3,88336          3,734.41       1,619.05            0.00             0.00         21,915.21
                                        ZZ-GMC Outpatient Imaging Center
                                                                                                                     1,210.80             497.25          1,52235            692.78            907.00         1,075.20        438.83            0.00             0.00           6,344.21
                                        ZZ-GMC Pain Management Center
                                                                                                                       733.70              612.95           761.00           572.35            725.10         1,230.85        418.05            0.00             0.00           5,054.00
                                        ZZ-GMC SportsRehab
                                                                                                                       193.00              193.00              0.00          226.00            176.00             0.00           0.00           0.00             0.00             788.00
                                        ZZ-GMC Strickland Family Medicine
                                                                                                                           0.00               0.00              0.00         212.45              0.00             0.00           0.00           0.00             0.00             212.45
                                        ZZ-GMC Suwanee Specialty Center
                                                                                                                       631.76              546.60            836.28        1,000.25            753.55           989.00        733.08            0.00             0.00           5,490.52
                                        ZZ-GMC Wound Treatment Center
                                                                                                                   52,922.16           44,177.45        45,193.89        46,297.70         36,420.55               0.00          0.00           0.00              0.00       225,011.75
                                        ZZ-Gordon Hospital
                                                                                                                           0.00               0.00              0.00            0.00        4,148.11        12,199.02            0.00           0.00              0.00         16,347.13
                                        ZZ-Gordon Hospital
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                           0.00               0.00              0.00            0.00              0.00             0.00          0.00           0.00              0.00               0.00
                                        ZZ-Grady Health System (I)
                                                                                                                           0.00               0.00              0.00            0.00              0.00             0.00          0.00            0.00             0.00               0.00
                                        ZZ-Grady Health System (II)
                                                                                                                           0.00               0.00              0.00            0.00              0.00             0.00          0.00            0.00             0.00               0.00
                                        ZZ-Grady Health System lab Coats
                                                                                                                  457,590.00          312,068.00           2,541.00             0.00              0.00             0.00          0.00            0.00             0.00       772,199.00
                                        ZZ-Greenville Health System
                                                                                                                    17,626.00          15,557.00           2,178.00             0.00              0.00             0.00          0.00            0.00             0.00         35,461.00
                                         ZZ-Greenville Health System Scrubs
                                                                                                                    18,887.00              478.00               0.00            0.00              0.00             0.00          0.00            0.00             0.00         19,365.00
                                         ZZ-GrHS Greenville Memorial Medical Campus
                                                                                                                          28.00              45.00              0.00            o.00              0.00             0.00          0.00            0.00             0.00              73.00
                                         ZZ-GrHS Greer Memorial Hospital
                                                                                                                        487.00              378.00              0.00            0.00              0.00             0.00           0.00           0.00              0.00           865.00
                                         ZZ-GrHS Hillcrest Memorial Hospital
                                                                                                                           0.00                0.00             0.00            0.00              0.00             0.00           0.00           0.00              0.00               0.00
                                         ZZ-GrHS MDC Direct Sale
                                                                                                                            0.00               0.00             0.00            0.00              0.00             0.00           0.00           0.00              0.00               0.00
                                         ZZ-GrHS North Greenville Hospital
                                                                                                                            0.00               0.00              0.00           0.00              0.00             0.00           0.00           0.00              0.00               0.00
                                         ZZ-GrHS Patewood Medical Campus
                                                                                                                            0.00               0.00              0.00           0.00              0.00             0.00           0.00           0.00              0.00               0.00
                                         ZZ-GrHS Patewood Memorial Hospital
                                                                                                                          15.00              42.00               0.00           0.00              0.00             0.00           0.00           0.00              0.00             57.00
                                         ZZ-GrHS Pediatric Specialists -Duncan
                                                                                                                        342.00              304.00               0.00            0.00             0.00              0.00          0.00           0.00              0.00           646.00
                                         ZZ-GrHS Pediatric Specialists -North Grove
                                                                                                                        167.00              287.00               0.00            0.00              0.00             0.00          0.00           0.00              0.00           454.00
                                         ZZ-6rH5 Proaxis Therapy Oak Grove
                                                                                                                        397.00              384.00               0.00            0.00              0.00             0.00          0.00           0.00              0.00            781.00
                                          ZZ-GrHS Proaxis Therapy S Pine St
                                                                                                                            0.00               0.00              0.00            0.00              0.00             0.00          0.00           0.00              0.00               0.00
                                          ZZ-GrHS Satellite Accounts
                                                                                                                            0.00               0.00              0.00            0.00              0.00             0.00          0.00            0.00             0.00               0.00
                                          ZZ-GrHS Surgery Center- Boiling Springs
                                                                                                                         339.00             263.00               0.00            0.00              0.00             0.00          0.00            0.00             0.00            602.00
                                          ZZ-GrHS University Medical Group OB/GYN
                                                                                                                            0.00               0.00              0.00            0.00              0.00             0.00          0.00            0.00             0.00               0.00
                                          ZZ-Griffin Center for Pain and Spine, LLC
                                                                                                                         850.00           1,012.50            870.00        1,362.50          1,702.50         2,026.25        770.00             0.00             0.00          8,593.75
                                          ZZ-Gwinnett Medical Center Dietary
                                                                                                                   123,926.24          101,420.07       115,379.40       119,335.11       117,670.31        106,918.71      66,567.55             0.00             0.00       751,217.39
                                          ZZ-Gwinnett Medical Center Duluth
                                                                                                                   356,978.57          308,784.30       341,825.38       327,471.41       329,600.04        338,399.26    175,858.75              0.00             0.00     2,178,917.71
                                          ZZ-Gwinnett Medical Center Lawrenceville
                                                                                                                      2,624.48            2,272.57          2,677.10        2,543.68          2,049.24         2,545.10        747.08             0.00             0.00         15,459.25
                                          ZZ-Gwinnett Surgery Center, LLC
                                                                                                                         551.80                 0.00              0.00           0.00              0.00             0.00           0.00           0.00             0.00            551.80
                                          ZZ-Harbin Clinic(14) Cedartown
                                                                                                                      1,016.58                  0.00              0.00           0.00              0.00             0.00           0.00           0.00             0.00          1,016.58
                                          ZZ-Harbin Clinic (150) Cartersville
                                                                                                                         105.45                 0.00              0.00           0.00              0.00             0.00           0.00           0.00              0.00           105.45
                                           ZZ-Harbin Clinic (330) Physicians Center
                                           ZZ-Harbin Clinic (504) Cardiology                                             714.50                  0.00             0.00            0.00             0.00             0.00           0.00           0.00              0.00           714.50
                                           ZZ-Harbin Clinic (SSO) Specialty                                            1,828.19                  0.00             0.00            0.00             0.00             0.00           0.00           0.00              0.00         1,828.19
                                                 11/2/2018 10:30 AM                                                                                                                                                             F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                         FiscalYear                                                 2018
                                                                                                                                                                                                                                                            Total YTD
Desc




                                                                                                                                                           APR ~Sum                       of JUN _ _ Sum of
                                                                                                                                                                                                         ._ 1UL     Sum  ~.~.of AUG    Sum
                                                                                                                                                                                                                                        .~... of SEF        9/30/2018
                                         Row labels                                                   ~,, of_1AN
                                                                                                    Sum                  of FEB
                                                                                                               ._~ 'Summ..,~~. ~..          ____
                                                                                                                                                    Sum of ..~......
                                                                                                                                       ~. of MAR ___._._,
                                                                                                                                      Sum                            .. .of  MAY
                                                                                                                                                                         ,r,us.     Sum
                                                                                                                                                                                .~. .~... .._~r_._           ~ _ _ ~,...        ~_._              _.,. __
                                                                                                          1,607.70              0.00           0.00          0.00             0.00              0.00           0.00              0.00              0.00        1,607.70
                                         ZZ-Harbin Clinic (Cancer Center) ~~ ~~~~            ~ ~~
                                                                                                          4,770.23              0.00           0.00           0.00            0.00              O.OD           0.00              0.00              0.00        4,770.23
                                         ZZ-Harbin Clinic(Main)
                                                                                                          1,006.50              0.00           0.00           0.00            0.00              0.00           0.00              0.00              0.00        1,006.50
                                         ZZ-Harbin Clinic Dialysis
Entered 12/21/18 12:13:35




                                         ZZ-Harbin Clinic Dialysis -Calhoun                                 256.00               0.00          0.00           0.00             0.00             O.QO           0.00              0.00              0.00          256.00
                                                                                                            256.00               0.00          0.00           0.00             0.00             0.00           0.00              0.00              0.00          256.00
                                         ZZ-Harbin Clinic Dialysis - Summerville
                                                                                                               0.00              0.00          0.00           0.00             0.00             0.00           0.00               0.00             0.00             0.00
                                         ZZ-Harbin Clinic Family Medicine - Adairsville
                                         ZZ-Harbin Clinic Family Medicine - Armuchee                            0.00             0.00          0.00           0.00             0.00             0.00           0.00               0.00             0.00             0.00
                                         ZZ-Harbin Clinic Vein Center                                         65.10              0.00          0.00           0.00             0.00             0.00           0.00               0.00             0.00            65.10
Page 188 of 229




                                         ZZ-Higgins General Hospital                                     18,235.43     16,310.67          16,376.89    11,338.09               0.00             0.00           0.00               0.00             0.00       62,261.08
                                         ZZ-HIX Physical Therapy                                             153.57           174.35         239.28       170.80            468.66              0.00           0.00               0.00            0.00         1,205.66
                                                                                                                0.00             0.00          0.00           0.00             0.00          553.20            0.00               0.04             0.00           553.20
                                         ZZ-HIX Physical Therapy
                                                                                                             678.37           789.70         739.92       873.22            634.91              0.00           0.00               0.00             0.00        3,716.12
                                         ZZ-HIX Sleep Lab
                                         ZZ-HIX Sleep Lab                                                       0.00             0.00          0.00           0.00             0.00        1,237.74            0.00               0.00             0.00         1,237.74
                                         ZZ-Hospital Services, Inc Contract Labor                             o.00             o.00            o.00             o.00            o.00             o.00             o.00            o.00             o.00            o.oa
                                          ZZ-Infectious Disease Program                                       0.00            0.00              0.00           0.00              0.00            0.00             0.00            0.00            0.00              0.00
                                          ZZ-Laurens County Memorial Hospital                                 0.00            0.00               0.00          0.00              0.00            0.00             0.00            0.00            0.00              0.00
                                         ZZ-Linen Replacement in Excess of Allowance(RM)                      0.00            0.00               0.00          0.00              0.a0            0.00             0.00            0.00            0.00              0.00
                                          ZZ-Mary Black Memorial Hospital                               60,836.00        55,433.00        54,737.00       50,259.00        54,730.00       52,717.00        46,847.00             0.00          214.00       375,773.00
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                          ZZ-MBMH Outpatient Therapy Services                               474.00          241.00           497.00          599.00           588.00          276.00              0.00         253.00           225.00         3,163.00
                                          ZZ-MBMH Women's Breast Health Center                              792.00          858.00         1,174.00        1,141.00           911.00        1,379.00         1,055.00          916.00           576.00         8,803.00
                                          ZZ-MEM Atrium Sleep Center                                        924.71          913.13           659.02          872.76           482.88             0.00             0.00            0.00            0.00         3,852.50
                                          ZZ-MEM Atrium Sleep Center                                           0.00            0.00              0.00           0.00             0.00         282.72              0.00            0:00            0.00           282.72
                                          ZZ-MEM Hamilton YMCA                                              383.28          195.24            321.65         417.15           261.38             0.00             0.00            0.00            0.00         1,578.70
                                          ZZ-MEM Hamilton YMCA                                                 0.00            0.00              0.00           0.00             0.00         274.06              0.00            0.00            0.00           274.06
                                          ZZ-MEM Mission Surgery Center                                   1,213.15        1,813.80            820.77         651.94           401.22             0.00             0.00            0.00            0.00         4,900.88
                                          ZZ-MEM Mission Surgery Center                                        0.00            0.00              0.00           0.00             0.00         399.76              0.00            0.00            O.flO          399.76
                                          ZZ-MEM Ooltewah Imaging Center                                  2,353.47        2,893.43          3,196.97       2,891.54         3,143.46             0.00             0.00            0.00            O.flO       14,478.87
                                          ZZ-MEM Ooltewah Imaging Center                                       0.00            0.00              0.00           0.00             0.00       2,047.63              0.00            0.00            0.00         2,047.63
                                           ZZ-Memorial Hixson Hospital                                   52,122.96       50,585.07        52,327.84       47,543.23        42,017.40             0.00             0.00            0.00            0.00       244,596:50
                                           ZZ-Memorial Hixson Hospital                                         0.00            0.00              0.00           0.00        5,208.40       13,286.97              0.00            0.00            0.00        18,49537
                                           ZZ-Memorial Hospital                                         228,257.93      218,84034        242,770.84      227,025.41        32,72339              0.00             0.00            0.00            0.00       949,617.91
                                           ZZ-Memorial Hospital                                                0.00            0.00               0.00          0.00      190,540.35      157,705.64              0.00            0.00            0.00       348,245.99
                                           ZZ-MHI Outpatient Imaging                                          79.96          236.12             92.01         113.28           166.95            0.00             0.00            0.00            0.00            688.32
                                           ZZ-MHI Outpatient Imaging                                           0.00            0.00               0.00          0.00              0.00          86.79             0.00            0.00            0.00             86.79
                                           ZZ-Morrison's Cafeteria at Floyd Medical Center                1,350.00         1,342.50         1,417.50          500.00              0.00           0.00             0.00            0.00            0.00         4,610.00
                                           ZZ-Murray Medical Center                                       9,652.95         8,583.74         7,996.57        7,634.22         8,405.30            0.00             0.00            0.00             0.00       42,272.78
                                           ZZ-Murray Medical Center                                            0.00            0.00               0.00          0.00              0.00       4,456.29              0.00           0.00            0.00         4,456.29
                                           ZZ-NGHS Cleveland White Co. EMS                                   312.10          538.10           419.95          43930            53925           159.60           587.40          246.20             0.00         3,241.90
                                           ZZ-NGHS Contract Labor                                              0.00             0.00              0.00          0.00              0.00            0.00             0.00           0.00             0.00             0.00
                                           ZZ-NGHS Lanier Med Transport                                      296.28          225.79            18135          337.10           377.65          184.55           502.00            0.00             0.00         2,104.72
                                           ZZ-NGHS Lanier Park Wound Care                                  1,371.89          863.71         1,378.06        1,393.74         2,400.72        1,342.18         1,993.20          264.81             0.00       11,00831
                                           ZZ-NGHS laurelwood                                             4,390.11         3,660.29         4,26931         4,657.91         4,485.30        3,92038          4,375.05        1,715.47             0.00       31,474.82
                                           ZZ-NGHS Outpatient Cardiac Rehab                                  274.80          349.80            480:60         310.20           519.60          389.40           648.00           66.00             0.00         3,038.40
                                            ZZ-NGHS Trauma &Acute Care Orthopedics                              0.00            0.00              0.00           0.00             0.00            0.00           26.70             0.00            0.00            26.70
                                            ZZ-NGMC Braselton Equipment Lease                                   0.00            0.00              0.00           0.00             0.00            0.00             0.00            0.00            0.00              0.00
                                            ZZ-NGMC Braselton Equipment Lease                                   0.00            0.00              0.00           0.00             0.00            0.00             0.00            0.00            0.00              0.00
                                            ZZ-Northeast Georgia Medical Center                         318,532.31      271,195.83        215,496.87             0.00             0.00            0.00             0.00            0.00            0.00      805,225.01
                                                 11/2/2018 10:30 AM                                                                                                                                             F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                          FiscalYear                                                        ZQl$
                                                                                                                                                                                                                                                                                 Total YTD
Desc




                                                                                                                                                                                       of MAY Sum         of1UN
                                                                                                                                                                                                              .._~ ,Sum      JUL
                                                                                                                                                                                                                     ~.0of._.w.~...      Sum_.of AUG .   Sum
                                                                                                                                                                                                                                                          ..__a._of SEP~_,..W   9/30/2018
                                         Row   Labels ~..._~.r ~
                                          ~_.>....~_                          w. , _,. ~ ,_       _ .. .~   Sum of    , ~.,Sum
                                                                                                                  ..~JAN      __.~ _of FEB ,._. Sum ,~.._
                                                                                                                                                    of MAR       _ ~ .of APR
                                                                                                                                                           _.._ Sam       _ ....__ Sum.~._.   _     _>..M _w                                   _~.~.
                                                                      _ __                                                               0.00      85,325.00      226,656.00         251,142.00        249,174.00     243,783.00            71,959.00                0.00       1,128,039.D0
                                         ZZ-Northeast Georgia Medical Center                                           0.00
                                         ZZ-Northeast Georgia Medical Center Barrow                            18,467.93          15,126.90        14,252.03        15,849.49         17,575.28          13,554.88     13,996.95            19,955.13         15,474.04           144,252.63
                                         ZZ-Northeast Georgia Medical Center Braseltor                         88,111.56          92,851.43        63,530.81                0.00              0.00             0.00              0.00              0.00              0.00         244,493.80
Entered 12/21/18 12:13:35




                                         ZZ-Northeast Georgia Medical Center Braselton                                  0.00              0.00     23,646.00        67,257.00         77,353.00          75,989.00     70,556.00            28,800.00                0.00         343,601.00
                                         ZZ-Northwest Georgia Women's Care                                          100.10             13320           123.20             69.30           100.10               0.00              0.00              0.00              4.00              525.90
                                         ZZ-Northwest Georgia Women's Care                                              0.00              0.00            0.00              0.00              0.00             0.00              0.00              0.00              0.00                 0.00
                                         ZZ-Pain Care Center of Georgia, LLC                                            0.00              0.00            0.00              0.00              0.00             0.00               0.00             0.00              0.00                 0.00
                                         ZZ-Peachtree Christian Hospice                                                 0.00              0.00            0.00              0.00              0.00             0.00               0.00             0.00              0.00                 0.00
Page 189 of 229




                                         ZZ-Piedmont Newton Hospital                                           62,320.78          56,008.96        58,852.96        53,617.48         55,156.23          48,440.26       (457.60)                  0.00               0.00        333,939.07
                                         ZZ-PNH Imaging Center                                                          0.00              0.00            0.00              0.00              0.00             0.00               0.00             0.00               0.00                0.00
                                         ZZ-PNH Southern Neurology                                                      0.00              0.00            0.00              0.00              0.00             0.00               0.00             0.00               0.00                0.00
                                         ZZ-Polk Medical Center                                                13,908.99           11,903.17       11,870.20          4,364.73                0.00             0.00               0.00             0.00               0.00         42,047.09
                                         ZZ-Polk/Floyd Wound Center                                                 256.91             295.23          524.06             78.88               0.00             0.00               0.00             0.00               0.00           1,155.08
                                         ZZ-RM Star Wipers, Inc. -RAGS                                                  0.00              0.00     25,368.00                0.00              0.00             0.00               0.00             0.00               0.00         25,368.00
                                          ZZ-Spartanburg Regional Medical Center                              268,451.00         243,510.00       274,796.00       254,183.00        168,437.00                0.00               0.00             0.00               0.00      1,209,377.00
                                          ZZ-SpRHS Cardiac Pulmonary Rehabilitation                                  215.00            457.00          207.00            336.00            201.00              0.00               0.00             0.00               0.00           1,415.00
                                          ZZ-SpRHS Child Development Center                                      2,158.00            1,940.00        2,103.00          1,873.00         2,171.00            443.00                0.00             0.00               0.00         10,588.00
                                          ZZ-SpRHS Ellen Sagar Nursing Home                                     15,147.00          12,974.00        14,878.00        13,891.00         14,570.00               0.00               0.00             0.00               0.00         71,460.00
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                          ZZ-SpRHS Emergency Medical Services                                     1,430.00             938.00        1,133.00          1,264.00         1,030.00             166.00               0.00             0.00               0.00           5,961.00
                                          ZZ-SpRHSGibbsCancerCenter-Gaffney                                          280.00            109.00           209.00           320.00              94.00            42.00               0.00             0.00               0.00           1,054.00
                                          ZZ-SpRHS Gibbs Cancer Center -Pelham                                       859.00            822.00         1,354.00         1,154.00         1,018.00             356.00               0.00             0.00               0.00           5,563.00
                                          ZZ-SpRHS MGC Internal Medicine Westside                                      28.00             73.00          103.00             36.00             75.00             0.00               0.00             0.00               0.00             315.00
                                          ZZ-SpRHS North Grove                                                         89.00             46.00          203.00             84.00             57.00             0.00               0.00             0.00               0.00             479.OD
                                          ZZ-SpRHS Ortho Surgery Eastside/Ortho Trauma Services                        12.00               0.00            0.00              0.00            14.00             0.00               0.00             0.00               0.00               26.00
                                          ZZ-SpRH50utpatient Imaging Services -North Grove                        3,440.00           3,739.00         4,900.00         3,960.00         4,703.00           1,168.00               0.00             0.00               0.00         21,910.00
                                          ZZ-SpRHS Pediatric Rehabilitation                                              0.00              0.00            0.00              0.00              0.00            0.00               0.00             0.00               0.00                0.00
                                          ZZ-SpRHS Pelham Medical Center                                        31,563.00           25,251.00       26,656.00        25,502.00         27,189.00                0.00               0.00            0.00               0.00        136,161.00
                                          ZZ-SpRHS PMC Comprehensive Pain Center                                     332.00              18.00            53.00              0.00            46.00              0.00               0.00            0.00               0.00             449.00
                                          ZZ-SpRHS PMC Imaging Services                                           1,617.00           1,756.00         2,168.00         1,658.00          2,280.00            201.00                0.00            0.00               0.00           9,680.00
                                           ZZ-SpRHS Regional Hospice Home                                         2,980.00           2,418.00         3,028.00         2,756.00          2,503.00               0.00               0.00             0.00              0.00          13,685.00
                                           ZZ-SpRHS Regional One Air Medical Service                                 126.00             203.00            94.00          150.00             243.00            82.00                0.00             0.00              0.00             898.00
                                           ZZ-SpRHS Rehab ZF Gray Court                                                18.00             15.00            15.00            27.00               0.00             0.00               0.00             0.00              0.00               75.00
                                           ZZ-SpRHS Rehabilitation -East Spartanburg                                 226.00             296.00          360.00           234.00             441.00            67.00                0.00             0.00              0.00           1,624.00
                                           ZZ-SpRHS Rehabilitation -Pelham Medical Center                              99.00            190.00          253.00           202.00             286.00           101.00                0.00             0.00              0.00           1,131.00
                                           ZZ-SpRHS Rehabilitation -West Spartanburg                                  277.00            476.00          397.00           468.00             292.00            79.00                 0.00            0.00              0.00           1,989.00
                                           ZZ-SpRHS Rehabilitation -YMCA                                           1,101.00           1,023.00          986.00           987.00          1,516.00            233.00                 0.00            0.00              0.00           5,846.00
                                           ZZ-SpRHS Restorative Care LTC                                         10,294.00          10,316.00         9,988.00        10,477.00          9,251.00               0.00                0.00            0.00              0.00          50,326.00
                                           ZZ-SpRHSTransportationGarage                                                  0.00              0.00          117.00           138.00            100.00              0.00                0.00            0.00              0.00             355.00
                                           ZZ-SpRHS Union Medical Center                                         13,095.00          10,812.00        11,737.00        10,061.00          8,909.00               0.00                0.00            0.00              0.00          54,614.00
                                           ZZ-SpRMC Replacement Scrubs                                                   0.00              0.00             0.00             0.00              0.00             0.00                0.00            0.00              0.00                0.00
                                           ZZ-SpRPG Center for Family Medicine - Chesnee                                55.00             53.00           44.00             39.00            85.00              0.00                0.00            0.00              0.00             276.00
                                           ZZ-SpRPG Corporate Health -Greer                                           183.00            223.00           228.00           183.00            138.00            86.00                 0.00            0.00              0.00           1,041.00
                                           ZZ-SpRPG Ear, Nose, and Throat -Spartanburg                                   0.00               0.00            0.00              0.00             0.00             0.00                0.00            0.00               0.00               0.00
                                            ZZ-SpRPG Family Medicine -Converse Heights                                   0.00               0.00            0.00            39.00              0.00             0.00                0.00            0.00               0.00              39.00
                                            ZZ-SpRPG Family Physicians - 290                                            72.00             50.00           77.00           154.00              37.00             0.00                0.00            0.00               0.00             390.00
                                            ZZ-SpRPG Family Physicians -Boiling Springs                               185.00              76.00          144.00           135.00              82.00             0.00                0.00            0.00               0.00             622.00
                                            ZZ-SpRPG Family Physicians -Landrum                                       187.00              89.00          216.00             80.00              0.00             0.00                0.00            0.00               0.00             572.00
                                                 11/2/2018 10:30 AM                                                                                                                                                              F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                       FiccalYear <                                                                                          2018
                                                                                                                                                                                                                                                                                                      Total YTD
Desc




                                                                                                                                                                                                                                                        oflUL
                                                                                                                                                                                                                                                   Sum,..,_u..._           AUG_. Sum
                                                                                                                                                                                                                                                                    Sum of~.~.~          of SEP       9/30/2018
                                       Row  labels .,.....                                                                        _.~_~..    Sum   of JAN        Sum of FEB_ _ Sum
                                                                                                                                              n ~~..._.__~m.~.~~..~_~...___...~
                                                                                                                                                                                      of MAR
                                                                                                                                                                                  _ __~..      Sum of APR
                                                                                                                                                                                            __ .,.~ _    ..~„~ Sum
                                                                                                                                                                                                                 .  of MAY
                                                                                                                                                                                                                  ,...,           .,._ of.,,1UN
                                                                                                                                                                                                                         _.~.. __Sum         .,,~                                  _ __.µ~_ ____ __
                                        ~_...~.              .,.w     _ . _ _____ -.~_, _                              ~._.
                                                                                                                                                                                                                                                                              0.00            0.00         507.00
                                                                                                                                                       84.00               111.00         0.00        312.00            0.00                  O.OD             0.00
                                       ZZ-SpRPG Inman Family Medicine
                                                                                                                                                     137.00          235.00           279.00          207.00           304.00            42.00             0.00             0.00             0.00        1,204.00
                                       ZZ-SpRPG Internal Medicine -Greer
                                                                                                                                                      55.00           28.00            27.00            46.00           69.00              0.00            0.00             0.00             0.00          225.00
                                       ZZ-SpRPG Magnolia Plastic Surgery -Greer
Entered 12/21/18 12:13:35




                                                                                                                                                     202.00          107.00           226.00           178.00          114.00            64.00             0.00             0.00             0.00          891.00
                                       ZZ-SpRPG Magnolia Plastic Surgery -Spartanburg
                                                                                                                                                       0.00             0.00            0.00             0.00             0.00             0.00            0.00             0.00             0.00            0.00
                                        ZZ-SpRPG MGC OB/GYN -Union
                                                                                                                                                     463.00          278.00           421.00           600.00          171.00           176.00             0.00             0.00             0.00        2,109.00
                                        ZZ-SpRPG MGC Occupational Health - Westside
                                                                                                                                                       0.00             0.00            0.00             0.00             0.00             0.00            0.00             0.00             0.00            0.00
                                        ZZ-SpRPG MGC Pediatrics -Union
                                                                                                                                                       0.00            79.00           56.00             0.00            16.00             0.00             0.00            0.00             0.00          151.00
                                         ZZ-SpRPG Pacolet Family Medicine
Page 190 of 229




                                                                                                                                                       0.00            66.00           20.00             0.00            17.00             0.00             0.00            0.00             0.00          103.00
                                         ZZ-SpRPG Palmetto Pediatrics -North Grove
                                                                                                                                                       0.00            14.00             0.00           62.00            26.00             0.00             0.00            0.00             0.00          102.00
                                         ZZ-SpRPG Palmetto Pediatrics -West
                                                                                                                                                     307.00          119.00           371.00           183.00          610.00              0.00             0.00            0.00             0.00        1,590.00
                                          ZZ-SpRPG PMC Center for Women
                                                                                                                                                       0.00            58.00          366.00             0.00             0.00             0.00             0.00            0.00             0.00          424.00
                                           ZZ-SpRPG Spartanburg Internal Medicine
                                                                                                                                                     126.00           225.00          246.00            92.00           181.00          117.00              0.00             0.00            0.00          987.00
                                           ZZ-SpRPG Weight Loss Services
                                                                                                                                                     519.50           433.05          12130               0.00            0.00             0.00             0.00            0.00             0.00        1,073.85
                                           ZZ-STARK Breast Center at Medical Mall
                                                                                                                                                     313.70           278.23          135.45              0.00            0.00             0.00             0.00             0.00            0.00          727.38
                                           ZZ-STARK Outpatient Physical Therapy
                                                                                                                                                  26,154.88       21,723.83         9,160.04              0.00            0.00             0.00             0.00             0.00            0.00       57,038.75
                                            ZZ-Starr Regional Medical Center
                                                                                                                                                       0.00             0.00             0.00             0.00            0.00             0.00             0.00             0.00            0.00            0.00
                                            ZZ-STARRReplacement5crubs
                                                                                                                                                     463.83          400.13             37.90             0.00            0.00             0.00             0.00             0.00            0.00          901.86
                                            ZZ-STARK Sleep lab
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                                    6,521.73        5,22434         7,119.91         3,460.73             0.00             0.00             0.00             0.00            0.00       22,326.71
                                            ZZ-Tanner Medical Center/Alabama
                                                                                                                                                118,624.83       108,969.99       119,617.40        91,960.55             0.00             0.00             0.00             0.00            0.00      439,172.77
                                             ZZ-Tanner Medical Center/Carrollton
                                                                                                                                                   48,063.91    41,614.03    47,341.75      33,952.29              0.00       0.00          0.00        0.00           0.00  170,971.98
                                             ZZ-Tanner Medical Center/Villa Rica
                                                                                                                                                          0.00       0.00          0.00           0.00             0.00       0.00          0.00        0.00           0.00        0.00
                                             ZZ-TMC Contract Labor
                                                                                                                                                      9,728.82   9,293.07      8,499.13     12,117.24          8,969.20       0.00          0.00        0.00           0.00   48,607.46
                                                 ZZ-Triumph The Specialty Hospital, LLC(Rome, GAj
                                                                                                                                                          0.00       0.00          0.00           0.00         3,562.10  11,398.72          0.00        0.00           0.00   14,960.82
                                                 ZZ-Triumph The Specialty Hospital, LLC(Rome, GA)
                                                                                                                                                  131,790.29   100,532.78   127,674.47     115,941.43      122,833.32   102,695.78    118,900.15  118,404.38       7,372.61  946,145.21
                                                 ZZ-VAMC Atlanta
                                                                                                                                                      8,14639    8,901.76      9,879.93     11,438.16         10,371.01   8,382.05      9,425.53    6,960.46         328.74   73,834.03
                                                 ZZ-VAMC Atlanta Clinic Facility
                                                                                                                                                      3,769.78   3,206.22      3,093.29       2,528.58        11,845.97  10,279.88      6,167.11   12,960.44         303.75   54,155.02
                                                 ZZ-VAMC Ft. McPherson Bldg
                                                                                                                                                      4,703.01   4,981.40      5,269.42           0.00             0.00       0.00          0.00        0.00           0.00   14,953.83
                                                 ZZ-VAMC Trinka Davis Veterans Village
                                                                                                                                                          0.00       0.00          0.00       5,935.95         5,847.63   5,677.20      5,008.95    4,784.21         632.82   27,886.76
                                                 ZZ-VAMC Trinka Davis Veterans Village
                                                                                                                                                                                                                                                      _ 0.00           0.00   44,418.20
                                                 ZZ-WillowbrookeatTanner                                                                            12,029.89   11,598.84
                                                                                                                                                                ~..   .~
                                                                                                                                                                              12,153.25       8,636.22
                                                                                                                                                                           _ ~.. ~_.~,.~. H.. ~        ___ a e _~ ~
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                                     ~        ~u.~.~__-___ 0.00 _
                                                                                                                                                                                                                              0.00                       __._~,,~.~ .m    .~
                                                 __ _.~~. ___~ ~ .~ ~ ~.r ..~,,. ~,m.~v ...~ ,.n.a.e.~ ., w~ .._..~._ ~ ~.e._~.w ~.n.       ._ww___ _ ~ ~ ~
                                                 Grand Total                                                                                    5,270,760.77 4,576,986.03 4,714,721.65 4,196,445.58 4,032,128.92 3,494,818.05' 3,017,187.87 2,723,513.77 2,077,142.05 34,103,704.69
                                                 11/2/2018 10:30 AM                                                                                                                                                                                        F:\CFO\Crown\APA Requests\Pounds by customer 2018
                                                 Ciarus Linen Systems - EASTPOINT                                                                                                                                                                                                          8:38 AM
                                                 Transaction List by Vendor                                                                                                                                                                                                              „~oti2o,8
Desc




                                                 January 2017 through September 2018
                                                                                      Type            Date            Num                                           Memo                                            Account                  Cir             Split            Debit       Credit
                                                           A-1 Products Inc.
                                                                                 Bill Pmt -Check    01/10/2017 4485                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  533.71
Entered 12/21/18 12:13:35




                                                                                 Bill Pmt-Check     02/01/2017 4536                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 1,264.51
                                                                                 Bill Pmt -Check    02/06/2017 4537             po #EP10561                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 1,579.64
                                                                                 Bill Pmt-Check     03/24/2017 4604                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 1,498.10
                                                                                 Bill Pmt -Check    08/11/2017 4729             po #EP10980                                                          1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  1,029.97
                                                                                 Bill Pmt-Check     10/20/2017 4823             po #EP10979                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  950.40
                                                                                                                                                                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
Page 191 of 229




                                                                                 Bili Pmt -Check    12/31/2017                  QuickBooks generated zero amount transaction for bill payment stub
                                                                                 Bill Pmt -Check    12/31/2017                  QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable         0.00
                                                                                 BiII Pmt-Check     03/13/2018 4924                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 3,119.68
                                                           AA Electric, Inc.
                                                                                 Bill Pmt-Check     03!24/2017 4605             po #EP10298 08!26/2016                                               1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                  501.39
                                                           ACA Enterprises
                                                                                 Bill Pmt-Check     01/13/2017 4514             po #EP10450                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                31,262.46
                                                                                 Bill Pmt -Check    02/06/2017 4538             po #EP10576                                                          1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  3,744.00
                                                                                 Bill Pmt-Check     02/24/2017 4570             po #EP10575                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,293.43
                                                                                 Bill Pmt -Check    03/24/2017 4606                                                                                  1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 3,401.02
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                 Bill Pmt-Check     08/11/2017 4730             po #EP10727                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  993.35
                                                                                 Bill Pmt -Check    12/08/2017 4864                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 6,768.18
                                                                                 Bill Pmt -Check    06/30/2018                  QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
                                                           AFLAC(C)
                                                                                 Bill Pmt-Check     01/18/2017 ach01182017      December 2016                                                        1011 ~ Centerstone HSBC Distribution          2010 -Accounts Payable                  5,798.67
                                                                                 Bill Pmt-Check     03/01/2017 ach03012017      January 2017                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,592.66
                                                                                 Bill Pmt-Check     03/22/2017 ach03222017      February 2017                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,343.84
                                                                                 Bill Pmt-Check     04/17/2017 ach04172017      March 2017                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,216.38
                                                                                 Bill Pmt -Check    05/15/2017 ach05152017      April 2017                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,216.38
                                                                                  Bill Pmt-Check    08/11 YZ017 4731            VOID: May 2017                                                       1011 ~ Centerstone HSBC Distribution     J    2010 ~ Accounts Payable        D.00
                                                                                  Bill Pmt -Check   09/15/2017 4773             VOID: June 2017                                                      1011 ~ Centerstone HSBC Distribution     ~    2010 ~ Accounts Payable        0.00
                                                                                  Bill Pmt-Check    09!1512017 4774             VOID: July 2017                                                      1011 ~ Centerstone HSBC Distribution     J    2010 ~ Accounts Payable        0.00
                                                                                  Bill Pmt-Check    09/20/2017 ACH09202017 May 2017                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 6,169.42
                                                                                  Bill Pmt-Check     09/21/2017 ach09212017     June 2017                                                            1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 6,169.42
                                                                                  Bill Pmt -Check    09/21/2017 ach09212017     July 2017                                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 6,169.42
                                                                                  Bill Pmt -Check    01/11/2018 ach01112018      October 2017                                                        1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 5,739.82
                                                                                  Bill Pmt-Check     01/11/2018 ach011120t8      September 2017                                                       1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 5,739.82
                                                                                  Bill Pmt-Check     01/11 YL018 ach0111201 B    August 2017                                                          1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                 5,739.82
                                                                                  Bill Pmt -Check    02/02!2018 ach02022018      January 2018                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 4,971.88
                                                                                  Bill Pmt-Check     02/02!2018 ach02022018      December 2017                                                        1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 5,698.42
                                                                                  Bill Pmt -Check    02/02/2018 ach02022018      November 2017                                                        1011 ~ Centerstone HSBC Distribution     -   2010 ~ Accounts Payable                 5,739.82
                                                                                  Bill Pmt-Check     06/05/2018 4949                                                                                  1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 9,943.76
                                                                                  Bill Pmt -Check    07/27/2018 ach07272018      Apri12018                                                            1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 4,265.78
                                                                                  Bill Pmt-Check     08/09/2018 ach08092018      May 2018                                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 4,411.77
                                                                                  Bill Pmt-Check     08/09/2018 ach080920~8      June 2018                                                            1011 ~ Centerstone HSBC Disfibution           2010 ~ Accounts Payable                4,335.85
                                                                                  Bill Pmt-Check     08/28/2018 ach08282016      July 2D18                                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                4,335.85
                                                                                  Bill Pmt -Check    09/18/2018 ach09182018      August 2018                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                3,414.79
                                                             Alarm Systems,Inc
                                                                                  Bill Pmt-Check     01!10/2017 4486             monthly monitoring-gtrly billing                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  120.00
                                                 11/2/2018 10:41 AM                                                                                                                                            F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                                                8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                                    „~oti2o,8
Desc




                                                 January 2017 through September 2018
                                                                                                                                                                      Memo                  Account                   Clr             Split            Debit    Credit
                                                                                         Type             Date            Num
                                                                                                                                   monthly monitoring - quarteAy billing     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable               120.00
                                                                                    Bill Pmt-Check      04/28/2017 4652
                                                                                                                                   monthly monitoring -quarterly billing     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable               120.00
                                                                                    Bill Pmt-Check      08/11/2017 4732
Entered 12/21/18 12:13:35




                                                                                                                                   monthly monitoring                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable               120.00
                                                                                    Bill Pmt-Check      12/01/2017 4847
                                                           Albert Loper
                                                                                                                                   manuel check- missing time off hours      1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable               762.88
                                                                                    Bill Pmt-Check      08/07/2017 4728
                                                           American Associated Cos., Inc.
                                                                                                                                                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             24,556.50
                                                                                    Bill Pmt-Check      01/03/2017 ach01032017
                                                                                                                                                                             tOt 1 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             25,213.48
Page 192 of 229




                                                                                    Bill Pmt-Check      01/09/2017 ach01102017
                                                                                                                                                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             18,919.19
                                                                                    Bill Pmt-Check      01/17/2017 ach01172017
                                                                                                                                                                             1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable             11,638.61
                                                                                    Bill Pmt-Check      01124/2017 wire0124~7
                                                                                                        01/30/2017 wire013017                                                1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             21,907.72
                                                                                    Bill Pmt -Check
                                                                                                                                                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             40,038.33
                                                                                    Bill Pmt-Check      02/06/2017 wire020617
                                                                                                                                                                             1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable              9,569.01
                                                                                    Bill Pmt-Check      02/13/2017 wire021317
                                                                                                                                                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              8,884.65
                                                                                    Bill Pmt-Check      02/21/2017 wire022117
                                                                                                                                                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             21,595.49
                                                                                    Bill Pmt-Check      03/06/2017 ach03062017
                                                                                                                                   po # EP10590                              1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable               4,273.90
                                                                                    Bill Pmt-Check      03/132017 ach03132017
                                                                                                        03/20/2017 ach03202017     po # EP10567                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             15,261.95
                                                                                    Bill Pmt -Check
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                    Bill Pmt-Check      04/04/2017 wire040417      po # EP10613                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             13,327.92
                                                                                                                                                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              7,273.86
                                                                                    Bill Pmt-Check      04/10/2017 ach041017
                                                                                                        04/17/2017 wire041717                                                1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable             65,305.52
                                                                                    Bill Pmt-Check
                                                                                                        04!24/2017 ach04242017     po # EP~0603                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              1,168.44
                                                                                    Bill Pmt-Check
                                                                                                        05/08!2017 wire 050817                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              6,205.15
                                                                                    BiII Pmt-Check
                                                                                     Bill Pmt-Check     05/16/2017 wire 051617     po # EP~0741                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              5,747.19
                                                                                                        05/24/2017 wire 052417                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             32,242.70
                                                                                     Bill Pmt-Check
                                                                                     Bill Pmt-Check     05/31/2017 ach05312017                                               1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable               3,848.15
                                                                                     Bill Pmt-Check     06/01/2017 wire060117                                                1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             13,819.83
                                                                                                         06/13/2017 wire 061317     po # EP10799                             1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable             18,012.36
                                                                                     Bill Pmt-Check
                                                                                                         06/16/2017 wire 061617     po # EP10809                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             14,698.45
                                                                                     Bill Pmt-Check
                                                                                     Bill Pmt -Check     06/26/2017 wire 062617     po # EP10840                              1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable              15,553.09
                                                                                     Bill Pmt -Check     07/03/2017 wire 070317                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             11,362.63
                                                                                     Bill Pmt-Check      07/10/2017 wire 071017                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             26,599.60
                                                                                     Bill Pmt-Check      07127/2017 wire 072717                                               tOt 1 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable             15,169.22
                                                                                     Bill Pmt -Check     08/07/2017 wire 080717                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Acwunts Payable             1 1,01429
                                                                                     Bill Pmt-Check      08/07/2017 wire 080717     po # EP10925                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             9,360.03
                                                                                     Bill Pmt -Check     08/31/2017 wire 083117                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable            21,210.38
                                                                                     BiII Pmt-Check      09/01/2017 wire090117      po # EP10972                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             5,945.21
                                                                                     Bill Pmt-Check      09/08/2017 wire 090817                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             6,616.51
                                                                                     Bill Pmt-Check      09/182017 ACH 091817                                                 1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             12,112.51
                                                                                     Bill Pmt-Check      09/22/2017 wire 092217     po # EP11010                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             6,625.33
                                                                                     Bill Pmt -Check     10!06/2017 wire 100617                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             12,560.21
                                                                                      Bill Pmt-Check     10/16/2017 wire 101617                                               1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable             27,847.61
                                                                                     Bill Pmt-Check       10/23/2017 wire 102317    po # EP11033                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable            68,270.40
                                                                                      Bill Pmt-Check      10/30/2017 wire 103017     po # EP11036                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              3,718.45
                                                                                      Bill Pmt-Check      11/07/2017 wire 110717     po # EPt 1040                            1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              8,470.45
                                                                                      Bill Pmt -Check     11/4/2017 wire 111417                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              8,129.09
                                                                                      Bill Pmt-Check      11/17!2017 wire 111717     po # EP11052                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              5,400.87
                                                 11/2/2018 10:41 AM                                                                                                                     F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                 Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                        8:38 AM
                                                 Transaction List by Vendor                                                                                                                                                                                                            „~ozrso,a
Desc




                                                 January 2017 through September 2018
                                                                                    Type            Date          Num                                        Memo                                                Account                   Cir             Split            Debit       Credit
                                                                               Bill Pmt-Check     12/01/2017 wire 120117                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 8,979.89
                                                                               Bill Pmt -Check    12/08/2017 wire 120817                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Acwunts Payable                 29.539.49
                                                                                                                                                                                                  1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                 15,937.52
Entered 12/21/18 12:13:35




                                                                               Bill Pmt-Check     12/20/2017 wire 122017
                                                                               Bill Pmt -Check    12/20/2017 wire 122017     po # EP11069 -old po # R9692                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 3,264.57
                                                                               Bill Pmt-Check     01/19/2018 wire Ot 1918    po #EP11092                                                          1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                  4,934.09
                                                                               Bill Pmt-Check     01/26!2018 wire 012618                                                                          1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable                23,853.71
                                                                               Bill Pmt-Check     02/05/2018 wire 020518                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                13,95522
                                                                               Bill Pmt-Check     02/14/2018 wire 021418                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                42,055.37
Page 193 of 229




                                                                               Bill Pmt-Check     02/20/2018 wire 022018                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                71,108.17
                                                                               Bili Pmt Check     02/27/2018 wire 022718     po # EP11075                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                15,321.9
                                                                               Bill Pmt-Check     03/06/2018 wire 030618                                                                          1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                 25,742.35
                                                                               Bill Pmt-Check     03/09/2018 wire 030918                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                31,429.30
                                                                               Bill Pmt -Check    03/22/2018 wire 032218     po # EP11065                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                72,082.16
                                                                               Biil Pmt-Check     03/28/2018 wire 032818                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                46,250.74
                                                                               Bill Pmt-Check     04118/2018 wire 041818                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                13,045.68
                                                                               Bill Pmt-Check     04/23/2018 wire 042318                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                14,513.43
                                                                               Bill Pmt-Check     04/24/2018 wire 042418     po # EP11088                                                         1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                 35,143.74
                                                                                                                                                                                                  1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                19,742.75
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                               Biil Pmt-Check     05/01/2018 wire 050118
                                                                               Bilf Pmt -Check    05/16!2018 wire 051618     po # EP11138                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 8,384.46
                                                                               Bill Pmt-Check     06!05/2018 wire 060518                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                10,808.74
                                                                               Bill Pmt -Check    06/06/2018 wire 060618     po # EP11138                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 7,495.11
                                                                               Bill Pmt-Check     0611 3/2018 wire 061318                                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 7,534.72
                                                                                BiII Pmt -Check   06/28/2018 wire 062818                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 5,495.38
                                                                                Bill Pmt -Check   06/30/2018                 QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable        0.00
                                                                                Bill Pmt-Check    06l30f2018                 QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable        0.00
                                                                                Bill Pmt -Check   06/30/2018                 QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable        0.00
                                                                                Bill Pmt-Check    07/09/2018 wire 070918     po # EPt 1204                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                14,334.20
                                                                                Bill Pmt-Check    07/13/2018 wire 071318                                                                          1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable                18,296.81
                                                                                Bill Pmt-Check    07/25f2018 ach07252018     po# EP11215                                                          1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable                 3,281.63
                                                                                Bill Pmt-Check     07/31/2018 ach07312018    po # EP11211                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                17,584.80
                                                                                Bill Pmt-Check     08/08/2018 ach080818      po # EPt 1220                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                12,115.41
                                                                                Bill Pmt-Check     08/09/2018 ach08092018     po # EP11207                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  3,352.10
                                                                                Bill Pmt-Check     08/10!2018 ach08t02018     po # EPt 1226                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                13,462.72
                                                                                Bill Pmt-Check     08/22/2018 ach08222018     po # EP11226                                                         1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,389.50
                                                                                Bill Pmt -Check    08!28/2018 ach08282018                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 3,407.06
                                                                                Bill Pmt-Check     09/04/2018 ach090420~8                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 2,524.58
                                                                                Bill Pmt-Check     09!05/2018 ach09052018                                                                          101 t ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                22,718.01
                                                                                Bill Pmt -Check    09!1912018 ach09192018                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                27,173.89
                                                                                BiII Pmt-Check     09/27/2018 ach09272018                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                13,129.98
                                                                                Bill Pmt-Check     09/30/2018 ach08132018     po # EP11145                                                         1011 • Cenierstone HSBC Distribution          2010 ~ Accounts Payable                 7,500.00
                                                                                Bill Pmt-Check     09/30/2018 ach08202018                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 5,531.59
                                                                                Bill Pmt -Check    09/30/2018 ach08272018     po # EP11126                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,500.00
                                                                                Bill Pmt-Check     09/30/2018 ach0904201 B    po # EP11126                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   397.69
                                                                                Bill Pmt-Check     09/30/2018 ach09102018     po # EP11138                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                1,083.34
                                                                                 Bill Pmt-Check    09/30/2018 ach09172016     po # EP11138                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  776.51
                                                            APPLIED INDUSTRIAL TECHNOLOGIES
                                                 11/2/2018 10:41 AM                                                                                                                                         F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                                                                              8:38 AM
                                                 Ciarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                                                                 11/0212018
Desc




                                                 January 2017 through September 2018
                                                                                             Type             Date            Num                                    Memo                                              Account                  Clr             Split            Debit       Credit
                                                                                     Biil Pmt-Check         12/31/2017              QuickBooks generated zero amount transaction for biilpayment stub   1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable         0.00
                                                                                     Bill Pmt-Check         02/09/2018 4895                                                                             1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                  321.53
Entered 12/21/18 12:13:35




                                                                                     Bill Pmt-Check         03/13/2018 4923         po #EP11112                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  201.60
                                                           Atlanta Sprinkler Inspection
                                                                                     Bill Pmt-Check         12/01/2017 4848         contract#294507 05/31/2017                                          1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                  335.00
                                                           Atlas Copco Compressors LLC
                                                                                     Bili Pmt -Check        08/11/2017 4733         po #EP10878 03/28!2017                                              t011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  920.00
Page 194 of 229




                                                           Boiler Supply Company
                                                                                       Bill Pmt-Check       08!11/2017 4734         po #EP10723 01/26/2017                                              1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  3,269.49
                                                           Caduceus Occupational(C)
                                                                                       Bill Pmt-Check       02/0612017 4539         period 11JOt/~611/30/16                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  547.00
                                                                                       Bill Pmt-Check       02/24/2017 4571                                                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 5,524.00
                                                                                       Bill Pmt -Check      03/24/2017 4607         service 01/01/17-01/31/17                                           1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  2,216.00
                                                                                       Bill Pmt-Check       04!28/2017 4653         period 02/01!17-02/28/17                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   808.00
                                                                                       Bill Pmt -Check      08/24/2017 4769                                                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,244.00
                                                                                       Bill Pmt-Check       12/01/2017 4849                                                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 9;516.00
                                                                                       Bill Pmt -Check      12/08/2017 4865         period 09/01/17-09/30/17                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,656.50
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                       Bill Pmt -Check      12/29/2017 4885         period 10/01/17-10/31/17                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,660.50
                                                                                       Bill Pmt -Check      O5l25f2018 4936                                                                             1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 10,339.50
                                                           Canon Financial Services, Inc(c)
                                                                                       Bill Pmt-Check       02/06/2017 4540         acct#292307                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   225.51
                                                                                       Bill Pmt-Check       02/24/2017 4572         acd #292307                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   225.51
                                                                                       Bill Pmt-Check       04!28/2017 4654                                                                             1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                    452.06
                                                                                       Bill Pmt-Check       06/29/2017 4695         acct #292307 04/21/2017                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   227.39
                                                            Captain Vending Services
                                                                                       Bill Pmt-Check       01/10!2017 4487          1 1YZ9l2016                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   276.53
                                                                                       Bill Pmt-Check       02!06/2017 4541                                                                             1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                   387.25
                                                                                       Bill Pmt -Check      02/24/2017 4573         01/09/2017                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   115.96
                                                                                       Bill Pmt-Check       04/28/2017 4655                                                                             1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                    595.24
                                                                                       Bill ?mt -Check       06/29/2017 4696        04/14/2017                                                           1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                    214.04
                                                                                       Bill Pmt-Check        08!1112017 4735        05/03/2017                                                           1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                    150.16
                                                            Carol Fowler
                                                                                          Bill Pmt-Check     11/27/2017 4846         consultant - 96hrs @ 20.00                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 1,920.00
                                                                                          Bill Pmt -Check    06/22/2018 4950                                                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 2,800.00
                                                            Caylon J Newby
                                                                                          Bilf Pmt-Check     12/08/2017 4874         VOID: manuel check -regular pay                                     1011 ~ Centerstone HSBC Distribution    J    2010 •Accounts Payable         0.00
                                                                                          Bill Pmt-Check     12/14/2017 4875         manuelcheck-regular pay                                             1017 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                    889.00
                                                            Chase Professionals
                                                                                          Bill Pmt-Check     01/10/2017 4488                                                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                51,949.67
                                                                                          Bill Pmt-Check     01/13/2017 4515                                                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 8,802.72
                                                                                          Bill Pmt -Check    02/06/2017 4542                                                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 9,787.57
                                                                                          Bill Pmt-Check     02/24/2017 4574                                                                             1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               23,637.51
                                                                                          Bill Pmt -Check    02/28/2017 4601                                                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               32,455.51
                                                                                          Bill Pmt-Check     04!07/2017 ach041017                                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               31,342.37
                                                                                          Bill Pmt-Check     04/28/2017 4656                                                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                19,926.46
                                                                                          Bill Pmt-Check     07/07/2017 4707                                                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                8,856.65
                                                 11/2/2018 10:41 AM                                                                                                                                               F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                               8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                   ~~~av2o~8
Desc




                                                 January 2017 through September 2018
                                                                                  Type             Date            Num                                Memo                  Account                  Clr             Split            Debit    Credit
                                                                             Bili Pmt-Check      07/17/2017 ach07172017                                      1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable              9,752.60
                                                                             Bill Pmt -Check     07/24/2017 ach07242017                                      1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             8,851.35
Entered 12/21/18 12:13:35




                                                                             Biil Pmt-Check      08/02/2017 4725                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             8,951.89
                                                                             Bili Pmt -Check     08/11/2017 4736                                             1071 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             7,431.93
                                                                             Bill Pmt-Check      08/31/2017 4771                                             1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable              2,547.09
                                                                             Bill Pmt-Check      09/11/2017 ach09112017                                      1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             2,896.60
                                                                             Bill Pmt-Check      09/15/2017 4775                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              2,714.67
                                                                                                                                                             1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable             6,445.39
Page 195 of 229




                                                                             Bill Pmt -Check     09/22/2017 4780          w/e 07/22/17
                                                                             Bill Pmt-Check      09/29/2017 4786                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              4,133.57
                                                                             Bill Pmt -Check     10/06/2017 4792          w/e 08/05!17                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              5,924.10
                                                                             Bill Pmt-Check      10/13/2017 4817          w/e 07/29/17                       1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable               7,283.22
                                                                             Bill Pmt-Check      10/20/2017 4824          w/e 08/12/17                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              6,027.98
                                                                              Bill Pmt-Check     10/27/2017 4832                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              5,699.54
                                                                              Bill Pmt-Check     11/03/2017 4837          w/e 08/26/17                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              7,457.99
                                                                              Bill Pmt-Check     11/20/2017 4640                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable             10,942.06
                                                                              Bill Pmt-Check     12/01/2017 4850                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              8,897.08
                                                                              Bill Pmt-Check     12/08/2017 4866          wle 09/09/17                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              5,942.37
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                              Bill Pmt-Check     12/18/2017 4876                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              4,768.75
                                                                              Bill Pmt -Check    12/22/2017 4878                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              5,304.32
                                                                              Bill Pmt-Check     12/29/2017 4886                                             1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable              4,950.40
                                                                              Bill Pmt -Check    03/12/2018 4906                                             1011 ~ Centerstone HSBC Dist~bution           201 D ~ Accounts Payable             5,365.71
                                                           Chem-Aqua
                                                                              Bill Pmt-Check     Ot/~OY2017 4489          acct#569675                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                540.30
                                                                              Bill Pmt-Check     02/06/2017 4543          acct#569675                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               540.30
                                                                              BiII Pmt-Check     02/24!2017 4575          acct#569675                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                540.30
                                                                              Bill Pmt-Check     03/24/2017 4608          acct#569675                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                540.30
                                                                              Bill Pmt-Check     08!11/2017 4737          acct#569675                        1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                540.30
                                                                              Bill Pmt -Check    09/2972017 4787          acct #569675                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                540.30
                                                                              Bill Pmt-Check      12/08/2017 4867                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              2,172.54
                                                            Cintas-EP
                                                                              Bill Pmt-Check      01/10/2017 4490         acct#001063852711/18/20 6          1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 165.81
                                                                              Bill Pmt -Check     01/13/2017 4516         08/26/2016                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 84.21
                                                                              Bill Pmt-Check      04/28/2017 4657         acct#0010638527                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 75,37
                                                                              Bill Pmt-Check      09/29/2017 4788         acct#0010638527                     1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 86.63
                                                                              Bill Pmt-Check      10/27/2017 4833                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                183.13
                                                                              Bill Pmt-Check      12/01/2017 4851                                             1011 ~ Centerstone HSBC Disfibution          2010 ~ Accounts Payable                21424
                                                                              Bill Pmt-Check      09/28!2018 5005                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                404.51
                                                            CR
                                                                               Bill Pmt-Check     01/10/2017 4491          acct#900-0259714000                1D11 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                293.72
                                                                               Bill Pmt -Check    02/06/2017 4544          acct #900.0259714-000              1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                24325
                                                                               Bill Pmt-Check     03/2472017 4609          acct#900-0259714000                1011 ~ Centerstone HSBC Distribution         201D ~ Accounts Payable                227.77
                                                                               Bill Pmt-Check     04/28Y2017 4658                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               466.77
                                                                               Bill Pmt-Check , 08/15!2017 autod081517     acct #2000164103                    Ott ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               52327
                                                                               Bill Pmt-Check     09/22/2017 4781                                             1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               626.57
                                                                               Bill Pmt-Check     12122!2017 4879                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               616.65
                                                                               Bill Pmt-Check     03/13/2018 4909          acct#2000164103                    1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               349.02
                                                 11/2/2018 10:41 AM                                                                                                    F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-0930 Eastpoint
                                                                                                                                                                                                                                                                        8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                                                                                                                                                                                                                                      11/0212018
                                                 Transaction List by Vendor
Desc




                                                 January 2017 through September 2018
                                                                                                                               Num                                  Memo                         Account                  Clr             Split            Debit       Credit
                                                                                  Type                         Date
                                                          City of East Point (License)
                                                                                                                                     license number 17-00011971                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 2,861.80
                                                                                         Bill Pmt-Check      05/05/2017 4681
Entered 12/21/18 12:13:35




                                                          City of East Point Utilities
                                                                                                                                     acct #60761-9274                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                47,585.81
                                                                                         Bill Pmt-Check      02/06/2017 4545
                                                                                                                                     acct#60761-9274                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                46,746.45
                                                                                         Bill Pmt-Check      04/11/2017 4643
                                                                                                                                     acctit&0761-9274                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                47,486.80
                                                                                         Bill Pmt-Check      04/19/2017 4648
                                                                                                                                     acct #60761-9274                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                49,937.29
                                                                                         Bill Pmt -Check     07/07/2017 4708
                                                                                                                                                                                  1011 ~ Centerstone HSBC Distribution     J    2010 ~ Accounts Payable        0.00
Page 196 of 229




                                                                                         Bill Pmt-Check      08/11/2017 4738         VOID: acd#60761-9274
                                                                                                                                     acct #60761-9274                             1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                26,055.06
                                                                                         Bill Pmt-Check      08/17/2017 4767
                                                                                                                                                                                  1011 - Centerstone HSBC Distribution          2010 ~ Accounts Payable                81,123.36
                                                                                         Bill Pmt-Check      10/20/2017 4825
                                                                                                                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               270,000.00
                                                                                         Bill Pmt-Check      03/21/2018 4926
                                                                                                             04/27/2018 4931         acct#60761-9274                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                65,248.08
                                                                                         Bill Pmt -Check
                                                                                                             04/27/2018 4932                                                      1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                19,237.86
                                                                                         Bill Pmt-Check
                                                                                                                                     acct #60761-9274 -service 04!04/1&05/04/18   1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 62,241.38
                                                                                         Bill Pmt-Check      06/01/2018 4945
                                                                                                                                     acct#60761-9274                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                19,237.86
                                                                                         Bill Pmt-Check      06/01/2018 4946
                                                                                                             06/29/2018 4955         acct #60761-9274                             1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                 57,481.88
                                                                                         Bill Pmt-Check
                                                                                                                                     acct #60761-9274                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                19,237.86
                                                                                         Bill Pmt-Check      06/29/2018 4956
                                                                                                                                                                                                                                                                       58,372.13
                Exhibit A - Purchase Agreement




                                                                                                                                                                                                                                2010 ~ Accounts Payable
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                         Bill Pmt -Check     08/03/2018 4965         acct #60761-9274                             1011 • Centerstone HSBC Distribution
                                                                                                                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                19,237.86
                                                                                         Bill Pmt-Check      08/03/2018 4968
                                                                                                                                     acct #60761-9274                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                50,392.18
                                                                                         Bill Pmt-Check      08/30/2018 4968
                                                                                                             08/30/2018 4991         acct #60761-9274                             1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 19,237.86
                                                                                         Bill Pmt-Check
                                                                                                             09/28/2018 5007          acct #60761-9274                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                19,237.86
                                                                                         Bill Pmt-Check
                                                           Clean Stream Plumbing,lnc.
                                                                                                              08/03/2017 4726                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   725.00
                                                                                          Bill Pmt-Check
                                                           Commercial Trailer Leasing,Inc.
                                                                                          Bill Pmt-Check     01/10/2017 4492                                                      1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 3,405.46
                                                                                                             02/24/2017 4576                                                       1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 3,066.69
                                                                                          Bill Pmt-Check
                                                                                          Bill Pmt -Check     03/24/2017 4610         acct # 10662                                 1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 1,887.32
                                                                                                              04/282017 4659                                                       1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 8,447.23
                                                                                          Bill Pmt-Check
                                                                                          Bill Pmt-Check      06/29/2017 4697                                                      1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                  1,207.61
                                                                                                              08/11/2017 4739                                                      1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 3,511.97
                                                                                          Bill Pmt-Check
                                                                                                              09/15/2017 4776                                                      1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 4,430.04
                                                                                          Bill Pmt-Check
                                                                                          Bill Pmt-Check      10/13/2017 4818                                                      1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                  3,333.93
                                                                                          Bill Pmt-Check      01/15/2018 4889                                                      1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               19,785.38
                                                                                          Bill Pmt-Check      05/04/2018 4935         acct# ALLI002                                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                4,548.10
                                                                                          Bill Pmt-Check      05/25/2018 4937         acct # A1.L1002                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,551.31
                                                                                          Bill Pmt-Check      D7/20/2018 4962         acct # ALL1002                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 1,128.04
                                                                                          Bill Pmt-Check      08/17/2018 4970         acct # ALL1002                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 3,675.53
                                                                                          Bill Pmt-Check      09!2112018 5003         acct #AL11002 07/11/2018                     1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,551.31
                                                                                          Bill Pmt -Check     09/282018 5006          acct #AL11002                                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,551.31
                                                            Computer Software Architects LLC
                                                                                           Bill Pmt-Check     01/102017 4493          LinenMaster fee 12/01                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 1,210.00
                                                                                           Bill Pmt -Check    02/06Y2017 4546          LinenMaster fee 01/17                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 1,210.00
                                                                                           Bill Pmt-Check     04/132017 4645                                                       1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  3,770.00
                                                                                           Bill Pmt-Check     06/29/2017 4698          LinenMaster fee 0512017                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,240.00
                                                                                           Bill Pmt-Check     08!11/2017 4740          LinenMaster fee 06/2017                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 1,240.00
                                                 11/2/2018 10:41 AM                                                                                                                          F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-0930 Eastpoint
                                                                                                                                                                                                                                                                                                   838 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                                                                                                                                                                                                                                                                  „~ovzo,8
                                                 Transaction List by Vendor
Desc




                                                 January 2017 through September 2018
                                                                                                                                                                     Memo                                                Account                  Clr             Split            Debit           Credit
                                                                                            Type             Date            Num
                                                                                                                                                                                                          1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                    2,480.00
                                                                                       Biil Pmt-Check      10!06/2017 4816
                                                                                                                                                                                                          1011 • Centerstone HSBC Distribution     J    2010 ~ Accounts Payable        0.00
                                                                                       Bili Pmt-Check      10/09/2017 4815          VOID:
Entered 12/21/18 12:13:35




                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,240.00
                                                                                       Bill pmt-Check      10/20/2017 4826          LinenMasterfee 09/2017
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    2,480.00
                                                                                       Bill Pmt-Check      11/16/2017 4839
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,240.00
                                                                                       Bili Pmt -Check     02/09!2018 4896          LinenMaster fee 12/2017
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    2,502.92
                                                                                       Bill Pmt-Check      02/2812018 4899
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                      1,240.00
                                                                                       Bill Pmt -Check     03/12/2018 4908          LinenMaster fee 02/2018
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,240.00
Page 197 of 229




                                                                                       Biil Pmt-Check      OS/25YL018 4938          LinenMaster fee 03/2018
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,270.00
                                                                                       Bill Pmt-Check      06/29!2018 4954          LinenMaster fee 04/2018
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,270.00
                                                                                       Bill Pmt-Check      07/17/2018 4961          LinenMasterfee 05/2018
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,270.00
                                                                                       Biil Pmt-Check      08/03/2018 4966          LinenMasterfee 06/2018
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          201D ~ Accounts Payable                     1,270.00
                                                                                       BiII Pmt-Check      08/24/2018 4971          LinenMasterfee 0712018
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     2,540.00
                                                                                       Bill Pmt-Check      09/14!2018 5000
                                                           De Lage Landen Financial Services, lnc.
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      40422
                                                                                       Bill Pmt -Check     01/03/2017 4483          acct #100-10101365
                                                                                                                                                                                                          1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                      442.54
                                                                                       Bill Pmt-Check      02/06/2017 4547          acct#100.10101365
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      423.38
                                                                                       Bill Pmt -Check     02/24/2017 4577          acct #100.10101365
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      432.44
                                                                                       Bill Pmt -Check     03/24/2017 4611          acct #100.10101365
                                                                                                                                    acct#100-10101365                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      43725
                                                                                       Bill Pmt-Check      04/28!2017 4660
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       858.98
                                                                                        BiII Pmt-Check     06/29/2017 4699
                                                                                                                                    acct#100.10101365                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       423.38
                                                                                        Bill Pmt-Check     08111/2017 4741
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution     ~    2010 ~ Accounts Payable        0.00
                                                                                        Bill Pmt-Check     10l20Y2017 4827          VOID:
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,312.92
                                                                                        Bill Pmt-Check     11/09/2017 autod110917
                                                                                                                                                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                       40422
                                                                                        Bill Pmt -Check     12/01!2017 4852         acct #100.10101365
                                                                                                                                    acct#100.10101365                                                      1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                       442.54
                                                                                        Bill Pmt-Check      12/08/2017 4868
                                                                                                                                                                                                           1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                        856.96
                                                                                        Bill Pmt-Check      03/09/Z018 4902
                                                                                                                                                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                     1,719.81
                                                                                        Bill Pmt-Check      06/01!2018 4948
                                                                                                                                                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                       901.34
                                                                                        Bill Pmt-Check      08/24/2018 4972
                                                            Dickinson Fleet Services
                                                                                                                                     repair- unit #364682 08/23!17                                         1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                     1,843.18
                                                                                        Bill Pmt-Check      10/27/2017 4834
                                                            Direcri
                                                                                                                                     acct#064015682                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                        5.00
                                                                                        Bill Pmt-Check      01/13Y2017 4517
                                                                                                            02/24/2017 4578          acct#064015682                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                        5.00
                                                                                        Bill Pmt-Check
                                                                                                                                                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       10.00
                                                                                        Bill Pmt-Check      04/28/2017 4661
                                                                                                            06/29Y2017 4700                                                                                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       10.00
                                                                                        Bill Pmt -Check
                                                                                                            08/11/2017 4742          acd#064015682                                                         1011 • Centerstone HSBC Distribution          2010 •Accounts Payable                         5.00
                                                                                        Bill Pmt-Check
                                                                                                            12/01/2017 4853                                                                                1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                        48.00
                                                                                         Bill Pmt -Check
                                                            Diva! Safety Equipment,Inc.
                                                                                         Bill Pmt -Check    05/31/2017               QuickBooks generated zero amount transaction for bill payment stub    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable           0.00
                                                            Donald Ryan
                                                                                         Bill Pmt -Check    01/23/2018 4892          manuel check -medical reimbursement                                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      273.48
                                                            Donald Spradlin
                                                                                         Bill Pmt -Check    01/10/2017 4494          prime and paint door and frame hit by truck                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      175.00
                                                            E-Tech,inc.
                                                                                         Bill Pmt-Check      Ot/10Y2017 4495                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      668.00
                                                            Ecolab
                                                 11/2/2018 10:41 AM                                                                                                                                                  F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                                                                            8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                                                               „~ov2o,a
Desc




                                                 January 2017 through September 2018
                                                                                                                                                                  Memo                                                Account                  Clr             Split            Debk       Credit
                                                                                           Type           Date            Num
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               28,613.91
                                                                                    Bill Pmt-Check      01/05!2017 4484
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               22,088.31
                                                                                    6i11 Pmt-Check      D2/06/2017 4548
Entered 12/21/18 12:13:35




                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                9,056.72
                                                                                    Bili Pmt-Check      02/24/2017 4579
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               34,394.04
                                                                                    Bill Pmt-Check      03/28/2017 ach03282017
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                22,955.46
                                                                                    Bill Pmt -Check     04/19Y2017 ach04192017
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               18,802.36
                                                                                    Bifl Pmt-Check      05/05/2017 ach05082017
                                                                                                                                  02/17/2017                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                8,783.04
                                                                                    Bill Pmt-Check      05/15/2017 ach05152017
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,856.11
Page 198 of 229




                                                                                    Bill Pmt-Check      08/31/2017 wire060517
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               22,895.27
                                                                                    Biil Pmt-Check      08/31/2017 wire091117
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               11,403.31
                                                                                     Bill Pmt-Check     10/31/2017 ach830-901
                                                                                                                                  09/25/2017                                                           1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,643.92
                                                                                     Bill Pmt-Check     10/31/2017 ach09202017
                                                                                                                                  09/18/2017                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                4,552.95
                                                                                     Bill Pmt-Check     10!31(2017 ach09182017
                                                                                                                                  09/29/2017                                                           tOtt ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 3,319.45
                                                                                     Bill Pmt-Check     10/31/2017 ach09272017
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                7,442.74
                                                                                     Bill Pmt-Check     10/31/2017 ach10162017
                                                                                                                                  08/09!2017                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                3,387.89
                                                                                     Bill Pmt-Check     10/31/2017 ach07282017
                                                                                                        12/30/2017 ach12302017                                                                         1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,340.88
                                                                                     Bill Pmt-Check
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               34,458.51
                                                                                     Bill Pmt -Check    12/31/2017 ach11202017
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               22,842.75
                                                                                     Bill Pmt-Check     12/31/2017 acht1222017
                                                                                                         12/31/2017 ach12292017                                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               19,333.18
                                                                                     Bill Pmt -Check
                                                                                                                                  QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       0.00
                                                                                     Bili Pmt -Check     12/31/2017
                                                                                                                                  po #EP10959                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                3,904.45
                                                                                     Bill Pmt-Check     01/08/2018 ach01082018
                                                                                                                                                                                                       1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               21,306.71
                                                                                     Bill Pmt-Check     01!31/2018 ach01082018
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                7,692.23
                                                                                     Bill Pmt-Check      02/28/2018 ach02122018
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               14,473.54
                                                                                     Bill Pmt-Check      03/04/2018 ach02262018
                                                                                                                                                                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               19.832.69
                                                                                     Bill Pmt-Check      03/12/2018 ach03122018
                                                                                                                                                                                                        1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               31,133.34
                                                                                     Bill Pmt -Check     04/30/2018 ach03202018
                                                                                                         04/30/2018 ach04302018   04/18/2018                                                            1011 ~ Centerstone HSBC Distribution         2010 ~ Acwunts Payable                 6,004.57
                                                                                     Bill Pmt-Check
                                                                                                         05/25/2018 ach05252018                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              11,390.69
                                                                                      Bill Pmt-Check
                                                                                                         05/31/2018 ach05152018                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               8,613.06
                                                                                      Bill Pmt-Check
                                                                                                         06/18/2018 ach06182018    05/2112018                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               7,916.61
                                                                                      Bill Pmt-Check
                                                                                                         06/25/2018 ach06252018                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              11,358.30
                                                                                      Bill Pmt-Check
                                                                                                         07/02/2018 ach07022018    06/18/2018                                                           1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                2,669.76
                                                                                      Bill Pmt -Check
                                                                                      Bill Pmt-Check     07/09Y2018 ach07092018    06/26/2018                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                 1,793.61
                                                                                      Bill Pmt-Check     07/16/2018 ach07162018                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               27,828.55
                                                                                      Bill Pmt-Check     08/27/2018 ach08272018                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               15,808.39
                                                                                      Bill Pmt-Check     09/04Y2018 ach09042018    08/07/2018                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               11,132.50
                                                                                      Bill Pmt -Check    09/17/2018 ach09172018    09/1412018                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 124.92
                                                            ECS
                                                                                      Bill Pmt-Check     01!13/2017 4518           ticket #23378                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  t 10.00
                                                                                      Bill Pmt -Check    02/242017 4580                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                3,113.56
                                                                                      Bill Pmt-Check     03/24Y2017 4612           ticket #23494                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  352.50
                                                                                      Bill Pmt-Check     04/28/2017 4662           po #EP108t9                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,231.21
                                                                                      Bill Pmt -Check    06/292017 4701            po #EP10868 03!07!2017                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                2,363.44
                                                                                      Bill Pmt -Check    01/17/2018 4890                                                                                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  677.50
                                                            EJS Industrial Controls Inc.
                                                                                      Bill Pmt-Check      01/19/2017 4530          deposit                                                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                6,000.00
                                                 11/2/2018 10:41 AM                                                                                                                                               F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                                                                                  8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                                                                     „~oti2o,8
Desc




                                                 January 2017 through September 2018
                                                                                         Type             Date            Num                                        Memo                                              Account                  Clr             Spik             Debit           Credit
                                                                                    Bill Pmt-Check      05/01/2017 4677           capital asset project #EP181                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    6,576.00
                                                                                    Bill Pmt -Check     08/11/2017 4743           repairs to EPT tunnel                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    6,928.00
Entered 12/21/18 12:13:35




                                                                                    Bill Pmt -Check     09/26/2017 4785           po #EPt t 102 -capital asset project                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     5,320.00
                                                           Encompass Group, LLC
                                                                                                        02/06/2017 4549           po # EP10371                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     5,030.40
                                                                                    Bill Pmt-Check
                                                                                    Bill Pmt-Check      02/24YL017 4581                                                                                 1011 - Centerstone HSBC Distribution          2010 • Acwunts Payable                     11,526.24
                                                                                    Bill Pmt-Check      04/27/2017 4651           po # EP10472 -9079769-9069931-906993                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     2,148.96
                                                                                                                                  QuickBooks generated zero amount transaction for bill payment stub    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
Page 199 of 229




                                                                                    Bill Pmt-Check      09/25/2017
                                                                                    Bill Pmt-Check      12/06Y2017 wire 120617                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     2,057.43
                                                                                    Bill Pmt -Check     02/08/2018 wire 020818    po # EP11121                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     3,627.10
                                                                                    Bill Pmt -Check     02/16/2018 wire 021618    po # EP1 t 121                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      198.03
                                                                                    Bill Pmt-Check      03/06/2018 wire 030618                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    16,549.14
                                                                                    Bill Pmt-Check      03/06/2018 wire 030618    po # EP1 t 1214                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,092.09
                                                                                    Bill Pmt-Check      03/07/2018 wire 030718    po # EP111214                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                      6,000.00
                                                                                    Bill Pmt-Check      03/13/2018 wire 031318    po# EP111214                                                          1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                      7,000.40
                                                                                    Bill Pmt-Check      03/14!2018 wire 031418    po # EP111214                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     7,000.00
                                                                                    Bill Pmt-Check      03/16/2018 wire 031618    po# EP111214                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     6,000.00
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                    Bill Pmt-Check      03/28Y2018 wire 032818    po # EP111214                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                      4,000.00
                                                                                    Bill Pmt-Check      04/10/2018 wire 041018    po # EPt 11214                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     8,000.00
                                                                                    Bill Pmt-Check      04/25/2018 wire 042518                                                                          1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                    15,007.01
                                                                                    Bill Pmt -Check     06/30/2018                QuickBooks generated zero amount transaction for bill payment stub    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
                                                                                    Bill Pmt -Check     06/30f2018                QuickBooks generated zero amount transaction for bill payment stub    1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable         0.00
                                                                                    Bill Pmt -Check     06/30/2018                QuickBooks generated zero amount transaction for bill payment stub    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
                                                                                     Bill Pmt -Check     O6/30/2018                QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
                                                                                     Bill Pmt -Check    06/30/2018                 QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
                                                                                     Bill Pmt -Check    06/30/2018                 QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
                                                                                     Bill Pmt-Check     06/30/2018                 QuickBooks generated zero amount transaction for bill payment stub   1011 • Centerstone HSBC Distribution          201 D ~ Accounts Payable       0.00
                                                                                     Bill Pmt-Check      07/17/2018 wire 071718    po # EPt 1255                                                        1011 • Centerstone HSBC DisVibution           2010 ~ Accounts Payable                     2,177.67
                                                                                     Bill Pmt -Check     07!31/2018 ach07312018                                                                          1011 ~ Centersione HSBC Distribution         2 10 ~ Accounts Payable                     2,325.67
                                                            Fashion Seal Uniforms
                                                                                     Bill Pmt -Check     01/10/2017 4496                                                                                 1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                    21,168.00
                                                                                     Bill Pmt-Check      01/13/2017 4519           po # EP10415                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                       964.80
                                                                                     Bill Pmt -Check     01/27/2017 4534           EP10499                                                               1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                     2,880.00
                                                                                     Bill Pmt -Check     04/0612017 wire 040617                                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                    10,506.20
                                                                                     Bill Pmt -Check     05/05/2017 4683                                                                                 1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                    13,737.60
                                                                                     Bill Pmt-Check      05!11/2017 wire 051117                                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                     3,182.40
                                                                                     Bill Pmt -Check     05/17/2017 4686           VOID: po # EP10591                                                    1011 • Centerstone HSBC Distribution    J    2010 ~ Accounts Payable        0.00
                                                                                     Bill Pmt-Check      OS/26f2017 wire 052617                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    8,352.00
                                                                                     Bill Pmt -Check     06/05/2017 wire 060517    po # EP10744                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    4,867.20
                                                                                     Bill Pmt-Check      07/07/2017 4709           VOID: po # EP10782                                                    1011 ~ Centerstone HSBC Distribution    J     2010 •Accounts Payable        0.00
                                                                                     Bill Pmt-Check      07!122017 ach07122017     po # EP10782                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    2,136.96
                                                                                     Bill Pmt-Check      07/12/2017 wire 071217    po # EP10591                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    4,086.00
                                                                                     Bill Pmt -Check     08/04/2017 wire D80417                                                                          1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                    6,660.00
                                                                                     Bill Pmt-Check      08/24/2017 wire 040617     po # EP11070 -old po # EP10841r                                      1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                      1,941.12
                                                                                      Bill Pmt-Check     11!22/2017 wire 112217                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   18,000.00
                                                                                      Bill Pmt -Check    06/30/2018                QuickBooks generated zero amount transaction for bill payment stub    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable           0.00
                                                 11/2/2018 10:41 AM                                                                                                                                               F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                 Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                                 s:sa nM
                                                 Transaction List by Vendor                                                                                                                                                                                                                     „~0ti2018
Desc




                                                 January 2017 through September 2018
                                                                                           Type           Date              Num                                    Memo                                                Account                  Cir             Spiit            Debit           Credit
                                                                                                        06/30/2018                QuickBooks generated zero amount transaction for bill payment stub    1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
                                                                                    Bili Pmt -Check
                                                           Fast Printing
Entered 12/21/18 12:13:35




                                                                                                        07/07/2017 4710           04/03/2017                                                            1011 • Centerstone HSBC Distribution          2010 ~ Acwunts Payable                       114.58
                                                                                    Bill Pmt-Check
                                                                                                        12/01/2017 4854           job #8640 09/06/17                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      446.30
                                                                                    Bill Pmt -Check
                                                           Fastenal Company
                                                                                                        02!2412017 4582                                                                                 1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                      435.87
                                                                                    Bill Pmt -Check
                                                                                                        07/07/2017 4711           VOID:                                                                 1011 ~ Centerstone HSBC Distribution     J    2010 ~ Accounts Payable        0.00
                                                                                    Bill Pmt-Check
                                                                                                                                                                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       720.63
Page 200 of 229




                                                                                    Bill Pmt -Check     07/07/2017 4721
                                                           Fedex (c)
                                                                                                        01/10/2017 4497                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       145.28
                                                                                    Bill Pmt-Check
                                                                                    Bill Pmt-Check      01/27/2017 4533                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                        57.98
                                                                                    Bill Pmt -Check     02716/2017 4567                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                        288.17
                                                                                    Bill Pmt-Check      06!29/2017 4702                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       384.36
                                                                                                        08/1 t /2017 4744                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       253.70
                                                                                    Bill Pmt -Check
                                                                                    Bill Pmt-Check      12/08/2017 4869                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       335.35
                                                           Five Star Occupational Med IMA
                                                                                    Bill Pmt-Check      06/15/2017 4692                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       789.00
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                    Bill Pmt -Check     06/29!2017 4703           services 07/19!2016                                                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                        90.00
                                                                                    Bill Pmt-Check      07/07/2017 4712                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       200.00
                                                           Flower Cottage
                                                                                    Bill Pmt-Check      12/01/2017 4855           acct #3780 04/27/2017                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                        83.41
                                                            G 8 K Services
                                                                                     Bill Pmt-Check     01/10/2017 4498                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       545.57
                                                                                     Bill Pmt-Check     01/13/2017 4520            acct #21604-Ot                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                       197.21
                                                                                     Bill Pmt-Check     02/06/2017 4550                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                        627.89
                                                                                     Bill Pmt -Check    02/24/2017 4583                                                                                 1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                        829.92
                                                                                     Bill Pmt-Check      03/24/2017 4613                                                                                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,213.66
                                                                                     Bill Pmt-Check      08/11/2017 4745                                                                                1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                        734.82
                                                                                     Bill Pmt-Check      12/01/2017 4856                                                                                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     3,209.54
                                                            GE Health Care
                                                                                     Bill Pmt-Check      03/24/2017 4614           po #EP10652 01/19/2017                                                1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                       698.88
                                                                                     Bill Pmt-Check      04/28/2017 4663           po #EP10652                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                       235.87
                                                            Gene's Plumbing Service, inc
                                                                                     Bill Pmt-Check      03/24/2017 4615           service call -01/30/2017                                              1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                       159.75
                                                                                     Bill Pmt-Check      08/11/2017 4746           drain Leaning - 04!11/2017                                            1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                       212.50
                                                            Georgia Telecom Systems Inc.
                                                                                     Bill Pmt-Check      12/01/2017 4857           fixed intercom                                                        1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                       170.00
                                                            Grainger
                                                                                     Bill Pmt-Check      01/10/2017 4499                                                                                 1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                     5,798.26
                                                                                     Bill Pmt-Check      01/13/2017 4521           po #EP~0510                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                      142.26
                                                                                     Bill Pmt -Check     02/06/2017 4551                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    1,762.23
                                                                                     Bill Pmt-Check      02/24/2017 4584                                                                                 1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                      3,366.82
                                                                                     Bill Pmt -Check     03/24/2017 4616           po #EP10671                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                       123.68
                                                                                      Bill Pmt -Check    03/31/2017                QuickBooks generated zero amount transaction for bill payment stub    1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable            0.00
                                                                                      Bill Pmt-Check     10/06/2017 4793                                                                                 1011 - Centerstone HSBC Distribution          2010 ~ Accounts Payable                     2,922.49
                                                                                      Bill Pmt-Check     11/20/2017 4841                                                                                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     1,554.96
                                                 11/2/2018 10:41 AM                                                                                                                                               f:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                                                                                8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                                                                   „~oti2o,8
Desc




                                                 January 2017 through September 2018
                                                                                                         Date            Num                                       Memo                                                 Account                   Clr             Split            Debit       Credit
                                                                                         Type
                                                                                                       03/12/2018 4905                                                                                  1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                 3,281.86
                                                                                   Bill Pmt-Check
                                                           HESTERSHOMEIMPROVEMENT
Entered 12/21/18 12:13:35




                                                                                                       03/24/2017 4617            01/16/2017                                                            1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                  900.00
                                                                                   Bill Pmt-Check
                                                           HG Maybeck
                                                                                                       10/27/2017 4835                                                                                  1011 ~ Centerstone HSBC Distribution            2010 ~ Acwunts Payable                   664.46
                                                                                    Bill Pmt -Check
                                                           Humbleton Industrial
                                                                                                       03/24/2017 4618            po #EP10705                                                           1011 • Centerstone HSBC Distribution            2010 ~ Accounts Payable                  843.16
                                                                                    Bill Pmt-Check
Page 201 of 229




                                                           Imperial Fastener Company,Inc.
                                                                                                       02/24Y2017 4585            proforma 12/13/16                                                     1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                  395.00
                                                                                    Bill Pmt-Check
                                                           Jackson-Hirsh, lnc
                                                                                                       12/01/2017 4858            acct#8104537 03/22/2017                                               1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                  121.48
                                                                                    Bill Pmt-Check
                                                           Jensen USA,Inc
                                                                                                       03/24/2017 4619            po #EP10689                                                           1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                 1,407.32
                                                                                    Biil Pmt-Check
                                                                                                       08/1112017 4747                                                                                  1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                 1,407.96
                                                                                    Bili Pmt-Check
                                                                                                       12/01/2017 4859            po #EP10826 03/02/2017                                                1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                 1,159.86
                                                                                    Bill Pmt-Check
                                                           Jerry Dobbs
                                                                                    Bill Pmt-Check     08/31/2018 4993            083118 Manual Check                                                   1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable        0.00
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                    Bill Pmt-Check     08/31/2018 4995            083118 Manual Check                                                   1011 • Centerstone HSBC Distribution            2010 ~ Acwunts Payable                    393.65
                                                           Jolecia Sada Mitchell
                                                                                    Biil Pmt-Check      Ot/~2l2018 4887           manuel check -direct deposit reversal regular pay                     1011 ~ Centerstone HSBC DisVibution             2010 ~ Accounts Payable                   517.00
                                                           Kaeser Compressors
                                                                                    Bill Pmt-Check      01/10/2017 4500           po #EP10365                                                           1011 • Centerstone HSBC Distribution            2010 ~ Accounts Payable                   926.28
                                                                                    Bill Pmt -Check     08111/2017 4748            po #EP10837                                                          1011 • Centerstone HSBC Distribution            2010 ~ Accounts Payable                 2,985.89
                                                                                    Biil Pmt-Check      12/31/2017                 QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable        0.00
                                                            KAMAN Industrial Technologies
                                                                                    Bill Pmt-Check      02/06/2017 4552            po #EP10497                                                          1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                   271.71
                                                                                    Bill Pmt-Check      03/24/2017 4620            po #EP10636 12!23/2016                                               1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                   551.05
                                                                                    Bill Pmt-Check      08/11/2017 4749            po #E10825 03!03/2017                                                1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                 1,231.49
                                                                                     Bill Pmt-Check     09/22/2017 4782            po #EP10825 03/07/2017                                               1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                   543.77
                                                            Labor Finders
                                                                                     Bill Pmt-Check     09/15/2017 4777            w/e 07/14/17                                                          1011 ~ Centerstone HSBC Distribution           2D10 ~ Acwunts Payable                  2,740.60
                                                            Laboratory Corporation of America Holding
                                                                                     Bill Pmt -Check    01/10/2017 4501            acct #31334550                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                   165.00
                                                                                     Bill Pmt-Check     02/06/2017 4553            acct#31334550                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Acwunts Payable                    195.00
                                                                                     Bill Pmt-Check     02/24/2017 4586            acct#31334550                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                   390.00
                                                                                     Bill Pmt-Check     03/24/2017 4621            acct#31334550                                                         1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                    120.00
                                                                                     Bill Pmt-Check     04/28/2017 4664            acct #31334550 02/25/2017                                             1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                   45.00
                                                                                     Bill Pmt-Check     05/02/2018 4934                                                                                  1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                1,530.00
                                                                                     Bill Pmt -Check    06/07/2018                 QuickBooks generated zero amount transaction for bill payment stub    1011 • Centerstone HSBC Distribution            2010 ~ Accounts Payable       0.00
                                                                                     Bill Pmt -Check    06/07Y2018                 QuickBooks generated zero amount transaction for bill payment stub    1 Ot 1 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       0.00
                                                                                     Bill Pmt-Check     07/27/2018 4963                                                                                  1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                   95.00
                                                            Leaf
                                                                                     Bill Pmt -Check    02/06/2017 4554            acct #100-1 536447-003                                                t Ot t ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  795.18
                                                                                     Bill Pmt -Check    03/242017 4622             contract #100.1536447-003                                             1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                  808.56
                                                                                     Bill Pmt-Check      04/28/2017 4665                                                                                 1011 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                 1,312.31
                                                                                     Bill Pmt-Check      07/27/2017 autod072717                                                                          1011 ~ Cen[erstone HSBC Distribution            2010 ~ Accounts Payable                 1,248.18
                                                 11/2/2018 10:41 AM                                                                                                                                               F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-0930 Eastpoint
                                                 Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                                      8:38 AM
                                                 Transaction List by Vendor                                                                                                                                                                                                                          „~oti2o,$
Desc




                                                 January 2017 through September 2018
                                                                                          Type            Date            Num                                      Memo                                                    Account                   Clr               Split              Debit       Credit
                                                                                    Bili Pmt -Check     09/29/2017 4789                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     1,358.17
                                                                                    Bill Pmt -Check     12/22/2017 4880                                                                                     1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                      2,276.81
Entered 12/21/18 12:13:35




                                                                                    Bill Pmt-Check      02/28/2018 4900                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     1,970.06
                                                                                    Bill Pmt-Check      06/25/2018 4951           VOID:                                                                     1011 ~ Centerstone HSBC Distribution      J    2010 ~ Accounts Payable            0.00
                                                                                    Bill Pmt-Check      06/25/2018 4952                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                      701.99
                                                                                    Bilk Pmt-Check      06/25/2018 4953           acct #100.1536447-004                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                      633.72
                                                                                    Bill Pmt-Check      08/24!2018 4973                                                         -                           1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                      1,238.66
Page 202 of 229




                                                           Macon Door 8 Hardware
                                                                                    Bill Pmt -Check     01/10/2017 4502           replace door damaged at surgerycenter -back door                          1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable                     1,323.00
                                                           Mary Ann Rogers
                                                                                    Bill Pmt-Check      07/12/2018 4960           manuel check -missing regular pay                                         1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable                      891:54
                                                           Mary Rodgers
                                                                                     Bill Pmt -Check    06/02/2017 4689           expense report -mileage and pet boarding                                  1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     3,50124
                                                           Maxi-Press Elastomeric, Inc.
                                                                                     Bill Pmt-Check     12/01/2017 4860           VOID: po#EP11801                                                          1011 ~ Centerstone HSBC Distribution      J    2010 ~ Accounts Payable            0.00
                                                                                     Bill Pmt-Check     12/27!2017 4684           po #EP11801                                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     4,046.70
                                                           McMaster-Cart
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                     Biil Pmt -Check    01/10/2017 4503                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     1,736.64
                                                                                     Bill Pmt -Check    02/06Y20t7 4555                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     5,105.47
                                                                                     Bill Pmt-Check     02/24/2017 4587           po #EP10580                                                               1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                         73.02
                                                                                     Bill Pmt-Check     04/21/2017 4650                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     9,037.16
                                                                                     Bill Pmt -Check    05131/2017                QuickBooks generated zero amount transaction for bill payment stub        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable            0.00
                                                                                     Bill Pmt-Check     06/23/2017 4693                                                                                     10'11 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                      1,037.89
                                                                                     Bill Pmt-Check     07/14/2017 4723                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                       548.46
                                                                                     Bill Pmt-Check     08/11/2017 4750                                                                                     1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable                     1,086.78
                                                                                     Bill Pmt-Check     09/22/2017 4783                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     1,077.84
                                                                                     Bill Pmt-Check      10/06/2017 4794                                                                                    1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                       644.38
                                                                                     Bill Pmt -Check     11/20/2017 4842          po #EP10908                                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                       164.90
                                                                                     Bill Pmt-Check      03/26/2018 4927          po #1107iwright                                                           1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                       161.62
                                                                                     Bill Pmt -Check     05/25/2018 4939          po #tommy                                                                 1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                       147.37
                                                            Med One Capital Funding,lLC
                                                                                     Bill Pmt -Check     01/13/2017 4522          CMS006t55 Ls-2 pmt-30 po #EP99801DEP                                      1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     2,600.66
                                                                                     Bill Pmt-Check      Ot/~8I20~7 autod011817   CMS006526 Ls 2 pmt-22 po #EP8839                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                     2,213.00
                                                                                     Bill Pmt -Check     02/10/2017 autod021017    CMS006526 Ls-2 pmt 23 po #EP8839                                          1011 ~ Centersione HSBC Distribution          2010 ~ Accounts Payable                     2,213.00
                                                                                     Bill Pmt-Check      02/24/2017 4588           CMS006155 Ls-pmt 31 po #99801 DEP                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                     2,600.66
                                                                                     Bill Pmt -Check     03/10/2017 autod031017    CMS006526 Ls 2 pmt 24 po #EP8839                                          1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                     2,213.00
                                                                                      Bill Pmt -Check    03/31/2017                QuickBooks generated zero amount transaction for bill payment stub        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable            0.00
                                                                                      Bill Pmt -Check    04/11/2017 autod041117    CMS006526 ~s2 pmt 25 po #EP8839                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                      2,213.00
                                                                                      Bill Pmt-Check     04/28/2017 4666           VOID:                                                                     1011 ~ Centerstone HSBC Distribution     J     2010 ~ Accounts Payable           0.00
                                                                                      Bill Pmt -Check    05/04/2017 4680                                                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                    5,213.34
                                                                                      Bill Pmt-Check     05/10/2017 autod051017    CMS006526 Ls2 pmF26                  ~"                    -              1011 ~ Centerstone HSBC Distribution           2010 ~ A   ~ ~~. is Payable                2,213.00
                                                                                      Bill Pmt -Check    06/12/2017 autod061217    CMS006526 Ls 2 pmt-27 po #EP8839                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                    2,213.00
                                                                                      Bill Pmt -Check    06/29/2017 4704                                                                                ~   ~ 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                    5,244.60
                                                                                      Bill Pmt -Check    07/11/2017 autod071117    CMS006526 Ls Pmt-28 po #EP8839                                            1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                    2,213.00
                                                                                      Bill Pmt-Check     08/11/2017 4751           CMS006155 Ls 2 po#99801 DEP                                               1011 ~ Centersto~e HSBC Distribution           2010 ~ Accounts Payable                    2,622.30
                                                                                      Bill Pmt-Check     08/11/2017 autod081117    CMS006526 Ls 2 pymnt-29 po #EP8839                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                    2,213.00
                                                 11/2/2018 10:41 AM                                                                                                                                                   F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                                                                                8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                                                                    „~otizo,$
Desc




                                                 January 2017 through September 2018
                                                                                          Type             Date            Num                                       Memo                                                Account                   Cir             Splk             Debit       Credit
                                                                                     Bill Pmt -Check     09/11/2017 autod091117     CMS006526 Ls-2 pmt 30 po #EP8839                                      1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                     Bill Pmt -Check     10/10/2017 autod101217     CMS006526 Ls-2 pmt 31 po #EP8839                                      1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
Entered 12/21/18 12:13:35




                                                                                     Bill Pmt-Check      10/27/2017 4836                                                                                  1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 5,244.60
                                                                                                         11/10/2017 autodt 11017    CMS006526 ~s-2 pmt 32 po #EP8839                                      1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2.213.00
                                                                                     Bill Pmt-Check
                                                                                     Biil Pmt-Check      12/11/2017 autod121117     CMS006526 Ls-2 pmt 33 po #EP8839                                      1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                     Bili Pmt-Check      01!10/2018 autod011018     CMS006526 Ls-2 pmt 34 po #EP8839                                      1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                     Bill Pmt-Check      02/12/2018 autod021218     CMS006526 Ls-2 pmt35 po #EP8839                                       1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                                                                                                                                          1011 ~ Centerstone HSBC Distribution      J    2010 ~ Accounts Payable        0.00
Page 203 of 229




                                                                                     Bilk Pmt-Check      03/09/2018 4903            VOID:
                                                                                     Bill Pmt -Check     03/12/2018 4904                                                                                  101 ~ ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,196.75
                                                                                     Bill Pmt-Check      03!12/2018 autod031218     CMS006526 Ls 2 pmt36 po #EP8839                                       1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                     Bill Pmt -Check     04/11!2018 autod041118     CMS006526 Ls-2 po #EP8839                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                     Bill Pmt-Check      05/10!2018 autod0510i8     CMS006526 Ls-2 po #EP8839 (final)                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                     Bill Pmt-Check      06/08/2018 autod060818     CMS006526 Ls2 po #EP8839                                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                     Bifl Pmt-Check      07/10/2018 autod071018     CMS006526 Ls-2 po #EP8839                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                                                     Bill Pmt -Check     08/0372018 autod080318     CMS006526 Ls-2 po #EP8839                                             1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                  2,213.00
                                                                                     Bill Pmt-Check      09/11/2018 autod091118     CMS006526 Ls-2 po #EP8839                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,213.00
                                                           Medline Industries Inc.
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                     Bill Pmt-Check      01!10/2017 4513                                                                                  1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                15,03624
                                                                                     Bill Pmt-Check      01/24/2017 4532            po # EP10444                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  842.40
                                                                                     Bill Pmt-Check      02/06/2017 4556            po # EP9817                                                           1011 • Centerstone HSBC Distribution           2010 •Accounts Payable                   881.40
                                                                                     Bill Pmt -Check     02/23!2017 4569                                                                                  1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                  3,824.80
                                                                                     Bill Pmt-Check      03!10/2017 4602            po # EP10604                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 1,084.80
                                                                                      BiII Pmt-Check     04/14/2017 4646                                                                                  1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 7,699.57
                                                                                      Bill Pmt-Check     04/30/2017 Amex CC 043                                                                           1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 3,185.40
                                                                                      Bill Pmt-Check     05/01!2017 4676                                                                                  1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 6,354.64
                                                                                      Bill Pmt-Check     05/17/2017 4685             po # EP10753                                                         1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable                 1,995.60
                                                                                      Bill Pmt-Check      O6/13/2017 4691                                                                                 1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  648.00
                                                                                      Bill Pmt-Check      07/07/2017 wire 070717                                                                          1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                 11,360.06
                                                                                      Bill Pmt-Check      09/01!2017 wire 090117                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                11,155.80
                                                                                      Bill Pmt-Check      09/05/2017 wire 090517                                                                          1011 ~ Centerstone HSBC Distribution           2010 • Acwunts Payable                 18.058.48
                                                                                      Bill Pmt -Check     09/15/2017 wire091517                                                                           1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                18.371.88
                                                                                      Bill Pmt-Check      09/25/2017                 QuickBooks generated zero amount transaction for bill payment stub    1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable        0.00
                                                                                      Bill Pmt-Check      10/12/2017 wire 101217     po# EP11093                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 2,372.40
                                                                                      Bill Pmt-Check      10/17/2017 wire 101717                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                  5,173.48
                                                                                      Bill Pmt -Check     11/22/2017 wire 112217                                                                           1011 ~ Centerstone HSBC Distribution          2010 -Accounts Payable                 18,023.39
                                                                                      Bill Pmt-Check      12/28/2017 wire 122817                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 6,262.47
                                                                                      Bill Pmt-Check      01/19/2018 wire 011918                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 8,000.00
                                                                                      Bill Pmt-Check      02/07/2018 wire 020718     po # EP11104                                                          1011 ~ Centerstone HSBC Distribution          2D10 ~ Accounts Payable                   318.02
                                                                                      Bilk Pmt -Check     02!16/2018 wire 021618                                                                           1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                6,119.85
                                                                                      Bill Pmt-Check      02/21 Y2018 wire 022118                                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                7,000.00
                                                                                      Bill Pmt-Check      03/06/2018 wire 030618                                                                           1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                7,667.04
                                                                                      Bill Pmt-Check      03/07/2018 wire 030718                                                                           1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                 4,545.50
                                                                                       Bill Pmt -Check    03/12/2018 wire 031218                                                                           1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                2,000.00
                                                                                       Bill Pmt -Check    03/13/2018 wire 031318     po # EP11164                                                          101 t ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  635.63
                                                                                       Bill Pmt-Check     03/22/2018 wire 032218     po # EP10669B - 7/26/17                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  696.66
                                                                                       Bill Pmt -Check    05/04/2018 wire 050418     po # EP11212                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable               15,120.39
                                                 11/2/2018 10:41 AM                                                                                                                                                 F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                                                                               8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                                                                   „~oti2o,8
Desc




                                                 January 2017 through September 2018
                                                                                                             Date          Num                                       Memo                                                Account                  Clr             Split            Debit       Credit
                                                                                            Type
                                                                                                           OS/16/20~8 wire 051618                                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 5,580.04
                                                                                     Biil Pmt -Check
                                                                                                           05/25/2018 wire 052518                                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 8,000.00
                                                                                     Bill Pmt-Check
                                                                                                                                                                                                                                                                                               10,000.00
Entered 12/21/18 12:13:35




                                                                                     Bill Pmt -Check       05/30/2018 wire 053018                                                                        1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable
                                                                                                           06/04/2018 wire 060418   po # EP11227                                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 1,204.56
                                                                                     BiII Pmt-Check
                                                                                                           06/05/2018 wire 060518                                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 5,000.00
                                                                                     Bill Pmt -Check
                                                                                     Bill Pmt -Check       07/02/2018               QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable        0.00
                                                                                                           07/02/2018               QuickBooks generated zero amount transaction for bill payment stub   1011 • Centerstone HSBC Distribution           2010 •Accounts Payable         0.00
                                                                                     Bill Pmt -Check
                                                                                                                                    QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable        0.00
Page 204 of 229




                                                                                     Bill Pmt -Check       07/02/2018
                                                                                     Biil Pmt -Check       07/022018                QuickBooks generated zero amount transaction for bill payment stub   1 Ot 1 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable        0.00
                                                                                     BiII Pmt -Check       07/02/2018               QuickBooks generated zero amount transaction for bill payment stub   1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable        0.00
                                                                                     Bill Pmt -Check       07102/2018               QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable        0.00
                                                                                     Bill Pmt -Check       07/02/2018               QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable        0.00
                                                                                                           07/31/2018 ach07312018                                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                30,929.74
                                                                                     Biil Pmt -Check
                                                                                                           08/01/2018 ach08012018                                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                10,065.08
                                                                                     Bill Pmt-Check
                                                                                     Bill Pmt-Check        08/09/2018 ach08092018                                                                        1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                  6,191.64
                                                                                     Bill Pmt-Check        08/22/2018 wire 082218                                                                        1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 6,993.72
                                                                                                           08130/2018 ach08302018                                                                        1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable                 3,215.4
                                                                                     Bill Pmt-Check
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                           Michael Sanders
                                                                                      Bill Pmt-Check       01/12/2018 4888          manuel check- direct deposit reversal regular pay                    1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                   583.73
                                                           NY Urgent Care Practices PC
                                                                                      Bill Pmt -Check      08/11/2017 4752          VOID:                                                                1011 ~ Centerstone HSBC Distribution      J    2010 ~ Accounts Payable        0.00
                                                                                      Bill Pmt-Check       08/11/2017 4753                                                                               1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                    946.00
                                                                                      Bill Pmt-Check       09/15/2017 4778                                                                               1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                    538.00
                                                                                      Bill Pmt-Check        10/13!2017 4819                                                                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 1,037.00
                                                                                      Bill Pmt -Check       11/20/2017 4843                                                                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                   510.00
                                                                                      Bill Pmt-Check        12/22/2017 4881                                                                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 1,432.00
                                                                                      Bill Pmt-Check        03/12/2018 4907                                                                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 1,958.00
                                                                                      Bill Pmt-Check        09/07/2018 4998                                                                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                 2,043.00
                                                                                      Bill Pmt-Check        09!14/2018 5001          services-03/23/18                                                   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                    50.00
                                                            Orkin
                                                                                         Bill Pmt-Check     11/20/2017 4844                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   750.00
                                                                                         Bill Pmt-Check     08/24/2018 4974                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   705.00
                                                            Pace Analytical Services, Inc
                                                                                         Bill Pmt-Check     01/t 3/2017 4523         po #EP10509                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  540.00
                                                                                         Bill Pmt-Check     08/11!2017 4754          po #EP10906                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  540.00
                                                            Partners Cooperative, Inc.
                                                                                         Bill Pmt-Check     03/29!2017 4639          2017 rebate accrual                                                  1011 ~ Centerstone HSBC Distribution           2010 ~ Acwunts Payable                25,000.00
                                                                                         Bill Pmt -Check    04/11/2017 4644          2017 rebate additional                                               1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  521.35
                                                                                         BiII Pmt -Check    07/12/2017 4722          GPO fees Jan-Apr 2016                                                1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable                49,036.36
                                                                                         Bill Pmt-Check     09/26/2017 4784          GPO fees- May/June 2016                                              1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable               23,156.92
                                                                                         Bilk Pmt -Check    02/08/2018 4894          GPO fees                                                             1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable               20,000.00
                                                            Partsmaster
                                                                                         Bill Pmt-Check     04/28/2017 4667          po #EP10757                                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  617.89
                                                            Patrick McShane
                                                                                         Bill Pmt -Check    04/1412017 4647          Manual pay check                                                     1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable                  838.88
                                                            Pemco, Inc.
                                                 11/2/2018 10:41 AM                                                                                                                                                 F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                 Clarus Linen Systems - EASTPOINT                                                                                                                                                                           8:38 AM
                                                 Transaction List by Vendor                                                                                                                                                                               „~oti2o,8
Desc




                                                 January 2017 through September 2018
                                                                                           Type            Date             Num                                   Memo                  Account                   Clr             Split           Debit    Credit
                                                                                  Bill Pmt -Check        10/20/2017 4828                                                 1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable            6,798.96
                                                                                  Bill Pmt-Check         02/16/2018 4898                                                 1011 • Centerstone HSBC Distribution           2010 •Accounts Payable             9,831.45
Entered 12/21/18 12:13:35




                                                                                  Biil Pmt-Check         05/25/2018 4940           acct#3-0800.0522246                   1011 ~ Cen[erstone HSBC Distribution           2010 ~ Accounts Payable             1,851.95
                                                           Rico ~ama~ Jones
                                                                                   Bill Pmt -Check       03/20/2017 4603           manuel check -incorrect rate          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              162.54
                                                           Robertson Home Improvement
                                                                                   Bill Pmt-Check        08/1 t/2017 4760          po #EP10827 12/15/2016                1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             3,500.00
Page 205 of 229




                                                           Rome Electric Motor Works
                                                                                   Bill Pmt-Check        02!2412017 4591           po #EP10550                           1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             t,t9425
                                                                                   BiII Pmt-Check        03/24/2017 4626                                                 1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             4,043.36
                                                                                   Bill Pmt-Check        08/11/2017 4761                                                 1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              947.85
                                                           Rome Machine &Foundry Co.
                                                                                   Bill Pmt-Check        01/23/2017 4531           po #EP10352                           1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable             1,308.45
                                                           Ross Textiles, Inc.
                                                                                   Bill Pmt-Check        04/28/2017 4670                                                 1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable              442.63
                                                                                   Bill Pmt-Check        09/19/2017 4779                                                 1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              457.86
                                                           Royal Johnson
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                   Bill Pmt-Check        08/31/2018 4994           Manual Check 083118                   1011 ~ Centerstone HSBC Distribution           2010 •Accounts Payable               411.14
                                                           Ryan Ricardo Ellis
                                                                                   Bill Pmt -Check       04/13/2018 4930           manuel check -regular pay             t Ot 1 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              975.39
                                                            Ryder
                                                                                   Bilk Pmt-Check        01/10/2017 4505                                                 1011 ~ Centerstone HSBC distribution           2010 ~ Accounts Payable             4,553.55
                                                                                   Bill Pmt-Check        01/13/2017 4526           acct # 00190-155412                   1011 • Centerstone HSBC Distribution           2010 ~ Accounts Payable              441.56
                                                                                   Bill Pmt-Check        01/27/2017 4535                                                 1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              824.74
                                                                                   Bill Pmt-Check        02!22/2017 wire022217                                           101 t ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable            89,125.34
                                                                                   Bill Pmt -Check       02/22/2017 wire022217     acct # 00190-155412                   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable              871.18
                                                                                   Bill Pmt-Check        02/22/2017 wire0222~7                                           1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             7,478.48
                                                                                   Bill Pmt-Check        04/19/2017 4649                                                 1011 ~ Ce~terstone HSBC Distribution           2010 ~ Accounts Payable             4,251.22
                                                                                   Bill Pmt-Check        06/23/2017 wire 062317                                          1011 ~ Centerstone HSBC Distribution           201D ~ Accounts Payable             4,701.06
                                                                                   Bill Pmt-Check        06/28/2017 wire 062817                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable            ?5,552.07
                                                                                       Bill Pmt-Check    07/07/2017 wire 070717                                          1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             5,391.02
                                                                                       Bill Pmt -Check   07/27/2017 wire 072717    acct # 00190-155412                   1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable            30,647.21
                                                                                       Bill Pmt-Check     08/04/2017 wire 080417                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable            27,731.50
                                                                                       Bill Pmt -Check    09!03/2017 wire 080417    acct # 00190-155412                   1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               820.38
                                                                                       Bill Pmt-Check     09/08/2017 wire 090817                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             1,559.42
                                                                                       Bill Pmt -Check    10/13/2017 wire 101317                                         1011 ~ Centerstone HSBC Distribution           2010 ~ Accounts Payable             4,390.49
                                                                                       Bill Pmt-Check     11/03/2017 wire 110317    acct# 00147-155413                    1011 ~ Centerstone HSBC Distribution          201D ~ Accounts Payable             1,134.20
                                                                                       Bill Pmt-Check     01/26/2018 wire 012618                                          1011 ~ Centerstone HSBC Distribution          2010 ~ AccountsPayable              3,312.97
                                                                                       Bill Pmt-Check     02/09/2018 wire 020918                                          1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable             31,286.65
                                                                                       Bill Pmt-Check     02/16/2018 wire 021618    acct # 00190-155412                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable            15,837.30
                                                                                       Bill Pmt-Check     D2/23/2018 wire 022318    acct # 00147-155413                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               590.09
                                                                                       Bill Pmt -Check    03/02/2018 wire 030218    acct # 00190-155412                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               359.37
                                                                                       Bill Pmt -Check    03/09/2018 wire 030918    acct# 00190-155412                    1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                896.36
                                                                                       Bill Pmt -Check    05!2212018 wire 052218    acct # 00147-155413                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               590.09
                                                                                       Bill Pmt -Check    05/30/2018 wire 053018    acct # 00190-155412                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               557.91
                                                                                       Bill Pmt -Check    06/07/2018 wire 060718    acct # 00190-155412                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               265.85
                                                 11/2/2018 10:41 AM                                                                                                                F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                                                                                                                                                                                                                                                               8:38 AM
                                                 Clarus Linen Systems - EASTPOINT
                                                 Transaction List by Vendor                                                                                                                                                                                                                  11/0212018
Desc




                                                 January 2017 through September 2018
                                                                                            Type          Date            Num                                       Memo                                                Account                  Clr             Split            Debit       Credit
                                                                                    Bill Pmt-Check      04/28/2017 4668            po #EP10768                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  426.80
                                                                                    Bill Pmt-Check      07!07/2017 4713            po #EP10806                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  941.00
Entered 12/21/18 12:13:35




                                                                                    Bill Pmt-Check      08!11/2017 4755            po #EP10919                                                           1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  1,25727
                                                           Penske Truck Leasing Co., L.P.
                                                                                    BiII Pmt-Check      01/10/2017 4504                                                                                  1011 - Centerstone HSBC Distribution          2010 ~ Accounts Payable                36,742.15
                                                                                    Bill Pmt-Check      01/13/2017 4524                                                                                  1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  5,627.74
                                                                                    Bill Pmt-Check      02/24/2017 4589                                                                                  1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 34,578.70
                                                                                                                                                                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                     99.02
Page 206 of 229




                                                                                    Bill Pmt -Check     03/24/2017 4623            acct # 60300200-0318
                                                                                    Bill Pmt-Check      03/27!2017 4638                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                49,577.28
                                                                                    Bill Pmt-Check      04/28/2017 4669            acct # 60300200-0318                                                  1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                   137.49
                                                                                    Bill Pmt -Check     05/03/2017 4678                                                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,032.72
                                                                                    Bill Pmt-Check      05/05/2017 4684                                                                                  1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                17,457.14
                                                                                    Bill Pmt-Check      05/07!2017 wire 041217                                                                           1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 29,037.30
                                                                                    Bill Pmt-Check      05/07/2017 wire 041217                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                24,466.60
                                                                                    Bill Pmt-Check      05/25/2017 4687                                                                                  1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  4,738.27
                                                                                    Bill Pmt-Check      06/30/2017 wire 063017     acct # 60300200.0318                                                  1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                24,929.44
                                                                                     Bill Pmt -Check    07/07/2017 wire 070717                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,280.22
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                     Bill Pmt-Check     07/17/2017 wire 071717                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                10,944.67
                                                                                     Bill Pmt -Check    07/27/2017 wire 072717     acct # 60300200-0318                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                25,58025
                                                                                     Bill Pmt-Check     08/06/2017 wire 041217     acct#60300200-0318                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                   21325
                                                                                     Bill Pmt-Check     08/14/2017 wire 061417                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                32,920.99
                                                                                     Bill Pmt-Check     08/18/2017 wire 081817                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 7,818.19
                                                                                     Bill Pmt-Check     09/01/2017 wire 090117                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                22,334.98
                                                                                     Bill Pmt-Check     09/08/2017 wire 090817                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                28,012.06
                                                                                     Bill Pmt -Check    09/15/2017 wire 091517                                                                           1011 ~ Centerstone HSBC Distribution          2D10 ~ Accounts Payable                 3,676.65
                                                                                     Bill Pmt-Check     09/22/2017 wire 092217                                                                           1011 ~ Centerstone HSBC Distribution          2D10 ~ Accounts Payable                30,375.07
                                                                                     Bill Pmt -Check    09/29/2D17 wire 092917                                                                           1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,223.07
                                                                                     Bill Pmt-Check      10/06/2017 wire 100617                                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 4,297.17
                                                                                     Bill Pmt -Check     1011 3/2017 wire 101317                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                19,282.52
                                                                                     Bill Pmt-Check      10/24/2017 wire 102417                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 6,345.22
                                                                                     Bill Pmt -Check     10127/2017 wire 102717                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 5,227.71
                                                                                     Bill Pmt-Check      11/03/2017 wire 110317                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 5,201.56
                                                                                     Bill Pmt-Check      12/11/2017 wire 121117                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                17,65823
                                                                                     Bill Pmt-Check      12/15/2017 wire 121517                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                   384.84
                                                                                     Bill Pmt-Check      01/05/2018 wire 010518                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                18,71023
                                                                                     Bill Pmt -Check     01/05/2018                 QuickBooks generated zero amount transaction for bill payment stub    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable        0.00
                                                                                      Bill Pmt-Check     02/02!2018 wire 020218                                                                           1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                 34,000.00
                                                                                      Bill Pmt -Check    02/09/2018 wire 020918     acct # 60300200-0318                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,430.71
                                                                                      Bill Pmt -Check    02/23/2018 wire 022318                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               23,721.53
                                                                                      Bill Pmt -Check    03/02/2018 wire 030218     acct # 60300200.0318                                                  1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                 3,965.86
                                                                                      Bill Pmt-Check     03/09/2018 wire 030918                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               18,045.05
                                                                                      Bill Pmt -Check    03/23/2018 wire 032318     acct # 60300200-0318                                                  1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               20,731.98
                                                                                      Bill Pmt-Check     04/06/2018 wire 040618                                                                           1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 2,747.60
                                                                                      Bill Pmt -Check    04/1712018 wire 041718                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               16,356.02
                                                                                      Bill Pmt -Check    04!20/2018 wire 042018                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                18,012.38
                                                                                      Bill Pmt-Check     05/01/2018 wire 050118                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 3,366.92
                                                 11/2/2018 10:41 AM                                                                                                                                                F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-0930 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                                8:38 AM
                                                  Transaction List by Vendor                                                                                                                                                                                    „~oti2o,8
Desc




                                                  January 2017 through September 2018
                                                                                              Type           Date            Num                                       Memo                  Account                 Clr             Spik            Debit       Credit
                                                                                      Bill Pmt -Check      05/04/2018 wire 050418                                             1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                24,716.75
                                                                                      Bill Pmt-Check       05/14/2018 wire 051418                                             1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                6,533.73
Entered 12/21/18 12:13:35




                                                                                      Bill Pmt-Check       05/25/2018 wire 052518                                             1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable               12,887.40
                                                                                      Bill Pmt-Check       05/25/2018 wire 052518   acct # 60300200.0318                      1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               14,301.78
                                                                                      Bill Pmt-Check       05/29/2018 wire 052918                                             1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                9,034.08
                                                                                      Bill Pmt -Check      06/08/2018 wire 060818                                             1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable               26,134.36
                                                                                         Bill Pmt-Check    06/15/2018 wire 061518                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               16,449.61
                                                                                         Bill Pmt -Check
Page 207 of 229




                                                                                                           06/22/2018 wire 062218   acct # 60300200.0318                      1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              28,802.20
                                                                                         Bill Pmt -Check   06/29/2018 wire 062918                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               13,663.13
                                                                                         Bill Pmt-Check    07/06/2018 wire 070618                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               8,362.81
                                                                                         Bill Pmt-Check    08/05/2018 wire060616    acct #60300200-0318                       1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              28,897.12
                                                                                         Bill Pmt-Check    08/10/2018 wire081018                                              1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                8,121,87
                                                                                         Bill Pmt-Check    08!17/2018 wire081718                                              1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              10,181.12
                                                                                         Bill Pmt-Check    08/31/2018 wire 083118                                             1011 • Centerstone HSBC Distribution         2010 •Accounts Payable               28,817.47
                                                                                         Bill Pmt-Check    09/14/2018 wire 091418                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              14,279.42
                                                                                         Bill Pmt-Check    09/21/2018 wire 092118                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              10,446.12
                                                                                         Bill Pmt-Check    09/28/2018 wire 092818                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              27,45828
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                            Positek RFID, LP
                                                                                         Bill Pmt-Check    02/06/2017 4557          acct #10766                               1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 100.00
                                                                                         Bill Pmt-Check    12/08/2017 4870          acct #10766                               1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 100.00
                                                            Printable Services
                                                                                         Bill Pmt-Check    03/24/2017 4624          VOID: po #EP10635 12/28/16                1011 ~ Centerstone HSBC Distribution   J     2010 ~ Accounts Payable      0.00
                                                                                         Bill Pmt-Check    04/04/2017 4640          po #EP10635 12/28/16                      1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 211.61
                                                                                         Bill Pmt -Check   12/22/2017 4882          po #EPt 1071 09/12/2017                   1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 280.92
                                                            Pure Health Solutions Inc.
                                                                                         Bill Pmt-Check    12/01/2017 4861                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 130.58
                                                                                         Bill Pmt -Check   08/24!2018 4975                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 529.43
                                                            Quality Built Technologies Inc.
                                                                                         Bill Pmt-Check    08/30/2018 4989          install new door and hardware-EP          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               2,200.00
                                                            R.S. Andrews
                                                                                         Bill Pmt-Check    02/06/2017 4558          service 11/15/2016                        1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 508.00
                                                                                         Bill Pmt -Check   02/24/2017 4590          po #EP10608 09/09/2016                    1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                  280.00
                                                                                         Bill Pmt-Check    08/11/2017 4756          po #EP10829 01/17/2017                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 403.00
                                                                                         Bill Pmt -Check   12/01/2017 4862                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 560.00
                                                                                         Bill Pmt-Check    09/07/2018 4999                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 56D.00
                                                            Raintree Waste
                                                                                         Bill Pmt-Check    07/06/2018 4959                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               1,275.00
                                                                                         Bill Pmt-Check    09!12/2018 AMEX09~218    acct #023273-8                            2999 ~ AMEX Clearing Account                 2010 ~ Accounts Payable                 425.00
                                                                                         Bill Pmt-Check    09/12/2018 AMEX091218    VOID:                                     2999•AMEX Clearing Account              J    2010 ~ Accounts Payable       0.00
                                                                                         Bill Pmt -Check   09/12/2018 AMEX091218                                              2999 ~ AMEX Clearing Account                 2010 ~ Accounts Payable               1,275.40
                                                            Republic Services
                                                                                         Bill Pmt -Check   01/13/2017 4525          acct #3-0800.0522246                      1011 ~ Centerstone HSBC DisVibution          2010 ~ Accounts Payable               4,645.35
                                                                                         Bill Pmt -Check   03/24/2017 4625          acct #3-0800-0522246                      1011 ~ Centerstone HSBC Distrtbution         2010 ~ Accounts Payable               3,484.26
                                                                                         Bill Pmt -Check   04/13/2017 autod041317                                             1011 ~ Centerstone HSBC Distribution         2010 ~ AccountsPayable                7,599.50
                                                                                         Bill Pmt-Check    06/29/2017 autod062917                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               6,478.50
                                                                                         Bill Pmt-Check    08/11/2017 4757                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               6,426.27
                                                 11/2/2018 10:41 AM                                                                                                                    F:\Cf0\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                         8:38 AM
                                                  Transaction List by Vendor                                                                                                                                                                             „~oti2o,8
                                                  January 2017 through September 2018
Desc




                                                                                           Type           Date            Num                                   Memo                      Account                 Clr             Split           Debk    Credit
                                                                                      Bill Pmt-Check    O6/15/2018 wire 061518    ad #00147- 155413                        1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable            1,006.55
                                                                                      Bill Pmt -Check   O6/22/2018 wire 062218    acct # 00147-0155413                     1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable             590.00
Entered 12/21/18 12:13:35




                                                                                      Bill Pmt-Check    07!13/2018 wire 071318    aat# 00190-155412                        1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           3 ,319.13
                                                                                      Bill Pmt-Check    08/10/2018 wire081016     acct # 00190-155412                      1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable            4,672.69
                                                                                      Bill Pmt-Check    08/31Y2018 wire 083118                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           26,387.40
                                                                                      Bill Pmt-Check    OS/31 YL018 wire 083118   acct#00147-15513                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable             590.09
                                                                                      Bill Pmt-Check    09/14/2018 wire 070618                                             1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable           21,453.94
                                                                                      Bill Pmt -Check   09/24/2018 wire 070618    acct #00190-155412                       1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable            8,013.81
Page 208 of 229




                                                            Scale Systems, Inc
                                                                                      Bill Pmt-Check    02/24/2017 4592           po #EP10610                              1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable            1,068.91
                                                                                      Biil Pmt -Check   07/27/2018 4964           po #joe chiariello                       1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable              770.50
                                                            Softrol
                                                                                      Bill Pmt-Check    03/24!2017 4627           po #EP10581                              1011 • Centerstone HSBC Distribution         2010 •Accounts Payable              359.26
                                                            Southeastern Freight Lines, lnc.
                                                                                      Bill Pmt -Check   02/06/2017 4559           acct #999973768 po #EP10548              1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              50.35
                                                                                      Bill Pmt -Check   02/24!2017 4593           acct #002001495                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable              50.35
                                                                                      Bill Pmt-Check    03/24/2017 4628                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable             151.77
                                                                                      Bill Pmt-Check    04/28/2017 4671
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                                                                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable             252.95
                                                            Standard Textile
                                                                                      Bill Pmt-Check    01/10/2017 wi~e011017     po # EP10592 - 5551730-5569767-5567294   1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable             714.24
                                                                                      Bill Pmt-Check    01/13/2017 wire 011317                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           35,105.16
                                                                                      Biil Pmt-Check    01/23/2017 wire 012317                                             1011 • Centerstone HSBC Distribution         2010 • Acwunts Payable            16,566.12
                                                                                      Bill Pmt-Check    01/27Y2017 wire 012717                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           27,252.48
                                                                                      Bill Pmt-Check    02/0312017 wire 020317                                             1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable           29,838.00
                                                                                      Bili Pmt -Check   02/10@017 wire 021017                                              7011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           31,006.08
                                                                                      Bill Pmt -Check   02/17/2017 wire021717                                              1011 • Centerstone HSBC Distribution         2010 ~ Acwunts Payable            20,396.64
                                                                                      Bill Pmt-Check    02/24/2017 wire 022417                                             1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable           21,548.24
                                                                                      Bill Pmt-Check    03/06/2017 wire 030617                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           41,752.88
                                                                                      Bill Pmt-Check    03/13/2017 wire 031317                                             101 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable           33,379.48
                                                                                      Bill Pmt -Check   03/17/2017 wire 031717                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           53,026.08
                                                                                      Bill Pmt -Check   03/24/2017 wire 032417                                             1011 ~ Centerstone HSBC Distribution         2010 -Accounts Payable            42,451.08
                                                                                      Bill Pmt-Check    05/07/2017 wire 041017                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           46,771.44
                                                                                      Bili Pmt-Check    05/07/2017 wire 041417                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           37,72.08
                                                                                      Bill Pmt-Check    05/07!2017 wire 042117                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           35,941.44
                                                                                      Bill Pmt -Check   DS/12/2017 wire 051217    po # EP10967                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           33,721.68
                                                                                      Bill Pmt-Check    06/04/2017 wire 042817    po # EP10944                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           27,384.60
                                                                                      Bill Pmt-Check    06/04/2017 wire 050517    po # EP10957                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           31,524.72
                                                                                      Bill Pmt-Check    06/04/2017 wire 052317                                             1011 ~ Centerstone HSBC Distribution         2010 ~ Acwunts Payable            33,158.40
                                                                                      Bill Pmt-Check    06/04/2017 wire 061617    po # EP11005                             1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable            25,255.32
                                                                                      Bill Pmt-Check    06/04/2017 wire 062617    po # EP~0993                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable            2,915.6
                                                                                      Bill Pmt-Check    06/04/2017 wire 052617    po # EP10985                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           Zg,g5g,72
                                                                                      Bill Pmt-Check    O6/04/2017 wire 061217    po # EP10993                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           Zg,2gg,52
                                                                                      Bill Pmt -Check   06/04/2017 wire 052617    po # EP~0982                             1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable            2,880.48
                                                                                      Bill Pmt-Check    06/04/2017 wire 061617    po # EP11005                             1011 ~ Centerstone HSSC Distribution         2010 ~ Accounts Payable            8,867.52
                                                                                      Bill Pmt-Check    06!0412017 wire 062617    po# EP11009                              1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable           56,944.08
                                                                                      Bill Pmt -Check   06/30/2017 STC List 9                                              1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable          169,531.84
                                                 11/2/2018 10:41 AM                                                                                                                 F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                   8:38 AM
                                                  Transaction List by Vendor                                                                                                                                                                                                       „~oti2o,8
                                                  January 2017 through September 2018
Desc




                                                                                   Type            Date          Num                                        Memo                                               Account                  Clr             Split           Debit       Credit
                                                                              Bill Pmt-Check     08/09/2017 wire 080917    po # EP11051                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,785.60
                                                                              Bill Pmt-Check     11/27/2017 wire 080417                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               18,980.76
Entered 12/21/18 12:13:35




                                                                              Bill Pmt-Check     11/28/2017 wire 090717                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                7,565.48
                                                                              Bill Pmt-Check     11/28/2017 wire 092117                                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                20,013.02
                                                                              BiII Pmt-Check     11/30/2017 wire 070717    po # EPt 1009                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,714.80
                                                                              Bill Pmt-Check     11/30/2017 wire 070317    po # EP11019                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                37,793.88
                                                                              Bilf Pmt-Check     11/30/2017 wire 072517    po # EP11034                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               13,073.76
                                                                              Bill Pmt -Check    11/30!2017 wire 070317    po # EP10993                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 514.44
Page 209 of 229




                                                                              Bill Pmt-Check     t 1/30/2017 wire 070717   po # EPt 1024                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               37,90224
                                                                              Bill Pmt-Check     11/30/2017 wire 092617    po # EP11101                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                8,654.56
                                                                              Bill Pmt-Check     11/30/2017 wire 101317    po # EP11107                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                3,325.39
                                                                              Bill Pmt-Check     11/30/2017 wire 092717    po # EP11107                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 131.10
                                                                              Bill Pmt -Check    11/30/2017 wire 101217                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                5,936.01
                                                                              Bilk Pmt-Check     11/30/2017 wire 101717    po # EPt 1119                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,338.48
                                                                              Bill Pmt -Check    11/30/2017 wire 110117                                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                30,612.45
                                                                              Bill Pmt-Check     11/30!2017 wire 110617    po # EP11125                                                         1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,807.51
                                                                              Bilf Pmt-Check     11/30/2017 wire 111617                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                2,898.24
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                              Bill Pmt-Check     11/30/2017 wire 111717    po # EPt 1142                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,039.68
                                                                              Bill Pmt-Check     11/30/2017 wire 081417    po # EP11056                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,760.35
                                                                              Bill Pmt-Check     11/30/2017 wire 072517    po # EP70884                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,084.32
                                                                              Bill Pmt-Check     12/01/2017 wire 040417                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               50,057.76
                                                                              Bill Pmt-Check     01/12/2018 wire 011218                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               25,480.00
                                                                              Bill Pmt-Check     01/18/2018 wire 011818    po # EP11187                                                         1011 ~ Centerstone HSBC Distribution          2010 • Acwunts Payable                42,324.00
                                                                               Bill Pmt -Check   02/07!2018 wire 020718    po # EP11198                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               12,831.36
                                                                               Bill Pmt -Check   02/16/2018 wire 021618                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               14,033.52
                                                                               Bill Pmt-Check    02/21/2018 wire 022118    po # EP11206                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               24,378.96
                                                                               Bill Pmt-Check    03/05/2018 wire 030518    po # EPt 11213                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               61,331.76
                                                                               Bill Pmt-Check    03/14/2018 wire 031418    po # EP11218                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  523.88
                                                                               Bill Pmt-Check    03/27/2018 wire 032718    po # EP112D9                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,384.67
                                                                               Bill Pmt -Check   03/30/2018 unappl cash    po # EPt 1218                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,682.20
                                                                               Bill Pmt-Check    04/13!2018 wire 041318    po # EP11208                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                6,103.68
                                                                               Bill Pmt-Check    04/18/2018 wire 041818    po # EP11235                                                         1011 ~ Centerstone H56C Distribution          2010 ~ Accounts Payable                5,293.44
                                                                               Bill Pmt -Check   04/19/2018 wire 041918                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                8,138.64
                                                                               BiII Pmt -Check   05/01/2018 wire 050118                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               17,490.49
                                                                               Bill Pmt-Check    05/1612D18 wire 051618    po# EP11247                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               20,131.20
                                                                               Bill Pmt-Check    05/24Y2018 wire 052418    po # EP11249                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                6,505.92
                                                                               Bill Pmt-Check    05/25/2018 wire 052518    PO# EP11251                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,96128
                                                                               Bill Pmt -Check   05/30/2018 wire 053018    po# EP11256                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               14,650.08
                                                                               Bill Pmt-Check    O6/03/2018 wire 030718    Freight charges for inv.# 5898239 3/8!18                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,200.00
                                                                               Bill Pmt-Check    06/13/2018 wire 061318    po # EP11266                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                6,842.16
                                                                               Bill Pmt-Check    06/26/2018 wire 062618    po #EPA 1263                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                20,199.24
                                                                               Bill Pmt -Check   06/28/2018 wire 062818    po # EP11268                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                5,903.04
                                                                               Bill Pmt-Check    06/30/2018                QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       0.00
                                                                               Bill Pmt-Check    06/30/2018                QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       0.00
                                                                               Bill Pmt-Check    06/30Y2018                QuickBooks generated zero amount transaction for bill payment stub   101 t ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable       0.00
                                                                               Bill Pmt -Check   06/30/2018                QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       0.00
                                                 11/2/2018 10:41 AM                                                                                                                                      F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-0930 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                   8:38 AM
                                                  Transaction List by Vendor                                                                                                                                                                                                       ,voti2o,8
Desc




                                                  January 2017 through September 2018
                                                                                     Type           Date            Num                                     Memo                                                Account                 Clr             Spiit           Debit       Credit
                                                                                Bill Pmt-Check    07/03!2018 wire 070318   po # EP11269                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                3,323.52
                                                                                Bill Pmt-Check    08/05/2018 wire0706i8    po #EPt 1274 07/10/2018                                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,325.52
Entered 12/21/18 12:13:35




                                                                                Bill Pmt-Check    08/05/2018 wire071818    po #EPt 1278                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ AccountsPayable                13,821.60
                                                                                Bill Pmt-Check    08131!2018 STC08312018   VOID:                                                                1011 ~ Centerstone IiSBC Distribution   ~     2010 ~ Accounts Payable       0.00
                                                                                Bill Pmt Lheck    08/31/2018 STC08312018                                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              131,070.47
                                                                                Bill Pmt -Check   08/31/2018 STC 445K                                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               32,899.92
                                                                                Bill Pmt-Check    08/31/2018               QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       0.00
Page 210 of 229




                                                                                Bill Pmt-Check    08/31/2018 wire 081318                                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               8,130.48
                                                                                Bill Pmt-Check    09/04/2018 wire 090418                                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               8,83020
                                                                                Biil Pmt-Check    09/21/2018 STC 092118    po #EP9445                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                8,19120
                                                                                Bill Pmt Lheck    09/30/2018 wire 082118   po #EP11290                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                7,872.72
                                                                                Bill Pmt-Check    09/30/2018 wire 082718   po #EP11294                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                8,727.12
                                                                                Bill Pmt -Check   09/30/2018 wire 091818   po #EPt 1301                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 817.44
                                                                                BiII Pmt-Check    09/30/2018               QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       D.00
                                                            SW ples Advantage
                                                                                Bill Pmt-Check    01!70/2017 4506          acct #ATL 1534203 12/03/16                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 99423
                                                                                Bill Pmt-Check    01/93/2017 4527          acct #ATL 153420312/10/16                                            1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,745.09
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                Bill Pmt-Check    02/06YZ017 4560          acct#ATE 1534203                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  72.99
                                                                                Bill Pmt-Check    02/06/2017 4565          acct#ATL 1534203 12N 7/16                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 536.50
                                                                                Bill Pmt-Check    02/06/2017 4566          acct #ATL 1534203 12/24/16                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,55020
                                                                                Bill Pmt-Check    02/24/2017 4594          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 725.53
                                                                                Bill Pmt-Check    03124!2017 4629          acct #ATL 1534203                                                    1011 • Centerstone HSBC Distribution          2010 •Accounts Payable                  822.74
                                                                                Bill Pmt-Check    03/24/2017 4636          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          201D ~ Accounts Payable                1,633.54
                                                                                Bill Pmt-Check    03/24/2017 4637          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 883.02
                                                                                Bill Pmt-Check    04/28/2017 4672                                                                               1011 • Centerstone HSBC Distribution          2010 •Accounts Payable                 7,501.79
                                                                                Bill Pmt-Check    07/07/2017 4715          acct#ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 573.44
                                                                                Bill Pmt -Check   07/07/2017 4714          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,002.63
                                                                                Bill Pmt-Check    07/07/2D17 4718          acct #ATL 1534203                                                    1011 - Centerstone HSBC Distribution          2010 •Accounts Payable                  782.46
                                                                                Bill Pmt -Check   07/07/2017 4719          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 312.33
                                                                                Bill Pmt-Check    07/07/2017 4720          acct #ATL1534203                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 789.34
                                                                                Bill Pmt-Check    08!11/2017 4762          acct #ATl 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,470.72
                                                                                Bill Pmt-Check    10/06Y2017 4798          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 398.90
                                                                                Bill Pmt -Check   10/06/2017 4799          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 477.35
                                                                                Bill Pmt-Check    10/06/2017 4800          acct#ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,735.09
                                                                                Bill Pmt-Check    10/06/2017 4801          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 768.56
                                                                                Bill Pmt-Check    10106!2017 4802          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 729.68
                                                                                Bill Pmt-Check    10/06f2017 4803          acct #ATL 1534203 06/17!2017                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  312.69
                                                                                Bill Pmt-Check    X0/06/2017 4804          acct #ATL 9534203                                                    1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 981.00
                                                                                Bill Pmt -Check   10/06/2017 4805          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 273.09
                                                                                Bill Pmt-Check    10/06/2017 4806          acct#ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                2,138.15
                                                                                Bill Pmt -Check   10/06/2017 4807          acct #ATL 1534203                                                    1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 604.76
                                                                                Bill Pmt-Check    10/06/2017 4808          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 42g2p
                                                                                Bill Pmt-Check    10/06/2017 4809          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 236.45
                                                                                Bill Pmt -Check   10/06/2017 4810          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 • Accounts Payable                 565.36
                                                                                Bill Pmt-Check    10/06/2017 4811          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 762.02
                                                                                Bill Pmt-Check    10/06/2017 4812          acct #ATl 1534203                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 139.84
                                                 11/2/2018 10:41 AM                                                                                                                                      F:\CFO\Crown\APA Requests\Vendor payments 2017-01-Ol to 2018-0930 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                           g;3g pM
                                                  Transaction List by Vendor                                                                                                                                                                                                               „~oti2o,8
Desc




                                                  January 2017 through September 2018
                                                                                             Type            Date            Num                                     Memo                                               Account                 Clr             Split           Debit       Credit
                                                                                        Bill Pmt-Check     10/06/2017 4813          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,177.31
                                                                                       Bill Pmt-Check      10/06/2017 4814          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                  152.79
Entered 12/21/18 12:13:35




                                                                                        Bill Pmt-Check     10/13/2017 4820          acct#ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 360.88
                                                                                       - Bill Pmt -Check   10/13/2017 4822          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 968.04
                                                                                        Bill Pmt-Check     03/13/2018 4910          acct#ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 904.89
                                                                                        Bill Pmt-Check     03113!2018 4911          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                3,438.12
                                                                                        Bill Pmt -Check    03/13/2018 4912          invoice #3360424640 11Y25/2017                                       1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                 523.37
Page 211 of 229




                                                                                        Bill Pmt-Check     03/13!2018 4913          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                 1,238.70
                                                                                        Bill Pmt-Check     03/13f2018 4914          invoice 3359883640 11/18/17                                           Ott ~ Centerstone HSBC Distribution         2010 •Accounts Payable                  143.46
                                                                                        Bill Pmt-Check     X3/13/2018 4915          act #ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 157.84
                                                                                        Bill Pmt-Check     03/13!2018 4916          acct #ATL 1534203 12/16/2017                                         t011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 813.08
                                                                                        Bill Pmt-Check     03/13/2018 4917          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 508.23
                                                                                        Bill Pmt-Check     03/13/2018 4918          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 842.22
                                                                                        Bill Pmt -Check    03/13/2018 4919          acct #ATl 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,637.09
                                                                                        Bill Pmt-Check     03!13/2018 4920          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,221.99
                                                                                        Bill Pmt-Check     03/13/2018 4921          acct#ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 414.00
                                                                                        Bill Pmt-Check     05/25/2018 4941          acct #ATL 1534203 02/10/2018                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 565.78
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                        Bill Pmt -Check    05/25/2018 4942          acct #ATL 1534203                                                    1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                 107.05
                                                                                        Bill Pmt-Check     05/25/2018 4943          acct#ATE 1534203                                                     1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                  73.46
                                                                                        Bill Pmt-Check     08/24/2018 4976          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 402.52
                                                                                        BiII Pmt-Check     08/24/2018 4979          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,675.16
                                                                                        Bill Pmt -Check    08/24/2018 4980          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 133.47
                                                                                        Bill Pmt-Check     08/242018 4981           acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 301.30
                                                                                        Bill Pmt-Check     08/24/2018 4982          acct#ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 686.71
                                                                                        Bill Pmt-Check     08/24/2018 4983          acct#ATL 1534203                                                     1011 ~ Centerstone HSBC Distribution         2010 • Acwunts Payable                 1,796.56
                                                                                        Bill Pmt -Check    08!24/2018 4984          invoice #3376336223                                                  1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                  72.34
                                                                                        Bill Pmt-Check     08/24/2018 4985          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 423.31
                                                                                        Bill Pmt-Check     08/24/2018 4986          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 840.09
                                                                                        Bill Pmt-Check     08/24/2018 4987          acct #ATL 1534203                                                    1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 271.77
                                                            Stericycie, lnc.
                                                                                        Bill Pmt-Check     10/O6YL017 4795                                                                               1011 • Centerstone HSBC Distribution         2070 ~ Accounts Payable               2,323.25
                                                            Sterling Tyrone Williams
                                                                                        Bill Pmt-Check     08/31/2018 4992          Manual check 083118                                                  1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,358.90
                                                            Storms Industries, Inc.
                                                                                        Bill Pmt-Check     12/22/2017 4863                                                                               1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               4,669.68
                                                                                        Bill Pmt-Check     03/14/2018 AMEX113017    po #william abbot 11/28!2017                                         2999 ~ AMEX Clearing Account                 2010 ~ Accounts Payable                 951.25
                                                            Streamline Solutions
                                                                                        Bill Pmt-Check     01/10/2017 4507                                                                               1011 ~ Centerstone HSBC Distribution         20t0 ~ Accounts Payable               15,731.60
                                                                                        Bill Pmt -Check    01/13/2017 4528                                                                               1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               4,626.44
                                                                                        BiII Pmt-Check     02/24/2017 4595          VOID:                                                                1011 • Centerstone HSBC Distribution    ~J   2010 •Accounts Payable        0.00
                                                                                        Bill Pmt-Check     03/08/2017 ach03082077                                                                        1071 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               6,746.59
                                                                                        Bill Pmt-Check     03/17/2017 ach03172017                                                                        1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                9,176.60
                                                                                        Bill Pmt-Check     03/24/2017 4630          VOID:                                                                10~~ ~ Centerstone HSBC Distribution    J    2010 ~ Accounts Payable       0.00
                                                                                        Bill Pmt-Check     03/31/2017               QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable       0.00
                                                                                        Bill Pmt-Check     04/20/2017 ach04202017                                                                        1011 ~ Centerstone HSBC Distribution         2D10 ~ Accounts Payable               13,861.25
                                                                                        Bill Pmt-Check     05/03!2017 ach05032017                                                                        1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                8,148.05
                                                 11/2/2018 10:41 AM                                                                                                                                               F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                       8:38 AM
                                                  Transaction List by Vendor                                                                                                                                                                                                           1110212018
Desc




                                                  January 2017 through September 2018
                                                                                          Type          Date            Num                                      Memo                                               Account                 Clr             Split           Debit       Credit
                                                                                   Bill Pmt-Check     05/17/2017 ach05172017                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                3,980.80
                                                                                   Bill Pmt-Check     06/15/2017 ach06152017                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                9,880.45
Entered 12/21/18 12:13:35




                                                                                   Bill Pmt-Check     07/03/2017 ach07032017                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                9,952.00
                                                                                   Bill Pmt-Check     07/03/2017 ach07032017    po #EP10619 03113/2017                                               1011 ~ Ce~terstone HSBC Distribution         2010 ~ Accounts Payable                1,990.40
                                                                                   Bill Pmt-Check     07/27/2017 ach07272077    po#EP10887                                                           1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                4,019.00
                                                                                   Bilk Pmt-Check     09/05/2017 ach09052017                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                8,949.20
                                                                                   Bill Pmt-Check     09/20/2017 ach09202017                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                5,971.20
Page 212 of 229




                                                                                   Bill Pmt -Check    10/02/2017 ach10022017                                                                         1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                 5,505.40
                                                                                   Bill Pmt-Check     10/24/2017 ach102420~7                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                7,961.60
                                                                                   Bill Pmt-Check     11/16/2017 acht1162017                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               11,669.00
                                                                                   Bill Pmt -Check    12/11/2017 ach12112017                                                                         1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                3,980.80
                                                                                   Bill Pmt -Check    12/11/2017 ach12112017    po #EP11035 08/30/2017                                               1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                3,047.80
                                                                                   Bill Pmt -Check    12/31/2017                QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable       0.00
                                                                                   Bill Pmt -Check    12/31/2017                QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable       0.00
                                                                                   Bill Pmt-Check     01108/2018 ach01082018                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                6,095.60
                                                                                   Bill Pmt-Check     01/29/2018 ach01292018                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               15,773.93
                                                                                   Bill Pmt -Check    02/20/2018 ach02202018                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                5,326.27
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                   BiII Pmt-Check     02/28/2018 ach02282018                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                2,119.40
                                                                                   Bill Pmt-Check     03/07/2018 ach030720~ B   po #EP11120                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                2,557.50
                                                                                   Bill Pmt-Check     03114/2018 ach03142018                                                                         1011 ~ Centerstone HSBC DisUibution          2010 ~ Accounts Payable                7,875.60
                                                                                   Bill Pmt -Check    03/27!2018 ach03272018    po #EP11179                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 773.10
                                                                                   Bill Pmt-Check     04/20Y2018 4931           VOID: po #EP11120                                                    1011 ~ Centerstone HSBC Distribution    J    2010 ~ Accounts Payable       0.00
                                                                                   Bill Pmt-Check     04/20/2018 ach04202018    po #EP11120                                                          1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                6,408.00
                                                                                   Bill Pmt-Check     05/02/2018 ach05022018    po #EP11120                                                          1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                 627.80
                                                                                   Bill Pmt -Check    05/07/2018 ach05072018    po #EP11183 01/29/2017                                               1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                3,483.90
                                                                                   Bill Pmt -Check    05!3012018 ach05302018                                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                3,612.90
                                                                                   Bill Pmt-Check     06!0612018 ach06062018    po #EP11225                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                   58.35
                                                                                    Bill Pmt-Check    06/07!2018 ach06072018    po #EP11225                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,704.00
                                                                                    Bill Pmt-Check    06/18/2018 ach061818                                                                           1011 ~ Centerstone HSBC Distribution         201D ~ Acwunts Payable                   722.65
                                                                                    Bill Pmt-Check    06/27/2018 ach06272018    po #EP11232                                                          1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,723.30
                                                                                    Bill Pmt-Check    O6/27/2018 ach06272018    po #EP11232                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,189.70
                                                                                    Bill Pmt-Check    07/25/2018 ach072520~8    po #EP11253                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                2,864.58
                                                                                    Bill Pmt-Check    08!03/2018 ach08032018    po #EP1~253                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,019.42
                                                                                    BiII Pmt-Check    09/282018 ach09282018     po #EP11270                                                          1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                2,300.00
                                                                                    Bill Pmt-Check    09/28/2018 ach09282018    po #EPt 1279                                                         1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,183.18
                                                            Superior Document Solutions
                                                                                    Bill Pmt -Check   01/10/2017 4508                                                                                1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                   107.95
                                                                                    Bill Pmt-Check    02/06/2017 4561                                                                                1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                   765.68
                                                                                    Bill Pmt-Check    04/28!2017 4673           contract #11085-01- 01/20/17-02/19!17                                1011 ~ Centerstone HSBC Distribution         2010 •Accounts Payable                   492.38
                                                                                    Bill Pmt-Check    08/11/2017 4763                                                                                1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                2,171.38
                                                                                    Bill Pmt -Check   10/06/2017 4796                                                                                1011 • Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,206.90
                                                                                    Bill Pmt -Check   10/13/2017 4821                                                                                1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                  542.64
                                                                                    Bill Pmt-Check    12/01/2017 4863                                                                                1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                  739.44
                                                                                    Bill Pmt-Check    01/26/2018 4893                                                                                1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,074.75
                                                                                    Bill Pmt-Check    03/13/2018 4922                                                                                1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                  733.07
                                                                                    Bill Pmt-Check    08/24/2018 4977                                                                                1011 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                1,767.65
                                                 11/2/2018 10:41 AM                                                                                                                                           F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-0930 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                         838 AM
                                                  Transaction List by Vendor                                                                                                                                                                                                              „~ov2o,8
Desc




                                                  January 2017 through September 2018
                                                                                           Type            Date            Num                                     Memo                                               Account                  Clr             Spiit           Debit       Credit
                                                           Teems Electric Inc
                                                                                      Bill Pmt-Check     01/10/2017 4509                                                                               1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               6,505.47
Entered 12/21/18 12:13:35




                                                                                      Bill Pmt-Check     02/24/2017 4596          po #EP10516 10/3V2016                                                1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt -Check    10/27/2017 wire102717                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,030.44
                                                           Teresa Lopez Gil
                                                                                      Bill Pmt -Check    08/07!2017 4727          manuel check -missing time off hours                                 1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  667.13
                                                           The Bailey Company
Page 213 of 229




                                                                                      Bill Pmt-Check     06/01/2018 4944          service - 07/27!2017                                                 1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                  671.78
                                                           The WoNds Global Source LLC
                                                                                      Bill Pmt-Check     01/09/2017 wire010917                                                                         1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               17.824.80
                                                                                      Bill Pmt-Check     01/24/2017 wire012417    po # EP10528                                                         101 t ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               8,013.60
                                                                                      Bill Pmt-Check     01/31/2017 wire013117                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,684.80
                                                                                      Bill Pmt-Check     02!07/2017 wire0207~7                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,713.60
                                                                                      Bill Pmt-Check     02/21/2017 wire022117                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               12,433.44
                                                                                      Bill Pmt-Check     03/07/2017 wire030717                                                                         1011 • Centerstone HSBC Distribution          2010 ~ Acwunts Payable                12,265.44
                                                                                      Bill Pmt-Check     03/21!2017 wire032117                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               4,072.80
                                                                                      Bill Pmt -Check    03!28/2017 wire032817    po #EP10730                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               9,948.00
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                      Bill Pmt-Check     04/04/2017 wire040417    po # EP10746                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,848.00
                                                                                      Bill Pmt-Check     04!18/2017 wire041817    po # EP10784                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               9,187.20
                                                                                      Bill Pmt -Check    04/25Y2017 wire 042517                                                                        1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                6,852.00
                                                                                      Bill Pmt -Check    05/02/2017 wire050217                                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               7,872.00
                                                                                      Bill Pmt-Check     05/3112017 wire053117    po # EP10896                                                         1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 3,528.00
                                                                                      Bill Pmt-Check     05/31/2017 wire053117    po # EP10764                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               9,948.00
                                                                                      Bill Pmt-Check     09/29/2017 4790                                                                               1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 1,900.80
                                                                                      Bill Pmt-Check     10/20/2017 4829          po # EP11062                                                         1011 • Centerstone HSBC Distribution          2010 •Accounts Payable                1 1,760.00
                                                                                      Bill Pmt -Check    12103/2017 wire 111617   po # EP11141                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 235.20
                                                            Thermopatch Corporation
                                                                                      Bill Pmt-Check     05/03/2017 4679                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                2,909.51
                                                                                      Bill Pmt-Check     08/11/2017 4764                                                                               tOt1 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,597.33
                                                                                      Bill Pmt-Check     10/20/2017 4830          po #EPt 1013 06/21/2017                                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                3,272.42
                                                                                      Bill Pmt-Check     03121!2018 4925          po #EP10947-replacement                                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,269.82
                                                                                      Bill Pmt -Check    07!05/2018 4958          po #EPt 1228                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,33522
                                                            Tingue, Brown 8 Co.
                                                                                      Bill Pmt-Check     01/10/2017 4510                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,043.82
                                                                                      Bill Pmt-Check     02/06/2017 4562                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                5,552.14
                                                                                      Bill Pmt-Check     02/24/2017 4597          po #EP10577                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  440.65
                                                                                      Bill Pmt-Check     04/28/2017 4674                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                5,731.88
                                                                                      Bill Pmt-Check     10/06/2017 4797                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               11,302.07
                                                            TLC Tri-State Laundry Companies
                                                                                      Bill Pmt -Check    01/10/2017 4511                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               10,845.35
                                                                                      Bill Pmt-Check     01/13/2017 4529                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                7,399.71
                                                                                      Bill Pmt-Check     02/06/2017 4563                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                4,409.12
                                                                                      Bill Pmt-Check     02/24/2017 4599                                                                               1011 ~ Centerstone HSBC Distribution          2010 ~ Acwunts Payable                 1,030.78
                                                                                      BiII Pmt-Check     03/17/2017 ach03172017                                                                        1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               25,000.00
                                                                                       Bill Pmt -Check   03/24/2017 4631          po #EP10607                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                  324.12
                                                                                       Bill Pmt-Check    03/31Y2017               QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       0.00
                                                 11/2/2018 10:41 AM                                                                                                                                              F:\Cf0\Crown\APA Requests\Vendor payments 2017-01-Ol to 2018-09-30 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                                                        g;3g ppq
                                                  Transaction List by Vendor                                                                                                                                                                                                            „~oti2o,8
Desc




                                                  January 2017 through September 2018
                                                                                           Type           Date            Num                                     Memo                                               Account                 Clr             Split           Debit       Credit
                                                                                      Bill Pmt -Check   05/31!2017              QuickBooks generated zero amount transaction for bill payment stub   101 t ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable       0.00
                                                                                      Bill Pmt-Check    07/07/2017 4716                                                                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               2,189.05
Entered 12/21/18 12:13:35




                                                                                      Bill Pmt-Check    08/11/2017 4765                                                                              1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 2,626.68
                                                                                      Bill Pmt-Check    12/08/2017 4871                                                                              1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               11,669.68
                                                                                      Bill Pmt-Check    06/27Y2018 wire062718   pump - Millnor tunnel model #76039L4F                                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               4,201.31
                                                                                      Bill Pmt-Check    06/27/2018 wire062718   pump-Milnor tunnel (freight and sales tax)                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 930.00
                                                                                      Bill Pmt-Check    07/03/2018 wire070316   pillowcase ironer-06/28/18                                           1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                3,955.43
Page 214 of 229




                                                                                      Bill Pmt-Check    07/03/2018 wire070318   impeller 3HP pump -model #76039L4F                                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                5,130.31
                                                            Tony Jones
                                                                                      Biil Pmt-Check    09/04Y2018 4996         Severance- 083118                                                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 347.84
                                                            TransForce Driver Staffing Solutions
                                                                                      Bill Pmt -Check   02!24/2017 4598         w/e 01/14/17                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 317.84
                                                                                      Bill Pmt-Check    03/24/2017 4632         w/e 02/04!17                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 933.24
                                                                                      Bili Pmt-Check    04/28!2017 4675         w/e 03/25/17                                                         1011 - Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,457.33
                                                                                      Bill Pmt -Check   06/29/2017 4705         w/e 04/15/17                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,183.46
                                                                                      Bill Pmt-Check    08/11/2017 4766                                                                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                3,083.75
                                                                                      Bill Pmt-Check    08/23/2017 4768                                                                              1011 • Centerstone HSBC Distribution          2010 •Accounts Payable                6,079.49
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                      Bill Pmt-Check    08/302017 4770                                                                               1011 • Centerstone HSBC Distribution          2010 •Accounts Payable                 1,810.87
                                                                                      Bill Pmt-Check    10!20/2017 4831                                                                              1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               2,215.36
                                                                                      BiII Pmt-Check    11/20!2017 4845                                                                              1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               2,905.87
                                                                                      Bill Pmt-Check    03/26/2018 4928         invoices - 0387155,0401002, 0401001                                  1011 ~ Centerstone HSBC DisVibution           2010 ~ Accounts Payable                1,772.89
                                                            Tyco Integrated Security LLC
                                                                                      Bill Pmt-Check    12/182017 4877          acct #01300-100436253                                                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,202.48
                                                            United Rentals(North America,Inc.
                                                                                      Bill Pmt -Check   01/10/2017              QuickBooks generated zero amount transaction for bill payment stub   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable       0.00
                                                            Vaspian LLC
                                                                                      Bill Pmt-Check    02/24/2017 4600         January 2017                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 190.00
                                                                                      Bill Pmt-Check    03/24/2017 4633         February 2017                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                1,265.00
                                                                                      Bill Pmt-Check    04/06/2017 4641         March 2017                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    05/05/2017 4682         April 2017                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    06/02/2017 4688         May 2017                                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt -Check   06/29/2017 4706         June 2017                                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt -Check   07/28/2017 4724         Juiy 2017                                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt -Check   09/OSY2017 4772         August 2017                                                          101 t ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    09/29Y2017 4791         September 2017                                                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    11/03/2017 4838         October 2017                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt -Check   12/08/2017 4872         November 2017                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    01/17/2018 4891         December 2017                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    02/16/2018 4897         January 2018                                                         1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    03/09Y2018 4901         February 2018                                                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    04/09/2018 4929         March 2018                                                           1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    OSl02Y2018 4933         Apri12018                                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    06/01/2018 4947         May 2018                                                             1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    07/03/2018 4957         June 2018                                                            1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt-Check    08/03/2018 4967         July 2018                                                            1011 ~ Centerstone HSBC Distribution          2070 ~ Accounts Payable                 990.00
                                                                                      Bill Pmt -Check   08/24/2018 4978         August 2018                                                          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 990.00
                                                 11/2/2018 10:41 AM                                                                                                                                           F:\CFO\Crown\APA Requests\Vendor payments 2017-01-Ol to 2018-09-30 Eastpoint
                                                 Clarus Linen Systems - EASTPOINT                                                                                                                                                                                     8:38 AM
                                                 Transaction List by Vendor                                                                                                                                                                                         „~oti2o,8
Desc




                                                 January 2017 through September 2018
                                                                                        Type           Date            Num                                     Memo                         Account                  Clr                 Spiit           Debit       Credit
                                                          Venus Group
                                                                                   Bill Pmt-Check    01/10/2017 4512           po # EP10408                                  1011 ~ Centerstone HSBC Distribution             2010 ~ Acwunts Payable                   694.88
Entered 12/21/18 12:13:35




                                                                                   Bill Pmt -Check   03/24/2017 4634           po # EP10569                                  1011 ~ Centerstone HSBC Distribution             2010 •Accounts Payable                   511.89
                                                                                   Bill Pmt-Check    12/08/2017 4873                                                         1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                 2,775.12
                                                          Walton EMC Natural Gas
                                                                                   Bill Pmt-Check    02/06/2017 4564           acct#703188001                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                27,669.90
                                                                                   Bill Pmt-Check    04/07/2017 4642                                                         1011 • Centerstone HSBC Distribution             2010 ~ Accounts Payable                55,759.43
Page 215 of 229




                                                                                   Bill Pmt -Check   05/10/2017 autod051017    acct #703188001                               1011 ~ Centerstone HSBC Distribution             2010 •Accounts Payable                 25,676.45
                                                                                   Bill Pmt-Check    06/09/2017 4690           acct#703188001                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                21,559.45
                                                                                   Bill Pmt-Check    07/07/2017 4717           acct#703188001                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                21,239.70
                                                                                   Bill Pmt-Check    08/11/2017 4758           VOID: acct#703188001                          1011 ~ Centerstone HSBC Distribution    ~J       2010 ~ Accounts Payable        0.00
                                                                                   Bill Pmt-Check    09/06/2017 autod090617                                                  1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable               41,893.41
                                                                                   Bill Pm[-Check    10/18!2017 autod101817    acct #703188001                               1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                21,191.12
                                                                                   Bill Pmt-Check    11/14/2017 autod111417    acct#703188001                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                25,195.18
                                                                                   Bill Pmt-Check    12/12/2017 autod121217    acct#703188001                                1011 ~ Centerstone HSBC Distribution             20t0 ~ Accounts Payable                25,183.96
                                                                                   Bill Pmt-Check    01/16/2018 autod011618    acct#703186001                                1011 ~ Centerstone HSBC DisUibution              2010 ~ Accounts Payable                27,622.55
                                                                                   Bill Pmt-Check    02/13/2018 autod021318    acct#703188001                                1011 ~ Centerstone HSBC Distribution             2010 •Accounts Payable                 26,181.89
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                   Bill Pmt -Check   03/13/2018 autod031318    acct #703188001                               10~ 1 ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                26,027.66
                                                                                   Bill Pmt-Check    03/23/2018 autod032318    acct#703188001                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                26,333.36
                                                                                   Bill Pmt-Check    05114!2018 autod051418    acct#703188001                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                30,503.04
                                                                                   Bill Pmt-Check    06/13/2018 autod061318    acct#703188001                                1011 • Centerstone HSBC Distribution             2010 ~ Accounts Payable                25,058.97
                                                                                   Bill Pmt-Check    06/25/2018 autod062518    acct #703188001                               1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                23,319.11
                                                                                   Bill Pmt -Check   08/10/2018 4969           acct #703188001                               1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                26,041.37
                                                                                   Bill Pmt -Check   08/302018 4990            acct #703188001                               1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                20,407.67
                                                                                   Bill Pmt-Check    09/21/2018 5004           acct#703188001                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                17,282.40
                                                          WebAddo,Inc.
                                                                                   Bill Pmt-Check    03/24/2017 4635           computer support services -lightning damage   1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                 1,318.99
                                                                                   Bill Pmt-Check    08!11/2017 4759           service call                                  1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                  188.00
                                                          Wesley Emmett
                                                                                   Bill Pmt-Check    09/04/2018 4997           Severance - 083118                            1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                  704.79
                                                          Wilbur Nesbitt
                                                                                   Bill Pmt-Check    02/17/2017 4568           manuel check- missing hours                   1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                  644.15
                                                          W iliingham 1631, LLC
                                                                                   Bill Pmt -Check   01/03/2017 ach01032017    January 2017 rent                             1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                16,544.39
                                                                                   Bill Pmt -Check   02/07/2017 ach02072017    February 2017 rent                            1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                16,544.39
                                                                                   Bill Pmt -Check   03/03/2017 ach03032017    March 2017 rent                               1011 ~ Centerstone HSBC Distribution             2010 •Accounts Payable                 16,544.39
                                                                                   Bill Pmt-Check    04/04!2017 ach04042017    Apri12017 rent                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                16,544.39
                                                                                   Bill Pmt-Check    05/03/2017 ach05032017    May 2017 rent                                 1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                16,544.39
                                                                                   Bill Pmt-Check    06114/2017 ach06142017    June 2017 rent                                1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                16,544.39
                                                                                   Bill Pmt -Check   07/11/2017 ach07112017    June 2017 rent- late fee                      1011 ~ Centerstone HSBC Distribution             2010 ~ Accounts Payable                  gz7.22
                                                                                   Bill Pmt -Check   07!11/2017 ach07112017    July 2017 rent                                1011 ~ Centerstone HSBC Distribution             2010 ~ Acwunts Payable                 16,544.39
                                                                                   Bill Pmt-Check    08/10Y2017 ach08102017    August 2017 rent                              1011 ~ Centerstone HSBC Disfibution              2010 •Accounts Payable                 16,544.39
                                                                                   Bill Pmt-Check    09/07/2017 ach09072017                                                  1011 ~ Centerstone HSBC Distribution             2010. ~ Accounts Payable               18,198.83
                                                                                   Bill Pmt-Check    10/16!2017 ach10162017    October 2017 rent                             1011 • Centerstone HSBC Distribution         ~   2010 ~ Accounts Payable                16,544.39
                                                                                   Bill Pmt -Check   11/14/2017 acht 1142017                                                 101 t ~ Centerstone HSBC Distribution            2010 ~ Accounts Payable                18,1g8.g3
                                                                                   Bill Pmt -Check   12/08/2017 ach12082017    December 2017 rent                            1011 ~ Cen[erstone HSBC Distribution             2010 ~ Accounts Payable                16.544.39
                                             11/2/2018 10:41 AM                                                                                                                       F:\CFO\Crown\APA Requests\Vendor payments 2017-01-01 to 2018-09-30 Eastpoint
                                                  Clarus Linen Systems - EASTPOINT                                                                                                                                                                     8:38 AM
                                                  Transaction List by Vendor                                                                                                                                                                         ,vo~zo,s
Desc




                                                  January 2017 through September 2018
                                                                                       Type           Date            Num                                  Memo                   Account                 Clr             Split           Debit       Credit
                                                                                  Bill Pmt-Check    01/22/2018 ach012220t8   January 2018 rent                    1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               16,544.39
                                                                                  Bill Pmt-Check    02/13/2018 ach02132018   February 2018 rent                   1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               31.654.62
Entered 12/21/18 12:13:35




                                                                                  Bill Pmt-Check    02N 4/2018 ach02142018   additional 2017 CAM charges          1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable                 434.06
                                                                                  Bill Pmt-Check    03/21/2018 ach03212018   March 2018 rent                      1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               18,374.32
                                                                                  Bill Pmt-Check    04!30/2018 ach04302018                                        1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable              21,130.48
                                                                                  Bill Pmt-Check    OSM7/2018 ach05172018    May 2078 rent                        1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               18,374.32
                                                                                  Bill Pmt -Check   06107/2018 ach06072018   June 2018 rent                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               18,374.32
Page 216 of 229




                                                                                  Bill Pmt-Check    07/16/2018 ach07162018                                        1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable               20,211.75
                                                                                  Bill Pmt-Check    08/02/2018 ach08032018   August 2018 rent                     1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               18,374.32
                                                                                  Biil Pmt-Check    09/06/2018 ach09062018   Sept 2018 rent                       1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               18,374.32
                                                                                  6iil Pmt -Check   09/24/2018 ach09242018   security deposit 2018                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              25,000.00
                                                            Windstream Communication
                                                                                  Biil Pmt-Check    06/26/2017 4694                                               1011 ~ Centerstone HSBC Distribution          2010 •Accounts Payable                 1,211.89
                                                            Wright Express(C)
                                                                                  Bill Pmt-Check    01/26/2017 autod012617   acct#0411-00-429285-0                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               16,131.72
                                                                                  Bill Pmt-Check    02/24/2017 autod022417   acct#0411-00-429285-0                1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable               15,820.35
                                                                                  Bill Pmt-Check    03/27/2017 autod032717   acct#0411-00-429285-0                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               13,353.51
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                                                  Bill Pmt -Check   04/27/2017 autod042717   acct #0411-00-429285-0               1011 - Centerstone HSBC Distribution          2010 ~ Accounts Payable               19,294.29
                                                                                  Bili Pmt-Check    05/26/2017 4688          VOID: acct#0411-00-429285-0          1011 ~ Centerstone HSBC Distribution    ~     2010 ~ Accounts Payable       0.00
                                                                                  Bill Pmt-Check    05/26/2017 ach05262017   acct#0411-00-429285-0                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               15,543.76
                                                                                  Bili Pmt-Check    0o/28/2017 autod06281'   acct#0411-XX-XXXXXXX                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable               16,234.10
                                                                                  Bill Pmt -Check   07/2812017 autod072817   acct #0411-XX-XXXXXXX                10i 1 ~ Centerstone HSBC Distribution         2010 ~ Accounts Payable               19,703.14
                                                                                  Bill Pmt-Check    08/28/2017 autod082817   acct#0411-00-429285-0                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              35,433.83
                                                                                  Bill Pmt-Check    09/28/2017 autod092817   acct#0411-00292850                   1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable              34,938.93
                                                                                  Bill Pmt-Check    10/27/2017 autod102717   acct#0411-00-429285-0                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              37,754.84
                                                                                  Bill Pmt-Check    11!28/2017 autod112817   acct#0411-XX-XXXXXXX                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              33,447.73
                                                                                  Bill Pmt-Check    12/28/2017 autod122817   acct #0411-00-429285-0               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              34,667.89
                                                                                  Bill Pmt-Check    01/25/2018 autod012518   acct#0411-XX-XXXXXXX                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              37,267.86
                                                                                  Bill Pmt-Check    02/28/2018 autod022818   acct#0411-00429285-0                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              40,166.84
                                                                                  Bill Pmt -Check   03/28/2018 autod032818   acct #0411-XX-XXXXXXX                1011 • Centerstone HSBC Distribution          2010 ~ Accounts Payable              35,023.84
                                                                                  Bill Pmt -Check   04/27/2018 autod042718   acct #0411-00-429285-0               1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              35,631.30
                                                                                  Bill Pmt-Check    05/25/2018 autod052518   acct#0411-XX-XXXXXXX                 1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              28,174.34
                                                                                  Bill Pmt -Check   06/28/20.8 autod062818   acct #0411-00429285-0                1011 • Centerstone HSBC Distribution          2010 •Accounts Payable               29,367.44
                                                                                  Bill Pmt-Check    07/26/2018 autod072318   acct#0411-00-429285-0                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              23,514.21
                                                                                  BiII Pmt-Check    08/28/2018 autod082818   acct#0411-00-429285-0                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              21,860.57
                                                                                  Bill Pmt -Check   09/28/2018 autod092818   acct #0411-OOh29285-0                1011 ~ Centerstone HSBC Distribution          2010 ~ Accounts Payable              24,384.21
                                                 11/2/2018 10:41 AM
                                                                                                                                                                           F:\CFO\Crown\APA Requests\Vendor payments 2017-01-D1 to 2018-09-30 Eastpoint
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 217 of 229



                                 Section 4.13(b)

                  Customer and Supplier Termination Notices


                                     None.




                                                                             3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 218 of 229



                                  Section 4.16

                  Events Outside Ordinary Course of Business

                                     None.




                                                                             3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18            Entered 12/21/18 12:13:35      Desc
                Exhibit A - Purchase Agreement         Page 219 of 229



                                       Section 4.17

                                     Linen Inventory


Linen is located at each of the operating facilities and in all customer locations.

See attached Linen Inventory Values.




                                                                                      3239221.5
                                                                                                   Spartanburg
                                                                                                   Plant purchases,
                                                                Linen rentals Linen purchases as        net of      Transfers in/out       Total placed
Desc




                                                  Year       ~ and direct sales  a % of sales        Adjustments        (DDB)               m service
                                                      2013    $          -         #DIV/0!         $      1,357,314   $      1,034,000    $   2,391,314
                                                      2014    $          -         #DIV/0!         $      2,431,304   $            -      $   2,431,304
Entered 12/21/18 12:13:35




                                                      2015    $    9,771,549             30.19%    $      2,738,821   $        211,648    $   2,950,469
                                                      2016    $    9,919,017             25.420    $      2,521,813   $            -      $   2,521,813
                                                      2017    $    9,367,866             29.83%    $      2,794,720   $            -      $   2,794,720
                                                      2018    $    6,247,488             10.64%    $        631,903   $         33,105    $     665,008
Page 220 of 229




                                                                                                        SPG                                                                            G/L Balances Comparison
                                                              Amortization                                                Roliforward     Ending BalancE      Amortization                                          LIS Balance     Purchases Per
                                                 Month          Expense        Placed in Service       LIS Balance           Proof            Proof             Expense      Amort Variance       LIS Balance        Variance            GL
                                                 Jan-18      $    189,602.73   $     116,368.70    $   1,832,511.39   $            -      $         -        $     189,603   $        0.00    $     1,832,511   $          (0.00)   $    116,369
                                                 Feb-18      $    178,751.04   $      63,129.88    $   1,717,351.48   $        (461.25)   $         -        $     178,751   $        0.00    $     1,716,890   $         461.25    $     63,130
                                                 Mar-18      $    201,305.66   $      42,303.69    $   1,558,349.51   $            -      $         -        $     201,306   $       (0.00)   $     1,557,888   $         461.25    $     42,304
                                                 Apr-18      $    201,520.20   $      50,982.98    $   1,407,812.29   $            -      $         -        $     201,520   $        0.00    $     1,407,351   $         461.25    $     50,983
                                                 May-18      $    189,175.30   $     155,697.41    $   1,374,334.40   $            -      $                  $     189,175   $       (0.00)   $     1,373,873   $         461.25    $    155,697
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                 Jun-18      $    186,312.11   $      (9,249.79)   $   1,178,772.50   $            -      $         -        $     186,312   $        0.00    $     1,178,311   $         46125     $    (42,355)
                                                  Jul-18     $    181,482.91   $      50,811.17    $   1,048,100.76   $            -      $         -        $     181,483   $       (0.00)   $     1,047,640   $         460.65    $     50,812
                                                 Aug-18      $    164,671.95   $     105,317.98    $     988,746.79   $            -      $         -        $     164,672   $       (0.00)   $       988,286   $         460.65    $    105,318
                                                 Sep-18      $    157,970.52   $      89,645.77    $     920,422.04   $            -      $         -        $     157,971   $       (0.00)   $      919,961    $         460.65    $     89,646
   11/2/2018 1:32 PM                                                                         C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGO
                                                                                                                                                                                           OQ\LIS Book value YTD 2018-09-30.xlsx SPG Summary
                                                                                                       TriState
                                                                                                     Plant purchases,
                                                                 Linen rentals Linen purchases as         net of      Transfers in/out Total placed
Desc




                                                  Year          and direct sales  a % of sales        Adjustments         (DDB)           service
                                                         2013   $         -          #DIV/0!         $              -    $            -   $          -
                                                         2014   $         -
                                                         2015   $         -
Entered 12/21/18 12:13:35




                                                         2016   $                    #DIVIO!        S                -   $            -   S         -
                                                         2017   $      951,746             74.539'0 $            709,372 $            -   $     709,372
                                                         2018   $    2,163,896             32.38% $              482,775 $        217,881 $     700,656
                                                                                                           TRI                                                                                G/L Balances Comparison
Page 221 of 229




                                                                 Amortization                                                RoUforward   Ending Balan~              Amortization                                          LIS Balance      Purchases Per
                                                 Month             Expense       Placed in Service       LIS Balance            Proof         Proof                    Expense      Amort Variance       US Balance         Variance             Gl
                                                 Jan-18         $   48,126.10    $      58,025.43    $      624,900.84   $            -   $     (155.2              $      48,126   $       (0.00)   $       624,901   $           (0.00)   $      58,025
                                                 Feb-18         $   47,120.92    $      56,001.98    $      633,781.90   $            -   $     (155.29)            $      47,121   $        0.00    $       633,782   $           (0.00)   $      56,002
                                                 Mar-18         $   55,730.63    $      44,505.18    $      622,556.45   $            -   $     (155.29)            $      55,731   $       (0.00)   $       622,556   $           (0.00)   $      44,505
                                                 Apr-18         $   57,980.81    $      44,427.41    $      609,003.04   $            -   $     (155.29)            $      57,981   $        0.00    $       609,003   $           (0.01)   $      44,427
                                                 May-18         $   60,290.57    $      44,914.05    $      593,626.53   $                $     (155.29)            $      60,291   $       (0.00)   $       593,627   $           (0.00)   $      44,914
                                                 Jun-18         $   63,821.47    $     215,399.53    $      745,204.58   $            -   S     i1ss.z9)            $      63,821   $        0.00    $       745,205   $           (0.01)   $      (2,482)
                                                  Jul-18        $   93,391.57    $      58,414.17    $      710,227.19   $                $     (155.29)            $      93,564   $     (171.96)   $       710,055   $          171.96    $      58,414
                                                 Aug-18         $   92,442.72    $     113,048.22    $      730,832.68   $            -   $     (155.29)            $      88,740   $    3,702.50    $       734,363   $       (3,530.55)   $    113,048
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                 Sep-18         $   98,684.02    $      65,920.04    $      698,068.70   $                $     (155.29)            $      98,684   $        0.00    $       701,599   $       (3,530.55)   $     65,920
    11/2/2018 1:32 PM                                                                                              C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\OOKKGOOQ\LIS Book value YTD 2018-09-30.xisx TRI Summary
                                                                                                   EastPoint
                                                                                                  Plant purchases,
                                                              Linen rentals Linen purchases as         net of         Transfers in/out     Total placed
Desc




                                                  Year     ~ and direct sales  a % of sales        Adjustments            (DDB)             in service
                                                      2013 $             -       #DIV/0!          $     3,148,702     $        223,721    $   3,372,423
                                                      2014 $             -       #DIV/0!          $     3,953,875     $        (45,177)   $   3,908,698
Entered 12/21/18 12:13:35




                                                      2015   $  11,678,849              28.91%    $     3,197,983     $        178,809    $   3,376,792
                                                      2016 $ 12,493,373                 24.81%    $     3,100,056     $            -      $   3,100,056
                                                      2017 $ 11,995,604                 21.08%a   $     2,528,791     $            -      $   2,528,791
                                                      2018 $ 6,403,186                  20.72%    $       797,969     $        528,950    $   1,326,919
Page 222 of 229




                                                                                                       EPT                                                                           G/L Balances Comparison
                                                             Amortization                                                 Rollforward     Ending Balance    Amortization                                  LIS Balance        Purchases Per
                                                 Month         Expense       Placed in Service        LIS Balance            Proof            Proof           Expense      Amort Variance       LIS BalanceVariance               GL
                                                 Jan-18    $   171,561.31   $       96,084.12     $    1,447,974.46   $            -      $    (683.27;    $     172,082   $     (520.73)   $     1,447,120   $     854.10   $     96,084
                                                 Feb-18    $   161,176.57   $      105,91337      $    1,392,711.26   $            -      $    (683.27)    $     161,648   $     (471.31)   $     1,391,386   $   1,325.41   $    105,913
                                                 Mar-18    $   184,829.50   $      195,820.70     $    1,403,702.47   $            -      $    (683.27)    $     184,830   $       (0.00)   $     1,402,377   $   1,325.42   $    195,821
                                                 Apr-18    $   195,513.57   $       72,81630      $    1,281,005.20   $            -      $    (683.27)    $     195,514   $       (0.00)   $     1,279,680   $   1,325.42   $     72,816
                                                 May-18    $   184,247.96   $      135,463.20     $    1,232,220.44   $            -      $    (683.27)    $     184,248   $       (0.00)   $     1,230,895   $   1,325.42   $    135,463
                Exhibit A - Purchase Agreement
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18




                                                 Jun-18    $   174,518.53   $      578,956.62     $    1,636,658.53   $            -      $    (683.27)    $     174,519   $       (0.00)   $     1,635,333   $   1,325.42   $     50,006
                                                 Jul-18    $   229,786.99   $       55,31636      $    1,462,187.90   $            -      $    (683.27)    $     229,787   $       (0.00)   $     1,460,862   $   1,325.42   $     55,316
                                                 Aug-18    $   210,218.31   $       63,007.11     $    1,314,976.70   $            -      $    (683.27)    $     210,218   $       (0.00)   $     1,313,651   $   1,325.42   $     63,007
                                                 Sep-18    $   197,283.58   $       23,541.58     $    1,141,234.71   $            -      $    (683.27)    $     197,284   $       (0.00)   $     1,139,909   $   1,325.43   $     23,542
      11/2/2018 1:32 PM                                                                    C:\Users\hillc\AppData\Local\Microsoft\Windows\Temporary Internet Files\Content.0utlook\
                                                                                                                                                                                    OOKKGOOQ\LIS Book value YTD 2018-09-30.xlsx EPT Summary
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18             Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement          Page 223 of 229



                                      Section 4.18(a)

                                     Material Contracts


(i)       None.

(ii)     None, other than obligation owed to HSBC Bank USA, National Association as
         borrower and guarantor under the Loan and Security Agreement dated as of
         October 29, 2013, as amended.

(iii)    (a) security interest in specific equipment located at Eastside Medical Center,
         1700 Medical Way, Snellville, Georgia 30078 granted to Prime Alliance Bank,
         OptumHealthBank, Inc., IPA ONE and Med One Capital Funding, LLC pursuant
         to an Innovative Product Achievements, LLC (IPA) Invoice dated August 16,
         2012 and Schedule A dated February 6, 2014.

         (b) a security interest in specific equipment located at Atlanta Medical Center,
         303 Parkway Drive, Atlanta, Georgia 30312 granted to MB Financial Bank, N.A.,
          Med One Capital Funding, LLC and IPA ONE pursuant to an Innovative Product
         Achievements, LLC (IPA) Invoice dated March 31, 2014.

         (c) a security interest in specific equipment located at 1631 Wellingham Drive,
          Atlanta, Georgia 30344 granted to Med One Capital Funding, LLC as of January
         9, 2015.

          No cure amounts are due in connection with these contracts.

(iv)     None.

(v)      None.

(vi)     None, other than those contracts listed elsewhere in this Section.

(vii)    None.

(viii)   Promissory Note with Standard Textile Co., Inc. dated December 4, 2017, which
         requires Seller and its affiliates to purchase at least 65% of their aggregate
         weekly linen purchases from Standard Textile Co., Inc.

(ix)     None.

(x)      Lease Agreement with ULS Acquisitions, LLC dated November 1, 2013 for
         Spartanburg, South Carolina facility.



                                                                                    3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18        Entered 12/21/18 12:13:35    Desc
                Exhibit A - Purchase Agreement     Page 224 of 229



(xi)    See Section 4.8(b) above regarding Leased Real Property. No cure amounts
        d ue in connection with the Leased Real Property.

        The following Contracts concern the lease of Purchased Assets:

       (a)    Lease for Laundry Facility with Phoebe Putney Memorial Hospital, Inc.
              dated August 1, 2016 (equipment at Albany, Georgia facility)

       (b)    Equipment Lease Agreement with De Lage Landen Financial Services,
              Inc. dated February 18, 2016 (forklift)

       (b)    Linen Control Subscription Agreement with IPA ONE dated March 11,
              2015 and Equipment Addendum dated April 3, 2015 (Scrubex dispenser
              and related equipment)

       (c)    Additional Premises/Equipment/Services Rider with ADT Protection1
              dated May 29, 2018 (security system)

       (d)    Lease Agreement #FTC116548-001 with De Lage Landen Financial
              Services, Inc. dated October 19, 2017 (photocopier)

       (e)    Lease Agreement with Commercial Trailer Leasing, Inc., Schedule A-1
              dated July 26, 2011, Schedule A-2 dated March 13, 2012, Schedule A-3
              dated May 23, 2012 and Schedule A-4 dated January 28, 2013 (tractors
              and trailers)

       (fl    Vehicle Lease Service Agreement-Schedule A with Penske Truck Leasing
              Co., L.P., effective January 28, 2015

       (g)    Vehicle Lease Service Agreement-Schedule A with Penske Truck Leasing
              Co., L.P., effective November 29, 2015

       (h)    Vehicle Lease Service Agreement-Schedule A with Penske Truck Leasing
              Co., L.P., dated February 3, 2016

       (i)    Truck Lease &Service Agreement-Schedule A with Ryder Truck Rental,
              I nc. d/b/a Ryder Transportation Services dated February 9, 2017

       (j)    Truck Lease &Service Agreement-Schedule A with Ryder Truck Rental,
              I nc. d/b/a Ryder Transportation Services dated August 20, 2010

       (k)    Truck Lease &Service Agreement-Schedule A with Ryder Truck Rental,
              I nc. d/b/a Ryder Transportation Services dated November 4, 2014

       (I)    Truck Lease &Service Agreement-Schedule A with Ryder Truck Rental,
              I nc. d/b/a Ryder Transportation Services dated December 10, 2010

                                                                                3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18             Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement          Page 225 of 229




         (m)     Truck Lease &Service Agreement-Schedule A with Ryder Truck Rental,
                 I nc. d/b/a Ryder Transportation Services dated April 26, 2011
         (n)     Truck Lease &Service Agreement-Schedule A with Ryder Truck Rental,
                 Inc. d/b/a Ryder Transportation Services dated January 10, 2013

         (o)     Truck Lease &Service Agreement-Schedule A with Ryder Truck Rental,
                 Inc. d/b/a Ryder Transportation Services dated August 11, 2009

         (p)     Truck Lease &Service Agreement-Schedule A with Ryder Truck Rental,
                 Inc. d/b/a Ryder Transportation Services dated August 11, 2009

         (q)     Vehicle Lease Service Agreement-Schedule A with Penske Truck Leasing
                 Co., L.P., effective December 20, 2012

         (r)     Vehicle Lease Service Agreement-Schedule A with Penske Truck Leasing
                 Co., L.P., dated January 7, 2013

         (s)     Vehicle Lease Service Agreement-Schedule A with Penske Truck Leasing
                 Co., L.P., effective August 1, 2013

         (t)    Lease Agreement #100-1536447-004 with Leaf Financial dated April 1,
                2018 for (Sharp MX-3070V photocopier)

(xii)     See the attached list of Contracts with Seller's Customers.

(xiii)    Contracts with Seller's Suppliers:

         (a)    Service Agreement with Tyler Staffing Services, Inc. d/b/a Chase
                Professionals dated September 22, 2015

         (b)    Staffing Agreement with Express Services, Inc. d/b/a Express
                Employment Professionals dated July 10, 2017

         (c)    Offer to Supply Temporary Associates with PeopleReady, Inc. dated July
                10, 2017

         (d)    Staffing Services Agreement with Integra Business Alternatives, Inc. dated
                July 10, 2017

         (e)    Subcontract Service Agreement with Hospital Services, Inc. dated May 1,
                2016

         (fl    Agreement for Natural Gas Sales with Walton Energy, Inc., d/b/a Walton
                EMC Natural Gas dated November 16, 2017


                                                                                    3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 226 of 229



      (g)   Master Retail Natural Gas Agreement with Constellation NewEnergy-Gas
            Division, LLC, effective March 23, 2015(renewed annually)

      (h)   Energy Management Agreement with Total Utility Management Services
            LLC dated January 1, 2015 (utility management services)

(xiv) Other Contracts

      (a)   Non-Compete and Non-Solicitation Agreement with employee Robert
            Hawkins dated October 27, 2017

     (b)    Non-Compete and Non-Solicitation Agreement with employee David M.
            Krawczyk dated April 12, 2017

     (c)    Non-Compete and Non-Solicitation Agreement with employee Richard
            Leatherwood dated February 28, 2017

     (d)    Non-Compete and Non-Solicitation Agreement with employee Kendric
            McCarty dated July 31, 2018

     (e)    Non-Compete and Non-Solicitation Agreement with employee Tamelia N.
            Moore dated March 8, 2018

     (fib   Employment Agreement and Non-Compete and Non-Solicitation
            Agreement with employee Daisy C. Mvou dated October 10, 2018

     (g)    Non-Compete and Non-Solicitation Agreement with employee R. Allen
            Simmons dated January 8, 2018

     (h)    Non-Compete and Non-Solicitation Agreement with employee Rossu
            Smith dated January 10, 2018




                                                                             3239221.5
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18        Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement     Page 227 of 229



                                    Section 4.19

                              Affiliated Transactions


      Lease Agreement with ULS Acquisitions, LLC dated November 1, 2013 for
      Spartanburg, South Carolina facility.

2.    Linens and miscellaneous equipment on the attached list were transferred from
      Alliance Laundry &Textile Service of Atlanta, LLC's Rome, Georgia facility to
      Seller during June and July 2018.




                                                                               3239221.5
    Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18                Entered 12/21/18 12:13:35   Desc
                    Exhibit A - Purchase Agreement             Page 228 of 229

Transfer of Equipment from Rome
1/1/2018- 9/3-/2018



Item                                       Plant         Net Amount Date Transferred
Ironer 2 &3 to Eastpoint                   East Point       13,099.07   Jui-18
Chicago Ironer Finishing roll Pads to EP   East Point        1,485.57   Jul-18
Carts to EP                                East Point         2706.27   Jul-18
Scissor Lift                               East Point               0   Jul-18
Boiler to Spartanburg                      Spartanburg      524000.15   Jul-18



Transferred Linen from Rome
                                           Spartanburg     33,105.13    Jun-18
                                           Tristate       217,881.35    Jun-18
                                           East Point     528,950.37    tun-18
Case 18-31754-5-mcr Doc 34-1 Filed 12/21/18      Entered 12/21/18 12:13:35   Desc
                Exhibit A - Purchase Agreement   Page 229 of 229



                                  Section 4.20

                    Environmental, Health and Safety Matters


                                      None.




                                                                             3239221.5
